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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


    In re:                                                               Chapter 11

    23ANDME HOLDING CO., et al., 1                                       Case No. 25-40976-357

                             Debtors.                                    (Jointly Administered)



              GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
      METHODOLOGY, AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES
      OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                   Introduction

         The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements” and, together with the Schedules, the “Schedules
and Statements”) filed by 23andMe Holding Co. and certain of its affiliates, as debtors and debtors
in possession (collectively, the “Debtors”) in the United States Bankruptcy Court for the Eastern
District of Missouri (the “Bankruptcy Court”), were prepared in accordance with section 521 of
title 11 of the United States Code (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”) by management of the Debtors, with the
assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by Joseph Selsavage, Interim Chief
Executive Officer and Chief Financial and Accounting Officer of the Debtors. Mr. Selsavage has
not (nor could have) personally verified the accuracy of each such statement and representation,
including, for example, statements and representations concerning amounts owed to creditors,
classification of such amounts, and their addresses. In addition, Mr. Selsavage has not (nor could
have) personally verified the completeness of the Schedules and Statements, nor the accuracy of
any information contained therein. In reviewing and signing the Schedules and Statements, Mr.
Selsavage necessarily relied upon various personnel of the Debtors and the Debtors’ professional
advisors and their efforts, statements, and representations in connection therewith. Although
management has made reasonable efforts to ensure that the Schedules and Statements are accurate
and complete based upon information that was available to them at the time of preparation,
subsequent information or discovery thereof may result in material changes to the Schedules and

1     The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
      Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
      (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
      LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter
      11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
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Statements, and inadvertent errors or omissions may exist.

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of all of the Schedules and Statements. The Global
Notes should be referred to and reviewed in connection with any review of the Schedules and
Statements. The Global Notes are in addition to any specific notes contained in any Debtor’s
Schedules or Statements. Disclosure of information in one Schedule, Statement, exhibit, or
continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

                         Global Notes and Overview of Methodology

     General Reservation of Rights. Although the Debtors’ management has made every
     reasonable effort to ensure that the Schedules and Statements are as accurate and complete
     as possible under the circumstances based on information that was available to it at the time
     of preparation, subsequent information or discovery may result in material changes to the
     Schedules and Statements, and inadvertent errors or omissions may have occurred, some of
     which may be material. Because the Schedules and Statements contain unaudited
     information, which remains subject to further review, verification, and potential adjustment,
     there can be no assurance that the Schedules and Statements are complete. The Debtors
     reserve all rights to amend the Schedules and Statements from time to time, in any and all
     respects, as may be necessary or appropriate, including the right to dispute or otherwise assert
     offsets or defenses to any claim reflected in the Schedules and Statements as to amount,
     liability, or classification, or to otherwise subsequently designate any claim (“Claim”) as
     “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
     Schedules and Statements shall constitute an admission of any claims or a waiver of any of
     the Debtors’ rights with respect to these chapter 11 cases, including issues involving
     substantive consolidation, recharacterization, mandatory subordination, equitable
     subordination, and/or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
     transfers. The Debtors and their agents, attorneys, and advisors expressly do not undertake
     any obligation to update, modify, revise, or recategorize the information provided herein, or
     to notify any third party should the information be updated, modified, revised, or
     recategorized, except as required by applicable law or order of the Bankruptcy Court. Any
     specific reservation of rights contained elsewhere in the Global Notes does not limit in any
     respect the general reservation of rights contained in this paragraph.

     Description of Cases and “As Of” Information Date. On March 23, 2025 (the “Petition
     Date”), each of the Debtors filed voluntary petitions for relief under chapter 11 of the
     Bankruptcy Code in the Bankruptcy Court. The Debtors’ chapter 11 cases are jointly
     administered pursuant to an order entered by the Bankruptcy Court on March 27, 2025
     [Docket No. 105]. The Debtors continue to operate their business and manage their


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    properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
    Code. On April 3, 2025, the Office of the United States Trustee for the Eastern District of
    Missouri appointed an official committee of unsecured creditors [Docket No. 159]. Unless
    otherwise stated herein, liabilities are reported as of the Petition Date.

    Basis of Presentation. The Schedules and Statements purport to reflect the assets and
    liabilities of separate Debtors. The Debtors, however, along with their non-Debtor affiliated
    variable interest entities (the “Variable Interest Entities”), prepare financial statements for
    financial reporting purposes, which are audited annually, on a consolidated basis. The
    Debtors reserve all rights relating to the legal ownership of assets and liabilities among the
    Debtors and nothing in the Schedules or Statements shall constitute a waiver or
    relinquishment of such rights. Information contained in the Schedules and Statements has
    been derived from the Debtors’ books and records. The Schedules and Statements do not
    purport to represent financial statements prepared in accordance with Generally Accepted
    Accounting Principles nor are they intended to be fully reconcilable to audited financial
    statements.

    Totals. All totals that are included in the Schedules and Statements represent totals of all
    known amounts included in the Debtors’ books and records. To the extent there are unknown
    or undetermined amounts, the actual totals may be different than the listed total, and the
    difference may be material. In addition, the amounts shown for total liabilities exclude items
    identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or “undetermined,” and,
    thus, ultimate liabilities may differ materially from those stated in the Schedules and
    Statements.

    Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
    tax accruals, and liabilities from the Schedules and Statements, including certain intangibles,
    and certain accrued liabilities including, but not limited to, accrued employee compensation
    and benefits, certain customer accruals, tax accruals, accrued accounts payable, accrued
    contract termination damages, deferred income accruals, litigation accruals, and certain
    deposits. The Debtors have also excluded potential Claims arising on account of the potential
    rejection of executory contracts and unexpired leases, to the extent such Claims exist.
    Further, certain immaterial assets and liabilities may have been excluded.

    Currency. All amounts are reflected in U.S. dollars. In instances where the Debtors
    maintain their books in a currency other than U.S. dollars, the FX rate as of the opening of
    the business day on (i) the date such payment was made or (ii) the Petition Date, as
    applicable, was used to calculate the currency conversion.

    Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of their
    net book values as of February 28, 2025, and the Debtors’ liabilities are shown on the basis
    of their net book values as of the Petition Date. Thus, unless otherwise noted, the Schedules
    and Statements reflect the carrying value of the assets and liabilities as recorded on the
    Debtors’ books. Net book values may vary, sometimes materially, from market values. The
    Debtors do not intend to amend these Schedules and Statements to reflect market values.
    The book values of certain assets may materially differ from their fair market values and/or
    any liquidation analysis prepared in connection with the Debtors’ chapter 11 cases.


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    Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
    prepetition Claims—including, but not limited to, payments to employees, customers, and
    certain vendors—pursuant to various “first day” orders entered by the Bankruptcy Court.
    Accordingly, certain outstanding liabilities may have been reduced by post-petition
    payments made on account of prepetition liabilities. Where the Schedules list creditors and
    set forth the Debtors’ scheduled amount of such Claims, such scheduled amounts reflect
    amounts owed as of the Petition Date, adjusted for any post-petition payments made pursuant
    to the authority granted to the Debtors by the Bankruptcy Court. In addition, to the extent
    the Debtors later pay any of the Claims listed in the Schedules and Statements pursuant to
    any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
    supplement the Schedules and Statements or take other action, such as filing Claims
    objections, as is necessary and appropriate to avoid overpayment or duplicate payments for
    liabilities.

    Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
    correctly characterize, classify, categorize, or designate certain Claims, assets, executory
    contracts, unexpired leases, and other items reported in the Schedules and Statements, the
    Debtors nonetheless may have improperly characterized, classified, categorized, or
    designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
    recategorize, or re-designate items reported in the Schedules and Statements at a later time
    as they determine to be necessary and appropriate.

    Liabilities. The Debtors allocated liabilities between the prepetition and post-petition
    periods based on the information and research conducted in connection with the preparation
    of the Schedules and Statements. As additional information becomes available, and further
    research is conducted, particularly with respect to the Debtors’ payable accounts, the
    allocation of liabilities between the prepetition and postpetition periods may change. The
    Debtors reserve the right to, but are not required to, amend the Schedules and Statements as
    they deem appropriate to reflect this.

    The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
    under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all rights
    to dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
    Bankruptcy Code or the characterization of the structure of any such transaction or any
    document or instrument related to any creditor’s Claim.

    Intellectual Property Rights. Exclusion of certain intellectual property shall not be
    construed to be an admission that such intellectual property rights have been abandoned,
    have been terminated or otherwise expired by their terms, or have been assigned or otherwise
    transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of
    certain intellectual property shall not be construed to be an admission that such intellectual
    property rights have not been abandoned, have not been terminated or otherwise expired by
    their terms, or have not been assigned or otherwise transferred pursuant to a sale, acquisition,
    or other transaction. The Debtors have made significant efforts to attribute intellectual
    property to the rightful Debtor owner, however, in some instances intellectual property
    owned by one Debtor may, in fact, be owned by another. Accordingly, the Debtors reserve



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    all of their rights with respect to the legal status of any and all such intellectual property
    rights.

    Insurance. The Debtors have listed policies in Schedule A/B. Information regarding the
    Debtors’ insurance policies is set forth in the Debtors’ Motion for Entry of Interim and Final
    Orders (I) Authorizing the Debtors to Continue Prepetition Insurance Obligations in Respect
    Thereof and (II) Granting Related Relief [Docket No. 13].

    Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
    contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
    executory contracts and unexpired leases have been set forth in Schedule G. In addition,
    while the Debtors have made diligent attempts to properly identify all executory contracts
    and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.

    Claims Description. Schedules D, E, and F permit each of the Debtors to designate a Claim
    as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
    given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
    does not constitute an admission by the Debtor that such amount is not “disputed,”
    “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
    reserve all rights to dispute any Claim reflected on their respective Schedules and Statements
    on any grounds, including, without limitation, liability or classification, or to otherwise
    subsequently designate such Claims as “disputed,” “contingent,” or “unliquidated.” In
    addition, the Debtors reserve their rights to object to any listed Claim on the grounds that,
    among other things, the Claim has already been satisfied.

    Causes of Action. Despite their reasonable efforts, the Debtors are not aware of any causes
    of action or potential causes of action against third parties to list as assets in their Schedules
    and Statements, including, without limitation, avoidance actions arising under chapter 5 of
    the Bankruptcy Code and actions under other relevant non-bankruptcy laws to recover assets.
    The Debtors reserve all of their rights for any claims, causes of action, or avoidance actions
    they may have, and neither these Global Notes nor the Schedules and Statements shall be
    deemed a waiver of any such claims, causes of actions, or avoidance actions or in any way
    prejudice or impair the assertion of such claims.

    Undetermined Amounts. Claim amounts that could not readily be quantified by the Debtors
    are scheduled as “unknown,” “TBD,” or “undetermined.” The description of an amount as
    “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the materiality of such
    amount.

    Unliquidated Amounts. Claim amounts that could not be readily quantified by the Debtors
    are scheduled as “unliquidated.”

    Liens. Property and equipment listed in the Schedules and Statements are presented without
    consideration of any liens that may attach (or have attached) to such property or equipment.

    Insiders. In circumstances where the Schedules and Statements require information
    regarding “insiders,” the Debtors have included information with respect to the individuals
    and entities that the Debtors believe may potentially be included in the definition of “insider”


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    set forth in section 101(31) of the Bankruptcy Code during the relevant time periods. Such
    individuals may not actually constitute “insiders” for purposes of section 101(31) of the
    Bankruptcy Code or may no longer serve in such capacities. Persons and entities listed as
    “insiders” have been included for informational purposes only. The Debtors do not take any
    position with respect to (a) such person’s influence over the control of the Debtors; (b) the
    management responsibilities or functions of such individual; (c) the decision-making or
    corporate authority of such individual; or (d) whether such individual could successfully
    argue that he or she is not an “insider” under applicable law, including federal securities law,
    or with respect to any theories of liability or any other purpose. As such, the Debtors reserve
    all rights to dispute whether someone identified in response to questions in the Schedules
    and Statements is in fact an “insider” as defined in section 101(31) of the Bankruptcy Code.

    Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
    management was required to make certain estimates and assumptions that affected the
    reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
    reported amounts of assets and liability to reflect changes in those estimates or assumptions.

    Credits and Adjustments. The claims of individual creditors for, among other things,
    goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
    and records and may not reflect credits, allowances, or other adjustments due from such
    creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
    allowances, and other adjustments, including the right to assert claims objections and/or
    setoffs with respect to the same.

    Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary course
    of business. Offsets in the ordinary course can result from various items, including, without
    limitation, pricing discrepancies, returns, warranties, negotiations and/or disputes between
    the Debtors and their vendors and customers. These offsets and other similar rights are
    consistent with the ordinary course of business in the Debtors’ industry and are not tracked
    separately. Therefore, although such offsets and other similar rights may have been
    accounted for when certain amounts were included in the Schedules, offsets are not
    independently accounted for, and as such, are excluded from the Schedules.

    Global Notes Control. In the event that the Schedules and Statements differ from these
    Global Notes, the Global Notes shall control.

    Confidentiality. There may be instances in the Schedules and Statements where the Debtors
    have deemed it necessary and appropriate to redact from the public record information such
    as names, addresses, or amounts. Typically, the Debtors have used this approach because of
    an agreement between the Debtors and a third party, concerns of confidentiality, or concerns
    for the privacy of, or otherwise preserving the confidentiality of, personally identifiable
    information. The redactions are limited to only what is necessary to protect the Debtors or
    third party and are consistent with the relief granted under the Order (I) Extending the Time
    to File Schedules and Statements; (II) Extending the Time to Schedule the Meeting of
    Creditors; (III) Waiving the Requirements to File Equity Lists and Provide Notice to Equity
    Security Holders; (IV) Authorizing the Debtors to File (A) A Consolidated List of Counsel
    Representing Cyber Security Incident Claimants and (B) A Consolidated List of Other


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    Unsecured Creditors of the Debtors, (V) Authorizing the Debtors to Prepare a Consolidated
    and Redacted List of Creditors in Lieu of Submitting Separate and Reformatted Creditor
    Matrices for Each Debtor; (VI) Approving the Form and Manner of Notifying Creditors of
    the Commencement of these Chapter 11 Cases; and (VII) Granting Related Relief [Docket
    No. 132].

                       General Disclosures Applicable to Schedules

    Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
    “priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as “executory”
    or “unexpired,” does not in each case constitute an admission by the Debtors of the legal
    rights of the claimant, or a waiver of the Debtors’ right to recharacterize, subordinate, or
    reclassify such Claim or contract.

    Schedule A/B – Real and Personal Property.

         a) Schedule A/B, Part 1 – Cash and Cash Equivalents. Details with respect to the
            Debtors’ cash management system and bank accounts are provided in the Debtors’
            Motion for Entry of Interim and Final Orders (I) Authorizing (A) Continued Use of
            Cash Management System, (B) Maintenance of Bank Accounts and Business
            Forms, (C) Performance of Intercompany Transactions, and (D) Certain
            Prepetition Obligations to be Honored; (II) Granting Administrative Expense
            Priority Status to Postpetition Intercompany Claims Against the Debtors;
            (III) Waiving Strict Compliance with 11 U.S.C. § 345(b) and Certain Operating
            Guidelines, as Applicable; and (IV) Granting Related Relief [Docket No. 12]. The
            Debtors’ cash balances are listed as of the Petition Date at bank balances.

         b) Schedule A/B, Part 2 – Deposits and Prepayments. The Bankruptcy Court,
            pursuant to the Final Order (I) Prohibiting Utility Companies from Altering,
            Refusing, or Discontinuing Utility Services; (II) Deeming Utility Companies to
            Have Adequate Assurance of Future Payment; (III) Establishing Procedures for
            Determining Adequate Assurance of Payment; and (IV) Granting Related Relief
            [Docket No. 310], authorized the Debtors to provide adequate assurance of payment
            for future utility services. In addition, certain retainers or deposits reflect payments
            to professionals made by a certain Debtor entity, but may be subject to applicable
            allocation amongst the Debtors.

             Certain reported prepaid or amortized assets are listed in accordance with the
             Debtors’ books and records. The amounts listed in Part 2 do not necessarily reflect
             assets the Debtors will be able to collect or realize. The amounts listed in Part 2
             include, among other things, prepaid insurance, licenses, taxes, and other prepaid
             expenses.

         c) Schedule A/B, Part 3 – Accounts Receivable. The Debtors’ reported accounts
            receivable include amounts that may be uncollectible. Notwithstanding the
            foregoing, the Debtors have used reasonable efforts to deduct doubtful or




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           uncollectible accounts. The Debtors are unable to determine with certainty what
           amounts will actually be collected.

        d) Schedule A/B, Part 4 – Investments. Ownership interests in subsidiaries,
           partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
           undetermined amounts on account of the fact that the fair market value of such
           ownership is dependent on numerous variables and factors and may differ
           significantly from their net book value.

        e) Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
           Collectibles. Dollar amounts are presented net of accumulated depreciation and
           other adjustments.

        f) Schedule A/B, Part 8 – Machinery, Equipment, and Vehicles. For those Debtors
           that own machinery, equipment and vehicles, dollar amounts are presented net of
           accumulated depreciation and other adjustments.

        g) Schedule A/B, Part 9 – Real Property. The Debtors do not own any material real
           property. Certain leasehold improvements have been listed on Schedule A/B, part
           9 as having undetermined value.

        h) Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
           review intangible assets having indefinite lives for impairment annually or when
           events or changes in circumstances indicate the carrying value of these assets might
           exceed their current fair values. The Debtors report intellectual property assets as
           having undetermined value whenever applicable. For purposes of the Schedules,
           the Debtors have listed customer lists, trademarks, patents, copyrights, and domain
           names only at entities for which these assets are recorded on their books. The
           exclusion of listing similar assets at additional Debtors should not be construed as
           an admission that other Debtors do not possess similar assets.

        i) Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
           impairments and other adjustments.

                a. Item 72 – Tax Refunds and Unused Net Operating Losses (NOLs). The
                   Debtors may receive refunds for sales and use tax at various times
                   throughout their fiscal year. As of the Petition Date, however, certain of
                   these amounts are unknown to the Debtors and, accordingly, may not be
                   listed on Schedule A/B. Additionally, the Debtors may be entitled to apply
                   certain net operating losses or other tax attributes. The Debtors have
                   provided a summary of certain of their tax attributes and related
                   considerations in Item 72; however, such tax attributes are listed as
                   undetermined amounts because the fair market value (if any) of such
                   attributes is dependent on numerous variables and factors.

                b. Item 73 – Interests in Insurance Policies or Annuities. A list of the
                   Debtors’ insurance policies and related information is available in the



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                     Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to
                     Continue Prepetition Insurance Policies and Pay All Prepetition
                     Obligations in Respect Thereof and (II) Granting Related Relief [Docket
                     No. 13].

                 c. Items 74 and 75 – Causes of action against third parties (whether or not
                    a lawsuit has been filed) and other contingent and unliquidated claims or
                    causes of action of every nature, including counterclaims of the debtors
                    and rights to set off claims. The Debtors are not currently aware of any
                    causes of action and other claims. Potential avoidance actions were not
                    listed because the Debtors have not completed an analysis of such potential
                    claims. The Debtors’ failure to list any cause of action, claim, or right of
                    any nature is not an admission that such cause of action, claim, or right does
                    not exist, and should not be construed as a waiver of such cause of action,
                    claim, or right.

    Schedule D – Creditors Who Have Claims Secured by Property. The Claims listed on
    Schedule D arose or were incurred on various dates; a determination of the date upon which
    each Claim arose or was incurred would be unduly burdensome and cost prohibitive.
    Accordingly, not all such dates are included for each Claim. All Claims listed on Schedule
    D, however, appear to have arisen or have been incurred before the Petition Date. Operating
    leases are listed on Schedule G.

    Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
    Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
    immunity from avoidance of any lien purported to be granted or perfected in any specific
    asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the
    Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve
    all of their rights to dispute or challenge the secured nature of any such creditor’s Claim or
    the characterization of the structure of any such transaction or any document or instrument
    related to such creditor’s Claim. Further, while the Debtors have included the results of
    Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
    an admission as to the validity of any such lien. The descriptions provided in Schedule D
    are solely intended to be a summary and not an admission of liability. The Debtors made
    reasonable, good faith efforts to include all known liens on Schedule D but may have
    inadvertently omitted to include an existing lien because of, among other things, the
    possibility that a lien may have been imposed after the Uniform Commercial Code searches
    were performed or a vendor may not have filed the requisite perfection documentation.

    Except as specifically stated on Schedule D, real property lessors, utility companies, and
    other parties that may hold security deposits have not been listed on Schedule D. The Debtors
    reserve their rights to amend Schedule D to the extent that the Debtors determine that any
    Claims associated with such agreements should be reported on Schedule D.

    Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
    are secured through setoff rights or inchoate statutory lien rights.



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    Schedule E/F - Creditors Who Have Unsecured Claims. The Debtors have not listed on
    Schedule E any wage or wage-related obligations which the Debtors have been granted
    authority to pay pursuant to the Final Order (I) Authorizing the Debtors to (A) Pay Certain
    Prepetition Employee Wages and Benefits and (B) Continue Employee Benefits Programs
    and Pay Related Obligations and (II) Granting Related Relief [Docket No. 304]. The
    Debtors believe that all such Claims have been or will be satisfied in the ordinary course
    during these chapter 11 cases pursuant to the authority granted in the relevant order.

    The Debtors have not listed on Schedule E any tax related obligations, except for open tax
    audits, which the Debtors have been granted authority to pay pursuant to the Final Order
    (I) Authorizing the Payment of Certain Taxes and Fees, and (II) Granting Related Relief
    [Docket No. 303]. The Debtors believe that all such Claims have been or will be satisfied in
    the ordinary course during these chapter 11 cases pursuant to the authority granted in the
    relevant order.

    The Debtors have used reasonable efforts to report all general unsecured Claims against the
    Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
    Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
    listed on Schedule E/F arose or were incurred on various dates. In certain instances, the date
    on which a Claim arose is an open issue of fact. In addition, the Claims of individual
    creditors for, among other things, goods or services are listed as either the lower of the
    amounts invoiced by such creditor or the amounts entered on the Debtors’ books and records
    and may not reflect credits, rebates, or allowances due from such creditors to the applicable
    Debtors. The Claims and amounts listed in respect of certain trade payables may reflect
    payments by the Debtors pursuant to applicable “first day” orders and amounts to be paid
    later pursuant to “second day” orders. Certain Debtors may pay additional Claims listed on
    Schedule E/F during these chapter 11 cases pursuant to these and other orders of the
    Bankruptcy Court and reserve all of their rights to update Schedule E/F to reflect such
    payments. In addition, certain Claims listed on Schedule E/F may be entitled to priority
    under section 503(b)(9) of the Bankruptcy Code.

    Schedule E/F also contains information regarding pending litigation involving the Debtors.
    The dollar amount of potential Claims associated with any such pending litigation is listed
    as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
    and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
    subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
    potential or threatened legal disputes that are not formally recognized by an administrative,
    judicial, or other adjudicative forum due to certain procedural conditions that counterparties
    have yet to satisfy.

    Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
    made to ensure the accuracy of Schedule G, inadvertent errors or omissions may have
    occurred. Each lease and contract listed in Schedule G may include one or more ancillary
    documents, including any underlying assignment and assumption agreements, amendments,
    supplements, full and partial assignments, renewals and partial releases. Certain of the leases
    and contracts listed on Schedule G may contain certain renewal options, guarantees of
    payment, options to purchase, rights of first refusal, and other miscellaneous rights. Such


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    rights, powers, duties, and obligations are not set forth on Schedule G. In addition, the
    Debtors may have entered into various other types of agreements in the ordinary course of
    business, such as financing agreements, subordination, non-disturbance agreements,
    supplemental agreements, amendments/letter agreements, title agreements, and
    confidentiality agreements. Such documents may not be set forth on Schedule G. Certain
    of the contracts, agreements, and leases listed on Schedule G may have been entered into by
    more than one of the Debtors. Further, the specific Debtor obligor to certain of the executory
    contracts could not be specifically ascertained in every circumstance. In some cases, the
    same supplier or provider appears multiple times in Schedule G. This multiple listing is to
    reflect distinct agreements between the applicable Debtor and such supplier or provider. In
    such cases, the Debtors made their best efforts to determine the correct Debtor’s schedule on
    which to list such executory contracts or unexpired leases. Certain of the executory contracts
    may not have been memorialized in writing and could be subject to dispute.

    The Debtors reserve all of their rights to dispute the validity, status, or enforceability of any
    contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
    Schedule as necessary. Inclusion or exclusion of any agreement on Schedule G does not
    constitute an admission that such agreement is an executory contract or unexpired lease, and
    the Debtors reserve all rights in that regard, including, that any agreement is not executory,
    has expired pursuant to its terms, or was terminated prepetition.

    Schedule H – Codebtors. The Debtors have not identified any claims that are liable by
    multiple co-Debtors. Although the Debtors have made every effort to ensure the accuracy
    of Schedule H, inadvertent omissions may have occurred. The Debtors hereby reserve all
    rights to further amend or supplement such Schedule as necessary.

    The Debtors further reserve all rights, claims, and causes of action with respect to the
    obligations listed on Schedule H, including the right to dispute or challenge the
    characterization or the structure of any transaction, document, or instrument related to a
    creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H shall
    not be deemed an admission that such obligation is binding, valid, or enforceable.

    In the ordinary course of their business, the Debtors have been involved in pending or
    threatened litigation and claims arising out of the conduct of their business. These matters
    may involve multiple plaintiffs and defendants, some or all of whom may assert cross-claims
    and counterclaims against other parties. Because such litigation is listed elsewhere in the
    Statements and Schedules, they have not been set forth individually on Schedule H.

                       General Disclosures Applicable to Statements

    Questions 1 and 2. The Debtors’ responses to Questions 1 and 2 are presented in accordance
    with the Debtors’ books and records. Certain revenue for these periods includes amounts
    attributable to the Variable Interest Entities.

    Question 3. For certain creditors receiving payment, the Debtors maintain multiple
    addresses for such vendor. Efforts have been made to attribute the correct address, however,
    in certain instances, alternate addresses may be applicable for a party listed in response to



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    Question 3. Information regarding payments to bankruptcy professionals and insiders are
    listed on Questions 4 and 11 and therefore excluded from Question 3.

    Question 4. Individual payments to insiders, directors, and executive officers of the Debtors
    are reflected in the Debtors’ responses to Question 4, as applicable. The listing of any entity
    as an insider does not constitute an admission or a final determination that any such entity is
    or is not an insider. The information reported on Question 4 is representative of the total
    payments made to such parties on behalf of the Debtor entities during the year prior to the
    Petition Date. For the avoidance of doubt, the information reported on Question 4 may
    include payments to individuals who may have been insiders at the time of payment but are
    no longer employed in such capacity by a Debtor.

    Question 7. The Debtors reserve all of their rights and defenses with respect to any and all
    listed lawsuits, administrative, and arbitral proceedings. The listing of any such suits and
    proceedings shall not constitute an admission by the Debtors of any liabilities, the validity
    of any action, the availability of insurance coverage, or the amount or treatment of any
    claims, defenses, counterclaims, or cross-claims or the amount or treatment of any potential
    claim resulting from any current or future actions and proceedings, or that the actions or
    proceedings were correctly filed against the Debtors or any affiliates of the Debtors. For the
    avoidance of doubt, the Debtors preserve all defenses with respect to any listed actions and
    proceedings, including their rights to assert that a Debtor is not an appropriate party to such
    actions or proceedings. The Debtors have generally excluded internal grievance claims to
    protect the privacy interests of the grieving party and because the majority of such claims
    generally will not result in actual litigation.

    Question 11. All payments for services of any entities that provided consultation concerning
    debt restructuring services, relief under the Bankruptcy Code, or preparation of a petition in
    bankruptcy within one year immediately preceding the Petition Date are listed on each
    Debtor’s respective Statements, as applicable. The Debtors have endeavored to list only
    payments made for debt restructuring services, however, in some instances, these balances
    may include payments for services not related to restructuring or bankruptcy matters.
    Additional information regarding the Debtors’ retention of professionals is more fully
    described in the individual retention applications for those professionals.

    Question 13. While the Debtors have made reasonable efforts to respond comprehensively
    to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.
    In addition, the Debtors regularly sell certain non-core assets, including inventory, in the
    ordinary course of business. Accordingly, such dispositions made in the ordinary course of
    business have not been reflected in Question 13.

    Question 16. The Debtors collect a limited amount of information about customers and their
    representatives. Examples of the types of information collected by the Debtors include,
    among other things, full names, dates of birth, mailing addresses, IP addresses, cookies,
    pixels, genetic data and interpretations, medical history and demographic results, and
    wearable data and laboratory results.




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    Question 26d. In the ordinary course of business, the Debtors provide financial statements
    to certain parties, such as financial institutions, investment banks, auditors, potential
    investors, vendors and financial advisors. The Debtors do not maintain complete lists to
    track such disclosures, and as such, the Debtors have not provided a listing of these parties
    in response to this question.




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                                                                                       Pg 14 of 1950
 Fill in this information to identify the case:

 Debtor name           23andMe, Inc.

 United States Bankruptcy Court for the:               Eastern District of Missouri


 Case number (If known):                25-40977 (BCW)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $       Undetermined


     1b. Total personal property:
                                                                                                                                                                                         $     106,570,362.34*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $     106,570,362.34*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $       Undetermined
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $       Undertermined
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $      7,025,841.57*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $       7,025,841.57*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
              Case 25-40977                  Doc 9
                                               Filed 04/28/25 Entered 04/28/25 19:02:59                                      Main Document
   Fill in this information to identify the case:         Pg 15 of 1950

    Debtor name 23andMe, Inc.


    United States Bankruptcy Court for the: Eastern District of Missouri
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 25-40977 (BCW)                                                                                                      amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                           Type of account     Last 4 digits of account number

    3.1 See Attached Rider                                                                                                           $            52,049,932.71

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $            52,049,932.71
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 See Attached Rider                                                                                                           $             1,550,392.14
    7.2                                                                                                                              $



Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                       Page 1
Debtor      23andMe, Inc.
                   Case 25-40977             Doc 9                                          Case number (If known)
                                                           Filed 04/28/25 Entered 04/28/25 19:02:59         Main25-40977 (BCW)
                                                                                                                   Document
            Name
                                                                      Pg 16 of 1950
 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                             $          11,387,348.07

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $          12,937,740.21
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:             5,382,920.46                            0.00                       =   ......            $           5,382,920.46
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                    500,000.00                      500,000.00                     =   ......            $             500,000.00
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $           5,882,920.46
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     þ       No. Go to Part 5.
     ¨       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1                                                                                                                               $

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1                                                                                             %                                 $

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1                                                                                                                               $

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $                    0.00
         Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                        Page 2
Debtor     23andMe, Inc.
                  Case 25-40977             Doc 9                                        Case number (If known)
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                                                                                                                Document
           Name
                                                                   Pg 17 of 1950
 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     ¨       No. Go to Part 6.
     þ       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method    Current value of
                                                          physical inventory        debtor's interest   used for current    debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
     None                                                                       $                                           $                    0.00
                                                               MM / DD / YYYY
     20. Work in progress
     None                                                                       $                                           $                    0.00
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
     FINISHED GOODS                                                             $       13,890,543.20   NET BOOK VALUE      $          13,890,543.20
                                                               MM / DD / YYYY
     22. Other inventory or supplies

     None                                                                       $                                           $                    0.00
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                            $          13,890,543.20
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     þ       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     þ       No
     ¨       Yes. Book value $                       Valuation method                           Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     þ       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method   Current value of debtor's
                                                                                    debtor's interest   used for current   interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                           $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                           $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                           $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                           $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                           $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                               Page 3
Debtor            Case 25-40977
           23andMe, Inc.                    Doc 9        Filed 04/28/25 Entered 04/28/25 19:02:59         Main25-40977
                                                                                          Case number (If known) Document
                                                                                                                       (BCW)
           Name
                                                                    Pg 18 of 1950
 33. Total of Part 6.
                                                                                                                        $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method   Current value of debtor's
                                                                                debtor's interest   used for current   interest
                                                                                (Where available)   value

 39. Office furniture
    OFFICE FURNITURE                                                            $       20,872.82   NET BOOK VALUE      $              20,872.82

 40. Office fixtures
    None                                                                        $                                       $                    0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    OFFICE EQUIPMENT                                                            $      832,493.45   NET BOOK VALUE      $             832,493.45

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                       $                    0.00
    42.2                                                                        $                                       $
    42.3                                                                        $                                       $

 43. Total of Part 7.
                                                                                                                        $             853,366.27
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 4
                   Case 25-40977             Doc 9       Filed 04/28/25 Entered 04/28/25 19:02:59 Main Document
Debtor      23andMe, Inc.                                                                 Case number (If known) 25-40977 (BCW)
            Name
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 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     þ       No. Go to Part 9.
     ¨        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method   Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current   interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                      $                                          $
     47.2                                                                      $                                          $
     47.3                                                                      $                                          $
     47.4                                                                      $                                          $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                      $                                          $
     48.2                                                                      $                                          $


  49. Aircraft and accessories
     49.1                                                                      $                                          $
     49.2                                                                      $                                          $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

                                                                               $                                          $



  51. Total of Part 8.
                                                                                                                          $                     0.00
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     ¨        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                             Page 5
Debtor             Case 25-40977
            23andMe, Inc.                   Doc 9           Filed 04/28/25 Entered 04/28/25 19:02:59         Main25-40977
                                                                                             Case number (If known) Document
                                                                                                                          (BCW)
            Name
                                                                       Pg 20 of 1950
 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $       Undetermined                              $       Undetermined
     55.2                                                                                 $                                                 $
     55.3                                                                                 $                                                 $
     55.4                                                                                 $                                                 $
     55.5                                                                                 $                                                 $
     55.6                                                                                 $                                                 $

  56. Total of Part 9.
                                                                                                                                            $       Undetermined
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method          Current value of debtor's
                                                                                       debtor's interest     used for current          interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     See Attached Rider                                                            $          Undetermined                              $           Undetermined

  61. Internet domain names and websites
     See Attached Rider                                                            $          Undetermined                              $           Undetermined

  62. Licenses, franchises, and royalties
     None                                                                          $                                                    $                       0.00

  63. Customer lists, mailing lists, or other compilations
     CUSTOMER LISTING                                                              $          Undetermined        NET BOOK VALUE        $           Undetermined

  64. Other intangibles, or intellectual property
     None                                                                          $                                                    $                       0.00

  65. Goodwill
     None                                                                          $                                                    $                       0.00

  66. Total of Part 10.
                                                                                                                                            $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 6
Debtor      23andMe, Inc.
                   Case 25-40977            Doc 9                                            Case number (If known)
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            Name
                                                                       Pg 21 of 1950
  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     ¨ No
     þ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     ¨ No
     þ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year              $                   0.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                          $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                          $         20,955,859.49
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $         20,955,859.49*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
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Debtor     23andMe, Inc.                                                                         Case number (If known) 25-40977 (BCW)
                                                                               Pg 22 of 1950
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                     Current value
         Type of Property
                                                                                                            personal property                   of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $         52,049,932.71

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $         12,937,740.21

  82. Accounts receivable. Copy line 12, Part 3.                                                           $          5,882,920.46

  83. Investments. Copy line 17, Part 4.                                                                   $                   0.00

  84. Inventory. Copy line 23, Part 5.                                                                     $         13,890,543.20

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $             853,366.27
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $                   0.00

  88. Real property. Copy line 56, Part 9. . ...............................................................................                    $Undetermined

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $       20,955,859.49*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $      106,570,362.34*     + 91b.    $Undetermined




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $   106,570,362.34*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                      Page 8
            Case 25-40977            Doc 9       Filed 04/28/25 Entered 04/28/25 19:02:59                          Main Document
Debtor Name: 23andMe, Inc.                                  Pg 23 of 1950                                           Case Number: 25-40977 (BCW)

                                                        Assets - Real and Personal Property

                                 Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage firm)             Type of account                    Last 4 digits of account     Current value of debtor's
                                                                                            number                       interest

JPMORGAN CHASE BANK, N.A.                                CONCENTRATION ACCOUNT             X9657                                      $37,037,257.67


JPMORGAN CHASE BANK, N.A.                                COLLATERAL ACCOUNT                X1733                                      $14,988,136.00


JPMORGAN CHASE BANK, N.A.                                DISBURSEMENT ACCOUNT              X1413                                          $24,539.04


JPMORGAN CHASE BANK, N.A.                                DISBURSEMENT ACCOUNT              X9280                                               $0.00


JPMORGAN CHASE BANK, N.A.                                DISBURSEMENT ACCOUNT              X9928                                               $0.00


JPMORGAN CHASE BANK, N.A.                                INVESTMENT ACCOUNT                X6833                                               $0.00


JPMORGAN CHASE BANK, N.A.                                OPERATING ACCOUNT                 X2026                                               $0.00


JPMORGAN CHASE BANK, N.A.                                PROCESSOR ACCOUNT                 X9689                                               $0.00



                                                                                             TOTAL                                    $52,049,932.71




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Debtor Name: 23andMe, Inc.                                  Pg 24 of 1950                                              Case Number: 25-40977 (BCW)

                                                         Assets - Real and Personal Property

                                      Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                           Current value of debtor's
(Description, including name of holder of deposit)                                   interest

DEPOSIT - ALVAREZ & MARSAL NORTH AMERICA, LLC - RETAINER                                                                                  $500,000.00



DEPOSIT - INTERNATIONAL CREATIVE MANAGEMENT PARTNERS LLC -                                                                                 $75,000.00
MISCELLANEOUS

DEPOSIT - NAVIA BENEFIT SOLUTIONS - MISCELLANEOUS                                                                                          $28,896.06



DEPOSIT - OYSTER POINT SECURITY DEPOSIT - SECURITY DEPOSIT                                                                                $427,200.00



DEPOSIT - PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP - RETAINER                                                                         $519,296.08



TOTAL                                                                                                                                    $1,550,392.14




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Debtor Name: 23andMe, Inc.                                   Pg 25 of 1950                                           Case Number: 25-40977 (BCW)

                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - 870 MARKET STREET ASSOCIATES II, LP                                                                                          $2,169.00


PREPAYMENT - ACQUIA, INC.                                                                                                                 $3,333.64


PREPAYMENT - ADA SUPPORT INC.                                                                                                            $42,739.72


PREPAYMENT - AGILEBITS, INC                                                                                                              $14,546.25


PREPAYMENT - ALCHEMER LLC                                                                                                                 $5,548.54


PREPAYMENT - ALLIUM US HOLDING, LLC                                                                                                       $4,886.26


PREPAYMENT - ALPHASENSE, INC.                                                                                                            $14,843.77


PREPAYMENT - ALTAIR ENGINEERING INC.                                                                                                      $3,397.27


PREPAYMENT - AMERICAN MEDICAL ASSOCIATION FOUNDATION                                                                                     $25,150.68


PREPAYMENT - ANDRE JOHN FERNANDEZ                                                                                                       $479,478.82


PREPAYMENT - ANYBILL                                                                                                                        $942.40


PREPAYMENT - AON CONSULTING INC.                                                                                                         $12,534.27


PREPAYMENT - APPZEN, INC.                                                                                                                 $2,175.96


PREPAYMENT - AUDITBOARD, INC.                                                                                                            $59,679.46


PREPAYMENT - AVALARA                                                                                                                     $11,722.31


PREPAYMENT - AWS                                                                                                                       $2,667,601.37


PREPAYMENT - BAZAARVOICE, INC.                                                                                                            $9,615.37


PREPAYMENT - BIASSYNC                                                                                                                        $53.13


PREPAYMENT - BIOCENTURY INC.                                                                                                              $2,299.71


PREPAYMENT - BLOOMBERG INDUSTRY GROUP, INC.                                                                                               $6,131.71


PREPAYMENT - BOX INC.                                                                                                                    $46,682.72


PREPAYMENT - BRANDPOINT                                                                                                                   $2,306.29


PREPAYMENT - CAERUS US 1 INC.                                                                                                            $19,654.77



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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - CDW DIRECT LLC                                                                                                             $153,556.90


PREPAYMENT - CISION US INC                                                                                                                $1,285.52


PREPAYMENT - CLOUDFLARE, INC.                                                                                                            $27,271.60


PREPAYMENT - COMPUTER PACKAGES INC.                                                                                                      $15,056.35


PREPAYMENT - CONCUR TECHNOLOGIES, INC.                                                                                                    $3,916.36


PREPAYMENT - CONTEGIX, LLC                                                                                                              $190,462.57


PREPAYMENT - CONVERGE TECHNOLOGY SOLUTIONS US, LLC                                                                                       $77,591.08


PREPAYMENT - CORPORATECARE SOLUTIONS, INC.                                                                                                $4,694.79


PREPAYMENT - DATA PROTECTION REPRESENTATIVE LTD.                                                                                          $2,014.14


PREPAYMENT - DATAVANT, INC.                                                                                                              $56,773.97


PREPAYMENT - DIGITAL MEDIA INNOVATIONS, LLC                                                                                              $21,252.79


PREPAYMENT - DIGITAL SCIENCE & RESEARCH SOLUTIONS INC.                                                                                    $4,575.33


PREPAYMENT - DMARCIAN, INC.                                                                                                                  $98.63


PREPAYMENT - DOCUSIGN INC.                                                                                                               $17,799.11


PREPAYMENT - ENVOY, INC.                                                                                                                  $4,557.53


PREPAYMENT - ERG LEADERSHIP ALLIANCE, LLC                                                                                                 $1,223.29


PREPAYMENT - ETRADE FINANCIAL CORPORATE SERVICES, INC.                                                                                   $23,301.34


PREPAYMENT - E-TYPES A/S                                                                                                                 $48,000.00


PREPAYMENT - FAST FOUR USA INC.                                                                                                           $1,833.27


PREPAYMENT - FASTPATH SOLUTIONS LLC                                                                                                       $2,757.12


PREPAYMENT - FIGMA, INC.                                                                                                                  $5,792.06


PREPAYMENT - FINDEM, INC.                                                                                                                $14,866.86


PREPAYMENT - FLOQAST, INC.                                                                                                               $25,135.34



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            Case 25-40977             Doc 9       Filed 04/28/25 Entered 04/28/25 19:02:59                           Main Document
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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - FOOD AND DRUG ADMINISTRATION                                                                                                 $6,991.79


PREPAYMENT - GENEALOGICAL SOCIETY OF UTAH                                                                                                $35,000.00


PREPAYMENT - GEORGIA DEPARTMENT OF REVENUE                                                                                                $6,400.00


PREPAYMENT - GITHUB, INC.                                                                                                                $21,872.20


PREPAYMENT - GOLD PR LTD                                                                                                                $113,150.00


PREPAYMENT - GREENHOUSE SOFTWARE, INC.                                                                                                   $55,441.26


PREPAYMENT - HACKERONE INC.                                                                                                              $73,452.76


PREPAYMENT - HARRIS INSIGHTS & ANALYTICS, LLC.                                                                                            $3,470.45


PREPAYMENT - HEALTH GORILLA INC.                                                                                                         $10,280.90


PREPAYMENT - HEAP, INC                                                                                                                   $34,859.77


PREPAYMENT - HYATT REGENCY SALT LAKE CITY                                                                                                $11,063.00


PREPAYMENT - INSTRUCTURE, INC.                                                                                                            $4,191.78


PREPAYMENT - INTERNATIONAL CENTER FOR PROFESSIONAL DEVELOPMENT                                                                            $2,772.58


PREPAYMENT - INTOO, LLC                                                                                                                  $23,626.38


PREPAYMENT - JAGGAER, LLC                                                                                                                $44,852.26


PREPAYMENT - JIM FRANKOLA                                                                                                               $479,478.82


PREPAYMENT - KILROY REALTY, LP                                                                                                          $465,950.75


PREPAYMENT - KROLL RESTRUCTURING ADMINISTRATION LLC                                                                                      $25,000.00


PREPAYMENT - LAMBDATEST INC.                                                                                                              $5,842.63


PREPAYMENT - LESLIE IORILLO                                                                                                               $5,000.00


PREPAYMENT - LEXISNEXIS, A DIVISION OF RELX INC.                                                                                          $8,880.38


PREPAYMENT - LIFEBIT BIOTECH LIMITED                                                                                                    $271,797.97


PREPAYMENT - LITMUS SOFTWARE, INC.                                                                                                        $6,118.22



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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - LOQATE INC                                                                                                                  $21,958.50


PREPAYMENT - LOS ANGELES COUNTY TAX COLLECTOR                                                                                            $17,850.61


PREPAYMENT - LUCID SOFTWARE INC.                                                                                                         $26,178.27


PREPAYMENT - MARK E. JENSEN                                                                                                             $479,478.82


PREPAYMENT - MARKMONITOR                                                                                                                  $6,219.45


PREPAYMENT - MAVLERS                                                                                                                      $7,136.55


PREPAYMENT - MDISRUPT INC.                                                                                                               $27,332.53


PREPAYMENT - MEDPACE, INC.                                                                                                              $739,728.09


PREPAYMENT - MUCK RACK, LLC                                                                                                              $28,504.11


PREPAYMENT - MY MOC INC.                                                                                                                  $6,224.80


PREPAYMENT - NAVEX GLOBAL, INC                                                                                                            $3,573.94


PREPAYMENT - NUSPECTIVE, INC.                                                                                                               $171.57


PREPAYMENT - OFFICESPACE SOFTWARE, INC.                                                                                                   $5,351.26


PREPAYMENT - OOMNITZA INC.                                                                                                               $12,363.28


PREPAYMENT - OPSGENIE, INC                                                                                                                  $676.23


PREPAYMENT - OPTIMIZELY NORTH AMERICA, INC                                                                                               $18,514.94


PREPAYMENT - ORACLE AMERICA INC.                                                                                                         $24,147.76


PREPAYMENT - OXFORD UNIVERSITY PRESS                                                                                                      $4,496.19


PREPAYMENT - PLANFUL, INC.                                                                                                               $17,484.86


PREPAYMENT - REEVEMARK, LLC                                                                                                             $260,775.00


PREPAYMENT - RESILIENCE                                                                                                                   $5,013.68


PREPAYMENT - ROCKET LAWYER INCORPORATED                                                                                                   $8,375.90


PREPAYMENT - SALESFORCE.COM                                                                                                             $586,349.89



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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - SANTA CLARA COUNTY TAX COLLECTOR                                                                                            $70,758.31


PREPAYMENT - SARAH PONCE                                                                                                                 $15,000.00


PREPAYMENT - SCALE STRATEGY OPERATIONS LLC                                                                                              $360,000.00


PREPAYMENT - SIFTED                                                                                                                       $4,327.42


PREPAYMENT - SMARTSHEET INC                                                                                                              $42,013.97


PREPAYMENT - SPROUT SOCIAL, INC.                                                                                                         $17,660.22


PREPAYMENT - SPRUCE LLC                                                                                                                   $7,345.20


PREPAYMENT - STEADYMD PHYSICAN GROUP {C-CORP}                                                                                            $55,393.33


PREPAYMENT - SURVEYMONKEY INC.                                                                                                            $1,324.62


PREPAYMENT - SYNDIO SOLUTIONS, INC.                                                                                                      $15,627.38


PREPAYMENT - TEAMOHANA, INC.                                                                                                             $13,351.52


PREPAYMENT - THE INTERNATIONAL PARKINSON AND MOVEMENT DISORDER                                                                            $8,539.47
SOCIETY, INC.

PREPAYMENT - THE NASDAQ STOCK MARKET LLC                                                                                                 $76,327.42


PREPAYMENT - TRUSTARC INC                                                                                                                $13,520.56


PREPAYMENT - TRUSTPILOT INC                                                                                                               $8,567.42


PREPAYMENT - UK BIOBANK LIMITED                                                                                                           $2,586.74


PREPAYMENT - UL VERIFICATION SERVICES INC.                                                                                               $36,635.87


PREPAYMENT - USPS                                                                                                                       $108,858.43


PREPAYMENT - VALIDITY, INC.                                                                                                               $6,435.58


PREPAYMENT - VEEVA SYSTEMS INC                                                                                                           $33,140.82


PREPAYMENT - VOUCHED                                                                                                                     $12,032.87


PREPAYMENT - WOODRUFF-SAWYER & CO.                                                                                                     $2,170,081.29


PREPAYMENT - WORKATO, INC.                                                                                                               $46,794.52



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                                                         Assets - Real and Personal Property


                     Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                    Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)      interest

PREPAYMENT - WORKIVA INC.                                                                                                                $50,589.04


PREPAYMENT - WP ENGINE, INC                                                                                                              $17,762.30


PREPAYMENT - ZOOM VIDEO COMMUNICATIONS INC                                                                                               $27,964.27


TOTAL                                                                                                                                 $11,387,348.07




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                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

LEASEHOLD IMPROVEMENTS                                 LEASEHOLD                      Undetermined NET BOOK VALUE                                Undetermined
                                                       IMPROVEMENTS

LEASED PROPERTY: 221 N. MATHILDA                       LEASED PROPERTY                Undetermined NET BOOK VALUE                                Undetermined
AVENUE SUNNYVALE, CALIFORNIA

LEASED PROPERTY: 349 OYSTER POINT                      LEASED PROPERTY                Undetermined NET BOOK VALUE                                Undetermined
BOULEVARD SOUTH SAN FRANCISCO,
CALIFORNIA
                                                                                                       TOTAL                                              $0.00
                                                                                                                                         + Undetermined Amounts




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Debtor Name: 23andMe, Inc.                                  Pg 32 of 1950                                          Case Number: 25-40977 (BCW)

                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - "I EAT CHROMOSOMES!" (PICTORIAL WORK) -                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-812-274 ON 03/06/2012 - UNITED STATES

COPYRIGHT - "I SPAT!" PICTORIAL WORK - REGISTER #VA                       Undetermined NET BOOK VALUE                                  Undetermined
1-812-275 ON 03/06/2012 - UNITED STATES

COPYRIGHT - 23ANDME CHROMOSOME CLUSTER DESIGN -                           Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-990-495 ON 01/19/2016 - UNITED STATES

COPYRIGHT - 23ANDME DESKTOP WEBSITE - REGISTER #TX                        Undetermined NET BOOK VALUE                                  Undetermined
8-312-154 ON 03/20/2017 - UNITED STATES

COPYRIGHT - 23ANDME MOBILE SITE - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-504-275 ON 01/00/1900 - UNITED STATES

COPYRIGHT - 23ANDME PACKAGE DESIGN (FRONT & BACK)                         Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #VA 1-765-641 ON 03/02/2011 - UNITED STATES

COPYRIGHT - 23ANDME PUBLIC WEBSITE - REGISTER #TX                         Undetermined NET BOOK VALUE                                  Undetermined
7-366-299 ON 04/15/2010 - UNITED STATES

COPYRIGHT - 23ANDME WEBSITE HOME PAGE MAY 2012 -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-547-641 ON 05/11/2012 - UNITED STATES

COPYRIGHT - ABACAVIR HYPERSENSITIVITY ESTABLISHED                         Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-925 ON
08/03/2010 - UNITED STATES
COPYRIGHT - ABDOMINAL AORTIC ANEURYSM PRELIMINARY                         Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-451 ON
09/10/2010 - UNITED STATES
COPYRIGHT - AGENESIS OF THE CORPUS CALLOSUM WITH                          Undetermined NET BOOK VALUE                                  Undetermined
PERIPHERAL NEUROPATHY REPORTS - REGISTER #TX
8-503-320 ON 01/13/2016 - UNITED STATES
COPYRIGHT - AGE-RELATED MACULAR DEGENERATION -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-513-731 ON 08/24/2017 - UNITED STATES

COPYRIGHT - AGE-RELATED MACULAR DEGENERATION                              Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
8-086-948 ON 02/15/2008 - UNITED STATES
COPYRIGHT - ALCOHOL CONSUMPTION, SMOKING AND RISK                         Undetermined NET BOOK VALUE                                  Undetermined
OF ESOPHAGEAL CANCER ESTABLISHED RESEARCH
REPORT - REGISTER #TX 7-321-366 ON 12/13/2010 - UNITED
STATES
COPYRIGHT - ALCOHOL DEPENDENCE PRELIMINARY                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-007 ON
09/10/2010 - UNITED STATES
COPYRIGHT - ALCOHOL FLUSH REACTION ESTABLISHED                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-321-391 ON
12/13/2010 - UNITED STATES
COPYRIGHT - ALCOHOL FLUSH REACTION REPORTS -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-217 ON 01/16/2016 - UNITED STATES

COPYRIGHT - ALL MY FRIENDS, FROM TOES TO CHINS, YOU                       Undetermined NET BOOK VALUE                                  Undetermined
SHARE GENES WITH ME. - REGISTER #VAU 1-134-993 ON
05/14/2013 - UNITED STATES
COPYRIGHT - ALPHA-1 ANTITRYPSIN DEFICIENCY -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-420-123 ON 07/17/2017 - UNITED STATES

COPYRIGHT - ALPHA-1 ANTITRYPSIN DEFICIENCY                                Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT. - REGISTER #TX
7-294-906 ON 08/03/2010 - UNITED STATES
COPYRIGHT - ANCESTRY COMPOSITION REPORTS -                                Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-312 ON 01/13/2016 - UNITED STATES

COPYRIGHT - ANKYLOSING SPONDYLITIS PRELIMINARY                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT. - REGISTER #TX 7-323-081 ON
09/10/2010 - UNITED STATES


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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - ANTIDEPRESSANT RESPONSE PRELIMINARY                           Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-009 ON
09/10/2010 - UNITED STATES
COPYRIGHT - ANXIETY - REGISTER #TX 9-157-460                              Undetermined NET BOOK VALUE                                  Undetermined
(SUPPLEMENTAL REG
CERT TX 9-240-435) ON 07/26/2022 - UNITED STATES
COPYRIGHT - ARSACS REPORTS - REGISTER #TX 8-503-305                       Undetermined NET BOOK VALUE                                  Undetermined
ON 01/13/2016 - UNITED STATES

COPYRIGHT - ASPARAGUS ODOR DETECTION - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-550-703 ON 03/19/2018 - UNITED STATES

COPYRIGHT - ASPARAGUS PICTORIAL WORK - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#VA 1-815-875 ON 03/30/2012 - UNITED STATES

COPYRIGHT - ASTHMA - REGISTER #TX 9-188-890 ON                            Undetermined NET BOOK VALUE                                  Undetermined
10/12/2022 - UNITED STATES

COPYRIGHT - ASTHMA PRELIMINARY RESEARCH REPORT -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-324-555 ON 09/10/2010 - UNITED STATES

COPYRIGHT - ATRIAL FIBRILLATION - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-964-734 ON 03/17/2021 - UNITED STATES

COPYRIGHT - ATRIAL FIBRILLATION ESTABLISHED                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-922 ON
08/03/2010 - UNITED STATES
COPYRIGHT - ATRIAL FIBRILLATION: PRELIMINARY                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-093 ON
09/10/2010 - UNITED STATES
COPYRIGHT - ATTENTION-DEFICIT HYPERACTIVITY                               Undetermined NET BOOK VALUE                                  Undetermined
DISORDER PRELIMINARY RESEARCH REPORT - REGISTER
#TX 7-324-584 ON 09/10/2010 - UNITED STATES
COPYRIGHT - ATTENTION-DEFICIT/HYPERACTIVITY                               Undetermined NET BOOK VALUE                                  Undetermined
DISORDER (ADHD) - REGISTER #TX 9-249-322 ON 03/17/2023 -
UNITED STATES
COPYRIGHT - AUTOSOMAL RECESSIVE POLYCYSTIC KIDNEY                         Undetermined NET BOOK VALUE                                  Undetermined
DISEASE REPORTS - REGISTER #TX 8-504-284 ON 01/19/2016
- UNITED STATES
COPYRIGHT - AVOIDANCE OF ERRORS PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #RX 7-323-072 ON
09/20/2010 - UNITED STATES
COPYRIGHT - BACK HAIR - REGISTER #TX 8-551-460 ON                         Undetermined NET BOOK VALUE                                  Undetermined
03/22/2018 - UNITED STATES

COPYRIGHT - BACK PAIN PRELIMINARY RESEARCH REPORT                         Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 7-326-100 ON 09/10/2011 - UNITED STATES

COPYRIGHT - BALD SPOT - REGISTER #TX 8-551-453 ON                         Undetermined NET BOOK VALUE                                  Undetermined
03/22/2018 - UNITED STATES

COPYRIGHT - BALDNESS PRELIMINARY RESEARCH REPORT                          Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 7-324-001 ON 09/10/2010 - UNITED STATES

COPYRIGHT - BANANA, MONKEY, MAN, CHICKEN PICTORIAL                        Undetermined NET BOOK VALUE                                  Undetermined
WORK - REGISTER #VA 1-815-877 ON 03/30/2012 - UNITED
STATES
COPYRIGHT - BASAL CELL CARINOMA PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-468 ON
09/09/2010 - UNITED STATES
COPYRIGHT - BETA THALASSEMIA AND RELATED                                  Undetermined NET BOOK VALUE                                  Undetermined
HEMOGLOBINOPATHIES REPORTS - REGISTER #TX 8-503-287
ON 01/16/2016 - UNITED STATES
COPYRIGHT - BETA-BLOCKER RESPONSE PRELIMINARY                             Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT. - REGISTER #TX 7-326-242 ON
09/10/2010 - UNITED STATES


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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - BIPOLAR DISORDER ESTABLISHED RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-294-913 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - BIPOLAR DISORDER: PRELIMINARY                                 Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-005 ON
08/03/2010 - UNITED STATES
COPYRIGHT - BIRTH WEIGHT PRELIMINARY RESEARCH                             Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-106 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - BITTER TASTE - REGISTER #TX 8-551-346 ON                      Undetermined NET BOOK VALUE                                  Undetermined
03/21/2018 - UNITED STATES

COPYRIGHT - BITTER TASTE PERCEPTION ESTABLISHED                           Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-321-385 ON
12/13/2010 - UNITED STATES
COPYRIGHT - BLADDER CANCER PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-462 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - BLOOD GLUCOSE PRELIMINARY RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-548 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - BLOOM SYNDROME REPORTS - REGISTER #TX                         Undetermined NET BOOK VALUE                                  Undetermined
8-503-278 ON 01/13/2016 - UNITED STATES

COPYRIGHT - BLOOM'S SYNDROME ESTABLISHED                                  Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-882 ON
08/03/2010 - UNITED STATES
COPYRIGHT - BRAIN ANEURYSM PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-439 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - BRCA CANCER MUTATIONS (SELECTED)                              Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-887 ON 08/03/2010 - UNITED STATES
COPYRIGHT - BRCAI/BRCA2 - REGISTER #TX 8-646-041 ON                       Undetermined NET BOOK VALUE                                  Undetermined
07/10/2018 - UNITED STATES

COPYRIGHT - BREAST CANCER ESTABLISHED RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-356 ON 12/13/2010 - UNITED
STATES
COPYRIGHT - BREAST CANCER RISK MODIFIERS                                  Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-326-415 ON 09/10/2011 - UNITED STATES
COPYRIGHT - BREASTFEEDING AND IQ PRELIMINARY                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-255 ON
09/10/2011 - UNITED STATES
COPYRIGHT - CAFFEINE CONSUMPTION REPORTS -                                Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-220 ON 01/16/2016 - UNITED STATES

COPYRIGHT - CAFFEINE METABOLISM PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-323-061 ON
09/10/2010 - UNITED STATES
COPYRIGHT - CANAVAN DISEASE ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-295-039 ON 08/03/2010 - UNITED
STATES
COPYRIGHT - CAT ALLERGY - REGISTER #TX 8-982-141 ON                       Undetermined NET BOOK VALUE                                  Undetermined
04/16/2021 - UNITED STATES

COPYRIGHT - CELIAC DISEASE ESTABLISHED RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-922 ON 12/13/2010 - UNITED
STATES
COPYRIGHT - CELIAC DISEASE ESTABLISHED RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-501-876 ON 10/19/2017 - UNITED
STATES
COPYRIGHT - CELIAC DISEASE: PRELIMINARY RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-015 ON 09/10/2010 - UNITED
STATES
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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - CHEEK DIMPLES - REGISTER #TX 8-550-684                        Undetermined NET BOOK VALUE                                  Undetermined
ON 03/19/2018 - UNITED STATES

COPYRIGHT - CHIMPANZEE, DON’T YOU SEE, YOU SHARE                          Undetermined NET BOOK VALUE                                  Undetermined
GENES WITH ME - REGISTER #VAU-1-135-022 ON 05/14/2013 -
UNITED STATES
COPYRIGHT - CHROMOSOME DETAIL ICON - MULTIPLE                             Undetermined NET BOOK VALUE                                  Undetermined
GENES - REGISTER #VA 1-990-344 ON 01/07/2016 - UNITED
STATES
COPYRIGHT - CHROMOSOME DETAIL ICON - ONE GENE -                           Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-990-340 ON 01/07/2016 - UNITED STATES

COPYRIGHT - CHROMOSOME DETAIL ICON - TWO                                  Undetermined NET BOOK VALUE                                  Undetermined
CHROMOSOMES - REGISTER #VA 1-990-398 ON 01/07/2016 -
UNITED STATES
COPYRIGHT - CHRONIC KIDNEY DISEASE (APOL1-RELATED)                        Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 8-963-152 ON 03/10/2021 - UNITED STATES

COPYRIGHT - CHRONIC LYMPHOCYTIC LEUKEMIA                                  Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-326-433 ON 09/10/2010 - UNITED STATES
COPYRIGHT - CLEFT CHIN - REGISTER #TX 8-559-558 ON                        Undetermined NET BOOK VALUE                                  Undetermined
04/09/2018 - UNITED STATES

COPYRIGHT - CLEFT LIP AND CLEFT PALATE PRELIMINARY                        Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-781 ON
09/09/2010 - UNITED STATES
COPYRIGHT - CLINICAL REPORTS: FAMILIAL                                    Undetermined NET BOOK VALUE                                  Undetermined
HYPERCHOLESTEROLEMIA TYPE B - REGISTER #TX
7-241-404 ON 04/05/2010 - UNITED STATES
COPYRIGHT - CLINICAL REPORTS: FAMILIAL                                    Undetermined NET BOOK VALUE                                  Undetermined
MEDITERRANEAN FEVER - REGISTER #TX 7-241-403 ON
04/05/2010 - UNITED STATES
COPYRIGHT - CLINICAL REPORTS: PHENYLKETONURIA -                           Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-241-402 ON 04/05/2010 - UNITED STATES

COPYRIGHT - CLOPIDOGREL (PLAVIX) EFFICACY                                 Undetermined NET BOOK VALUE                                  Undetermined
(CYP2C19-RELATED) - REGISTER #TX 8-684-590 ON
01/07/2019 - UNITED STATES
COPYRIGHT - CLOPIDOGREL (PLAVIX) EFFICACY                                 Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-909 ON 08/03/2010 - UNITED STATES
COPYRIGHT - CLUSTER HEADACHES PRELIMINARY                                 Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-323-089 ON
09/10/2010 - UNITED STATES
COPYRIGHT - COLORECTAL CANCER ESTABLISHED                                 Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-930 ON
12/13/2010 - UNITED STATES
COPYRIGHT - CONGENITAL DISORDER OF GLYCOSYLATION                          Undetermined NET BOOK VALUE                                  Undetermined
TYPE IA (PMM2-CDG) REPORTS - REGISTER #TX 8-503-592
ON 01/15/2016 - UNITED STATES
COPYRIGHT - CONNEXIN 26-RELATED SENSORINEURAL                             Undetermined NET BOOK VALUE                                  Undetermined
HEARING LOSS ESTABLISHED RESEARCH REPORT -
REGISTER #TX 7-295-069 ON 08/03/2010 - UNITED STATES
COPYRIGHT - CORONARY ARTERY DISEASE - REGISTER                            Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-960-317 ON 03/17/2021 - UNITED STATES

COPYRIGHT - C-REACTIVE PROTEIN LEVEL PRELIMINARY                          Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-535 ON
09/10/2011 - UNITED STATES
COPYRIGHT - CREUTZFELDT-JAKOB DISEASE PRELIMINARY                         Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-576 ON
09/10/2010 - UNITED STATES
COPYRIGHT - CROHN'S DISEASE ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-935 ON 12/13/2010 - UNITED
STATES
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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - CYP2C19 DRUG METABOLISM - REGISTER #TX                        Undetermined NET BOOK VALUE                                  Undetermined
8-895-371 ON 08/31/2020 - UNITED STATES

COPYRIGHT - CYSTIC FIBROSIS ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-295-036 ON 08/03/2010 - UNITED
STATES
COPYRIGHT - CYSTIC FIBROSIS REPORTS - REGISTER #TX                        Undetermined NET BOOK VALUE                                  Undetermined
8-503-291 ON 01/13/2016 - UNITED STATES

COPYRIGHT - D-BIFUNCTIONAL PROTEIN DEFICIENCY                             Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-429 ON 01/14/2016 - UNITED
STATES
COPYRIGHT - DEEP SLEEP - REGISTER #TX 8-280-561 ON                        Undetermined NET BOOK VALUE                                  Undetermined
05/19/2016 - UNITED STATES

COPYRIGHT - DEVELOPMENTAL DYSLEXIA PRELIMINARY                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-323-084 ON
09/10/2010 - UNITED STATES
COPYRIGHT - DIHYDROLIPOAMIDE DEHYDROGENASE                                Undetermined NET BOOK VALUE                                  Undetermined
DEFICIENCY REPORTS - REGISTER #TX 8-503-339 ON
01/14/2016 - UNITED STATES
COPYRIGHT - DIVERTICULITIS - REGISTER #TX 9-137-319 ON                    Undetermined NET BOOK VALUE                                  Undetermined
02/23/2022 - UNITED STATES

COPYRIGHT - DOG ALLERGY - REGISTER #TX 8-982-132 ON                       Undetermined NET BOOK VALUE                                  Undetermined
04/16/2021 - UNITED STATES

COPYRIGHT - DPYD DRUG METABOLISM - REGISTER #TX                           Undetermined NET BOOK VALUE                                  Undetermined
8-895-125 ON 08/31/2020 - UNITED STATES

COPYRIGHT - EARLOBE TYPE - REGISTER #TX 8-592-974 ON                      Undetermined NET BOOK VALUE                                  Undetermined
04/09/2018 - UNITED STATES

COPYRIGHT - EARLY HAIR LOSS - REGISTER #TX 8-565-634                      Undetermined NET BOOK VALUE                                  Undetermined
ON 04/20/2018 - UNITED STATES

COPYRIGHT - EARWAX TYPE - REGISTER #TX 8-565-621 ON                       Undetermined NET BOOK VALUE                                  Undetermined
04/20/2018 - UNITED STATES

COPYRIGHT - EARWAX TYPE ESTABLISHED RESEARCH                              Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-321-382 ON 12/13/2010 - UNITED
STATES
COPYRIGHT - ECZEMA (ATOPIC DERMATITIS) - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-980-475 ON 06/17/2021 - UNITED STATES

COPYRIGHT - ENDOMETRIOSIS PRELIMINARY RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-392 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - ESOPHAGEAL CANCER PRELIMINARY                                 Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-144 ON
09/10/2010 - UNITED STATES
COPYRIGHT - ESSENTIAL TREMOR PRELIMINARY                                  Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-368 ON
09/09/2010 - UNITED STATES
COPYRIGHT - EXFOLIATION GLAUCOMA ESTABLISHED                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-920 ON
08/03/2010 - UNITED STATES
COPYRIGHT - EYE COLOR - REGISTER #TX 8-566-283 ON                         Undetermined NET BOOK VALUE                                  Undetermined
04/23/2018 - UNITED STATES

COPYRIGHT - EYE COLOR ESTABLISHED RESEARCH                                Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-294-761 ON 08/03/2010 - UNITED
STATES
COPYRIGHT - EYE COLOR: PRELIMINARY RESEARCH                               Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-222 ON 09/10/2010 - UNITED
STATES



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - FACIAL FEATURES FINAL REPORTS -                               Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-258 ON 01/17/2016 - UNITED STATES

COPYRIGHT - FACTOR XI DEFICIENCY ESTABLISHED                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-295-042 ON
08/03/2010 - UNITED STATES
COPYRIGHT - FAMILIAL DYSAUTONOMIA ESTABLISHED                             Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-295-045 ON
08/03/2010 - UNITED STATES
COPYRIGHT - FAMILIAL DYSAUTONOMIA REPORTS -                               Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-441 ON 01/14/2016 - UNITED STATES

COPYRIGHT - FAMILIAL HYPERCHOLESTEROLEMIA -                               Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-840-060 ON 01/10/2020 - UNITED STATES

COPYRIGHT - FAMILIAL HYPERINSULINISM                                      Undetermined NET BOOK VALUE                                  Undetermined
(ABCC8-RELATED) - REGISTER #TX 8-563-677 ON 03/23/2018 -
UNITED STATES
COPYRIGHT - FAMILIAL MEDITERRANEAN FEVER -                                Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-837-642 ON 01/11/2020 - UNITED STATES

COPYRIGHT - FANCONI ANEMIA (FANCC-RELATED)                                Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-295-068 ON 08/03/2010 - UNITED STATES
COPYRIGHT - FANCONI ANEMIA GROUP C REPORTS -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-418 ON 01/14/2016 - UNITED STATES

COPYRIGHT - FIBROMYALGIA - REGISTER #TX 9-212-009 ON                      Undetermined NET BOOK VALUE                                  Undetermined
08/18/2022 - UNITED STATES

COPYRIGHT - FINGER LENGTH RATIO - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-563-222 ON 04/17/2018 - UNITED STATES

COPYRIGHT - FLUOROURACIL TOXICITY ESTABLISHED                             Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-930 ON
08/03/2010 - UNITED STATES
COPYRIGHT - FOOD PREFERENCE PRELIMINARY RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-316-564 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - FRANKLIN JOURNEY TELEVISION                                   Undetermined NET BOOK VALUE                                  Undetermined
COMMERCIAL - REGISTER #PAU 3-605-595 ON 03/02/2012 -
UNITED STATES
COPYRIGHT - FRECKLES - REGISTER #TX 8-563-219 ON                          Undetermined NET BOOK VALUE                                  Undetermined
04/17/2018 - UNITED STATES

COPYRIGHT - FRECKLING PRELIMINARY RESEARCH                                Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-360 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - FRIENDS AND FAMILY ICON - REGISTER #VA                        Undetermined NET BOOK VALUE                                  Undetermined
1-990-345 ON 01/06/2016 - UNITED STATES

COPYRIGHT - FRUIT FLY, UP SO HIGH, YOU SHARE GENES                        Undetermined NET BOOK VALUE                                  Undetermined
WITH ME. - REGISTER #VAU 1-135-024 ON 05/14/2013 -
UNITED STATES
COPYRIGHT - G6PD DEFICIENCY - REGISTER #TX 8-837-638                      Undetermined NET BOOK VALUE                                  Undetermined
ON 01/10/2020 - UNITED STATES

COPYRIGHT - G6PD DEFICIENCY - REGISTER #TX 8-977-888                      Undetermined NET BOOK VALUE                                  Undetermined
ON 03/11/2021 - UNITED STATES

COPYRIGHT - G6PD DEFICIENCY ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-052-273 ON 12/13/2010 - UNITED
STATES
COPYRIGHT - GALLSTONES - REGISTER #TX 8-980-477 ON                        Undetermined NET BOOK VALUE                                  Undetermined
08/31/2021 - UNITED STATES




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - GALLSTONES PRELIMINARY RESEARCH                               Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-478 ON 09/09/2010 - UNITED
STATES
COPYRIGHT - GAUCHER DISEASE ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-295-071 ON 08/03/2010 - UNITED
STATES
COPYRIGHT - GAUCHER DISEASE TYPE 1 - REGISTER #TX                         Undetermined NET BOOK VALUE                                  Undetermined
8-420-334 ON 07/14/2017 - UNITED STATES

COPYRIGHT - GENES & DNA - REGISTER #VAU 1-134-893 ON                      Undetermined NET BOOK VALUE                                  Undetermined
05/14/2013 - UNITED STATES

COPYRIGHT - GENETIC WEIGHT - REGISTER #TX 8-541-375                       Undetermined NET BOOK VALUE                                  Undetermined
ON 03/03/2017 - UNITED STATES

COPYRIGHT - GENETICS 101: AN ANIMATED GUIDE; PART 1:                      Undetermined NET BOOK VALUE                                  Undetermined
WHAT ARE GENES? - REGISTER #PA 1-688-049 ON 04/08/2010
- UNITED STATES
COPYRIGHT - GENETICS 101: AN ANIMATED GUIDE; PART 2:                      Undetermined NET BOOK VALUE                                  Undetermined
WHAT ARE SNPS? - REGISTER #PA 1-688-046 ON 04/08/2010 -
UNITED STATES
COPYRIGHT - GENETICS 101: AN ANIMATED GUIDE; PART 3:                      Undetermined NET BOOK VALUE                                  Undetermined
WHERE DO GENES COME FROM? - REGISTER #PA 1-688-055
ON 04/08/2010 - UNITED STATES
COPYRIGHT - GENETICS 101: AN ANIMATED GUIDE; PART 4:                      Undetermined NET BOOK VALUE                                  Undetermined
WHAT ARE PHENOTYPES? - REGISTER #PA 1-688-057 ON
04/08/2010 - UNITED STATES
COPYRIGHT - GESTATIONAL DIABETES - REGISTER #TX                           Undetermined NET BOOK VALUE                                  Undetermined
9-029-167 ON 09/17/2021 - UNITED STATES

COPYRIGHT - GESTATIONAL DIABETES PRELIMINARY                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-363 ON
09/10/2010 - UNITED STATES
COPYRIGHT - GLAUCOMA - REGISTER #TX 9-123-040 ON                          Undetermined NET BOOK VALUE                                  Undetermined
04/22/2022 - UNITED STATES

COPYRIGHT - GLYCOGEN STORAGE DISEASE 1A                                   Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-838 ON 08/03/2010 - UNITED STATES
COPYRIGHT - GLYCOGEN STORAGE DISEASE TYPE 1A                              Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-350 ON 01/14/2016 - UNITED
STATES
COPYRIGHT - GOTH JOURNEY TELEVISION COMMERCIAL -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #PAU 3-605-593 ON 03/02/2012 - UNITED STATES

COPYRIGHT - GOUT - REGISTER #TX 8-957-382 ON                              Undetermined NET BOOK VALUE                                  Undetermined
03/20/2021 - UNITED STATES

COPYRIGHT - GOUT PRELIMINARY RESEARCH REPORT -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-322-148 ON 09/10/2010 - UNITED STATES

COPYRIGHT - GRACILE SYNDROME REPORTS - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-503-361 ON 01/14/2016 - UNITED STATES

COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
"DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JULY 1, 2009 TO SEPTEMBER 30, 2009 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER" - REGISTER
#TX 7-392-543 ON 04/26/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITOON BLOG; NEW PUBLISHED
BLOGS FROM APRIL 1, 2008 TO JUNE 30, 2008 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-528-146 ON 03/14/2011 - UNITED STATES




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FOR APRIL 1, 2010 TO JUNE 30, 2010 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-396-064 ON 04/25/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FOR JANUARY 6, 2011 TO MARCH 31, 2011 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-404-120 ON 06/03/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FOR OCTOBER 1, 2010 TO DECEMBER 31, 2010
ADDED INTERMITTENTLY THROUGHOUT THE QUARTER -
REGISTER #TX 7-397-494 ON 04/25/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM APRIL 1, 2009 TO JUNE 30, 2009 ADDED
INTERMITTENTLY THROUGHOUT THE YEAR - REGISTER #TX
7-416-404 ON 04/04/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JANUARY 1, 2008 TO MARCH 31, 2008 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-297-725 ON 02/11/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JANUARY 1, 2009 TO MARCH 31, 2009 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-548-810 ON 04/04/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JANUARY 1, 2010 TO MARCH 31, 2010 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-402-895 ON 04/25/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JULY 1, 2008 TO SEPTEMBER 30, 2008 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-385-159 ON 04/04/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM JULY 1, 2010 TO SEPTEMBER 30, 2010 ADDED
INTERMITTENTLY THROUGHOUT THE QUARTER - REGISTER
#TX 7-402-924 ON 04/26/2011 - UNITED STATES
COPYRIGHT - GROUP REGISTRATION FOR AUTOMATED                              Undetermined NET BOOK VALUE                                  Undetermined
DATABASE TITLED THE SPITTOON BLOG; NEW PUBLISHED
BLOGS FROM OCTOBER 1, 2008 TO DECEMBER 31, 2008
ADDED INTERMITTENTLY THROUGHOUT THE QUARTER -
REGISTER #TX 7-385-161 ON 04/04/2011 - UNITED STATES
COPYRIGHT - HAIR COLOR PRELIMINARY RESEARCH                               Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-323-055 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - HAIR CURL ESTABLISHED RESEARCH REPORT                         Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 7-321-393 ON 12/13/2010 - UNITED STATES

COPYRIGHT - HAIR FINAL REPORTS - REGISTER #TX                             Undetermined NET BOOK VALUE                                  Undetermined
8-504-250 ON 01/17/2016 - UNITED STATES

COPYRIGHT - HAIR TEXTURE - REGISTER #TX 8-562-764 ON                      Undetermined NET BOOK VALUE                                  Undetermined
04/18/2018 - UNITED STATES

COPYRIGHT - HAIR THICKNESS PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-373 ON 09/10/2010 - UNITED
STATES


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Debtor Name: 23andMe, Inc.                                  Pg 40 of 1950                                          Case Number: 25-40977 (BCW)

                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - HAPLOGROUPS REPORTS - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-503-326 ON 01/13/2016 - UNITED STATES

COPYRIGHT - HASHIMOTO'S DISEASE - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
9-206-325 ON 12/07/2022 - UNITED STATES

COPYRIGHT - HDL CHOLESTEROL - REGISTER #TX 8-980-476                      Undetermined NET BOOK VALUE                                  Undetermined
ON 07/15/2021 - UNITED STATES

COPYRIGHT - HDL CHOLESTEROL LEVEL PRELIMINARY                             Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-130 ON
09/10/2010 - UNITED STATES
COPYRIGHT - HEART ATTACK ESTABLISHED RESEARCH                             Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-937 ON 12/14/2010 - UNITED
STATES
COPYRIGHT - HEIGHT PRELIMINARY RESEARCH REPORT -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-326-225 ON 09/10/2010 - UNITED STATES

COPYRIGHT - HEMOCHROMATOSIS ESTABLISHED                                   Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-829 ON
08/03/2010 - UNITED STATES
COPYRIGHT - HEREDITARY AMYLOIDOSIS (TTR-RELATED) -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-837-851 ON 01/11/2020 - UNITED STATES

COPYRIGHT - HEREDITARY FRUCTOSE INTOLERANCE                               Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-435 ON 01/14/2016 - UNITED
STATES
COPYRIGHT - HEREDITARY HEMOCHROMATOSIS                                    Undetermined NET BOOK VALUE                                  Undetermined
(HFE-RELATED) - REGISTER #TX 8-507-671 ON 08/24/2017 -
UNITED STATES
COPYRIGHT - HEREDITARY PROSTATE CANCER                                    Undetermined NET BOOK VALUE                                  Undetermined
(HOXB13-RELATED) - REGISTER #TX 9-264-202 ON
03/22/2023 - UNITED STATES
COPYRIGHT - HEREDITARY THROMBOPHILIA - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-420-357 ON 07/14/2017 - UNITED STATES

COPYRIGHT - HERLITZ JUNCTIONAL EPIDERMOLYSIS                              Undetermined NET BOOK VALUE                                  Undetermined
BULLOSA (LAMB3-RELATED) - REGISTER #TX 8-350-258 ON
11/11/2016 - UNITED STATES
COPYRIGHT - HEROIN ADDICTION PRELIMINARY RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-581 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - HIGH BLOOD PRESSURE - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-977-840 ON 03/17/2021 - UNITED STATES

COPYRIGHT - HIGH BLOOD PRESSURE (HYPERTENSION)                            Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
8-086-363 ON 09/10/2010 - UNITED STATES
COPYRIGHT - HIV PROGRESSION PRELIMINARY RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-943 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - HUMAN PREHISTORY 101: AN ANIMATED                             Undetermined NET BOOK VALUE                                  Undetermined
GUIDE; HUMAN PREHISTORY: PROLOGUE - REGISTER #PA
1-688-052 ON 04/08/2010 - UNITED STATES
COPYRIGHT - HUMAN PREHISTORY 101: AN ANIMATED                             Undetermined NET BOOK VALUE                                  Undetermined
GUIDE; PART 1: OUT OF (EASTERN) AFRICA - REGISTER #PA
1-688-053 ON 04/08/2010 - UNITED STATES
COPYRIGHT - INTRAHEPATIC CHOLESTASIS OF PREGNANCY                         Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-326-446 ON 09/10/2010 - UNITED STATES
COPYRIGHT - IRRITABLE BOWEL SYNDROME - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#TX 9-102-014 ON 03/17/2022 - UNITED STATES

COPYRIGHT - KIDNEY DISEASE PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-322-131 ON 09/10/2010 - UNITED
STATES

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - KIDNEY STONES - REGISTER #TX 8-957-591 ON                     Undetermined NET BOOK VALUE                                  Undetermined
03/23/2021 - UNITED STATES

COPYRIGHT - LACTOSE INTOLERANCE ESTABLISHED                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-318-626 ON
12/14/2010 - UNITED STATES
COPYRIGHT - LACTOSE INTOLERANCE REPORTS -                                 Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-195 ON 01/16/2016 - UNITED STATES

COPYRIGHT - LARYNX CANCER PRELIMINARY RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-322-152 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - LATE-ONSET ALZHEIMER'S DISEASE -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-420-363 ON 07/14/2017 - UNITED STATES

COPYRIGHT - LDL CHOLESTEROL - REGISTER #TX 8 954 992                      Undetermined NET BOOK VALUE                                  Undetermined
ON 03/11/2021 - UNITED STATES

COPYRIGHT - LEIGH SYNDROME, FRENCH CANADIAN TYPE                          Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-589 ON 01/15/2016 - UNITED
STATES
COPYRIGHT - LIGHT OR DARK HAIR - REGISTER #TX                             Undetermined NET BOOK VALUE                                  Undetermined
8-563-215 ON 04/17/2018 - UNITED STATES

COPYRIGHT - LIMB-GIRDLE MUSCULAR DYSTROPHY                                Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-891 ON 08/03/2010 - UNITED STATES
COPYRIGHT - LIMB-GIRDLE MUSCULAR DYSTROPHY                                Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-359 ON 01/14/2016 - UNITED
STATES
COPYRIGHT - LITTLE MOUSE, IN MY HOUSE, YOU SHARE                          Undetermined NET BOOK VALUE                                  Undetermined
GENES WITH ME. - REGISTER #VAU 1-135-025 ON 05/14/2013
- UNITED STATES
COPYRIGHT - LONGEVITY PRELIMINARY RESEARCH                                Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-323-043 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - LOU GEHRIG'S DISEASE (ALS) PRELIMINARY                        Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-351 ON
09/10/2010 - UNITED STATES
COPYRIGHT - LUNG CANCER ESTABLISHED RESEARCH                              Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-052-256 ON 12/09/2010 - UNITED
STATES
COPYRIGHT - LUPUS (SYSTEMIC LUPUS ERYTHEMATOSUS)                          Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
8-086-934 ON 12/14/2010 - UNITED STATES
COPYRIGHT - MALARIA RESISTANCE (DUFFY ANTIGEN)                            Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-320-233 ON 12/14/2010 - UNITED STATES
COPYRIGHT - MALE INFERTILITY PRELIMINARY RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-578 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - MAPLE SYRUP URINE DISEASE TYPE 1B                             Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-295-013 ON 08/03/2010 - UNITED STATES
COPYRIGHT - MAPLE SYRUP URINE DISEASE TYPE 1B                             Undetermined NET BOOK VALUE                                  Undetermined
REPORTS - REGISTER #TX 8-503-562 ON 01/15/2016 - UNITED
STATES
COPYRIGHT - MCAD DEFICIENCY REPORTS - REGISTER #TX                        Undetermined NET BOOK VALUE                                  Undetermined
8-503-585 ON 01/15/2016 - UNITED STATES

COPYRIGHT - MEASURES OF INTELLIGENCE PRELIMINARY                          Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-235 ON
09/10/2010 - UNITED STATES
COPYRIGHT - MELANOMA ESTABLISHED RESEARCH                                 Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-294-937 ON 08/03/2010 - UNITED
STATES
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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - MELANOMA: PRELIMINARY RESEARCH                                Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-322-145 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - MEMORY PRELIMINARY RESEARCH REPORT -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-323-037 ON 09/10/2010 - UNITED STATES

COPYRIGHT - MIGRAINE - REGISTER #TX 8-964-731 ON                          Undetermined NET BOOK VALUE                                  Undetermined
03/17/2021 - UNITED STATES

COPYRIGHT - MUCOLIPIDOSIS IV ESTABLISHED RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-294-942 ON 08/03/2010 - UNITED
STATES
COPYRIGHT - MULTIPLE SCLEROSIS ESTABLISHED                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-938 ON
12/14/2010 - UNITED STATES
COPYRIGHT - MUSCLE COMPOSITION REPORTS - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-504-225 ON 01/16/2016 - UNITED STATES

COPYRIGHT - MUSCLE PERFORMANCE ESTABLISHED                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-052-313 ON
12/14/2010 - UNITED STATES
COPYRIGHT - MUSTARD GRASS, GROWING FAST, YOU                              Undetermined NET BOOK VALUE                                  Undetermined
SHARE GENES WITH ME. - REGISTER #VAU 1-135-29 ON
05/14/2013 - UNITED STATES
COPYRIGHT - MUTYH-ASSOCIATED POLYPOSIS - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-837-848 ON 01/11/2020 - UNITED STATES

COPYRIGHT - NEANDERTHAL ANCESTRY REPORTS -                                Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-296 ON 01/13/2016 - UNITED STATES

COPYRIGHT - NEANDERTHAL ICON - BADGE - REGISTER                           Undetermined NET BOOK VALUE                                  Undetermined
#VA 1-990-490 ON 01/06/2016 - UNITED STATES

COPYRIGHT - NEANDERTHAL ICON - NEANDERTHAL TRAITS                         Undetermined NET BOOK VALUE                                  Undetermined
[GRAYSCALE WITH ABCD] - REGISTER #VA 1-990-500 ON
01/06/2016 - UNITED STATES
COPYRIGHT - NEANDERTHAL ICON - RESULTS [DARKER                            Undetermined NET BOOK VALUE                                  Undetermined
BLUE SIDE PROFILE WITH WEAPON] - REGISTER #VA
1-990-502 ON 01/06/2016 - UNITED STATES
COPYRIGHT - NEANDERTHAL ICON - SCIENTIFIC DETAILS                         Undetermined NET BOOK VALUE                                  Undetermined
[LIGHT BLUE SIDE PROFILE WITH WEAPON] - REGISTER #VA
1-990-501 ON 01/06/2016 - UNITED STATES
COPYRIGHT - NEARSIGHTEDNESS - REGISTER #TX                                Undetermined NET BOOK VALUE                                  Undetermined
9-067-368 ON 01/25/2022 - UNITED STATES

COPYRIGHT - NEURAL TUBE DEFECTS PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-253 ON
09/09/2010 - UNITED STATES
COPYRIGHT - NEUROBLASTOMA PRELIMINARY RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-026 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - NEURONAL CEROID LIPOFUSCINOSIS                                Undetermined NET BOOK VALUE                                  Undetermined
(CLN5-RELATED) REPORTS - REGISTER #TX 8-503-578 ON
01/15/2016 - UNITED STATES
COPYRIGHT - NEURONAL CEROID LIPOFUSCINOSIS                                Undetermined NET BOOK VALUE                                  Undetermined
(PPT1-RELATED) REPORTS - REGISTER #TX 8-503-631 ON
01/15/2016 - UNITED STATES
COPYRIGHT - NEWBORN HAIR - REGISTER #TX 8-563-908 ON                      Undetermined NET BOOK VALUE                                  Undetermined
04/19/2018 - UNITED STATES

COPYRIGHT - NICOTINE DEPENDENCE PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-569 ON
09/10/2010 - UNITED STATES
COPYRIGHT - NIEMANN-PICK DISEASE TYPE A ESTABLISHED                       Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-757 ON
08/03/2010 - UNITED STATES

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - NIEMANN-PICK DISEASE TYPE A REPORTS -                         Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-625 ON 01/15/2016 - UNITED STATES

COPYRIGHT - NIJMEGEN BREAKAGE SYNDROME REPORTS -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-294 ON 01/15/2016 - UNITED STATES

COPYRIGHT - NON-ABO BLOOD GROUPS ESTABLISHED                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-762 ON
08/03/2010 - UNITED STATES
COPYRIGHT - NONALCOHOLIC FATTY LIVER DISEASE -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-966-589 ON 03/23/2021 - UNITED STATES

COPYRIGHT - NONSYNDROMIC HEARING LOSS AND                                 Undetermined NET BOOK VALUE                                  Undetermined
DEAFNESS, DFNB1 (GJB2-RELATED) - REGISTER #TX
9-134-268 ON 06/02/2022 - UNITED STATES
COPYRIGHT - NONSYNDROMIC HEARING LOSS AND                                 Undetermined NET BOOK VALUE                                  Undetermined
DEAFNESS, DFNB1 (GJB2-RELATED) REPORTS - REGISTER
#TX 8-503-331 ON 01/14/2016 - UNITED STATES
COPYRIGHT - NOROVIRUS RESISTANCE ESTABLISHED                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-766 ON
08/03/2010 - UNITED STATES
COPYRIGHT - OBESITY ESTABLISHED RESEARCH REPORT -                         Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-086-940 ON 12/14/2010 - UNITED STATES

COPYRIGHT - OBESITY: PRELIMINARY RESEARCH REPORT -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 7-326-239 ON 09/10/2010 - UNITED STATES

COPYRIGHT - OBSESSIVE-COMPULSIVE DISORDER                                 Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-324-013 ON 09/10/2010 - UNITED STATES
COPYRIGHT - OBSTRUCTIVE SLEEP APNEA - REGISTER #TX                        Undetermined NET BOOK VALUE                                  Undetermined
8-956-716 ON 03/19/2021 - UNITED STATES

COPYRIGHT - ODOR DETECTION PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-323-031 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - ORAL AND THROAT CANCER PRELIMINARY                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-323-067 ON
09/10/2010 - UNITED STATES
COPYRIGHT - ORAL CONTRACEPTIVES, HORMONE                                  Undetermined NET BOOK VALUE                                  Undetermined
REPLACEMENT THERAPY AND RISK OF VENOUS -
REGISTER #TX 8-052-288 ON 12/14/2010 - UNITED STATES
COPYRIGHT - OSTEOARTHRITIS PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-418 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - OTOSCLEROSIS PRELIMINARY RESEARCH                             Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-248 ON 09/09/2010 - UNITED
STATES
COPYRIGHT - PAIN SENSITIVITY PRELIMINARY RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-147 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - PARKINSON'S DISEASE - REGISTER #TX                            Undetermined NET BOOK VALUE                                  Undetermined
8-420-290 ON 07/14/2017 - UNITED STATES

COPYRIGHT - PARKINSON'S DISEASE ESTABLISHED                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-768 ON
08/03/2010 - UNITED STATES
COPYRIGHT - PARKINSON'S DISEASE PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-386 ON
09/10/2010 - UNITED STATES
COPYRIGHT - PENDRED SYNDROME AND DFNB4 HEARING                            Undetermined NET BOOK VALUE                                  Undetermined
LOSS REPORTS - REGISTER #TX 8-503-614 ON 01/15/2016 -
UNITED STATES
COPYRIGHT - PERIPHERAL ARTERIAL DISEASE                                   Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-324-028 ON 09/10/2010 - UNITED STATES

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - PERSISTENT FETAL HEMOGLOBIN                                   Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-324-024 ON 09/10/2010 - UNITED STATES
COPYRIGHT - PHOTIC SNEEZE REFLEX - REGISTER #TX                           Undetermined NET BOOK VALUE                                  Undetermined
8-566-279 ON 04/19/2018 - UNITED STATES

COPYRIGHT - PHYSICAL CHARACTERISTICS FINAL REPORTS                        Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 8-504-244 ON 01/17/2016 - UNITED STATES

COPYRIGHT - PHYSICAL RESPONSES FINAL REPORTS -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-239 ON 01/17/2016 - UNITED STATES

COPYRIGHT - PLACENTAL ABRUPTION PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-002 ON
09/10/2010 - UNITED STATES
COPYRIGHT - POLYCYSTIC OVARY SYNDROME - REGISTER                          Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-977-834 ON 03/24/2021 - UNITED STATES

COPYRIGHT - PREECLAMPSIA - REGISTER #TX 9-223-526 ON                      Undetermined NET BOOK VALUE                                  Undetermined
01/20/2023 - UNITED STATES

COPYRIGHT - PREECLAMPSIA PRELIMINARY RESEARCH                             Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-422 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - PRIMARY HYPEROXALURIA TYPE 2 REPORTS -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-603 ON 01/15/2016 - UNITED STATES

COPYRIGHT - PROGRESSIVE SUPRANUCLEAR PALSY                                Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-324-561 ON 09/10/2010 - UNITED STATES
COPYRIGHT - PROSTATE CANCER ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-925 ON 12/14/2010 - UNITED
STATES
COPYRIGHT - PSEUDOCHOLINESTERASE DEFICIENCY                               Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-318-632 ON 12/14/2010 - UNITED STATES
COPYRIGHT - PSORIASIS - REGISTER #TX 9-134-309 ON                         Undetermined NET BOOK VALUE                                  Undetermined
06/02/2022 - UNITED STATES

COPYRIGHT - PSORIASIS ESTABLISHED RESEARCH REPORT                         Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #TX 8-086-919 ON 12/14/2010 - UNITED STATES

COPYRIGHT - PYRUVATE KINASE DEFICIENCY            - REGISTER              Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-977-890 ON 03/25/2021 - UNITED STATES

COPYRIGHT - QUARTERBACK JOURNEY TELEVISION                                Undetermined NET BOOK VALUE                                  Undetermined
COMMERCIAL - REGISTER #PAU 3-605-596 ON 03/02/2012 -
UNITED STATES
COPYRIGHT - RED HAIR - REGISTER #TX 8-566-292 ON                          Undetermined NET BOOK VALUE                                  Undetermined
04/23/2018 - UNITED STATES

COPYRIGHT - RESISTANCE TO HIV/AIDS ESTABLISHED                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-318-639 ON
12/14/2010 - UNITED STATES
COPYRIGHT - RESPONSE TO HEPATITIS C TREATMENT                             Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-314-636 ON 12/14/2010 - UNITED STATES
COPYRIGHT - RESTLESS LEGS SYNDROME - REGISTER #TX                         Undetermined NET BOOK VALUE                                  Undetermined
8-957-666 ON 03/23/2021 - UNITED STATES

COPYRIGHT - RESTLESS LEGS SYNDROME ESTABLISHED                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-926 ON
12/14/2010 - UNITED STATES
COPYRIGHT - RESULTS DISPLAY ICON - REGISTER #VA                           Undetermined NET BOOK VALUE                                  Undetermined
1-990-343 ON 01/07/2016 - UNITED STATES




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - RHESUS MONKEY, QUICK AND SPUNKY, YOU                          Undetermined NET BOOK VALUE                                  Undetermined
SHARE GENES WITH ME. - REGISTER #VAU 1-135-023 ON
05/14/2013 - UNITED STATES
COPYRIGHT - RHEUMATOID ARTHRITIS ESTABLISHED                              Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-932 ON
12/14/2010 - UNITED STATES
COPYRIGHT - RHIZOMELIC CHONDRODYSPLASIA PUNCTATA                          Undetermined NET BOOK VALUE                                  Undetermined
TYPE 1 (RCDP1) ESTABLISHED RESEARCH REPORT -
REGISTER #TX 7-294-897 ON 08/03/2010 - UNITED STATES
COPYRIGHT - RHIZOMELIC CHONDRODYSPLASIA PUNCTATA                          Undetermined NET BOOK VALUE                                  Undetermined
TYPE 1 REPORTS - REGISTER #TX 8-503-600 ON 01/15/2016 -
UNITED STATES
COPYRIGHT - ROSACEA - REGISTER #TX 9-138-951 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/05/2022 - UNITED STATES

COPYRIGHT - SALLA DISEASE - REGISTER #TX 8-427-461 ON                     Undetermined NET BOOK VALUE                                  Undetermined
09/27/2016 - UNITED STATES

COPYRIGHT - SATURATED FAT AND WEIGHT - REGISTER #TX                       Undetermined NET BOOK VALUE                                  Undetermined
8-427-478 ON 09/27/2016 - UNITED STATES

COPYRIGHT - SCHIZOPHRENIA PRELIMINARY RESEARCH                            Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-324-553 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - SEASONAL ALLERGIES - REGISTER #TX                             Undetermined NET BOOK VALUE                                  Undetermined
9-177-656 ON 09/14/2022 - UNITED STATES

COPYRIGHT - SEVERE ACNE - REGISTER #TX 9-033-159 ON                       Undetermined NET BOOK VALUE                                  Undetermined
11/09/2021 - UNITED STATES

COPYRIGHT - SICKLE CELL ANEMIA & MALARIA RESISTANCE                       Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-822 ON 08/03/2010 - UNITED STATES
COPYRIGHT - SICKLE CELL ANEMIA REPORTS - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-503-670 ON 01/15/2016 - UNITED STATES

COPYRIGHT - SJOGREN-LARSSON SYNDROME REPORTS -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-503-637 ON 01/15/2020 - UNITED STATES

COPYRIGHT - SJÖGREN'S SYNDROME PRELIMINARY                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-324-574 ON
09/10/2010 - UNITED STATES
COPYRIGHT - SKIN CANCER (BASAL AND SQUAMOUS CELL                          Undetermined NET BOOK VALUE                                  Undetermined
CARCINOMAS) - REGISTER #TX 9-126-860 ON 01/27/2022 -
UNITED STATES
COPYRIGHT - SKIN CANCER (MELANOMA) - REGISTER #TX                         Undetermined NET BOOK VALUE                                  Undetermined
9-121-960 ON 01/27/2022 - UNITED STATES

COPYRIGHT - SKIN FINAL REPORTS - REGISTER #TX                             Undetermined NET BOOK VALUE                                  Undetermined
8-504-234 ON 01/17/2016 - UNITED STATES

COPYRIGHT - SKIN PIGMENTATION - REGISTER #TX                              Undetermined NET BOOK VALUE                                  Undetermined
8-566-369 ON 04/23/2018 - UNITED STATES

COPYRIGHT - SLCO1B1 DRUG TRANSPORT METABOLISM -                           Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-895-121 ON 08/31/2020 - UNITED STATES

COPYRIGHT - SLEEP MOVEMENT - REGISTER #TX 8-280-562                       Undetermined NET BOOK VALUE                                  Undetermined
ON 05/19/2016 - UNITED STATES

COPYRIGHT - SORRY, ROCKS DON’T LIVE AND BREATHE, SO                       Undetermined NET BOOK VALUE                                  Undetermined
NO SHARED GENES WITH ME. - REGISTER #VAU 1-134-998
ON 05/14/2013 - UNITED STATES
COPYRIGHT - STATIN RESPONSE PRELIMINARY RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-456 ON 09/10/2010 - UNITED
STATES



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - STILL HAVE A CHANCE ICON FULL CIRCLE -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-990-341 ON 01/06/2016 - UNITED STATES

COPYRIGHT - STILL HAVE A CHANCE ICON PART CIRCLE -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-990-488 ON 01/06/2016 - UNITED STATES

COPYRIGHT - STILL HAVE A CHANCE ICON WITH QUESTION -                      Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VA 1-900-486 ON 01/06/2016 - UNITED STATES

COPYRIGHT - STOMACH CANCER PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-322-139 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - SWEET VS. SALTY - REGISTER #TX 8-566-371                      Undetermined NET BOOK VALUE                                  Undetermined
ON 04/23/2018 - UNITED STATES

COPYRIGHT - TARDIVE DYSKINESIA PRELIMINARY                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-323-077 ON
09/10/2010 - UNITED STATES
COPYRIGHT - TASTE AND SMELL FINAL REPORTS -                               Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-255 ON 01/17/2016 - UNITED STATES

COPYRIGHT - TAY-SACHS DISEASE ESTABLISHED                                 Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-294-759 ON
08/03/2010 - UNITED STATES
COPYRIGHT - TAY-SACHS DISEASE REPORTS - REGISTER                          Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-503-536 ON 01/15/2016 - UNITED STATES

COPYRIGHT - THE SPITTOON BLOG - REGISTERATION                             Undetermined NET BOOK VALUE                                  Undetermined
PENDING - UNITED STATES

COPYRIGHT - THYROID CANCER PRELIMINARY RESEARCH                           Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-360 ON 09/09/2010 - UNITED
STATES
COPYRIGHT - TOE LENGTH RATIO - REGISTER #TX                               Undetermined NET BOOK VALUE                                  Undetermined
8-566-665 ON 04/24/2018 - UNITED STATES

COPYRIGHT - TORSION DYSTONIA ESTABLISHED RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-052-300 ON 12/14/2010 - UNITED
STATES
COPYRIGHT - TOURETTE'S SYNDROME PRELIMINARY                               Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 7-326-425 ON
09/10/2010 - UNITED STATES
COPYRIGHT - TRIGLYCERIDES - REGISTER #TX 8-963-463                        Undetermined NET BOOK VALUE                                  Undetermined
ON 04/16/2021 - UNITED STATES

COPYRIGHT - TUBERCULOSIS SUSCEPTIBILITY                                   Undetermined NET BOOK VALUE                                  Undetermined
PRELIMINARY RESEARCH REPORT - REGISTER #TX
7-326-471 ON 09/09/2010 - UNITED STATES
COPYRIGHT - TYPE 1 DIABETES ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-929 ON 12/14/2010 - UNITED
STATES
COPYRIGHT - TYPE 2 DIABETES - REGISTER #TX 8-837-852                      Undetermined NET BOOK VALUE                                  Undetermined
ON 01/11/2020 - UNITED STATES

COPYRIGHT - TYPE 2 DIABETES ESTABLISHED RESEARCH                          Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 8-086-949 ON 12/14/2010 - UNITED
STATES
COPYRIGHT - TYROSINEMIA TYPE 1 REPORTS - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
#TX 8-504-183 ON 01/16/2016 - UNITED STATES

COPYRIGHT - ULCERATIVE COLITIS ESTABLISHED                                Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-052-319 ON
12/14/2010 - UNITED STATES
COPYRIGHT - UNIBROW - REGISTER #TX 8-566-660 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/24/2018 - UNITED STATES




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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
COPYRIGHT - USHER SYNDROME TYPE 1F REPORTS -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-199 ON 01/16/2016 - UNITED STATES

COPYRIGHT - USHER SYNDROME TYPE 3A REPORTS -                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #TX 8-504-211 ON 01/16/2016 - UNITED STATES

COPYRIGHT - UTERINE FIBROIDS - REGISTER #TX 8-966-585                     Undetermined NET BOOK VALUE                                  Undetermined
ON 03/18/2021 - UNITED STATES

COPYRIGHT - UTERINE FIBROIDS PRELIMINARY RESEARCH                         Undetermined NET BOOK VALUE                                  Undetermined
REPORT - REGISTER #TX 7-326-246 ON 09/10/2010 - UNITED
STATES
COPYRIGHT - VENOUS THROMBOEMBOLISM ESTABLISHED                            Undetermined NET BOOK VALUE                                  Undetermined
RESEARCH REPORT - REGISTER #TX 8-086-958 ON
12/14/2010 - UNITED STATES
COPYRIGHT - WARFARIN (COUMADINE) SENSITIVITY                              Undetermined NET BOOK VALUE                                  Undetermined
ESTABLISHED RESEARCH REPORT - REGISTER #TX
7-294-901 ON 08/03/2010 - UNITED STATES
COPYRIGHT - WHITE PAPER 23-01: ESTIMATING                                 Undetermined NET BOOK VALUE                                  Undetermined
GENOTYPE-SPECIFIC INCIDENCE FOR ONE OF SEVERAL
LOCI - REGISTER #TX 7-159-723 ON 03/26/2010 - UNITED
STATES
COPYRIGHT - WHITE PAPER 23-02: ESTIMATING                                 Undetermined NET BOOK VALUE                                  Undetermined
GENOTYPE-SPECIFIC INCIDENCE IN THE CONTEXT OF
ETHNIC VARIATION - REGISTER #TX 7-159-730 ON 03/26/2010
- UNITED STATES
COPYRIGHT - WHITE PAPER 23-03: GUIDELINES ON                              Undetermined NET BOOK VALUE                                  Undetermined
VETTING GENETIC ASSOCIATIONS - REGISTER #TX 7-159-747
ON 03/26/2010 - UNITED STATES
COPYRIGHT - WHITE PAPER 23-04: GLOBAL SIMILARITY'S                        Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY MAP - REGISTER #TX 7-159-789 ON
03/26/2010 - UNITED STATES
COPYRIGHT - WIDOW'S PEAK - REGISTER #TX 8-566-834 ON                      Undetermined NET BOOK VALUE                                  Undetermined
04/24/2018 - UNITED STATES

COPYRIGHT - YOU SHARE GENES WITH ME - FRONT COVER                         Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER #VAU 1-135-108 ON 05/14/2013 - UNITED STATES

COPYRIGHT - YOU SHARE GENES WITH ME – BACK COVER -                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTER #VAU 1-134-987 ON 05/14/2013 - UNITED STATES

COPYRIGHT - YOU SHARE GENES WITH ME (A 23ANDME                            Undetermined NET BOOK VALUE                                  Undetermined
BOOK) - REGISTER #VAU 1-117-744 ON 09/28/2012 - UNITED
STATES
COPYRIGHT - YOU SHARE GENES WITH ME (A 23ANDME                            Undetermined NET BOOK VALUE                                  Undetermined
BOOK) (FINAL VERSION) - REGISTER #VAU 1-135-061 ON
04/29/2013 - UNITED STATES
COPYRIGHT - YOU SHARE GENES WITH ME (A GENETICS                           Undetermined NET BOOK VALUE                                  Undetermined
BOARD BOOK) - REGISTER #TXU001828477 ON 09/11/2012 -
UNITED STATES
COPYRIGHT - YOUR DNA FAMILY - REGISTER #TX 8-396-761                      Undetermined NET BOOK VALUE                                  Undetermined
ON 05/11/2017 - UNITED STATES

COPYRIGHT - ZEBRAFISH, SPLASH AND SPLISH, YOU SHARE                       Undetermined NET BOOK VALUE                                  Undetermined
GENES WITH ME. - REGISTER #VAU 1-134-985 ON 05/14/2013
- UNITED STATES
COPYRIGHT - ZELLWEGER SYNDROME SPECTRUM                                   Undetermined NET BOOK VALUE                                  Undetermined
(PEX1-RELATED0 REPORTS - REGISTER #TX 8-504-204 ON
01/16/2016 - UNITED STATES
PATENT - ANALYZING AND MERGING DATA FROM                                  Undetermined NET BOOK VALUE                                  Undetermined
GENOME-WIDE ASSOCIATION STUDIES - APPLICATION
#18/736,239 APPLIED FOR ON 06/06/2024 - UNITED STATES
PATENT - ANALYZING AND MERGING DATA FROM                                  Undetermined NET BOOK VALUE                                  Undetermined
GENOME-WIDE ASSOCIATION STUDIES - APPLICATION
#PCT/US2024/032819 APPLIED FOR ON 06/06/2024 - PATENT
COOPERATION TREATY

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - ANCESTRY COMPOSITION DETERMINATION -                             Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION #18/922,053 APPLIED FOR ON 10/21/2024 -
UNITED STATES
PATENT - ANCESTRY COMPOSITION DETERMINATION -                             Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION #21856763.4 APPLIED FOR ON 08/13/2021 -
EUROPEAN PATENT
PATENT - ANCESTRY COMPOSITION DETERMINATION -                             Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION #3,183,005 APPLIED FOR ON 08/13/2021 -
CANADA
PATENT - ANCESTRY COMPOSITION DETERMINATION -                             Undetermined NET BOOK VALUE                                  Undetermined
PATENT #11,817,176 APPLIED FOR ON 08/12/2021 - UNITED
STATES
PATENT - ANCESTRY COMPOSITION DETERMINATION -                             Undetermined NET BOOK VALUE                                  Undetermined
PATENT #12,159,690 APPLIED FOR ON 10/05/2023 - UNITED
STATES
PATENT - ANCESTRY FINDER - PATENT #10,854,318 APPLIED                     Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 07/31/2017 - UNITED STATES

PATENT - ANCESTRY FINDER - PATENT #11,468,971 APPLIED                     Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 10/22/2020 - UNITED STATES

PATENT - ANCESTRY PAINTING - APPLICATION # APPLIED                        Undetermined NET BOOK VALUE                                  Undetermined
FOR ON - UNITED STATES

PATENT - ANCESTRY PAINTING - APPLICATION #18/671,542                      Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 05/22/2024 - UNITED STATES

PATENT - ANCESTRY PAINTING - PATENT #11,531,445                           Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 02/28/2022 - UNITED STATES

PATENT - ANCESTRY PAINTING - PATENT #11,625,139                           Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 11/22/2022 - UNITED STATES

PATENT - ANCESTRY PAINTING - PATENT #11,803,777                           Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 03/08/2023 - UNITED STATES

PATENT - ANCESTRY PAINTING - PATENT #12,033,046                           Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 09/21/2023 - UNITED STATES

PATENT - ANCESTRY PAINTING WITH LOCAL ANCESTRY                            Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #10,296,847 APPLIED FOR ON
06/13/2016 - UNITED STATES
PATENT - ANCESTRY PAINTING WITH LOCAL ANCESTRY                            Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #10,572,831 APPLIED FOR ON
07/24/2018 - UNITED STATES
PATENT - ANCESTRY PAINTING WITH LOCAL ANCESTRY                            Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #10,699,803 APPLIED FOR ON
06/13/2016 - UNITED STATES
PATENT - ANCESTRY PAINTING WITH LOCAL ANCESTRY                            Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #10,755,805 APPLIED FOR ON
06/19/2019 - UNITED STATES
PATENT - ANCESTRY PAINTING WITH LOCAL ANCESTRY                            Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #9,367,800 APPLIED FOR ON 03/13/2013
- UNITED STATES
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #10-2022-7045305 APPLIED FOR
ON 05/28/2021 - SOUTH KOREA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #110119701 APPLIED FOR ON
05/31/2021 - TAIWAN
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #11202254720P APPLIED FOR ON
05/28/2021 - SINGAPORE
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #1-2022-07822 APPLIED FOR ON
05/28/2021 - VIETNAM

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #1-2022-553099 APPLIED FOR ON
05/28/2021 - PHILIPPINES
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #140150140003006000 APPLIED
FOR ON 05/28/2021 - IRAN
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #2021281417 APPLIED FOR ON
05/28/2021 - AUSTRALIA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #2022/12133 APPLIED FOR ON
05/28/2021 - SOUTH AFRICA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #2022-0608 APPLIED FOR ON
05/28/2021 - COSTA RICA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #2022-573152 APPLIED FOR ON
05/28/2021 - JAPAN
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #2201007672 APPLIED FOR ON
05/28/2021 - THAILAND
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #3178417 APPLIED FOR ON
05/28/2021 - CANADA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #794052 APPLIED FOR ON
05/28/2021 - NEW ZEALAND
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #A 2022 04310 APPLIED FOR ON
05/28/2021 - UKRAINE
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #MX/A/2022/014736 APPLIED FOR
ON 05/28/2021 - MEXICO
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #P00202213920 APPLIED FOR ON
05/28/2021 - INDONESIA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #P210101465 APPLIED FOR ON
05/31/2021 - ARGENTINA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - APPLICATION #PI2022006371 APPLIED FOR ON
05/28/2021 - MALAYSIA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PATENT #11787861 GRANTED ON 10/17/2023 -
UNITED STATES
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #17/2023 PUBLISHED ON 04/28/2023 -
INDIA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #2,98,668 PUBLISHED ON 01/01/2023 -
ISRAEL
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #2023-0460 PUBLISHED ON 03/10/2023 -
PERU
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #40091700A PUBLISHED ON 12/08/2023 -
HONG KONG
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #4157461 PUBLISHED ON 04/05/2023 -
EURPOEAN PATENT OFFICE
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #43.526 PUBLISHED ON 04/14/2023 -
CHILE

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #989 PUBLISHED ON 02/27/2023 -
COLOMBIA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #BR112022024339-1 PUBLISHED ON
12/27/2022 - BRAZIL
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #CN116323665A PUBLISHED ON
06/23/2023 - CHINA
PATENT - ANTI-CD200R1 ANTIBODIES AND METHODS OF USE                       Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #US-2024-0018239-A1 PUBLISHED ON
01/18/2024 - UNITED STATES
PATENT - ANTI-CD96 ANTIBODIES AND METHODS OF USE                          Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PATENT #11555073 GRANTED ON 01/17/2023 -
UNITED STATES
PATENT - ANTI-CD96 ANTIBODIES AND METHODS OF USE                          Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #3898690 PUBLISHED ON 10/27/2021 -
EURPOEAN PATENT OFFICE
PATENT - ANTI-CD96 ANTIBODIES AND METHODS OF USE                          Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #US 2023-0183343 A1 PUBLISHED ON
06/15/2023 - UNITED STATES
PATENT - ANTIGEN BINDING PROTEINS - APPLICATION                           Undetermined NET BOOK VALUE                                  Undetermined
#63/653,437 APPLIED FOR ON 05/30/2024 - UNITED STATES

PATENT - ANTI-IL1RAP ANTIBODIES - PATENT #11168140                        Undetermined NET BOOK VALUE                                  Undetermined
GRANTED ON 11/09/2021 - UNITED STATES

PATENT - ANTI-IL1RAP ANTIBODIES AND METHODS OF USE                        Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #3837013 PUBLISHED ON 06/23/2021 -
EURPOEAN PATENT OFFICE
PATENT - ANTI-IL1RAP ANTIBODIES AND METHODS OF USE                        Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PUBLISH #US 2022-0106395 A1 PUBLISHED ON
04/07/2022 - UNITED STATES
PATENT - ANTI-IL-36 ANTIBODIES AND METHODS OF USE                         Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PATENT #11884719 GRANTED ON 01/30/2024 -
UNITED STATES
PATENT - ANTI-IL-36 ANTIBODIES AND METHODS OF USE                         Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PATENT #2021/03311 GRANTED ON 10/26/2022 -
SOUTH AFRICA
PATENT - ANTI-IL-36 ANTIBODIES AND METHODS OF USE                         Undetermined NET BOOK VALUE                                  Undetermined
THEREOF - PATENT #F/P/2021/108 GRANTED ON 07/09/2021 -
NIGERIA
PATENT - ATTRIBUTE COMBINATION DISCOVERY FOR                              Undetermined NET BOOK VALUE                                  Undetermined
PREDISPOSITION DETERMINATION - PATENT #9,582,647
APPLIED FOR ON 11/21/2011 - UNITED STATES
PATENT - ATTRIBUTE COMBINATION DISCOVERY FOR                              Undetermined NET BOOK VALUE                                  Undetermined
PREDISPOSITION DETERMINATION OF HEALTH
CONDITIONS - PATENT #11,482,340 APPLIED FOR ON
07/26/2022 - UNITED STATES
PATENT - ATTRIBUTE COMBINATION DISCOVERY FOR                              Undetermined NET BOOK VALUE                                  Undetermined
PREDISPOSITION DETERMINATION OF HEALTH
CONDITIONS - PATENT #11,621,089 APPLIED FOR ON
10/03/2022 - UNITED STATES
PATENT - ATTRIBUTE IDENTIFICATION BASED ON SEEDED                         Undetermined NET BOOK VALUE                                  Undetermined
LEARNING - PATENT #11,581,096 APPLIED FOR ON 10/04/2018
- UNITED STATES
PATENT - ATTRIBUTE METHOD AND SYSTEM - PATENT                             Undetermined NET BOOK VALUE                                  Undetermined
#8,655,899 APPLIED FOR ON 06/29/2012 - UNITED STATES

PATENT - ATTRIBUTE METHOD AND SYSTEM - PATENT                             Undetermined NET BOOK VALUE                                  Undetermined
#8655899 APPLIED FOR ON 06/29/2012 - UNITED STATES

PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- APPLICATION #18/901,887 APPLIED FOR ON 09/30/2024 -
UNITED STATES

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- PATENT #10,162,880 APPLIED FOR ON 07/01/2016 - UNITED
STATES
PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- PATENT #10,891,317 APPLIED FOR ON 10/12/2018 - UNITED
STATES
PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- PATENT #11,748,383 APPLIED FOR ON 12/15/2020 - UNITED
STATES
PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- PATENT #8,990,250 APPLIED FOR ON 10/11/2011 - UNITED
STATES
PATENT - COHORT SELECTION WITH PRIVACY PROTECTION                         Undetermined NET BOOK VALUE                                  Undetermined
- PATENT #9,405,818 APPLIED FOR ON 02/17/2015 - UNITED
STATES
PATENT - COMPARISON AND IDENTIFICATION OF ATTRIBUTE                       Undetermined NET BOOK VALUE                                  Undetermined
SIMILARITY BASED ON GENETIC MARKERS - PATENT
#11,791,054 APPLIED FOR ON 01/20/2023 - UNITED STATES
PATENT - COMPILING CO-ASSOCIATING BIOATTRIBUTES -                         Undetermined NET BOOK VALUE                                  Undetermined
PATENT #7,797,302 APPLIED FOR ON 12/15/2007 - UNITED
STATES
PATENT - COMPILING CO-ASSOCIATING BIOATTRIBUTES -                         Undetermined NET BOOK VALUE                                  Undetermined
PATENT #8,209,319 APPLIED FOR ON 08/09/2010 - UNITED
STATES
PATENT - COMPILING CO-ASSOCIATING BIOATTRIBUTES                           Undetermined NET BOOK VALUE                                  Undetermined
USING EXPANDED BIOATTRIBUTE PROFILES - PATENT
#7,933,912 APPLIED FOR ON 01/03/2008 - UNITED STATES
PATENT - COMPILING CO-ASSOCIATING BIOATTRIBUTES                           Undetermined NET BOOK VALUE                                  Undetermined
USING EXPANDED BIOATTRIBUTE PROFILES - PATENT
#7933912 APPLIED FOR ON 01/03/2008 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - APPLICATION #19/028,635 APPLIED
FOR ON 01/17/2025 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #10,803,134 APPLIED FOR ON
03/21/2018 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #10,896,233 APPLIED FOR ON
08/27/2020 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #10,957,455 APPLIED FOR ON
08/27/2020 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #11,348,691 APPLIED FOR ON
01/26/2022 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #11,545,269 APPLIED FOR ON
02/15/2021 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #11,735,323 APPLIED FOR ON
11/17/2022 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
GENETIC SIMILARITY - PATENT #12,243,654 APPLIED FOR ON
06/20/2023 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
MODIFIABLE ATTRIBUTES ASSOCIATED WITH PHENOTYPIC
PREDISPOSITIONS IN A GENETICS PLATFORM - PATENT
#11,348,692 APPLIED FOR ON 02/01/2022 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
MODIFIABLE ATTRIBUTES ASSOCIATED WITH PHENOTYPIC
PREDISPOSITIONS IN A GENETICS PLATFORM - PATENT
#11,515,047 APPLIED FOR ON 04/28/2022 - UNITED STATES



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION OF                           Undetermined NET BOOK VALUE                                  Undetermined
TREATMENTS FOR PREDICTED PREDISPOSITIONS WITH
CLINICIAN ASSISTANCE - PATENT #11,495,360 APPLIED FOR
ON 04/28/2022 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED IDENTIFICATION                              Undetermined NET BOOK VALUE                                  Undetermined
PREDICTION IN A GENETICS PLATFORM - PATENT
#11,581,098 APPLIED FOR ON 04/26/2022 - UNITED STATES
PATENT - COMPUTER IMPLEMENTED MODELING AND                                Undetermined NET BOOK VALUE                                  Undetermined
PREDICTION OF PHENOTYPES - PATENT #11,600,393
APPLIED FOR ON 05/13/2022 - UNITED STATES
PATENT - DATABASE AND DATA PROCESSING SYSTEM FOR                          Undetermined NET BOOK VALUE                                  Undetermined
USE WITH A NETWORK-BASED PERSONAL GENETICS
SERVICES PLATFORM - APPLICATION #17/396,279 APPLIED
FOR ON 08/06/2021 - UNITED STATES
PATENT - DATABASE AND DATA PROCESSING SYSTEM FOR                          Undetermined NET BOOK VALUE                                  Undetermined
USE WITH A NETWORK-BASED PERSONAL GENETICS
SERVICES PLATFORM - APPLICATION #19/025,524 APPLIED
FOR ON 01/16/2025 - UNITED STATES
PATENT - DATABASE AND DATA PROCESSING SYSTEM FOR                          Undetermined NET BOOK VALUE                                  Undetermined
USE WITH A NETWORK-BASED PERSONAL GENETICS
SERVICES PLATFORM - PATENT #10,437,858 APPLIED FOR
ON 05/10/2016 - UNITED STATES
PATENT - DATABASE AND DATA PROCESSING SYSTEM FOR                          Undetermined NET BOOK VALUE                                  Undetermined
USE WITH A NETWORK-BASED PERSONAL GENETICS
SERVICES PLATFORM - PATENT #10,691,725 APPLIED FOR
ON 08/28/2019 - UNITED STATES
PATENT - DATABASE AND DATA PROCESSING SYSTEM FOR                          Undetermined NET BOOK VALUE                                  Undetermined
USE WITH A NETWORK-BASED PERSONAL GENETICS
SERVICES PLATFORM - PATENT #10,936,626 APPLIED FOR
ON 05/14/2020 - UNITED STATES
PATENT - DE-IDENTIFICATION AND SHARING OF GENETIC                         Undetermined NET BOOK VALUE                                  Undetermined
DATA - PATENT #8,589,437 APPLIED FOR ON 10/14/2008 -
UNITED STATES
PATENT - DETERMINATION AND DISPLAY OF LIKELIHOODS                         Undetermined NET BOOK VALUE                                  Undetermined
OVER TIME OF DEVELOPING AGE-ASSOCIATED DISEASE -
PATENT #12,106,862 APPLIED FOR ON 09/11/2023 - UNITED
STATES
PATENT - DETERMINING FAMILY CONNECTIONS OF                                Undetermined NET BOOK VALUE                                  Undetermined
INDIVIDUALS IN A DATABASE - APPLICATION #18/961,840
APPLIED FOR ON 11/27/2024 - UNITED STATES
PATENT - DETERMINING FAMILY CONNECTIONS OF                                Undetermined NET BOOK VALUE                                  Undetermined
INDIVIDUALS IN A DATABASE - PATENT #10,025,877 APPLIED
FOR ON 06/05/2013 - UNITED STATES
PATENT - DETERMINING FAMILY CONNECTIONS OF                                Undetermined NET BOOK VALUE                                  Undetermined
INDIVIDUALS IN A DATABASE - PATENT #11,170,047 APPLIED
FOR ON 06/27/2018 - UNITED STATES
PATENT - DETERMINING HEALTH OUTCOMES BASED ON                             Undetermined NET BOOK VALUE                                  Undetermined
GENETIC AND NON-GENETIC FACTORS - APPLICATION #
APPLIED FOR ON - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D891,470 GRANTED ON 07/28/2020 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH A                         Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE FOR CONVEYING GENETIC
INFORMATION - PATENT #D788,123 GRANTED ON 05/30/2017 -
UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
ANIMATED GRAPHICAL USER INTERFACE - PATENT
#D889,509 GRANTED ON 07/07/2020 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - APPLICATION #29/836,727
APPLIED FOR ON 04/28/2022 - UNITED STATES



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D794,652
GRANTED ON 08/15/2017 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D798,322
GRANTED ON 09/26/2017 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D847,149
GRANTED ON 04/30/2019 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D847,173
GRANTED ON 04/30/2019 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D886,835 GRANTED
ON 06/09/2020 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D913,330 GRANTED
ON 03/16/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D930,674 GRANTED
ON 09/14/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D943,622 GRANTED
ON 02/15/2022 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE - PATENT #D969,156 GRANTED
ON 11/08/2022 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D888,083 GRANTED ON 06/23/2020 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D912,071 GRANTED ON 03/02/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D916,905 GRANTED ON 04/20/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D919,646 GRANTED ON 05/18/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
GRAPHICAL USER INTERFACE (AS AMENDED) - PATENT
#D985,610 GRANTED ON 05/09/2023 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
ICON - PATENT #D785,672 GRANTED ON 05/02/2017 - UNITED
STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
ICON (AS AMENDED) - PATENT #D921,037 GRANTED ON
06/01/2021 - UNITED STATES
PATENT - DISPLAY SCREEN OR PORTION THEREOF WITH                           Undetermined NET BOOK VALUE                                  Undetermined
ICON (AS AMENDED) - PATENT #D954,107 GRANTED ON
06/07/2022 - UNITED STATES
PATENT - DISPLAY SCREEN WITH A GRAPHICAL USER                             Undetermined NET BOOK VALUE                                  Undetermined
INTERFACE FOR ANCESTRY ANALYSIS - PATENT #D955,427
GRANTED ON 06/21/2022 - UNITED STATES
PATENT - EFFICIENTLY COMPILING CO-ASSOCIATING                             Undetermined NET BOOK VALUE                                  Undetermined
BIOATTRIBUTES - PATENT #7,941,434 APPLIED FOR ON
02/14/2008 - UNITED STATES
PATENT - EFFICIENTLY COMPILING CO-ASSOCIATING                             Undetermined NET BOOK VALUE                                  Undetermined
BIOATTRIBUTES - PATENT #7941434 APPLIED FOR ON
02/14/2008 - UNITED STATES
PATENT - ERROR CORRECTION IN ANCESTRY                                     Undetermined NET BOOK VALUE                                  Undetermined
CLASSIFICATION - PATENT #9,977,708 APPLIED FOR ON
03/13/2013 - UNITED STATES

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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - ESTIMATION OF ADMIXTURE GENERATION -                             Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION #18/096,868 APPLIED FOR ON 01/13/2023 -
UNITED STATES
PATENT - ESTIMATION OF RELATIONSHIPS BASED ON                             Undetermined NET BOOK VALUE                                  Undetermined
CONDITIONAL ANALYSIS OF IDENTITY-BY-DESCENT
SEGMENTS - APPLICATION # APPLIED FOR ON - PATENT
COOPERATION TREATY
PATENT - ESTIMATION OF RELATIONSHIPS BASED ON                             Undetermined NET BOOK VALUE                                  Undetermined
CONDITIONAL ANALYSIS OF IDENTITY-BY-DESCENT
SEGMENTS - APPLICATION #63/688,163 APPLIED FOR ON
08/28/2024 - UNITED STATES
PATENT - EXPANDING ATTRIBUTE PROFILES - PATENT                            Undetermined NET BOOK VALUE                                  Undetermined
#8,224,835 APPLIED FOR ON 08/12/2011 - UNITED STATES

PATENT - FAMILY INHERITANCE - PATENT #10,275,569                          Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 10/15/2008 - UNITED STATES

PATENT - FAMILY INHERITANCE - PATENT #10,643,740                          Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 05/10/2019 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - APPLICATION                    Undetermined NET BOOK VALUE                                  Undetermined
#18/762,304 APPLIED FOR ON 07/02/2024 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,031,101 APPLIED FOR ON 10/16/2020 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,049,589 APPLIED FOR ON 10/16/2020 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,322,227 APPLIED FOR ON 06/17/2021 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,508,461 APPLIED FOR ON 01/14/2022 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,657,902 APPLIED FOR ON 10/28/2022 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,776,662 APPLIED FOR ON 03/28/2023 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#11,935,628 APPLIED FOR ON 11/02/2022 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#12,100,487 APPLIED FOR ON 02/06/2024 - UNITED STATES

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#3276526 APPLIED FOR ON 12/22/2009 - EP UNITARY PATENT

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#3276526 APPLIED FOR ON 12/22/2009 - EUROPEAN PATENT

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#3276526 APPLIED FOR ON 12/22/2009 - IRELAND

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#3276526 APPLIED FOR ON 12/22/2009 - UNITED KINGDOM

PATENT - FINDING RELATIVES IN A DATABASE - PATENT                         Undetermined NET BOOK VALUE                                  Undetermined
#8,463,554 APPLIED FOR ON 12/22/2009 - UNITED STATES

PATENT - FORMATTING AND STORAGE OF GENETIC                                Undetermined NET BOOK VALUE                                  Undetermined
MARKERS - APPLICATION # APPLIED FOR ON - UNITED
STATES
PATENT - FORMATTING AND STORAGE OF GENETIC                                Undetermined NET BOOK VALUE                                  Undetermined
MARKERS - APPLICATION #21878674.7 APPLIED FOR ON
10/08/2021 - EUROPEAN PATENT



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                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - FORMATTING AND STORAGE OF GENETIC                                Undetermined NET BOOK VALUE                                  Undetermined
MARKERS - APPLICATION #3,194,288 APPLIED FOR ON
10/08/2021 - CANADA
PATENT - FORMATTING AND STORAGE OF GENETIC                                Undetermined NET BOOK VALUE                                  Undetermined
MARKERS - PATENT #11,783,919 APPLIED FOR ON 10/08/2021
- UNITED STATES
PATENT - GAMETE DONOR SELECTION BASED ON GENETIC                          Undetermined NET BOOK VALUE                                  Undetermined
CALCULATIONS - PATENT #8,543,339 APPLIED FOR ON
12/04/2009 - UNITED STATES
PATENT - GENETIC COMPARISONS BETWEEN                                      Undetermined NET BOOK VALUE                                  Undetermined
GRANDPARENTS AND GRANDCHILDREN - APPLICATION
#17/449,081 APPLIED FOR ON 09/27/2021 - UNITED STATES
PATENT - GENETIC COMPARISONS BETWEEN                                      Undetermined NET BOOK VALUE                                  Undetermined
GRANDPARENTS AND GRANDCHILDREN - PATENT
#11,170,873 APPLIED FOR ON 12/01/2017 - UNITED STATES
PATENT - GENETIC COMPARISONS BETWEEN                                      Undetermined NET BOOK VALUE                                  Undetermined
GRANDPARENTS AND GRANDCHILDREN - PATENT #9,864,835
APPLIED FOR ON 10/15/2008 - UNITED STATES
PATENT - GENOME SHARING - APPLICATION #18/800,892                         Undetermined NET BOOK VALUE                                  Undetermined
APPLIED FOR ON 08/12/2024 - UNITED STATES

PATENT - GENOME SHARING - PATENT #10,432,640 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 05/22/2019 - UNITED STATES

PATENT - GENOME SHARING - PATENT #10,516,670 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 02/17/2016 - UNITED STATES

PATENT - GENOME SHARING - PATENT #10,841,312 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 12/20/2019 - UNITED STATES

PATENT - GENOME SHARING - PATENT #10,999,285 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 10/23/2020 - UNITED STATES

PATENT - GENOME SHARING - PATENT #11,171,962 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 04/28/2021 - UNITED STATES

PATENT - GENOME SHARING - PATENT #11,683,315 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 10/12/2021 - UNITED STATES

PATENT - GENOME SHARING - PATENT #12,088,592 APPLIED                      Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 05/04/2023 - UNITED STATES

PATENT - GENOME SHARING - PATENT #9,336,177 APPLIED                       Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 10/14/2008 - UNITED STATES

PATENT - GENOTYPE CALLING - PATENT #8,428,886 APPLIED                     Undetermined NET BOOK VALUE                                  Undetermined
FOR ON 08/25/2009 - UNITED STATES

PATENT - HEALTH ANALYSIS BASED ON                                         Undetermined NET BOOK VALUE                                  Undetermined
IDENTITY-BY-DESCENT SEGMENTS - APPLICATION
#63/769,383 APPLIED FOR ON 03/10/2025 - UNITED STATES
PATENT - HEALTHCARE DOCUMENTS GENERATED WITH                              Undetermined NET BOOK VALUE                                  Undetermined
NATURAL LANGUAGE PROCESSING - APPLICATION #
APPLIED FOR ON - PATENT COOPERATION TREATY
PATENT - HEALTHCARE DOCUMENTS GENERATED WITH                              Undetermined NET BOOK VALUE                                  Undetermined
NATURAL LANGUAGE PROCESSING - APPLICATION
#63/648,376 APPLIED FOR ON 05/16/2024 - UNITED STATES
PATENT - IDENTIFICATION OF MATRILINEAL OR PATRILINEAL                     Undetermined NET BOOK VALUE                                  Undetermined
RELATIVES - PATENT #9,116,882 APPLIED FOR ON 03/14/2013
- UNITED STATES
PATENT - IDENTIFYING GENETIC VARIANTS BY IMPUTATION                       Undetermined NET BOOK VALUE                                  Undetermined
- APPLICATION #18/884,945 APPLIED FOR ON 09/13/2024 -
UNITED STATES
PATENT - IDENTIFYING VARIANTS OF INTEREST BY                              Undetermined NET BOOK VALUE                                  Undetermined
IMPUTATION - PATENT #10,777,302 APPLIED FOR ON
09/02/2016 - UNITED STATES


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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - IDENTITY-BY-DESCENT RELATEDNESS BASED ON                         Undetermined NET BOOK VALUE                                  Undetermined
FOCAL AND REFERENCE SEGMENTS - APPLICATION
#19/057,224 APPLIED FOR ON 02/19/2025 - UNITED STATES
PATENT - IDENTITY-BY-DESCENT RELATEDNESS BASED ON                         Undetermined NET BOOK VALUE                                  Undetermined
FOCAL AND REFERENCE SEGMENTS - PATENT #12,046,327
APPLIED FOR ON 11/07/2023 - UNITED STATES
PATENT - IDENTITY-BY-DESCENT RELATEDNESS BASED ON                         Undetermined NET BOOK VALUE                                  Undetermined
FOCAL AND REFERENCE SEGMENTS - PATENT #12,260,936
APPLIED FOR ON 06/07/2024 - UNITED STATES
PATENT - INSURANCE OPTIMIZATION AND LONGEVITY                             Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #7,941,329 APPLIED FOR ON 03/13/2008 -
UNITED STATES
PATENT - LEARNING ARCHITECTURE AND PIPELINES FOR                          Undetermined NET BOOK VALUE                                  Undetermined
GRANULAR DETERMINATION OF GENETIC ANCESTRY -
APPLICATION #18/374,265 APPLIED FOR ON 09/28/2023 -
UNITED STATES
PATENT - LEARNING SYSTEM FOR PANGENETIC-BASED                             Undetermined NET BOOK VALUE                                  Undetermined
RECOMMENDATIONS - PATENT #11,514,085 APPLIED FOR ON
03/25/2021 - UNITED STATES
PATENT - LEARNING SYSTEMS FOR PANGENETIC-BASED                            Undetermined NET BOOK VALUE                                  Undetermined
RECOMMENDATIONS - PATENT #11,003,694 APPLIED FOR ON
08/17/2018 - UNITED STATES
PATENT - LIFESTYLE OPTIMIZATION AND BEHAVIOR                              Undetermined NET BOOK VALUE                                  Undetermined
MODIFICATION - PATENT #8,606,761 APPLIED FOR ON
03/15/2008 - UNITED STATES
PATENT - LONGEVITY ANALYSIS AND MODIFIABLE                                Undetermined NET BOOK VALUE                                  Undetermined
ATTRIBUTE IDENTIFICATION - PATENT #8,185,461 APPLIED
FOR ON 04/04/2011 - UNITED STATES
PATENT - MACHINE LEARNING PLATFORM FOR GENERATING                         Undetermined NET BOOK VALUE                                  Undetermined
RISK MODELS - APPLICATION #17/452,040 APPLIED FOR ON
10/22/2021 - UNITED STATES
PATENT - MACHINE LEARNING PLATFORM FOR GENERATING                         Undetermined NET BOOK VALUE                                  Undetermined
RISK MODELS - APPLICATION #21813018.5 APPLIED FOR ON
05/27/2021 - EUROPEAN PATENT
PATENT - MACHINE LEARNING PLATFORM FOR GENERATING                         Undetermined NET BOOK VALUE                                  Undetermined
RISK MODELS - APPLICATION #3,179,983 APPLIED FOR ON
05/27/2021 - CANADA
PATENT - MACHINE LEARNING PLATFORM FOR POLYGENIC                          Undetermined NET BOOK VALUE                                  Undetermined
MODELS - APPLICATION #18/797,304 APPLIED FOR ON
08/07/2024 - UNITED STATES
PATENT - MASKED DATA RECORD ACCESS - PATENT                               Undetermined NET BOOK VALUE                                  Undetermined
#8,200,509 APPLIED FOR ON 09/10/2008 - UNITED STATES

PATENT - MASKED DATA RECORD ACCESS - PATENT                               Undetermined NET BOOK VALUE                                  Undetermined
#8,452,619 APPLIED FOR ON 05/31/2012 - UNITED STATES

PATENT - METHOD FOR ANALYZING AND DISPLAYING                              Undetermined NET BOOK VALUE                                  Undetermined
GENETIC INFORMATION BETWEEN FAMILY MEMBERS -
APPLICATION #18/775,352 APPLIED FOR ON 07/17/2024 -
UNITED STATES
PATENT - METHOD FOR ANALYZING AND DISPLAYING                              Undetermined NET BOOK VALUE                                  Undetermined
GENETIC INFORMATION BETWEEN FAMILY MEMBERS -
PATENT #10,790,041 APPLIED FOR ON 02/09/2017 - UNITED
STATES
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - APPLICATION #17/693,245
APPLIED FOR ON 03/11/2022 - UNITED STATES
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - APPLICATION #18/770,089
APPLIED FOR ON 07/11/2024 - UNITED STATES
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - APPLICATION #20863369.3
APPLIED FOR ON 09/11/2020 - EUROPEAN PATENT



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - APPLICATION #3154157 APPLIED
FOR ON 09/11/2020 - CANADA
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - APPLICATION
#PCT/US2020/050582 APPLIED FOR ON 09/11/2020 - PATENT
COOPERATION TREATY
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - PATENT #11,514,627 APPLIED FOR
ON 09/11/2020 - UNITED STATES
PATENT - METHODS AND SYSTEMS FOR DETERMINING AND                          Undetermined NET BOOK VALUE                                  Undetermined
DISPLAYING PEDIGREES - PATENT #12,073,495 APPLIED FOR
ON 02/03/2021 - UNITED STATES
PATENT - MODIFIABLE ATTRIBUTE IDENTIFICATION - PATENT                     Undetermined NET BOOK VALUE                                  Undetermined
#8,788,283 APPLIED FOR ON 05/04/2012 - UNITED STATES

PATENT - PANGENETIC WEB ITEM RECOMMENDATION                               Undetermined NET BOOK VALUE                                  Undetermined
SYSTEM - PATENT #8,386,519 APPLIED FOR ON 12/30/2008 -
UNITED STATES
PATENT - PANGENETIC WEB ITEM RECOMMENDATION                               Undetermined NET BOOK VALUE                                  Undetermined
SYSTEM - PATENT #8,655,915 APPLIED FOR ON 01/16/2013 -
UNITED STATES
PATENT - PANGENETIC WEB SATISFACTION PREDICTION                           Undetermined NET BOOK VALUE                                  Undetermined
SYSTEM - PATENT #8,255,403 APPLIED FOR ON 12/30/2008 -
UNITED STATES
PATENT - PANGENETIC WEB USER BEHAVIOR PREDICTION                          Undetermined NET BOOK VALUE                                  Undetermined
SYSTEM - PATENT #8,108,406 APPLIED FOR ON 12/30/2008 -
UNITED STATES
PATENT - PANGENETIC WEB USER BEHAVIOR PREDICTION                          Undetermined NET BOOK VALUE                                  Undetermined
SYSTEM - PATENT #9,031,870 APPLIED FOR ON 01/30/2012 -
UNITED STATES
PATENT - PARALLEL BITWISE DETERMINATION OF ORIGIN -                       Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION #19/027,786 APPLIED FOR ON 01/17/2025 -
UNITED STATES
PATENT - PHASE-AWARE DETERMINATION OF                                     Undetermined NET BOOK VALUE                                  Undetermined
IDENTITY-BY-DESCENT DNA SEGMENTS - APPLICATION
#20843426.6 APPLIED FOR ON 01/31/2022 - EUROPEAN
PATENT
PATENT - PHASE-AWARE DETERMINATION OF                                     Undetermined NET BOOK VALUE                                  Undetermined
IDENTITY-BY-DESCENT DNA SEGMENTS - APPLICATION
#3147888 APPLIED FOR ON 07/17/2020 - CANADA
PATENT - PHASING OF UNPHASED GENOTYPE DATA -                              Undetermined NET BOOK VALUE                                  Undetermined
PATENT #9,836,576 APPLIED FOR ON 03/13/2013 - UNITED
STATES
PATENT - POLYGENIC RISK STRATIFICATION METHODS FOR                        Undetermined NET BOOK VALUE                                  Undetermined
TYPE 2 DIABETES - APPLICATION #18/854,208 APPLIED FOR
ON 10/04/2024 - UNITED STATES
PATENT - PREDISPOSITION MODIFICATION - PATENT                             Undetermined NET BOOK VALUE                                  Undetermined
#8,055,643 APPLIED FOR ON 09/09/2010 - UNITED STATES

PATENT - PREDISPOSITION MODIFICATION - PATENT                             Undetermined NET BOOK VALUE                                  Undetermined
#8,655,908 APPLIED FOR ON 10/13/2011 - UNITED STATES

PATENT - PREDISPOSITION PREDICTION USING ATTRIBUTE                        Undetermined NET BOOK VALUE                                  Undetermined
COMBINATIONS - PATENT #8,051,033 APPLIED FOR ON
05/13/2007 - UNITED STATES
PATENT - PREDISPOSITION PREDICTION USING ATTRIBUTE                        Undetermined NET BOOK VALUE                                  Undetermined
COMBINATIONS - PATENT #8,458,121 APPLIED FOR ON
10/13/2011 - UNITED STATES
PATENT - PROCESSING DATA FROM GENOTYPING CHIPS -                          Undetermined NET BOOK VALUE                                  Undetermined
PATENT #8,645,343 APPLIED FOR ON 08/25/2009 - UNITED
STATES
PATENT - PROCESSING DATA FROM GENOTYPING CHIPS -                          Undetermined NET BOOK VALUE                                  Undetermined
PATENT #9,218,451 APPLIED FOR ON 12/09/2013 - UNITED
STATES
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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - APPLICATION #16/844,758 APPLIED FOR ON
04/09/2020 - UNITED STATES
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - APPLICATION #18/157,595 APPLIED FOR ON
01/20/2023 - UNITED STATES
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - APPLICATION #61/724,228 APPLIED FOR ON
11/08/2012 - UNITED STATES
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #10,658,071 APPLIED FOR ON
11/11/2015 - UNITED STATES
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #11,521,708 APPLIED FOR ON
02/28/2021 - UNITED STATES
PATENT - SCALABLE PIPELINE FOR LOCAL ANCESTRY                             Undetermined NET BOOK VALUE                                  Undetermined
INFERENCE - PATENT #9,213,947 APPLIED FOR ON 03/13/2013
- UNITED STATES
PATENT - SIMULATION AND ESTIMATION OF GENETIC                             Undetermined NET BOOK VALUE                                  Undetermined
RELATIONSHIPS BASED ON CONDITIONAL ANALYSIS OF
IDENTITY-BY-DESCENT SEGMENTS - APPLICATION
#63/645,422 APPLIED FOR ON 05/10/2024 - UNITED STATES
PATENT - SUMMARIZING AN AGGREGATE CONTRIBUTION TO                         Undetermined NET BOOK VALUE                                  Undetermined
A CHARACTERISTIC FOR AN INDIVIDUAL - PATENT #8,510,057
APPLIED FOR ON 05/08/2008 - UNITED STATES
PATENT - SYSTEM FOR GENETIC-BASED                                         Undetermined NET BOOK VALUE                                  Undetermined
RECOMMENDATIONS - APPLICATION #19/091,280 APPLIED
FOR ON 03/26/2025 - UNITED STATES
PATENT - SYSTEM FOR SECURE MOBILE HEALTHCARE                              Undetermined NET BOOK VALUE                                  Undetermined
SELECTION - PATENT #7,917,438 APPLIED FOR ON 09/10/2008
- UNITED STATES
PATENT - SYSTEM FOR SECURE MOBILE HEALTHCARE                              Undetermined NET BOOK VALUE                                  Undetermined
SELECTION - PATENT #8,326,648 APPLIED FOR ON 03/01/2011
- UNITED STATES
PATENT - SYSTEM, METHOD AND SOFTWARE FOR                                  Undetermined NET BOOK VALUE                                  Undetermined
HEALTHCARE SELECTION BASED ON PANGENETIC DATA -
PATENT #8,458,097 APPLIED FOR ON 03/01/2011 - UNITED
STATES
PATENT - TREATMENT DETERMINATION AND IMPACT                               Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #10,379,812 APPLIED FOR ON 10/20/2015
- UNITED STATES
PATENT - TREATMENT DETERMINATION AND IMPACT                               Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #10,991,467 APPLIED FOR ON 07/23/2019
- UNITED STATES
PATENT - TREATMENT DETERMINATION AND IMPACT                               Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #11,515,046 APPLIED FOR ON 03/25/2021
- UNITED STATES
PATENT - TREATMENT DETERMINATION AND IMPACT                               Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #8,099,424 APPLIED FOR ON 03/13/2008 -
UNITED STATES
PATENT - TREATMENT DETERMINATION AND IMPACT                               Undetermined NET BOOK VALUE                                  Undetermined
ANALYSIS - PATENT #9,170,992 APPLIED FOR ON 01/09/2012 -
UNITED STATES
PATENT - TRIO-BASED PHASING USING A DYNAMIC                               Undetermined NET BOOK VALUE                                  Undetermined
BAYESIAN NETWORK - PATENT #9,213,944 APPLIED FOR ON
03/13/2013 - UNITED STATES
PATENT - VARIANT HINGE AND MOLECULES COMPRISING                           Undetermined NET BOOK VALUE                                  Undetermined
SAME - APPLICATION #PCT/US2025/024286 APPLIED FOR ON
04/11/2024 - UNITED STATES
PATENT - WEIGHT AND DIET ATTRIBUTE COMBINATION                            Undetermined NET BOOK VALUE                                  Undetermined
DISCOVERY - PATENT #8,065,324 APPLIED FOR ON
10/26/2010 - UNITED STATES



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                                                        Assets - Real and Personal Property


                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
PATENT - WINDOW-BASED METHOD FOR DETERMINING                              Undetermined NET BOOK VALUE                                  Undetermined
INHERITED SEGMENTS - APPLICATION #18/534,002 APPLIED
FOR ON 12/08/2023 - UNITED STATES
PATENT - WINDOW-BASED METHOD FOR DETERMINING                              Undetermined NET BOOK VALUE                                  Undetermined
INHERITED SEGMENTS - PATENT #11,875,879 APPLIED FOR
ON 05/17/2023 - UNITED STATES
TRADEMARK - 23ANDME - REGISTER # R2563-00701 ON                           Undetermined NET BOOK VALUE                                  Undetermined
09/06/2011 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-00702 ON                           Undetermined NET BOOK VALUE                                  Undetermined
08/28/2012 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-00705 ON                           Undetermined NET BOOK VALUE                                  Undetermined
06/09/2009 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-23301 ON                           Undetermined NET BOOK VALUE                                  Undetermined
06/06/2017 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-41201 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/06/2024 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-41202 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/09/2024 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-00703 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/28/2009 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-00704 ON                           Undetermined NET BOOK VALUE                                  Undetermined
02/17/2009 - UNITED STATES

TRADEMARK - 23ANDME - REGISTER # R2563-00710 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/10/2009 - AUSTRALIA

TRADEMARK - 23ANDME - REGISTER # R2563-00722 ON                           Undetermined NET BOOK VALUE                                  Undetermined
08/24/2012 - CANADA

TRADEMARK - 23ANDME - REGISTER # R2563-00724 ON                           Undetermined NET BOOK VALUE                                  Undetermined
08/07/2011 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00725 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/21/2010 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00726 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/14/2010 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00727 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/28/2017 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00728 ON                           Undetermined NET BOOK VALUE                                  Undetermined
02/07/2018 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00729 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/07/2017 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00730 ON                           Undetermined NET BOOK VALUE                                  Undetermined
02/07/2018 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-00736 ON                           Undetermined NET BOOK VALUE                                  Undetermined
01/07/2009 - EUROPEAN UNION

TRADEMARK - 23ANDME - REGISTER # R2563-00751 ON                           Undetermined NET BOOK VALUE                                  Undetermined
10/17/2018 - INDIA

TRADEMARK - 23ANDME - REGISTER # R2563-00754 ON                           Undetermined NET BOOK VALUE                                  Undetermined
01/21/2009 - ISRAEL

TRADEMARK - 23ANDME - REGISTER # R2563-00759 ON                           Undetermined NET BOOK VALUE                                  Undetermined
10/17/2018 - SOUTH KOREA

TRADEMARK - 23ANDME - REGISTER # R2563-00766 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/22/2009 - NEW ZEALAND

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                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - 23ANDME - REGISTER # R2563-00769 ON                           Undetermined NET BOOK VALUE                                  Undetermined
12/21/2010 - NORWAY

TRADEMARK - 23ANDME - REGISTER # R2563-00776 ON                           Undetermined NET BOOK VALUE                                  Undetermined
10/17/2018 - INTERNATIONAL PROTOCOL (MADRID) - NOT
EXTENDED: IN, KR, RU
TRADEMARK - 23ANDME - REGISTER # R2563-00784 ON                           Undetermined NET BOOK VALUE                                  Undetermined
01/28/2008 - SINGAPORE

TRADEMARK - 23ANDME - REGISTER # R2563-00785 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/14/2010 - SINGAPORE

TRADEMARK - 23ANDME - REGISTER # R2563-00788 ON                           Undetermined NET BOOK VALUE                                  Undetermined
02/22/2010 - SWITZERLAND

TRADEMARK - 23ANDME - REGISTER # R2563-00793 ON                           Undetermined NET BOOK VALUE                                  Undetermined
02/21/2020 - UNITED KINGDOM

TRADEMARK - 23ANDME - REGISTER # R2563-23310 ON                           Undetermined NET BOOK VALUE                                  Undetermined
11/09/2016 - AUSTRALIA

TRADEMARK - 23ANDME - REGISTER # R2563-23322 ON                           Undetermined NET BOOK VALUE                                  Undetermined
08/22/2017 - CANADA

TRADEMARK - 23ANDME - REGISTER # R2563-23324 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - CHINA

TRADEMARK - 23ANDME - REGISTER # R2563-23336 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - EUROPEAN UNION

TRADEMARK - 23ANDME - REGISTER # R2563-23348 ON                           Undetermined NET BOOK VALUE                                  Undetermined
09/13/2016 - HONG KONG

TRADEMARK - 23ANDME - REGISTER # R2563-23351 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - INDIA

TRADEMARK - 23ANDME - REGISTER # R2563-23354 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - ISRAEL

TRADEMARK - 23ANDME - REGISTER # R2563-23357 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - JAPAN

TRADEMARK - 23ANDME - REGISTER # R2563-23359 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - SOUTH KOREA

TRADEMARK - 23ANDME - REGISTER # R2563-23366 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - NEW ZEALAND

TRADEMARK - 23ANDME - REGISTER # R2563-23369 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - NORWAY

TRADEMARK - 23ANDME - REGISTER # R2563-23376 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - INTERNATIONAL PROTOCOL (MADRID) -
EXTENDED: CH, CN, IL, IN, KR, NZ, SG / NOT EXTENDED: AU,
EU, JP, NO, RU
TRADEMARK - 23ANDME - REGISTER # R2563-23384 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - SINGAPORE

TRADEMARK - 23ANDME - REGISTER # R2563-23385 ON                           Undetermined NET BOOK VALUE                                  Undetermined
07/16/2019 - SOUTH AFRICA

TRADEMARK - 23ANDME - REGISTER # R2563-23388 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2016 - SWITZERLAND

TRADEMARK - 23ANDME - REGISTER # R2563-23390 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/01/2017 - TAIWAN

TRADEMARK - 23ANDME - REGISTER # R2563-23392 ON                           Undetermined NET BOOK VALUE                                  Undetermined
04/18/2018 - RUSSIAN FEDERATION



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Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - 23ANDME - REGISTER # R2563-59019 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/13/2024 - BRAZIL

TRADEMARK - 23ANDME - REGISTER # R2563-59062 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/13/2024 - MEXICO

TRADEMARK - 23ANDME - REGISTER # R2563-59076 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/13/2024 - INTERNATIONAL PROTOCOL (MADRID)
BR MX TR UAE
TRADEMARK - 23ANDME - REGISTER # R2563-59081 ON                           Undetermined NET BOOK VALUE                                  Undetermined
09/01/2024 - SAUDI ARAB

TRADEMARK - 23ANDME - REGISTER # R2563-59091 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/13/2024 - TURKEY

TRADEMARK - 23ANDME - REGISTER # R2563-59096 ON                           Undetermined NET BOOK VALUE                                  Undetermined
03/13/2024 - UNITED ARAB EMERITES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00802 ON 03/31/2009 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23457 ON 04/18/2016 - JAPAN

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23489 ON 04/18/2016 - THAILAND

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00801 ON 05/26/2009 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00803 ON 03/24/2009 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00810 ON 10/13/2008 - AUSTRALIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00822 ON 05/11/2011 - CANADA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00824 ON 09/07/2010 - CHINA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00825 ON 09/07/2010 - CHINA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00826 ON 05/14/2010 - CHINA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00836 ON 05/05/2009 - EUROPEAN UNION

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00851 ON 01/24/2019 - INDIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00857 ON 09/09/2010 - JAPAN

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00859 ON 09/09/2010 - SOUTH KOREA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00861 ON 08/26/2019 - MALAYSIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00884 ON 05/23/2008 - SINGAPORE

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00885 ON 05/23/2008 - SINGAPORE

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00886 ON 05/23/2008 - SINGAPORE

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Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00889 ON 09/09/2010 - THAILAND

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00892 ON 09/09/2010 - RUSSIAN FEDERATION

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-00893 ON 11/26/2019 - UNITED KINGDOM

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23401 ON 06/06/2017 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23410 ON 04/18/2016 - AUSTRALIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23422 ON 08/22/2017 - CANADA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23424 ON 04/18/2016 - CHINA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23436 ON 01/00/1900 - EUROPEAN UNION

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23451 ON 04/18/2016 - INDIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23454 ON 04/18/2016 - ISRAEL

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23459 ON 04/18/2016 - SOUTH KOREA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23461 ON 08/26/2019 - MALAYSIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23466 ON 04/18/2016 - NEW ZEALAND

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23469 ON 04/18/2016 - NORWAY

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23476 ON 04/18/2016 - INTERNATIONAL PROTOCOL
(MADRID) - EXTENDED: IN, NZ, TH / NOT EXTENDED: AU, CH,
CN, EU, IL, JP, KR, NO, RU, SG
TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23484 ON 04/18/2016 - SINGAPORE

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23485 ON 06/28/2018 - SOUTH AFRICA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23488 ON 04/18/2016 - SWITZERLAND

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-23492 ON 04/18/2018 - RUSSIAN FEDERATION

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-35361 ON 08/26/2019 - MALAYSIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-35461 ON 08/26/2019 - MALAYSIA

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-41101 ON 02/06/2024 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-41102 ON 07/23/2024 - UNITED STATES



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                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-41301 ON 07/06/2024 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-41302 ON 07/23/2024 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-58001 ON 06/04/2024 - UNITED STATES

TRADEMARK - 23ANDME & DESIGN (IN A SERIES & IN                            Undetermined NET BOOK VALUE                                  Undetermined
COLOR) - REGISTER # R2563-23448 ON 09/21/2016 - HONG
KONG
TRADEMARK - 23ANDME & DESIGN                                              Undetermined NET BOOK VALUE                                  Undetermined

- REGISTER # R2563-00876 ON 09/09/2010 - INTERNATIONAL
PROTOCOL (MADRID) - EXTENDED: IN, JP, RU, TH / NOT
EXTENDED: KR
TRADEMARK - 23ANDME & DESIGN                                              Undetermined NET BOOK VALUE                                  Undetermined

- REGISTER # R2563-23490 ON 04/01/2017 - TAIWAN
TRADEMARK - 23ANDME (STYLIZED) - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-00624 ON 05/28/2016 - CHINA

TRADEMARK - 23ANDME+ - REGISTER # R2563-37001 ON                          Undetermined NET BOOK VALUE                                  Undetermined
08/31/2021 - UNITED STATES

TRADEMARK - 23ANDME+ - REGISTER # R2563-37022 ON                          Undetermined NET BOOK VALUE                                  Undetermined
11/20/2020 - CANADA

TRADEMARK - 23ANDME+ - REGISTER # R2563-37036 ON                          Undetermined NET BOOK VALUE                                  Undetermined
11/20/2020 - EUROPEAN UNION

TRADEMARK - 23ANDME+ - REGISTER # R2563-37093 ON                          Undetermined NET BOOK VALUE                                  Undetermined
11/20/2020 - UNITED KINGDOM

TRADEMARK - 23ANDME+TOTAL HEALTH - REGISTER #                             Undetermined NET BOOK VALUE                                  Undetermined
R2563-41601 ON 01/00/1900 - UNITED STATES

TRADEMARK - 23ANDWE - REGISTER # R2563-00622 ON                           Undetermined NET BOOK VALUE                                  Undetermined
08/23/2012 - CANADA

TRADEMARK - CHANGE THE WAY YOU AGE - REGISTER #                           Undetermined NET BOOK VALUE                                  Undetermined
R2563-60001 ON 01/00/1900 - UNITED STATES

TRADEMARK - CHROMOSOMES DESIGN - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-23501 ON 01/10/2017 - UNITED STATES

TRADEMARK - CHROMOSOMES DESIGN (BLACK AND WHITE)                          Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER # R2563-23602 ON 12/27/2016 - UNITED STATES

TRADEMARK - CHROMOSOMES DESIGN (COLORS-CLAIMED)                           Undetermined NET BOOK VALUE                                  Undetermined
- REGISTER # R2563-23601 ON 01/31/2017 - UNITED STATES

TRADEMARK - DISCOVER23 - REGISTER # R2563-31101 ON                        Undetermined NET BOOK VALUE                                  Undetermined
01/15/2019 - UNITED STATES

TRADEMARK - GENETICS JUST GOT PERSONAL - REGISTER                         Undetermined NET BOOK VALUE                                  Undetermined
# R2563-00301 ON 11/02/2010 - UNITED STATES

TRADEMARK - GOLDEN23 - REGISTER # R2563-30001 ON                          Undetermined NET BOOK VALUE                                  Undetermined
08/13/2019 - UNITED STATES

TRADEMARK - GRANDTREE - REGISTER # R2563-30601 ON                         Undetermined NET BOOK VALUE                                  Undetermined
05/08/2018 - UNITED STATES

TRADEMARK - HEALTH CARE - POWERED BY ME -                                 Undetermined NET BOOK VALUE                                  Undetermined
REGISTER # R2563-40801 ON 01/00/1900 - UNITED STATES

TRADEMARK - HEALTH HAPPENS NOW - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-35701 ON 11/24/2020 - UNITED STATES

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                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - HEALTH HAPPENS NOW - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-35722 ON 12/03/2020 - CANADA

TRADEMARK - HEALTH HAPPENS NOW - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-35736 ON 12/03/2019 - EUROPEAN UNION

TRADEMARK - HEALTH HAPPENS NOW - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-35776 ON 12/03/2019 - INTERNATIONAL PROTOCOL
(MADRID) - NOT EXTENDED: CA, EU, GB
TRADEMARK - HEALTH HAPPENS NOW - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-35793 ON 06/23/2020 - UNITED KINGDOM

TRADEMARK - HISTORICAL MATCHES - REGISTER #                               Undetermined NET BOOK VALUE                                  Undetermined
R2563-58101 ON 12/03/2024 - UNITED STATES

TRADEMARK - JOURNEY THROUGH YOUR DNA - REGISTER #                         Undetermined NET BOOK VALUE                                  Undetermined
R2563-02136 ON 10/16/2012 - EUROPEAN UNION

TRADEMARK - LIVE IN THE KNOW - REGISTER #                                 Undetermined NET BOOK VALUE                                  Undetermined
R2563-29801 ON 12/17/2019 - UNITED STATES

TRADEMARK - MEET YOUR GENES - REGISTER #                                  Undetermined NET BOOK VALUE                                  Undetermined
R2563-34801 ON 12/10/2019 - UNITED STATES

TRADEMARK - MEET YOUR GENES - REGISTER #                                  Undetermined NET BOOK VALUE                                  Undetermined
R2563-34848 ON 01/16/2020 - HONG KONG

TRADEMARK - MEET YOUR GENES - REGISTER #                                  Undetermined NET BOOK VALUE                                  Undetermined
R2563-34893 ON 11/15/2019 - UNITED KINGDOM

TRADEMARK - PERSONAL GENETIC SERVICE - REGISTER #                         Undetermined NET BOOK VALUE                                  Undetermined
R2563-29601 ON 08/29/2017 - UNITED STATES

TRADEMARK - PERSONAL GENETIC SERVICE - REGISTER #                         Undetermined NET BOOK VALUE                                  Undetermined
R2563-29602 ON 09/05/2017 - UNITED STATES

TRADEMARK - PERSONAL GENOME SERVICE - REGISTER #                          Undetermined NET BOOK VALUE                                  Undetermined
R2563-00901 ON 06/22/2010 - UNITED STATES

TRADEMARK - PGS - REGISTER # R2563-00101 ON 09/13/2011                    Undetermined NET BOOK VALUE                                  Undetermined
- UNITED STATES

TRADEMARK - PGS - REGISTER # R2563-00102 ON                               Undetermined NET BOOK VALUE                                  Undetermined
09/14/2010 - UNITED STATES

TRADEMARK - POWERED BY 23ANDME RESEARCH -                                 Undetermined NET BOOK VALUE                                  Undetermined
REGISTER # R2563-35101 ON 04/14/2020 - UNITED STATES

TRADEMARK - POWERED BY 23ANDME RESEARCH &                                 Undetermined NET BOOK VALUE                                  Undetermined
DESIGN - REGISTER # R2563-35201 ON 04/14/2020 - UNITED
STATES
TRADEMARK - ROOT FOR YOUR ROOTS - REGISTER #                              Undetermined NET BOOK VALUE                                  Undetermined
R2563-34300 ON 09/03/2019 - UNITED STATES

TRADEMARK - ROOTS INTO THE FUTURE - REGISTER #                            Undetermined NET BOOK VALUE                                  Undetermined
R2563-01001 ON 02/21/2012 - UNITED STATES

TRADEMARK - ROOTS INTO THE FUTURE - REGISTER #                            Undetermined NET BOOK VALUE                                  Undetermined
R2563-01036 ON 06/28/2012 - EUROPEAN UNION

TRADEMARK - THE SPITTOON - REGISTER # R2563-02622                         Undetermined NET BOOK VALUE                                  Undetermined
ON 02/11/2011 - CANADA

TRADEMARK - THIS IS ME - REGISTER # R2563-01222 ON                        Undetermined NET BOOK VALUE                                  Undetermined
11/25/2020 - CANADA

TRADEMARK - THIS IS ME - REGISTER # R2563-01236 ON                        Undetermined NET BOOK VALUE                                  Undetermined
01/30/2015 - EUROPEAN UNION

TRADEMARK - THIS IS ME - REGISTER # R2563-01269 ON                        Undetermined NET BOOK VALUE                                  Undetermined
01/30/2015 - NORWAY

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                                       Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



Patents, copyrights, trademarks, and trade secrets                  Net book value of     Valuation method           Current value of debtor's
                                                                    debtor's interest     used for current value     interest
                                                                    (Where available)
TRADEMARK - THIS IS ME - REGISTER # R2563-01276 ON                        Undetermined NET BOOK VALUE                                  Undetermined
01/30/2015 - INTERNATIONAL PROTOCOL (MADRID) -
EXTENDED: EU, NO
TRADEMARK - TRADE DRESS - TEST KIT BOX (B&W) -                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTER # R2563-23901 ON 07/04/2017 - UNITED STATES

TRADEMARK - TRADE DRESS - TEST KIT BOX (COLOR) -                          Undetermined NET BOOK VALUE                                  Undetermined
REGISTER # R2563-23902 ON 07/04/2017 - UNITED STATES

TRADEMARK - WELCOME TO YOU - REGISTER # R2563-01422                       Undetermined NET BOOK VALUE                                  Undetermined
ON 12/29/2016 - CANADA

TRADEMARK - WELCOME TO YOU - REGISTER # R2563-01436                       Undetermined NET BOOK VALUE                                  Undetermined
ON 06/08/2015 - EUROPEAN UNION

TRADEMARK - WELCOME TO YOU - REGISTER # R2563-01469                       Undetermined NET BOOK VALUE                                  Undetermined
ON 04/28/2015 - NORWAY

                                                                                          TOTAL                                                  $0.00
                                                                                                                               + Undetermined Amounts




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
2023AND.ME                                                              Undetermined NET BOOK VALUE                                  Undetermined


2023ANDME.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


2023ANDME.US                                                            Undetermined NET BOOK VALUE                                  Undetermined


233ANDME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


234ANDME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


234NDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23AANDME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ADME.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ADME.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ADMIN.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ADNME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ADNME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23AME.COM                                                               Undetermined NET BOOK VALUE                                  Undetermined


23AND.BIZ                                                               Undetermined NET BOOK VALUE                                  Undetermined


23AND.CO                                                                Undetermined NET BOOK VALUE                                  Undetermined


23AND.INFO                                                              Undetermined NET BOOK VALUE                                  Undetermined


23AND.ME                                                                Undetermined NET BOOK VALUE                                  Undetermined


23AND.MOBI                                                              Undetermined NET BOOK VALUE                                  Undetermined


23AND.NET                                                               Undetermined NET BOOK VALUE                                  Undetermined


23AND.ORG                                                               Undetermined NET BOOK VALUE                                  Undetermined


23ANDANCESTRY.CA                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDANCESTRY.CO.UK                                                     Undetermined NET BOOK VALUE                                  Undetermined


23ANDANCESTRY.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDDNA.CA                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDDNA.CO.UK                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDDNA.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDE.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDE.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDEM.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDEM.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENES.CA                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENES.CO.UK                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENES.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENETICS.CA                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENETICS.CO.UK                                                     Undetermined NET BOOK VALUE                                  Undetermined


23ANDGENETICS.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDHE.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDHE.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDHE.ORG                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDHEALTH.CA                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDHEALTH.CO.UK                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDM.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDM.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDMD.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ACADEMY                                                         Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ADULT                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.AE                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.APP                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDME.ASIA                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.AT                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.AU                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.BE                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.BIO                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.BIZ                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.BZ                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CA                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CAREERS                                                         Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CN                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.IL                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.KE                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.KR                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.NZ                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.UK                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CO.VE                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMÉ.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMÊ.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMË.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMĔ.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMĒ.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23AŅDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÁNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÁNDMÉ.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÀNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÂNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÄNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ÃNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ẠNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ɑNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.AU                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.BR                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.ES                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.GR                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.HK                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.JM                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.MY                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.PT                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.SG                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.TW                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.COM.VE                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.CZ                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.DE                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.DEV                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.DK                                                              Undetermined NET BOOK VALUE                                  Undetermined




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDME.EMAIL                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ENGINEERING                                                     Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.EU                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.FI                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.FR                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.GR                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.GT                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.HEALTHCARE                                                      Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.HK                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.HU                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.IE                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.IN                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.INFO                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.IO                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.IT                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.JP                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.LI                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.LIVE                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.LU                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ME.UK                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.MX                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.MY                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.NAME                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDME.NL                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.NO                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.NZ                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ONLINE                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ORG                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PH                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PK                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PL                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PORN                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PT                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.PUB                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.QA                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.RU                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.SCIENCE                                                         Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.SE                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.SG                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.SI                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.STORE                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.SUPPORT                                                         Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.TECH                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.TECHNOLOGY                                                      Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.TEL                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.TV                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.TW                                                              Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDME.UK                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.US                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.WS                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.XXX                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.XYZ                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDME.ΕΛ                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEBENEFITS.COM                                                     Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEDNA.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEDNATEST.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUM.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUM.NET                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUM.ORG                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUMS.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUMS.NET                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFORUMS.ORG                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFOUNDATION.COM                                                   Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFOUNDATION.INFO                                                  Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEFOUNDATION.ORG                                                   Undetermined NET BOOK VALUE                                  Undetermined


23ANDMEOBJECTS.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


23ANDMERCHANDISE.COM                                                    Undetermined NET BOOK VALUE                                  Undetermined


23ANDMESUCKS.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDMETHERAPEUTICS.COM                                                 Undetermined NET BOOK VALUE                                  Undetermined


23ANDMETX.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDMY.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANDMY.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDMYHEART.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDNME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDROOTS.CA                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDROOTS.CO.UK                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDROOTS.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


23ANDSHE.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDSHE.NET                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDSHE.ORG                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDTRAITS.CO.UK                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDTRAITS.COM                                                         Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.BIZ                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.CO.UK                                                           Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.INFO                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.ORG                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.US                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANDWE.XXX                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDWELLNESS.CA                                                        Undetermined NET BOOK VALUE                                  Undetermined


23ANDWELLNESS.CO.UK                                                     Undetermined NET BOOK VALUE                                  Undetermined


23ANDWELLNESS.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


23ANDXX.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANDXY.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
23ANEME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANMDE.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANMDE.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ANME.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANME.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


23ANNDME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23ANSME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23ME.BIZ                                                                Undetermined NET BOOK VALUE                                  Undetermined


23ME.CO                                                                 Undetermined NET BOOK VALUE                                  Undetermined


23ME.INFO                                                               Undetermined NET BOOK VALUE                                  Undetermined


23ME.ORG                                                                Undetermined NET BOOK VALUE                                  Undetermined


23ME.US                                                                 Undetermined NET BOOK VALUE                                  Undetermined


23NADME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23NADME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


23NANDME.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


23NDME.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


23NDME.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


23SNDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


23THERAPEUTICS.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


23TX.COM                                                                Undetermined NET BOOK VALUE                                  Undetermined


23YME.COM                                                               Undetermined NET BOOK VALUE                                  Undetermined


23YME.DE                                                                Undetermined NET BOOK VALUE                                  Undetermined


23YME.ORG                                                               Undetermined NET BOOK VALUE                                  Undetermined


23YME.US                                                                Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
2A3NDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


2A3NDME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


2ANDME.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


2ANDME.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


2EANDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


2EANDME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


32ANDME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.BIZ                                                             Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.CO.UK                                                           Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.INFO                                                            Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.ORG                                                             Undetermined NET BOOK VALUE                                  Undetermined


39ANDK9.US                                                              Undetermined NET BOOK VALUE                                  Undetermined


3ANDME.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


3ANDME.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


ANNEWOJCICKI.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


BESTEDAID.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


BESTMEDPILL.COM                                                         Undetermined NET BOOK VALUE                                  Undetermined


BESTMEDPILLS.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


BESTPEPILL.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


BESTPEPILLS.COM                                                         Undetermined NET BOOK VALUE                                  Undetermined


BUY23.TV                                                                Undetermined NET BOOK VALUE                                  Undetermined


BUY23ANDME.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
COPR23.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP22.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP23.BIZ                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP23.CO                                                               Undetermined NET BOOK VALUE                                  Undetermined


CORP23.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP23.INFO                                                             Undetermined NET BOOK VALUE                                  Undetermined


CORP23.ME                                                               Undetermined NET BOOK VALUE                                  Undetermined


CORP23.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP23.ORG                                                              Undetermined NET BOOK VALUE                                  Undetermined


CORP23.US                                                               Undetermined NET BOOK VALUE                                  Undetermined


CORP32.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


CROP23.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


CURETOGETHER.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


CURETOGETHER.NET                                                        Undetermined NET BOOK VALUE                                  Undetermined


CURETOGETHER.ORG                                                        Undetermined NET BOOK VALUE                                  Undetermined


DABBA.PRO                                                               Undetermined NET BOOK VALUE                                  Undetermined


DNATRAVEL.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOC.CLUB                                                          Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOCTORVISIT.INFO                                                  Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOCTORVISIT.NET                                                   Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOCTORVISIT.ORG                                                   Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOCTORVISIT.US                                                    Undetermined NET BOOK VALUE                                  Undetermined


DOLLARDOCTORVISITS.COM                                                  Undetermined NET BOOK VALUE                                  Undetermined


EDBEGONE.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
EXOMEANDME.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


EXOMEANDME.NET                                                          Undetermined NET BOOK VALUE                                  Undetermined


EXOMEANDME.ORG                                                          Undetermined NET BOOK VALUE                                  Undetermined


EXOMEANDME.US                                                           Undetermined NET BOOK VALUE                                  Undetermined


FIXMYPE.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


GENETICCHECKUP.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


GENETICCHECKUPS.COM                                                     Undetermined NET BOOK VALUE                                  Undetermined


GENETICHECKUP.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


GENETICHECKUPS.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


GENETICSCREENING.COM                                                    Undetermined NET BOOK VALUE                                  Undetermined


GENOMEANDME.COM                                                         Undetermined NET BOOK VALUE                                  Undetermined


GENOMEANDME.NET                                                         Undetermined NET BOOK VALUE                                  Undetermined


GENOMEANDME.ORG                                                         Undetermined NET BOOK VALUE                                  Undetermined


GENOMEANDME.US                                                          Undetermined NET BOOK VALUE                                  Undetermined


GOLDEN23SWEEPSTAKES.COM                                                 Undetermined NET BOOK VALUE                                  Undetermined


GREATESTEDPILL.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.CO.UK                                                  Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.COM                                                    Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.INFO                                                   Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.NET                                                    Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.ORG                                                    Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERHEALTH.US                                                     Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERPHARMACY.COM                                                  Undetermined NET BOOK VALUE                                  Undetermined


ICEBREAKERPHARMACY.US                                                   Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
ICEBREAKHEALTH.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


LEMONADEHEALTH.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


LEMONAID.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDCOMMUNITYPHARMACY.COM                                           Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDCOMMUNITYPHARMACY.INFO                                          Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDCOMMUNITYPHARMACY.NET                                           Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDCOMMUNITYPHARMACY.ORG                                           Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDCOMMUNITYPHARMACY.US                                            Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.INFO                                                     Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.NET                                                      Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.ORG                                                      Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.SHOP                                                     Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDHEALTH.STORE                                                    Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPHARMACY.COM                                                    Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPHARMACY.INFO                                                   Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPHARMACY.NET                                                    Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPHARMACY.ORG                                                    Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPHARMACY.US                                                     Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDPIMS.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


LEMONAIDRXSTL.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


LEMONIAD.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


LOWESTEDPILL.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


LOWESTEDPILLS.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined




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            Case 25-40977            Doc 9      Filed 04/28/25 Entered 04/28/25 19:02:59                         Main Document
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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
MYEDFIXED.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


MYEDISGONE.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


MYEDISOVER.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


MYPEISGONE.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


OOPSTOOSOON.COM                                                         Undetermined NET BOOK VALUE                                  Undetermined


PEBEGONE.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


PHEWAS.COM                                                              Undetermined NET BOOK VALUE                                  Undetermined


PHEWAS.INFO                                                             Undetermined NET BOOK VALUE                                  Undetermined


PHEWAS.NET                                                              Undetermined NET BOOK VALUE                                  Undetermined


PHEWAS.ORG                                                              Undetermined NET BOOK VALUE                                  Undetermined


PHEWAS.US                                                               Undetermined NET BOOK VALUE                                  Undetermined


POLKADOC.COM                                                            Undetermined NET BOOK VALUE                                  Undetermined


RESEARCHREVOLUTION.NET                                                  Undetermined NET BOOK VALUE                                  Undetermined


RESEARCHREVOLUTION.ORG                                                  Undetermined NET BOOK VALUE                                  Undetermined


THE23ANDME.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


THEBESTEDPILL.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


THEBESTEDPILLS.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


THEEDPILL.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


THEPEPILL.COM                                                           Undetermined NET BOOK VALUE                                  Undetermined


THEPEPILLS.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


THEPREVENTIONCOMPANY.COM                                                Undetermined NET BOOK VALUE                                  Undetermined


THISWEEKINDNA.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


TRYLEMONADEHEALTH.COM                                                   Undetermined NET BOOK VALUE                                  Undetermined


TRYLEMONAIDHEALTH.COM                                                   Undetermined NET BOOK VALUE                                  Undetermined




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                                                       Assets - Real and Personal Property


                                             Part 10, Question 61: Internet domain names and websites



Internet domain names and websites                                Net book value of     Valuation method           Current value of debtor's
                                                                  debtor's interest     used for current value     interest
                                                                  (Where available)
TTAM.IO                                                                 Undetermined NET BOOK VALUE                                  Undetermined


TWENTY3ANDME.BIZ                                                        Undetermined NET BOOK VALUE                                  Undetermined


TWENTY3ANDME.COM                                                        Undetermined NET BOOK VALUE                                  Undetermined


TWENTY3ANDME.INFO                                                       Undetermined NET BOOK VALUE                                  Undetermined


TWENTY3ANDME.NET                                                        Undetermined NET BOOK VALUE                                  Undetermined


TWENTY3ANDME.ORG                                                        Undetermined NET BOOK VALUE                                  Undetermined


TWENTYTHREEANDME.COM                                                    Undetermined NET BOOK VALUE                                  Undetermined


TWENTYTHREEANDME.XXX                                                    Undetermined NET BOOK VALUE                                  Undetermined


VARIANTSLIKEME.COM                                                      Undetermined NET BOOK VALUE                                  Undetermined


WEBMDNA.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


WHATIS23ANDME.COM                                                       Undetermined NET BOOK VALUE                                  Undetermined


WWW23ANDME.COM                                                          Undetermined NET BOOK VALUE                                  Undetermined


Z3ANDME.COM                                                             Undetermined NET BOOK VALUE                                  Undetermined


Z3ANDME.NET                                                             Undetermined NET BOOK VALUE                                  Undetermined


Z3ANDME.US                                                              Undetermined NET BOOK VALUE                                  Undetermined


                                                                                       TOTAL                                                   $0.00
                                                                                                                             + Undetermined Amounts




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                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number           Current value of debtor's
(Description)                                                                                                    interest
ALLIED WORLD SPECIALTY INSURANCE                   D&O EXCESS - PUBLIC                   03138799                                 Undetermined
COMPANY

ALLIED WORLD SPECIALTY INSURANCE                   D&O EXCESS SIDE A DIC -               03129255                                 Undetermined
COMPANY                                            PUBLIC

ARCH SPECIALTY INSURANCE COMPANY                   E&O/CYBER LIABILITY - EXCESS C4LPE044020CYBER2024                              Undetermined


AXIS INSURANCE COMPANY                             D&O EXCESS SIDE A DIC -               P00100052287303                          Undetermined
                                                   PUBLIC

BEAZLEY INSURANCE COMPANY                          CRIME                                 V32364240301                             Undetermined


BERKLEY INSURANCE COMPANY                          D&O EXCESS - PUBLIC                   BPRO8094901                              Undetermined


BERKLEY INSURANCE COMPANY                          D&O INDEPENDENT DIRECTORS BPRO8121721                                          Undetermined
                                                   - PUBLIC

CONTINENTAL CASUALTY COMPANY                       D&O EXCESS - PUBLIC                   652347042                                Undetermined


CONTINENTAL CASUALTY COMPANY                       EMPLOYMENT PRACTICES                  652522230                                Undetermined
                                                   LIABILITY

ENDURANCE ASSURANCE CORPORATION                    D&O EXCESS SIDE A DIC -               ADL30007968302                           Undetermined
(SOMPO)                                            PUBLIC

FEDERAL INSURANCE COMPANY                          AUTO - COMMERCIAL                     73602283                                 Undetermined


FEDERAL INSURANCE COMPANY                          FIDUCIARY LIABILITY                   J06016091                                Undetermined


FEDERAL INSURANCE COMPANY                          PACKAGE - COMMERCIAL                  36053971                                 Undetermined


FEDERAL INSURANCE COMPANY                          PRODUCTS LIABILITY - EXCESS           93643559                                 Undetermined


FEDERAL INSURANCE COMPANY                          UMBRELLA - COMMERCIAL                 78186788                                 Undetermined


GEMINI INSURANCE COMPANY                           PRODUCTS LIABILITY                    GL1243911                                Undetermined


GREAT AMERICAN INSURANCE COMPANY                   SPECIAL CONTINGENCY                   UKA302315924                             Undetermined


HOMELAND INSURANCE COMPANY OF NEW                  CYBER LIABILITY - EXCESS              7200019130000                            Undetermined
YORK

HOUSTON CASUALTY COMPANY                           E&O/CYBER LIABILITY - EXCESS 14MG24A16424                                      Undetermined


HUDSON INSURANCE COMPANY                           D&O EXCESS - PUBLIC                   HN03037601061623                         Undetermined


LLOYDS OF LONDON                                   E&O/CYBER LIABILITY                   B1510CY2400013                           Undetermined


LLOYDS OF LONDON                                   E&O/CYBER LIABILITY - EXCESS TCIAX24HH86                                       Undetermined


LLOYDS OF LONDON                                   E&O/CYBER LIABILITY - EXCESS B1510CY2400014                                    Undetermined


LLOYDS OF LONDON - FALVEY                          CARGO                                 MCFAL90000246                            Undetermined


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                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number           Current value of debtor's
(Description)                                                                                                    interest
NATIONAL UNION FIRE INS CO PITTSBURGH,             D&O INDEPENDENT DIRECTORS 018240341                                            Undetermined
PA                                                 - PUBLIC

NATIONAL UNION FIRE INS CO PITTSBURGH,             D&O - PUBLIC                          011735605                                Undetermined
PA

OLD REPUBLIC INSURANCE COMPANY                     D&O EXCESS SIDE A DIC -               ORPRO12105085                            Undetermined
                                                   PUBLIC

TRAVELERS PROP CASUALTY CO OF AMERICA WORKERS COMP                                       UB3N50008724I6G                          Undetermined


TWIN CITY FIRE INSURANCE COMPANY                   D&O INDEPENDENT DIRECTORS 57DA070093624                                        Undetermined
                                                   - PUBLIC

XL SPECIALTY INSURANCE COMPANY                     D&O EXCESS - PUBLIC                   ELU19060223                              Undetermined


XL SPECIALTY INSURANCE COMPANY                     D&O INDEPENDENT DIRECTORS ELU20062124                                          Undetermined
                                                   - PUBLIC

                                                                                         TOTAL                                               $0.00
                                                                                                                           + Undetermined Amounts




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Debtor Name: 23andMe, Inc.                                     Pg 83 of 1950                                    Case Number: 25-40977 (BCW)

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
ASSET RESALE PROCEEDS                                                                                                              $409,103.98


INSURANCE RECOVERABLE                                                                                                              $185,511.66


INTEREST RECEIVABLES                                                                                                               $230,996.28


MISCELLANEOUS RECEIVABLE                                                                                                                $10.00


MISCELLANEOUS TRADE RECEIVABLE                                                                                                    $1,024,408.86


PREPAYMENT                                                                                                                         $903,135.74


RECOVERY ACCRUAL - CYBERSECURITY INCIDENTAL                                                                                      $18,202,692.97


TOTAL                                                                                                                            $20,955,859.49




                                                                     Page 1 of 1
 Fill in this information
            Case          to identify
                   25-40977      Docthe
                                      9 case:
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                                                                                       Pg 84 of 1950
 Debtor name        23andMe, Inc.

 United States Bankruptcy Court for the:           Eastern District of Missouri                                                                         ¨ Check if this is an
                                                                                                                                                              amended filing
 Case number (If known):          25-40977 (BCW)


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                    Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                              Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                    Do not deduct the value   that supports this
                                                                                                                                    of collateral.            claim
2.1     Creditor's name                                               Describe debtor’s property that is subject to a lien
        JPMORGAN CHASE BANK, N.A.
                                                                                                                                    $        Undetermined     $        Undetermined

        Creditor's mailing address
        10 SOUTH DEARBORN
        FLOOR 34
        CHICAGO, IL 60603-2300                                        Describe the lien
                                                                     LETTER OF CREDIT #NUSCGS006944 IN THE AMOUNT OF
                                                                     $4,770,152.50 AS OF 4/18/2025 FOR THE BENEFIT OF 221 N
                                                                     MATHILDA, LLC
        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             Undetermined
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      þ No
        number
                                                                      ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        þ No
        ¨ Yes. Specify each creditor, including this                  þ Contingent
            creditor, and its relative priority.                      þ Unliquidated
                                                                      ¨ Disputed
2.2     Creditor's name                                               Describe debtor’s property that is subject to a lien
        JPMORGAN CHASE BANK, N.A.
                                                                                                                                    $        Undetermined     $        Undetermined
        Creditor's mailing address
        10 SOUTH DEARBORN
        FLOOR 34
        CHICAGO, IL 60603-2300                                        Describe the lien
                                                                      LETTER OF CREDIT #NUSCGS051852 IN THE AMOUNT OF
                                                                      $5,300,000 AS OF 4/18/2025 FOR THE BENEFIT OF PAYPAL, INC.
        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             Undetermined
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      þ No
        number
                                                                      ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        þ No
        ¨ Yes. Have you already specified the relative                þ Contingent
            priority?                                                 þ Unliquidated
            ¨ No. Specify each creditor, including this               ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                               $




       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 4
Debtor
                  Case 25-40977
           23andMe, Inc.
                                                   Doc 9    Filed 04/28/25 Entered 04/28/25      19:02:59 Main Document
                                                                                     Case number (If known): 25-40977 (BCW)
           Name                                                        Pg 85 of 1950
                                                                                                                            Column A                Column B
   Part 1:         Additional Page                                                                                          Amount of Claim         Value of collateral
                                                                                                                            Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                    of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         U.S. BANK EQUIPMENT FINANCE                         AS PROVIDED IN THE UCC FINANCING STATEMENT

                                                                                                                            $         Undetermined $         Undetermined
         Creditor's mailing address
         1310 MADRID STREET
         MARSHALL, MN 56258
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT NO. 20203423599 DATED:
                                                            05/14/2020

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                  þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         U.S. BANK EQUIPMENT FINANCE                         AS PROVIDED IN THE UCC FINANCING STATEMENT

                                                                                                                            $         Undetermined $         Undetermined
         Creditor's mailing address
         1310 MADRID STREET
         MARSHALL, MN 56258
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT NO. 20226984520 DATED:
                                                            08/19/2022

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                  þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              Page 2 of 4
Debtor            Case 25-40977
           23andMe, Inc.                           Doc 9    Filed 04/28/25 Entered 04/28/25      19:02:59
                                                                                     Case number (If               Main
                                                                                                     known): 25-40977 (BCW)Document
           Name                                                        Pg 86 of 1950
                                                                                                                            Column A                Column B
   Part 1:         Additional Page                                                                                          Amount of Claim         Value of collateral
                                                                                                                            Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                    of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         U.S. BANK EQUIPMENT FINANCE                         AS PROVIDED IN THE UCC FINANCING STATEMENT

                                                                                                                            $         Undetermined $         Undetermined
         Creditor's mailing address
         1310 MADRID STREET
         MARSHALL, MN 56258
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT NO. 20231390144 DATED:
                                                            02/22/2023

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                  þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         U.S. BANK EQUIPMENT FINANCE                         AS PROVIDED IN THE UCC FINANCING STATEMENT

                                                                                                                            $         Undetermined $         Undetermined
         Creditor's mailing address
         1310 MADRID STREET
         MARSHALL, MN 56258
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT NO. 20233366308 DATED:
                                                            05/03/2023

         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         þ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                  þ Contingent
                                                              þ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              Page 3 of 4
 Debtor     Case 25-40977
           23andMe, Inc.                   Doc 9         Filed 04/28/25 Entered 04/28/25
                                                                                  Case number19:02:59
                                                                                              (If known):    Main
                                                                                                          25-40977    Document
                                                                                                                   (BCW)
           Name                                                     Pg 87 of 1950

Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 4 of 4
                 Case 25-40977                Doc 9        Filed 04/28/25 Entered 04/28/25 19:02:59                               Main Document
   Fill in this information to identify the case:                     Pg 88 of 1950
    Debtor        23andMe, Inc.


    United States Bankruptcy Court for the:   Eastern District of Missouri
                                                                                                                                             ¨ Check if this is an
    Case number       25-40977 (BCW)                                                                                                              amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    ¨ No. Go to Part 2.
    þ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                          Total claim         Priority amount
2.1 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $       Undetermined    $      Undetermined
    SAN FRANCISCO TAX COLLECTOR                                       Check all that apply.
    1 DR CARLTON B GOODLETT PL # 140
    SAN FRANCISCO, CA 94102
                                                                      þ Contingent
                                                                      þ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim: Tax Audit
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      þ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.2 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.3 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 48
  Debtor     23andMe,25-40977
                     Inc.                                                     Case number (If known)                    25-40977 (BCW)
             Case                       Doc 9      Filed 04/28/25 Entered 04/28/25   19:02:59                           Main    Document
             Name
                                                              Pg 89 of 1950
 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      1000 BUDDHAS, LLC                                                 Check all that apply.                             $                         556.45
      ATTN BENJAMIN S. RUDNICK                                          ¨ Contingent
      32 WILLOW AVENUE
      WALNUT CREEK, CA 94595                                            ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE CLAIM

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      221 N MATHILDA, LLC /                                             Check all that apply.                             $                 Undetermined
      SCG GROVE 221, LLC                                                þ Contingent
      C/O SPEAR STREET CAPITAL
      ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE               þ Unliquidated
      ONE MARKET PLAZA SPEAR TOWER, SUITE 4125                          ¨ Disputed
      SAN FRANCISCO, CA 94105                                           Basis for the claim: CONTRACT REJECTION

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   þ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      ABM INDUSTRY GROUPS LLC                                           Check all that apply.                             $                       57,896.34
      PO BOX 52609                                                      ¨ Contingent
      LOS ANGELES, CA 90074-2609
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE CLAIM

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      ABSORPTION PHARMACEUTICALS, LLC                                   Check all that apply.                             $                       20,156.64
      4690 W. POST ROAD #B5                                             ¨ Contingent
      LAS VEGAS, NV 89118
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE CLAIM

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      ACMG FOUNDATION FOR GENETIC AND GENOMIC MEDICINE INC              Check all that apply.                             $                       10,000.00
      7101 WISCONSIN AVENUE SUITE 1101                                  ¨ Contingent
      BETHESDA, MD 20814
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE CLAIM

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      AD RESULTS MEDIA, LLC                                             Check all that apply.                             $                           70.00
      ATTN JORDAN FOX                                                   ¨ Contingent
      3120 SOUTHWEST FWY.
      SUITE 101                                                         ¨ Unliquidated
      PMB 85753                                                         ¨ Disputed
      HOUSTON, TX 77098                                                 Basis for the claim: TRADE CLAIM

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 48
  Debtor    Case
            23andMe,25-40977
                     Inc.               Doc 9    Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                            Case number (If known)                  Main
                                                                                                                    25-40977Document
                                                                                                                             (BCW)
             Name                                           Pg 90 of 1950
 Part 2:     Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  47,195.36
      ADVANCED CHEMICAL TRANSPORT
      PO BOX 8459                                                   ¨ Contingent
      PASADENA, CA 91109-8459                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   3,000.00
      AFROPINK
      99 WEST 38TH ST.                                              ¨ Contingent
      BAYONNE, NJ 07002-2909                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 104,664.00
      AGANITHA AI INC.
      7771ST ST                                                     ¨ Contingent
      #519                                                          ¨ Unliquidated
      ATTN VIKRAM DUVVOORI                                          ¨ Disputed
      GILROY, CA 95020
                                                                    Basis for the claim: TRADE CLAIM



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
      AGENCIA ESPAÑOLA DE PROTECCIÓN DE DATOS
      ATTN: PABLO GARCÍA SÁNCHEZ, INSPECTOR                         þ Contingent
      C/JORGE JUAN 6                                                þ Unliquidated
      MADRID, 280001                                                þ Disputed
      SPAIN
                                                                    Basis for the claim: REGULATORY MATTER



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
      ALABAMA ATTORNEY GENERAL
      501 WASHINGTON AVENUE                                         þ Contingent
      MONTGOMERY, AL 36104                                          þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                Page 3 of 48
  Debtor   Case
           23andMe,25-40977
                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                           Case number (If known)                   Main
                                                                                                                    25-40977Document
                                                                                                                             (BCW)
            Name                                           Pg 91 of 1950
 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   1,250.00
    ALCHEMY SPRINGS
    2407 HARRISION STREET, APT 13                                   ¨ Contingent
    SAN FRANCISCO, CA 94110                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  95,050.64
    ALLIED UNIVERSAL SECURITY SERVICES
    P.O. BOX 828854                                                 ¨ Contingent
    PHILADELPHIA, PA 19182-8854                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 304,654.09
    ALOM TECHNOLOGIES CORPORATION
    48105 WARM SPRING BLVD.                                         ¨ Contingent
    FREMONT, CA 94539-7498                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   2,267.00
    ALSTON & BIRD LLP
    PO BOX 933124                                                   ¨ Contingent
    ATLANTA, GA 31193-3124                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   1,092.53
    AMAZON.COM SERVICES LLC
    410 TERRY AVENUE NORTH                                          ¨ Contingent
    SEATTLE, WA 98109-5210                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 4 of 48
  Debtor   Case
           23andMe,25-40977
                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                           Case number (If known)                   Main
                                                                                                                    25-40977Document
                                                                                                                             (BCW)
            Name                                           Pg 92 of 1950
 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    737.13
    ATTENTIVE MOBILE INC
    221 RIVER STREET, SUITE 9047                                    ¨ Contingent
    HOBOKEN, NJ 7030                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
    ATTORNEY GENERAL OF ARKANSAS
    323 CENTER STREET                                               þ Contingent
    SUITE 200                                                       þ Unliquidated
    LITTLE ROCK, AR 72201                                           þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
    ATTORNEY GENERAL OF KANSAS
    120 SW 10TH AVE.                                                þ Contingent
    2ND FLOOR                                                       þ Unliquidated
    TOPEKA, KS 66612                                                þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 28,307.51
    AZENTA US, INC.
    2910 FORTUNE CIRCLE WEST                                        ¨ Contingent
    SUITE E                                                         ¨ Unliquidated
    INDIANAPOLIS, IN 46241                                          ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 29,304.00
    BAIRESDEV, LLC
    1999 S BASCOM AVE                                               ¨ Contingent
    #700                                                            ¨ Unliquidated
    CAMPBELL, CA 95008                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 5 of 48
  Debtor   Case
           23andMe,25-40977
                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                           Case number (If known)                   Main
                                                                                                                    25-40977Document
                                                                                                                             (BCW)
            Name                                           Pg 93 of 1950
 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   5,426.40
    BETTERCLOUD, INC.
    330 7TH AVENUE                                                  ¨ Contingent
    4TH FLOOR                                                       ¨ Unliquidated
    NEW YORK, NY 10001                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 32,881.50
    BIOAGILYTIX LABS
    2300 ENGLERT DR.                                                ¨ Contingent
    DURHAM, NC 27713                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   7,419.35
    BLACK ROCK GROUP
    66 CANAL CENTER PLAZA                                           ¨ Contingent
    STE 500                                                         ¨ Unliquidated
    ALEXANDRIA, VA 22314                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 15,000.00
    BLEAV ENTERTAINMENT LLC
    8033 SUNSET BLVD #612                                           ¨ Contingent
    LOS ANGELES, CA 90046                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 27,816.49
    BOUNTEOUS, INC.
    4115 N. RAVENSWOOD AVENUE                                       ¨ Contingent
    SUITE 101                                                       ¨ Unliquidated
    CHICAGO, IL 60613                                               ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 6 of 48
  Debtor   Case
           23andMe,25-40977
                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                           Case number (If known)                   Main
                                                                                                                    25-40977Document
                                                                                                                             (BCW)
            Name                                           Pg 94 of 1950
 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 10,500.00
    CAA SPORTS LLC
    2000 AVENUE OF THE STARS                                        ¨ Contingent
    LOS ANGELES, CA 90067                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    565.17
    CALIFORNIA WATER SERVICE COMPANY
    1720 NORTH FIRST STREET                                         ¨ Contingent
    SAN JOSE, CA 95112                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   1,588.26
    CANTEEN REFRESHMENT SERVICES
    ATTN: COMPASS GROUP                                             ¨ Contingent
    PO BOX 50196                                                    ¨ Unliquidated
    LOS ANGELES, CA 90074-0196                                      ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 58,393.49
    CATALENT CTS SINGAPORE PRIVATE LIMITED
    NO                                                              ¨ Contingent
    1 JALAN KILANG                                                  ¨ Unliquidated
    #02-01/02 DYNASTY INDUSTRIAL BUILDING                           ¨ Disputed
    SINGAPORE, 159402
    SINGAPORE                                                       Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   6,602.12
    CATALENT PHARMA SOLUTIONS LLC
    25111 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1251                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 46,059.48
    CDW DIRECT LLC
    PO BOX 75723                                                    ¨ Contingent
    CHICAGO, IL 60675-5723                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 38,300.00
    CHARLES RIVER LABORATORIES, INC.
    251 BALLARDVALE STREET                                          ¨ Contingent
    ATTENTION GENERAL COUNSEL                                       ¨ Unliquidated
    WILMINGTON, MA 01887                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   7,467.52
    CINTAS FIRST AID & SAFETY
    PO BOX 29059                                                    ¨ Contingent
    PHOENIX, AZ 85038                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   2,379.58
    CITY OF SUNNYVALE
    456 W. OLIVE AVE                                                ¨ Contingent
    SUNNYVALE, CA 94086                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        31.25
    CJIS CENTRAL REPOSITORY
    6776 REISTERSTOWN ROAD                                          ¨ Contingent
    SUITE 217                                                       ¨ Unliquidated
    BALTIMORE, MD 21215                                             ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   5,886.70
    COALITION FOR GENETIC DATA PROTECTION INC.
    2001 K STREET NW                                                ¨ Contingent
    SUITE 300                                                       ¨ Unliquidated
    WASHINGTON, DC 20006                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $              Undetermined
    COMMONWEALTH OF PENNSYLVANIA OFFICE OF ATTORNEY GENERAL
    1600 ARCH STREET                                                þ Contingent
    3RD FLOOR                                                       þ Unliquidated
    PHILADELPHIA, PA 19103                                          þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    593.60
    COMPENSIA, INC
    PO BOX 103143                                                   ¨ Contingent
    PASADENA, CA 91189-3143                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    880.00
    COMPOSE.LY
    2218C NW 61ST ST.                                               ¨ Contingent
    UNIT C                                                          ¨ Unliquidated
    SEATTLE, WA 98107                                               ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   3,002.62
    CONCUR TECHNOLOGIES, INC.
    62157 COLLECTION CENTER DRIVE                                   ¨ Contingent
    CHICAGO, IL 60693                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     4,643.00
    CONTROLLED CONTAMINATION SERVICES, LLC
    6150 LUSK BLVD SUITE 205B                                       ¨ Contingent
    SAN DIEGO, CA 92121                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 1,409,428.34
    CONVERGE TECHNOLOGY SOLUTIONS US, LLC
    130 TECHNOLOGY PARKWAY                                          ¨ Contingent
    PEACHTREE CORNERS, GA 30092                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     2,200.00
    COPYRIGHT CLEARANCE CENTER, INC.
    222 ROSEWOOD DRIVE                                              ¨ Contingent
    DANVERS, MA 01923                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    COREWEAVE, INC.
    ATTN: GENERAL COUNSEL                                           þ Contingent
    101 EISENHOWER PARKWAY, SUITE 106                               þ Unliquidated
    ROSELAND, NJ 07068                                              ¨ Disputed
                                                                    Basis for the claim: CONTRACT REJECTION



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     1,442.95
    CORPORATION SERVICE COMPANY
    2711 CENTREVILLE ROAD                                           ¨ Contingent
    SUITE 400                                                       ¨ Unliquidated
    WILMINGTON, DE 19809                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,440.00
    CRANE PEST CONTROL
    2700 GEARY BOULEVARD                                            ¨ Contingent
    SAN FRANCISCO, CA 94118                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    114.26
    CREATIVE PLANT DESIGN, INC.
    1670 LAS PLUMAS AVENUE                                          ¨ Contingent
    UNIT C                                                          ¨ Unliquidated
    SAN JOSE, CA 95133                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 49,272.56
    DEKRA CERTIFICATION, INC.
    PO BOX 859394                                                   ¨ Contingent
    MINNEAPOLIS, MN 55485-9394                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    DELAWARE DEPARTMENT OF JUSTICE
    CARVEL STATE BUILDING                                           þ Contingent
    820 N. FRENCH ST.                                               þ Unliquidated
    WILMINGTON, DE 19801                                            þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    DEPARTMENT OF ATTORNEY GENERAL - MICHIGAN
    G. MENNEN WILLIAMS BUILDING                                     þ Contingent
    525 W. OTTAWA STREET                                            þ Unliquidated
    PO BOX 30212                                                    þ Disputed
    LANSING, MI 48909
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,560.00
    DHARMABRIDGE AND SOMAPSYCHOTHERAPY FOR THE HUMAN
    FAMILY, INC                                                     ¨ Contingent
    316 WILLOW ST.                                                  ¨ Unliquidated
    SAN JOSE, CA 95110                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        98.50
    DIAGNOCTIC LABORATORY OF OKLAHOMA
    P.O. BOX 740709                                                 ¨ Contingent
    ATLANTA, GA 30374                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,028.70
    DONNELLEY FINANCIAL SOLUTIONS
    PO BOX 842282                                                   ¨ Contingent
    BOSTON, MA 02284-2282                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 32,500.00
    DS SIMON PRODUCTIONS INC.
    229 W 36TH ST                                                   ¨ Contingent
    9TH FLOOR                                                       ¨ Unliquidated
    NEW YORK, NY 10018                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  5,168.00
    EMT ELECTRIC INC.
    1282 DUPONT COURT                                               ¨ Contingent
    MANTECA, CA 95336                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  5,142.92
    ETRADE FINANCIAL CORPORATE SERVICES, INC.
    200 HUDSON STREET                                               ¨ Contingent
    STE# 501                                                        ¨ Unliquidated
    JERSEY CITY, NJ 07311-1220                                      ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,500.00
    EVERSON WALLS, LLC
    1925 ANTWERP AVENUE                                             ¨ Contingent
    PLANO, TX 75025                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 16,893.11
    EZCATER, INC.
    40 WATER STREET 5TH FLOOR                                       ¨ Contingent
    BOSTON, MA 02109-3604                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    FEDERAL TRADE COMMISSION
    ATTN: RONNIE SOLOMON                                            þ Contingent
    600 PENNSYLVANIA AVE NW                                         þ Unliquidated
    MAIL STOP CC-6316                                               þ Disputed
    WASHINGTON, DC 20580
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    399.00
    FIRST CAPITOL COURIER, INC.
    54 WEST INDUSTRIAL DR.                                          ¨ Contingent
    O FALLON, MO 63366                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  6,200.76
    FISHER BIOSERVICES, INC.
    14665 ROTHGEB DR.                                               ¨ Contingent
    ROCKVILLE, MD 20850                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,216.00
    FISHERBROYLES, LLP
    PO BOX 735232                                                   ¨ Contingent
    DALLAS, TX 75373-5232                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,398.69
    FOODA, INC.
    1 NORTH DEARBORN                                                ¨ Contingent
    SUITE 600                                                       ¨ Unliquidated
    CHICAGO, IL 60602                                               ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 18,459.35
    FSA STORE INC.
    601 W 26TH ST.                                                  ¨ Contingent
    3RD FLOOR                                                       ¨ Unliquidated
    SUITE 357                                                       ¨ Disputed
    DPT #24075
    NEW YORK, NY 10001                                              Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 80,100.00
    FULGENT THERAPEUTICS, LLC
    4978 SANTA ANITA AVE.                                           ¨ Contingent
    TEMPLE CITY, CA 91780                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 24,870.59
    GARY HOBSTETTER & ASSOC.(GHA DESIGN)
    32910 ALVARADO NILES ROAD                                       ¨ Contingent
    SUITE 100                                                       ¨ Unliquidated
    UNION CITY, CA 94587                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    GEORGIA OFFICE OF THE ATTORNEY GENERAL
    47 TRINITY STREET, SW                                           þ Contingent
    ATLANTA, GA 30334                                               þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    510.23
    GETIDA LLC
    1345 QUEEN ANNE ROAD                                            ¨ Contingent
    TEANECK, NJ 07666                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,557.29
    GITHUB, INC.
    88 COLIN P. KELLY STREET                                        ¨ Contingent
    SAN FRANCISCO, CA 94107                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    GLAXOSMITHKLINE PLC
    C/O KIRKLAND & ELLIS LLP                                        þ Contingent
    ATTN: MARTIN ROTH                                               þ Unliquidated
    333 WEST WOLF POINT PLAZA                                       þ Disputed
    CHICAGO, IL 60654
                                                                    Basis for the claim: NOTICE OF INDEMNIFICATION



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   2,967.74
    GO FISH DIGITAL
    324 SOUTH WILMINGTON ST. #412                                   ¨ Contingent
    RALEIGH, NC 27601                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 306,247.12
    GOOGLE, INC.
    P.O. BOX 883654                                                 ¨ Contingent
    LOS ANGELES, CA 90088-3654                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    140.77
    GRAINGER
    DEPT 885926785                                                  ¨ Contingent
    PALATINE, IL 60038-0001                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  21,585.72
    GREENBERG TRAURIG LLP
    8400 NW 36TH STREET                                             ¨ Contingent
    SUITE 400                                                       ¨ Unliquidated
    DORAL, FL 33166                                                 ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    155.00
    GYMDOC INC.
    3488 ARDEN ROAD                                                 ¨ Contingent
    HAYWARD, CA 94545                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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                    Inc.              Doc 9     Filed 04/28/25 Entered 04/28/25   19:02:59
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    HAWAII DEPARTMENT OF THE ATTORNEY GENERAL
    425 QUEEN STREET                                                þ Contingent
    HONOLULU, HI 96813                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,605.38
    HINTZE LAW PLLC
    505 BROADWAY E. #151                                            ¨ Contingent
    SEATTLE, WA 98102                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,477.43
    HOFFMANN BROTHERS HEATING AND AIR CONDITIONING, INC.
    1025 HANLEY INDUSTRIAL COURT                                    ¨ Contingent
    ST. LOUIS, MO 63144                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 13,521.04
    HTC GLOBAL SERVICES, INC.
    3270 W. BIG BEAVER RD.                                          ¨ Contingent
    TROY, MI 48084                                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,500.00
    HUSTLE CLEAN LLC
    1922 CHOATE PKWY                                                ¨ Contingent
    FRISCO, TX 75034                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    163.50
    ID.ME INC.
    PO BOX 392625                                                   ¨ Contingent
    PITTSBURGH, PA 15251-3625                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,612.90
    INDEED, INC.
    MAIL CODE 5160                                                  ¨ Contingent
    PO BOX 660367                                                   ¨ Unliquidated
    DALLAS, TX 75266-0367                                           ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,000.00
    INDIGOBLUE INC.
    ATTN: RUSSELL TAYLOR                                            ¨ Contingent
    5036 8TH ST., NE                                                ¨ Unliquidated
    WASHINGTON, DC 20017                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,417.32
    IP&LF D&L CONSULT, LLC
    13A LEVKA LUKYANENKO                                            ¨ Contingent
    APT 517                                                         ¨ Unliquidated
    KYIV, 04207                                                     ¨ Disputed
    UKRAINE
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    585.00
    IRON MOUNTAIN
    PO BOX 601002                                                   ¨ Contingent
    PASADENA, CA 91189-1002                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   5,425.00
    JACKSON CLINICAL DEVELOPMENT SOLUTIONS LLC
    ATTN: DEVON JACKSON                                             ¨ Contingent
    1024 ST. HELENA AVE.                                            ¨ Unliquidated
    SANTA ROSA, CA 95404                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 388,991.50
    JELLYFISH US LIMITED
    1201 WILLS ST                                                   ¨ Contingent
    SUITE 600                                                       ¨ Unliquidated
    BALTIMORE, MD 21231                                             ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  16,903.37
    KALL8
    200 WEST MERCER STREET                                          ¨ Contingent
    SUITE E202                                                      ¨ Unliquidated
    SEATTLE, WA 98119                                               ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 175,000.00
    KATIE COURIC MEDIA, LLC
    100 CROSBY ST                                                   ¨ Contingent
    SUITE 301                                                       ¨ Unliquidated
    NEW YORK, NY 10012                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   9,000.00
    KENSINGTON GREY INTERNATIONAL INC.
    2100 KINGS HWY.                                                 ¨ Contingent
    LOT 778                                                         ¨ Unliquidated
    PUNTA GORDA, FL 33980                                           ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  6,000.00
    KONNECTO US INC.
    C/O 168 MAIN ST.                                                ¨ Contingent
    GOSHEN, NY 10924                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    KR OP TECH, LLC /
    KILROY REALTY CORPORATION                                       þ Contingent
    12200 W OLYMPIC BLVD # 200                                      þ Unliquidated
    LOS ANGELES, CA 90064                                           ¨ Disputed
                                                                    Basis for the claim: CONTRACT REJECTION



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 28,800.00
    LIFEBIT BIOTECH LIMITED
    OFFICE 4 219 KENSINGTON HIGH STREET                             ¨ Contingent
    LONDON, W8 6BD                                                  ¨ Unliquidated
    UNITED KINGDOM                                                  ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 55,475.99
    LINKEDIN CORPORATION
    1000 W. MAUDE AVENUE                                            ¨ Contingent
    SUNNYVALE, CA 94085                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
    LOUISIANA DEPARTMENT OF JUSTICE
    1885 NORTH THIRD STREET                                         þ Contingent
    BATON ROUGE, LA 70802                                           þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  5,024.39
     MAILGUN TECHNOLOGIES, INC.
     112 E. PECAN STREET                                            ¨ Contingent
     #1135                                                          ¨ Unliquidated
     SAN ANTONIO, TX 78209                                          ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 10,044.84
     MANAGED FACILITIES SOLUTIONS, LLC
     PO BOX 31001-2434                                              ¨ Contingent
     PASADENA, CA 91110                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  3,120.30
     MARKMONITOR
     P.O. BOX 931478                                                ¨ Contingent
     ATLANTA, GA 31193                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        54.20
     MCNEILL BAUR PLLC
     TWO BALA PLAZA                                                 ¨ Contingent
     SUITE 300 #507                                                 ¨ Unliquidated
     BALA CYNWYD, PA 19004                                          ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 15,525.30
     MDISRUPT INC.
     10900 RESEARCH BLVD, STE 160C                                  ¨ Contingent
     UNIT#2038                                                      ¨ Unliquidated
     AUSTIN, TX 78759-5722                                          ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    104.46
     MEDIANT COMMUNICATIONS INC.
     P.O. BOX 201371                                                ¨ Contingent
     DALLAS, TX 75320                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 31,918.26
     META PLATFORMS, INC.
     ATTENTION: AR 15161 COLLECTIONS CENTER DRIVE                   ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,999.40
     MICROSOFT ONLINE, INC.
     PO BOX 847543                                                  ¨ Contingent
     DALLAS, TX 75284-7543                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 15,000.00
     MISCONFIGURED, LLC
     250 ESPERANZA STREET #A BELVEDERE                              ¨ Contingent
     TIBURON, CA 94920                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 11,500.00
     MONOCHROME MARKETING LTD
     77 WALDEN SQ SE                                                ¨ Contingent
     CALGARY, AB T2X OP2                                            ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 61,516.78
     MOVIANTO
     KELTENWEG 70                                                   ¨ Contingent
     5342 LP OSS                                                    ¨ Unliquidated
     NETHERLANDS                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 19,000.00
     MUMFORD SOLE LLC
     110 WEST 13TH STREET                                           ¨ Contingent
     NEW YORK, NY 10011                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  9,082.16
     MUSIC WORLD MUSIC FILM & TELEVISION, LLC
     PO BOX 3727                                                    ¨ Contingent
     HOUSTON, TX 77253                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,939.14
     MY EQUITY COMP, LLC
     2339 GOLD MEADOW WAY                                           ¨ Contingent
     STE 210                                                        ¨ Unliquidated
     GOLD RIVER, CA 95670                                           ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 11,274.59
     NADEL
     PO BOX 8342                                                    ¨ Contingent
     PASADENA, CA 91109-8342                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O BROWN & CROUPPEN, P.C.                                     þ Contingent
     ATTN: JAMES P. LEMONDS                                         þ Unliquidated
     ONE METROPOLITAN SQUARE                                        þ Disputed
     SUITE 1600
     ST. LOUIS, MO 63102                                            Basis for the claim: THREATENED LITIGATION



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 102,500.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: SEVERANCE



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O WOLFPOPPER                                                 þ Contingent
     ATTN: CARL L. STINE                                            þ Unliquidated
     845 THIRD AVENUE                                               þ Disputed
     NEW YORK, NY 10022
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O BLOCK & LEVITTON LLP                                       þ Contingent
     ATTN: LINDSAY K. FACCENDA                                      þ Unliquidated
     222 DELAWARE AVENUE, SUITE 1120                                þ Disputed
     WILMINGTON, DE 19801
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O: SAXENA WHITE                                              þ Contingent
     ATTN: THOMAS CURRY                                             þ Unliquidated
     824 N. MARKET STREET, SUITE 1003                               þ Disputed
     WILMINGTON, DE 19801
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O MICHAEL A. TOOMEY BARRACK, RODOS, & RACINE                 þ Contingent
     ELEVEN TIMES SQUARE                                            þ Unliquidated
     640 8TH AVENUE, 10TH FLOOR                                     þ Disputed
     NEW YORK, NY 10036
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O MICHAEL A. TOOMEY BARRACK, RODOS, & RACINE                 þ Contingent
     ELEVEN TIMES SQUARE                                            þ Unliquidated
     640 8TH AVENUE, 10TH FLOOR                                     þ Disputed
     NEW YORK, NY 10036
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O MICHAEL A. TOOMEY BARRACK, RODOS, & RACINE                 þ Contingent
     ELEVEN TIMES SQUARE                                            þ Unliquidated
     640 8TH AVENUE, 10TH FLOOR                                     þ Disputed
     NEW YORK, NY 10036
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O MICHAEL A. TOOMEY BARRACK, RODOS, & RACINE                 þ Contingent
     ELEVEN TIMES SQUARE                                            þ Unliquidated
     640 8TH AVENUE, 10TH FLOOR                                     þ Disputed
     NEW YORK, NY 10036
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O KOHANCHI LAW, APC                                          þ Contingent
     ATTN: BRIAN KOHANCHI                                           þ Unliquidated
     2121 AVENUE OF THE STARS, SUITE 8                              þ Disputed
     CENTURY CITY, CA 90067
                                                                    Basis for the claim: THREATENED LITIGATION



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O LABATON KELLER SUCHAROW                                    þ Contingent
     ATTN: JOHN J. VIELANDI                                         þ Unliquidated
     140 BROADWAY                                                   þ Disputed
     FLOOR 34
     NEW YORK, NY 10005                                             Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NAME ON FILE
     C/O MICHAEL A. TOOMEY BARRACK, RODOS, & RACINE                 þ Contingent
     ELEVEN TIMES SQUARE                                            þ Unliquidated
     640 8TH AVENUE, 10TH FLOOR                                     þ Disputed
     NEW YORK, NY 10036
                                                                    Basis for the claim: SECTION 220 SHAREHOLDER DEMAND FOR
                                                                    INSPECTION


     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  9,000.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,500.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  4,612.80
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     8,625.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                      132.89
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   15,225.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                     8,170.00
     NAME ON FILE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 1,776,723.12
     NATIONAL GENETICS INSTITUTE
     PO BOX 12140                                                   ¨ Contingent
     BURLINGTON, NC 27216-2140                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,230.65
     NEPTUNE VENTURES, LLC
     827 SUNSET DRIVE                                               ¨ Contingent
     HERMOSA BEACH, CA 90254                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NEW HAMPSHIRE DEPARTMENT OF JUSTICE
     1 GRANITE PLACE SOUTH                                          þ Contingent
     CONCORD, NH 03301                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NEW MEXICO DEPARTMENT OF JUSTICE
     201 3RD ST. NW                                                 þ Contingent
     SUITE 300                                                      þ Unliquidated
     ALBUQUERQUE, NM 87102                                          þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 26,950.00
     NEXT LEVEL WORKSPACES, LLC
     200 S. 3RD ST. #720014                                         ¨ Contingent
     SAN JOSE, CA 95172                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NORTH CAROLINA DEPARTMENT OF JUSTICE
     114 W. EDENTON ST.                                             þ Contingent
     RALEIGH, NC 27603                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     NORTH DAKOTA ATTORNEY GENERAL
     600 E BOULEVARD AVE. #125                                      þ Contingent
     BISMARCK, ND 58505                                             þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  4,435.37
     NORTHLAND CONTROL SYSTEMS
     1533 CALIFORNIA CIRCLE                                         ¨ Contingent
     MILPITAS, CA 95035                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,000.00
     NOTHING BUT NET, LLC
     4295 CROMWELL ROAD                                             ¨ Contingent
     STE 417                                                        ¨ Unliquidated
     CHATTANOOGA, TN 37421                                          ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,908.72
     NUSPECTIVE, INC.
     5700 STONERIDGE MALL ROAD                                      ¨ Contingent
     SUITE 220                                                      ¨ Unliquidated
     PLEASANTON, CA 94588                                           ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF ATTORNEY GENERAL TODD ROKITA
     ATTN: JENNIFER M. VAN DAME                                     þ Contingent
     302 WEST WASHINGTON STREET                                     þ Unliquidated
     IGCS-5TH FLOOR                                                 þ Disputed
     INDIANAPOLIS, IN 46204
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF MINNESOTA ATTORNEY GENERAL
     445 MINNESOTA STREET                                           þ Contingent
     SUITE 600                                                      þ Unliquidated
     ST. PAUL, MN 55101                                             þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL
     400 6TH STREET NW                                              þ Contingent
     10TH FLOOR                                                     þ Unliquidated
     WASHINGTON, DC 20001                                           þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL
     400 6TH STREET NW                                              þ Contingent
     10TH FLOOR                                                     þ Unliquidated
     WASHINGTON, DC 20001                                           þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL
     400 6TH STREET NW                                              þ Contingent
     10TH FLOOR                                                     þ Unliquidated
     WASHINGTON, DC 20001                                           þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL - ARIZONA
     2005 NORTH CENTRAL AVENUE                                      þ Contingent
     PHOENIX, AZ 85004                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL - CALIFORNIA
     1515 CLAY STREET                                               þ Contingent
     20TH FLOOR                                                     þ Unliquidated
     OAKLAND, CA 94612                                              þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL - CONNECTICUT
     ATTN: PATRICK F. KANIA                                         þ Contingent
     165 CAPITOL AVENUE                                             þ Unliquidated
     HARTFORD, CT 06106                                             þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL
     MONTANA DEPARTMENT OF JUSTICE                                  þ Contingent
     215 N. SANDERS STREET                                          þ Unliquidated
     HELENA, MT 59601                                               þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL OF IOWA
     HOOVER STATE OFFICE BUILDING                                   þ Contingent
     1305 E. WALNUT STREET                                          þ Unliquidated
     DES MOINES, IA 50319                                           þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ATTORNEY GENERAL STATE OF IDAHO
     700 W. JEFFERSON STREET                                        þ Contingent
     SUITE 210                                                      þ Unliquidated
     PO BOX 83720                                                   þ Disputed
     BOISE, ID 83720
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE ILLINOIS ATTORNEY GENERAL
     100 W. RANDOLPH ST.                                            þ Contingent
     12TH FLOOR                                                     þ Unliquidated
     CHICAGO, IL 60601                                              þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE MAINE ATTORNEY GENERAL
     6 STATE HOUSE STATION                                          þ Contingent
     AUGUSTA, ME 04333                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL
     28 LIBERTY ST.                                                 þ Contingent
     NEW YORK, NY 10005                                             þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE OKLAHOMA ATTORNEY GENERAL
     313 NE 21ST STREET                                             þ Contingent
     OKLAHOMA CITY, OK 73105                                        þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE PRIVACY COMMISSIONER OF CANADA
     ATTN: EMILY DUBE                                               þ Contingent
     30 VICTORIA STREET - 1ST FLOOR                                 þ Unliquidated
     GATINEAU, QC K1A 1H3                                           þ Disputed
     CANADA
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE UTAH ATTORNEY GENERAL DATA PRIVACY SECTION
     160 E 300 S                                                    þ Contingent
     5TH FLOOR                                                      þ Unliquidated
     SALT LAKE CITY, UT 84114                                       þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OFFICE OF THE WV ATTORNEY GENERAL
     STATE CAPITOL COMPLEX                                          þ Contingent
     BLDG 1                                                         þ Unliquidated
     RM E-26                                                        þ Disputed
     1900 KANAWHA BLVD. E
     CHARLESTON, WV 25305                                           Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     OHIO ATTORNEY GENERAL'S OFFICE
     30 E. BROAD ST.                                                þ Contingent
     14TH FLOOR                                                     þ Unliquidated
     COLUMBUS, OH 43215                                             þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 14,013.70
     ONIT, INC
     1360 POST OAK BLVD.                                            ¨ Contingent
     SUITE 2200                                                     ¨ Unliquidated
     HOUSTON, TX 77056                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  5,000.00
     OPEN SPONSORSHIP CORPORATION
     711 OCEAN AVENUE,                                              ¨ Contingent
     APT 4C                                                         ¨ Unliquidated
     BROOKLYN, NY 11226                                             ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    261.35
     OPSGENIE, INC
     32151 COLLECTIONS CENTER DR                                    ¨ Contingent
     CHICAGO, IL 60693                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  4,187.46
     OSLER HOSKIN & HARCOURT LLP
     100 KING STREET WEST                                           ¨ Contingent
     SUITE 6200                                                     ¨ Unliquidated
     1 FIRST CANADIAN PLACE                                         ¨ Disputed
     TORONTO, ON M5X 1B8
     CANADA                                                         Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 13,904.76
     PARC 55 SAN FRANCISCO-A HILTON HOTEL
     55 CYRIL MAGNIN STREET                                         ¨ Contingent
     SAN FRANCISCO, CA 94102                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 26,915.00
     PARTNERIZE
     "LEVEL 8 WEST ONE FORTH BANKS NEWCASTLE UPON TYNE TYNE         ¨ Contingent
     AND WEAR                                                       ¨ Unliquidated
     NE1 3PA                                                        ¨ Disputed
     UNITED KINGDOM
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 58,655.11
     PG&E
     300 LAKESIDE DRIVE                                             ¨ Contingent
     OAKLAND, CA 94612                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 43,218.90
     POWER DIGITAL MARKETING, INC.
     251 SAN DIEGO AVE.                                             ¨ Contingent
     SUITE A250                                                     ¨ Unliquidated
     SAN DIEGO, CA 92110                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 72,155.53
     PRECISION FOR MEDICINE, INC.
     8425 PRECISION WAY                                             ¨ Contingent
     FREDERICK, MD 21701                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    649.02
     PREMIER RESEARCH CONSULTING, LLC
     3800 PARAMOUNT PARKWAY                                         ¨ Contingent
     SUITE 400                                                      ¨ Unliquidated
     MORRISVILLE, NC 27560-6949                                     ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    294.31
     PURITAN SPRINGS WATER
     1709 N KICKAPOO STREET                                         ¨ Contingent
     LINCOLN, IL 62656                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    547.00
     QUARLES & BRADY LLP
     BIN 88895                                                      ¨ Contingent
     MILWAUKEE, WI 53288                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        67.18
     RADIATION DETECTION COMPANY
     3527 SNEAD DRIVE                                               ¨ Contingent
     GEORGETOWN, TX 78626                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  4,070.00
     RCRC INDEPENDENT REVIEW BOARD, LLC DBA SALUS IRB
     2111 W BRAKER LN                                               ¨ Contingent
     SUITE 100                                                      ¨ Unliquidated
     AUSTIN, TX 78758                                               ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    245.69
     REDWOOD PACIFIC MANAGEMENT 2.0 LLC
     171 MAIN STREET                                                ¨ Contingent
     SUITE 259                                                      ¨ Unliquidated
     LOS ALTOS, CA 94022                                            ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  9,565.00
     RICHARDS, LAYTON & FINGER, P.A.
     920 NORTH KING STREET                                          ¨ Contingent
     WILMINGTON, DE 19801                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 48,209.80
     RIGHT SIDE UP LLC
     9901 BRODIE LANE SUITE 160, PMB 515                            ¨ Contingent
     AUSTIN, TX 78748                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  7,350.00
     S.T.E.P.S. EVENT PLANNING FIRM, INC.
     P.O. BOX 570954                                                ¨ Contingent
     ATLANTA, GA 30337                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,630.52
     SHARP ELECTRONICS CORPORATION
     DEPT. LA 21510                                                 ¨ Contingent
     PASADENA, CA 91185-1510                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    618.00
     SHRED WORKS, INC
     455 HIGH STREET                                                ¨ Contingent
     OAKLAND, CA 94601                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        38.02
     SIFTED
     P.O. BOX 88109                                                 ¨ Contingent
     MILWAUKEE, WI 53288                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 12,847.00
     SILICON VALLEY MECHANICAL
     2115 RINGWOOD AVENUE                                           ¨ Contingent
     SAN JOSE, CA 95131                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    850.00
     SINCEEIGHTY6
     277 GLORIA DR                                                  ¨ Contingent
     PLEASANT HILL, CA 94523                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     SOUTH CAROLINA ATTORNEY GENERAL'S OFFICE
     1000 ASSEMBLY STREET                                           þ Contingent
     ROOM 519                                                       þ Unliquidated
     COLUMBIA, SC 29201                                             þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  5,417.28
     SOUTH SAN FRANCISCO SCAVENGER COMPANY INC.
     500 EAST JAMIE COURT                                           ¨ Contingent
     SOUTH SAN FRANCISCO, CA 94080                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    318.53
     SPIRE MARKETING
     700 MARKET ST.                                                 ¨ Contingent
     ST. LOUIS, MO 63101                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    333.88
     SPRING CARE, INC.
     P.O. BOX 23987                                                 ¨ Contingent
     NEW YORK, NY 10087                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF ALASKA DEPARTMENT OF THE LAW
     1031 WEST 4TH AVENUE                                           þ Contingent
     SUITE 200                                                      þ Unliquidated
     ANCHORAGE, AK 99501                                            þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF COLORADO DEPARTMENT OF LAW
     1300 BROADWAY                                                  þ Contingent
     7TH FLOOR                                                      þ Unliquidated
     DENVER, CO 80203                                               þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF FLORIDA OFFICE OF THE ATTORNEY GENERAL
     110 SE 6TH STREET                                              þ Contingent
     FT. LAUDERDALE, FL 33301                                       þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF MARYLAND OFFICE OF THE ATTORNEY GENERAL,
     CONSUMER PROTECTION DIVISION                                   þ Contingent
     200 SAINT PAUL PLACE                                           þ Unliquidated
     BALTIMORE, MD 21202                                            þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF NEW JERSEY DEPARTMENT OF LAW & PUBLIC SAFETY
     25 MARKET STREET                                               þ Contingent
     TRENTON, NJ 08625                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF OREGON DEPT. OF JUSTICE
     1162 COURT STREET NE                                           þ Contingent
     SALEM, OR 97301                                                þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF TEXAS OFFICE OF THE ATTORNEY GENERAL CONSUMER
     PROTECTION DIVISION                                            þ Contingent
     P.O. BOX 12548                                                 þ Unliquidated
     AUSTIN, TX 78711                                               þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     STATE OF VERMONT OFFICE OF THE ATTORNEY GENERAL
     109 STATE STREET                                               þ Contingent
     MONTPELIER, VT 05609                                           þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    395.10
     STERNE, KESSLER, GOLDSTEIN & FOX, PLLC
     P.O. BOX 715580                                                ¨ Contingent
     PHILADELPHIA, PA 19171                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    350.92
     SUBROSA INVESTIGATIONS LLC
     3003 NORTH CENTRAL AVENUE                                      ¨ Contingent
     SUITE 1070                                                     ¨ Unliquidated
     PHOENIX, AZ 85012                                              ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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   Debtor   Case
            23andMe,25-40977
                     Inc.              Doc 9    Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                           Case number (If known)                   Main
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 87,416.40
     SUREFOX NORTH AMERICAN
     P.O. BOX 610028                                                ¨ Contingent
     DALLAS, TX 75261                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 20,000.00
     SWIGART LAW GROUP, APC
     2221 CAMINO DEL RIO S, STE 308                                 ¨ Contingent
     SAN DIEGO, CA 92108                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: SETTLEMENT



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    325.25
     SYNTEREX, INC.
     122 ROSEMARY RD.                                               ¨ Contingent
     DEDHAM, MA 02026                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,132.77
     TACONIC BIOSCIENCES, INC.
     1 DISCOVERY DRIVE;                                             ¨ Contingent
     SUITE 304                                                      ¨ Unliquidated
     RENSSELAER, NY 12144                                           ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 25,943.64
     TCWGLOBAL (WMBE PAYROLLING INC.)
     P.O.BOX 102998                                                 ¨ Contingent
     PASADENA, CA 91189                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 237,184.14
     TELUS INTERNATIONAL SERVICES LIMITED
     VOXPRO HOUSE POINT VILLAGE EAST WALL ROA                       ¨ Contingent
     DUBLIN, 1 D01X7H6 CO.                                          ¨ Unliquidated
     IRELAND                                                        ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   2,000.00
     THE BRAND ARCHITECTS
     ATTN: ANTONE BARNES                                            ¨ Contingent
     12115 CHIP SHOT LANE                                           ¨ Unliquidated
     UPPER MARLBORO, MD 20772                                       ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  16,237.14
     THE CHANCELLOR, MASTERS AND SCHOLARS OF THE UNIVERSITY
     OF CAMBRIDGE                                                   ¨ Contingent
     TRINITY LANE                                                   ¨ Unliquidated
     CAMBRIDGE, CB2 1TS                                             ¨ Disputed
     UNITED KINGDOM
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   3,000.00
     THE UNIVERSITY OF TEXAS SOUTHWESTERN MEDICAL CENTER
     LOCK BOX 845477                                                ¨ Contingent
     DALLAS, TX 75284                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  14,300.00
     TL ELECTRIC, INC.
     2239 OLD MIDDLEFIELD WAY                                       ¨ Contingent
     SUITE A                                                        ¨ Unliquidated
     MOUNTAIN VIEW, CA 94043                                        ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   1,687.75
     TRUSTPILOT INC
     50 WEST 23RD STREET                                            ¨ Contingent
     SUITE 1000                                                     ¨ Unliquidated
     NEW YORK, NY 10010                                             ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                   7,874.66
     U.S. BANK EQUIPMENT FINANCE
     1310 MADRID STREET                                             ¨ Contingent
     MARSHALL, MN 56258                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     UNITED KINGDOM INFORMATION COMMISSIONER’S OFFICE
     ATTN: KEITH TURNER                                             þ Contingent
     WYCLIFFE HOUSE                                                 þ Unliquidated
     WATER LANE                                                     þ Disputed
     CHESHIRE, SK9 5AF
     UNITED KINGDOM                                                 Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 144,618.00
     VEEVA SYSTEMS INC
     PO BOX 740434                                                  ¨ Contingent
     LOS ANGELES, CA 90074-0434                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                    123.92
     VENNER SHIPLEY LLP
     5 STIRLING HOUSE STIRLING ROAD THE SURREY RESEARCH             ¨ Contingent
                                                                    ¨ Unliquidated
     UNITED KINGDOM                                                 ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  1,923.04
     VERISTAT LLC
     134 TURNPIKE ROAD                                              ¨ Contingent
     STE 200                                                        ¨ Unliquidated
     SOUTHBOROUGH, MA 01772                                         ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  3,584.78
     VIVREAU USA LP
     131 WEST 35TH STREET                                           ¨ Contingent
     8TH FLOOR                                                      ¨ Unliquidated
     NEW YORK, NY 10001                                             ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  4,068.43
     VONAGE BUSINESS INC.
     PO BOX 102237                                                  ¨ Contingent
     PASADENA, CA 91189                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     WASHINGTON STATE OFFICE OF THE ATTORNEY GENERAL
     1125 WASHINGTON ST SE                                          þ Contingent
     P.O. Box 40100                                                 þ Unliquidated
     OLYMPIA, WA 98504                                              þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 18,441.40
     WILSON SONSINI GOODRICH & ROSATI, PROFESSIONAL
     CORPORATION                                                    ¨ Contingent
     P.O.BOX 742866                                                 ¨ Unliquidated
     LOS ANGELES, CA 90074-2866                                     ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     WISCONSIN DEPARTMENT OF JUSTICE
     P.O. BOX 7857                                                  þ Contingent
     MADISON, WI 53707                                              þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 76,805.66
     WORKDAY, INC
     P.O. BOX 886106                                                ¨ Contingent
     LOS ANGELES, CA 90088-6106                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 29,677.42
     WORLD ARCHIVES
     5314 RIVER RUN                                                 ¨ Contingent
     SUITE 110                                                      ¨ Unliquidated
     PROVO, UT 84604                                                ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 74,556.74
     WUXI BIOLOGICS (HONG KONG) LIMITED
     FLAT/RM826, 8/F OCEAN CENTRE HARBOUR CITY                      ¨ Contingent
     5 CANTON RD T ST                                               ¨ Unliquidated
     HONG KONG,                                                     ¨ Disputed
     HONG KONG
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     WYOMING ATTORNEY GENERAL'S OFFICE
     2320 CAPITOL AVENUE                                            þ Contingent
     CHEYENNE, WY 82002                                             þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: REGULATORY MATTER



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.222 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,467.89
     ZAYO GROUP LLC
     SUITE 2050, 1805 29TH STREET                                   ¨ Contingent
     BOULDER, CO 80301                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.223 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                 37,678.00
     ZENDESK, INC
     P.O. BOX 734287                                                ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.224 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $             Undetermined
     ZENTREE INVESTMENT MGMT PTE LTD
     18 ROBINSON ROAD                                               þ Contingent
     LEVEL 15-01                                                    þ Unliquidated
     08547                                                          þ Disputed
     SINGAPORE
                                                                    Basis for the claim: CONTINGENT CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.225 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                  2,825.30
     ZOOLATECH, LLC
     1221 BRICKELL AVE                                              ¨ Contingent
     SUITE 900                                                      ¨ Unliquidated
     MIAMI, FL 33131                                                ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.226 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                              $                        28.56
     ZOOM VIDEO COMMUNICATIONS INC
     PO BOX 888843                                                  ¨ Contingent
     LOS ANGELES, CA 90088                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE CLAIM



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




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     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a.     Total claims from Part 1                                                             5a.        $                           0.00

                                                                                                                    + Undetermined Amounts



5b.     Total claims from Part 2                                                             5b.    +   $                 7,025,841.57
                                                                                                                    + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                               5c.        $                 7,025,841.57
        Lines 5a + 5b = 5c.                                                                                         + Undetermined Amounts




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0001           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0002           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0003           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0004           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0005           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0006           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0008           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0009           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0010           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0011           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0013           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0014           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0015           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0016           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0017           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0018           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0019           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0020           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0021           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0022           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0023           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0024           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0025           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0026           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0027           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0028           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0029           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0030           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0031           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0032           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0033           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0034           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0035           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0036           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0037           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0038           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0039           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0041           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0042           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0043           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0044           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0045           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0047           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0048           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0050           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0052           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0054           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0055           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0056           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0057           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0058           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0059           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0060           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0061           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0062           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0063           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0064           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0065           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0067           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0068           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0069           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0070           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0071           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0072           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0073           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0074           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0075           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0076           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0077           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0078           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0079           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0080           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0081           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0082           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0083           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0084           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0085           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0086           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0087           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0088           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0089           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0091           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0092           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0093           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0094           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0095           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0097           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0098           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0099           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0100           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0101           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0102           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0103           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0104           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0105           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0106           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0107           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0108           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0109           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0110           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0111           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0112           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0114           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0115           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0116           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0117           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0118           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0119           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0120           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0122           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0123           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0125           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0126           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0127           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0128           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0129           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0130           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0131           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0132           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0133           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0134           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0135           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0136           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0138           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0139           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0140           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0141           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0142           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0143           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0144           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0145           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0146           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0147           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0148           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0149           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0150           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0151           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0152           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0153           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0154           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0155           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0156           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0157           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0158           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0159           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0160           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0161           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0162           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0163           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0164           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0165           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0166           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0167           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0168           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0169           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0170           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0171           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0172           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0173           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0174           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0175           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0176           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0177           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0178           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0179           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0180           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0181           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0182           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0183           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0184           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0185           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0186           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0187           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0188           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0189           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0191           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0192           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0193           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0194           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0195           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0196           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0197           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0198           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0199           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0200           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0201           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0202           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0203           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0204           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0205           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0206           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0207           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0208           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0210           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0211           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0212           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0213           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0214           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0215           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0216           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0217           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0219           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0220           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0221           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0222           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0223           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0224           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0227           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0228           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0229           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0230           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0232           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0233           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0234           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0235           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0236           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0237           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0238           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0239           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0240           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0241           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0242           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0243           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0244           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0245           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0246           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0247           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0249           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0250           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0251           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0252           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0254           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0255           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0258           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0259           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0260           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0261           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0262           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0263           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0264           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0265           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0266           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0267           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0268           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0269           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0270           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0271           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0272           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0273           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0274           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0275           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0276           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0277           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0278           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0279           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0280           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0281           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0282           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0283           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0284           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0285           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0286           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0287           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0288           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0289           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0290           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0291           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0292           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0293           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0294           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0295           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0296           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0297           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0298           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0299           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0300           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0301           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0302           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0303           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0304           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0305           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0306           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0307           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0308           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0309           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0310           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0311           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0313           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0315           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0316           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0317           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0319           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0320           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0321           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0322           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0323           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0324           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0325           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0326           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0327           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0328           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0329           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0331           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0332           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0333           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0335           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0336           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0337           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0338           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0339           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0340           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0341           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0342           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0343           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0347           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0348           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0349           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0350           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0351           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0352           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0354           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0355           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0356           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0357           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0358           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0359           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0360           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0361           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0362           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0363           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0364           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0365           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0366           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0367           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0368           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0369           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0370           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0371           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0372           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0373           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0374           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0375           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0376           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0377           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0378           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0379           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0380           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0381           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0382           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0383           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0384           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0385           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0386           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0387           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0388           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0389           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0390           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0391           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0392           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0393           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0394           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0395           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0396           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0397           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0398           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0399           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0400           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0401           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0402           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0404           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0405           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0406           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0407           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0408           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0409           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0410           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0411           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0412           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0413           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0414           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0415           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0416           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0417           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0418           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0419           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0420           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0421           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0422           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0424           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0425           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0426           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0427           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0428           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0429           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0430           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0431           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0432           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0433           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0434           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0435           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0436           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0437           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0438           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0439           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0440           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0441           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_0442           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0443           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0444           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0445           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0446           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0447           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0448           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0449           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0450           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0451           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0452           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0453           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0454           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0455           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0456           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0458           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0459           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0460           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0461           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0462           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0463           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0464           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0465           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0466           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0467           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0468           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0469           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0471           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0472           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0473           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0474           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0475           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0476           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0477           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0478           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0479           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0480           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0481           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0482           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0484           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0485           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0486           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0487           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0488           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0489           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0490           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0491           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0492           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0493           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0494           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0495           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0496           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_0497           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0498           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0499           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0500           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0501           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0502           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0503           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0504           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0505           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0506           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0507           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0508           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0509           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0510           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0511           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0512           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0513           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0514           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0515           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0516           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0517           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0518           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0519           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0520           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0521           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0522           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0523           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0524           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0525           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0526           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0527           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0528           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0529           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0530           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0531           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0532           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0533           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0535           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0536           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0538           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0539           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0540           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0541           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0542           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0543           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0544           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0545           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0546           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0547           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0548           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0549           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0550           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0551           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0552           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0553           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0554           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0555           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0556           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0557           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0558           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0559           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0560           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0561           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0563           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0564           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0565           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0566           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0567           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0568           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0569           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0570           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0571           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0573           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0574           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0575           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0576           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0577           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0578           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0579           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0580           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0581           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0582           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0583           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0584           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0585           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0586           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0587           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0588           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0590           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0591           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0592           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0593           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0594           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0595           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0596           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0597           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0598           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0599           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0600           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0601           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0604           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0605           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0606           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0607           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0608           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0609           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0610           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0611           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0612           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0613           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0614           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0615           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0616           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0617           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0618           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0619           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0620           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0621           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0622           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0623           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0624           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0625           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0626           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0627           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0628           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0629           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0630           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0631           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0632           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0633           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0634           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_0635           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0636           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0637           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0638           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0639           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0640           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0641           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0642           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0643           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0644           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0645           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0646           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0648           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0649           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0650           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0651           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0652           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0653           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0654           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0655           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0656           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0657           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0658           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0659           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0660           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0661           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0662           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0663           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0664           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0665           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0666           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0667           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0668           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0669           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0670           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0671           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0672           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0673           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0674           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0675           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0677           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0678           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0679           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0680           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0681           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0682           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0683           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0684           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0685           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0686           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0687           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0688           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0689           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0690           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0692           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0693           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0694           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0696           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0697           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0698           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0699           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0700           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0701           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0702           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0703           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0704           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0705           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0706           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0707           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0708           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0709           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0710           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0711           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0712           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0714           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0715           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_0716           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0717           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0718           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0719           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0720           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0721           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0722           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0724           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0725           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0726           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0727           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0728           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0729           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0730           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0731           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0732           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0733           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0734           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0735           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0736           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0737           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0738           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0739           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0740           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0741           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0742           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0743           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0744           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0745           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0746           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0747           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0748           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0749           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0750           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0751           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0752           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0753           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0754           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0755           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0756           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0757           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0758           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0759           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0760           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0761           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0762           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0764           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0765           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0766           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0768           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0769           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0771           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0772           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0773           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0774           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0775           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0776           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0777           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0778           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0779           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0780           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0781           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0783           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0784           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0785           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0786           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0787           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0788           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0789           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_0790           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0791           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0792           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0794           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0795           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0796           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0797           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0798           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0799           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0800           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0801           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0802           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0803           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0804           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0805           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0806           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0807           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0808           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0809           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0810           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0811           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0812           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0813           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0814           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0815           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0816           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0817           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0818           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0819           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0820           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0821           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0822           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0823           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0824           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0825           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0826           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0827           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0828           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0829           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0830           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0832           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0833           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0834           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0835           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0836           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0837           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0838           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0839           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0840           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0841           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0842           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0843           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0844           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0845           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0846           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0847           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0848           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0850           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0851           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0852           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0853           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0854           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0855           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0856           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0857           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0858           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0859           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0860           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0861           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0862           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0863           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0864           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0865           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0866           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0867           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0868           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0869           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0870           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0872           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0873           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0874           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0875           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0876           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0877           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0878           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0879           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0880           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0881           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0882           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0883           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0884           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0885           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0886           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0887           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0888           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0889           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0890           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0892           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0893           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0894           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0895           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0896           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0897           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0898           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0899           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0900           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0901           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0902           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0903           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0904           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0905           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0906           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0907           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0908           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0909           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0910           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0911           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0912           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0913           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0914           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0915           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0916           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0917           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0919           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0921           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0922           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0923           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0924           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0925           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0926           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0927           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0928           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0929           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0930           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0931           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0932           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0933           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_0934           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0935           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0936           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0937           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0938           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0939           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0940           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0941           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0942           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0943           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_0944           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0945           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0946           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0947           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0948           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0949           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0950           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0951           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0952           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0953           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0954           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0955           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0956           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0957           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0958           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0959           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0960           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0961           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0962           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0963           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0964           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0965           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0966           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0967           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0968           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0969           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0970           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0971           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0972           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0973           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0974           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0975           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0976           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0977           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0979           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0981           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0982           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_0983           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0984           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0985           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0986           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0987           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_0989           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0990           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_0991           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0992           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0993           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0994           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0995           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0996           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_0997           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_0998           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_0999           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1000           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1001           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1002           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1003           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1004           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1005           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1006           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1007           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1008           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1009           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1010           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1011           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1012           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1013           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1014           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1015           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1016           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1017           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1018           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1019           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1020           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1021           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1022           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1023           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1024           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1025           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1026           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1027           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1028           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1029           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1030           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1031           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1032           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1033           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1034           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1035           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1036           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1037           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1038           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1039           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1040           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1041           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1042           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1043           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1044           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1045           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1046           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1047           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1048           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1049           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1050           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1052           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1053           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1054           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1055           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1056           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1057           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1058           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1059           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1060           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1061           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1062           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1063           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1064           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1065           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1066           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1067           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1068           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1069           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1070           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1071           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1072           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1073           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1074           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1075           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1076           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1077           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1078           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1079           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1080           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1081           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1082           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1083           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1084           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1085           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1086           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1087           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1088           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1089           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1091           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1092           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1093           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1094           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1095           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1097           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1098           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1099           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1100           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1101           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1102           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1103           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1104           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1105           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1106           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1107           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1108           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1110           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1111           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1112           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1113           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1114           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1115           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1116           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1117           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1118           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1119           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1120           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1122           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1123           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1124           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1125           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_1126           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1127           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1128           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1129           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1130           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1131           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1132           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1133           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_1134           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1135           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1136           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1137           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1138           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1139           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1140           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1141           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1142           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1143           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1144           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1145           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1146           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1147           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1148           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1149           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1150           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1151           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1152           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1153           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1154           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1155           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1156           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1157           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1158           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1159           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1160           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1161           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1162           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1163           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1164           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1165           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1166           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1167           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1168           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1169           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1170           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1171           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1172           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1173           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1174           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1175           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1176           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1177           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1178           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1179           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1180           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1181           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1182           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1183           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1184           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1185           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1186           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1187           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1188           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1189           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1190           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1191           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1192           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1193           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1194           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1195           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1196           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1197           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1198           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1199           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1200           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1201           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1202           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1203           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1204           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1205           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1206           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1207           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1208           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1209           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1210           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1211           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1212           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1213           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1214           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1215           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1216           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1217           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1219           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1220           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1221           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1222           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1223           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1224           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1226           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1227           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1228           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1229           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1230           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1231           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1232           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1233           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1234           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1235           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1236           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1237           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1238           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1239           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1240           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1241           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1242           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1243           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1244           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1245           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1246           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1247           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1249           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1250           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1251           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1252           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1253           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1254           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1255           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1258           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1259           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1260           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1261           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1262           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1263           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1264           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1265           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1266           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1267           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1268           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1269           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1270           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1271           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1272           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1273           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1274           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1275           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1276           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1277           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1279           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1280           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1281           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1282           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1283           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1284           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1285           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1286           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1287           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1288           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1289           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1290           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1291           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1293           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1294           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1295           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1296           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1297           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1298           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1299           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1300           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1301           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1302           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1304           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1305           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1307           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1308           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1309           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1310           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1311           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1312           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1313           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1315           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1316           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1317           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1318           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1319           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1320           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_1321           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1322           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1323           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1324           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1325           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1326           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1327           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1328           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1329           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1331           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1332           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1333           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1335           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1336           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1337           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1338           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1339           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1340           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1341           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1342           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1343           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1347           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1348           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1349           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1350           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1351           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1352           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1354           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1355           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1356           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1357           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1358           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1359           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1360           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1361           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1362           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1363           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1364           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1365           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1366           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1367           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1368           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1369           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1370           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1371           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1372           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1373           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1374           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1375           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1376           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1377           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1378           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1379           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1380           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1381           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1382           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1383           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1384           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1385           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1386           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1387           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1388           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1389           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1390           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1391           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1392           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1393           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1394           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1395           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1396           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1397           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1398           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1399           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1400           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1401           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1402           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1404           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1405           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1406           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1407           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1408           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1409           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1410           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1411           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1412           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1413           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1414           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1415           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1416           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1417           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1418           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1419           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1420           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1421           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1422           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1423           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1424           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1425           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1427           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1428           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1429           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1430           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1431           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1432           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1433           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1434           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1435           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1436           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1437           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1438           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1439           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1440           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1441           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1442           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1443           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1444           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1445           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1446           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1447           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1448           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1449           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1450           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1451           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1452           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1453           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1454           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1455           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1456           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1458           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1459           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1460           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1461           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1462           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1463           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1464           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1465           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1466           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1467           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1468           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1469           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1470           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1471           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1472           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1473           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1474           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1475           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1476           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1477           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1478           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1479           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1480           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1481           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1482           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1483           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1484           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1485           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1486           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1487           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1488           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1489           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1490           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1491           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1492           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1494           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1495           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1496           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1497           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1498           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1499           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1500           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1501           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1502           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1503           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1504           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1505           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1506           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1507           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1508           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1509           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1510           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1511           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1512           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1513           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1514           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1515           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1516           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1517           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1518           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1519           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1520           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1521           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1522           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1523           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1525           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1526           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1527           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1528           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1529           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1530           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1531           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1532           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1533           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1535           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1536           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1537           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1538           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1539           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1540           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1541           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1542           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1543           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1544           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1545           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1546           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1547           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1548           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1549           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1550           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1551           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1552           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1553           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1554           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1555           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1556           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1557           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1558           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1559           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1560           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1561           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1562           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1563           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1564           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_1565           NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1566           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1567           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1568           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1569           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1570           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1571           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1573           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1574           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1575           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1576           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1577           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1578           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1579           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1580           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1581           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1582           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1583           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1584           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_1585           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1586           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1587           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1588           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1590           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1591           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1592           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1593           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1594           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1595           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1596           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1597           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1598           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1599           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1600           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1601           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1604           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1605           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1606           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1607           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1608           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1609           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1610           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1611           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1612           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1613           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_1614           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_1615           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1616           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1617           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1618           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1619           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1620           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1622           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1624           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1625           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1626           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1627           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_1628           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1629           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1630           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1631           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1632           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1633           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1634           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1635           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1636           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1638           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1639           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1640           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1641           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1642           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1643           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1644           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1645           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1646           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1648           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1649           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1650           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1651           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1652           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1653           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1654           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1655           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1656           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1657           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1658           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1659           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1660           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1661           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1662           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1663           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1664           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1666           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1667           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1668           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1669           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1670           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1671           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1673           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1674           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1675           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1677           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1679           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1680           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1681           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1682           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1683           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1684           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1685           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1686           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1687           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1688           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1689           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1690           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1691           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1692           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1693           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1694           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1695           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1696           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1698           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1699           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1700           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1701           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1702           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1703           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1704           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1705           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1706           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1707           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1708           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1709           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1710           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1712           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1714           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1715           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1716           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1717           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1718           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1719           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1720           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1721           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1722           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1724           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1725           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1726           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1727           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1728           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1729           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1730           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1731           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1732           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_1733           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1734           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1735           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1736           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1737           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1738           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1739           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1740           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1741           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1742           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1743           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1744           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1745           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1746           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1747           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1748           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1749           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1750           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1751           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1752           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1753           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1754           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1755           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1756           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1757           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1758           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1759           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1760           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1761           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1762           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1764           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1765           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1766           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1767           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1768           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1769           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1770           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1771           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1772           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1773           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1774           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1775           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1776           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1777           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1778           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1779           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1780           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1781           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1783           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1784           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1785           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1786           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1787           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1788           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1789           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1790           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1791           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1792           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1794           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1795           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1796           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1797           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1798           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1799           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1800           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1801           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1802           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1803           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1804           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1805           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1807           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1808           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1810           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1811           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1812           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1813           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1814           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1815           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1816           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1817           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1818           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1819           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1820           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1821           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1822           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1823           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1824           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1825           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1826           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1827           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1828           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1829           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1830           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1832           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1833           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1834           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1835           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1836           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1837           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1838           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1839           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1840           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1841           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1842           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1843           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1844           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1845           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1846           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1848           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1849           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1850           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1851           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1852           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1853           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1854           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1855           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1856           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1857           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1858           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1859           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1860           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1861           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1862           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1863           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1864           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1865           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1866           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1867           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1868           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1869           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1870           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1872           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1873           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1874           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1875           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1877           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1878           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1879           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1880           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1882           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1883           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1885           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1886           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1887           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1888           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1889           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1890           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1892           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1893           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1894           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1896           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1897           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1898           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1899           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1900           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1901           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1902           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1903           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1904           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1905           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1906           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1907           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1908           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1909           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1910           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1911           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1912           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1913           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1914           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1915           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1916           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1917           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1919           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1920           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1921           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1922           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1923           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1924           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1925           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1927           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1928           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1929           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1930           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1931           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1932           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1933           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1934           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1935           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1936           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1937           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1938           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1939           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1940           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1941           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1942           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1944           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1945           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1946           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1947           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1948           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1949           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1950           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1951           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_1952           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1953           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_1954           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1955           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1956           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1957           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1958           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1959           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1960           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1961           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1962           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1963           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_1964           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1965           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1966           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1967           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1968           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1969           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1970           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1971           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1972           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1973           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1974           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1975           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1976           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1977           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1978           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1979           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1981           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1982           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1983           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1984           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1985           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_1986           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1987           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_1988           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1989           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1990           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1991           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1992           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1993           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1994           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1996           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_1997           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_1998           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_1999           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2000           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2001           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2002           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2003           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2004           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2005           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2006           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2008           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_2009           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2010           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2011           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2013           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2014           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_2015           NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2016           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2017           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2018           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2019           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2020           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2021           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2022           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2024           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2025           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2026           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2027           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2028           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2029           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2030           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2031           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2032           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2033           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2034           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2035           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2036           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2037           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2038           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2039           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2041           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2042           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2043           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2044           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2045           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2047           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2048           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2050           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2052           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2054           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2055           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2056           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2057           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2058           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2059           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2060           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2061           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2062           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2063           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2064           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2065           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2066           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2067           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2068           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2069           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2070           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2071           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2072           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2073           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2074           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2075           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2076           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2077           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2078           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2079           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2080           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2081           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2082           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2083           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2084           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2085           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2086           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2087           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2088           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2089           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2091           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2092           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2093           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2094           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2095           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2096           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2097           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2098           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2099           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2100           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2101           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2102           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2103           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2104           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2105           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2106           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2107           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2108           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2110           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2111           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2112           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2114           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2115           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2116           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2117           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_2118           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2119           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2120           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2121           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2122           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2123           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2125           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2126           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2127           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2128           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2129           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2130           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2131           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2132           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2133           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2134           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2135           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2136           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2137           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2138           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2139           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2140           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2141           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2142           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_2143           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2144           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2145           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2146           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2147           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2148           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2149           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2150           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2151           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2152           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2153           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2154           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2155           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2156           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2157           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2158           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2159           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2160           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2161           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2162           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2163           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2164           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2165           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2166           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2167           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2168           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2169           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2170           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2171           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2172           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2173           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2174           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2175           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2176           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2177           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2178           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2179           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2180           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2181           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2182           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2183           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2184           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2185           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2186           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2187           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2188           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2189           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2191           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2192           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2193           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2194           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2195           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2196           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2197           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2198           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2199           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2200           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2201           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2202           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2203           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2204           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2205           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2206           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2207           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2208           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2209           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2210           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2211           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2212           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2213           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2214           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2215           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2216           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2217           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2218           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2219           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2220           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2221           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2222           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2223           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2224           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2225           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2226           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2227           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2228           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2229           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2230           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2232           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2233           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2234           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2235           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2236           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2237           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2238           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2239           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2240           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2241           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2242           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2243           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2244           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2245           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2246           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2249           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2250           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2252           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2254           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2255           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2256           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_2257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2258           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2259           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2260           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2261           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2262           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2263           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2264           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2265           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2266           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2267           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2268           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2269           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2270           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2271           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2272           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2273           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2274           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2275           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2276           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2277           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2278           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2279           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2280           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2282           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2283           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2284           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2285           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2286           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2287           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2288           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2289           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2290           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2291           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2293           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2294           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2295           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2296           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2297           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2298           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2299           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2300           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2301           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2302           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2303           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2304           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2305           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2307           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2308           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2309           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2310           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2311           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2313           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2315           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2316           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2317           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2319           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2320           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2321           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2322           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2323           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2324           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2325           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2326           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2327           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2328           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2329           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2330           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2331           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2332           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2333           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2334           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2335           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2336           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2337           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2338           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2339           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2340           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2341           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2342           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2343           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2344           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_2347           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2348           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2349           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2350           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2351           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2352           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2353           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2354           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2355           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2356           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2357           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2358           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2359           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2360           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2361           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2362           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2363           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2364           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2365           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2366           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2367           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2368           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2369           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2370           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2371           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2372           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2373           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2374           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2375           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2376           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2377           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2378           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2379           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2380           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2382           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2383           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2384           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2385           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2386           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2387           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2388           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2389           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2390           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2391           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2392           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2393           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2394           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2395           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2396           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2397           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2398           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2399           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2400           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2401           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2402           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2404           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2405           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2406           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2407           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2408           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2409           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2410           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2411           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2412           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2413           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2414           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2415           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2416           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2417           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2418           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2419           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2420           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2421           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2422           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2424           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2425           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2427           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2428           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2429           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2430           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2431           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2432           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2433           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2434           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2435           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2436           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2437           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2438           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2439           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2440           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2441           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2442           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2443           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2444           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2445           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2446           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2447           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2448           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2449           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2450           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2451           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2452           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2453           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2454           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2455           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2456           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2458           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2459           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2460           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2461           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2462           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2463           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2464           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2465           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2466           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2467           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2468           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2469           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2471           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2472           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2473           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2474           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2475           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2476           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2477           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2478           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2479           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2480           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2481           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2482           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2483           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2484           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2485           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2486           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2487           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2488           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2489           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2490           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2491           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2492           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2494           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2495           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2496           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2497           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2498           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2499           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2500           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2501           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2502           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2503           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2504           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2505           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2506           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2507           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2508           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2509           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2510           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2511           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2512           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2513           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2514           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2515           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2516           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2517           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2518           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2519           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2520           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_2521           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2522           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2523           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2525           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2526           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2527           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2528           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2529           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2530           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2531           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2532           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2533           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2535           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2536           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2538           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2539           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2540           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2541           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2542           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2543           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2545           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2546           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2547           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2548           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2549           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2550           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2551           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2552           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2553           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2554           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2555           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2556           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2557           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2558           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2559           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2560           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2561           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2563           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2564           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2565           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2566           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2567           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2568           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2569           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2570           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2571           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2572           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2573           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2574           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2575           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2576           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2577           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2578           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2579           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2580           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2581           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2582           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2583           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2584           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2585           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2586           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2587           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2588           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2590           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2591           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2592           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2593           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2594           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2595           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2596           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2597           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2598           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2599           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2600           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2601           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2602           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2604           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2605           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2606           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2607           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2608           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2609           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2610           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2611           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2612           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2613           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2614           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2615           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2616           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2617           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2618           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2619           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_2620           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2622           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2624           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2625           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2626           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2627           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2628           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2629           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2630           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2631           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2632           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2633           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2634           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2635           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2636           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2637           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2638           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2639           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2640           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2641           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2642           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2643           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2644           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2646           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2648           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2649           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2650           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2651           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2652           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2653           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2654           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2655           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2656           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2657           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2658           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2659           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2660           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2661           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2662           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2663           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2664           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2666           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2667           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2668           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2669           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2670           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2671           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2673           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2674           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2675           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2676           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2677           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2678           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2679           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2680           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2681           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2682           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2683           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2684           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2685           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2686           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2687           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2688           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2689           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2690           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2692           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2693           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2694           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2696           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2698           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2699           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2700           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2701           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2702           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2703           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2704           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2705           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2706           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2707           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2709           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2710           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2712           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2714           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2715           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2716           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2717           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2718           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2719           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2720           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2721           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2722           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2724           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2725           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2726           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2727           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2728           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2729           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2730           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2731           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2732           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2733           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2734           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2735           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_2736           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2737           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2738           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2739           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2740           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2741           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2742           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2743           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2744           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2745           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2746           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2747           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2748           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2749           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2750           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2751           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2752           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2753           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2754           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2755           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2756           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2757           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2758           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2759           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2761           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2762           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2764           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2765           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2766           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2768           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2769           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2771           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2772           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2773           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2774           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2775           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2776           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2777           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2778           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2779           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2780           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2781           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2783           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2784           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2785           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2786           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2787           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2788           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2789           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2790           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2791           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2792           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2794           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2795           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2796           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2797           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2798           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2799           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2801           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2802           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2803           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2804           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2805           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2807           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2808           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2809           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2810           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2811           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2812           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2813           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2814           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2815           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2816           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2817           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2818           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2819           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2820           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2821           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2822           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2823           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2824           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2825           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2826           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2827           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2828           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2829           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2830           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2832           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2833           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2834           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2835           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2836           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2837           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2838           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2839           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2840           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2841           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2842           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2843           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2844           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2845           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2846           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2847           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2848           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2850           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2851           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2853           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2854           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2855           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2856           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2857           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2858           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2859           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2860           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2861           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2862           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2863           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2864           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2865           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2866           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2867           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2868           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2869           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2870           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2872           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2873           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2874           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_2875           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2877           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2878           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2879           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2880           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2881           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2882           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2883           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2885           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2886           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2887           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2888           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2889           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2890           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2892           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2893           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2894           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2896           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2897           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2898           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2899           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2900           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2901           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2902           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2903           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2904           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2905           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2906           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2907           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_2908           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2909           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2910           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2911           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2912           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2913           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2914           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2915           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2916           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2917           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2919           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2921           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2922           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2923           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2924           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2925           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2927           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2928           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2929           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2930           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2931           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2932           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2933           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2934           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2935           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2936           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2937           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2938           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_2939           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2940           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2941           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2942           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2944           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2945           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2946           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2947           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2948           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2949           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2950           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2951           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2953           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2954           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2955           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2956           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2957           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2958           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2959           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2960           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2961           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2962           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2963           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2964           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2965           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2966           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2967           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2968           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2969           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2970           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_2971           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2972           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2973           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2974           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2975           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2976           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2977           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2979           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2980           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2981           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2982           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2983           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2984           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2985           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2986           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2987           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2989           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2990           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2991           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_2992           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_2993           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_2994           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2995           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2996           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2997           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_2998           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_2999           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3000           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3001           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3002           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3003           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3004           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3005           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3006           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3007           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3008           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3009           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3010           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3011           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3013           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3014           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3015           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3016           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3017           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3018           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3019           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3020           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3021           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3022           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3023           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3024           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3025           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3026           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3027           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3028           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3029           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3030           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3031           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3032           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3033           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3034           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3035           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3036           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3037           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3038           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3039           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3041           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3042           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3043           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3044           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3045           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3046           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3047           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3048           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3050           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3051           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3052           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3054           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3055           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3056           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3057           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3058           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3059           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3060           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3061           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3062           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3063           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3064           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3065           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3067           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3068           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3069           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3070           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3071           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3072           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3073           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3074           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3075           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3076           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3077           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3078           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3079           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3080           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3081           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3082           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3083           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3084           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3085           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3086           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3087           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3088           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3089           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3090           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3091           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3092           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3093           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3094           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3095           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3097           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3098           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3099           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3100           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3101           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3102           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3103           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3104           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3105           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3106           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3107           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3108           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3110           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3111           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3112           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3114           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3115           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3116           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3117           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3118           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3119           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3120           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3121           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3122           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3123           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3124           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3125           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3126           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3127           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3128           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3129           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3130           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3131           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3132           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3133           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3134           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3135           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3136           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3137           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3138           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3139           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3140           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3141           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3142           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3143           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3144           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3145           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3146           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3147           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3148           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3149           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3150           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3151           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3152           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3153           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3154           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3155           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3156           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3157           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3158           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3159           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3160           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3161           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3162           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3163           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3164           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3165           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3166           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3167           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3168           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3169           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3170           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3171           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3172           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3173           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3174           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3175           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3176           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3177           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3178           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3179           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3180           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3181           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3182           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3183           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3184           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3185           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3186           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3187           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3188           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3189           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3191           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3192           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3193           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3194           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3195           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3196           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3197           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3198           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3199           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3200           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3201           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3202           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3203           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3205           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3206           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3207           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3208           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3209           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3210           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3211           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3212           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3213           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3214           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3215           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3216           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3217           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3219           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3220           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3221           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3222           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3223           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_3224           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3227           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3228           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3229           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3230           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3231           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3232           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3233           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3234           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3235           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3236           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3237           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3238           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3239           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3240           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3241           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3242           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3243           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3244           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3245           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3246           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3248           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3249           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3250           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3251           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3252           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3253           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3254           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3255           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3257           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3258           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3259           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3260           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3261           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3262           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3263           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3264           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3265           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3266           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3267           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3268           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3269           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3270           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3271           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3272           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3273           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3274           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3275           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3276           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3277           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3279           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3280           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3281           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3282           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3283           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3284           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3285           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3286           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3287           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3288           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3289           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3290           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3291           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3293           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3294           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3295           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3296           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3297           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3298           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3299           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3300           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3301           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3302           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3303           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3304           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3305           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3306           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3307           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3308           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3309           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3310           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3311           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3312           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3313           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3315           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3316           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3317           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3318           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3319           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3320           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3321           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3322           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3323           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3324           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3325           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3326           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3327           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3328           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3329           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3330           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3331           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3332           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3333           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3334           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3335           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3336           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3338           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3339           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3340           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3341           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3342           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3343           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3345           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3346           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3347           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3348           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3349           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3350           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3351           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3352           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3353           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3354           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3355           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3356           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3357           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3358           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3359           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3360           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3361           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3362           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3363           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3364           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3365           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3366           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3367           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3368           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3369           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3370           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3371           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3372           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3373           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3374           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3375           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3376           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3377           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3378           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3379           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3380           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3381           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3382           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3383           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3384           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3385           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3386           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3387           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3388           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3389           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3390           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3391           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3392           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3393           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3394           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3395           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3396           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3397           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3398           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3399           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3400           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3401           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3402           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3404           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3405           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3406           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3407           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3408           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3409           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3410           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3411           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3412           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3413           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3414           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3415           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3416           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3417           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3418           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3419           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3420           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3421           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3422           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3423           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3424           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3425           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3427           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3428           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3429           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3430           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3431           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3432           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3433           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3434           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3435           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3436           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3437           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3438           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3439           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3440           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3441           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3442           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3443           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3444           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3445           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3446           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3447           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3448           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3449           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3450           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3451           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3452           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3453           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3454           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3455           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3456           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3458           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3459           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3460           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3461           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3462           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3463           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3464           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3465           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3466           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3467           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3468           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3469           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3471           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3472           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3473           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3475           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3476           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3477           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3478           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3479           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3480           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3481           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3482           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3484           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3485           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3486           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3487           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3488           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3489           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3490           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3491           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3492           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3493           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3494           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3495           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3496           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3497           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3498           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3499           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3500           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3501           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3502           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3503           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3504           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3505           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3506           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3507           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3508           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3509           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3510           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3511           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3512           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3513           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3514           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3515           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3516           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3517           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3518           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3519           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3520           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3521           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3522           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3523           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3525           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3526           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3527           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3528           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3529           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3530           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3531           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3532           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3533           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3534           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3535           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3536           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3538           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3539           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3540           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3541           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3542           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3543           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3545           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3546           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3547           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3548           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3549           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3550           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3551           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3552           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3553           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3554           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3555           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3556           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3557           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3558           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3559           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3560           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3561           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3562           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3563           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3564           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3565           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3566           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3567           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3568           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3569           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3570           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3571           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3573           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3574           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3575           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3576           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3577           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3578           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3579           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3580           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3581           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3583           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3584           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3585           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3586           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3587           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3588           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3590           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3591           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3592           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3593           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3594           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3595           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3596           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3597           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3598           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3599           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3600           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3601           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3602           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3604           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3605           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3606           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3607           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3608           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3609           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3610           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3611           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3612           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3613           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3614           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3615           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3616           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3617           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3618           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3619           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3620           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3622           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3623           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3624           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3625           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3626           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3627           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3628           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3629           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3630           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3631           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3632           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3633           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3634           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3635           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3636           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3638           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3639           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3640           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3641           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3642           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3643           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3644           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3646           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3648           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3649           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3650           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3651           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3652           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3653           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3654           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3655           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3656           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3657           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3658           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3659           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3660           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3661           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3662           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3663           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3664           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3666           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3667           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3668           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3669           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3670           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3671           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3672           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3673           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3674           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3675           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3677           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3678           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3679           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3680           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3681           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3682           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3683           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3684           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3685           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3686           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3687           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3688           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3689           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3690           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3691           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3692           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3693           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3694           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3696           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3698           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3699           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3700           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3701           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3702           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3703           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3704           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3705           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3706           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3707           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3709           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3710           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3712           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3713           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3714           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3715           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3716           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3717           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3718           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3719           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3720           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3721           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3722           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3724           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3725           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3726           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3727           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3728           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3729           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3730           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3731           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3732           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3733           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3734           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3735           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3736           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3737           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3738           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3739           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3740           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3741           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3742           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_3743           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3744           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3745           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3746           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3747           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3748           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3749           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3750           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3751           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3752           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3753           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3754           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3755           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3756           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3757           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3758           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3759           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3760           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3761           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3762           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3763           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3764           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3765           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3766           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3768           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3769           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3771           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3772           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3773           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3774           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3775           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3776           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3777           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3778           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3779           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3780           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3781           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3783           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3784           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3785           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3786           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3787           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3788           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3789           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3790           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3791           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3792           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3793           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3794           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3795           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3796           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3797           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3798           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3799           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3801           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3802           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3803           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3804           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3805           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3806           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3807           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3808           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3810           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3811           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3812           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3813           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3814           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3815           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3816           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3817           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3818           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3819           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3820           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3821           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3822           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3823           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3824           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3825           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3826           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3827           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3828           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3829           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3830           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3831           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3832           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3833           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3834           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3835           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3836           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3837           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3838           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3839           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3840           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3841           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3842           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3843           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3844           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3845           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3846           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3848           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3849           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3850           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3851           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3853           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3854           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3855           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3856           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3857           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3858           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3859           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3860           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3861           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3862           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3863           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3864           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3865           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3866           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_3867           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3868           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3869           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3870           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3871           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3872           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3873           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3874           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3875           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3876           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3877           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3878           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3879           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3880           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3882           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3883           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3885           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3886           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3887           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3888           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3889           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3890           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3892           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3893           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3894           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3896           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3897           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3898           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3899           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3900           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3901           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3902           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_3903           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3904           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3905           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3906           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3907           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3908           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3909           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3910           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3912           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3913           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3914           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3915           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3916           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3917           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3918           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3919           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3920           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3921           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3922           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3923           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3924           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3925           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3927           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3928           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3929           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3930           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3931           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3932           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3933           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3934           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_3935           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3936           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3937           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3938           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3939           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3940           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3941           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3942           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3944           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3945           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3946           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_3947           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3948           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3949           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3950           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3951           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3953           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3954           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_3955           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3956           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3957           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3958           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3959           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3960           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3961           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3962           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3963           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3964           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3965           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3966           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3967           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_3968           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3969           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3970           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3971           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3972           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3973           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3974           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3975           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3976           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3977           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3979           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3981           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3982           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3983           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3984           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3985           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3986           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3987           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3988           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3989           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3990           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3991           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_3992           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3993           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3994           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_3996           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_3997           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_3998           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_3999           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4000           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4001           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4002           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4003           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4004           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4005           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4006           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4008           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4009           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4010           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4011           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4013           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4014           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4015           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4016           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4017           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4018           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4019           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4020           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4021           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4022           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4024           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4025           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4026           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4027           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4028           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4029           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4030           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4031           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4032           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4033           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4034           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4035           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4036           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4037           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4038           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4039           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4041           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4042           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4043           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4044           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4045           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4047           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4048           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4050           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4052           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4053           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4054           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4055           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4056           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4057           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4058           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4059           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4060           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4061           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4062           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4063           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4064           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4065           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4066           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4067           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4068           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4069           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4070           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4071           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4072           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4073           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4074           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4075           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4076           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4077           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4078           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4079           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4080           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4081           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4082           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4083           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4084           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4085           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4086           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4087           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4088           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4089           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4091           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4092           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4093           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4094           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4095           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4097           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4098           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4099           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4100           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4101           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4102           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4103           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4104           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4105           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4106           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4107           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4108           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4109           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4110           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4111           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4112           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4113           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4114           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4115           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4116           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_4117           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4118           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4119           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4120           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4121           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4122           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4123           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4124           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4125           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4126           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4127           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4128           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4129           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4130           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4131           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4132           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4133           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4134           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4135           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4136           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4138           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4139           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4140           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4141           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4142           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4143           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4144           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4145           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4146           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4147           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4148           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4149           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4150           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4151           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4152           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4153           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4154           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4155           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4156           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4157           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4158           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4159           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4160           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4161           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4162           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4163           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4164           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4165           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4166           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4167           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4168           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4169           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4170           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4171           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4172           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4173           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4174           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4175           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4176           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4177           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4178           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4179           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4180           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4181           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4182           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4183           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4184           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4185           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4186           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4187           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4188           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4189           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4191           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4192           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4193           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4194           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4195           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4196           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4197           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4198           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4199           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4200           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4201           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4202           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4203           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4205           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4206           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4207           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4208           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4210           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4211           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4212           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4213           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4214           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4215           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4216           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4217           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4219           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4220           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4221           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4222           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4223           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4224           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4225           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4227           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4228           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4229           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4230           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4231           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4232           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4233           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4234           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4235           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4236           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4237           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4238           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4239           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4240           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4241           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4242           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4243           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4244           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4245           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4246           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4248           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4249           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4250           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4252           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4254           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4255           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4258           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4259           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4260           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4261           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4262           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4263           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4264           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4265           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4266           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4267           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4268           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4269           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4270           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4271           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4272           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4273           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4274           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4275           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4276           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4277           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4279           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4280           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4282           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4283           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4284           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4285           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4286           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4287           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4288           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4289           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4290           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4291           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4293           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4294           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4295           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4296           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4297           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4298           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4299           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4300           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4301           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4302           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4303           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4304           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4305           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4307           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4308           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4309           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4310           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4311           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4313           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4314           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4315           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4316           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4317           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4319           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4320           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4321           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4322           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4323           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4324           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4325           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4326           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4327           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4328           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4329           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4330           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4331           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4332           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4333           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4334           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4335           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4336           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4338           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4339           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4340           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4341           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4342           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4343           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4346           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4347           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4348           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4349           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4350           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4351           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4352           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4353           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4354           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4355           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4356           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4357           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4358           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4359           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4360           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4361           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4362           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4363           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4364           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4365           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4366           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4367           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4368           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4369           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4370           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4371           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4372           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4373           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4374           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4375           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4376           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4377           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4378           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4379           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4380           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4382           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4383           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4384           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4385           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4386           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4387           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4388           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4389           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4390           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4391           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4392           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4393           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4394           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4395           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4396           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4397           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4398           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4399           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4400           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4401           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4402           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4403           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4404           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4405           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4406           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4407           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4408           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4409           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4410           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4411           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4412           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4413           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4414           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4415           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4416           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4417           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4418           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4419           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4420           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4421           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4422           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4424           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4425           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4427           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4428           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4429           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4430           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4431           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4432           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4433           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4434           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4435           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4436           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4437           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4438           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4439           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4440           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4441           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4442           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4443           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4444           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4445           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4446           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4447           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4448           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4449           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4450           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4451           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4452           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4453           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4454           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4455           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4456           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4457           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4458           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4459           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4460           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4461           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4462           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4463           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4464           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4465           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4466           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4467           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4468           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4469           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4471           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4472           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4473           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4475           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4476           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4477           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4478           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4479           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4480           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4481           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4482           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4484           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4485           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4486           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4487           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4488           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4489           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4490           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4491           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4492           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4494           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4495           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4496           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4497           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4498           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4499           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4500           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4501           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4502           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4503           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4504           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4505           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4506           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4507           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4508           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4509           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4510           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4511           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4512           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4513           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4514           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4515           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4516           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4517           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4518           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4519           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4520           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4521           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4522           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4523           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4525           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4526           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4527           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4528           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4529           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4530           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4531           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4532           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4533           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4535           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4536           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4537           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4538           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4539           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4540           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4541           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4542           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4543           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4545           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4546           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4547           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4548           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_4549           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4550           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4551           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4552           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4553           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4554           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4555           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4556           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4557           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4558           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4559           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4560           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4561           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4563           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4564           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4565           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4566           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4567           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4568           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4569           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4570           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4571           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4572           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4573           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4574           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4575           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4576           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4577           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4578           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4579           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4580           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4581           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4582           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4583           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4584           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4585           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4586           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4587           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4588           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4590           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4591           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4592           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4593           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4594           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4595           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4596           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4597           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4598           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4599           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4600           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4601           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4604           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4605           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4606           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4607           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4608           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4609           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4610           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4611           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4612           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4613           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4614           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4615           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4616           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4617           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4618           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4619           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4620           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4622           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4623           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4624           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4625           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4626           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4627           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4628           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4629           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4630           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4631           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4632           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4633           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4634           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4635           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4636           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4637           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4638           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4639           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4640           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4641           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4642           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4643           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4644           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4645           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4646           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4648           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4649           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4650           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4651           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4652           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4653           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4654           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4655           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4656           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4657           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4658           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4659           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4660           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4661           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4662           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4663           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4664           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4666           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4667           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4668           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4669           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4670           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4671           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4673           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4674           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4675           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4677           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4679           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4680           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4681           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4682           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4683           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4684           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4685           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4686           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4687           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4688           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4689           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4690           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4692           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4693           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4694           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4696           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4697           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4698           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4699           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4700           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4701           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4702           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4703           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4704           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4705           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4706           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4707           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4709           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4710           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4711           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4712           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_4713           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4714           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4715           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4716           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4717           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4718           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4719           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4720           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4721           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4722           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4723           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4724           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4725           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4726           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4727           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4728           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4729           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4730           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4731           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4732           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4733           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4734           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4735           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4736           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4737           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4738           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4739           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4740           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4741           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4742           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4743           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4744           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4745           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4746           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4747           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4748           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4749           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4750           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4751           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4752           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4753           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4754           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4755           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4756           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4757           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4758           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4759           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4761           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4762           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4764           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4765           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4766           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4768           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4769           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4771           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4772           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4773           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4774           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4775           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4776           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4777           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4778           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4779           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4780           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4781           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4783           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4784           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4785           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4786           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4787           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4788           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4789           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4790           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4791           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4792           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4793           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4794           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4795           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4796           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4797           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4798           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4799           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4801           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4802           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4803           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4804           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4805           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4807           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4808           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4810           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4811           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4812           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4813           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4814           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4815           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4816           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4817           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4818           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4819           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4820           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4821           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4822           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4823           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4824           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4825           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4826           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4827           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4828           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4829           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4830           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4832           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4833           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4834           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4835           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4836           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4837           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4838           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4839           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4840           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4841           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4842           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4843           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4844           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4845           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4846           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4848           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4850           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4851           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4852           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4853           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4854           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4855           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4856           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4857           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4858           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4859           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4860           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4861           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4862           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4863           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4864           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4865           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4866           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4867           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4868           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4869           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4870           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4871           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4872           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4873           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4874           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4875           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4877           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4878           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4879           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4880           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4882           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4883           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_4885           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_4886           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4887           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4888           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4889           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4890           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4891           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4892           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4893           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4894           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4895           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4896           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4897           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4898           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4899           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4900           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4901           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4902           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4903           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4904           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4905           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4906           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4907           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4908           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4909           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4910           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4912           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4913           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4914           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4915           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4916           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4917           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4919           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4921           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4922           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4923           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4924           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4925           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4927           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4928           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4929           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4930           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4931           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4932           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4933           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4934           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4935           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4936           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4937           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4938           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4939           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4940           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4941           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4942           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4944           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4945           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4946           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4947           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4948           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4949           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4950           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4951           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4953           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4954           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4955           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4956           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4957           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4958           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4959           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4960           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4961           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4962           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4963           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4964           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4965           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4966           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4967           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4968           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_4969           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4970           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4971           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4972           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4973           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4974           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4975           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4976           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4977           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4978           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4979           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_4980           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_4981           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4982           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4983           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_4984           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4985           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4986           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4987           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4988           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4989           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4990           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4991           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4992           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4993           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4994           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_4996           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_4997           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_4998           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_4999           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5000           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5001           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5002           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5003           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5004           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5005           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5006           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5008           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5009           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5010           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5011           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5013           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5014           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5015           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5016           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5017           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5018           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5019           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5020           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5021           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5022           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5024           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5025           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5026           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5027           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5028           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5029           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5030           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5031           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5032           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5033           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5034           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5035           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5036           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5037           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5038           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5039           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5040           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5041           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5042           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5043           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5044           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5045           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5047           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5048           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5050           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5052           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5054           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5055           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5056           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5057           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5058           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5059           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5060           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5061           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5062           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5063           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5064           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5065           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5067           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5068           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5069           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5070           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5071           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5072           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5073           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5074           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5075           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5076           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5077           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5078           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5079           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5080           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5081           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5082           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5083           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5084           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5085           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5086           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5087           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5088           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5089           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5091           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5092           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5093           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5094           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5095           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5097           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5098           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5099           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5100           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5101           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5102           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5103           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5104           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5105           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5106           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5107           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5108           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5110           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5111           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5112           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5113           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5114           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5115           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5116           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5117           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5118           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5119           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5120           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5121           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5122           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5123           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5125           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5126           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5127           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5128           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5129           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5130           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5131           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5132           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5133           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5134           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5135           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5136           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5137           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5138           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5139           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5140           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5141           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5142           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5143           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5144           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5145           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5146           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5147           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5148           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5149           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5150           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5151           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5152           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5153           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5154           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5155           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5156           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5157           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5158           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5159           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5160           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5161           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5162           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5163           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5164           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5165           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5166           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5167           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5168           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5169           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5170           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5171           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5172           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5173           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5174           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5175           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5176           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5177           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5178           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5179           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5180           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5181           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5182           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5183           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5184           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5185           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5186           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5187           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5188           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5189           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5190           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5191           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5192           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5193           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5194           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5195           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5196           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5197           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5198           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5199           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5200           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5201           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5202           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5203           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5204           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5205           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5206           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5207           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5208           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5210           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5211           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5212           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5213           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5214           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5215           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5216           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5217           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5219           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5220           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5221           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5222           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5223           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5224           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5225           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5227           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5228           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5229           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5230           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5232           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5233           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5234           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5235           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5236           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5237           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5238           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5239           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5240           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5241           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5242           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5243           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5244           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5245           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5246           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5247           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5249           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5250           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5252           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5254           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5255           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5256           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5257           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5258           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5259           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5260           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5261           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5262           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5263           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5264           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5265           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5266           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5267           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5268           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5269           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5270           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5271           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5272           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5273           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5274           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5275           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5276           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5277           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5279           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5280           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5282           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5283           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5284           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5285           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5286           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5287           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5288           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5289           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5290           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5291           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5293           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5294           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5295           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5296           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5297           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5298           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5299           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5300           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5301           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5302           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5304           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5305           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5307           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5308           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5309           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5310           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5311           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5312           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5313           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5315           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5316           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5317           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5318           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5319           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5320           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5321           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5322           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5323           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5324           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5325           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5326           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5327           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5328           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5329           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5331           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5332           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5333           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5334           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5335           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5336           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5338           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5339           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5340           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5341           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5342           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5343           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5344           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5346           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5347           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5348           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5349           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5350           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5351           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5352           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5354           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5355           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5356           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5357           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5358           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5359           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5360           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5361           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5362           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5363           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5364           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5365           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5366           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5367           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5368           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5369           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5370           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5371           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5372           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5373           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5374           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5375           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5376           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5377           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5378           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5379           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5380           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5381           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5382           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5383           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5384           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5385           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5386           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5387           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5388           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5389           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5390           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5391           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5392           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5393           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5394           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5395           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5396           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5397           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5398           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5399           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5400           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5401           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5402           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5403           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5404           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5405           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5406           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5407           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5408           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5409           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5410           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5411           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5412           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5413           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5414           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5415           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5416           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5417           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5418           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5419           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5420           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5421           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5422           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5424           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5425           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5426           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5427           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5428           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5429           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5430           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5431           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5432           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5433           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5434           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5435           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5436           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5437           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5438           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5439           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5440           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5441           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5442           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5443           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5444           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5445           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5446           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5447           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5448           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5449           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5450           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5451           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5452           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5453           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5454           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5455           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5456           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5457           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5458           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5459           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5460           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5461           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5462           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5463           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5464           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5465           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5466           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5467           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5468           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5469           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5470           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5471           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5472           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5473           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5475           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5476           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5477           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5478           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5479           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5480           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5481           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5482           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5483           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5484           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5485           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5486           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5487           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5488           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5489           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5490           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5491           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5492           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5494           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5495           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5496           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5497           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5498           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5499           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5500           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5501           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5502           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5503           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5504           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5505           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5506           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5507           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5508           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5509           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5510           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5511           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5512           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5513           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5514           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_5515           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5516           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5517           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5518           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5519           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5520           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5521           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5522           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5523           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5525           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5526           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5527           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5528           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5529           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5530           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5531           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5532           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5533           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5534           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5535           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5536           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5538           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5539           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5540           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5541           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5542           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5543           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5544           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5545           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5546           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5547           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5548           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5549           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5550           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5551           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5552           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5553           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5554           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5555           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5556           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5557           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5558           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5559           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5560           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5561           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5563           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5564           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5565           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5566           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5567           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5568           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5569           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5570           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5571           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5573           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5574           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5575           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5576           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5577           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5578           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5579           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5580           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5581           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5583           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5584           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5585           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5586           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5587           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5588           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5589           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5590           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5591           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5592           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5593           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5594           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5595           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5596           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5597           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5598           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5599           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5600           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5601           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5603           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5604           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5605           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5606           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5607           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5608           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5609           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5610           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5611           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5612           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5613           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5614           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_5615           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5616           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5617           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5618           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5619           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5620           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5621           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5622           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5624           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5625           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5626           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5627           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5628           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5629           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5630           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5631           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5632           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5633           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5634           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5635           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5636           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5638           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5639           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5640           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5641           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5642           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5643           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5644           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5646           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5648           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5649           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5650           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5651           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5652           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5653           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5654           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5655           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5656           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5657           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5658           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5659           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5660           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5661           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5662           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5663           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5664           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5665           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5666           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5667           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5668           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5669           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5670           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5671           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5672           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5673           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5674           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5675           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5677           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5678           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5679           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5680           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5681           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5682           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5683           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5684           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5685           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5686           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5687           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5688           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5689           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5690           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5691           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5692           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5693           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5694           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5696           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5698           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5699           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5700           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5701           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5702           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5703           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5704           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5705           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5706           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5707           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5709           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5710           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5712           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5714           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5715           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5716           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5717           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5718           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5719           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5720           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5721           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5722           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5723           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5724           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5725           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5726           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5727           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5728           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5729           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5730           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5731           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5732           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5733           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5734           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5735           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5736           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5737           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5738           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5739           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5740           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5741           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5742           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5743           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5744           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5745           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5746           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5747           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5748           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5749           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5750           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5751           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5752           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5753           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5754           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5755           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5756           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5757           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5758           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5759           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5761           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5762           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5763           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5764           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5765           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5766           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5767           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5768           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5769           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5771           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5772           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5773           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5774           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5775           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5776           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5777           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5778           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5779           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5780           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5781           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5782           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5783           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5784           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5785           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5786           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5787           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5788           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5789           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5790           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5791           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5792           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5793           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5794           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5795           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5796           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5797           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5798           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_5799           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5801           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5802           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5803           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5804           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5805           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5807           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_5808           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5810           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5811           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5812           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5813           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5814           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5815           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5816           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5817           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5818           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5819           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5820           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5821           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5822           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5823           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5824           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5825           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5826           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5827           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5828           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5829           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5830           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5831           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5832           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5833           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5834           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5835           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5836           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5837           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5838           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5839           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5840           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5841           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5842           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5843           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5844           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5845           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5846           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5847           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5848           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5849           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5850           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5851           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5853           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5854           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5855           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5856           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5857           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5858           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5859           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5860           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5861           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5862           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5863           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5864           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5865           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5866           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5867           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5868           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5869           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5870           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_5871           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5872           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5873           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5874           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5875           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5876           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5877           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5878           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5879           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5880           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5881           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5882           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5883           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5884           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5885           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5886           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5887           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5888           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5889           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5890           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5891           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5892           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5893           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5894           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5896           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5897           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_5898           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5899           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5900           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5901           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5902           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5903           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5904           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5905           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5906           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5907           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5908           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5909           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5910           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5912           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5913           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5914           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5915           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5916           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5917           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5918           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5919           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5920           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5921           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5922           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5923           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5924           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5925           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5926           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5927           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5928           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5929           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5930           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5931           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5932           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5933           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5934           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5935           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5936           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5937           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5938           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5939           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5940           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5941           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5942           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5944           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5945           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5946           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5947           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5948           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_5949           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5950           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5951           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5953           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5954           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5955           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5956           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5957           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5958           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5959           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5960           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5961           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5962           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5963           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5964           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5965           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5966           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5967           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5968           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_5969           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5970           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5971           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5972           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5973           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5974           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5975           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5976           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5977           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5978           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5979           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5981           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5982           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5983           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5984           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5985           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5986           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5987           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5989           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_5990           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5991           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5992           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_5993           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5994           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5996           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_5997           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5998           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_5999           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6000           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6001           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6002           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6003           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6004           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6005           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6006           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6008           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6009           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6010           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6011           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6012           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6013           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6014           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6015           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6016           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6017           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6018           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6019           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6020           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6021           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6022           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6024           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6025           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6026           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6027           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6028           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6029           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6030           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6031           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6032           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6033           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6034           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6035           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6036           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6037           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6038           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6039           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6040           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6041           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6042           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6043           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6044           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6045           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6047           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6048           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6050           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6051           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6052           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6054           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6055           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6056           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6057           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6058           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6059           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6060           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6061           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6062           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6063           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6064           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6065           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6067           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6068           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6069           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6070           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6071           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6072           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6073           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6074           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6075           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6076           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6077           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6078           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6079           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6080           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6081           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6082           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6083           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6084           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6085           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6086           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6087           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6088           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6089           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6090           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6091           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6092           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6093           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6094           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6095           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6096           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6097           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6098           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6099           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6100           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6101           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6102           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6103           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6104           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6105           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6106           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6107           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6108           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6109           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6110           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6111           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6112           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6113           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6114           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6115           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6116           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6117           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6118           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6119           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6120           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6122           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6123           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6125           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6126           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6127           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6128           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6129           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6130           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6131           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6132           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6133           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6134           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6135           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6136           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6138           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6139           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6140           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6141           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6142           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6143           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6144           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6145           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6146           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6147           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6148           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6149           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6150           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6151           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6152           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6153           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6154           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6155           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6156           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6157           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6158           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6159           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6160           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6161           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6162           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6163           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6164           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6165           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6166           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6167           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6168           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6169           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6170           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6171           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6172           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6173           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6174           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6175           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6176           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6177           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6178           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6179           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6180           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6181           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6182           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6183           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6184           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6185           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6186           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6187           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6188           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6189           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6191           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6192           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6193           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6194           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6195           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6196           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6197           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6198           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6199           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6200           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_6201           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6202           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6203           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6205           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6206           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6207           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6208           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6210           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6211           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6212           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6213           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6214           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6215           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6216           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6217           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6219           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6220           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6221           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6222           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6223           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6224           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6226           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6227           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6228           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6229           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6230           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6232           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6233           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6234           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6235           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6236           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6237           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6238           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6239           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6240           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6241           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6242           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6243           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6244           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6245           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6246           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6249           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6250           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6251           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6252           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6254           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6255           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6258           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6259           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6260           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6261           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_6262           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6263           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6264           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6265           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6266           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6267           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6268           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6269           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6270           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6271           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6272           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6273           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6274           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6275           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6276           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6277           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6279           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6280           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6282           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6283           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6284           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6285           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6286           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6287           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6288           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6289           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6290           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6291           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6292           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6293           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6294           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6295           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6296           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6297           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6298           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6299           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6300           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6301           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6302           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6304           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6305           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6307           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6308           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6309           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6310           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6311           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6313           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6314           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6315           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6316           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6317           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6319           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6320           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6321           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6322           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6323           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6324           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6325           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6326           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6327           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6328           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6329           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6331           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6332           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6333           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6335           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6336           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6338           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6339           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6340           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6341           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6342           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6343           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6345           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6347           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6348           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6349           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6350           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6351           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6352           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6354           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6355           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6356           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6357           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6358           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6359           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6360           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6361           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6362           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6363           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6364           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6365           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6366           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6367           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6368           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6369           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6370           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6371           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6372           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6373           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6374           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6375           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6376           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6377           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6378           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6379           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6380           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6382           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6383           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6384           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6385           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6386           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6387           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6388           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6389           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6390           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6391           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6392           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6393           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6394           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6395           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6396           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6397           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6398           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6399           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6400           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6401           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6402           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6403           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6404           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6405           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6406           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6407           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6408           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6409           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6410           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6411           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6412           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6413           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6414           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6415           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6416           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6417           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6418           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6419           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6420           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6421           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6422           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6423           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6424           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6425           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6426           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6427           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6428           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6429           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6430           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6431           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6432           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6433           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6434           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6435           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6436           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6437           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6438           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6439           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6440           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6441           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6442           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6443           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6444           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6445           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6446           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6447           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6448           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6449           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6450           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6451           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6452           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6453           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6454           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6455           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6456           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6458           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6459           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6460           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6461           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6462           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6463           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6464           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6465           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6466           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6467           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6468           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6469           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6470           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6471           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6472           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6473           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6475           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6476           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6477           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6478           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6479           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6480           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6481           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6482           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6484           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6485           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6486           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6487           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6488           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6489           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6490           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6491           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6492           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6494           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6495           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6496           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6497           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6498           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6499           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6500           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6501           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6502           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6503           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6504           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6505           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6506           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6507           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6508           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6509           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6510           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6511           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6512           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6513           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6514           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6515           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6516           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6517           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6518           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6519           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6520           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6521           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6522           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6523           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6524           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6525           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6526           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6527           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6528           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6529           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6530           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6531           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6532           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6533           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6535           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6536           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6537           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6538           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6539           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6540           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6541           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6542           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6543           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6545           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6546           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6547           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6548           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6549           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6550           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6551           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6552           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6553           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6554           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6555           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6556           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6557           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6558           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6559           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6560           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6561           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6563           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6564           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6565           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6566           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6567           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6568           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6569           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6570           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6571           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6572           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6573           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6574           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6575           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6576           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6577           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6578           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6579           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6580           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6581           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6583           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6584           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6585           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6586           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6587           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6588           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6589           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6590           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6591           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6592           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6593           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6594           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6595           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6596           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6597           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6598           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6599           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6600           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6601           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6603           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6604           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6605           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6606           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6607           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6608           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6609           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6610           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6611           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6612           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6613           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6614           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6615           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6616           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6617           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6618           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6619           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6620           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6622           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6624           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6625           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6626           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6627           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6628           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6629           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6630           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6631           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6632           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6633           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6634           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6635           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6636           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6638           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6639           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6640           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6641           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6642           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6643           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6644           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6646           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6647           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6648           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6649           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6650           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6651           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6652           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6653           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6654           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6655           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6656           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6657           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6658           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6659           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6660           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6661           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6662           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6663           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6664           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6666           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6667           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6668           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6669           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6670           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6671           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6673           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6674           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_6675           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6676           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6677           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6679           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6680           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6681           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6682           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6683           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6684           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6685           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6686           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6687           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6688           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6689           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6690           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6692           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6693           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6694           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6695           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6696           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6698           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6699           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6700           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6701           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6702           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6703           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6704           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6705           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6706           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6707           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6709           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6710           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6712           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6714           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6715           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6716           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6717           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6718           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6719           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6720           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6721           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6722           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6723           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6724           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6725           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6726           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6727           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6728           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6729           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6730           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6731           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6732           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6733           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6734           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6735           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6736           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6737           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6738           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6739           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6740           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6741           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6742           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6743           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6744           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6745           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6746           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6747           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6748           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6749           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6750           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6751           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6752           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6753           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6754           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6755           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6756           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6757           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6758           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6759           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6761           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6762           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6763           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6764           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6765           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6766           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6767           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6768           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6769           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6770           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6771           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6772           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6773           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6774           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6775           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6776           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6777           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6778           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6779           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6780           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6781           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6783           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6784           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6785           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6786           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6787           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6788           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6789           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6790           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6791           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6792           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6793           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6794           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6795           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6796           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6797           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6798           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6799           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6801           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6802           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6803           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6804           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6805           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6806           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6807           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6808           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6809           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6810           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6811           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6812           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6813           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6814           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6815           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6816           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6817           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6818           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6819           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6820           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6821           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6822           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6823           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6824           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6825           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6826           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6827           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6828           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6829           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6830           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6831           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6832           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6833           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6834           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6835           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6836           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6837           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6838           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6839           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6840           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6841           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6842           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6843           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6844           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6845           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6846           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6848           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6850           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6851           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6852           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6853           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6854           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6855           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6856           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6857           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6858           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6859           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6860           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6861           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6862           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6863           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6864           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6865           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6866           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6867           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6868           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6869           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6870           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6872           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6873           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6874           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6875           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6877           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_6878           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6879           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6880           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6882           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6883           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6885           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6886           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6887           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6888           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6889           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6890           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6891           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6892           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6893           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6894           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6896           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6897           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6898           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6899           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6900           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6901           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6902           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6903           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6904           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6905           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6906           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6907           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6908           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6909           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6910           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6912           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6913           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6914           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6915           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6916           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6917           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6918           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6919           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6921           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6922           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6923           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6924           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6925           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6927           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6928           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6929           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6930           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6931           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6932           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6933           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6934           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6935           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6936           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6937           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6938           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6939           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6940           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6941           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6942           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6944           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6945           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6946           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6947           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6948           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6949           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6950           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6951           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_6953           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6954           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6955           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6956           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6957           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6958           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6959           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6960           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6961           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6962           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6963           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6964           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6965           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6966           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6967           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6968           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6969           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6970           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6971           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6972           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6973           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6974           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6975           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6976           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6977           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6979           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6981           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6982           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6983           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6984           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6985           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_6986           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6987           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6989           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6990           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6991           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6992           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_6993           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6994           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_6995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6996           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6997           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_6998           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_6999           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7000           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7001           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7002           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7003           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7004           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7005           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7006           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7007           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7008           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7009           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7010           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7011           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7012           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7013           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7014           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7015           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7016           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7017           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7018           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7019           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7020           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7021           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7022           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7024           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7025           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7026           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7027           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7028           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7029           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7030           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7031           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7032           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7033           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7034           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7035           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7036           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7037           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7038           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7039           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7041           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7042           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7043           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7044           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7045           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7046           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7047           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7048           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7049           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7050           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7051           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7052           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7053           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7054           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7055           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7056           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7057           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7058           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7059           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7060           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7061           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7062           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7063           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7064           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7065           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7067           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7068           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7069           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7070           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7071           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7072           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7073           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7074           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7075           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7076           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7077           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7078           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7079           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7080           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7081           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7082           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7083           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7084           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7085           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7086           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7087           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7088           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7089           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7090           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7091           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7092           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7093           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7094           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7095           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7097           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7098           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7099           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7100           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7101           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7102           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7103           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7104           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7105           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7106           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7107           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7108           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7110           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7111           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7112           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7114           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7115           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7116           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7117           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7118           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7119           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7120           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7122           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7123           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7124           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7125           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7126           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7127           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7128           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7129           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7130           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7131           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7132           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7133           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7134           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7135           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7136           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7138           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7139           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7140           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7141           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7142           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7143           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7144           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_7145           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7146           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7147           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7148           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7149           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7150           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7151           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7152           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7153           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7154           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7155           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7156           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7157           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7158           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7159           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7160           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7161           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7162           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7163           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7164           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7165           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7166           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7167           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7168           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7169           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7170           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7171           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7172           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7173           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7174           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7175           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7176           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7177           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7178           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7179           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7180           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7181           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7182           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7183           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7184           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7185           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_7186           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7187           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7188           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7189           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7191           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7192           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7193           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7194           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7195           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7196           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7197           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7198           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7199           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7200           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7201           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7202           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7203           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7205           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7206           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7207           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7208           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7210           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7211           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7212           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7213           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7214           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7215           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7216           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7217           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7218           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7219           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7220           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7221           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7222           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7223           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7224           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7225           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7227           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7228           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7229           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7230           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7232           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7233           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7234           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7235           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7236           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7237           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7238           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7239           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7240           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7241           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7242           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7243           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7244           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7245           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7246           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7247           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7249           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7250           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7252           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7253           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7254           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7255           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7257           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7258           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7259           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7260           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7261           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7262           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7263           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7264           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7265           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7266           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7267           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7268           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7269           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7270           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7271           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7272           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7273           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7274           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7275           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7276           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7277           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7278           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7279           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7280           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7282           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7283           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7284           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7285           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7286           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7287           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7288           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7289           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7290           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7291           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7292           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7293           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7294           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7295           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7296           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7297           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7298           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7299           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7300           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7301           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7302           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7304           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7305           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7306           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7307           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7308           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7309           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7310           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7311           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7312           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7313           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7314           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7315           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7316           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7317           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7319           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7320           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7321           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7322           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7323           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7324           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7325           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7326           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7327           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7328           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7329           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7331           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7332           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7333           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7335           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7336           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7338           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7339           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7340           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7341           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7342           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7343           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7344           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7347           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7348           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7349           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7350           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7351           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7352           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7354           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7355           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7356           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7357           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7358           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7359           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7360           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7361           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7362           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7363           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7364           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7365           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7366           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7367           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7368           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7369           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7370           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7371           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7372           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7373           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7374           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7375           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7376           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7377           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7378           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7379           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7380           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7382           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7383           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7384           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7385           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7386           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7387           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7388           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7389           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7390           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7391           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7392           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7393           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7394           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7395           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7396           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7397           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7398           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7399           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7400           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7401           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7402           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7403           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7404           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7405           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7406           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7407           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7408           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7409           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7410           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7411           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7412           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7413           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7414           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7415           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7416           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7417           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7418           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7419           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7420           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7421           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7422           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7424           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7425           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7427           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7428           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7429           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7430           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7431           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7432           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7433           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7434           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7435           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7436           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7437           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7438           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7439           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7440           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7441           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7442           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7443           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7444           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7445           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7446           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7447           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7448           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7449           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7450           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7451           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7452           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7453           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7454           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7455           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7456           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7457           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7458           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7459           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7460           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7461           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7462           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7463           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7464           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7465           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7466           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7467           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7468           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7469           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7471           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7472           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7473           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7474           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7475           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7476           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7477           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7478           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7479           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7480           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7481           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7482           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7483           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7484           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7485           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7486           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7487           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7488           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7489           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7490           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7491           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7492           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7493           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7494           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7495           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7496           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7497           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7498           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7499           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7500           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7501           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7502           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7503           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7504           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7505           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7506           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7507           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7508           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7509           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7510           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7511           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7512           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7513           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7514           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7515           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7516           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7517           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7518           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7519           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7520           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7521           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7522           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7523           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7524           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7525           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7526           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7527           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7528           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7529           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7530           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7531           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7532           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7533           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7534           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7535           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7536           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7538           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7539           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7540           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7541           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7542           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7543           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7545           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7546           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7547           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7548           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7549           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7550           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7551           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7552           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7553           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7554           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7555           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7556           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7557           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7558           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7559           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7560           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7561           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7562           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7563           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7564           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7565           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7566           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7567           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7568           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7569           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7570           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7571           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7573           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7574           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7575           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7576           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7577           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7578           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7579           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7580           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7581           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7583           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7584           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7585           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7586           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7587           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7588           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7589           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7590           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7591           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7592           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7593           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7594           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7595           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7596           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7597           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7598           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7599           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7600           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7601           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7602           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7604           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7605           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7606           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7607           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7608           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7609           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7610           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7611           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7612           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_7613           NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7614           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7615           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7616           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7617           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7618           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7619           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7620           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7622           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7624           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7625           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7626           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7627           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7628           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7629           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7630           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7631           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7632           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7633           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7634           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7635           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7636           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7638           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7639           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7640           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7641           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7642           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7643           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7644           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7646           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7647           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7648           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7649           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7650           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7651           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7652           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7653           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7654           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7655           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7656           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7657           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7658           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7659           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7660           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7661           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7662           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_7663           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7664           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7665           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7666           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7667           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7668           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7669           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7670           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7671           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7673           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7674           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7675           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7677           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7679           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7680           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7681           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7682           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7683           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7684           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7685           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7686           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7687           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7688           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7689           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7690           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7692           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7693           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7694           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7696           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7697           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7698           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7699           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7700           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7701           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7702           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7703           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7704           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7705           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7706           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7707           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7708           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7709           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7710           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7711           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7712           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7713           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7714           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7715           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7716           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7717           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7718           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7719           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7720           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7721           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7722           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7724           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7725           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7726           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7727           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7728           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7729           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7730           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7731           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7732           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7733           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7734           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7735           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7736           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7737           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7738           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7739           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7740           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7741           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7742           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7743           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7744           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7745           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7746           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7747           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7748           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7749           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7750           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7751           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7752           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7753           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7754           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7755           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7756           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7757           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7758           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7759           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7761           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7762           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7763           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7764           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7765           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7766           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7768           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7769           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7770           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7771           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7772           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7773           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7774           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7775           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7776           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7777           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7778           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7779           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7780           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7781           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7782           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7783           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7784           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7785           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7786           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7787           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7788           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7789           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7790           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7791           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7792           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7794           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7795           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7796           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7797           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7798           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7799           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7800           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7801           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7802           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7803           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7804           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_7805           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7807           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7808           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7809           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7810           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7811           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7812           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7813           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7814           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7815           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7816           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7817           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7818           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7819           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7820           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7821           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7822           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7823           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7824           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7825           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7826           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7827           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7828           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7829           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7830           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7832           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7833           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7834           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7835           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7836           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7837           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7838           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7839           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7840           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7841           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7842           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7843           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7844           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7845           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7846           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7848           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7850           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7851           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7853           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7854           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7855           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7856           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7857           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7858           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7859           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7860           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7861           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7862           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7863           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7864           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7865           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7866           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7867           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7868           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7869           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7870           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7871           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7872           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7873           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7874           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7875           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7876           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7877           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7878           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7879           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7880           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7882           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7883           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_7885           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7886           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7887           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7888           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7889           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7890           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7891           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7892           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7893           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7894           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7896           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7897           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7898           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7899           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7900           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7901           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7902           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7903           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7904           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7905           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7906           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7907           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7908           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7909           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7910           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7912           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7913           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7914           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7915           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7916           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7917           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7919           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7920           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7921           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7922           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7923           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7924           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7925           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7926           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7927           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7928           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7929           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7930           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7931           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7932           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7933           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7934           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7935           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7936           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7937           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7938           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7939           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7940           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7941           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7942           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7943           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7944           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7945           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7946           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7947           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7948           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7949           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7950           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7951           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7952           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7953           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7954           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7955           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7956           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_7957           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7958           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7959           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7960           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7961           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7962           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7963           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7964           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_7965           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7966           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7967           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_7968           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7969           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7970           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7971           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7972           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7973           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7974           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7975           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7976           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7977           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7979           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7980           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7981           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7982           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7983           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7984           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_7985           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7986           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7987           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_7988           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7989           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7990           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7991           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7992           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7993           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_7994           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_7996           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7997           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7998           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_7999           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8000           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8001           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8002           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8003           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8004           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8005           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8006           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8007           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8008           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8009           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8010           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8011           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8012           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8013           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8014           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8015           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8016           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8017           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8018           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8019           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8020           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8021           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8022           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8024           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8025           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8026           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8027           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8028           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8029           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8030           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8031           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8032           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8033           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8034           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8035           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8036           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8037           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8038           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8039           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8040           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8041           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8042           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8043           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8044           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8045           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8047           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8048           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8049           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8050           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8051           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8052           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8053           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8054           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8055           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8056           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8057           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8058           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8059           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8060           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8061           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8062           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8063           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8064           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8065           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8067           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8068           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8069           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8070           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8071           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8072           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8073           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8074           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8075           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8076           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8077           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8078           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8079           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8080           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8081           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8082           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8083           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8084           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8085           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8086           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8087           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8088           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8089           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_8090           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8091           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8092           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8093           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8094           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8095           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8096           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8097           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8098           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8099           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8100           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8101           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8102           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8103           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8104           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8105           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8106           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_8107           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_8108           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8110           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8111           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8112           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8114           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8115           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8116           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8117           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8118           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8119           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8120           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8122           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8123           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8125           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8126           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8127           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8128           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8129           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8130           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8131           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8132           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8133           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8134           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8135           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8136           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8138           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8139           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8140           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8141           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8142           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8143           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8144           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8145           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8146           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8147           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8148           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8149           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8150           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8151           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8152           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8153           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8154           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8155           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8156           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8157           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8158           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8159           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8160           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8161           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8162           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8163           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8164           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8165           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8166           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8167           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8168           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8169           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8170           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8171           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8172           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8173           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8174           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8175           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8176           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8177           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8178           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8179           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_8180           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8181           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8182           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8183           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8184           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8185           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8186           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8187           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8188           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8189           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8190           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8191           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8192           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8193           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8194           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8195           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8196           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8197           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8198           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8199           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8200           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8201           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8202           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8203           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8205           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8206           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8207           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8208           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8209           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8210           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8211           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8212           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8213           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8214           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8215           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8216           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8217           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8218           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8219           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8220           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8221           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8222           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8223           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8224           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8226           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8227           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8228           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8229           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8230           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8231           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8232           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8233           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8234           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8235           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8236           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8237           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8238           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8239           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8240           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8241           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8242           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8243           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8244           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8245           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8246           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8248           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8249           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8250           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8252           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8254           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8255           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8256           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8257           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8258           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8259           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8260           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8261           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8262           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8263           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8264           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8265           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8266           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8267           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8268           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8269           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8270           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8271           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8272           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8273           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8274           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8275           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8276           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8277           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8278           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8279           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8280           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8281           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8282           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8283           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8284           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8285           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8286           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8287           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8288           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8289           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8290           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8291           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8292           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8293           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8294           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8295           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8296           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8297           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8298           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8299           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8300           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8301           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8302           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8304           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8305           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8306           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8307           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8308           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8309           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8310           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8311           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8313           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8314           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8315           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8316           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8317           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8318           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8319           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8320           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8321           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8322           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8323           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8324           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8325           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8326           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8327           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8328           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8329           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8330           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8331           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8332           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8333           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8335           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8336           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8337           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_8338           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8339           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8340           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8341           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8342           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8343           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8344           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8345           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8346           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8347           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8348           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8349           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8350           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8351           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8352           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8353           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8354           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8355           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8356           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8357           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8358           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8359           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8360           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8361           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8362           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8363           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8364           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8365           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8366           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8367           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8368           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8369           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8370           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8371           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8372           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8373           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8374           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8375           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8376           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8377           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8378           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8379           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8380           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8382           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8383           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8384           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8385           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8386           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8387           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8388           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8389           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8390           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8391           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8392           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8393           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8394           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8395           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8396           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8397           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8398           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8399           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8400           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8401           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8402           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8404           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8405           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8406           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8407           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8408           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8409           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8410           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8411           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8412           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8413           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8414           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8415           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8416           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8417           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8418           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8419           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8420           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8421           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8422           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8423           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8424           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8425           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8426           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8427           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8428           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8429           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8430           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8431           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8432           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8433           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8434           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8435           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8436           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8437           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8438           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8439           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8440           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8441           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8442           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8443           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8444           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8445           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8446           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_8447           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8448           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8449           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8450           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8451           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8452           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8453           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8454           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8455           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8456           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8457           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8458           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8459           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8460           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8461           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8462           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8463           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8464           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8465           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8466           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8467           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8468           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8469           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8470           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8471           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8472           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8473           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8475           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8476           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8477           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8478           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8479           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8480           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8481           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8482           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8484           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8485           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8486           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8487           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8488           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8489           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8490           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8491           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8492           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8493           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8494           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8495           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8496           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8497           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8498           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8499           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8500           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8501           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8502           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8503           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8504           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8505           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8506           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8507           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8508           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8509           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8510           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8511           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8512           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8513           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8514           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8515           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8516           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8517           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8518           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8519           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8520           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8521           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8522           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8523           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8524           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8525           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8526           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8527           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8528           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8529           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8530           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8531           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8532           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8533           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8534           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8535           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8536           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8538           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8539           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8540           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8541           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8542           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8543           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8545           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8546           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8547           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8548           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8549           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8550           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8551           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8552           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8553           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8554           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8555           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8556           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8557           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8558           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8559           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8560           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8561           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8562           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8563           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8564           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8565           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8566           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8567           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8568           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8569           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8570           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8571           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8572           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8573           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8574           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8575           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8576           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8577           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8578           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8579           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8580           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8581           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8583           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8584           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8585           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8586           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8587           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8588           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8589           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8590           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8591           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8592           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8593           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8594           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8595           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8596           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8597           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8598           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8599           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_8600           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8601           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8602           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8603           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8604           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8605           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8606           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8607           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8608           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8609           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8610           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8611           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8612           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8613           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_8614           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8615           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8616           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8617           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8618           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8619           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8620           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8621           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8622           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8623           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8624           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8625           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8626           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8627           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8628           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8629           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8630           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8631           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8632           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8633           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8634           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_8635           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8636           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8637           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8638           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8639           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8640           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8641           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8642           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8643           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8644           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8646           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8647           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8648           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8649           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8650           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8651           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8652           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8653           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8654           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8655           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8656           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8657           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8658           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8659           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8660           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8661           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8662           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8663           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8664           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8665           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8666           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8667           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8668           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8669           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8670           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8671           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8672           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8673           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8674           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_8675           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8676           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8677           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8679           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8680           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8681           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8682           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8683           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8684           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8685           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8686           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8687           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8688           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8689           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8690           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8691           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8692           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8693           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8694           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8696           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8697           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8698           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8699           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8700           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8701           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8702           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8703           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8704           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8705           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8706           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8707           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8708           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8709           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8710           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8711           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8712           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8713           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8714           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8715           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8716           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8717           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8718           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8719           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8720           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8721           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8722           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8724           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8725           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8726           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8727           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8728           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8729           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8730           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8731           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8732           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8733           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8734           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8735           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8736           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8737           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8738           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8739           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8740           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8741           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8742           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8743           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8744           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8745           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8746           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8747           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8748           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8749           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8750           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8751           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8752           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8753           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8754           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8755           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8756           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8757           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8758           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8759           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8760           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8761           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8762           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8764           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8765           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_8766           NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8767           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8768           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8769           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8770           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8771           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8772           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8773           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8774           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8775           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8776           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8777           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8778           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8779           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8780           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8781           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8782           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8783           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8784           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8785           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8786           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8787           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8788           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8789           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8790           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8791           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8792           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8794           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8795           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8796           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8797           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8798           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8799           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8800           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8801           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8802           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8803           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8804           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8805           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8806           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8807           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8808           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8810           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8811           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8812           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8813           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8814           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8815           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8816           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8817           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8818           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8819           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8820           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8821           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8822           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8823           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8824           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8825           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8826           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8827           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8828           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8829           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8830           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8831           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8832           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8833           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8834           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8835           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8836           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8837           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_8838           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8839           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8840           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8841           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8842           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8843           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8844           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8845           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8846           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8847           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8848           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8849           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8850           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8851           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8853           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8854           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8855           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8856           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8857           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8858           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_8859           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8860           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8861           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8862           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8863           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8864           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8865           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8866           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8867           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8868           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8869           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8870           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8872           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8873           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8874           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8875           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8877           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8878           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8879           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8880           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8881           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8882           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8883           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8885           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8886           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8887           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8888           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8889           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8890           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8892           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8893           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8894           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8895           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8896           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8897           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8898           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8899           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8900           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8901           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8902           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8903           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8904           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8905           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8906           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8907           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8908           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8909           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8910           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8911           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8912           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8913           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8914           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8915           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8916           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8917           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8918           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8919           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8921           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8922           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8923           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8924           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8925           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8926           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8927           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8928           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8929           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8930           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_8931           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8932           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8933           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8934           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8935           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8936           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8937           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8938           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8939           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8940           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8941           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8942           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8943           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8944           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8945           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8946           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8947           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8948           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8949           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8950           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8951           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8952           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8953           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8954           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8955           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8956           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8957           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8958           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8959           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8960           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8961           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8962           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8963           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8964           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8965           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8966           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8967           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8968           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8969           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8970           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8971           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_8972           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8973           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_8974           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8975           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_8976           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8977           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8978           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8979           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8981           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_8982           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8983           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8984           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8985           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8986           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_8987           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8989           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8990           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8991           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8992           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8993           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8994           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_8996           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8997           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_8998           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_8999           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9000           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9001           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9002           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9003           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9004           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9005           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9006           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9007           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9008           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9009           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9010           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9011           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9012           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9013           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9014           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9015           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9016           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9017           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9018           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9019           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9020           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9021           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9022           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9023           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9024           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9025           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9026           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9027           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9028           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9029           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9030           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9031           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9032           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9033           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9034           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9035           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9036           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9037           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9038           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9039           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9040           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9041           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9042           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9043           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9044           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9045           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9046           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9047           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9048           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9049           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9050           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9051           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9052           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9053           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9054           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9055           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9056           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9057           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9058           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9059           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9060           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9061           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9062           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9063           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9064           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9065           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9066           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9067           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9068           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9069           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9070           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9071           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9072           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9073           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9074           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9075           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9076           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9077           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9078           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9079           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9080           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9081           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9082           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9083           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9084           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9085           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9086           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9087           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9088           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9089           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9090           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9091           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9092           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9093           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9094           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9095           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9096           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9097           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9098           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9099           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9100           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9101           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9102           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9103           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9104           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9105           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9106           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9107           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9108           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9109           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9110           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9111           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9112           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9113           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9114           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9115           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9116           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_9117           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9118           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9119           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9120           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9121           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9122           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9123           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9124           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9125           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9126           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9127           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9128           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9129           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9130           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9131           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9132           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9133           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9134           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9135           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9136           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9137           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9138           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9139           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9140           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9141           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9142           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9143           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9144           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9145           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9146           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9147           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9148           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9149           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9150           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9151           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9152           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9153           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9154           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9155           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9156           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9157           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9158           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9159           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9160           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9161           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9162           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9163           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9164           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9165           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9166           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9167           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9168           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9169           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9170           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9171           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9172           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9173           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9174           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9175           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9176           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9177           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9178           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9179           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9180           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9181           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9182           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9183           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9184           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9185           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9186           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9187           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9188           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9189           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9190           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9191           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9192           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9193           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9194           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9195           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9196           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9197           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9198           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9199           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9200           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9201           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9202           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9203           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9204           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9205           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9206           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9207           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9208           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9209           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9210           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9211           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9212           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9213           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9214           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9215           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9216           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9217           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9218           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9219           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9220           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9221           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9222           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9223           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9224           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9225           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9226           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9227           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9228           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9229           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9230           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9231           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9232           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9233           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9234           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9235           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9236           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9237           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9238           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9239           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9240           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9241           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9242           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9243           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9244           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9245           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9246           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9247           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9248           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9249           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9250           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9251           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9252           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9253           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9254           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9255           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9256           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9257           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9258           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9259           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9260           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9261           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9262           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9263           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9264           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9265           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9266           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9267           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9268           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9269           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9270           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9271           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9272           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9273           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9274           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9275           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9276           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9277           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9278           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9279           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9280           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9281           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9282           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9283           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9284           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9285           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9286           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9287           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9288           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9289           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9290           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9291           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9292           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9293           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9294           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9295           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9296           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9297           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9298           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9299           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9300           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9301           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9302           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9303           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9304           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9305           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9306           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9307           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9308           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9309           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9310           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9311           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9312           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9313           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9314           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9315           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9316           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9317           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9318           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9319           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9320           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9321           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9322           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9323           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9324           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9325           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9326           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9327           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9328           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9329           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9330           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9331           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9332           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9333           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9334           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9335           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9336           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9337           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9338           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9339           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9340           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9341           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9342           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9343           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9344           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9345           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9346           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9347           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9348           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9349           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9350           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9351           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9352           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9353           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9354           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9355           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9356           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9357           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9358           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9359           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9360           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9361           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9362           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9363           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9364           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9365           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9366           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9367           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9368           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9369           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9370           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9371           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9372           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9373           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9374           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9375           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9376           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9377           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9378           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9379           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9380           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9381           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9382           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9383           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9384           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9385           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9386           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9387           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9388           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9389           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9390           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9391           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9392           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9393           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9394           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9395           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9396           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9397           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9398           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9399           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9400           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9401           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9402           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9403           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9404           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9405           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9406           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9407           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9408           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9409           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9410           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9411           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9412           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9413           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9414           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9415           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9416           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9417           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9418           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9419           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9420           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9421           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9422           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9423           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9424           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9425           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9426           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9427           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9428           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9429           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9430           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9431           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9432           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9433           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9434           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9435           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9436           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9437           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9438           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9439           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9440           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9441           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9442           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9443           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9444           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9445           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9446           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9447           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9448           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9449           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9450           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9451           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9452           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9453           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9454           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9455           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9456           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9457           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9458           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9459           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9460           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9461           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9462           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9463           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9464           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9465           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9466           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9467           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9468           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9469           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9470           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9471           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9472           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9473           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9474           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9475           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9476           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9477           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9478           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9479           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9480           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9481           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9482           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9483           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9484           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9485           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9486           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9487           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9488           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9489           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9490           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9491           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9492           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9493           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9494           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9495           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9496           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9497           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9498           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9499           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9500           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9501           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9502           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9503           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9504           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9505           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9506           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9507           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9508           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9509           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9510           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9511           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9512           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9513           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9514           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9515           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9516           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9517           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9518           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9519           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9520           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9521           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9522           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9523           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9524           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9525           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9526           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9527           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9528           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9529           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9530           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9531           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9532           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9533           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9534           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9535           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9536           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9537           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9538           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9539           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9540           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9541           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9542           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9543           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9544           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9545           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9546           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9547           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9548           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9549           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9550           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9551           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9552           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9553           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9554           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9555           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9556           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9557           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9558           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9559           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9560           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9561           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9562           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9563           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9564           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9565           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9566           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9567           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9568           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9569           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9570           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9571           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9572           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9573           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9574           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9575           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9576           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9577           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9578           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9579           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9580           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9581           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9582           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9583           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9584           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9585           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9586           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9587           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9588           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9589           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9590           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9591           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9592           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9593           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9594           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9595           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9596           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9597           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9598           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9599           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9600           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9601           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9602           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9603           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9604           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9605           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9606           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9607           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9608           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9609           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_9610           NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9611           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9612           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9613           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9614           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9615           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9616           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9617           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9618           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9619           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9620           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9621           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9622           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9623           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9624           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9625           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9626           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9627           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9628           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9629           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9630           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9631           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9632           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9633           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9634           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9635           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9636           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9637           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9638           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9639           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9640           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9641           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9642           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9643           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9644           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9645           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9646           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9647           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9648           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9649           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9650           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9651           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9652           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9653           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9654           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9655           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9656           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9657           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9658           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9659           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9660           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9661           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9662           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_9663           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9664           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9665           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9666           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9667           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9668           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9669           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9670           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9671           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9672           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9673           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9674           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9675           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9676           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9677           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9678           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9679           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9680           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9681           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9682           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9683           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9684           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9685           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9686           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9687           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9688           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9689           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9690           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9691           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9692           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9693           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9694           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9695           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9696           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9697           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9698           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9699           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9700           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9701           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9702           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9703           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9704           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9705           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9706           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9707           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9708           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9709           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9710           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9711           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9712           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9713           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9714           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9715           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9716           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9717           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9718           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9719           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9720           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9721           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9722           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9723           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9724           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9725           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9726           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9727           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9728           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9729           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9730           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9731           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9732           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9733           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9734           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9735           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9736           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9737           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9738           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9739           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9740           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9741           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9742           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9743           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9744           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9745           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9746           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9747           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9748           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9749           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9750           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9751           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9752           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9753           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9754           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9755           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9756           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9757           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9758           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9759           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9760           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9761           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9762           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9763           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9764           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9765           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9766           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9767           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9768           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9769           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9770           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9771           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9772           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9773           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9774           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9775           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9776           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9777           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9778           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9779           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9780           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9781           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9782           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9783           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9784           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9785           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_9786           NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9787           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9788           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9789           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9790           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9791           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9792           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9793           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9794           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9795           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9796           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9797           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9798           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9799           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9800           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9801           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9802           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9803           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9804           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9805           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9806           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9807           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9808           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9809           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9810           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9811           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9812           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9813           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9814           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9815           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9816           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9817           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9818           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9819           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9820           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9821           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9822           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9823           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9824           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9825           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9826           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9827           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9828           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9829           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9830           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9831           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9832           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9833           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9834           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9835           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9836           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9837           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9838           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9839           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9840           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9841           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9842           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9843           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9844           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9845           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9846           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9847           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9848           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9849           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9850           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9851           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9852           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9853           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9854           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9855           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9856           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9857           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9858           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9859           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9860           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9861           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9862           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9863           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9864           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9865           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9866           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9867           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9868           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_9869           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9870           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9871           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9872           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9873           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9874           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9875           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9876           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9877           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9878           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9879           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9880           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9881           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9882           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9883           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9884           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9885           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9886           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9887           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9888           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9889           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9890           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9891           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9892           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9893           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9894           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9895           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9896           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9897           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9898           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9899           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9900           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9901           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9902           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9903           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9904           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9905           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9906           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9907           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9908           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9909           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9910           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9911           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9912           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9913           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9914           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9915           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9916           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9917           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9918           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9919           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9920           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9921           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9922           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9923           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9924           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9925           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9926           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9927           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9928           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9929           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9930           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9931           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9932           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9933           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9934           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9935           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9936           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9937           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9938           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9939           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9940           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9941           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9942           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9943           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9944           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9945           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_9946           NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9947           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9948           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9949           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9950           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9951           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9952           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9953           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9954           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9955           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9956           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9957           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9958           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9959           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9960           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9961           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9962           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9963           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9964           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9965           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9966           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9967           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9968           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9969           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9970           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9971           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9972           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9973           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9974           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9975           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9976           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9977           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_9978           NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9979           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9980           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9981           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9982           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9983           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9984           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9985           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9986           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9987           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9988           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9989           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9990           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9991           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9992           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9993           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_9994           NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9995           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9996           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_9997           NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_9998           NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_9999           NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10012          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10023          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10025          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10026          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10027          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10030          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10033          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10035          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10039          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10045          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10046          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10048          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10050          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10054          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10056          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10061          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10062          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10065          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10066          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10071          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10073          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10074          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10075          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10077          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10078          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10079          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10080          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_10082          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10084          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10086          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10087          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10088          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10089          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10090          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10093          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10095          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10096          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10099          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10103          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10105          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10106          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10107          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10108          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10109          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10112          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10116          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10119          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10120          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10122          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10123          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10126          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10135          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10137          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10148          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10149          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10153          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10160          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10161          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10166          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10179          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10180          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10181          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10188          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10191          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10192          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10199          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10200          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10204          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10205          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10207          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10214          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_10219          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10224          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10225          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10227          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10232          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10237          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10238          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10240          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10249          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_10254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10261          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10262          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10265          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_10271          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10273          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10278          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10285          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10291          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10298          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10305          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10309          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10315          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10322          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10323          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10324          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10334          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10337          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10338          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10349          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10354          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10360          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10361          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10366          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10367          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10369          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10371          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10374          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10380          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10381          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10383          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10386          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10388          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10389          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10390          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_10393          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10396          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10401          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10402          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10403          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10407          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10409          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10416          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10418          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10421          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10425          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10426          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10427          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10429          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10430          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10431          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10432          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10433          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10436          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10440          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10442          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10452          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10454          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10456          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10459          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10461          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10462          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10476          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10480          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10488          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10489          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10491          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10498          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10507          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10512          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10513          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10515          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10518          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10528          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10530          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10537          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10538          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10549          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10557          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10559          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10563          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10568          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10574          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10576          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10580          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10583          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10589          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10592          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10595          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10596          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10597          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10601          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10605          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10608          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10609          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10612          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10613          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10616          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10635          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10636          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10641          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10646          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10650          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10655          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10659          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10666          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10675          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10676          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10677          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10683          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10687          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10690          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10692          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10699          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10713          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10722          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10729          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10736          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10738          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10742          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10743          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10745          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10750          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10752          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10754          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10760          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10761          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10762          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10763          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10765          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10767          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10772          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10779          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10783          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10784          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10788          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10792          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10793          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10794          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10795          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10796          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10797          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10798          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10802          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10806          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10811          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10812          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10815          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10820          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10821          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10822          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10825          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10827          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10830          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10831          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10834          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10836          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10838          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10840          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10841          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10856          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10858          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10859          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10867          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10868          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10877          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10878          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10879          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10880          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10888          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10894          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10901          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10902          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10905          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10913          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10922          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10926          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10931          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10932          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10939          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10940          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10941          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10948          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10949          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10953          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10959          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10962          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10963          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10964          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_10971          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10977          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10981          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10986          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10987          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10990          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10991          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10992          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_10994          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_10995          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_10996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_10997          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_10998          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_10999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11006          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11007          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11009          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11015          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11018          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11031          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11033          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11046          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11048          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11050          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11052          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11054          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11061          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11063          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11068          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_11070          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11078          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11082          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11084          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11091          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11108          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11114          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11116          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11119          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11120          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11123          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11124          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11127          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11133          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11137          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11141          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11146          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11148          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11149          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11150          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11156          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11158          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11164          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11166          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11168          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11173          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11174          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11177          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11181          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11189          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_11194          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11195          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11201          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11205          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11206          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11214          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11216          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11224          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11228          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11237          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11243          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11249          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11266          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11271          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11272          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11273          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11278          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11290          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11294          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11298          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11325          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11326          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_11327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11337          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11339          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11340          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11348          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11357          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11368          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11371          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11374          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11386          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11389          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11390          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11393          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11405          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11406          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11407          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11408          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11417          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_11422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11428          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11440          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11446          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11449          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11454          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11460          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11464          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11467          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11469          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11482          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11484          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11490          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11494          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11497          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11499          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11506          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11507          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11509          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11520          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11529          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11536          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_11539          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11542          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11549          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11551          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11554          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11555          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11560          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11565          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11567          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11573          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11574          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11576          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_11577          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_11578          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11583          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11585          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11589          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11591          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_11594          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11604          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11605          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11615          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11620          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11622          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_11624          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11629          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11630          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11635          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11636          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11640          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11644          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11645          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11646          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11652          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11656          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11663          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11666          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11668          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11669          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11671          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11673          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11677          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11695          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11698          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11706          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11717          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11719          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_11722          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11726          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11728          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11752          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11754          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11758          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11768          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11773          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11774          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11776          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11779          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11784          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11785          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11801          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11802          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11803          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11807          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11808          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11815          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11817          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11819          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11820          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11826          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11828          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11830          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11832          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11839          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11844          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11846          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11855          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11856          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11859          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11860          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11874          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11875          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11876          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11880          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11884          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11886          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11887          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11889          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11890          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11893          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11897          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11902          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11910          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11914          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11917          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11919          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11924          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11928          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11929          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_11930          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11938          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11940          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11950          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11958          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_11974          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11980          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_11987          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_11989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_11997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_11998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_11999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12000          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12004          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12005          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12006          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12010          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12014          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12015          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_12016          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12018          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12020          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12027          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12029          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12032          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_12037          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12039          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12049          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12052          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12064          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12069          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12072          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12082          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12094          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12100          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12108          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_12118          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12120          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12122          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12123          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12125          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12126          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12128          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12132          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12134          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12139          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12141          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12142          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12149          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12154          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12155          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12158          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12159          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12166          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12168          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12174          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12178          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12187          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12189          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_12193          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12195          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12200          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12205          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12208          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12220          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_12223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12227          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12235          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12236          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12241          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12244          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12245          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12250          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12254          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12255          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12261          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12266          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12276          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12291          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12292          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12325          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12327          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12328          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12329          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12335          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12336          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12340          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12341          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12346          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12349          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12353          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12360          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12366          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12370          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12371          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12372          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12373          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12376          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12377          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12386          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12389          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12393          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12401          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12409          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12410          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12414          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12424          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12427          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12436          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12438          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12456          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12458          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12461          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12465          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12476          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12479          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12481          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12482          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_12484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12488          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12502          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12508          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12510          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_12512          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12513          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12515          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12529          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12530          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12543          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12545          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12553          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12567          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12569          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12571          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12590          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12593          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12595          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12599          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12602          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_12603          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12609          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12622          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12624          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12625          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12632          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12634          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12639          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12640          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12647          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12649          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12650          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12653          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12654          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12657          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12668          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12679          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12689          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12693          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12700          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12701          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12706          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12707          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12711          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12721          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12722          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12723          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12729          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12735          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12742          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12745          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12747          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12750          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12756          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12771          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12772          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12774          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12777          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12779          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12780          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12784          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12790          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12801          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_12802          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12805          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12812          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12813          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12814          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12829          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12835          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12838          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12839          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12840          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12841          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12842          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12846          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12849          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12860          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_12880          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12891          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12901          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12903          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12913          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12914          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12916          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12917          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12918          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12923          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12927          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12930          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12931          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12933          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12938          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12944          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_12957          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12959          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12962          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12976          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_12981          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12984          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12985          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_12993          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12994          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_12997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_12998          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_12999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13004          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13005          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13013          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13015          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13017          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13018          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13022          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13023          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13031          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13036          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13042          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13043          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13051          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13052          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13072          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13083          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13084          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13090          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13096          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13099          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13101          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13102          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13103          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13106          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13112          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13113          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13122          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13127          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13129          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13135          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13143          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13149          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13151          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_13152          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13156          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13159          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13160          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13163          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13167          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13176          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13177          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13183          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13184          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_13188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13189          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13197          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13202          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13213          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13219          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13224          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13225          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13229          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13233          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13240          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13241          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13242          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13262          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13268          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13269          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13271          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13272          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13273          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13278          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13280          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13283          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13285          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13286          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13288          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13292          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13294          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13295          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13299          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13302          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13310          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13311          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13321          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13326          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13334          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13341          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13344          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13351          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13352          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13354          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13357          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13358          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13365          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13375          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13376          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13381          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13389          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13405          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13407          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13408          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13411          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13414          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13425          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13428          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13429          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13433          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13440          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13443          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13444          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13445          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13446          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13448          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_13462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13465          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13478          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13480          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13491          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13492          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13497          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13499          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13504          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13527          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13530          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13531          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13532          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_13537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13541          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13550          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13552          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13553          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13560          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13566          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13569          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13573          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13585          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13593          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13597          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13601          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13604          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13620          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13622          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13624          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13627          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13634          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13645          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13651          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13653          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13656          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13659          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13663          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13673          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13674          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13676          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13688          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13697          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13698          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13700          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13701          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13705          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13706          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13708          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13711          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13717          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13721          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13724          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13732          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13734          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13735          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13741          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13742          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13745          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13750          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13752          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13755          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13761          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13762          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13763          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13766          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13767          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13772          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13787          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13800          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13801          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13802          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13803          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13806          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13810          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13814          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13815          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13819          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13820          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13829          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13835          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13836          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13839          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13841          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13842          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13846          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13849          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13854          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13860          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13865          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_13867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13869          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13872          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_13874          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13878          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13879          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13882          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13885          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13889          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13894          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13897          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13899          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13900          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13902          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13903          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13913          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13914          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_13919          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13923          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13927          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13928          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13929          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13930          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13934          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13941          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13951          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13966          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13968          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13973          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13976          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13977          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13986          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_13993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_13994          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_13995          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_13997          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_13998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_13999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14001          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14004          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14010          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14011          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14015          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14016          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14022          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14023          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14025          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14028          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14040          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14044          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14061          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14064          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14071          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14072          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14073          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14076          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14078          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_14079          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14084          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14085          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14087          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14091          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14093          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14108          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14110          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_14129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14132          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14143          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14144          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14147          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14150          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14152          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14155          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14156          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14157          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14159          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14160          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14169          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14181          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14184          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14197          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14199          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14201          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14202          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14210          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14215          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14218          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14219          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14232          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14235          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14238          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14242          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14249          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14255          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14256          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14258          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14263          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14270          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14276          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14286          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14288          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_14290          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14295          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14298          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14308          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14312          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14315          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14320          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14323          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14325          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14326          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14329          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14330          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14332          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14333          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14335          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14340          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14341          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14346          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14353          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14355          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14356          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14357          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14363          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14367          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14368          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14369          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14370          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14371          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14379          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14386          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14393          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14399          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14402          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14403          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14407          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14408          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14421          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14425          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14426          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14427          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14429          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14438          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14439          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14442          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14444          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14447          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14455          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14457          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14460          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14475          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14477          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14487          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14488          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14489          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14490          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14492          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14493          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14494          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14497          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14504          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14505          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14507          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14511          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14520          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14521          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14526          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14534          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14545          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14547          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14551          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14552          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14553          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14558          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14560          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14561          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14562          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14564          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14569          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14573          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14575          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14583          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14599          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14605          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14607          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14612          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14627          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14630          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14631          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14632          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14633          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14636          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14641          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14646          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14649          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14651          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14652          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14657          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14658          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14662          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14665          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14673          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14676          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14684          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14686          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14687          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14691          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14693          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14696          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14697          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14698          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14700          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14708          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14712          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14719          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14723          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14724          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14725          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14732          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14733          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14734          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14736          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14737          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14742          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14743          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14749          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14754          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_14769          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14774          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14776          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14780          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14783          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14788          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14790          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14800          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14801          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14802          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14804          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14808          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14810          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14813          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14817          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14819          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14820          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14822          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14824          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14832          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14834          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14835          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14839          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14843          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14844          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14846          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14850          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14870          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14872          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14879          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14889          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14893          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14895          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14899          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14901          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14903          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14905          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14917          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14919          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14920          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_14928          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_14929          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14932          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14933          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14934          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14936          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14950          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_14951          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14953          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14959          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14961          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14969          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14972          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14974          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14977          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14981          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_14986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14990          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_14991          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_14997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_14998          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_14999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15002          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15013          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15014          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15016          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15032          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15035          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15044          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15045          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15048          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15052          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15056          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15059          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15060          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15061          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15063          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15064          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15066          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15067          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15075          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15081          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15082          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15083          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15091          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15093          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15096          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15099          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15100          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15101          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15106          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15108          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15109          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15113          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15114          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15115          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15119          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15122          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15125          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15129          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15134          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15135          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15137          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15142          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15143          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15144          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15150          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15156          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15161          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15163          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15164          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15166          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15169          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15170          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15174          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15176          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15178          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15180          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15181          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15183          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15189          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15191          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15198          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15199          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15209          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15210          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15211          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15213          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15214          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15216          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15219          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15225          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15227          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15240          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15253          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15255          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15256          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15262          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15273          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15275          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15288          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15289          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15295          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15303          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15307          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15308          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15310          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15311          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15318          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15323          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15328          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15331          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15334          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15335          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15341          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15342          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_15344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15345          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15349          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15350          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15356          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15357          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15358          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15361          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15363          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15372          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15378          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15379          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15383          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15388          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15389          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15391          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15396          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15400          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15416          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15418          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15432          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15433          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15437          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15439          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15442          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15443          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15444          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15449          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15455          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15469          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15481          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15485          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15486          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15492          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15495          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15499          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15500          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15503          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15505          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15507          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15512          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15513          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15523          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15525          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15529          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15530          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15536          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15538          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15543          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15556          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15561          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15564          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15568          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15573          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15579          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15587          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15596          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15601          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15604          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15608          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15611          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15618          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15622          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15630          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15632          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15635          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15637          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15641          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15647          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15648          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15656          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15657          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15662          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15663          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15692          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15711          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15722          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15723          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15724          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15725          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15726          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15729          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15735          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15742          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_15744          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15745          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15748          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15749          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15761          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15764          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15767          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15775          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15791          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15795          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15799          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15802          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15803          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_15814          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15815          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15819          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15820          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15821          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15825          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15831          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15846          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15851          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15856          NAME ON FILE       ADDRESS ON FILE                                                      CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15860          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15873          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15893          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15895          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15897          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_15900          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_15904          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15905          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15912          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15919          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15923          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15926          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15927          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15928          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15929          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15930          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15937          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15940          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15945          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15946          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15948          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15949          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15953          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15957          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_15959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15964          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15965          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15966          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15969          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_15971          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15974          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15978          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15982          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_15983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_15985          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15987          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_15997          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_15998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_15999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16001          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16004          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16007          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16010          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16014          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16016          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16027          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16036          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16047          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16048          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16050          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16053          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16054          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16060          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16062          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16066          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16069          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16084          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16091          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16096          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16114          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16121          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16123          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16126          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16131          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16138          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16139          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16142          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16143          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16144          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16148          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16152          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16156          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16161          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16163          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16168          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16185          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16187          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16188          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16190          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16191          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16193          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16198          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16201          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16206          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16214          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16219          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16220          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16226          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16230          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16240          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16241          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16247          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16248          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16249          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16250          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16253          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16261          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16262          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16267          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16268          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16274          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16279          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16284          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16285          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16286          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16288          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16302          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16320          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16323          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16326          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16330          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16332          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16337          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16339          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16344          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16350          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16352          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16356          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16360          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16364          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16370          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16372          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16378          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16381          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16382          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16390          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16393          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16400          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16401          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16406          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16407          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16422          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16429          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16434          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16437          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16440          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16447          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16448          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16449          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16452          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16453          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16467          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16471          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16473          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16474          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16476          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16477          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16482          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16485          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16490          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16492          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16497          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16500          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16504          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16507          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16511          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_16513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16517          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16523          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16524          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16526          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16547          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16550          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16553          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16554          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16556          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16558          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16559          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16561          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16565          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16566          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16567          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16574          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16581          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16586          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16589          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16590          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16596          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16597          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16598          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16604          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16609          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16610          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16612          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16621          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16623          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16625          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16626          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16628          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16633          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16634          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16635          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16637          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16640          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16641          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16654          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16655          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16664          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16667          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16671          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16683          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16684          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16687          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16688          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16690          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16694          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16696          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16697          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16705          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16707          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16713          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16722          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16723          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16725          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16727          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16729          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16733          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16736          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16740          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16742          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16745          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16747          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16753          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16755          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16756          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16757          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16758          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16759          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16766          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16768          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16771          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_16778          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16780          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16783          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16784          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16789          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16793          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16798          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16801          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_16806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16808          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16809          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16811          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16814          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16819          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16820          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16821          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16835          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16836          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16851          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16854          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16860          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16861          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16863          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16864          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16871          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16874          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16880          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16883          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16885          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16887          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16893          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16896          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16898          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16901          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16902          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16906          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16908          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_16912          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16913          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16914          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16915          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16917          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16919          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16920          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_16922          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16930          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16931          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16934          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16935          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16940          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16941          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16943          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_16948          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16958          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16959          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16962          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16970          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16972          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_16973          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16974          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_16980          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_16993          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_16996          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_16998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_16999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17004          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17007          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17013          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17014          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17022          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17037          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17038          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17039          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17042          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17044          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17045          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17046          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17050          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17060          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17062          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17064          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17071          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17073          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17087          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17093          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17098          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17099          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17101          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17102          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17103          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17106          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17108          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17109          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17110          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17113          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17119          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17123          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17124          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17129          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17130          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17134          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17144          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17147          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17148          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17149          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17150          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17155          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17160          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17172          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17174          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_17180          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17183          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17185          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17191          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17199          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17202          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17205          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17208          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17211          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17216          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17224          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17230          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17231          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17232          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17236          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17237          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17241          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17249          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17250          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17255          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17261          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17267          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17269          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17270          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17271          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17281          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17282          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17293          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17294          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_17295          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17298          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17300          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17301          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17302          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17304          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17318          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17320          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17328          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17340          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17342          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17344          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17350          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17351          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17352          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17356          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17360          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17361          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17368          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17373          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17379          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17381          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17384          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17385          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17387          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17388          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17395          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17398          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17411          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17413          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17414          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17415          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17416          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17417          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17423          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17425          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17426          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17430          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17434          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17439          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17441          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17442          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17443          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17446          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17453          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17455          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17462          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17465          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17466          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17468          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17469          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17480          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17482          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_17484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17486          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17487          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17491          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17495          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17497          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17503          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17506          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17509          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17512          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17516          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17523          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17526          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_17528          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17534          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17537          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17538          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17540          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17541          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17542          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17543          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17550          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17557          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17561          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17565          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17569          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_17573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17574          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17579          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17585          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17586          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17593          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17598          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17599          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17604          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17606          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17614          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17616          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17618          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17651          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17654          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17663          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17669          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17670          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17673          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_17681          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17684          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17687          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_17696          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17700          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17709          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17710          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17714          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17720          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17726          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17729          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17731          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17733          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_17736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17745          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17752          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_17753          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17754          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17758          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17759          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17762          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17780          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17787          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17789          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17791          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17793          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17795          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17798          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17799          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17801          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_17802          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17809          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17810          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_17815          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17816          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17820          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17821          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17827          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17828          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17829          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17831          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17833          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17836          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17841          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17842          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17844          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_17846          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17847          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17849          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17850          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17857          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17861          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17863          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17866          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17869          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17882          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17884          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17901          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17905          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_17910          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_17911          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17917          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17920          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17925          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17927          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17929          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_17932          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17941          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17943          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17946          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17947          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17948          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17950          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17954          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17958          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17966          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17976          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17977          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17978          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17985          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17987          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17990          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_17992          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17993          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_17994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_17995          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_17997          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_17999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18003          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18004          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18005          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18006          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18007          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_18013          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_18014          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18022          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18028          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18029          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_18040          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18043          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18052          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18054          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18056          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18068          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18069          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18071          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18072          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18077          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18078          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18083          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18085          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18090          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18091          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18093          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18106          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18110          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18114          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18121          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18122          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18123          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18125          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18127          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18128          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18129          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18132          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18139          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18141          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18143          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18144          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18152          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18153          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18154          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18155          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18163          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18165          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18167          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18171          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18175          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18182          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18188          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18192          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18198          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18199          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18203          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18212          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18219          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18221          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18222          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18225          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18229          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18233          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18239          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18240          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18243          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18245          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18249          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18250          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18251          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18253          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18255          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18256          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18270          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18273          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18275          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18288          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18291          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18293          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18300          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18306          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18310          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18315          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18321          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18327          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18328          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18330          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18333          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18353          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18358          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18363          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18375          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18376          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18377          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18378          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18389          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18390          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18393          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18402          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18408          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18417          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18418          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18421          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18433          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18434          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18446          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18450          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18454          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18455          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18456          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18459          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18463          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18480          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18481          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18486          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18490          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18491          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18500          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18501          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18511          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18512          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18516          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18517          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18518          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18519          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18521          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18522          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18532          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18539          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18544          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18546          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18547          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18549          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18551          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18556          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18562          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18563          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18564          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18569          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18573          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18576          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18580          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18591          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18599          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18608          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18612          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18623          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18625          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18632          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18635          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18645          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18647          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18653          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18654          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18656          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18659          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18660          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18669          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18671          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18672          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18686          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18687          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18689          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18695          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18700          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18706          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18707          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18708          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18712          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18713          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18714          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18715          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18716          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18717          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18718          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18725          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18728          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18729          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18732          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18733          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18739          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18744          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18746          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18754          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18756          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18757          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18759          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18761          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18764          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18772          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18783          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18785          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18787          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18790          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18792          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18793          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18794          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18795          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18797          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18800          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18802          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18805          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18812          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18813          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18820          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18824          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18826          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18829          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18830          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18831          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18835          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18840          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18841          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18848          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18854          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18859          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18864          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18867          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18868          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18869          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18873          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_18879          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18880          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18882          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18884          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18885          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18888          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18890          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18894          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18900          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18903          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18905          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18907          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18908          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_18910          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18911          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18912          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18915          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18919          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18923          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18929          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18935          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18940          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18943          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18944          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18947          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18952          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18956          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18957          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18961          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18962          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18966          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18969          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18970          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18971          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_18974          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_18975          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18977          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18978          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18980          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_18991          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18993          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_18994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_18996          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_18999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19004          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19005          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19007          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19009          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19010          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19011          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19017          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19018          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19019          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19021          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19022          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19026          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19032          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19036          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19038          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19040          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19041          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19042          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19055          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19056          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19059          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19061          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19063          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19065          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19075          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19076          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19079          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19080          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19082          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19083          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19084          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_19087          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19088          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19095          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19106          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19116          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19126          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19132          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19133          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19137          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19138          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19141          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19142          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19143          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19150          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19151          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19155          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19156          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19158          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19160          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19165          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19168          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19173          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19180          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_19188          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19189          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19191          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19194          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19199          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19201          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19206          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19207          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19208          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19209          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19211          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19214          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19220          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19222          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19223          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19226          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19227          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19230          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19232          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19233          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_19235          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19240          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19244          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19250          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19251          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19253          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19254          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19267          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19268          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19269          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19274          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19276          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19278          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19294          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19295          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19303          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19313          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19327          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19328          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19329          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19333          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19337          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19344          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19352          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19359          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19362          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19364          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19366          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19372          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19375          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19379          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19381          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19383          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19386          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19388          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19389          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19395          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19397          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19398          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19399          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19402          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19405          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19417          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19418          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19419          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19420          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19437          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19438          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19442          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19453          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19455          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19456          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19458          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19462          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19463          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19469          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19470          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_19482          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19483          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19484          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19491          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19494          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19499          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19504          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19505          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19508          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19517          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19518          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19527          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19529          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19534          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19537          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19539          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19545          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19546          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19553          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19555          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19557          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19558          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19560          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19563          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19565          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19575          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19583          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19587          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19589          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19592          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19606          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19610          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19612          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19613          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19618          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19624          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19632          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19635          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19639          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19646          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19647          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19649          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19660          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19661          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_19663          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19667          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19669          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19673          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19674          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19679          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19690          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19696          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19699          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19705          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_19708          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19713          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19716          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19722          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19745          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19748          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19749          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19750          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19754          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19757          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19761          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19771          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19772          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19776          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19785          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19787          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19790          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19803          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19811          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19813          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19816          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_19821          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19822          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19836          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19842          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19844          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19848          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19849          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19850          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19851          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19860          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19861          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19872          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19879          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19882          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19894          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19898          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19899          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19903          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19905          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19919          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19921          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19931          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19933          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19940          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19941          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19943          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19949          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19957          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19958          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19961          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19969          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19976          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_19980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19984          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_19988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19992          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_19996          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_19997          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_19998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_19999          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20010          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20014          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20015          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20020          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20025          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20027          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20030          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20031          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20033          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20036          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20041          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20043          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20048          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20054          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20056          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20061          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20069          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20073          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20074          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20084          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20085          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20087          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20093          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20099          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20101          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20107          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20109          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20110          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20116          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20117          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20120          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20126          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20130          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20132          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20133          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20135          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20137          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20139          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20140          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20142          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20143          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20146          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20147          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20150          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20151          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20153          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20155          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20160          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20161          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20164          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20165          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20167          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20170          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20173          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20178          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20185          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20191          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20194          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20197          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20199          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20205          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20210          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_20211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20218          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20225          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20226          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20240          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20255          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20257          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20261          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20262          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20263          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20264          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20278          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20279          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20294          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20295          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20300          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20309          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20317          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20320          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20321          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20327          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20333          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20339          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20342          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20343          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20349          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20352          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20353          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20354          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20360          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20364          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20367          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20368          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20370          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20372          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20381          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20382          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20397          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20399          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20401          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20402          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20404          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20406          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20415          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20417          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20430          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20434          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20436          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20440          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20443          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20444          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20448          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20452          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20453          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20454          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_20464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20465          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20469          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20475          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20476          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20477          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20481          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20483          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20486          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20488          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20489          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20490          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20493          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20498          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20505          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20511          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20513          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20514          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20520          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20522          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20524          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20534          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20538          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20542          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20543          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20546          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20547          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20552          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20559          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20561          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20562          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20564          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20566          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20567          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20568          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20574          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20582          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20583          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20586          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20590          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20592          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20595          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20599          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20601          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20618          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20623          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20624          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20625          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20628          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20629          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20634          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20637          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20649          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20653          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20654          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20672          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20679          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20689          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20690          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20701          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_20715          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20719          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20722          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20735          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20742          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20756          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20763          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20765          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20766          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20767          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20768          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20773          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20775          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20780          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20791          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20794          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20795          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20812          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20814          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20815          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20821          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20824          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20826          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20828          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20829          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20830          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20832          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20839          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20841          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20846          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20850          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20851          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20855          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20857          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20859          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20871          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20881          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20895          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20903          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20906          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20915          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20923          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20928          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20929          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20933          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20937          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20938          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20940          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20944          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20958          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20965          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20968          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_20969          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20978          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_20980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20982          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20984          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_20995          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_20996          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_20998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_20999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21004          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21016          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21018          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21020          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21024          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21028          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21030          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21033          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21047          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21060          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21061          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21065          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21066          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21067          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21076          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21078          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21081          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21082          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21088          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21097          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21099          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21105          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21106          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21107          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21110          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21113          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21119          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21126          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21132          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21135          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21143          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21155          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21158          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21159          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21165          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21167          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21179          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21180          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21181          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21188          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21189          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_21190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_21197          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21198          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_21207          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21210          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21211          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21213          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21215          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21216          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21222          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_21228          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21229          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21231          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21245          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_21247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21248          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21250          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21261          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21276          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21278          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21288          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21293          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21303          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21308          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21310          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21311          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21314          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21321          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21327          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21329          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21331          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_21342          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21343          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21350          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21354          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21366          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21367          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21370          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21374          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21378          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21382          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21388          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21389          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21390          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21391          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21392          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21393          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21396          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21398          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21427          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21429          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21433          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21435          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21443          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21445          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21446          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21453          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21456          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21463          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21466          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21468          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21470          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21477          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21478          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21479          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21480          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21487          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21493          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21494          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21500          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21504          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21509          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21510          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21511          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_21512          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21513          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_21515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21520          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21524          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21525          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21533          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_21535          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21537          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21540          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21548          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21550          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21553          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21558          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21559          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21560          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21562          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21566          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21574          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21575          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21586          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21589          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21592          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21596          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21600          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21604          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21608          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21610          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21623          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21626          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21645          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21646          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21650          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21651          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21652          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21654          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21661          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21663          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21664          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21668          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21669          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21677          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21683          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21687          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21693          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21696          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21699          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21701          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21705          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21707          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21708          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21714          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21716          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21719          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21721          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21725          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21726          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21727          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21728          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21729          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21746          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21750          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21762          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21763          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21767          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21770          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21773          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21777          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21785          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21788          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21789          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21790          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_21796          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21801          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21802          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21810          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21811          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21820          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21822          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21824          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21826          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21832          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21841          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21844          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21847          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21848          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21853          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21854          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21855          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21864          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21884          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21885          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21890          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21893          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_21896          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21899          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21901          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21903          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21904          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21906          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21913          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21914          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21915          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21928          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21932          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21937          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21940          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21945          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21948          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21951          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21957          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_21963          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_21966          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21968          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21969          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21972          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21973          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_21978          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_21980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_21992          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_21998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_21999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22011          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22018          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22028          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22030          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22031          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22044          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22050          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22054          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22055          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22057          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22059          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22062          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22066          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22075          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22083          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22093          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22098          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22099          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22102          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22106          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22107          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22110          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22114          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22120          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22121          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22126          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22130          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22132          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22133          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22134          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22140          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22141          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22145          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22147          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22155          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22160          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22162          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22163          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22167          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22168          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22169          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22170          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22172          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22176          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22180          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22183          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22185          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22186          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22188          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22191          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22195          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22197          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22198          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22201          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22202          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22208          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22211          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22216          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22228          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22235          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22237          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22239          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22240          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22243          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22254          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_22258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_22259          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22260          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22281          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22286          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22289          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22290          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22295          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22296          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22298          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22301          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22309          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22317          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22321          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22323          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22328          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_22329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22330          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22331          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22332          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22337          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_22339          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22344          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22346          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22349          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22355          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22359          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22362          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22364          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22367          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22371          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22373          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22376          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22380          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22386          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22387          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22389          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22390          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22392          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22400          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22410          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22416          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22428          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22429          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22436          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22439          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22441          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22442          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22465          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22467          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22472          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22477          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_22480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22481          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22487          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22494          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22495          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22497          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22499          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22509          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22517          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22518          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22520          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22525          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22531          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22541          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22543          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22545          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22546          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22551          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22556          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22558          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22564          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22566          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22574          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22583          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22586          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22589          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22592          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22593          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22596          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22609          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22614          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22618          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22624          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22628          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22630          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22640          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22641          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22647          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22654          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22655          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22658          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22667          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22669          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22676          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22683          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22684          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22690          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22696          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22697          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22703          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22709          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22725          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22726          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22728          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22734          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22737          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22743          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22746          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22750          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22753          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22755          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22757          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22762          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22763          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22767          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22769          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22771          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_22789          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22792          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22802          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22806          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22807          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22810          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22812          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22813          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22815          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22819          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22823          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22824          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22828          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22829          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22831          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22835          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22836          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22844          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22845          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22846          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22850          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22851          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22853          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22859          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22870          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22871          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22873          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22874          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22880          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22882          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22898          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22902          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22903          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22910          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22911          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22913          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22922          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_22931          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22940          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22942          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22948          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22957          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_22959          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22962          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22963          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22966          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_22967          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22970          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22971          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22977          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22985          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_22996          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_22997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_22998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_22999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23002          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23010          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23015          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23016          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23021          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23024          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23025          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23032          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23045          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23049          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23054          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23061          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23065          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23068          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23075          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23076          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_23078          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23081          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23085          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23087          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23089          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23093          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23102          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23113          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23114          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23117          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23119          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23132          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23135          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23138          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23140          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23141          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23143          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23144          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23148          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23149          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23151          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23154          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23155          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23165          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23167          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23168          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23172          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23175          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_23176          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23188          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23191          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23199          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23202          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23211          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23212          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23214          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23217          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23218          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23219          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23220          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23224          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23225          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23233          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23236          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23237          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23238          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23241          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23243          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23249          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23253          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23258          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23270          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23271          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_23276          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23281          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23292          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23293          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23295          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23298          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23305          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23308          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23311          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23328          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23330          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23338          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23350          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23352          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23357          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23359          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23361          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23362          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23364          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23366          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23368          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23376          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_23390          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23397          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23402          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23405          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23410          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23412          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23414          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23423          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23424          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23429          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23431          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23435          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23440          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23441          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23443          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23454          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23457          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23458          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23459          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23468          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23469          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23475          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23481          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23482          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23496          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23497          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23499          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23506          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23507          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23514          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23517          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23519          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23520          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23522          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23527          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23531          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23537          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23561          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23564          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23565          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23569          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23572          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23575          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23586          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23587          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23595          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23601          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23603          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23604          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23610          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23612          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23622          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23626          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23630          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23632          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23634          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23635          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23645          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23649          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23655          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23657          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23658          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23669          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23670          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23672          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23675          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23687          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23692          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23694          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23697          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23698          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23699          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23701          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23703          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23708          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23712          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23713          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23717          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23718          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23723          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23724          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23725          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23727          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23729          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23734          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23735          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23736          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23737          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23738          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23746          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23749          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23750          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23751          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23753          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23754          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23757          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23764          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23766          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_23769          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23775          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23776          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23783          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23785          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23790          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23800          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23802          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23805          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23807          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_23811          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23822          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23842          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23844          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23853          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23854          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23856          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23858          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23873          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23878          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23880          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23891          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23893          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23901          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_23913          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23919          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23922          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_23926          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23935          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23937          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23940          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23945          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23946          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23949          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23950          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23952          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_23953          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23958          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23959          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23970          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23977          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_23979          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23981          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_23985          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_23996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_23998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_23999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24004          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24012          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24015          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_24018          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24019          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24027          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24030          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24032          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24033          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24038          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24040          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24048          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24056          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24060          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24068          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24071          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24082          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24084          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24093          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24094          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24103          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24106          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24107          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24114          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24119          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24120          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24129          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24130          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24134          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24137          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24141          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24143          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24144          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24145          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24146          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24150          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24156          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24159          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24160          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24169          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24172          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24186          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24204          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24205          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24215          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24219          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24222          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24223          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24225          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24226          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24227          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24228          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24231          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24235          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24238          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24250          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24253          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24262          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24263          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24264          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24265          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24266          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24268          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24269          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24271          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24275          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24287          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24290          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24293          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24302          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24308          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24311          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24326          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24327          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24328          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24329          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24332          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24333          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24336          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24341          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24343          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24356          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24364          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24365          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24381          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24384          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24385          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24386          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24388          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24389          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24390          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_24395          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24398          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24399          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24401          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24410          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24414          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24418          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24429          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24430          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24431          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24441          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24446          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24457          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24460          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24461          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_24462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24465          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24468          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24481          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24482          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24497          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24500          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_24506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24507          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24520          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24521          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24524          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24527          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_24530          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24536          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24539          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24540          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24544          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24548          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24549          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24551          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24553          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24554          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24555          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24556          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24560          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24562          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24567          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_24568          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_24573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24577          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24593          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24599          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24601          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24602          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24604          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24615          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24616          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24618          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24635          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24640          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24643          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24646          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24647          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24651          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24654          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24656          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24657          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24664          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24672          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24676          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_24697          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24700          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24701          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24702          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_24704          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24705          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24706          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24709          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24711          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24713          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24714          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24715          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24729          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_24730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24734          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_24735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24742          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24748          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24761          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24762          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24766          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24767          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24770          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24771          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24773          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24775          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24780          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24785          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24791          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24794          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24795          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_24798          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24802          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24806          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24807          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24813          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24830          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24833          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24839          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24842          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24844          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24847          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24850          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24854          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_24861          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24875          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24880          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24881          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24882          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24889          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24893          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24904          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24907          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24910          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24911          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24918          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24927          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24933          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24937          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24940          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24941          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24948          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24953          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24959          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24965          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24966          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24970          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24971          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24973          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24974          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24985          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_24990          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_24992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_24993          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24994          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_24995          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_24997          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_24999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25003          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25007          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_25019          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25020          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25025          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25042          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25044          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25045          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25048          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25050          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25067          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25071          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25075          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25082          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25084          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25094          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25096          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25101          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25106          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25118          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25123          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25125          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25127          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25130          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25136          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25138          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25142          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25143          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25145          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25146          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25160          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25163          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25165          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25168          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25176          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25180          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25181          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25189          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25194          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25197          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25199          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_25201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25210          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25223          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_25235          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25237          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25241          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25244          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25256          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_25268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25269          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25273          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25275          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25276          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25277          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25281          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25283          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25285          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25289          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25290          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25291          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25292          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25293          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25295          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25300          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25303          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25314          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25315          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25317          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25318          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25321          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25325          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25328          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25330          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25333          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25339          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25342          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25347          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25350          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25352          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25354          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25357          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25360          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25362          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25365          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25366          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25367          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25380          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25384          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25388          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25396          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25399          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25401          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25405          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_25407          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25408          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25413          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25414          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25416          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_25423          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25427          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25430          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25434          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25440          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25445          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25446          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25447          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25449          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25452          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25453          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25454          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25455          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25458          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25460          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25466          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25467          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25470          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25474          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25475          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25476          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25482          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25484          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25493          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25500          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25506          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25507          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25511          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25515          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25516          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25527          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25531          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25538          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25540          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25545          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25553          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25555          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25556          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25565          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25573          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25576          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25586          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25590          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25605          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25608          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25609          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25612          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25615          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25616          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25627          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25635          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25637          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25644          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25645          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25646          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25647          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25658          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25663          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25668          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25669          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25670          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25672          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25676          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25681          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25684          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25686          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25690          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_25696          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25697          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25698          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25701          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25702          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25705          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25712          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_25713          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25714          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25715          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25716          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25717          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25719          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25724          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25741          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25747          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25749          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25756          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25758          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25761          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25762          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25768          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25778          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25779          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25782          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25784          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25789          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25790          NAME ON FILE       ADDRESS ON FILE                                                      CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25799          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25802          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25815          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25816          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25819          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25821          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25829          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25831          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25833          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25836          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25839          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25842          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25844          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25853          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25854          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25859          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25869          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25870          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25875          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25880          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25885          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25887          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25888          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25894          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25897          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25899          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_25907          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25909          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_25912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25916          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25919          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25921          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25923          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25925          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25927          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25931          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25935          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25937          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25939          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25940          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25946          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25947          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25951          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25957          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25960          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25978          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_25980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25985          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25991          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_25992          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_25993          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_25994          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_25998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_25999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26010          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26011          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26014          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26020          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26023          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26027          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26029          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26032          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26037          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26040          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26047          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26051          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26052          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26056          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26061          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26063          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26065          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26066          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26073          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26077          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26084          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26088          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26109          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26110          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26119          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26122          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26124          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26126          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26132          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26133          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26138          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26139          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26141          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26143          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26145          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26149          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26150          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26152          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26155          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26163          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26167          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26169          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26172          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26181          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26199          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26202          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26206          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26215          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26221          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26227          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26229          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26231          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26237          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26242          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26247          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26255          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26266          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26273          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26274          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26279          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26283          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26285          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26287          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26291          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26293          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26299          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26304          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26318          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26319          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26320          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26324          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26325          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26327          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_26329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26332          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26339          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26341          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26345          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26347          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26349          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26359          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26371          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26373          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26381          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26382          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26390          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26391          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26396          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26397          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26408          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26410          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26422          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26426          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26427          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26445          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26446          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26455          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26460          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26461          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26463          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26467          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26469          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26470          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26477          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26480          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26481          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26489          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26494          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26499          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26512          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26519          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26530          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26532          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26537          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26543          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26544          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26545          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26552          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26558          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26559          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26561          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26568          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26570          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26577          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26579          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26586          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26589          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26590          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26592          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26596          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26598          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26599          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26600          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26601          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26609          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26610          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26622          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26623          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26624          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26628          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26636          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26644          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26645          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26646          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26651          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26652          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26655          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26665          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26670          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26673          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26674          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26676          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26677          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26682          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26693          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26700          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26702          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26707          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26711          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26712          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26714          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26715          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26718          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26720          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26721          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26723          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26724          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26725          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26728          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26744          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26745          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26746          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26752          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26766          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26768          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26769          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26772          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26773          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26775          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26779          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26802          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_26803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26810          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26812          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26818          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26823          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26828          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26830          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26836          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26839          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26842          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26846          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26848          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26850          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26861          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26864          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26865          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26869          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26872          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26875          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26879          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26885          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26888          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26890          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_26892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26897          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26901          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26905          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26906          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26909          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26910          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26911          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26914          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26919          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26927          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_26929          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26938          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26940          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26947          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26959          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26960          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26962          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_26967          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_26969          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26971          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_26976          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26979          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26980          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26984          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_26988          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_26997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_26998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_26999          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27002          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27003          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27007          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27010          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27011          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27014          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27016          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27019          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27022          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27025          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27027          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27031          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27036          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27047          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27050          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27053          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27054          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27058          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27060          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27066          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27070          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27072          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27073          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27077          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27078          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27080          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27083          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27084          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27093          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_27095          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27100          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27103          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27104          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27110          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27113          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27118          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27129          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27132          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27134          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_27136          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27138          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27141          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27145          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27148          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27152          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27153          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27163          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27168          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27171          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27177          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27185          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27187          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27194          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27197          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27201          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_27205          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27206          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27208          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27209          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27211          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27214          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27219          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27224          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27229          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27235          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27254          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27255          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27257          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27259          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27260          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27265          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27266          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27267          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27269          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27278          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27280          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27281          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27285          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_27289          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27290          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27291          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27300          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27306          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27308          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27311          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27313          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27317          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27318          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27321          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27324          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27326          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27344          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27346          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27348          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27353          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27356          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27358          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27360          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27363          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27364          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27366          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27370          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27375          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27378          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27392          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_27394          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27396          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27398          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27401          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27403          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27405          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27409          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27413          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27416          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27422          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27426          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27452          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27455          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27458          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27461          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27463          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27465          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27467          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27469          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27471          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27475          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27483          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27489          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27491          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27493          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27496          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27500          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27507          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27522          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_27523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27528          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27539          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27550          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27552          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27563          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27565          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27579          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27580          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27601          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27605          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27606          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27608          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27612          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27621          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27623          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27624          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27630          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27632          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27636          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27638          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27640          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27644          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27649          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27652          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27653          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27655          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27656          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27660          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27664          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27666          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27668          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27672          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27677          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27683          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27684          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_27688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27697          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27709          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27719          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27722          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27726          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27736          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27739          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27742          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27745          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27746          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27747          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27748          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27749          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27753          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27755          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27764          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27771          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27772          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27775          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27778          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27780          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27804          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27805          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27806          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27815          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27816          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27822          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_27824          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27841          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27842          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27846          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27847          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27854          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27859          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27861          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27871          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27872          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27873          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27877          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27882          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27883          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27889          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27890          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27901          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27902          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27911          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27913          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_27915          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27918          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_27926          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27928          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27930          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27932          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27933          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27934          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27949          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_27955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27959          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27971          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27972          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27982          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_27983          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_27990          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27992          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_27996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_27998          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_27999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_28001          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28005          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28012          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28015          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28017          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28018          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28019          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28022          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28023          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28028          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28030          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28032          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_28035          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28045          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28052          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28053          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28056          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28061          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28062          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28064          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28069          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28070          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28073          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28076          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28077          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28081          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28082          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28096          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28110          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28111          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28114          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28119          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28128          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28133          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28141          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28146          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28148          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28152          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28159          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28161          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28162          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28166          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28168          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28170          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28177          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28190          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28195          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28198          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28199          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28200          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28203          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28208          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28214          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28225          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28232          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28233          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28250          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28251          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28254          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28257          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28258          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28259          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28261          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28267          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_28274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28279          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28288          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28291          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28296          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28310          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28314          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28321          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28328          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28335          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28344          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28346          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28347          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28348          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28349          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28351          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28353          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28357          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28359          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28361          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28362          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28364          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28365          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28372          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28373          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28375          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28383          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28386          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28390          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28393          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28414          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28425          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28433          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28436          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28439          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28440          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28442          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28443          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28446          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28454          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28458          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28459          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28462          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28464          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28469          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28473          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28475          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28477          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28479          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28483          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28490          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28495          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28499          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28504          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28506          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28508          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28514          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28516          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_28517          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28535          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28539          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28543          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28549          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28554          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28555          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28560          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28561          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28563          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28565          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28573          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28581          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28591          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28593          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28594          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28596          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28601          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28624          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28630          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28632          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28636          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28638          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28645          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28646          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28659          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28661          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28663          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28668          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28671          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28672          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28681          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28684          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28687          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28694          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28702          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28703          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28705          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_28712          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28714          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28724          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28727          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28737          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28741          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28744          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28745          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28749          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28753          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28764          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28766          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28774          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28778          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28785          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28786          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28788          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28791          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28793          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28800          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28802          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28804          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28806          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28813          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28822          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28826          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28828          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28831          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_28835          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28837          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28838          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28840          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28845          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28846          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28847          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_28849          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28853          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28855          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28856          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28857          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28860          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28863          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28864          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_28866          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28872          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28873          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28874          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28882          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_28888          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28894          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28899          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28907          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28910          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28912          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28914          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28915          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28917          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28928          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28930          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28932          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28933          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28940          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28941          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28945          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28946          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_28953          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28958          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28966          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28969          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28971          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28973          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_28974          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28982          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28987          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_28988          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_28995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_28996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_28999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29007          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29017          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29020          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29022          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29023          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29024          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29030          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29031          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29042          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29048          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29052          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29059          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29060          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29061          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29064          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29066          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29068          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29075          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29078          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29081          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29082          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29084          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29086          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29088          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29089          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29090          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29093          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29103          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29104          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29106          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29109          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29110          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29114          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29116          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29117          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29118          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29119          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_29122          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29123          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29129          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29138          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29142          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29153          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29154          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29155          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29156          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29161          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29166          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29171          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29172          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29176          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_29189          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29194          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29197          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29204          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29205          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29214          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29215          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29225          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29226          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29228          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29232          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29237          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29240          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29242          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29243          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29246          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29248          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29249          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29253          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29254          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29257          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29258          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29261          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29266          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29273          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29274          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29277          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29278          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29285          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29286          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29291          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29297          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29303          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29304          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29306          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29307          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29318          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29321          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29329          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29331          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29332          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29335          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29344          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29359          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29365          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29368          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29370          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29371          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29389          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29390          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29395          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29399          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29401          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29402          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29403          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29404          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29406          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29415          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29417          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29422          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29426          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29427          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29430          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29432          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29433          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29436          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29440          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29442          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29443          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29450          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29454          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29456          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29457          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29458          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29459          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29460          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29463          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29464          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29465          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29467          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29474          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29480          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29483          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29488          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29491          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29493          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_29494          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29495          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29500          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29506          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29507          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29511          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29512          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29517          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29520          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29524          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29526          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29527          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29529          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29536          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29539          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29543          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29555          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_29560          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29561          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29562          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29565          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29570          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29585          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29586          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29601          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29602          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29604          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29606          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29609          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29614          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29616          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29617          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29625          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29626          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29631          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29632          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29634          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29640          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29649          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29652          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29653          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29655          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29665          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29670          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29674          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29676          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29677          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29688          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29690          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29694          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29696          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29700          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29702          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29711          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29717          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29725          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29726          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29733          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29734          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29741          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29743          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29745          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29746          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29752          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29756          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29764          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_29765          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_29766          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29767          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_29768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29769          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29772          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29775          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29783          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29784          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29788          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29795          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29798          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29802          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29803          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29805          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29809          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29815          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29817          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29824          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29830          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29833          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29844          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29856          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29857          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29859          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29860          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_29861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29867          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29870          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29871          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29874          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29876          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29879          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29884          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29888          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29890          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29893          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_29894          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29897          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29899          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29903          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29908          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29913          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29915          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_29917          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29923          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29927          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29928          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29940          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29941          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29946          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29956          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29969          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_29970          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29973          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_29974          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29980          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29983          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_29990          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_29991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_29998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_29999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30003          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30006          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30007          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30018          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30022          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30024          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_30028          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30033          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30045          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30052          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30053          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30055          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30056          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30064          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30068          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30072          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30074          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30084          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_30092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30093          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30101          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30106          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30108          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30111          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30112          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30113          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30116          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30117          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30122          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30123          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30125          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30130          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30132          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30137          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30140          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30141          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30143          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30144          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30147          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30148          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30155          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30172          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30173          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30176          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30183          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30193          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30195          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30197          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30198          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30199          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30201          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30202          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30207          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30208          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30217          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30219          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30223          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30225          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30231          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30235          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30240          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30241          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30243          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30244          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30249          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30256          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30263          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30266          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30268          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30269          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30270          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30271          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30284          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30285          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30286          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30295          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30298          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30304          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30307          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30308          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30311          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_30314          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_30315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30320          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30321          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30323          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30330          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30334          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30337          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30338          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30341          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30350          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30353          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30357          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30361          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30372          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30373          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30381          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30383          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30390          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30392          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30396          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30401          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30405          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30410          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30412          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30415          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30423          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30424          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_30434          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30436          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30456          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30463          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30471          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30475          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30476          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30480          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30486          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30487          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30494          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30497          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30498          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30500          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30503          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30506          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30508          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_30511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30512          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30520          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_30525          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30530          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30533          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30544          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30547          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30552          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30553          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30554          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30561          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30565          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30567          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30569          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30570          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30583          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30585          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30588          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30590          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30591          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30594          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30595          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30596          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30602          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30603          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30604          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30605          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30606          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30610          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30619          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30623          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30624          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30637          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30638          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30641          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30642          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30649          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30651          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30652          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30654          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30657          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30659          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30660          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30662          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30665          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30668          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30674          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30675          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30676          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30681          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30686          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30688          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30690          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30696          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30704          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30708          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30713          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30714          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30715          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30716          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30717          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_30721          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30724          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30728          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30730          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30734          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30736          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30737          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30740          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30742          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30745          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30746          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30747          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_30749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30751          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30752          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30754          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30756          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30761          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30762          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30763          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30767          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30768          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30769          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30771          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30773          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30775          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30781          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30783          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30791          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30803          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30811          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30816          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30819          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30820          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30824          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30825          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30826          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30828          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30829          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30831          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30846          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30857          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30863          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30865          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30867          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30868          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30870          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30875          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30882          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30884          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30888          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30890          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30898          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30899          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30901          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30902          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30904          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30909          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30910          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30911          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30914          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_30916          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30917          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30919          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30922          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30923          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30924          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30925          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_30928          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30930          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30932          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_30933          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30935          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_30937          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30945          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30948          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30950          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30951          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30958          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30970          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_30976          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_30982          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_30993          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30994          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_30995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_30997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_30999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31000          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31003          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31010          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31012          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31018          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31020          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31021          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31030          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31036          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31039          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31042          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31044          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31047          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31050          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31051          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31053          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31054          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31059          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31061          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31064          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31071          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31077          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31078          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31079          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31089          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31093          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31094          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31103          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31107          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31111          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31120          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31122          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_31123          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31124          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31126          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31127          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31128          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31132          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31134          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31138          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31146          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31149          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31150          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31154          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31160          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31165          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31174          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31178          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31182          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_31183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31185          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31186          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31188          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31194          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31198          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31201          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31202          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31206          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31209          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31212          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31217          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31220          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31224          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31225          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31227          NAME ON FILE       ADDRESS ON FILE                                                      CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31231          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31237          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31240          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31242          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31246          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31247          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31249          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31250          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31251          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31257          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31270          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31279          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31283          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31285          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31286          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31295          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31302          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31308          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31309          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31312          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31319          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31323          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31325          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31326          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31327          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31328          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31329          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31330          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31331          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31333          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_31334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31339          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31341          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31345          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31348          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31349          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31350          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31352          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31354          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_31359          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31364          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31370          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31371          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31381          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31384          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31389          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31393          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31394          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31397          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31402          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31403          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31410          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31412          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31415          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31416          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31418          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31423          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31432          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31435          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31436          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31437          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31445          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31454          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31457          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31459          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_31461          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31462          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31467          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31481          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31491          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31493          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31497          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31508          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31512          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31515          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31517          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31518          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31524          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31525          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31526          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31532          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31537          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31539          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31540          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31543          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31544          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_31546          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31547          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31548          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31549          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31551          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31554          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31555          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_31556          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_31560          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31561          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31575          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31578          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31579          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31584          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31585          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31590          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31592          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31593          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31595          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31602          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31603          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31604          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31607          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31612          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31614          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31619          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31622          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31626          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31628          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31629          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_31630          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31631          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31632          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31633          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31642          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31643          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31646          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31656          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31660          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_31666          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31668          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31670          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31673          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31675          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31678          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31681          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31682          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31688          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31690          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31691          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31695          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31698          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31700          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31701          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31703          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31706          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31707          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31708          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31709          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31712          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31717          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31722          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31723          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31725          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31740          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31741          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31745          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31748          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31749          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31753          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31763          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31768          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31769          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31770          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31771          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31772          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31773          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31784          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31787          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31789          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31790          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31794          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31796          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31797          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31800          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31802          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31808          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31814          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31816          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31817          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31818          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31824          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31825          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31830          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31833          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31836          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31837          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31844          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31849          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31853          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31855          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31857          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31859          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31861          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31865          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31868          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31870          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31871          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31873          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31874          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31875          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31877          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31881          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31887          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31888          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31891          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31893          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31894          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31897          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31905          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31910          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_31913          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31914          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31917          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31929          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31952          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31954          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31958          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31959          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31962          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31963          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31969          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31970          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31971          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31973          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_31977          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_31978          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_31984          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_31995          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_31996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_31997          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_31999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32000          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32001          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32006          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32008          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32009          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32010          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32017          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32018          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32020          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32022          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32026          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32027          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32031          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32044          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32047          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32050          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32052          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32055          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32060          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32064          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32070          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32072          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32073          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32075          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32077          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32081          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32084          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32094          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32096          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32098          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32101          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32106          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32112          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32121          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32125          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32128          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32133          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32136          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32138          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32139          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32141          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32144          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32147          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32152          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32155          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32157          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32160          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32161          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32162          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32163          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32165          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32173          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32177          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32178          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32180          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32183          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32184          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32191          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32195          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32197          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32211          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32213          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32216          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32218          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32220          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_32225          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32229          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32230          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32240          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32243          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_32246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32249          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32254          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32257          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32258          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32262          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32266          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32267          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32269          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32270          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32273          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32279          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32281          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32283          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32285          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32295          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32298          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32300          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32302          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32303          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32308          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32310          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32311          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32314          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32315          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32326          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32329          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32330          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32332          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32336          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32343          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_32354          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32356          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32364          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32365          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32366          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32372          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32374          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32375          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32395          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32396          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_32400          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32402          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32409          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32413          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32414          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32418          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32422          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32423          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32424          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32428          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32434          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32442          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32452          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32453          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32457          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32458          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32462          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32464          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32467          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32472          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32476          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32497          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32498          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32503          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32513          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32514          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32517          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32519          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32527          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32530          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32535          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32547          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32552          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32554          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32563          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32566          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32574          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32575          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32576          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32593          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_32594          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32604          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32606          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32609          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32612          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32613          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32616          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32618          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32623          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32625          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32626          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32631          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32632          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32645          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32647          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32649          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32650          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32653          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32658          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32663          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32665          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32666          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32674          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32676          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32679          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32681          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32682          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32683          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32696          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32697          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32699          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32702          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32706          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32710          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32711          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32716          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32717          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32721          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32727          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32729          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32737          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_32739          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32742          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32754          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32756          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32757          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32760          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32761          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32762          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32770          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32771          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32772          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32773          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32774          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32775          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32776          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32780          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32782          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32783          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32788          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32791          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32795          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32796          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32797          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32799          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32801          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32802          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32805          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32806          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32809          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32810          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32812          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32820          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32821          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32825          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32827          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32829          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32837          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32844          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32847          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32851          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_32867          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32870          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32871          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32878          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32886          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32888          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32890          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32891          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32892          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32903          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32910          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32912          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32914          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32915          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32919          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32921          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32923          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32932          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32937          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32939          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32940          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32941          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32943          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32944          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32947          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_32949          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32951          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_32952          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32956          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32959          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32961          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32966          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32972          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32973          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32987          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_32989          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32990          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_32992          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_32998          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_32999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33002          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33010          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33013          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33015          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33018          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33019          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33021          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33023          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33027          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33044          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33045          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33051          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33054          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33055          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33057          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33058          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33067          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33068          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33070          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33072          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33077          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33081          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33083          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33086          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33088          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33089          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33091          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33096          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33101          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33103          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33110          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33119          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33120          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33123          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33124          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33125          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33129          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33133          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33136          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33138          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33140          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33144          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33148          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33154          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33155          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33156          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33160          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33161          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33162          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33163          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33166          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33167          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33169          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33177          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33188          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33189          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33192          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33193          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33206          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33211          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33213          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33221          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33224          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33226          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33232          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33233          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33234          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33236          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33240          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33250          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33251          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33253          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33254          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33255          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33256          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33262          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33264          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_33265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33268          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33271          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33274          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33275          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33282          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33287          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33289          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33291          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33295          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33302          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33303          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33304          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33305          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33306          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33307          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33309          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33315          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33316          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33317          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33322          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33326          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33329          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33334          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33336          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33344          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33348          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33349          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33352          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33353          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_33357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33359          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33362          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33363          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33366          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33375          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33379          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33380          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33382          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33384          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33388          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33389          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33392          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33393          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33398          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33402          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33405          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33406          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33408          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33421          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33424          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33425          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33426          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33427          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33440          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33443          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33452          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33460          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33465          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33467          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33475          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33476          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33477          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33480          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33482          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33483          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33485          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33486          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33494          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33495          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33505          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33512          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33515          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33519          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33524          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33527          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33533          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33537          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33538          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33543          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33545          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33552          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33553          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33555          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_33558          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33560          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_33569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33573          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33575          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33580          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33583          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33585          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33589          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33590          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33592          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33601          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33609          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33610          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33611          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33618          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33619          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33620          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33621          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33634          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33635          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33641          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33642          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33645          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33646          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33650          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33653          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33656          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33663          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33667          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33673          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33676          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33678          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33680          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33685          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33688          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33697          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33700          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33701          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33703          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33705          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33706          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33708          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33711          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_33714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33719          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33725          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33726          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33732          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33736          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33737          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33738          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33740          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33745          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33747          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33748          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33754          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33757          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33758          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33767          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33771          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33772          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33773          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33776          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33780          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33781          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33784          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33787          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33789          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33791          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33792          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33793          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33794          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33802          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33805          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33806          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33808          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33809          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33812          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33814          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33815          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_33819          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33820          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33821          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33824          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33825          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33827          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33829          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33830          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33834          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33843          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33845          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33846          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33849          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33851          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33853          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33854          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33857          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33861          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33865          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33867          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33868          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33870          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33877          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33884          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33888          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33889          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33896          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33903          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33913          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33914          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33915          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33918          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33920          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33921          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33922          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33926          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33927          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33929          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33934          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33943          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33944          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33945          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_33947          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33948          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33949          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33951          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_33957          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33968          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33974          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33975          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_33977          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33979          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33981          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33982          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33987          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33990          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33992          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_33995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_33997          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_33998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_33999          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34004          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34005          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34028          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34033          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34037          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34040          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34043          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34044          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34046          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34049          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34051          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34052          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34055          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34056          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34057          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34062          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34064          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34065          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34066          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34068          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34071          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34073          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34077          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34078          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34079          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34080          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34085          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34087          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34089          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34093          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34095          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34097          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34098          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34099          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34100          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34103          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34104          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34106          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34107          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34109          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34111          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34115          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34116          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34119          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34120          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34122          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34123          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34125          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34126          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34127          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34130          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34135          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34137          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34138          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34141          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34142          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34143          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34144          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34151          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_34162          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34164          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34165          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34169          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34170          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34171          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34176          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34180          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34181          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34183          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34188          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34190          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34193          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34197          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34201          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34202          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34205          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34206          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34207          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34209          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34210          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34212          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34214          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34218          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34221          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34225          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34228          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34229          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34235          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34241          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34243          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34244          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34256          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34260          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34262          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34264          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34265          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34270          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34271          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34274          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34277          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34278          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34279          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34281          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34282          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34283          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34284          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34288          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34293          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34296          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34299          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34300          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34303          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34313          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34319          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34322          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34326          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34327          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_34328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34339          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34343          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34347          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34352          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34362          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34363          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34364          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34367          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34368          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34371          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34372          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34375          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34383          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34385          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34388          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34396          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34398          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34403          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34405          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34408          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34412          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34413          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34419          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34432          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34440          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34446          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34448          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34457          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34459          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34462          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34472          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34477          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34481          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34482          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34484          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34485          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34486          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34488          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34489          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34493          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34495          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34497          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34498          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34500          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34501          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34507          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34511          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34513          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34516          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34520          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34526          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34532          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34538          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34540          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34549          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34554          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34559          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34560          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34561          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34563          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34570          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34571          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34572          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34573          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34574          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34575          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34576          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34578          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34580          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34582          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34588          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34594          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34596          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34598          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34599          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34601          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34604          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34605          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34606          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34607          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_34609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34610          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34612          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34613          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34614          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34620          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34624          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34625          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34627          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34635          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34640          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34643          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34644          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34646          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34651          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34654          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34660          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34663          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34667          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34670          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34671          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34673          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34674          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34676          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34677          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34678          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34690          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34696          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34700          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34702          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34704          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34705          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34707          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34708          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34711          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_34720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34725          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34733          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34737          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34739          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34741          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34742          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34743          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34747          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34749          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34751          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34753          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34754          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34758          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34761          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34762          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34763          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34764          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34765          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34766          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34768          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34773          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34776          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34778          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34779          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34780          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34781          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34786          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34787          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34788          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34789          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34790          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34793          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34794          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34797          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34798          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34799          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34800          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34801          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34802          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34803          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34806          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34808          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34810          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34811          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34813          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34814          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34815          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34819          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34820          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34821          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34824          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34825          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34832          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34833          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34834          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34837          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34839          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34842          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34846          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34847          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34848          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34849          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34851          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34853          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34855          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34857          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34860          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34861          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34862          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34867          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34871          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34874          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34875          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34876          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34877          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34884          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34885          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34893          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34899          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34904          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34906          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34913          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34918          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34920          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34921          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34925          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34930          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34942          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34944          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34947          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34950          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34954          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34962          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34963          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34964          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_34967          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34969          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34972          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34974          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34976          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34977          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_34979          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_34981          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34982          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_34983          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34984          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_34989          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_34994          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_34998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_34999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35005          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35006          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35008          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35009          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35010          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35011          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35014          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35015          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35016          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35019          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35020          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35025          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35027          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35029          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35031          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35033          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35039          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35040          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35042          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35043          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35044          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35052          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35053          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35054          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35055          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35059          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35060          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35065          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35066          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35074          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35078          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35081          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35083          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35084          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35087          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35088          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35089          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35093          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35095          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35100          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35104          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35108          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35111          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35113          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35120          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35121          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35126          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35127          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35133          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35134          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35136          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35138          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35139          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35142          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35143          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35151          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35153          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35154          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35156          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35159          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35161          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35164          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35168          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35170          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35171          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35173          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35174          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35176          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35179          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35180          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35186          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35187          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35191          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35195          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35196          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35198          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35199          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35201          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35203          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35207          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35208          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35210          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35214          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35216          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35219          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35220          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35225          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35226          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35228          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35229          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35231          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35232          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35238          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35241          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35242          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35245          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_35246          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35255          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35258          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35260          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35267          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35272          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35273          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35286          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35288          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35295          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35297          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35301          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35302          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_35305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35307          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35310          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35317          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35321          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35322          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35323          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35330          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35331          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35333          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35335          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35340          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35348          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35349          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35351          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35356          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35357          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35359          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35360          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35368          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35370          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35377          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35380          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35381          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35382          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35383          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35384          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_35389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35390          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35391          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35392          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35394          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35397          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35402          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35406          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35407          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35408          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35416          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35417          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35418          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35425          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35426          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35433          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35436          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35437          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35441          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35443          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35445          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35448          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35449          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35451          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35456          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35457          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35461          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35463          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35467          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35470          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35475          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35477          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35478          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35480          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35484          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35486          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35487          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35489          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35490          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35491          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35492          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35495          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35498          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35500          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35501          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35505          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35508          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35509          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35512          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35513          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35515          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35520          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35523          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35526          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35537          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_35538          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35545          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35547          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35549          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35551          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35568          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35569          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35570          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35573          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35574          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35576          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35580          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35582          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35584          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35591          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35594          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35595          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35596          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35600          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35601          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35603          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35604          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35607          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35608          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35613          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35616          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35618          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35625          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35626          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35630          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35632          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35634          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35637          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35640          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35641          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35643          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35647          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35648          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35649          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35650          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35652          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35654          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35655          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35656          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35658          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35659          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35664          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35665          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35668          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35682          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35683          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35684          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35685          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35686          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35688          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35689          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35692          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35693          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35697          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35698          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35700          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35701          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35703          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35704          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35705          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35708          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35709          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35712          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35713          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35715          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35716          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35719          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35721          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35727          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35728          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35733          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35736          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35737          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35738          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35749          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_35760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35763          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35766          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35768          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35771          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35774          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35777          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35780          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35781          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35785          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35788          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35790          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35792          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35793          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35795          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35796          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35801          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35804          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35806          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35807          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35810          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35811          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35814          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35815          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35818          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35819          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35820          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35821          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35824          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35826          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35827          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35830          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35834          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35835          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35837          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35839          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35840          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35842          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35843          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35846          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35849          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35850          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35851          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35854          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35858          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35859          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35860          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35861          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35862          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35863          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35868          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35870          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35871          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35873          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35877          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35878          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35879          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35880          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35884          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35886          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35888          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35889          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35892          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35894          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35895          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35896          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35897          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35898          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35899          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35905          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35907          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35908          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35910          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35913          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35916          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35918          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35919          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35920          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35921          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35922          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35924          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35927          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35928          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35929          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35930          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_35932          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35934          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35936          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35938          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35939          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35940          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35941          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35943          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35944          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_35945          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35946          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35947          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35949          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_35950          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35951          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35952          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35953          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35955          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35956          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35957          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35959          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35962          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35963          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35965          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35969          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35970          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35975          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35976          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_35977          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35978          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35983          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35984          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35986          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35988          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_35993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35994          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35995          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35996          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_35997          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_35998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_35999          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36004          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36007          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36010          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36011          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36013          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36016          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36019          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36021          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36022          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_36023          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36026          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36029          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36030          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36032          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36033          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36035          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36038          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36039          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36041          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36043          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36044          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36047          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36048          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36050          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36052          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36056          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36061          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36062          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36063          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36064          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36067          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36073          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36075          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36076          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36077          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36082          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36083          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36085          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36094          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36095          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36096          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36097          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36098          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36099          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36100          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36102          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36103          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36107          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36116          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36118          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36120          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36124          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36126          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36127          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36128          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36131          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36132          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36137          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36138          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36145          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36146          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36148          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36150          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36151          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36152          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36153          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36156          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36157          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36158          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36159          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36162          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36164          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36165          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36168          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36175          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36179          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36181          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36183          NAME ON FILE       ADDRESS ON FILE                                                      CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36185          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36187          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36188          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36190          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36191          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36192          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36195          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36198          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_36199          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36202          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36204          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36205          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36207          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36211          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36212          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36214          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36215          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36218          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36219          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36220          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36222          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36227          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36228          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36229          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36230          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36232          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36237          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36240          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36241          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36242          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36243          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36244          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36246          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36248          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36249          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36252          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36253          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36254          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36255          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36256          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36259          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36260          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36263          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36265          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36267          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36271          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36278          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36284          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36285          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36288          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36292          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36293          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36294          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36295          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36297          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36299          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36303          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36304          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36305          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36308          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36312          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36314          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36315          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36316          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36321          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36327          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36329          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36331          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36332          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36336          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36337          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36339          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36340          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36341          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36342          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36350          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36353          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36361          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36363          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36370          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36374          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36376          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36377          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36380          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36384          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36386          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36388          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36394          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36395          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36397          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36398          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36399          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36400          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36405          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36407          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36408          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36411          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36412          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_36413          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36415          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36420          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_36421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36422          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36424          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36427          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36432          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36433          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36434          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36435          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36436          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36438          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36440          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36442          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36443          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36445          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36447          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36449          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36453          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36458          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36464          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36468          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36471          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36475          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36476          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36480          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36483          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36490          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36491          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36492          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36494          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36495          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36497          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36499          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36500          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36502          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36505          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36506          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36512          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36517          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36521          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36522          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36523          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36527          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36528          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36531          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36533          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36541          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36542          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36543          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36544          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36551          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36552          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36555          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36557          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36558          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36564          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36566          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36567          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36568          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36569          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36570          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36572          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36573          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36575          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36577          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36579          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36580          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36582          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36584          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36588          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36589          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36595          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36597          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36599          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36600          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36602          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36603          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36604          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36605          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36607          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36609          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36611          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36612          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_36613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36614          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36616          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36618          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36620          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36625          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36626          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36629          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36630          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36633          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36636          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36638          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36639          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36643          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36644          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36646          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36647          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36651          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36653          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36654          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36655          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36656          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36658          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36660          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36661          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36662          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36669          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36676          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36679          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36680          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36682          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36686          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36687          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36689          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36690          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36693          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36697          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36699          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36700          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36701          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36705          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36707          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36710          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36714          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36715          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36718          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36719          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36720          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36722          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36723          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36727          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36730          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36731          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36732          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36736          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36738          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36740          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36741          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36742          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36744          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36748          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36750          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36756          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36757          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36758          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36759          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36760          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36763          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36764          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36765          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36771          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36772          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36773          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36776          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36778          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36779          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36780          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36782          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36788          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36789          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36800          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36803          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36805          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36807          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36809          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36811          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36815          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36819          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36823          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36824          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36825          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36829          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36832          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36835          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36836          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36839          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36841          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_36843          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36846          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36848          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36849          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36850          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36853          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36855          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36856          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36864          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36865          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36868          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36872          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36874          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36876          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36877          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36882          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36886          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36888          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36889          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36893          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36894          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36895          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36896          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36897          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36898          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36899          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36900          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_36904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36906          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36907          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36908          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36909          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36910          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36911          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36915          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36917          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36918          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36920          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36923          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36924          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36925          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36926          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36930          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36932          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_36933          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36934          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36935          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36937          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36939          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36941          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36942          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36945          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36949          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36955          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36958          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36960          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36963          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36964          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36966          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36967          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36969          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36970          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36972          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36974          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36975          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36976          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36978          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36984          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_36986          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36989          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_36990          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36991          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_36993          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36995          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_36997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_36998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_36999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37000          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37001          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37002          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37005          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37008          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37010          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37012          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37013          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37014          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37016          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37019          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37020          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37021          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37022          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_37023          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37025          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37027          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37029          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37038          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37039          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37040          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37042          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37047          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37049          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37050          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37051          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37053          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37054          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37060          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37062          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37063          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37065          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37067          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37069          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37070          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37071          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37072          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37073          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37074          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37076          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37077          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37080          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37091          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37092          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37094          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37095          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37096          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37098          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37100          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37101          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37102          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37103          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37105          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37106          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37108          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37109          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37111          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37114          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37117          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37118          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37119          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37120          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37122          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37129          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37137          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37139          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37140          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37143          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37144          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_37145          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37155          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37156          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37157          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37158          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37159          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37160          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37161          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37164          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37166          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37167          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37168          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37170          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37173          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37174          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37175          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37179          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37182          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37183          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37190          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37191          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37192          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37197          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37200          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37201          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37204          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37205          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37206          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_37208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37209          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37210          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37212          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37214          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37216          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37217          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37221          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37223          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37224          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37227          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37228          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37229          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37231          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37232          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37236          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37237          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37238          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37239          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37243          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37244          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37245          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37246          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37247          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37250          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37251          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37252          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37254          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37257          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37258          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37261          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37263          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37264          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37266          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_37270          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37273          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37275          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37281          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37282          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37285          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37288          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37289          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37294          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37295          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37296          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37297          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37299          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37305          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37307          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37309          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37310          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37313          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37316          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37320          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37325          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37326          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37329          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37330          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37334          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37335          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37339          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37340          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37342          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37344          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37346          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37349          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37350          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37351          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37354          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37355          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37358          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37360          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37365          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37367          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37368          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37369          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37370          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37371          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37373          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37375          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37376          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37379          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37384          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37386          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37387          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37388          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37389          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37391          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37396          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37397          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37398          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37399          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37401          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37403          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37404          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37408          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37409          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37412          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37417          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37419          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37421          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37423          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37426          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37428          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37430          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37431          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37432          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37433          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37434          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37435          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37436          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37438          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37440          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37441          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37442          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37444          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37445          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37448          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37451          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37452          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37454          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37455          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37456          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37457          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37458          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37459          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37460          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37462          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_37463          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37466          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37467          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37470          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37471          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37472          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37475          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37476          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37477          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37478          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37479          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37480          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37481          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37484          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37485          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37486          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37488          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37489          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37490          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37491          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37492          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37500          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37503          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37505          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37509          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37510          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37512          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37513          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37515          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37516          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37519          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37523          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37526          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37528          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37529          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37530          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37532          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37533          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37534          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37536          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37537          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37539          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37543          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37545          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37547          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37548          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37550          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37551          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37554          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37556          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37557          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37562          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37567          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37568          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37570          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37571          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37572          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37574          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_37578          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37580          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37581          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37583          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37584          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37585          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37586          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37587          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37588          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37590          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37592          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37593          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37594          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37595          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37596          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37601          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37603          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37604          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37605          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37608          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37610          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37611          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37612          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37614          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37615          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37617          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37619          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37620          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37622          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37623          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37624          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37625          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37627          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37629          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37630          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37631          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37632          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37633          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37638          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37639          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37640          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37641          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37644          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37646          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37647          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_37648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37649          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37650          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37651          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37652          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37653          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37655          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37657          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37658          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37660          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37661          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37662          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37663          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37664          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37666          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37667          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37668          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37671          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37672          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37673          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37674          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37675          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37676          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37678          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37679          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37682          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37683          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37684          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37685          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37687          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37688          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37690          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37691          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37694          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37696          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37697          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37698          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37699          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37700          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
ID_37705          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37707          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37708          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37709          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37711          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37713          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37716          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_37718          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37719          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37720          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37721          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37722          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37723          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37724          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37726          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_37727          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37728          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37730          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37731          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37732          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37734          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37735          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37736          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37738          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37740          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37741          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37743          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37746          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_37749          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37753          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37754          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37755          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37757          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37758          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37762          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37763          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37764          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37765          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37766          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37767          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37768          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37769          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37771          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37773          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37775          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37777          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37778          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37780          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37782          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37784          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37785          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37786          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37787          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37788          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37790          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37791          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37794          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_37795          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37796          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37798          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37800          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37801          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37802          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37804          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37805          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37807          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37810          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37813          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37814          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37815          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37816          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37818          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37820          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37821          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37823          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37824          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37826          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37828          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37829          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37832          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37833          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37835          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37836          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37837          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37841          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37844          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37845          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37846          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37849          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37850          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37851          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37852          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37853          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37854          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37856          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37857          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37860          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37861          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37862          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37866          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37868          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37869          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37870          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37871          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37872          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37874          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37876          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37878          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37879          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37881          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37882          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37883          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37884          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37886          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37887          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37892          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37893          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37894          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37895          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37896          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37898          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37899          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37902          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37903          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37904          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37905          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37908          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37909          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37910          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37911          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37912          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37913          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37914          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37915          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37916          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37917          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37919          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37920          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37921          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37923          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37924          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37925          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37927          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37928          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37929          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37931          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37932          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37934          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37935          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37936          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37937          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37943          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37945          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37948          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37950          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37951          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37953          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37956          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37959          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37960          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37961          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37963          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37966          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37968          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37971          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37972          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37974          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37978          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37979          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37980          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37983          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_37984          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37985          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_37986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37987          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37988          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37989          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_37990          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37991          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37993          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37994          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37995          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37996          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_37997          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_37998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_37999          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38000          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38003          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38004          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38005          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38007          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38010          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38011          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38016          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38017          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38018          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38019          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38020          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38021          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38024          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38025          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38026          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38028          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38030          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38031          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38032          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38034          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38035          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38036          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38039          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38040          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38041          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38042          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38043          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38047          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38052          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38053          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38055          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38058          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38059          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38061          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38062          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38064          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38065          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38068          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38069          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38071          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38073          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38074          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38075          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38077          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38079          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38080          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38081          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38083          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38084          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38085          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38086          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38087          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38088          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38089          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38090          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38092          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38094          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38095          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38096          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38099          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38100          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38103          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38105          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38106          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38107          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38109          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38110          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38111          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38112          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38113          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38115          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38117          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38119          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38120          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38121          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38122          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38126          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38127          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38129          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38130          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38131          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38132          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38133          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38134          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38135          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38136          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38137          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38138          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38139          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38140          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38141          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38142          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38144          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38145          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38152          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38153          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38154          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38155          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38156          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38157          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38161          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38162          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38163          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38165          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38167          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38168          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38169          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38170          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38172          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38174          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38175          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38176          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38177          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38178          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38179          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38180          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38181          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38183          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38184          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38187          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38189          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38190          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38191          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38192          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38196          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38199          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38200          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38206          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38207          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38209          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38210          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38213          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38216          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38218          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38220          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38222          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38223          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38224          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38225          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38226          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38227          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38229          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38230          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38231          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38232          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38233          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38234          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38235          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38236          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38237          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38238          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38239          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38244          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38245          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38246          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38250          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38252          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38254          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38255          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38257          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38259          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38260          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38261          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38262          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38266          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38267          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38270          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38271          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38272          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38274          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38276          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38277          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38278          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38280          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38282          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38283          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38284          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38287          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38290          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38291          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38292          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38294          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38296          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38298          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38299          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38300          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38303          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38304          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38306          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38307          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38308          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38309          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38310          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38311          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38312          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38313          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38315          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38319          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38320          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38322          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38323          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38324          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38325          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38326          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38328          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38329          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38330          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38332          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38334          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38335          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38338          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38339          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38340          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38341          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38342          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38343          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38345          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38346          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38347          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38348          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38350          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38351          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38352          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38353          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38355          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38357          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38360          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38362          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38364          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38366          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38367          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38371          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38372          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38373          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38375          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38376          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38377          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38378          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38381          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38383          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38386          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38387          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38388          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38389          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38391          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38393          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38399          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38400          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38403          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38405          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38406          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38408          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38409          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38410          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38412          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38413          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38414          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38415          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38416          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38417          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38420          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38423          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38425          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38427          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38429          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38430          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38431          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38432          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38434          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38435          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38436          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38437          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38438          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38439          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38441          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38442          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38444          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38447          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38448          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38450          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38451          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38452          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38453          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                 Basis For Claim     Claim Amount
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38454          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38456          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38458          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38459          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38460          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38461          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38462          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38463          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38465          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_38466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38468          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38469          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38470          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38472          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38474          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38476          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38477          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38478          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38483          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38484          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38486          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38489          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38490          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38491          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38493          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38494          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38496          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38497          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38498          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38499          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38501          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38504          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38506          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38507          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38510          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38511          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38512          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38513          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38514          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38515          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38516          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38517          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38518          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38519          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38520          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38521          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38522          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38523          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38528          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38529          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38530          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38531          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38534          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38535          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38536          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38538          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38539          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38543          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38545          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38546          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38549          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38550          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38552          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38553          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38556          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38559          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38565          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38566          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38567          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38569          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38570          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38571          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38573          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38574          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38575          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38576          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38577          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38578          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38579          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38580          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38581          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38582          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38586          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38587          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38588          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38589          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38590          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38591          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38592          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38595          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38596          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38597          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38598          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38599          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38600          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38604          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38605          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38606          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38609          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38610          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38612          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38615          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38616          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38617          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38620          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38621          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38622          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38623          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38626          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38628          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38631          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38633          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38634          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38635          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38636          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38639          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38642          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38643          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38644          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38645          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38646          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38647          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38648          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38649          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38650          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38651          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38655          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38657          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38658          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38659          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38660          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38662          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38663          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38665          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38667          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38669          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38670          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38671          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38672          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38673          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38675          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38676          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38677          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38680          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38681          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38683          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38684          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38685          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38686          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38687          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38688          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38689          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38690          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38691          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38692          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38694          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38695          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38696          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38697          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38700          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38701          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38702          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38703          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38704          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38705          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38706          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38707          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38708          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38709          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38712          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38713          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38714          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38715          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38716          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38717          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38718          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38719          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38722          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38723          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38724          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38725          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38726          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38728          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38730          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38731          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38732          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38733          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38734          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38735          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38736          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38738          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38739          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38740          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38741          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38742          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38743          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38744          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38745          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38748          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38749          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38750          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38751          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38752          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38755          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38756          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38758          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38759          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38760          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38761          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38764          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38765          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38766          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38767          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38769          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38770          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38771          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38775          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38776          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38777          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38778          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_38780          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38781          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38782          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38783          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38785          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38787          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38788          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38789          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38790          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38792          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38793          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38794          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38795          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38797          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38798          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38799          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38800          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38801          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38803          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38804          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38806          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38807          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38808          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38809          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38810          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38811          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38812          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38813          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38815          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38816          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38817          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38819          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38820          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38821          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38822          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38823          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38826          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38827          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38828          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38829          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38830          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38831          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38833          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38834          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38835          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38836          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38837          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38838          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38839          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38840          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38841          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38842          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38845          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38848          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38849          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38850          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38852          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38853          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38854          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38855          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38856          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38857          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38858          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38859          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38860          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38861          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38862          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38864          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38865          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38866          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38867          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38868          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38869          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38870          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38873          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38874          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38875          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_38878          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38879          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38880          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38881          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38883          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38884          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38885          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38886          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38887          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38888          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38890          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38891          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38892          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38894          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38895          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38896          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38897          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38899          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38900          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38901          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38903          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38904          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38905          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38906          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38907          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38910          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38911          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38913          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38914          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38915          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38916          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38917          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38918          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38919          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38921          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38922          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38924          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38925          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38926          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38927          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38928          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38929          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38931          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38933          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_38934          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38937          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38938          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38939          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38942          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38943          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38944          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38945          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38946          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38947          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38949          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38950          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38951          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38952          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38954          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38955          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38956          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38957          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38958          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38959          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38960          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38961          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38963          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38964          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38965          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38966          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38967          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38969          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38970          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38971          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38972          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38973          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38974          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38975          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38977          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_38978          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_38979          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38980          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38981          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38982          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38985          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38986          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38988          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38990          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38992          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38993          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_38996          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38997          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_38998          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_38999          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39000          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39002          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39003          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39004          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39005          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39006          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39007          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39008          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39009          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39010          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39012          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39014          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39016          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39018          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39019          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39021          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39023          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39024          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39025          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39026          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39028          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39029          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39031          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39032          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39033          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39034          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39036          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39037          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39038          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39039          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39042          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39044          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39045          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39046          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39047          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39049          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39053          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39054          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39055          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39057          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39058          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39059          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39060          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39062          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39065          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39067          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39068          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39069          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39070          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39071          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39072          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39073          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39075          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39076          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39077          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39078          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39079          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39080          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39081          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39082          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39083          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39084          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39085          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39089          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39090          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39091          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39092          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39093          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39094          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39095          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39096          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_39097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39098          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39099          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39100          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39101          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39103          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39105          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39106          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39108          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39109          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39110          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39111          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39112          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39114          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39116          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39117          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39118          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39119          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39120          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39121          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39122          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39123          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39124          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39125          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39126          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39128          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39129          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39130          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_39131          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39132          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39133          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39135          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39136          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39137          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39138          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39140          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39141          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39143          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39146          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39147          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39148          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39150          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39151          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39152          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39153          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39154          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39156          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39157          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39158          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39159          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39160          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_39161          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39162          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39163          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39164          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39165          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39166          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN                                      ARBITRATION / PRE-
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION DEMAND /
ID_39167          NAME ON FILE       UNITED STATES                                                        CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39168          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39169          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39170          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39171          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39172          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39173          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39175          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39177          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39178          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39179          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39181          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39182          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_39183          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39184          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39185          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39186          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39187          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39188          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39189          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39190          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39192          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39193          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39194          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39195          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39196          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39197          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39198          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39199          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39201          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39202          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39203          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39204          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39208          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39209          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39210          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39211          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39213          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39214          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39215          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39217          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39219          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39221          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39223          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39225          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39227          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39228          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39229          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39230          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39231          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39232          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39236          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39237          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39239          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39240          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39241          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39242          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39243          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39244          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39245          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39247          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39248          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39249          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39250          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39251          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39252          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39253          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39254          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39255          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39257          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39258          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39259          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39260          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39261          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39262          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39263          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39264          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39265          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39267          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39268          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39269          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39270          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39272          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39273          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39274          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39275          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39276          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39277          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39279          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39280          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39282          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39283          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39285          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39286          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39287          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39290          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39291          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39292          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39293          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39294          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39295          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39296          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39297          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39298          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39300          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39301          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39302          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39305          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39306          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39307          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39308          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39309          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39310          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39311          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39312          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39313          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39317          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39318          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39319          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39320          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39321          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39323          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39324          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39326          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39327          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39328          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39331          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39332          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39333          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39334          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39335          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39336          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39338          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39340          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39341          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39342          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39344          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39345          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39346          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39348          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39349          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39352          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39353          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39354          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39356          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39358          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39360          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39361          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39362          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39363          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39364          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39365          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39366          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39367          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39369          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39371          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39372          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39373          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39374          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39376          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39377          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39378          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39379          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39380          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39381          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39382          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39383          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39384          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39385          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39387          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39388          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39389          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39391          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39392          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39394          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39395          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39396          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39398          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39399          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39401          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39402          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39403          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39404          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39405          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39406          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39408          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39409          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39410          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39411          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39412          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39413          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39414          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_39415          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39417          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39418          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39420          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39421          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39424          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39426          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39427          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39428          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39429          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39430          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39431          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39432          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39433          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39434          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39436          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39437          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39439          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39441          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39444          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39445          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39446          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39448          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39449          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39450          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39451          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39453          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39454          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39455          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39456          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39457          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39458          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39459          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39460          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39461          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39462          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39463          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39465          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39466          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39467          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39468          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39470          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39471          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39473          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39474          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39476          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39477          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_39478          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39479          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39480          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39481          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39482          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39483          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39484          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                          Address                                   Disputed                Basis For Claim     Claim Amount
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39485          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39486          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39487          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39488          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39489          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39490          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39491          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39493          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39496          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39499          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39500          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39501          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39502          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39503          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39504          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39505          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39507          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39510          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39511          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39512          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39514          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39515          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39517          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39518          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39519          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39520          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39521          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39522          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39524          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39525          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39527          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39528          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39529          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39530          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39531          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39532          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39533          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39535          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39536          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39537          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39539          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39540          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39541          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39542          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39544          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39545          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39546          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39548          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39550          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39552          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39553          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39554          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39555          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39557          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39558          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39559          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39560          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39561          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39563          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39564          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39565          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39566          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39567          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39568          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39569          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39570          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39571          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39572          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39573          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39574          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39575          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39576          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39577          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39578          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39579          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39580          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39581          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39582          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39583          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39584          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39585          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39586          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39587          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39588          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39589          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39590          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39591          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39592          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39593          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39594          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39595          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39596          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39597          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39598          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39599          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39600          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39601          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39602          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39603          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39604          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39605          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39606          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39607          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39608          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39609          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39610          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39611          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39612          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39613          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39614          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39615          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39616          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39617          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39618          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39619          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39620          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39621          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39622          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39623          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39624          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39625          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39626          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39627          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39628          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39629          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39630          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39631          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39632          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39633          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39634          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39635          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39636          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39637          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39638          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39639          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39640          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39641          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39642          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39643          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39644          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39645          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39646          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39647          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39648          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39649          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39650          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39651          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39652          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39653          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39654          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39655          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39656          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39657          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39658          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39659          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39660          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39661          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39662          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39663          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39664          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39665          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39666          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39667          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39668          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39669          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39670          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39671          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39672          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39673          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39674          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39675          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39676          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39677          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39678          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39679          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39680          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39681          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39682          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39683          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39684          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_39685          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39686          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39687          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39688          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39689          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39690          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39691          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39692          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39693          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39694          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39695          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39696          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39697          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39698          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39699          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39700          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39701          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39702          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39703          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39704          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39705          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39706          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39707          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39708          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39709          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39710          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39711          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39712          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39713          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39714          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39715          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39716          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39717          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39718          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39719          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39720          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39721          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39722          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39723          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39724          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39725          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39726          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39727          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39728          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39729          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39730          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39731          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39732          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39733          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39734          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39735          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39736          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39737          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39738          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39739          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39740          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39741          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39742          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39743          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39744          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39745          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39746          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39747          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39748          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39749          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39750          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39751          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39752          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39753          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39754          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39755          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39756          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39757          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39758          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39759          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39760          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39761          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39762          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39763          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39764          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39765          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION DEMAND /
ID_39766          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39767          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39768          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39769          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39770          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39771          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39772          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39773          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39774          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39775          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39776          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39777          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39778          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39779          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39780          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39781          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39782          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39783          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39784          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39785          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39786          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39787          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39788          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39789          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39790          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39791          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39792          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39793          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39794          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39795          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39796          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39797          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39798          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39799          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39800          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39801          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39802          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39803          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39804          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39805          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39806          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39807          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39808          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39809          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39810          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39811          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39812          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39813          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39814          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39815          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39816          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39817          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39818          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39819          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39820          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39821          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39822          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39823          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39824          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39825          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39826          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39827          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39828          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39829          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39830          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39831          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39832          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39833          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39834          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39835          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39836          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39837          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39838          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39839          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39840          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39841          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39842          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39843          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39844          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39845          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39846          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39847          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39848          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39849          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39850          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39851          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39852          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39853          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39854          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39855          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39856          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39857          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39858          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39859          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39860          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39861          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39862          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39863          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39864          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39865          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39866          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39867          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39868          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39869          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39870          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39871          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39872          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39873          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39874          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39875          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39876          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39877          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39878          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39879          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39880          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39881          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39882          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39883          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39884          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39885          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39886          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39887          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39888          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39889          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39890          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39891          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39892          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39893          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_39894          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39895          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39896          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39897          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39898          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39899          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39900          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39901          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39902          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39903          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39904          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39905          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39906          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39907          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39908          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39909          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39910          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39911          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39912          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39913          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39914          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39915          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39916          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39917          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39918          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39919          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39920          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_39921          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39922          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39923          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39924          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39925          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39926          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39927          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39928          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39929          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39930          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39931          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39932          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39933          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_39934          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39935          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39936          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39937          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39938          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39939          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39940          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39941          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39942          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39943          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39944          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39945          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39946          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39947          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39948          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39949          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39950          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39951          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39952          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39953          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39954          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39955          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39956          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39957          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39958          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39959          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39960          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39961          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39962          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39963          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39964          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39965          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39966          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39967          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39968          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39969          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39970          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39971          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39972          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39973          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39974          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39975          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39976          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39977          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39978          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39979          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_39980          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39981          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39982          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39983          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39984          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39985          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39986          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39987          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_39988          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39989          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39990          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39991          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39992          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39993          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39994          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39995          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39996          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_39997          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_39998          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_39999          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40000          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40001          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40002          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40003          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_40004          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40005          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40006          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40007          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40008          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40009          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_40010          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40011          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40012          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40013          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40014          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40015          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40016          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40017          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40018          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40019          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40020          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40021          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40022          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40023          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40024          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40025          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40026          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40027          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40028          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40029          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40030          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40031          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40032          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40033          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40034          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40035          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40036          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40037          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40038          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40039          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40040          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40041          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40042          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40043          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40044          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40045          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40046          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40047          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40048          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40049          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40050          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40051          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40052          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40053          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40054          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40055          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40056          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40057          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40058          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40059          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40060          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                                                                                                       ARBITRATION / PRE-
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION DEMAND /
ID_40061          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40062          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40063          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40064          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40065          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40066          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40067          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40068          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40069          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40070          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40071          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40072          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40073          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40074          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40075          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40076          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40077          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40078          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40079          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40080          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40081          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40082          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40083          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40084          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40085          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40086          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40087          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40088          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40089          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40090          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40091          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40092          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40093          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40094          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40095          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40096          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40097          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40098          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40099          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40100          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40101          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40102          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40103          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40104          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40105          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40106          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40107          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40108          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40109          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40110          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40111          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40112          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40113          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40114          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40115          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40116          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40117          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40118          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40119          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40120          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40121          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40122          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40123          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40124          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40125          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40126          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40127          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40128          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40129          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40130          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40131          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40132          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40133          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40134          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40135          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40136          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40137          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40138          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40139          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40140          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40141          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40142          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40143          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40144          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40145          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40146          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40147          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40148          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40149          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40150          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40151          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_40152          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40153          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40154          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40155          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40156          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40157          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40158          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40159          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40160          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40161          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40162          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40163          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40164          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40165          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40166          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40167          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40168          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40169          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40170          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40171          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40172          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40173          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40174          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40175          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40176          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40177          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40178          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40179          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40180          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40181          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40182          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40183          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40184          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40185          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40186          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40187          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40188          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40189          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40190          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40191          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40192          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40193          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40194          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40195          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40196          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40197          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40198          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40199          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40200          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40201          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40202          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40203          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40204          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40205          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40206          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40207          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40208          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40209          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40210          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40211          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40212          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40213          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40214          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40215          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40216          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40217          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40218          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40219          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40220          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40221          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40222          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40223          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40224          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40225          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40226          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40227          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40228          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40229          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40230          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40231          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40232          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40233          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40234          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40235          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40236          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40237          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40238          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40239          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40240          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40241          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40242          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40243          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40244          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40245          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40246          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40247          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40248          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40249          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40250          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40251          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40252          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40253          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40254          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40255          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40256          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40257          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40258          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40259          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40260          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40261          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40262          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40263          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40264          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40265          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40266          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40267          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40268          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40269          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40270          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40271          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40272          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40273          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40274          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40275          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40276          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40277          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40278          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40279          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40280          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40281          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40282          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40283          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40284          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40285          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40286          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40287          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40288          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40289          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40290          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40291          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40292          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40293          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40294          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40295          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40296          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40297          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40298          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40299          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40300          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40301          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40302          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION / PRE-
ID_40303          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40304          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40305          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40306          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40307          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40308          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40309          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40310          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40311          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40312          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40313          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40314          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40315          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40316          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40317          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40318          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40319          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40320          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40321          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40322          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40323          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40324          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40325          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40326          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40327          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40328          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40329          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40330          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40331          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40332          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40333          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40334          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40335          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40336          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40337          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40338          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40339          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40340          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40341          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40342          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40343          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40344          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40345          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40346          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40347          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40348          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40349          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40350          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40351          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40352          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40353          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40354          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40355          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40356          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40357          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40358          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40359          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40360          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40361          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40362          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40363          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
ID_40364          NAME ON FILE       EMAIL ON FILE                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40365          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40366          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40367          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40368          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40369          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40370          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40371          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40372          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40373          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40374          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40375          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40376          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40377          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40378          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40379          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40380          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40381          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40382          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40383          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40384          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40385          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40386          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40387          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40388          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40389          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40390          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40391          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40392          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40393          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40394          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40395          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40396          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40397          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40398          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40399          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40400          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40401          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40402          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40403          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40404          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40405          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40406          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40407          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40408          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40409          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40410          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40411          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40412          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40413          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40414          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40415          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40416          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40417          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40418          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40419          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40420          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40421          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40422          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40423          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40424          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40425          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40426          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40427          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40428          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                         Address                                    Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40429          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40430          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40431          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40432          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40433          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40434          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40435          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40436          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40437          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40438          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40439          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40440          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40441          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40442          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40443          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40444          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40445          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40446          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40447          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40448          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40449          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40450          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40451          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40452          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40453          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40454          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40455          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40456          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40457          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40458          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40459          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40460          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40461          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40462          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40463          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40464          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40465          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40466          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40467          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40468          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40469          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40470          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40471          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40472          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40473          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40474          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40475          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O KP LAW LIMITED, 81 CHANCERY LANE, LONDON WC2A                                 ARBITRATION / PRE-
ID_40476          NAME ON FILE       1DD, UNITED KINGDOM                                                  CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40477          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40478          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40479          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40480          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40481          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40482          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40483          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40484          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40485          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40486          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40487          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40488          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40489          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40490          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40491          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40492          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40493          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40494          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40495          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40496          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40497          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40498          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40499          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40500          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40501          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40502          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40503          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40504          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40505          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40506          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40507          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40508          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40509          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40510          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40511          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40512          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40513          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40514          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40515          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40516          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40517          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40518          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40519          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40520          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40521          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                                                                                                       ARBITRATION / PRE-
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE 1250, SAN                                ARBITRATION DEMAND /
ID_40522          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40523          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40524          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40525          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40526          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                           Address                                  Disputed                Basis For Claim     Claim Amount
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40527          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40528          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40529          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40530          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40531          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40532          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40533          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40534          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40535          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40536          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40537          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40538          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40539          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40540          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40541          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40542          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40543          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40544          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40545          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40546          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40547          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40548          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40549          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40550          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION         UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40551          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND       UNDETERMINED
                                     C/O MASON LLP, 5335 WISCONSIN AVE. NW, SUITE 640,                                 ARBITRATION / PRE-
ID_40552          NAME ON FILE       WASHINGTON, DC 20015, UNITED STATES                                  CUD          ARBITRATION DEMAND       UNDETERMINED




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23andMe, Inc.
Eastern District of Missouri          Schedule F - Nonpriority Unsecured Arbitration, Pre-Arbitration and/or Cyber Litigation Claims
Case No. 25-40977 (BCW)

                                                                                                     Contingent /
   Sequence                                                                                         Unliquidated /
      ID             Creditor Name                            Address                                 Disputed                 Basis For Claim     Claim Amount
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40553          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40554          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40555          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40556          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40557          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40558          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O POTTER HANDY, LLP, 100 PINE ST., STE. 1250, SAN
ID_40559          NAME ON FILE       FRANCISCO, CA 94111, UNITED STATES                                   CUD          CYBER LITIGATION          UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40560          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40561          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40562          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40563          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
                                     PLLC, 3833 CENTRAL AVE., ST. PETERSBURG, FL 33713,                                ARBITRATION / PRE-
ID_40564          NAME ON FILE       UNITED STATES                                                        CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LEVI & KORSINSKY, 33 WHITEHALL ST., 17TH FLOOR,                               ARBITRATION / PRE-
ID_40565          NAME ON FILE       NEW YORK, NY 10004, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED
                                     C/O LABATON KELLER SUCHAROW LLP, 140 BROADWAY,                                    ARBITRATION / PRE-
ID_40566          NAME ON FILE       NEW YORK, NY 10005, UNITED STATES                                    CUD          ARBITRATION DEMAND        UNDETERMINED




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  Fill in this information to identify the case:                       Pg 1701 of 1950
  Debtor name      23andMe, Inc.

  United States Bankruptcy Court for the:   Eastern District of Missouri
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      25-40977 (BCW)                                                                                               amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease
                                                CONTENT AGREEMENT DATED:
         State what the contract or             01/17/2020                             @INSTAGRAMFORBUSINESS
 2.1     lease is for and the nature                                                   1601 WILLOW ROAD
         of the debtor’s interest                                                      MENLO PARK, CA 94025

         State the term remaining               Undetermined
         List the contract number of
         any government contract

                                                AMENDMENT NO. 1 TO STATEMENT
         State what the contract or             OF WORK NO. 7 OF THE MASTER            1000 BUDDHAS, LLC
 2.2     lease is for and the nature            SERVICES AGREEMENT DATED:              32 WILLOW AVE
         of the debtor’s interest               06/01/2021                             WALNUT CREEK, CA 94595

         State the term remaining               Undetermined
         List the contract number of
         any government contract

                                                AMENDMENT NO. 1 TO THE MASTER
         State what the contract or             SERVICES AGREEMENT DATED:              1000 BUDDHAS, LLC
 2.3     lease is for and the nature            06/01/2020                             32 WILLOW AVENUE
         of the debtor’s interest                                                      WALNUT CREEK, CA 94595

         State the term remaining               Undetermined
         List the contract number of
         any government contract

                                                AMENDMENT NO. 2 TO THE MASTER
         State what the contract or             SERVICE AGREEMENT DATED:               1000 BUDDHAS, LLC
 2.4     lease is for and the nature            06/01/2022                             201 E. OJAI AVE
         of the debtor’s interest                                                      #1750
                                                                                       OJAI, CA 93023
         State the term remaining               Undetermined
         List the contract number of
         any government contract

                                                STATEMENT OF WORK #7 DATED:
         State what the contract or             06/01/2020 UNDER THE MASTER            1000 BUDDHAS, LLC
 2.5     lease is for and the nature            SERVICE AGREEMENT DATED:               32 WILLOW AVE
         of the debtor’s interest               06/01/2022                             WALNUT CREEK, CA 94595

         State the term remaining               Undetermined
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                   Page 1 of 248
  Debtor        Case 25-40977
              23andMe, Inc.              Doc 9    Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                             Case number              Main (BCW)
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          EULA DATED: 08/01/2023
           State what the contract or                                         10X GENOMICS, INC.
 2.6       lease is for and the nature                                        6230 STONERIDGE MALL ROAD
           of the debtor’s interest                                           PLEASANTON, CA 94588-3260

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 09/22/2020
           State what the contract or                                         10X GENOMICS, INC.
 2.7       lease is for and the nature                                        6230 STONERIDGE MALL ROAD
           of the debtor’s interest                                           PLEASANTON, CA 94588-3260

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
           State what the contract or                                         10X GENOMICS, INC.
 2.8       lease is for and the nature                                        6230 STONERIDGE MALL ROAD
           of the debtor’s interest                                           PLEASANTON, CA 94588-3260

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT
           State what the contract or                                         10X GENOMICS, INC.
 2.9       lease is for and the nature                                        6230 STONERIDGE MALL ROAD
           of the debtor’s interest                                           PLEASANTON, CA 94588-3260

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          1UPHEALTH INTEGRATION
           State what the contract or     SERVICES AGREEMENT DATED:           1UPHEALTH, INC.
 2.10      lease is for and the nature    04/13/2021                          330 WASHINGTON ST
           of the debtor’s interest                                           BOSTON, MA 02109

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          OFFICE LEASE DATED: 04/17/2018
           State what the contract or                                         221 N MATH1LDA, LLC
 2.11      lease is for and the nature                                        C/O SPEAR STREET CAPITAL
           of the debtor’s interest                                           ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                              ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO OFFICE
           State what the contract or     LEASE DATED: 01/24/2019             221 N MATHILDA, LLC
 2.12      lease is for and the nature                                        C/O SPEAR STREET CAPITAL
           of the debtor’s interest                                           ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                              ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUBORDINATION,
           State what the contract or     NONDISTURBANCE AND          221 N MATHILDA, LLC
 2.13      lease is for and the nature    ATTORNMENT AGREEMENT DATED: C/O SPEAR STREET CAPITAL
           of the debtor’s interest       06/18/2018                  ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                      ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
           State what the contract or     DATED: 11/21/2024                   92BIOTECH
 2.14      lease is for and the nature                                        1190 ZEPHYR AVE
           of the debtor’s interest                                           STE A
                                                                              HAYWARD, CA 94544
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #1 DATED: 04/14/2021
           State what the contract or                                         AAT BIOQUEST, INC.
 2.15      lease is for and the nature                                        520 MERCURY DRIVE
           of the debtor’s interest                                           SUNNYVALE, CA 94085

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA LICENSE AGREEMENT DATED:
           State what the contract or     12/19/2024                    ABBVIE INC.
 2.16      lease is for and the nature                                  1 N WAUKEGAN RD
           of the debtor’s interest                                     NORTH CHICAGO, IL 60064

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
           State what the contract or     04/18/2022                          ABM INDUSTRY GROUPS, LLC
 2.17      lease is for and the nature                                        14141 SOUTHWEST FREEWAY, SUITE 477
           of the debtor’s interest                                           SUGAR LAND, TX 77478

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM NO. 1 TO THE MASTER
           State what the contract or     SERVICES AGREEMENT DATED:           ABM INDUSTRY GROUPS, LLC
 2.18      lease is for and the nature    11/09/2020                          14141 SOUTHWEST FREEWAY, SUITE 477
           of the debtor’s interest                                           SUGAR LAND, TX 77478

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          EXHIBIT A STATEMENT OF WORK #4
           State what the contract or     DATED: 08/22/2022              ABM INDUSTRY GROUPS, LLC
 2.19      lease is for and the nature                                   14141 SOUTHWEST FREEWAY, SUITE 477
           of the debtor’s interest                                      SUGAR LAND, TX 77478

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #5 DATED:
           State what the contract or     08/27/2019                          ABSOLUTDATA TECHNOLOGIES, INC.
 2.20      lease is for and the nature                                        1320 HARBOR BAY PARKWAY
           of the debtor’s interest                                           SUITE 170
                                                                              ALAMEDA, CA 94502
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS & CONDITIONS
           State what the contract or                                         ABSORPTION PHARMACEUTICALS, LLC
 2.21      lease is for and the nature                                        4690 W. POST ROAD #B5
           of the debtor’s interest                                           LAS VEGAS, NV 89118

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 04/01/2024                   ACCELERATE MEDIA, INC.
 2.22      lease is for and the nature                                        23679 CALABASAS ROAD
           of the debtor’s interest                                           SUITE 154
                                                                              CALABASAS, CA 91302
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MAINTENANCE SERVICE
           State what the contract or     AGREEMENT DATED: 10/07/2019         ACCO ENGINEERED SYSTEMS
 2.23      lease is for and the nature                                        300 BROADWAY STREET
           of the debtor’s interest                                           SUITE 20
                                                                              SAN FRANCISCO, CA 94133-4529
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
           State what the contract or     AGREEMENT DATED: 05/02/2023         ACEPIX BIOSCIENCES, INC
 2.24      lease is for and the nature                                        31351 MEDALLION DR
           of the debtor’s interest                                           HAYWARD, CA 94544

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 07/18/2022
           State what the contract or                                         ACTALENT SCIENTIFIC, LLC
 2.25      lease is for and the nature                                        7301 PARKWAY DRIVE
           of the debtor’s interest                                           HANOVER, MD 21076

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
           State what the contract or     SERVICE AGREEMENT DATED:            ACTALENT, INC.
 2.26      lease is for and the nature    07/06/2022                          7301 PARKWAY DRIVE
           of the debtor’s interest                                           HANOVER, MD 21076

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STANDALONE SCHEDULE, TERMS
           State what the contract or     AND CONDITIONS + PRIVACY            ACXIOM LLC
 2.27      lease is for and the nature    SECURITY SCHEDULE DATED:            301 EAST DAVE WARD DRIVE
           of the debtor’s interest       11/13/2024                          CONWAY, AR 72032-7114

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/30/2024
           State what the contract or                                         AD RESULTS MEDIA, LLC
 2.28      lease is for and the nature                                        3120 SOUTHWEST FWY.
           of the debtor’s interest                                           SUITE 101
                                                                              PMB 85753
           State the term remaining       Undetermined                        HOUSTON, TX 77098

           List the contract number of
           any government contract

                                          AGENCY SERVICES AGREEMENT
           State what the contract or     DATED: 08/16/2024                   AD RESULTS MEDIA, LLC
 2.29      lease is for and the nature                                        3120 SOUTHWEST FWY.
           of the debtor’s interest                                           SUITE 101
                                                                              PMB 85753
           State the term remaining       Undetermined                        HOUSTON, TX 77098

           List the contract number of
           any government contract

                                          ADDENDUM NO. 1 TO STATEMENT
           State what the contract or     OF WORK #1 OF THE AGENCY            AD RESULTS MEDIA, LLC
 2.30      lease is for and the nature    SERVICES AGREEMENT DATED:           3120 SOUTHWEST FWY.
           of the debtor’s interest       01/01/2019                          SUITE 101
                                                                              PMB 85753
           State the term remaining       Undetermined                        HOUSTON, TX 77098

           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/07/2024
           State what the contract or                                         ADA SUPPORT INC.
 2.31      lease is for and the nature                                        96 SPADINA AVE
           of the debtor’s interest                                           UNIT 801
                                                                              TORONTO, ON M5V 2J6
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/17/2020
           State what the contract or                                         ADA SUPPORT INC.
 2.32      lease is for and the nature                                        96 SPADINA AVE
           of the debtor’s interest                                           UNIT 801
                                                                              TORONTO, ON M5V 2J6
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 01/01/2020                   ADMINISTRATIVE SOLUTIONS, INC.
 2.33      lease is for and the nature                                        ADMINISTRATIVE SOLUTIONS INC. ASI
           of the debtor’s interest                                           P. O. BOX 58091
                                                                              FRESNO, CA 93755
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
           State what the contract or     02/03/2021                          ADP, INC.
 2.34      lease is for and the nature                                        ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
           State what the contract or     11/19/2020                          ADP, INC.
 2.35      lease is for and the nature                                        ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
           State what the contract or     05/19/2021                          ADP, INC.
 2.36      lease is for and the nature                                        ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 03/08/2021
           State what the contract or                                         ADP, INC.
 2.37      lease is for and the nature                                        ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDED GLOBAL MASTER
           State what the contract or     SERVICES AGREEMENT DATED:           ADP, INC.
 2.38      lease is for and the nature    08/03/2024                          ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE API SERVICES
           State what the contract or     AGREEMENT DATED: 05/20/2021         ADP, INC.
 2.39      lease is for and the nature                                        ONE ADP
           of the debtor’s interest                                           BOULEVARD
                                                                              ROSELAND, NJ 07068
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 01/08/2025                   ADRIENNE COURT HOSPITALITY, LLC
 2.40      lease is for and the nature                                        1000 OAK STREET
           of the debtor’s interest                                           OAKLAND, CA 94607

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LETTER AGREEMENT
           State what the contract or                                         ADVANCED CELL DIAGNOSTICS, INC.
 2.41      lease is for and the nature                                        7707 GATEWAY BLVD. #200
           of the debtor’s interest                                           NEWARK, CA 94560

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED
           State what the contract or     04/27/2020                          ADVANCED CHEMICAL TRANSPORT, INC.
 2.42      lease is for and the nature                                        967 MABURY ROAD
           of the debtor’s interest                                           SAN JOSE, CA 95133

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 01/22/2025                   ADVANCED CHEMICAL TRANSPORT, INC.
 2.43      lease is for and the nature                                        967 MABURY ROAD
           of the debtor’s interest                                           SAN JOSE, CA 95133

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 07/18/2022
           State what the contract or                                         AEROTEK
 2.44      lease is for and the nature                                        7301 PARKWAY DRIVE SOUTH
           of the debtor’s interest                                           HANOVER, MD 21076

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
           State what the contract or     DATED: 03/19/2024                   AFROPINK, INC
 2.45      lease is for and the nature                                        418 BROADWAY
           of the debtor’s interest                                           #5207
                                                                              ALBANY, NY 12207
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
           State what the contract or     07/31/2024                          AFROPINK, INC
 2.46      lease is for and the nature                                        418 BROADWAY
           of the debtor’s interest                                           #5207
                                                                              ALBANY, NY 12207
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
           State what the contract or     10/22/2024                          AFROPINK, INC
 2.47      lease is for and the nature                                        418 BROADWAY
           of the debtor’s interest                                           #5207
                                                                              ALBANY, NY 12207
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER NUMBER 1 DATED:
           State what the contract or     08/31/2023                          AGANITHA AI INC.
 2.48      lease is for and the nature                                        7771ST ST
           of the debtor’s interest                                           #519
                                                                              GILROY, CA 95020
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 08/08/2023                   AGANITHA AI INC.
 2.49      lease is for and the nature                                        777 FIRST ST
           of the debtor’s interest                                           # 519
                                                                              GILROY, CA 95020
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          1PASSWORD SERVICE AGREEMENT
           State what the contract or     DATED: 06/28/2022           AGILEBITS, INC
 2.50      lease is for and the nature                                164 MARGARET LAKE TRAIL
           of the debtor’s interest                                   ST. THOMAS, ON
                                                                      CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 07/02/2024
           State what the contract or                                         AGILEBITS, INC
 2.51      lease is for and the nature                                        164 MARGARET LAKE TRAIL
           of the debtor’s interest                                           ST. THOMAS, ON
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REMARKETING INSTRUMENT
           State what the contract or     TRADE-IN CREDIT OFFER DATED:        AGILENT TECHNOLOGIES
 2.52      lease is for and the nature    02/19/2020                          5301 STEVENS CREEK RD
           of the debtor’s interest                                           SANTA CLARA, CA 95051

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER - AGIOS
           State what the contract or     PHARMACEUTICALS, INC. DATED:        AGIOS PHARMACEUTICALS, INC.
 2.53      lease is for and the nature    12/12/2024                          88 SIDNEY STREET
           of the debtor’s interest                                           CAMBRIDGE, MA 02139

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO.2 PKD
           State what the contract or     INITIATIVE DATED: 12/21/2022        AGIOS PHARMACEUTICALS, INC.
 2.54      lease is for and the nature                                        88 SIDNEY STREET
           of the debtor’s interest                                           CAMBRIDGE, MA 02139

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTE/ORDER FORM DATED:
           State what the contract or     05/16/2024 PER GOVERNING            ALCHEMER LLC
 2.55      lease is for and the nature    SERVICE AGREEMENT                   168 CENTENNIAL PKWY
           of the debtor’s interest                                           SUITE 250
                                                                              LOUISVILLE, CO 80027
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE
           State what the contract or                                         ALCHEMER LLC
 2.56      lease is for and the nature                                        168 CENTENNIAL PKWY
           of the debtor’s interest                                           SUITE 250
                                                                              LOUISVILLE, CO 80027
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
           State what the contract or     03/31/2023                          ALERT LOGIC
 2.57      lease is for and the nature                                        1776 YORKTOWN
           of the debtor’s interest                                           7TH FLOOR
                                                                              HOUSTON, TX 77056
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO STATEMENT
           State what the contract or     OF WORK #2 DATED: 06/03/2021        ALIRA HEALTH BOSTON, LLC
 2.58      lease is for and the nature                                        1 GRANT STREET
           of the debtor’s interest                                           STE. 400
                                                                              BOSTON, MA 01702
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 03/11/2021                   ALIRA HEALTH BOSTON, LLC
 2.59      lease is for and the nature                                        1 GRANT STREET
           of the debtor’s interest                                           STE. 400
                                                                              BOSTON, MA 01702
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
           State what the contract or     AGREEMENT DATED: 06/27/2024         ALK POSITIVE, INC.
 2.60      lease is for and the nature                                        6595 ROSWELL ROAD
           of the debtor’s interest                                           SUITE G2310
                                                                              ATLANTA, GA 30328
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 3 DATED:
           State what the contract or     11/21/2024                     ALKU TECHNOLOGIES, LLC
 2.61      lease is for and the nature                                   200 BRICKSTONE SQUARE
           of the debtor’s interest                                      SUITE 503
                                                                         ANDOVER, MA 01810
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
           State what the contract or     SERVICES AGREEMENT DATED:           ALKU TECHNOLOGIES, LLC
 2.62      lease is for and the nature    10/05/2022                          200 BRICKSTONE SQUARE
           of the debtor’s interest                                           SUITE 503
                                                                              ANDOVER, MA 01810
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
           State what the contract or     PROFESSIONAL CONSULTING             ALKU TECHNOLOGIES, LLC
 2.63      lease is for and the nature    SERVICES AGREEMENT DATED:           200 BRICKSTONE SQUARE
           of the debtor’s interest       09/23/2023                          SUITE 503
                                                                              ANDOVER, MA 01810
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
           State what the contract or     01/14/2025                          ALLIUM US HOLDING LLC
 2.64      lease is for and the nature                                        251 LITTLE FALLS DRIVE
           of the debtor’s interest                                           WILMINGTON, DE 19808

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
           State what the contract or     01/14/2025                          ALLIUM US HOLDING LLC
 2.65      lease is for and the nature                                        LEGAL DEPARTMENT
           of the debtor’s interest                                           7979 E. TUFTS AVE.
                                                                              SUITE 300
           State the term remaining       Undetermined                        DENVER, CO 80237

           List the contract number of
           any government contract

                                          DEARDOC PODCAST GUEST
           State what the contract or     RELEASE FORM DATED: 11/05/2019      ALLMEDIAKIND LLC
 2.66      lease is for and the nature                                        52 MODENA
           of the debtor’s interest                                           IRVINE, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEARDOC PODCAST GUEST
           State what the contract or     RELEASE FORM DATED: 11/05/2019      ALLMEDIAKIND LLC
 2.67      lease is for and the nature                                        52 MODENA
           of the debtor’s interest                                           IRVINE, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT
           State what the contract or                                         ALLOMA BIO, INC.
 2.68      lease is for and the nature                                        1320 NAGEL RD.
           of the debtor’s interest                                           SUITE 54386
                                                                              CINCINNATI, OH 45244
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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                                                                             Case number              Main (BCW)
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MATERIAL TRANSFER AGREEMENT
           State what the contract or     DATED: 12/04/2021                   ALMIRALL, S.A.
 2.69      lease is for and the nature                                        RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA, 08022
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO LETTER
           State what the contract or     AGREEMENT DATED: 12/04/2021         ALMIRALL, S.A.
 2.70      lease is for and the nature                                        RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA, 08022
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
           State what the contract or     04/02/2021                          ALMIRALL, S.A.
 2.71      lease is for and the nature                                        RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA, 08022
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
           State what the contract or     06/09/2021                          ALMIRALL, S.A.
 2.72      lease is for and the nature                                        RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA, 08022
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          REF. MATERIAL TRANSFER
           State what the contract or     AGREEMENT – NOTICE OF               ALMIRALL, S.A.
 2.73      lease is for and the nature    TERMINATION DATED: 12/17/2021       RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA,
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          AMENDMENT NO. DATED:
           State what the contract or     09/23/2021                          ALMIRALL, S.A.
 2.74      lease is for and the nature                                        RONDA GENERAL MITRE
           of the debtor’s interest                                           151 08022
                                                                              BARCELONA, 08022
           State the term remaining       Undetermined                        SPAIN

           List the contract number of
           any government contract

                                          CHANGE ORDER #1 TO STATEMENT
           State what the contract or     OF WORK DATED: 10/02/2019    ALNYLAM PHARMACEUTICALS, INC.
 2.75      lease is for and the nature                                 675 WEST KENDALL STREET HENRI A TERMEER SQUARE
           of the debtor’s interest                                    CAMBRIDGE, MA 02142

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION OF SERVICES
           State what the contract or     AGREEMENT DATED: 07/27/2022         ALNYLAM PHARMACEUTICALS, INC.
 2.76      lease is for and the nature                                        675 WEST KENDALL STREET HENRI A TERMEER SQUARE
           of the debtor’s interest                                           CAMBRIDGE, MA 02142

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
           State what the contract or     03/14/2016                          ALOM TECHNOLOGIES CORPORATION
 2.77      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FERMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED 2/28/2024
           State what the contract or                                         ALOM TECHNOLOGIES CORPORATION
 2.78      lease is for and the nature                                        48105 WARM SPRING BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE 17563 DATED: 01/01/2014
           State what the contract or                                         ALOM TECHNOLOGIES CORPORATION
 2.79      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING AGREEMENT
           State what the contract or     DATED 8/27/2018                     ALOM TECHNOLOGIES CORPORATION
 2.80      lease is for and the nature                                        48105 WARM SPRING BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
           State what the contract or     08/12/2010                          ALOM TECHNOLOGIES CORPORATION
 2.81      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT
           State what the contract or     DATED:2/8/2024                      ALOM TECHNOLOGIES CORPORATION
 2.82      lease is for and the nature                                        48105 WARM SPRING BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICE AGREEMENT DATED:
           State what the contract or     05/01/2013                          ALOM TECHNOLOGIES CORPORATION
 2.83      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
           State what the contract or     10/21/2014                          ALOM TECHNOLOGIES CORPORATION
 2.84      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT
           State what the contract or     DATED:2/8/2023                      ALOM TECHNOLOGIES CORPORATION
 2.85      lease is for and the nature                                        48105 WARM SPRING BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICE QUOTE
           State what the contract or                                         ALOM TECHNOLOGIES CORPORATION
 2.86      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED 12/28/2017
           State what the contract or                                         ALOM TECHNOLOGIES CORPORATION
 2.87      lease is for and the nature                                        48105 WARM SPRING BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
           State what the contract or     LICENSE AGREEMENT DATED:            ALOM TECHNOLOGIES CORPORATION
 2.88      lease is for and the nature    02/28/2024                          48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT
           State what the contract or                                         ALOM TECHNOLOGIES CORPORATION
 2.89      lease is for and the nature                                        48105 WARM SPRINGS BLVD.
           of the debtor’s interest                                           FREMONT, CA 94539-7498

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          DATA PROCESSING ADDENDUM
           State what the contract or     DATED: 04/03/2023                   ALPHA.IO INC.
 2.90      lease is for and the nature                                        360 N PACIFIC COAST HWY
           of the debtor’s interest                                           STE 2000
                                                                              EL SEGUNDO, CA 90245
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
           State what the contract or     DATED: 05/05/2022                   ALPHALYSE A/S
 2.91      lease is for and the nature                                        ROEDEGAARDSVEJ 209C
           of the debtor’s interest                                           DK-5230
                                                                              ODENSE M,
           State the term remaining       Undetermined                        DENMARK

           List the contract number of
           any government contract

                                          ORDER FORM DATED: 07/31/2024
           State what the contract or                                         ALPHASENSE, INC.
 2.92      lease is for and the nature                                        24 UNION SQUARE EAST
           of the debtor’s interest                                           6TH FLOOR
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 01/01/2025
           State what the contract or                                         ALPHASENSE, INC.
 2.93      lease is for and the nature                                        24 UNION SQUARE EAST
           of the debtor’s interest                                           6TH FLOOR
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
           State what the contract or     6/11/2009                           ALSTON & BIRD LLP
 2.94      lease is for and the nature                                        ONE ATLANTIC CENTER
           of the debtor’s interest                                           1201 WEST PEACHTREE STREET
                                                                              ATLANTA, GA 30309-3424
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
           State what the contract or     AND MAINTENANCE AGREEMENT           ALTAIR ENGINEERING INC.
 2.95      lease is for and the nature    DATED: 05/22/2024                   1820 E. BIG BEAVER ROAD
           of the debtor’s interest                                           TROY, MI 48083-2031

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO
           State what the contract or     CONSULTING AGREEMENT DATED:         AMADOR BIOSCIENCE, INC.
 2.96      lease is for and the nature    07/12/2020                          4695 CHABOT DRIVE SUITE 200-265
           of the debtor’s interest                                           PLEASANTON, CA 94588

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER LABORATORY SERVICES
           State what the contract or     AGREEMENT DATED: 07/12/2023         AMADOR BIOSCIENCE, INC.
 2.97      lease is for and the nature                                        20400 CENTURY BLVD.
           of the debtor’s interest                                           SUITE 110
                                                                              GERMANTOWN, MD 20874
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CA INSERTION ORDER DATED:
           State what the contract or     10/19/2022                          AMAZON ADVERTISING CANADA, INC.
 2.98      lease is for and the nature                                        410 TERRY AVENUE NORTH
           of the debtor’s interest                                           SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CA INSERTION ORDER DATED:
           State what the contract or     10/14/2020                          AMAZON ADVERTISING CANADA, INC.
 2.99      lease is for and the nature                                        410 TERRY AVENUE NORTH
           of the debtor’s interest                                           SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VENDOR TERMS AND CONDITIONS
      State what the contract or                                              AMAZON EU SAR
2.100 lease is for and the nature                                             RUE PLAETIS
      of the debtor’s interest                                                L-2338
                                                                              LUXEMBOURG,
           State the term remaining       Undetermined                        LUXEMBOURG

           List the contract number of
           any government contract

                                          INSERTION ORDER DATED:
      State what the contract or          05/20/2022                          AMAZON ONLINE UK LIMITED
2.101 lease is for and the nature                                             1 PRINCIPAL PLACE WORSHIP STREET
      of the debtor’s interest                                                LONDON, EC2A 2FA
                                                                              UNITED KINGDOM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF AUTHORIZATION DATED:
      State what the contract or          03/20/2023                     AMAZON SERVICES EUROPE S.À.R.L.
2.102 lease is for and the nature                                        RUE PLAETIS
      of the debtor’s interest                                           L-2338
                                                                         LUXEMBOURG,
           State the term remaining       Undetermined                   LUXEMBOURG

           List the contract number of
           any government contract

                                          BRAND REFERRAL AGREEMENT
      State what the contract or                                              AMAZON, INC.
2.103 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TRANSPARENCY PROGRAM
      State what the contract or          AGREEMENT DATED: 07/31/2024         AMAZON.COM SERVICES LLC
2.104 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          US INSERTION ORDER DATED:
      State what the contract or          09/21/2023                          AMAZON.COM, INC.
2.105 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAS CORE TERMS UPDATED DATED:
      State what the contract or          06/01/2023                    AMAZON.COM, INC.
2.106 lease is for and the nature                                       410 TERRY AVENUE NORTH
      of the debtor’s interest                                          SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          US INSERTION ORDER DATED:
      State what the contract or          05/23/2022                          AMAZON.COM, INC.
2.107 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVERTISER AUDIENCES
      State what the contract or          AGREEMENT DATED: 12/28/2022         AMAZON.COM, INC.
2.108 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE TERMS DATED: 05/07/2024
      State what the contract or                                              AMAZON.COM, INC.
2.109 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVERTISING AGREEMENT DATED:
      State what the contract or          07/14/2021                   AMAZON.COM, INC.
2.110 lease is for and the nature                                      410 TERRY AVENUE NORTH
      of the debtor’s interest                                         SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          US INSERTION ORDER DATED:
      State what the contract or          12/01/2021                          AMAZON.COM, INC.
2.111 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          US INSERTION ORDER DATED:
      State what the contract or          05/27/2022                          AMAZON.COM, INC.
2.112 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          US INSERTION ORDER DATED:
      State what the contract or          09/25/2023                          AMAZON.COM, INC.
2.113 lease is for and the nature                                             410 TERRY AVENUE NORTH
      of the debtor’s interest                                                SEATTLE, WA 98109-5210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          01/01/2025                   AMERICAN MEDICAL ASSOCIATION FOUNDATION
2.114 lease is for and the nature                                      330 N WABASH AVE.
      of the debtor’s interest                                         SUITE 39300
                                                                       CHICAGO, IL 60611
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 04/13/2022                   AMERICAN TYPE CULTURE COLLECTION
2.115 lease is for and the nature                                             10801 UNIVERSITY BOULEVARD
      of the debtor’s interest                                                MANASSAS, VA 20110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM DATED: 11/04/2021
      State what the contract or                                              AMERICAN TYPE CULTURE COLLECTION
2.116 lease is for and the nature                                             10801 UNIVERSITY BOULEVARD
      of the debtor’s interest                                                MANASSAS, VA 20110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 01/21/2022                   AMERICAN TYPE CULTURE COLLECTION
2.117 lease is for and the nature                                             10801 UNIVERSITY BOULEVARD
      of the debtor’s interest                                                MANASSAS, VA 20110

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUPPLIER ATTESTATION FORM
      State what the contract or          DATED: 05/05/2020                   AMGEN
2.118 lease is for and the nature                                             ONE AMGEN CENTER DRIVE
      of the debtor’s interest                                                THOUSAND OAKS, CA 91320-1799

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          4/16/2020                           ANCESTRY.COM OPERATIONS INC.
2.119 lease is for and the nature                                             1300 WEST TRAVERSE PARKWAY
      of the debtor’s interest                                                LEHI, UT 84043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 05/02/2022                   ANCILLARE, LP
2.120 lease is for and the nature                                             700 ENTERPRISE ROAD
      of the debtor’s interest                                                HORSHAM, PA 19044

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VALUATION DATED: 03/26/2020
      State what the contract or                                              ANDERSEN TAX LLC
2.121 lease is for and the nature                                             1850 K STREET, NW
      of the debtor’s interest                                                SUITE 675
                                                                              WASHINGTON, DC 20006
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 DATED:
      State what the contract or          06/27/2024                          ANTIBODY SOLUTIONS
2.122 lease is for and the nature                                             3033 SCOTT BLVD.
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 06/23/2022
      State what the contract or                                              ANTIBODY SOLUTIONS
2.123 lease is for and the nature                                             3033 SCOTT BLVD.
      of the debtor’s interest                                                SANTA CLARA, CA 95054

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/11/2022                   ANVIL VENTURES, INC.
2.124 lease is for and the nature                                             2125 WESTERN AVE.
      of the debtor’s interest                                                SUITE 208
                                                                              SEATTLE, WA 98121
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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                                                                                         (If known): 25-40977 Document
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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 07/19/2024                   ANYBILL FINANCIAL SERVICES, INC.
2.125 lease is for and the nature                                             800 MAINE AVE., SW
      of the debtor’s interest                                                SUITE 650
                                                                              WASHINGTON, DC 20024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 06/07/2023
      State what the contract or                                              APPZEN, INC.
2.126 lease is for and the nature                                             6201 AMERICA CENTER DR.
      of the debtor’s interest                                                SUITE 300
                                                                              SAN JOSE, CA 95002
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          01/01/2024                   ARRAY
2.127 lease is for and the nature                                      2029 CENTURY PARK E STE 1750
      of the debtor’s interest                                         LOS ANGELES, CA 90067

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
      State what the contract or          DATED: 02/01/2024                   ASIERIS USA.
2.128 lease is for and the nature                                             2460 EMBARCADERO WAY.
      of the debtor’s interest                                                SUITE B.
                                                                              PALO ALTO, CA 94303
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/09/2024
      State what the contract or                                              ATTENTIVE MOBILE INC.
2.129 lease is for and the nature                                             221 RIVER STREET
      of the debtor’s interest                                                SUITE 9047
                                                                              HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF AUTHORIZATION DATED:
      State what the contract or          10/30/2024                     ATTENTIVE MOBILE INC.
2.130 lease is for and the nature                                        221 RIVER STREET
      of the debtor’s interest                                           SUITE 9047
                                                                         HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM FOR MASTER
      State what the contract or          SUBSCRIPTION AGREEMENT              ATTENTIVE MOBILE INC.
2.131 lease is for and the nature         DATED: 02/02/2025                   221 RIVER STREET
      of the debtor’s interest                                                SUITE 9047
                                                                              HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LETTER OF AUTHORIZATION DATED:
      State what the contract or          10/09/2024                     ATTENTIVE MOBILE INC.
2.132 lease is for and the nature                                        221 RIVER STREET
      of the debtor’s interest                                           SUITE 9047
                                                                         HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF AUTHORIZATION DATED:
      State what the contract or          12/03/2024                     ATTENTIVE MOBILE INC.
2.133 lease is for and the nature                                        221 RIVER STREET
      of the debtor’s interest                                           SUITE 9047
                                                                         HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 11/30/2023
      State what the contract or                                              AUDITBOARD, INC.
2.134 lease is for and the nature                                             12900 PARK PLAZA DR.
      of the debtor’s interest                                                SUITE 200
                                                                              CERRITOS, CA 90703
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS AND CONDITIONS DATED:
      State what the contract or          12/20/2021                          AUTOMATED BUILDING CONTROL SOLUTIONS
2.135 lease is for and the nature                                             330 MATHEW STREET
      of the debtor’s interest                                                SANTA CLARA, CA 95050

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED 04/09/2020
      State what the contract or                                              AVALARA, INC.
2.136 lease is for and the nature                                             255 SOUTH KING STREET
      of the debtor’s interest                                                STE. 1800
                                                                              SEATTLE, WA 98104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/31/2023
      State what the contract or                                              AVALARA, INC.
2.137 lease is for and the nature                                             255 SOUTH KING STREET
      of the debtor’s interest                                                STE. 1800
                                                                              SEATTLE, WA 98104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SALES ORDER DATED: 07/24/2024
      State what the contract or                                              AVALARA, INC.
2.138 lease is for and the nature                                             255 SOUTH KING STREET
      of the debtor’s interest                                                STE. 1800
                                                                              SEATTLE, WA 98104
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROPOSAL DATED: 11/19/2019
      State what the contract or                                              AVI-SPL, INC.
2.139 lease is for and the nature                                             904 PARDEE ST
      of the debtor’s interest                                                BERKELEY, CA 94710

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT AGREEMENT DATED:
      State what the contract or          02/14/2023                  AXIOM
2.140 lease is for and the nature                                     3 WORLD TRADE CENTER
      of the debtor’s interest                                        50TH FLOOR
                                                                      175 GREENWICH ST.
           State the term remaining       Undetermined                NEW YORK, NY 10007

           List the contract number of
           any government contract

                                          ILLUSTRATION SERVICES
      State what the contract or          AGREEMENT DATED: 05/28/2024         AXS BIOMEDICAL ANIMATION STUDIO INCORPORATED
2.141 lease is for and the nature                                             111 PETER STREET
      of the debtor’s interest                                                SUITE 700
                                                                              TORONTO, ON M5V 2H1
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          AMENDMENT DATED: 03/28/2024
      State what the contract or                                              AZENTA US, INC.
2.142 lease is for and the nature                                             2910 FORTUNE CIRCLE WEST
      of the debtor’s interest                                                SUITE E
                                                                              INDIANAPOLIS, IN 46241
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 12/06/2024
      State what the contract or                                              AZENTA US, INC.
2.143 lease is for and the nature                                             2910 FORTUNE CIRCLE WEST
      of the debtor’s interest                                                SUITE E
                                                                              INDIANAPOLIS, IN 46241
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO MASTER
      State what the contract or          AGREEMENT FOR SERVICES              AZENTA US, INC.
2.144 lease is for and the nature         DATED: 03/15/2024                   2910 FORTUNE CIRCLE WEST
      of the debtor’s interest                                                SUITE E
                                                                              INDIANAPOLIS, IN 46241
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO WORK
      State what the contract or          ORDER NO. 2 DATED: 03/30/2024       AZENTA US, INC.
2.145 lease is for and the nature                                             2910 FORTUNE CIRCLE WEST
      of the debtor’s interest                                                SUITE E
                                                                              INDIANAPOLIS, IN 46241
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED            AZZUR GROUP, LLC
2.146 lease is for and the nature         07/05/2022                          330 S. WARMINSTER ROAD
      of the debtor’s interest                                                SUITE 341
                                                                              HATBORO, PA 19040
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 06/01/2022                   B. PATT, LLC. (D/B/A GO FISH DIGITAL)
2.147 lease is for and the nature                                             227 FAYETTEVILLE STREET
      of the debtor’s interest                                                SUITE 7
                                                                              RALEIGH, NC 27601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 4 DATED:
      State what the contract or          12/04/2024                          B. PATT, LLC. (D/B/A GO FISH DIGITAL)
2.148 lease is for and the nature                                             227 FAYETTEVILLE STREET
      of the debtor’s interest                                                SUITE 7
                                                                              RALEIGH, NC 27601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO
      State what the contract or          STATEMENT OF WORK NO. 4 DATED: B2S LIFE SCIENCES, LLC.
2.149 lease is for and the nature         11/02/2023                     97 E MONROE STREET
      of the debtor’s interest                                           FRANKLIN, IN 46131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          STATEMENT OF WORK NO. 3 DATED: B2S LIFE SCIENCES, LLC.
2.150 lease is for and the nature         01/27/2024                     97 E MONROE STREET
      of the debtor’s interest                                           FRANKLIN, IN 46131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 01/04/2021                   B2S LIFE SCIENCES, LLC.
2.151 lease is for and the nature                                             97 E. MONROE STREET
      of the debtor’s interest                                                FRANKLIN, IN 46131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           B2S LIFE SCIENCES, LLC.
2.152 lease is for and the nature         DATED: 07/26/2021                   97 E. MONROE STREET
      of the debtor’s interest                                                FRANKLIN, IN 46131

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 12/09/2024                   BAIRESDEV, LLC
2.153 lease is for and the nature                                             1999 S BASCOM AVE
      of the debtor’s interest                                                #700
                                                                              CAMPBELL, CA 95008
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
      State what the contract or          DATED: 10/31/2024                   BAKAR LABS
2.154 lease is for and the nature                                             2630 BANCROFT WAY.
      of the debtor’s interest                                                BERKELEY, CA 94704

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 12/18/2019
      State what the contract or                                              BALANCE FITNESS
2.155 lease is for and the nature                                             145 NORTH AMPHLETT BLVD
      of the debtor’s interest                                                SAN MATEO, CA 94401

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
      State what the contract or          DATED: 03/15/2023                   BARBARA ANN KARMANOS CANCER HOSPITAL
2.156 lease is for and the nature                                             BARBARA ANN KARMANOS CANCER HOSPITAL
      of the debtor’s interest                                                4100 JOHN R MM00RA
                                                                              ATTN DIRECTOR
           State the term remaining       Undetermined                        DETROIT, MI 48201-2013

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/11/2024                   BAUBO STUDIO
2.157 lease is for and the nature                                             162 UNDERHILL AVE. #2
      of the debtor’s interest                                                BROOKLYN, NY 11238

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 DATED:
      State what the contract or          11/03/2023                          BAYSIDE BIOSCIENCES, INC.
2.158 lease is for and the nature                                             2450 SCOTT BLVD.
      of the debtor’s interest                                                SUITE 306
                                                                              SANTA CLARA, CA 95050
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           BAYSIDE BIOSCIENCES, INC.
2.159 lease is for and the nature         DATED: 09/29/2021                   2450 SCOTT BLVD
      of the debtor’s interest                                                SUITE 306
                                                                              SANTA CLARA, CA 95050
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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              Name                                          Pg 1724 of 1950
               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER #9 DATED: 01/31/2023
      State what the contract or                                              BAYSIDE BIOSCIENCES, INC.
2.160 lease is for and the nature                                             2450 SCOTT BLVD
      of the debtor’s interest                                                SUITE 306
                                                                              SANTA CLARA, CA 95050
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #8 DATED: 12/19/2022
      State what the contract or                                              BAYSIDE BIOSCIENCES, INC.
2.161 lease is for and the nature                                             2450 SCOTT BLVD
      of the debtor’s interest                                                SUITE 306
                                                                              SANTA CLARA, CA 95050
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 07/15/2020
      State what the contract or                                              BAZAARVOICE, INC.
2.162 lease is for and the nature                                             10901 STONELAKE BOULEVARD
      of the debtor’s interest                                                AUSTIN, TX 78759

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING AGREEMENT
      State what the contract or          DATED: 06/24/2020                   BAZAARVOICE, INC.
2.163 lease is for and the nature                                             10901 STONELAKE BOULEVARD
      of the debtor’s interest                                                AUSTIN, TX 78759

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          04/09/2021                          BDO USA, LLP
2.164 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED
      State what the contract or          01/25/2021                          BDO USA, LLP
2.165 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          12/22/2021                          BDO USA, LLP
2.166 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK # 9 DATED:
      State what the contract or          12/22/2021                          BDO USA, LLP
2.167 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          07/01/2021                          BDO USA, LLP
2.168 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK # 8 DATED:
      State what the contract or          12/22/2021                          BDO USA, LLP
2.169 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REPRESENTATIONS DATED:
      State what the contract or          01/22/2021                          BDO USA, LLP
2.170 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #11 DATED:
      State what the contract or          06/24/2022                          BDO USA, LLP
2.171 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED
      State what the contract or          06/02/2021                          BDO USA, LLP
2.172 lease is for and the nature                                             300 PARK AVENUE
      of the debtor’s interest                                                SUITE 900
                                                                              SAN JOSE, CA 95110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION DATED: 12/06/2021
      State what the contract or                                              BECKMAN COULTER
2.173 lease is for and the nature                                             5350 LAKEVIEW PARKWAY SOUTH DR
      of the debtor’s interest                                                INDIANAPOLIS, IN 46268

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTATION DATED: 10/25/2019
      State what the contract or                                              BECKMAN COULTER LIFE SCIENCES
2.174 lease is for and the nature                                             5350 LAKEVIEW PARKWAY SOUTH DR.
      of the debtor’s interest                                                INDIANAPOLIS, IN 46268

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/03/2024
      State what the contract or                                              BECKMAN COULTER, INC. LIFE SCIENCES
2.175 lease is for and the nature                                             5350 LAKEVIEW PARKWAY SOUTH DR.
      of the debtor’s interest                                                INDIANAPOLIS, IN 46268

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 01/21/2024                   BEIGENE, LTD.
2.176 lease is for and the nature                                             ATTENTION: GENERAL COUNSEL C/O BEIGENE USA, INC.
      of the debtor’s interest                                                55 CAMBRIDGE PARKWAY
                                                                              SUITE 700W
           State the term remaining       Undetermined                        CAMBRIDGE, MA 02142

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1
      State what the contract or                                              BEIGENE, LTD.
2.177 lease is for and the nature         TO MATERIAL TRANSFER                ATTENTION: GENERAL COUNSEL C/O BEIGENE USA, INC.
      of the debtor’s interest            AGREEMENT DATED: 07/02/2024         55 CAMBRIDGE PARKWAY
                                                                              SUITE 700W
           State the term remaining       Undetermined                        CAMBRIDGE, MA 02142

           List the contract number of
           any government contract

                                          SALES ORDER DATED: 06/24/2024
      State what the contract or                                              BENCHLING, INC.
2.178 lease is for and the nature                                             555 MONTGOMERY STREET #1700
      of the debtor’s interest                                                SAN FRANCISCO, CA 94111

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CUSTOMER AGREEMENT DATED:
      State what the contract or          04/30/2021                          BENCHLING, INC.
2.179 lease is for and the nature                                             555 MONTGOMERY STREET #1700
      of the debtor’s interest                                                SAN FRANCISCO, CA 94111

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
      State what the contract or                                              BETINA ENTERPRISES LTD
2.180 lease is for and the nature                                             801 THOMAS STREET
      of the debtor’s interest                                                COLLEYVILLE, TX 76034

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MAIN SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 10/31/2023                   BETTERCLOUD, INC.
2.181 lease is for and the nature                                             330 7TH AVENUE
      of the debtor’s interest                                                4TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           BEYONDID, INC.
2.182 lease is for and the nature         02/03/2023                          535 MISSION ST.
      of the debtor’s interest                                                14TH FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL SERVICES
      State what the contract or          AGREEMENT DATED: 10/06/2020         BG STAFFING, INC.
2.183 lease is for and the nature                                             5850 GRANITE PARKWAY
      of the debtor’s interest                                                SUITE 730
                                                                              PLANO, TX 75024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          01/22/2025                          BGSF PROFESSIONAL, LLC
2.184 lease is for and the nature                                             5850 GRANITE PARKWAY, SUITE 730
      of the debtor’s interest                                                PLANO, TX 75024

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE MASTER
      State what the contract or          SERVICES AGREEMENT DATED:     BIASESS STRATEGIES, LLC
2.185 lease is for and the nature         03/22/2023                    1925 CENTURY PARK E
      of the debtor’s interest                                          SUITE 1700
                                                                        LOS ANGELES, CA 90067
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1
      State what the contract or                                              BI-LINGUAL INTERNATIONAL ASSISTANT SERVICES
2.186 lease is for and the nature         TO THE                              4030 CHOUTEAU AVE.
      of the debtor’s interest                                                STE 700
                                          MASTER SERVICES AGREEMENT           ST. LOUIS, MO 63110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 07/13/2022         BIOAGILYTIX LABS, LLC
2.187 lease is for and the nature                                             2300 ENGLERT DRIVE
      of the debtor’s interest                                                DURHAM, NC 27713

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROJECT AMENDMENT DATED:
      State what the contract or          02/16/2024                          BIOAGILYTIX LABS, LLC
2.188 lease is for and the nature                                             2300 ENGLERT DRIVE
      of the debtor’s interest                                                DURHAM, NC 27713

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NUMBER 3 DATED:
      State what the contract or          02/12/2024                          BIOAGILYTIX LABS, LLC
2.189 lease is for and the nature                                             2300 ENGLERT DRIVE
      of the debtor’s interest                                                DURHAM, NC 27713

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NUMBER 2 DATED:
      State what the contract or          06/16/2023                          BIOAGILYTIX LABS, LLC
2.190 lease is for and the nature                                             1320 SOLDIERS FIELD ROAD
      of the debtor’s interest                                                BOSTON, MA 20135

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 02/11/2020                   BIOANALYTICAL SYSTEMS, INC.
2.191 lease is for and the nature                                             2701 KENT AVENUE
      of the debtor’s interest                                                WEST LAFAYETTE, IN 47906

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #2 DATED: 03/31/2021
      State what the contract or                                              BIOCYTOGEN BOSTON CORP.
2.192 lease is for and the nature                                             50D AUDUBON RD.
      of the debtor’s interest                                                WAKEFIELD, MA 01880

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 07/15/2024         BIODOCK INC.
2.193 lease is for and the nature                                             3300 NORTH INTERSTATE 35
      of the debtor’s interest                                                AUSTIN, TX 78705

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 1 DATED:
      State what the contract or          07/15/2024                          BIODOCK INC.
2.194 lease is for and the nature                                             3300 NORTH INTERSTATE 35
      of the debtor’s interest                                                AUSTIN, TX 78705

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROPOSAL DOCUMENT DATED:
      State what the contract or          06/08/2021                          BIO-RAD
2.195 lease is for and the nature                                             2000 ALFRED NOBEL DRIVE
      of the debtor’s interest                                                HERCULES, CA 94547

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 09/29/2020                   BIOSPECIMENS SOLUTIONS, INC.
2.196 lease is for and the nature                                             63 BOVET RD.
      of the debtor’s interest                                                SUITE 350
                                                                              SAN MATEO, CA 94402
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           BIOSPECIMENS SOLUTIONS, INC.
2.197 lease is for and the nature         10/12/2022                          63 BOVET RD.
      of the debtor’s interest                                                SUITE 350
                                                                              SAN MATEO, CA 94402
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE AND DATA LICENSE
      State what the contract or          AGREEMENT DATED: 07/14/2022         BIOTURING, INC
2.198 lease is for and the nature                                             445 EASTGATE MALL
      of the debtor’s interest                                                SAN DIEGO, CA 92121

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO STATEMENT
      State what the contract or          OF WORK #12 DATED: 04/01/2023 BLACK ROCK GROUP
2.199 lease is for and the nature         PER AGENCY SERVICES           66 CANAL CENTER PLAZA
      of the debtor’s interest            AGREEMENT DATED: 6/27/2018    STE 500
                                                                        ALEXANDRIA, VA 22314
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 DATED:
      State what the contract or          02/01/2025                          BLACK ROCK GROUP
2.200 lease is for and the nature                                             66 CANAL CENTER PLAZA
      of the debtor’s interest                                                STE 500
                                                                              ALEXANDRIA, VA 22314
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          02/24/2025                   BLEAV ENTERTAINMENT, LLC
2.201 lease is for and the nature                                      8033 SUNSET BLVD. #612
      of the debtor’s interest                                         LOS ANGELES, CA 90046

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RENEWAL DATED: 09/05/2023
      State what the contract or                                              BLOOMBERG INDUSTRY GROUP
2.202 lease is for and the nature                                             1801 S. BELL ST.
      of the debtor’s interest                                                ARLINGTON, VA 22202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROPOSAL AND QUOTE DATED:
      State what the contract or          09/26/2021                          BLOOMBERG INDUSTRY GROUP
2.203 lease is for and the nature                                             1801 S. BELL ST.
      of the debtor’s interest                                                ARLINGTON, VA 22202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/09/2021                   BLUE LINE PLANNING, INC.
2.204 lease is for and the nature                                             153 CHESTERFIELD CROSSWICKS RD
      of the debtor’s interest                                                CHESTERFIELD, NJ 08515

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP HEALTH SERVICE
      State what the contract or          CONTRACT DATED:1/1/2025             BLUE SHIELD OF CALIFORNIA ACCESS+ HMO PLAN
2.205 lease is for and the nature                                             601 12TH STREET
      of the debtor’s interest                                                OAKLAND, CA 94607

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP HEALTH SERVICE
      State what the contract or          CONTRACT DATED:1/1/2025             BLUE SHIELD OF CALIFORNIA PPO SAVINGS PLAN
2.206 lease is for and the nature                                             601 12TH STREET
      of the debtor’s interest                                                OAKLAND, CA 94607

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP HEALTH SERVICE
      State what the contract or          CONTRACT DATED:1/1/2025             BLUE SHIELD OF CALIFORNIA PPO SAVINGS PLAN
2.207 lease is for and the nature                                             601 12TH STREET
      of the debtor’s interest                                                OAKLAND, CA 94607

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AFFILIATE AGREEMENT DATED:
      State what the contract or          11/13/2018                          BLURB, INC.
2.208 lease is for and the nature                                             580 CALIFORNIA STREET
      of the debtor’s interest                                                SUITE 300
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT 1 - AFFILIATE
      State what the contract or          AGREEMENT DATED: 07/30/2020         BLURB, INC.
2.209 lease is for and the nature                                             580 CALIFORNIA STREET
      of the debtor’s interest                                                SUITE 300
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT 1 AFFILIATE
      State what the contract or          AGREEMENT DATED: 10/01/2019         BLURB, INC.
2.210 lease is for and the nature                                             580 CALIFORNIA STREET
      of the debtor’s interest                                                SUITE 300
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT 3 AFFILIATE
      State what the contract or          AGREEMENT DATED: 10/19/2020         BLURB, INC.
2.211 lease is for and the nature                                             3325 116TH S. ST.
      of the debtor’s interest                                                TUKWILA, WA 98168

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           BO TREE CONSULTING GROUP LLC
2.212 lease is for and the nature         10/03/2024                          32 N GOULD ST
      of the debtor’s interest                                                SHERIDAN, WY 82801

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE
      State what the contract or          AFFILIATION AGREEMENT DATED:        BOARD OF TRUSTEES OF SOUTHERN ILLINOIS UNIVERSITY
2.213 lease is for and the nature         07/11/2022                          1263 LINCOLN DRIVE
      of the debtor’s interest                                                CARBONDALE, IL 62901-6899

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL OF THE
      State what the contract or          OF ORDER FORM DATED: 11/01/2023 BOOMI, LP
2.214 lease is for and the nature                                         1400 LIBERTY RIDGE DRIVE
      of the debtor’s interest                                            CHESTERBROOK, PA 19087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RENEWAL ORDER FORM DATED:
      State what the contract or          06/02/2022                          BOOMI, LP
2.215 lease is for and the nature                                             1400 LIBERTY RIDGE DRIVE
      of the debtor’s interest                                                CHESTERBROOK, PA 19087

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION OF MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           BOOMI, LP
2.216 lease is for and the nature         10/31/2024                          1400 LIBERTY RIDGE DRIVE
      of the debtor’s interest                                                CHESTERBROOK, PA 19087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 DATED: 02/01/2022
      State what the contract or                                              BOUNTEOUS, INC.
2.217 lease is for and the nature                                             4115 N. RAVENSWOOD AVENUE
      of the debtor’s interest                                                SUITE 101
                                                                              CHICAGO, IL 60613
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT BILLING
      State what the contract or          CONCERN DATED: 03/31/2020           BOUNTEOUS, INC.
2.218 lease is for and the nature                                             4115 N. RAVENSWOOD AVENUE
      of the debtor’s interest                                                SUITE 101
                                                                              CHICAGO, IL 60613
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
      State what the contract or          09/01/2023                          BOUNTEOUS, INC.
2.219 lease is for and the nature                                             4115 N. RAVENSWOOD AVE.
      of the debtor’s interest                                                SUITE 101
                                                                              CHICAGO, IL 60613
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 04/29/2022
      State what the contract or                                              BOX, INC.
2.220 lease is for and the nature                                             900 JEFFERSON AVE
      of the debtor’s interest                                                REDWOOD CITY, CA 94063

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT
      State what the contract or          (NON-SOFTWARE) DATED:               BPS BIOSCIENCE, INC.
2.221 lease is for and the nature         08/09/2023                          6405 MIRA MESA BLVD
      of the debtor’s interest                                                SUITE 100
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          07/16/2024                          BPS BIOSCIENCE, INC.
2.222 lease is for and the nature                                             6405 MIRA MESA BLVD
      of the debtor’s interest                                                SUITE 100
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LIMITED USE LICENSE AGREEMENT
      State what the contract or          DATED: 08/10/2023             BPS BIOSCIENCE, INC.
2.223 lease is for and the nature                                       6405 MIRA MESA BLVD.
      of the debtor’s interest                                          SUITE 100
                                                                        SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/14/2024         BRAF BOMBERS
2.224 lease is for and the nature                                             28409 HENNEPIN ST
      of the debtor’s interest                                                GARDEN CITY, MI 48135

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PAYMENT SYSTEM AGREEMENT
      State what the contract or          DATED: 06/16/2016                   BRAINTREE, A DIVISION OF PAYPAL, INC.
2.225 lease is for and the nature                                             2211 NORTH FIRST STREET
      of the debtor’s interest                                                SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 02/27/2023                   BRANDPOINT
2.226 lease is for and the nature                                             850 5TH STREET SOUTH
      of the debtor’s interest                                                HOPKINS, MN 05534

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           BRANDPOINT
2.227 lease is for and the nature         DATED: 02/23/2024                   850 FIFTH STREET SOUTH
      of the debtor’s interest                                                HOPKINS, MN 55343

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          01/22/2021                          BRANDWOOD CKC
2.228 lease is for and the nature                                             LEVEL 8
      of the debtor’s interest                                                1 CHANDOS STREET
                                                                              ST LEONARDS, NSW, 2065
           State the term remaining       Undetermined                        AUSTRALIA

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 08/02/2022                   BRANDXADS, INC.
2.229 lease is for and the nature                                             60 RAILROAD PLACE
      of the debtor’s interest                                                SUITE 203
                                                                              SARATOGA SPRINGS, NY 12866
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          USER AGREEMENT
      State what the contract or                                              BRAVOSOLUTION UK LTD
2.230 lease is for and the nature                                             3020 CARRINGTON MILL BLVD
      of the debtor’s interest                                                SUITE 100
                                                                              MORRISVILLE, NC 27560
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEGAL NOTICE OF TERMINATION
      State what the contract or          DATED: 02/20/2024                   BRAZE, INC.
2.231 lease is for and the nature                                             330 WEST 34TH STREET
      of the debtor’s interest                                                18TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSIGNMENT AMENDMENT TO
      State what the contract or          ORDER FORM DATED: 11/14/2023        BRAZE, INC.
2.232 lease is for and the nature                                             330 WEST 34TH STREET
      of the debtor’s interest                                                18TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          12/10/2021                          BREATHE SUPPORT NETWORK
2.233 lease is for and the nature                                             5402 150TH PL SE
      of the debtor’s interest                                                EVERETT, WA 98208

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 DATED:
      State what the contract or          06/27/2024                          BROWN UNIVERSITY
2.234 lease is for and the nature                                             BOX 1852
      of the debtor’s interest                                                70 BROWN ST.
                                                                              PROVIDENCE, RI 02912
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          12/31/2023                          BUGCROWD, INC.
2.235 lease is for and the nature                                             921 FRONT STREET
      of the debtor’s interest                                                SUITE 100
                                                                              SAN FRANCISCO, CA 94111
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER CUSTOMER AGREEMENT
      State what the contract or          DATED: 12/19/2019                   BUGCROWD, INC.
2.236 lease is for and the nature                                             921 FRONT STREET
      of the debtor’s interest                                                SUITE 100
                                                                              SAN FRANCISCO, CA 94111
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 05/11/2021
      State what the contract or                                              BUGCROWD, INC.
2.237 lease is for and the nature                                             921 FRONT STREET
      of the debtor’s interest                                                SUITE 100
                                                                              SAN FRANCISCO, CA 94111
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SALES QUOTE DATED: 04/30/2024
      State what the contract or                                              BURKE HERRING, LLC
2.238 lease is for and the nature                                             1569 SOLANO AVENUE #271
      of the debtor’s interest                                                BERKELEY, CA 94707

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          APPEARANCE AND PARTICIPATION
      State what the contract or          RELEASE DATED: 08/11/2021           BUZZFEED, INC.
2.239 lease is for and the nature                                             229 W. 43RD ST.
      of the debtor’s interest                                                NEW YORK, NY 10036

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 02/02/2022                   BVOH SEARCH & CONSULTIN
2.240 lease is for and the nature                                             201 MISSION
      of the debtor’s interest                                                STE 720
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
      State what the contract or          DATED: 05/30/2023                   CAERUS US 1 INC.
2.241 lease is for and the nature                                             ONE PENNSYLVANIA PLAZA
      of the debtor’s interest                                                SUITE 2505
                                                                              NEW YORK, NY 10119
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 08/09/2024
      State what the contract or                                              CAERUS US 1 INC.
2.242 lease is for and the nature                                             ONE PENNSYLVANIA PLAZA
      of the debtor’s interest                                                SUITE 2505
                                                                              NEW YORK, NY 10119
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION DATED: 05/30/2023
      State what the contract or                                              CAERUS US 1 INC.
2.243 lease is for and the nature                                             ONE PENNSYLVANIA PLAZA
      of the debtor’s interest                                                SUITE 2505
                                                                              NEW YORK, NY 10119
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 08/30/2024
      State what the contract or                                              CAERUS US 1 INC.
2.244 lease is for and the nature                                             ONE PENNSYLVANIA PLAZA
      of the debtor’s interest                                                SUITE 2505
                                                                              NEW YORK, NY 10119
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF INTENDED USE
      State what the contract or          DATED: 06/06/2023                   CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
2.245 lease is for and the nature                                             P.O. BOX 997410
      of the debtor’s interest                                                SACRAMENTO, CA 95899-7410

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          APPLICATION FORM DATED:
      State what the contract or          11/01/2024                          CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
2.246 lease is for and the nature                                             P.O. BOX 997410
      of the debtor’s interest                                                SACRAMENTO, CA 95899-7410

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF INTENDED USE
      State what the contract or          DATED: 12/11/2024                   CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
2.247 lease is for and the nature                                             P.O. BOX 997410
      of the debtor’s interest                                                SACRAMENTO, CA 95899-7410

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEASE AGREEMENT DATED:
      State what the contract or          04/22/2013                          CAMBRIDGE ENTERPRISE LIMITED
2.248 lease is for and the nature                                             THE OLD SCHOOLS
      of the debtor’s interest                                                TRINITY LANE
                                                                              CAMBRIDGE, CB2 1TN
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED:
      State what the contract or          10/11/2024                          CAMBRIDGE UNIVERSITY TECHNICAL SERVICES LIMITED
2.249 lease is for and the nature                                             THE OLD SCHOOLS
      of the debtor’s interest                                                TRINITY LANE
                                                                              CAMBRIDGE, CB2 1TS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          SUBSCRIPTION SERVICE
      State what the contract or          AGREEMENT                           CANVA PTY LTD
2.250 lease is for and the nature                                             200 E 6TH ST
      of the debtor’s interest                                                SUITE 200
                                                                              AUSTIN, TX 78701
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUBSCRIPTION SERVICE
      State what the contract or          AGREEMENT                           CANVA US, INC.
2.251 lease is for and the nature                                             200 E 6TH ST
      of the debtor’s interest                                                SUITE 200
                                                                              AUSTIN, TX 78701
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/21/2021         CAPRION BIOSCIENCES INC.
2.252 lease is for and the nature                                             201 PRESIDENT-KENNEDY AVE.
      of the debtor’s interest                                                SUITE 3900
                                                                              MONTREAL, QC H2X 3Y7
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 2 DATED:
      State what the contract or          11/04/2024                     CAPTIVA ADVISORY, INC.
2.253 lease is for and the nature                                        TWO EMBARCADERO CENTER
      of the debtor’s interest                                           SAN FRANCISCO, CA 94111

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 04/12/2024                   CAPTIVA ADVISORY, INC.
2.254 lease is for and the nature                                             TWO EMBARCADERO CENTER
      of the debtor’s interest                                                SAN FRANCISCO, CA 94111

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER TERMS AND
      State what the contract or          CONDITIONS                          CARDINAL HEALTH, INC
2.255 lease is for and the nature                                             3651 BIRCHWOOD DR
      of the debtor’s interest                                                WAUKEGAN, IL 60085

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WHOLESALE PURCHASE AND
      State what the contract or          DISTRIBUTION AGREEMENT DATED CARDINAL HEALTH, INC
2.256 lease is for and the nature         07/01/2022                   7000 CARDINAL PLACE
      of the debtor’s interest                                         ATTENTION: GENERAL COUNSEL
                                                                       DUBLIN, OH 43017
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WHOLESALE PURCHASE AND
      State what the contract or          DISTRIBUTION AGREEMENT DATED CARDINAL HEALTH, INC
2.257 lease is for and the nature         07/01/2022                   7000 CARDINAL PLACE
      of the debtor’s interest                                         ATTENTION: GENERAL COUNSEL
                                                                       DUBLIN, OH 43017
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          09/01/2023                          CASCADIA DRUG DEVELOPMENT GROUP, LLC
2.258 lease is for and the nature                                             #386, 321 HIGH SCHOOL ROAD NE
      of the debtor’s interest                                                STE# D3
                                                                              BAINBRIDGE ISLAND, WA 98110-2648
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 DATED: 03/01/2023
      State what the contract or                                              CASCADIA DRUG DEVELOPMENT GROUP, LLC
2.259 lease is for and the nature                                             #386, 321 HIGH SCHOOL ROAD NE
      of the debtor’s interest                                                STE# D3
                                                                              BAINBRIDGE ISLAND, WA 98110-2648
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 08/03/2022
      State what the contract or                                              CATALENT CTS (SINGAPORE) PRIVATE LIMITED
2.260 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 04/01/2022
      State what the contract or                                              CATALENT CTS (SINGAPORE) PRIVATE LIMITED
2.261 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 08/29/2023
      State what the contract or                                              CATALENT CTS (SINGAPORE) PTE LIMITED
2.262 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 03/08/2023
      State what the contract or                                              CATALENT CTS (SINGAPORE) PTE LIMITED
2.263 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 04/05/2023
      State what the contract or                                              CATALENT CTS (SINGAPORE) PTE LIMITED
2.264 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER NUMBER 1 DATED:
      State what the contract or          03/01/2022                          CATALENT CTS (SINGAPORE) PTE LIMITED
2.265 lease is for and the nature                                             NO.1
      of the debtor’s interest                                                JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          QUOTATION AMENDMENT RECORD
      State what the contract or          DATED: 07/09/2024                   CATALENT CTS (SINGAPORE) PTE LIMITED
2.266 lease is for and the nature                                             NO
      of the debtor’s interest                                                1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          CHANGE ORDER NO. 3
      State what the contract or                                              CATALENT CTS SINGAPORE PRIVATE LIMITED
2.267 lease is for and the nature         TO WORK ORDER NO. 1 DATED:          NO
      of the debtor’s interest            03/08/2023                          1 JALAN KILANG
                                                                              #02-01/02 DYNASTY INDUSTRIAL BUILDING
           State the term remaining       Undetermined                        SINGAPORE, 159402
                                                                              SINGAPORE
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 04/05/2023
      State what the contract or                                              CATALENT CTS, LLC
2.268 lease is for and the nature                                             ATTN CONTRACTS
      of the debtor’s interest                                                10245 HICKMAN MILLS DRIVE
                                                                              KANSAS CITY, MO 64137
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT DATED:
      State what the contract or          08/31/2021                          CATALENT PHARMA SOLUTIONS, LLC
2.269 lease is for and the nature                                             14 SCHOOLHOUSE ROAD
      of the debtor’s interest                                                SOMERSET, NJ 08873

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 04/05/2023
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.270 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 01/02/2024
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.271 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CHANGE ORDER DATED: 08/03/2022
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.272 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 03/08/2023
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.273 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #2 DATED: 07/13/2022
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.274 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 06/09/2023
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.275 lease is for and the nature                                             10245 HICKMAN MILLS DRIVE
      of the debtor’s interest                                                KANSAS CITY, MO 64137

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 04/01/2022
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.276 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER CLINICAL SUPPLY
      State what the contract or          SERVICES AGREEMENT DATED:           CATALENT PHARMA SOLUTIONS, LLC
2.277 lease is for and the nature         12/09/2021                          14 SCHOOLHOUSE ROAD
      of the debtor’s interest                                                SOMERSET, NJ 08873

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 10/27/2022
      State what the contract or                                              CATALENT PHARMA SOLUTIONS, LLC
2.278 lease is for and the nature                                             10381 DECATUR ROAD
      of the debtor’s interest                                                PHILADELPHIA, PA 19154

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          EXCLUSIVE SUBLEASE LISTING
      State what the contract or          AGREEMENT DATED: 04/08/2024         CBRE, INC.
2.279 lease is for and the nature                                             1450 N CHAPIN AVENUE
      of the debtor’s interest                                                SUITE 200
                                                                              BURLINGAME, CA 94010
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          OFFICE LEASE ALTERATIONS
      State what the contract or          DATED: 09/25/2019                   CBRE, INC.
2.280 lease is for and the nature                                             225 W. SANTA CLARA STREET 12 TH
      of the debtor’s interest                                                FLOOR
                                                                              SAN JOSE, CA 95113
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION NOTICE DATED:
      State what the contract or          06/04/2024                          CDW DIRECT, LLC
2.281 lease is for and the nature                                             200 NORTH MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          02/04/2022                          CDW DIRECT, LLC
2.282 lease is for and the nature                                             200 N. MILWAUKEE AVE.
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE CONFIRMATION DATED:
      State what the contract or          08/03/2023                          CDW DIRECT, LLC
2.283 lease is for and the nature                                             200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE CONFIRMATION DATED:
      State what the contract or          08/30/2024                          CDW DIRECT, LLC
2.284 lease is for and the nature                                             200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CUSTOMER SERVICE ORDER FORM
      State what the contract or                                              CDW DIRECT, LLC
2.285 lease is for and the nature                                             200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CUSTOMER SERVICE ORDER FORM
      State what the contract or          DATED: 05/19/2023           CDW DIRECT, LLC
2.286 lease is for and the nature                                     200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                        VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CUSTOMER SERVICE ORDER FORM
      State what the contract or          DATED: 05/11/2020           CDW DIRECT, LLC
2.287 lease is for and the nature                                     200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                        VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CUSTOMER SERVICE ORDER FORM
      State what the contract or          FOR SUBSCRIPTION AGREEMENT  CDW DIRECT, LLC
2.288 lease is for and the nature         DATED: 12/19/2021           200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                        VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE CONFIRMATION DATED:
      State what the contract or          08/30/2024                          CDW LLC
2.289 lease is for and the nature                                             200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE CONFIRMATION DATED:
      State what the contract or          08/03/2023                          CDW LLC
2.290 lease is for and the nature                                             200 N. MILWAUKEE AVENUE
      of the debtor’s interest                                                VERNON HILLS, IL 60061

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          12/23/2024                   CELEBRITY PICKLEBALL GROUP, LLC
2.291 lease is for and the nature                                      160 ALAMO PLAZA #678
      of the debtor’s interest                                         ALAMO, CA 94507

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1
      State what the contract or                                              CELLCARTA BIOSCIENCES INC.
2.292 lease is for and the nature         TO                                  201 PRESIDENT-KENNEDY AVE.
      of the debtor’s interest                                                SUITE 3900
                                          MASTER LABORATORY SERVICES          MONTREAL, QC H2X 3Y7
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/16/2022                   CELLO HEALTH COMMUNICATIONS
2.293 lease is for and the nature                                             790 TOWNSHIP LINE RD
      of the debtor’s interest                                                #200
                                                                              YARDLEY, PA 19067
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          05/05/2022                          CELONIC AG
2.294 lease is for and the nature                                             EULERSTRASSE 55
      of the debtor’s interest                                                BASEL, 4051
                                                                              SWITZERLAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING SERVICES CONTRACT
      State what the contract or          DATED: 05/12/2024            CENTRE FOR SUSTAINABILITY AND EXCELLENCE – NORTH
2.295 lease is for and the nature                                      AMERICA LLC
      of the debtor’s interest                                         111 W JACKSON BLVD.
                                                                       SUITE 1700
           State the term remaining       Undetermined                 CHICAGO, IL 60604

           List the contract number of
           any government contract

                                          QUOTE DATED: 04/12/2024
      State what the contract or                                              CERTARA
2.296 lease is for and the nature                                             100 OVERLOOK CENTER
      of the debtor’s interest                                                SUITE 101
                                                                              PRINCETON, NJ 08540
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO WORK
      State what the contract or          ORDER NO. 4 DATED: 02/27/2024       CERTARA USA, INC.
2.297 lease is for and the nature                                             4 RADNOR CORPORATE CENTER
      of the debtor’s interest                                                SUITE 350
                                                                              RADNOR, PA 19087
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO WORK
      State what the contract or          ORDER NO. 4 DATED: 02/27/2024       CERTARA USA, INC.
2.298 lease is for and the nature                                             4 RADNOR CORPORATE CENTER
      of the debtor’s interest                                                SUITE 350
                                                                              RADNOR, PA 19087
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 4 DATED:
      State what the contract or          02/27/2024                          CERTARA USA, INC.
2.299 lease is for and the nature                                             100 OVERLOOK CENTER
      of the debtor’s interest                                                SUITE 101
                                                                              PRINCETON, NJ 08540
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CUSTOMS POWER OF ATTORNEY
      State what the contract or          DATED: 08/06/2024                   CEVA INTERNATIONAL, INC.
2.300 lease is for and the nature                                             DEPT 2309
      of the debtor’s interest                                                CAROL STREAM, IL 60132-2309

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 08/16/2024         CHAMPIONS ONCOLOGY, INC
2.301 lease is for and the nature                                             ONE UNIVERSITY PLAZA
      of the debtor’s interest                                                SUITE 307
                                                                              HACKENSACK, NJ 07601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          01/20/2020                          CHAMPIONS ONCOLOGY, INC
2.302 lease is for and the nature                                             ONE UNIVERSITY PLAZA
      of the debtor’s interest                                                SUITE 307
                                                                              HACKENSACK, NJ 07601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 08/16/2024         CHAMPIONS ONCOLOGY, INC.
2.303 lease is for and the nature                                             ONE UNIVERSITY PLAZA
      of the debtor’s interest                                                SUITE 307
                                                                              HACKENSACK, NJ 07601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO STATEMENT OF
      State what the contract or          WORK DATED: 08/06/2021       CHAMPIONS ONCOLOGY, INC.
2.304 lease is for and the nature                                      ONE UNIVERSITY PLAZA
      of the debtor’s interest                                         SUITE 307
                                                                       HACKENSACK, NJ 07601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO STATEMENT OF
      State what the contract or          WORK DATED: 08/10/2021       CHAMPIONS ONCOLOGY, INC.
2.305 lease is for and the nature                                      ONE UNIVERSITY PLAZA
      of the debtor’s interest                                         SUITE 307
                                                                       HACKENSACK, NJ 07601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          05/25/2021                          CHARLES RIVER LABORATORIES MONTREAL ULC
2.306 lease is for and the nature                                             22022 TRANSCANADLENNE
      of the debtor’s interest                                                SENNEVILLE, QC H9X 3R3
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
      State what the contract or          01/20/2021                          CHARLES RIVER LABORATORIES MONTREAL ULC
2.307 lease is for and the nature                                             22022 TRANSCANADLENNE
      of the debtor’s interest                                                SENNEVILLE, QC H9X 3R3
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO STATEMENT
      State what the contract or          OF WORK DATED: 05/10/2023    CHARLES RIVER LABORATORIES, INC.
2.308 lease is for and the nature                                      935 HORSHAM ROAD
      of the debtor’s interest                                         SUITE A
                                                                       HORSHAM, PA 19044
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 05/16/2017                   CHARLES RIVER LABORATORIES, INC.
2.309 lease is for and the nature                                             251 BALLARDVALE STREET
      of the debtor’s interest                                                WILMINGTON, MA 01887

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER 1 TO THE SOW
      State what the contract or          DATED: 01/12/2021                   CHARLES RIVER LABORATORIES, INC.
2.310 lease is for and the nature                                             6995 LONGLEY LANE
      of the debtor’s interest                                                RENO, NV 89511

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3
      State what the contract or                                       CHARLES RIVER LABORATORIES, INC.
2.311 lease is for and the nature         TO MASTER SERVICES AGREEMENT 935 HORSHAM ROAD
      of the debtor’s interest            DATED: 05/23/2022            SUITE A
                                                                       HORSHAM, PA 19044
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER 2 TO THE SOW
      State what the contract or          DATED: 02/02/2021                   CHARLES RIVER LABORATORIES, INC.
2.312 lease is for and the nature                                             935 HORSHAM ROAD
      of the debtor’s interest                                                SUITE A
                                                                              HORSHAM, PA 19044
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           CHARLES RIVER LABORATORIES, INC.
2.313 lease is for and the nature         DATED: 12/09/2020                   935 HORSHAM ROAD
      of the debtor’s interest                                                SUITE A
                                                                              HORSHAM, PA 19044
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
      State what the contract or          09/24/2020                          CHARLES RIVER LABORATORIES, INC.
2.314 lease is for and the nature                                             6995 LONGLEY LANE
      of the debtor’s interest                                                RENO, NV 89511

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          08/30/2024                          CHARLES RIVER LABORATORIES, INC.
2.315 lease is for and the nature                                             251 BALLARDVALE STREET
      of the debtor’s interest                                                WILMINGTON, MA 01887

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          05/25/2022                          CHARLES RIVER LABORATORIES, INC.
2.316 lease is for and the nature                                             6995 LONGLEY LANE
      of the debtor’s interest                                                RENO, NV 89511

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER NO. 3 DATED:
      State what the contract or          03/17/2022                          CHARLES RIVER LABORATORIES, INC.
2.317 lease is for and the nature                                             935 HORSHAM ROAD
      of the debtor’s interest                                                SUITE A
                                                                              HORSHAM, PA 19044
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/08/2018         CHEMEXPLORER COMPANY LIMITED
2.318 lease is for and the nature                                             NO. 5 BUILDING
      of the debtor’s interest                                                998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          AMENDMENT NO. 2 TO MASTER LAB
      State what the contract or          SERVICES AGREEMENT DATED:     CHEMEXPLORER COMPANY LIMITED
2.319 lease is for and the nature         01/07/2023                    NO.10 BUILDING
      of the debtor’s interest                                          965 HALEI ROAD PUDONG NEW AREA
                                                                        SHANGHAI,
           State the term remaining       Undetermined                  CHINA

           List the contract number of
           any government contract

                                          WORK ORDER # 16 DATED:
      State what the contract or          05/04/2022                          CHEMEXPLORER COMPANY LIMITED
2.320 lease is for and the nature                                             NO.10 BUILDING
      of the debtor’s interest                                                965 HALEI ROAD PUDONG NEW AREA
                                                                              SHANGHAI,
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER #15 DATED:
      State what the contract or          03/02/2020                          CHEMEXPLORER COMPANY LIMITED
2.321 lease is for and the nature                                             NO. 5 BUILDING
      of the debtor’s interest                                                998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/08/2018         CHEMPARTNER BIOLOGICS (SHANGHAI) CO., LTD
2.322 lease is for and the nature                                             NO. 5 BUILDING
      of the debtor’s interest                                                998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER # 16 DATED:
      State what the contract or          05/04/2022                          CHEMPARTNER BIOLOGICS (SHANGHAI) CO., LTD.
2.323 lease is for and the nature                                             NO.10 BUILDING
      of the debtor’s interest                                                965 HALEI ROAD PUDONG NEW AREA
                                                                              SHANGHAI,
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED
      State what the contract or          01/31/2022                          CHEMPARTNER BIOLOGICS(SHANGHAI) CO., LTD.
2.324 lease is for and the nature                                             NO.10 BUILDING
      of the debtor’s interest                                                965 HALEI ROAD PUDONG NEW AREA
                                                                              SHANGHAI,
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO MASTER LAB
      State what the contract or          SERVICES AGREEMENT DATED:     CHEMPARTNER CORPORATION
2.325 lease is for and the nature         01/07/2023                    NO.10 BUILDING
      of the debtor’s interest                                          965 HALEI ROAD PUDONG NEW AREA
                                                                        SHANGHAI,
           State the term remaining       Undetermined                  CHINA

           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/08/2018         CHEMPARTNER CORPORATION
2.326 lease is for and the nature                                             NO. 5 BUILDING
      of the debtor’s interest                                                998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/08/2018         CHENGDU CHEMPARTNER CO., LTD.
2.327 lease is for and the nature                                             NO. 5 BUILDING
      of the debtor’s interest                                                998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          JOINDER AGREEMENT DATED:
      State what the contract or          03/29/2024                          CHILDREN’S HOSPITAL MEDICAL CENTER D/B/A CINCINNATI
2.328 lease is for and the nature                                             CHILDREN’S HOSPITAL MEDICAL CENTER
      of the debtor’s interest                                                3333 BURNET AVENUE
                                                                              CINCINNATI, OH 45229
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
      State what the contract or          DATED: 02/28/2023                   CHILDREN'S HOSPITAL MEDICAL
2.329 lease is for and the nature                                             3333 BURNET AVENUE
      of the debtor’s interest                                                CINCINNATI, OH 45229

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 09/02/2022
      State what the contract or                                              CHRONICLE GRAPHICS, INC.
2.330 lease is for and the nature                                             8210 S. KEARNEY ST.
      of the debtor’s interest                                                CENTENNIAL, CO 80112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA EVALUATION AGREEMENT
      State what the contract or          DATED: 09/06/2024                   CHUGAI PHARMACEUTICAL CO., LTD.
2.331 lease is for and the nature                                             1-1, NIHONBASHI-MUROMACHI
      of the debtor’s interest                                                2-CHOME
                                                                              CHUO-KU
           State the term remaining       Undetermined                        TOKYO, 103-8324
                                                                              JAPAN
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 09/06/2024                   CHUGAI PHARMACEUTICAL CO., LTD.
2.332 lease is for and the nature                                             1-1, NIHONBASHI-MUROMACHI
      of the debtor’s interest                                                2-CHOME
                                                                              CHUO-KU
           State the term remaining       Undetermined                        TOKYO, 103-8324
                                                                              JAPAN
           List the contract number of
           any government contract

                                          MASTER SERVICE AGREEMENT
      State what the contract or          DATED: 10/08/2019                   CINTAS CORPORATION NO. 2
2.333 lease is for and the nature                                             6800 CINTAS BLVD.
      of the debtor’s interest                                                CINCINNATI, OH 45262-5737

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CUSTOM PLAN RENEWAL ORDER
      State what the contract or          FORM DATED: 09/13/2021              CIRCLE INTERNET SERVICES, INC.
2.334 lease is for and the nature                                             201 SPEAR STREET
      of the debtor’s interest                                                12TH FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER CONFIRMATION DATED:
      State what the contract or          09/22/2024                          CIRCLE INTERNET SERVICES, INC.
2.335 lease is for and the nature                                             201 SPEAR STREET
      of the debtor’s interest                                                12TH FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA FEED LETTER + AMENDMENT
      State what the contract or          NO. 1 TO CLIENT RELATIONSHIP        CITIBANK
2.336 lease is for and the nature         AGREEMENT DATED: 12/12/2022         388 GREENWICH STREET
      of the debtor’s interest                                                26TH FLOOR
                                                                              NEW YORK, NY 10013
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER RELEASE FORM DATED:
      State what the contract or          01/18/2024                          CITIGROUP GLOBAL MARKETS INC
2.337 lease is for and the nature                                             388 GREENWICH ST FL 18
      of the debtor’s interest                                                NEW YORK, NY 10013-2362

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL PEST
      State what the contract or          MANAGEMENT                          CLARK PEST CONTROL OF STOCKTON, INC
2.338 lease is for and the nature                                             PO BOX 1480
      of the debtor’s interest            SERVICE PROPOSAL DATED:             LODI, CA 95241-1480
                                          01/16/2020
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 12/09/2024
      State what the contract or                                              CLICKTIME.COM, INC.
2.339 lease is for and the nature                                             282 2ND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 13 DATED:
      State what the contract or          06/27/2022                          CLIENT BIOLOGICS (HONG KONG) LIMITED
2.340 lease is for and the nature                                             ATTN PING HUANG
      of the debtor’s interest                                                FLAT/RM826
                                                                              8/F OCEAN CENTER HARBOUR CITY
           State the term remaining       Undetermined                        5 CANTON ROAD TST
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          NOTICE OF TERMINATION OF
      State what the contract or          SERVICES DATED: 04/15/2023          CLOUD9 CHARTS, INC. D/B/A KNOWI
2.341 lease is for and the nature                                             1528 WEBSTER STREET
      of the debtor’s interest                                                OAKLAND, CA 94612

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT DATED: 09/11/2024
      State what the contract or                                              CLOUDFLARE, INC.
2.342 lease is for and the nature                                             101 TOWNSEND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSERTION ORDER FORM DATED:
      State what the contract or          07/24/2024                          CLOUDFLARE, INC.
2.343 lease is for and the nature                                             101 TOWNSEND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
      State what the contract or          DATED: 10/21/2021                   CLOUDFLARE, INC.
2.344 lease is for and the nature                                             101 TOWNSEND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
      State what the contract or          DATED: 08/25/2021                   CLOUDFLARE, INC.
2.345 lease is for and the nature                                             101 TOWNSEND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RENEWAL ORDER FORM DATED:
      State what the contract or          01/18/2023                          CLOUDFLARE, INC.
2.346 lease is for and the nature                                             101 TOWNSEND STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE SERVICES AGREEMENT
      State what the contract or          DATED: 07/23/2020           CLOUDFLARE, INC.
2.347 lease is for and the nature                                     101 TOWNSEND STREET
      of the debtor’s interest                                        SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MARKETPLACE TERMS OF SERVICE
      State what the contract or          DATED: 03/21/2023            CLUMIO, INC.
2.348 lease is for and the nature                                      4555 GREAT AMERICA PARKWAY
      of the debtor’s interest                                         SUITE 101
                                                                       SANTA CLARA, CA 95054
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 4 TO REINSTATED
      State what the contract or          AND AMENDED PROFESSIONAL      CMC PARADIGMS, LLC
2.349 lease is for and the nature         CONSULTING SERVICES           49 OAK SPRINGS DR
      of the debtor’s interest            AGREEMENT DATED: 12/07/2023   SAN ANSELMO, CA 94960

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          STATEMENT OF WORK #1 DATED:         CO: LLC.
2.350 lease is for and the nature         05/02/2023                          419 PARK AVE SOUTH
      of the debtor’s interest                                                5TH FLOOR
                                                                              NEW YORK, NY 10016
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICE AGREEMENT AND
      State what the contract or          SERVICE ORDER DATED: 05/11/2021 COALFIRE SYSTEMS, INC.
2.351 lease is for and the nature                                         11000 WESTMOOR CIRCLE
      of the debtor’s interest                                            SUITE 450
                                                                          WESTMINSTER, CO 80021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          06/15/2021                          CODA PROJECT, INC.
2.352 lease is for and the nature                                             444 CASTRO STREET
      of the debtor’s interest                                                SUITE 1200
                                                                              MOUNTAIN VIEW, CA 94041
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO LICENSE
      State what the contract or          AGREEMENT DATED: 02/12/2023         CODA PROJECT, INC.
2.353 lease is for and the nature                                             444 CASTRO STREET
      of the debtor’s interest                                                SUITE 1200
                                                                              MOUNTAIN VIEW, CA 94041
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM RENEWAL + DPA
      State what the contract or          DATED: 02/11/2024                   CODA PROJECT, INC.
2.354 lease is for and the nature                                             444 CASTRO STREET
      of the debtor’s interest                                                SUITE 1200
                                                                              MOUNTAIN VIEW, CA 94041
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS LICENSE AGREEMENT DATED:
      State what the contract or          02/12/2021                    CODA PROJECT, INC.
2.355 lease is for and the nature                                       444 CASTRO STREET
      of the debtor’s interest                                          SUITE 1200
                                                                        MOUNTAIN VIEW, CA 94041
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CORPORATE PARTNERSHIP
      State what the contract or          AGREEMENT DATED: 10/15/2021         CODE2040
2.356 lease is for and the nature                                             353 KEARNY STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94108

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION OF THE MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           CODE42 SOFTWARE, INC.
2.357 lease is for and the nature         06/30/2023                          ONE MAIN STREET SE
      of the debtor’s interest                                                SUITE 400
                                                                              MINNEAPOLIS, MN 55414
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS SERVICES ORDER FORM
      State what the contract or          DATED: 07/14/2021                   CODERPAD, INC
2.358 lease is for and the nature                                             44 MONTGOMERY STREET
      of the debtor’s interest                                                3RD FLOOR
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          02/01/2022                          COLD SPRING HARBOR LABORATORY
2.359 lease is for and the nature                                             1 BUNGTOWN ROAD
      of the debtor’s interest                                                COLD SPRING HARBOR, NY 11724

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
      State what the contract or          DATED: 04/26/2024                   COLORECTAL CANCER ALLIANCE
2.360 lease is for and the nature                                             1025 VERMONT AVENUE NW
      of the debtor’s interest                                                SUITE 1066
                                                                              WASHINGTON, DC 20005
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CALIFORNIA CONSUMER PRIVACY
      State what the contract or          ACT ADDENDUM DATED: 07/01/2020      COMMISSION JUNCTION LLC
2.361 lease is for and the nature                                             30699 RUSSELL RANCH ROAD
      of the debtor’s interest                                                SUITE 250
                                                                              WESTLAKE VILLAGE, CA 93162
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          11/03/2020                          COMMISSION JUNCTION, INC.
2.362 lease is for and the nature                                             30699 RUSSELL RANCH ROAD
      of the debtor’s interest                                                SUITE 250
                                                                              WESTLAKE VILLAGE, CA 93162
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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                                                                             Case number              Main (BCW)
                                                                                         (If known): 25-40977 Document
              Name                                          Pg 1753 of 1950
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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          NOTICE OF TERMINATION DATED:
      State what the contract or          04/16/2023                          COMPARABLY, INC.
2.363 lease is for and the nature                                             1316 3RD STREET PROMENADE
      of the debtor’s interest                                                SUITE 111
                                                                              SANTA MONICA, CA 90401
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO STATEMENT
      State what the contract or          OF WORK NO. 1 DATED: 11/10/2023 COMPASS GROUP USA, INC.
2.364 lease is for and the nature                                         2400 YORKMONT ROAD
      of the debtor’s interest                                            CHARLOTTE, NC 28217

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AGREEMENT DATED: 01/04/2022
      State what the contract or                                              COMPASS GROUP USA, INC.
2.365 lease is for and the nature                                             171 COVINGTON DRIVE
      of the debtor’s interest                                                BLOOMINGDALE, IL 60108

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION OF THE SERVICE
      State what the contract or          AGREEMENT AND STATEMENT OF          COMPASS GROUP USA, INC.
2.366 lease is for and the nature         WORK #2 DATED: 08/09/2024           2400 YORKMONT ROAD
      of the debtor’s interest                                                CHARLOTTE, NC 28217

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT 12/14/2020
      State what the contract or                                              COMPENSIA
2.367 lease is for and the nature                                             125 S. MARKET STREET
      of the debtor’s interest                                                SUITE 1000

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER AUTHORIZATION DATED:
      State what the contract or          01/15/2021                          COMPUTER HISTORY MUSEUM
2.368 lease is for and the nature                                             1401 N. SHORELINE BLVD.
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 12/01/2023
      State what the contract or          PER SERVICES AGREEMENT              CONCUR TECHNOLOGIES, INC.
2.369 lease is for and the nature                                             62157 COLLECTION CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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                                                                             Case number              Main (BCW)
                                                                                         (If known): 25-40977 Document
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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SALES ORDER FORM DATED:
      State what the contract or          06/15/2020 PER SERVICES             CONCUR TECHNOLOGIES, INC.
2.370 lease is for and the nature         AGREEMENT                           62157 COLLECTION CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 11/04/2022
      State what the contract or          PER SERVICES AGREEMENT              CONCUR TECHNOLOGIES, INC.
2.371 lease is for and the nature                                             62157 COLLECTION CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 12/04/2024
      State what the contract or          PER SERVICES AGREEMENT              CONCUR TECHNOLOGIES, INC.
2.372 lease is for and the nature                                             62157 COLLECTION CENTER DRIVE
      of the debtor’s interest                                                CHICAGO, IL 60693

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER RELEASE FORM DATED:
      State what the contract or          09/17/2020                          CONNECTED INTELLIGENCE LTD
2.373 lease is for and the nature                                             TRAMWAY HOUSE
      of the debtor’s interest                                                32 DARTRY ROAD
                                                                              DUBLIN 6,
           State the term remaining       Undetermined                        IRELAND

           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           CONSULTING JW LLC - JACKIE WALLING
2.374 lease is for and the nature         10/10/2023                          930 VISTA ROAD
      of the debtor’s interest                                                HILLSBOROUGH, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 05/29/2024
      State what the contract or                                              CONTEGIX
2.375 lease is for and the nature                                             PO BOX 671710
      of the debtor’s interest                                                DALLAS, TX 75267-1710

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ANITORIAL CLEANING
      State what the contract or                                              CONTROLLED CONTAMINATION SERVICES, LLC
2.376 lease is for and the nature         PROPOSAL DATED: 01/01/2020          6150 LUSK BLVD SUITE 205B
      of the debtor’s interest                                                SAN DIEGO, CA 92121

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTE DATED: 12/12/2024
      State what the contract or                                              CONVERGE TECHNOLOGY SOLUTIONS
2.377 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                STE 100
                                                                              NORCROSS, GA 30092
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 01/06/2025
      State what the contract or                                              CONVERGE TECHNOLOGY SOLUTIONS
2.378 lease is for and the nature                                             30 EXECUTIVE PARK
      of the debtor’s interest                                                SUITE 260
                                                                              IRVINE, CA 92614
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SALES AGREEMENT FOR GOOGLE
      State what the contract or          CLOUD PLATFORM SERVICES             CONVERGE TECHNOLOGY SOLUTIONS US, LLC
2.379 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                PEACHTREE CORNERS, GA 30092

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/20/2023                   CONVERGE TECHNOLOGY SOLUTIONS US, LLC
2.380 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                PEACHTREE CORNERS, GA 30092

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SALES AGREEMENT DATED:
      State what the contract or          08/29/2023                          CONVERGE TECHNOLOGY SOLUTIONS US, LLC
2.381 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                PEACHTREE CORNERS, GA 30092

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICING TERM SHEET DATED:
      State what the contract or          06/20/2024                          CONVERGE TECHNOLOGY SOLUTIONS US, LLC
2.382 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                PEACHTREE CORNERS, GA 30092

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRIVATE PRICING TERM SHEET
      State what the contract or                                              CONVERGE TECHNOLOGY SOLUTIONS US, LLC
2.383 lease is for and the nature                                             130 TECHNOLOGY PARKWAY
      of the debtor’s interest                                                PEACHTREE CORNERS, GA 30092

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TALENT AGREEMENT DATED:
      State what the contract or          06/21/2024                          COOL BABIES INC.
2.384 lease is for and the nature                                             370 ELMWOOD AVE
      of the debtor’s interest                                                MAPLEWOOD, NJ 07040

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TALENT AGREEMENT DATED:
      State what the contract or          08/27/2024                          COOL BABIES INC.
2.385 lease is for and the nature                                             370 ELMWOOD AVE
      of the debtor’s interest                                                MAPLEWOOD, NJ 07040

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 01/25/2022                   COOPERATIVE HUMAN TISSUE NETWORK
2.386 lease is for and the nature                                             INNOVATION CENTRE
      of the debtor’s interest                                                2001 POLARIS PARKWAY
                                                                              COLUMBUS, OH 43240
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COPYRIGHT LICENSE AGREEMENT
      State what the contract or                                              COPYRIGHT CLEARANCE CENTER, INC.
2.387 lease is for and the nature                                             222 ROSEWOOD DRIVE
      of the debtor’s interest                                                DANVERS, MA 01923

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COPYRIGHT LICENSE AGREEMENT
      State what the contract or                                              COPYRIGHT CLEARANCE CENTER, INC.
2.388 lease is for and the nature                                             222 ROSEWOOD DRIVE
      of the debtor’s interest                                                DANVERS, MA 01923

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBLEASE DATED: 08/15/2024
      State what the contract or                                              COREWEAVE, INC
2.389 lease is for and the nature                                             ATTN: GENERAL COUNSEL
      of the debtor’s interest                                                101 EISENHOWER PARKWAY
                                                                              SUITE 106
           State the term remaining       Undetermined                        ROSELAND, NJ 07068

           List the contract number of
           any government contract

                                          SUBLEASE COMMENCEMENT DATE
      State what the contract or          AGREEMENT DATED: 09/16/2024         COREWEAVE, INC.
2.390 lease is for and the nature                                             ATTN: GENERAL COUNSEL
      of the debtor’s interest                                                101 EISENHOWER PARKWAY
                                                                              SUITE 106
           State the term remaining       Undetermined                        ROSELAND, NJ 07068

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LANDLORD CONSENT TO SUBLEASE
      State what the contract or          DATED: 09/11/2024            COREWEAVE, INC.
2.391 lease is for and the nature                                      ATTN: GENERAL COUNSEL
      of the debtor’s interest                                         101 EISENHOWER PARKWAY
                                                                       SUITE 106
           State the term remaining       Undetermined                 ROSELAND, NJ 07068

           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT (
      State what the contract or          DATED: 06/27/2024             CORIELL INSTITUTE FOR MEDICAL RESEARCH
2.392 lease is for and the nature                                       403 HADDON AVENUE
      of the debtor’s interest                                          CAMDEN, NJ 08103

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF RESEARCH INTENT
      State what the contract or          AND SECONDARY DISTRIBUTION   CORIELL INSTITUTE FOR MEDICAL RESEARCH
2.393 lease is for and the nature         DATED: 06/12/2024            403 HADDON AVENUE
      of the debtor’s interest                                         CAMDEN, NJ 08103

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          10/09/2019                          CORIELL INSTITUTE FOR MEDICAL RESEARCH
2.394 lease is for and the nature                                             CORIELL INSTITUTE FOR MEDICAL RESEARCH
      of the debtor’s interest                                                403 HADDON AVENUE
                                                                              CAMDEN, NJ 08103
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          CORPORATE CARE SOLUTIONS            CORPORATE CARE SOLUTIONS, INC.
2.395 lease is for and the nature         EMPLOYER PARTICIPATION              CORPORATECARE SOLUTIONS INC.
      of the debtor’s interest            AGREEMENT DATED: 01/01/2020         4625 E. FT. LOWELL RD.
                                                                              #100
           State the term remaining       Undetermined                        TUCSON, AZ 85712

           List the contract number of
           any government contract

                                          CORPORATE CARE SOLUTIONS
      State what the contract or          EMPLOYER PARTICIPATION              CORPORATE CARE SOLUTIONS, INC.
2.396 lease is for and the nature         ADDENDUM AGREEMENT DATED:           CORPORATECARE SOLUTIONS INC.
      of the debtor’s interest            05/24/2019                          4625 E. FT. LOWELL RD.
                                                                              #100
           State the term remaining       Undetermined                        TUCSON, AZ 85712

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO QUOTATION
      State what the contract or          AND WORK ORDER DATED:               COVANCE LABORATORIES INC.
2.397 lease is for and the nature         10/30/2019                          3301 KINSMAN BLVD
      of the debtor’s interest                                                MADISON, WI 53704

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTATION AND WORK ORDER
      State what the contract or          DATED: 01/06/2021                   COVANCE LABORATORIES INC.
2.398 lease is for and the nature                                             3301 KINSMAN BLVD
      of the debtor’s interest                                                MADISON, WI 53704

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO QUOTATION
      State what the contract or          AND WORK ORDER DATED:               COVANCE LABORATORIES INC.
2.399 lease is for and the nature         12/10/2019                          3301 KINSMAN BLVD
      of the debtor’s interest                                                MADISON, WI 53704

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE CONTRACT DATED:
      State what the contract or          10/25/2017                          CRANE PEST CONTROL-CORP.
2.400 lease is for and the nature                                             2700 GEARY BOULEVARD /
      of the debtor’s interest                                                SAN FRANCISCO, CA 94118-3498

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PLANT AND CONTAINER
      State what the contract or          PURCHASE/MAINTENANCE                CREATIVE PLANT DESIGN, INC.
2.401 lease is for and the nature         AGREEMENT DATED: 04/14/2022         1670 LAS PLUMAS AVENUE
      of the debtor’s interest                                                UNIT C
                                                                              SAN JOSE, CA 95133
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DECLARATION OF CONSENT AND
      State what the contract or          RELEASE DATED: 03/16/2021           CREDIT SUISSE AG
2.402 lease is for and the nature                                             PARADEPLATZ 8
      of the debtor’s interest                                                ZURICH, CH 8001
                                                                              SWITZERLAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          07/02/2024                          CRITICAL PATH INSTITUTE
2.403 lease is for and the nature                                             151 BAY COVE DRIVE
      of the debtor’s interest                                                PONTE VEDRA, FL 32082

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LIMITED WARRANTY AGREEMENT
      State what the contract or          DATED: 01/08/2020                   CROWDSTRIKE, INC.
2.404 lease is for and the nature                                             50 MATHILDA PLACE
      of the debtor’s interest                                                THIRD FLOOR
                                                                              SUNNYVALE, CA 94086
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          09/24/2020                          CROWN BIOSCIENCE, INC.
2.405 lease is for and the nature                                             16550 WEST BERNARDO DRIVE
      of the debtor’s interest                                                SUITE 525
                                                                              SAN DIEGO, CA 92127
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO WORK
      State what the contract or          ORDER #7 DATED: 05/08/2020          CROWN BIOSCIENCE, INC.
2.406 lease is for and the nature                                             16550 WEST BERNARDO DRIVE
      of the debtor’s interest                                                SUITE 525
                                                                              SAN DIEGO, CA 92127
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          MASTER LABORATORY SERVICE           CURELINE BIOPATHOLOGY, LLC
2.407 lease is for and the nature         AGREEMENT DATED: 03/31/2023         150 NORTH HILL DRIVE
      of the debtor’s interest                                                STE 24
                                                                              BRISBANE, CA 94005
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT PROPOSAL DATED:
      State what the contract or          12/06/2019                          CURELINE, INC.
2.408 lease is for and the nature                                             150 NORTH HILL DRIVE
      of the debtor’s interest                                                STE 24
                                                                              BRISBANE, CA 94005
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FACILITY RENTAL AGREEMENT
      State what the contract or          DATED: 09/08/2022                   CURIODYSSEY
2.409 lease is for and the nature                                             1651 COYOTE POINT DRIVE
      of the debtor’s interest                                                SAN MATEO, CA 94401

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COMMISSION AGREEMENT FOR
      State what the contract or          SUBLEASE DATED: 08/15/2024          CUSHMAN & WAKEFIELD U.S., INC.
2.410 lease is for and the nature                                             525 UNIVERSITY AVENUE
      of the debtor’s interest                                                SUITE 220
                                                                              EAST PALO ALTO, CA 94301
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBLEASE PROPOSAL DATED:
      State what the contract or          09/24/2019                          CUSHMAN & WAKEFIELD U.S., INC.
2.411 lease is for and the nature                                             525 UNIVERSITY AVENUE
      of the debtor’s interest                                                SUITE 220
                                                                              EAST PALO ALTO, CA 94301
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 07/31/2023                   CUSTOMER ACQUISITION INC.
2.412 lease is for and the nature                                             360 N PACIFIC COAST HWY
      of the debtor’s interest                                                STE 2000
                                                                              EL SEGUNDO, CA 90245
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           CUSTOMER ACQUISITION INC., D/B/A APEX GROWTH
2.413 lease is for and the nature         DATED: 07/16/2024                   CUSTOMER ACQUISITION INC.
      of the debtor’s interest                                                D/B/A APEX GROWTH
                                                                              360 N PACIFIC COAST HWY
           State the term remaining       Undetermined                        STE 2000
                                                                              EL SEGUNDO, CA 90245
           List the contract number of
           any government contract

                                          QUOTE DATED: 06/11/2024
      State what the contract or                                              CYTEK BIOSCIENCES, INC.
2.414 lease is for and the nature                                             PO BOX 849038
      of the debtor’s interest                                                LOS ANGELES, CA 90084

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          E-LICENSE REHOST REQUEST
      State what the contract or          DATED: 06/27/2022                   CYTIVA
2.415 lease is for and the nature                                             100 RESULTS WAY
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          E-LICENSE REHOST REQUEST
      State what the contract or          DATED: 06/16/2022                   CYTIVA
2.416 lease is for and the nature                                             100 RESULTS WAY
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          E-LICENSE REHOST REQUEST
      State what the contract or          DATED: 06/27/2022                   CYTIVA
2.417 lease is for and the nature                                             100 RESULTS WAY
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          E-LICENSE REHOST REQUEST
      State what the contract or                                              CYTIVA
2.418 lease is for and the nature                                             100 RESULTS WAY
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICE AGREEMENT QUOTATION
      State what the contract or          DATED: 09/27/2021                   CYTIVA / GLOBAL LIFE SCIENCE SOLUTIONS USA LLC
2.419 lease is for and the nature                                             100 RESULTS WAY
      of the debtor’s interest                                                MARLBOROUGH, MA 01752

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED 07/25/2024          DANA-FARBER CANCER INSTITUTE, INC.
2.420 lease is for and the nature                                             450 BROOKLINE AVENUE
      of the debtor’s interest                                                BOSTON, MA 02215

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COOKING OIL REMOVAL SERVICES
      State what the contract or          DATED: 04/07/2020                   DARLING INGREDIENTS INC.
2.421 lease is for and the nature                                             429 AMADOR STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94124

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DIRECT CUSTOMER QUOTATION
      State what the contract or          FORM DATED: 02/28/2020              DASSAULT SYSTÈMES AMERICAS CORP
2.422 lease is for and the nature                                             175 WYMAN STREET
      of the debtor’s interest                                                WALTHAM, MA 02451-1223

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DIRECT CUSTOMER QUOTATION
      State what the contract or          FORM DATED: 12/07/2022              DASSAULT SYSTÈMES AMERICAS CORP
2.423 lease is for and the nature                                             175 WYMAN
      of the debtor’s interest                                                WALTHAM, MA 02451-1223

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          01/30/2025                          DASSAULT SYSTÈMES AMERICAS CORP
2.424 lease is for and the nature                                             175 WYMAN STREET
      of the debtor’s interest                                                WALTHAM, MA 02451-1223

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUESTIONNAIRE DATED: 05/20/2024
      State what the contract or                                              DATAREP
2.425 lease is for and the nature                                             77 CAMDEN STREET LOWER
      of the debtor’s interest                                                DUBLIN, D02 XE80
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED
      State what the contract or          4/8/2020                            DATASITE
2.426 lease is for and the nature                                             CORPORATE HEADQUARTERS, BAKER CENTER
      of the debtor’s interest                                                733 S. MARQUETTE AVE
                                                                              SUITE 600
           State the term remaining       Undetermined                        MINNEAPOLIS, MN 55402

           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/30/2024
      State what the contract or                                              DATAVANT, INC.
2.427 lease is for and the nature                                             2222 W. DUNLAP AVE.
      of the debtor’s interest                                                SUITE 250
                                                                              PHOENIX, AZ 85021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          06/21/2023                          DAY’S EDGE PRODUCTIONS, LLC
2.428 lease is for and the nature                                             2924 EMERSON ST.
      of the debtor’s interest                                                STE 220
                                                                              SAN DIEGO, CA 92106
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 8 DATED:
      State what the contract or          07/18/2022                          DC3 THERAPEUTICS
2.429 lease is for and the nature                                             163 WEST HARRIS AVE.
      of the debtor’s interest                                                SOUTH SAN FRANCISCO, CA 94080

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO MASTER
      State what the contract or          LABORATORY SERVICES                 DC3 THERAPEUTICS
2.430 lease is for and the nature         AGREEMENT DATED: 09/29/2023         163 WEST HARRIS AVENUE
      of the debtor’s interest                                                SOUTH SAN FRANCISCO, CA 94080

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEARDOC PODCAST GUEST
      State what the contract or          RELEASE FORM DATED: 11/05/2019      DEARDOC PODCAST
2.431 lease is for and the nature                                             52 MODENA
      of the debtor’s interest                                                IRVINE, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 09/17/2024                   DECIDUOUS THERAPEUTICS.
2.432 lease is for and the nature                                             953 INDIANA STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ASSET TRANSFER AGREEMENT
      State what the contract or          DATED: 09/19/2024                   DEEP APPLE THERAPEUTICS, INC.
2.433 lease is for and the nature                                             651 GATEWAY BLVD
      of the debtor’s interest                                                SUITE 1600
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
      State what the contract or          07/31/2022                          DEFY SECURITY, LLC
2.434 lease is for and the nature                                             375 SOUTHPOINTE BLVD
      of the debtor’s interest                                                STE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL DATED:
      State what the contract or          11/27/2023                          DEFY SECURITY, LLC
2.435 lease is for and the nature                                             375 SOUTHPOINTE BLVD.
      of the debtor’s interest                                                SUITE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL DATED:
      State what the contract or          05/31/2023                          DEFY SECURITY, LLC
2.436 lease is for and the nature                                             375 SOUTHPOINTE BLVD.
      of the debtor’s interest                                                SUITE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL DATED:
      State what the contract or          10/18/2023                          DEFY SECURITY, LLC
2.437 lease is for and the nature                                             375 SOUTHPOINTE BLVD.
      of the debtor’s interest                                                SUITE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL DATED:
      State what the contract or          09/12/2023                          DEFY SECURITY, LLC
2.438 lease is for and the nature                                             375 SOUTHPOINTE BLVD.
      of the debtor’s interest                                                SUITE 210
                                                                              CANONSBURG, PA 15317
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CERTIFICATION AGREEMENT
      State what the contract or          DATED: 08/15/2023                   DEKRA CERTIFICATION, INC.
2.439 lease is for and the nature                                             PO BOX 859394
      of the debtor’s interest                                                MINNEAPOLIS, MN 55485-9394

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT +
      State what the contract or          SOW NO. 1 DATED: 07/26/2023         DEKRA CERTIFICATION, INC.
2.440 lease is for and the nature                                             PO BOX 859394
      of the debtor’s interest                                                MINNEAPOLIS, MN 55485-9394

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CERTIFICATION AGREEMENT
      State what the contract or          DATED: 11/30/2022                   DEKRA CERTIFICATION, INC.
2.441 lease is for and the nature                                             PO BOX 859394
      of the debtor’s interest                                                MINNEAPOLIS, MN 55485-9394

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          11/09/2020                          DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP
2.442 lease is for and the nature                                             695 TOWN CENTER DRIVE
      of the debtor’s interest                                                SUITE 1000
                                                                              COSTA MESA, CA 92626
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP DENTAL INSURANCE
      State what the contract or          CONTRACT DATED:1/1/2025             DELTA DENTAL OF CALIFORNIA
2.443 lease is for and the nature                                             560 MISSION STREET
      of the debtor’s interest                                                SUITE 1300
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSURANCE CONTRACT
      State what the contract or          DATED:1/1/2025                      DELTA DENTAL OF CALIFORNIA
2.444 lease is for and the nature                                             560 MISSION STREET
      of the debtor’s interest                                                SUITE 1300
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          07/12/2021                          DEUTSCH LA, INC.
2.445 lease is for and the nature                                             12901 WE JEFFERSON BLVD.
      of the debtor’s interest                                                LOS ANGELES, CA 90066

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #7 DATED:
      State what the contract or          08/03/2022                          DEUTSCH LA, INC.
2.446 lease is for and the nature                                             12901 WE JEFFERSON BLVD.
      of the debtor’s interest                                                LOS ANGELES, CA 90066

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #8 DATED:
      State what the contract or          11/01/2022                          DEUTSCH LA, INC.
2.447 lease is for and the nature                                             12901 WE JEFFERSON BLVD.
      of the debtor’s interest                                                LOS ANGELES, CA 90066

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRIVACY AND SECURITY
      State what the contract or          ADDENDUM DATED: 07/12/2021          DEUTSCH LA, INC.
2.448 lease is for and the nature                                             12901 WE JEFFERSON BLVD.
      of the debtor’s interest                                                LOS ANGELES, CA 90066

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF AGREEMENT
      State what the contract or                                              DEVELOPMENTAL STUDIES HYBRIDOMA BANK
2.449 lease is for and the nature                                             UNIVERSITY OF IOWA-DSHB
      of the debtor’s interest                                                210 E IOWA AVE
                                                                              28 BBE
           State the term remaining       Undetermined                        IOWA CITY, IA 52242

           List the contract number of
           any government contract

                                          STATEMENT OF WORK #7 DATED:
      State what the contract or          10/19/2022                          DEWINTER GROUP, INC.
2.450 lease is for and the nature                                             1919 S. BASCOM AVE.
      of the debtor’s interest                                                SUITE 250
                                                                              CAMPBELL, CA 95008
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 02/11/2020                   DEWINTER GROUP, INC.
2.451 lease is for and the nature                                             1919 S. BASCOM AVE.
      of the debtor’s interest                                                SUITE 250
                                                                              CAMPBELL, CA 95008
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          01/10/2022                          DEWINTER GROUP, INC.
2.452 lease is for and the nature                                             1919 S. BASCOM AVE.
      of the debtor’s interest                                                SUITE 250
                                                                              CAMPBELL, CA 95008
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICING AGREEMENT DATED:
      State what the contract or          07/31/2024                          DHL EXPRESS (USA), INC.
2.453 lease is for and the nature                                             1210 SOUTH PINE ISLAND ROAD
      of the debtor’s interest                                                PLANTATION, FL 33324

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LETTER AGREEMENT DATED
      State what the contract or          04/11/2024                          DHL EXPRESS (USA), INC.
2.454 lease is for and the nature                                             1210 SOUTH PINE ISLAND ROAD
      of the debtor’s interest                                                PLANTATION, FL 33324

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS AND CONDITIONS DATED:
      State what the contract or          04/19/2023                          DHL EXPRESS (USA), INC.
2.455 lease is for and the nature                                             1210 SOUTH PINE ISLAND ROAD
      of the debtor’s interest                                                PLANTATION, FL 33324

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          07/31/2024                          DHL EXPRESS (USA), INC.
2.456 lease is for and the nature                                             1210 SOUTH PINE ISLAND ROAD
      of the debtor’s interest                                                PLANTATION, FL 33324

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/18/2024
      State what the contract or          UNDER MASTER SERVICES               DIGITAL MEDIA INNOVATIONS, LLC
2.457 lease is for and the nature         AGREEMENT                           DIGITAL MEDIA INNOVATIONS LLC \"NOTIFIED\"
      of the debtor’s interest                                                11650 MIRACLE HILLS DRIVE
                                                                              OMAHA, NE 68154
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/18/2024
      State what the contract or                                              DIGITAL MEDIA INNOVATIONS, LLC
2.458 lease is for and the nature                                             11650 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/22/2024
      State what the contract or                                              DIGITAL MEDIA INNOVATIONS, LLC
2.459 lease is for and the nature                                             11650 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 11/08/2024
      State what the contract or                                              DIGITAL MEDIA INNOVATIONS, LLC
2.460 lease is for and the nature                                             11650 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          READCUBE AMENDMENT
      State what the contract or          AGREEMENT DATED: 07/15/2024         DIGITAL SCIENCE & RESEARCH SOLUTIONS INC.
2.461 lease is for and the nature                                             625 MASSACHUSETTS AVENUE
      of the debtor’s interest                                                CAMBRIDGE, MA 02139

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER ORDER FORM DATED:
      State what the contract or          08/18/2021                          DIGITAL SCIENCE & RESEARCH SOLUTIONS INC.
2.462 lease is for and the nature                                             625 MASSACHUSETTS AVENUE
      of the debtor’s interest                                                CAMBRIDGE, MA 02139

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #1 DATED: 06/14/2023
      State what the contract or                                              DISCOVERY LIFE SCIENCES, LLC
2.463 lease is for and the nature                                             601 GENOME WAY
      of the debtor’s interest                                                SUITE 1221
                                                                              HUNTSVILLE, AL 35806
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO WORK ORDER #
      State what the contract or          1 DATED: 07/10/2024          DISCOVERY LIFE SCIENCES, LLC
2.464 lease is for and the nature                                      601 GENOME WAY
      of the debtor’s interest                                         SUITE 1221
                                                                       HUNTSVILLE, AL 35806
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UNITED STATES MASTER SERVICES
      State what the contract or          AGREEMENT DATED: 04/10/2023   DISCOVERY LIFE SCIENCES, LLC
2.465 lease is for and the nature                                       800 HUDSON WAY
      of the debtor’s interest                                          SUITE 1700
                                                                        HUNTSVILLE, AL 35806
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          09/09/2024                          DISCUS LLC
2.466 lease is for and the nature                                             555 BRYANT STREET
      of the debtor’s interest                                                #376
                                                                              PALO ALTO, CA 94301
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT DATED:
      State what the contract or          09/02/2022                          DNA GENOTEK INC.
2.467 lease is for and the nature                                             500 PALLADIUM DRIVE
      of the debtor’s interest                                                SUITE 3000
                                                                              OTTAWA, ON K2V 1C2
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #5 TO DEVELOPMENT
      State what the contract or          AND SUPPLY AGREEMENT DATED: DNA GENOTEK INC.
2.468 lease is for and the nature         03/07/2022                  500 PALLADIUM DRIVE
      of the debtor’s interest                                        SUITE 3000
                                                                      OTTAWA, ON K2V 1C2
           State the term remaining       Undetermined                CANADA

           List the contract number of
           any government contract

                                          DEVELOPMENT AND SUPPLY
      State what the contract or          AGREEMENT DATED: 04/25/2024         DNA GENOTEK INC.
2.469 lease is for and the nature                                             500 PALLADIUM DRIVE
      of the debtor’s interest                                                SUITE 3000
                                                                              OTTAWA, ON K2V 1C2
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          DEVELOPMENT AND SUPPLY
      State what the contract or          AGREEMENT DATED: 04/25/2024         DNA GENOTEK INC.
2.470 lease is for and the nature                                             500 PALLADIUM DRIVE
      of the debtor’s interest                                                SUITE 3000
                                                                              OTTAWA, ON K2V 1C2
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          06/16/2020                          DNASTAR, INC.
2.471 lease is for and the nature                                             3801 REGENT ST.
      of the debtor’s interest                                                MADISON, WI 53705

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION ORDER FORM
      State what the contract or          DATED: 01/11/2024                   DOCKER, INC
2.472 lease is for and the nature                                             3790 EL CAMINO REAL
      of the debtor’s interest                                                #1052
                                                                              PALO ALTO, CA 94306
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 03/22/2023
      State what the contract or                                              DOCUSIGN, INC.
2.473 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 08/17/2023
      State what the contract or                                              DOCUSIGN, INC.
2.474 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 09/01/2024
      State what the contract or                                              DOCUSIGN, INC.
2.475 lease is for and the nature                                             DOCUSIGN INC.
      of the debtor’s interest                                                221 MAIN STREET
                                                                              SUITE 1550
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          ORDER FORM + DPA DATED:
      State what the contract or          09/01/2022                          DOCUSIGN, INC.
2.476 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/27/2023
      State what the contract or                                              DOCUSIGN, INC.
2.477 lease is for and the nature                                             221 MAIN STREET
      of the debtor’s interest                                                SUITE 1550
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION ORDER FORM
      State what the contract or          DATED: 06/22/2021                   DONNELLEY FINANCIAL LLC
2.478 lease is for and the nature                                             855 S. CALIFORNIA AVE
      of the debtor’s interest                                                PALO ALTO, CA 94304

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          11/02/2021                          DOUBLEDAY & CARTWRIGHT
2.479 lease is for and the nature                                             85 METROPOLITAN AVE
      of the debtor’s interest                                                BROOKLYN, NY 11249

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER DATED: 10/09/2020
      State what the contract or                                              DPR CONSTRUCTION
2.480 lease is for and the nature                                             222 N. 44TH STREET
      of the debtor’s interest                                                PHOENIX, AZ 85034

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/19/2022                   DRAGONFLY DESIGNS, LLC
2.481 lease is for and the nature                                             2040 PIONEER CT.
      of the debtor’s interest                                                SAN MATEO, CA 94403

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 11/29/2023                   DRATA INC.
2.482 lease is for and the nature                                             4660 LA JOLLA VILLAGE DRIVE
      of the debtor’s interest                                                SUITE 100
                                                                              SAN DIEGO, CA 92122
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION DATED: 01/21/2021
      State what the contract or                                              DRUGDESIGNTECH SA
2.483 lease is for and the nature                                             CHEMIN DES AULX, 16
      of the debtor’s interest                                                1228 PLAN LES OUATES GENEVA

           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract

                                          QUOTATION DATED: 03/12/2024
      State what the contract or                                              DRUGDESIGNTECH SA
2.484 lease is for and the nature                                             CHEMIN DES AULX, 16
      of the debtor’s interest                                                1228 PLAN LES OUATES GENEVA

           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE MASTER
      State what the contract or          SERVICE AGREEMENT DATED:      DS SIMON PRODUCTIONS, INC.
2.485 lease is for and the nature         03/31/2024                    229 WEST 36TH STREET
      of the debtor’s interest                                          9TH FLOOR
                                                                        NEW YORK, NY 10018
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          12/09/2022                          DS SIMON PRODUCTIONS, INC.
2.486 lease is for and the nature                                             229 W 36TH ST
      of the debtor’s interest                                                9TH FLOOR
                                                                              NEW YORK, NY 10018
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER ACCESS AGREEMENT
      State what the contract or          DATED: 03/08/2024                   DSCOUT, INC.
2.487 lease is for and the nature                                             222 N LASALLE ST.
      of the debtor’s interest                                                STE 650
                                                                              CHICAGO, IL 60601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENERAL AGENCY AGREEMENT
      State what the contract or          AND POWER OF ATTORNEY WITH          DSV AIR & SEA INC.
2.488 lease is for and the nature         POWER TO APPOINT A SUB-AGENT        2200 YUKON CT
      of the debtor’s interest                                                MILTON, ON L9E 1N5
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER DATED:
      State what the contract or          03/07/2023                          DURA 6C LLC
2.489 lease is for and the nature                                             425 SOLEDAD STREET
      of the debtor’s interest                                                SUITE 500
                                                                              SAN ANTONIO, TX 78205
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROGRAM SUPPORT LETTER
      State what the contract or          DATED: 06/23/2021                   DURHAM VA HEALTH CARE SYSTEM
2.490 lease is for and the nature                                             508 FULTON STREET
      of the debtor’s interest                                                DURHAM, NC 27705

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER #1 DATED:
      State what the contract or          12/01/2020                          DXTERITY DIAGNOSTICS
2.491 lease is for and the nature                                             19500 RANCHO WAY
      of the debtor’s interest                                                SUITE 116
                                                                              RANCHO DOMINGUEZ, CA 90220
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          EMPLOYER TESTING AGREEMENT
      State what the contract or          DATED: 08/15/2020                   DXTERITY DIAGNOSTICS, INC.
2.492 lease is for and the nature                                             19500 SOUTH RANCHO WAY
      of the debtor’s interest                                                SUITE 116
                                                                              RANCHO DOMINQUEZ, CA 90220
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/09/2020                   E*TRADE FINANCIAL CORPORATE SERVICES, INC.
2.493 lease is for and the nature                                             699 BOYLSTON STREET
      of the debtor’s interest                                                SUITE 200
                                                                              ATTN LEGAL
           State the term remaining       Undetermined                        BOSTON, MA 02116

           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          11/20/2020                          E*TRADE FINANCIAL CORPORATE SERVICES, INC.
2.494 lease is for and the nature                                             3 EDISON DRIVE
      of the debtor’s interest                                                ALPHARETTA, GA 30005

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          ADDENDUM DATED: 09/22/2021          E*TRADE FINANCIAL CORPORATE SERVICES, INC.
2.495 lease is for and the nature                                             3 EDISON DRIVE
      of the debtor’s interest                                                ALPHARETTA, GA 30005

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #1 DATED: 01/24/2022
      State what the contract or                                              E*TRADE FINANCIAL CORPORATE SERVICES, INC.
2.496 lease is for and the nature                                             3 EDISON DRIVE
      of the debtor’s interest                                                ALPHARETTA, GA 30005

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS AND CONDITIONS DATED:
      State what the contract or          03/04/2024                          EASYPANEL
2.497 lease is for and the nature                                             235 ALBANY STREET
      of the debtor’s interest                                                CAMBRIDGE, MA 02139

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO MASTER
      State what the contract or          SERVICE AGREEMENT DATED:            EDUNEERING HOLDINGS, INC.
2.498 lease is for and the nature         10/01/2020                          UL VERIFICATION SERVICES INC.
      of the debtor’s interest                                                333 PFINGSTEN ROAD
                                                                              ATTN LEGAL DEPARTMENT
           State the term remaining       Undetermined                        NORTHBROOK, IL 60062-2096

           List the contract number of
           any government contract

                                          RENEWAL ORDER FORM DATED:
      State what the contract or          05/26/2024                          EGNYTE, INC.
2.499 lease is for and the nature                                             1350 W. MIDDLEFIELD RD
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/21/2021
      State what the contract or                                              EGNYTE, INC.
2.500 lease is for and the nature                                             1350 W. MIDDLEFIELD RD
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO MASTER
      State what the contract or          CLINICAL TRIAL REFERRAL             EIDOS THERAPEUTICS, INC.
2.501 lease is for and the nature         SERVICES AGREEMENT DATED:           101 MONTGOMERY STREET
      of the debtor’s interest            01/28/2020                          SUITE 2000
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PLANNED MAINTENANCE
      State what the contract or          PROPOSAL DATED: 03/11/2024          ELECTRO-MOTION, INC.
2.502 lease is for and the nature                                             4949 THORNTON AVENUE
      of the debtor’s interest                                                UNIT B
                                                                              FREMONT, CA 94536
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1 TO THE WORK
      State what the contract or          ORDER NO. 1 DATED: 03/30/2024 ELIM BIOPHARMACEUTICALS, INC.
2.503 lease is for and the nature                                       25495 WHITESELL STREET
      of the debtor’s interest                                          HAYWARD, CA 94545

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
      State what the contract or          DATED: 07/19/2023                   EMORY UNIVERSITY
2.504 lease is for and the nature                                             1599 CLIFTON ROAD NE
      of the debtor’s interest                                                4TH FLOOR
                                                                              MAILSTOP 1599-001BA
           State the term remaining       Undetermined                        ATLANTA, GA 30322

           List the contract number of
           any government contract

                                          PROPOSAL/CONTRACT DATED:
      State what the contract or          07/13/2021                          EMT ELECTRIC INC.
2.505 lease is for and the nature                                             1282 DUPONT COURT
      of the debtor’s interest                                                MANTECA, CA 95336

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          LABORATORY SERVICES                 ENSIGNA BIOSYSTEMS,INC.
2.506 lease is for and the nature         AGREEMENT DATED: 04/20/2023         GATE510 TECH CAMPUS
      of the debtor’s interest                                                1933 DAVIS ST
                                                                              SUITE 200
           State the term remaining       Undetermined                        SAN LEANDRO, CA 94577

           List the contract number of
           any government contract

                                          SAAS AGREEMENT DATED:
      State what the contract or          05/04/2024                          ENVOY, INC.
2.507 lease is for and the nature                                             410 TOWNSEND STREET
      of the debtor’s interest                                                4TH FLOOR
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF THE NON-RENEWAL OF
      State what the contract or          THE ORDER FORM DATED:               ENVOY, INC.
2.508 lease is for and the nature         05/04/2024                          410 TOWNSEND STREET
      of the debtor’s interest                                                4TH FLOOR
                                                                              SAN FRANCISCO, CA 94107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
      State what the contract or          DATED: 11/21/2024                   EPIBIOLOGICS, INC.
2.509 lease is for and the nature                                             1900 ALAMEDA DE LAS PULGAS.
      of the debtor’s interest                                                SUITE 250
                                                                              SAN MATEO, CA 94403
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICES AGREEMENT DATED:
      State what the contract or          05/30/2024                          EPIQ EDISCOVERY SOLUTIONS, INC.
2.510 lease is for and the nature                                             11880 COLLEGE BLVD.
      of the debtor’s interest                                                SUITE 200
                                                                              OVERLAND PARK, KS 66210
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORGANIZATION MEMBERSHIP
      State what the contract or          AGREEMENT DATED: 03/13/2024         ERG LEADERSHIP ALLIANCE, LLC
2.511 lease is for and the nature                                             30 CHESTNUT ST
      of the debtor’s interest                                                WESTBOROUGH, MA 01581

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          CONSULTING AGREEMENT DATED:         ESSENTIAL RX CONSULTING, LLC
2.512 lease is for and the nature         03/21/2024                          776 GLOUCESTER LANE
      of the debtor’s interest                                                NASHVILLE, TN 37221

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LABEL LICENSE DATED: 03/03/2023
      State what the contract or                                              EUROFINS DISCOVERX PRODUCTS LLC
2.513 lease is for and the nature                                             42501 ALBRAE ST.
      of the debtor’s interest                                                FREMONT, CA 94538

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          05/01/2023                          EUROFINS DISCOVERX PRODUCTS LLC
2.514 lease is for and the nature                                             42501 ALBRAE ST.
      of the debtor’s interest                                                FREMONT, CA 94538

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          06/30/2022                          EVERCYTE GMBH
2.515 lease is for and the nature                                             LEBERSTRASSE 20/8
      of the debtor’s interest                                                VIENNA, A-1110
                                                                              AUSTRIA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          THIRD AMENDMENT TO ONSITE
      State what the contract or          VIVARIUM MANAGEMENT SERVICE         EXPLORA BIOLABS, INC.
2.516 lease is for and the nature         AGREEMENT DATED: 07/28/2022         11175 FLINTKOTE AVENUE
      of the debtor’s interest                                                SUITE B
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ADDENDUM NO. 2 TO THE
      State what the contract or          VIVARIUM SERVICES AGREEMENT         EXPLORA BIOLABS, INC.
2.517 lease is for and the nature         DATED: 09/13/2021                   11175 FLINTKOTE AVENUE
      of the debtor’s interest                                                SUITE B
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SECOND AMENDMENT TO
      State what the contract or                                              EXPLORA BIOLABS, INC.
2.518 lease is for and the nature         VIVARIUM RENTAL AND SERVICE         11175 FLINTKOTE AVENUE
      of the debtor’s interest            AGREEMENT DATED: 12/31/2019         SUITE B
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO ADDENDUM
      State what the contract or          NO. 1 TO THE VIVARIUM RENTAL EXPLORA BIOLABS, INC.
2.519 lease is for and the nature         AND SERVICE AGREEMENT DATED: 11175 FLINTKOTE AVENUE
      of the debtor’s interest            11/24/2020                   SUITE B
                                                                       SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION DATED: 09/29/2021
      State what the contract or                                              EXPLORA BIOLABS, INC.
2.520 lease is for and the nature                                             11175 FLINTKOTE AVENUE
      of the debtor’s interest                                                SUITE B
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          12/18/2024                          EXPLORA BIOLABS, INC.
2.521 lease is for and the nature                                             11175 FLINTKOTE AVENUE
      of the debtor’s interest                                                SUITE B
                                                                              SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT TO SERVICE ORDER
      State what the contract or          DATED: 06/01/2024 UNDER THE         EXTOLE, INC.
2.522 lease is for and the nature         MASTER SERVICES PLATFORM            548 MARKET ST.
      of the debtor’s interest            AGREEMENT DATED: 5/22/2023          SUITE #39231
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          MASTER SERVICES PLATFORM            EXTOLE, INC.
2.523 lease is for and the nature         AGREEMENT DATED: 02/15/2024         548 MARKET ST.
      of the debtor’s interest                                                SUITE #39231
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #1 TO CUSTOMER
      State what the contract or          AGREEMENT DATED: 08/21/2023         EZCATER, INC.
2.524 lease is for and the nature                                             40 WATER STREET 5TH FLOOR
      of the debtor’s interest                                                BOSTON, MA 02109-3604

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SELLER AGREEMENT DATED:
      State what the contract or          07/30/2021                          FACEBOOK, INC.
2.525 lease is for and the nature                                             1 META WAY
      of the debtor’s interest                                                MENLO PARK, CA 94025

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AGREEMENT DATED: 01/17/2025
      State what the contract or                                              FAMILYSEARCH INTERNATIONAL
2.526 lease is for and the nature                                             50 E NORTH TEMPLE
      of the debtor’s interest                                                SALT LAKE CITY, UT 84150-9001

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 05/12/2023                   FAST FOUR, INC.
2.527 lease is for and the nature                                             800 BOYLSTON ST.
      of the debtor’s interest                                                16TH FL
                                                                              BOSTON, MA 02199
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/17/2023
      State what the contract or                                              FASTPATH SOLUTIONS, LLC
2.528 lease is for and the nature                                             4093 NW URBANDALE DRIVE
      of the debtor’s interest                                                DES MOINES, IA 50322

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED           FEDERAL EXPRESS CORPORATION
2.529 lease is for and the nature         12/21/2023                          3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INTERNATIONAL MAILSERVICE ®
      State what the contract or          (FIMS) AGREEMENT DATED:             FEDERAL EXPRESS CORPORATION
2.530 lease is for and the nature         09/27/2023                          3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          FIMS AGREEMENT DATED 10/24/2022
      State what the contract or                                              FEDERAL EXPRESS CORPORATION
2.531 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED           FEDERAL EXPRESS CORPORATION
2.532 lease is for and the nature         12/21/2023                          3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDERAL EXPRESS CORPORATION
2.533 lease is for and the nature         03/29/2024                          3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDERAL EXPRESS CORPORATION
2.534 lease is for and the nature         06/27/2023                          3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          12/10/2020                          FEDEX
2.535 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT DATED: 11/22/2022         FEDEX
2.536 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          11/09/2022                          FEDEX
2.537 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICES AGREEMENT
      State what the contract or          AMENDMENT DATED: 03/30/2024         FEDEX
2.538 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT
      State what the contract or          AMENDMENT DATED: 09/18/2023         FEDEX
2.539 lease is for and the nature                                             3610 HACKS CROSS ROAD
      of the debtor’s interest                                                MEMPHIS, TN 38125

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDEX FREIGHT, INC.
2.540 lease is for and the nature         03/29/2024                          DEPT LA PO BOX 21415
      of the debtor’s interest                                                PASADENA, CA 91185-1415

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDEX FREIGHT, INC.
2.541 lease is for and the nature         06/27/2023                          DEPT LA PO BOX 21415
      of the debtor’s interest                                                PASADENA, CA 91185-1415

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDEX GROUND PACKAGE SYSTEM, INC.
2.542 lease is for and the nature         06/27/2023                          P.O. BOX 7221
      of the debtor’s interest                                                PASADENA, CA 91109-7321

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSPORTATION SERVICES
      State what the contract or          AGREEMENT AMENDMENT DATED:          FEDEX GROUND PACKAGE SYSTEM, INC.
2.543 lease is for and the nature         03/29/2024                          P.O. BOX 7221
      of the debtor’s interest                                                PASADENA, CA 91109-7321

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          HEALTH SAVINGS ACCOUNT
      State what the contract or          SERVICES DATED: 11/08/2021          FIDELITY MANAGEMENT TRUST COMPANY
2.544 lease is for and the nature                                             FIDELITY INVESTMENTS
      of the debtor’s interest                                                245 SUMMER STREET
                                                                              V7B
           State the term remaining       Undetermined                        BOSTON, MA 02210

           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          NOTICE OF NON-RENEWAL OF THE
      State what the contract or          ORDER FORM DATED: 04/15/2022        FIGMA, INC.
2.545 lease is for and the nature                                             116 NEW MONTGOMERY ST
      of the debtor’s interest                                                SUITE 700
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 04/03/2020
      State what the contract or                                              FIGMA, INC.
2.546 lease is for and the nature                                             116 NEW MONTGOMERY ST
      of the debtor’s interest                                                SUITE 700
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/15/2024
      State what the contract or                                              FINDEM, INC.
2.547 lease is for and the nature                                             702 MARSHALL STREET
      of the debtor’s interest                                                SUITE 520
                                                                              REDWOOD CITY, CA 94063
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           FIRST CAPITOL COURIER, INC.
2.548 lease is for and the nature         DATED: 08/15/2023                   54 WEST INDUSTRIAL DR.
      of the debtor’s interest                                                O FALLON, MO 63366

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UMBRELLA DEVELOPMENT
      State what the contract or          SERVICES AGREEMENT DATED:           FISHER BIOSERVICES, INC.
2.549 lease is for and the nature         11/08/2022                          FISHER BIOSERVICES INC.
      of the debtor’s interest                                                14665 ROTHGEB DR.
                                                                              ROCKVILLE, MD 20850
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK (LN2
      State what the contract or          STORAGE) DATED: 12/06/2022          FISHER BIOSERVICES, INC.
2.550 lease is for and the nature                                             14665 ROTHGEB DR.
      of the debtor’s interest                                                ROCKVILLE, MD 20850

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          1/3/2018                            FISHERBROYLES, LLP
2.551 lease is for and the nature                                             701 EL CAMINO REAL
      of the debtor’s interest                                                REDWOOD CITY, CA 94063

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SUBSCRIPTION
      State what the contract or          AGREEMENT DATED: 03/28/2023         FLOQAST, INC.
2.552 lease is for and the nature                                             4721 CALIFA STREET
      of the debtor’s interest                                                LOS ANGELES, CA 91411

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/07/2023                   FLOW CONTRACT SITE LABORATORY, LLC
2.553 lease is for and the nature                                             18323 BOTHELL EVERETT HIGHWAY
      of the debtor’s interest                                                SUITE 110
                                                                              BOTHELL, WA 98012
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 05/01/2023                   FOGGY BAY POST INCORPORATED
2.554 lease is for and the nature                                             1405 IGUANA CIR
      of the debtor’s interest                                                VENTURA, CA 93003

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          STATEMENT OF WORK #2 DATED:         FOGGY BAY POST INCORPORATED
2.555 lease is for and the nature         05/20/2021                          1406 S. SALTAIR AVE. #7
      of the debtor’s interest                                                LOS ANGELES, CA 90025

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           FOLK DEVILS LLC
2.556 lease is for and the nature         07/09/2024                          16 HUDSON ST., 4C
      of the debtor’s interest                                                NEW YORK, NY 10013

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 2 DATED:
      State what the contract or          01/09/2024                     FOODA, INC.
2.557 lease is for and the nature                                        1 NORTH DEARBORN
      of the debtor’s interest                                           SUITE 600
                                                                         CHICAGO, IL 60602
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 3 DATED:
      State what the contract or          05/03/2024                     FOODA, INC.
2.558 lease is for and the nature                                        1 NORTH DEARBORN
      of the debtor’s interest                                           SUITE 600
                                                                         CHICAGO, IL 60602
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICE AGREEMENT
      State what the contract or          DATED: 11/13/2023                   FOODA, INC.
2.559 lease is for and the nature                                             1 NORTH DEARBORN
      of the debtor’s interest                                                SUITE 600
                                                                              CHICAGO, IL 60602
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT LICENSE AGREEMENT
      State what the contract or          DATED: 10/28/2024                   FORTINET
2.560 lease is for and the nature                                             899 KIFER RD
      of the debtor’s interest                                                SUNNYVALE, CA 94086

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          OTHER DATED: 08/22/2022
      State what the contract or                                              FORTINET
2.561 lease is for and the nature                                             899 KIFER RD
      of the debtor’s interest                                                SUNNYVALE, CA 94086

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT AGREEMENT DATED:
      State what the contract or          01/29/2025                  FRANK, RIMERMAN + CO. LLP
2.562 lease is for and the nature                                     ONE EMBARCADERO CENTER
      of the debtor’s interest                                        SUITE 2410
                                                                      SAN FRANCISCO, CA 94111
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REPRESENTATION LETTER DATED:
      State what the contract or          09/21/2021                   FRANK, RIMERMAN + CO. LLP
2.563 lease is for and the nature                                      60 SOUTH MARKET STREET
      of the debtor’s interest                                         SUITE 500
                                                                       SAN JOSE, CA 95113
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/21/2024         FREE ME FROM LUNG CANCER
2.564 lease is for and the nature                                             176 LEAVITT ROAD
      of the debtor’s interest                                                AUGUSTA, ME 04330

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS ORDER FORM DATED:
      State what the contract or          08/17/2021                          FREEBUSY, INC.
2.565 lease is for and the nature                                             340 S LEMON AVE
      of the debtor’s interest                                                SUITE 2890
                                                                              WALNUT, CA 91789
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SAAS ORDER FORM DATED:
      State what the contract or          08/17/2021                          FREEBUSY, INC.
2.566 lease is for and the nature                                             340 S LEMON AVE
      of the debtor’s interest                                                SUITE 2890
                                                                              WALNUT, CA 91789
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/27/2024                   FREELANCE WRITING LLC
2.567 lease is for and the nature                                             3422 OLD CAPITOL TRAIL
      of the debtor’s interest                                                PMB #793
                                                                              WILMINGTON, DE 19808
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSERTION ORDER FORM DATED:
      State what the contract or          06/06/2023 PER GENERAL TERMS        FSA STORE INC.
2.568 lease is for and the nature                                             601 W 26TH ST.
      of the debtor’s interest                                                3RD FLOOR
                                                                              SUITE 357
           State the term remaining       Undetermined                        DPT #24075
                                                                              NEW YORK, NY 10001
           List the contract number of
           any government contract

                                          CERTIFICATE OF COMPLETION
      State what the contract or          DATED: 10/04/2024                   FSA STORE INC.
2.569 lease is for and the nature                                             601 W 26TH ST.
      of the debtor’s interest                                                3RD FLOOR
                                                                              SUITE 357
           State the term remaining       Undetermined                        DPT #24075
                                                                              NEW YORK, NY 10001
           List the contract number of
           any government contract

                                          INSERTION ORDER FORM DATED:
      State what the contract or          01/21/2025 PER GENERAL TERMS        FSA STORE INC.
2.570 lease is for and the nature                                             5473 BLAIR RD
      of the debtor’s interest                                                SUITE 100
                                                                              PMB 24308
           State the term remaining       Undetermined                        DALLAS, TX 75231

           List the contract number of
           any government contract

                                          WORK ORDER #2 DATED: 10/10/2022
      State what the contract or                                              FULGENT THERAPEUTICS, LLC
2.571 lease is for and the nature                                             4978 SANTA ANITA AVE
      of the debtor’s interest                                                TEMPLE CITY, CA 91780

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENETICS SERVICES AGREEMENT
      State what the contract or          DATED: 10/10/2023                   FULGENT THERAPEUTICS, LLC
2.572 lease is for and the nature                                             4978 SANTA ANITA AVE.
      of the debtor’s interest                                                TEMPLE CITY, CA 91780

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
      State what the contract or          07/01/2023                          FULGENT THERAPEUTICS, LLC
2.573 lease is for and the nature                                             4978 SANTA ANITA AVE.
      of the debtor’s interest                                                TEMPLE CITY, CA 91780

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
      State what the contract or          06/15/2022                          FULGENT THERAPEUTICS, LLC
2.574 lease is for and the nature                                             ATTENTION LEGAL DEPARTMENT
      of the debtor’s interest                                                4978 SANTA ANITA AVE
                                                                              TEMPLE CITY, CA 91780
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SUBSCRIPTION
      State what the contract or          AGREEMENT DATED: 07/28/2022         FULLSTORY, INC.
2.575 lease is for and the nature                                             1745 PEACHTREE ST. NE
      of the debtor’s interest                                                SUITE G
                                                                              ATLANTA, GA 30309
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO STATEMENT
      State what the contract or          OF WORK #8 DATED: 08/21/2024 PER GARY HOBSTETTER & ASSOCIATES, INC.
2.576 lease is for and the nature         MASTER SERVICES AGREEMENT        32910 ALVARADO NILES ROAD
      of the debtor’s interest            DATED: 8/28/2019                 SUITE 100
                                                                           UNION CITY, CA 94587
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE PROVIDER CCPA EXHIBIT
      State what the contract or          DATED 02/04/2020                    GENEWIZ INC
2.577 lease is for and the nature                                             2910 FORTUNE CIRCLE WEST
      of the debtor’s interest                                                SUITE E
                                                                              INDIANAPOLIS, IN 46241
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          10/28/2020                          GENOWAY S.A.
2.578 lease is for and the nature                                             TECHNOPARK
      of the debtor’s interest                                                2,31 RUE ST JEAN DE DIEU
                                                                              69007
           State the term remaining       Undetermined                        LYON,
                                                                              FRANCE
           List the contract number of
           any government contract

                                          MASTER CONTRACT SERVICES
      State what the contract or          AGREEMENT DATED: 10/28/2020         GENOWAY S.A.
2.579 lease is for and the nature                                             TECHNOPARK
      of the debtor’s interest                                                2 31 RUE ST JEAN DE DIEU
                                                                              69007
           State the term remaining       Undetermined                        LYON,
                                                                              FRANCE
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 07/10/2023                   GETIDA LLC
2.580 lease is for and the nature                                             1345 QUEEN ANNE ROAD
      of the debtor’s interest                                                TEANECK, NJ 07666

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or                                              GITHUB, INC.
2.581 lease is for and the nature                                             88 COLIN P. KELLY STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 05/28/2024                   GITHUB, INC.
2.582 lease is for and the nature                                             88 COLIN P KELLY JR STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          BUDGET TRANSFER AGREEMENT
      State what the contract or          FOR GLASSDOOR JOB ADS               GLASSDOOR INC.
2.583 lease is for and the nature         SERVICES DATED: 10/05/2020          GLASSDOOR C/O INDEED
      of the debtor’s interest                                                6433 CHAMPION GRANDVIEW WAY
                                                                              AUSTIN, TX 78750
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
      State what the contract or          DATED: 07/23/2018                   GLAXO GROUP LIMITED
2.584 lease is for and the nature                                             980 GREAT WEST ROAD
      of the debtor’s interest                                                BRENTFORD
                                                                              MIDDLESEX, TW8 9GS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO
      State what the contract or                                              GLAXOSMITHKLINE INTELLECTUAL PROPERTY (NO.3) LIMITED
2.585 lease is for and the nature         COLLABORATION AGREEMENT             980 GREAT WEST ROAD
      of the debtor’s interest            DATED: 04/08/2019                   BRENTFORD
                                                                              MIDDLESEX, TW8 9GS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          SECOND AMENDMENT TO
      State what the contract or          COLLABORATION AGREEMENT             GLAXOSMITHKLINE INTELLECTUAL PROPERTY (NO.3) LIMITED
2.586 lease is for and the nature         DATED 01/13/2021                    980 GREAT WEST ROAD
      of the debtor’s interest                                                BRENTFORD
                                                                              MIDDLESEX, TW8 9GS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          THIRD AMENDMENT TO
      State what the contract or          COLLABORATION AGREEMENT             GLAXOSMITHKLINE INTELLECTUAL PROPERTY (NO.3) LIMITED
2.587 lease is for and the nature         DATED: 07/24/2018                   980 GREAT WEST ROAD
      of the debtor’s interest                                                BRENTFORD
                                                                              MIDDLESEX, TW8 9GS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          REFERRAL SERVICES TASK ORDER
      State what the contract or          DATED: 09/30/2021            GLAXOSMITHKLINE LLC
2.588 lease is for and the nature                                      5 CRESCENT DRIVE
      of the debtor’s interest                                         PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER LETTER DATED:
      State what the contract or          10/01/2023                          GLAXOSMITHKLINE LLC
2.589 lease is for and the nature                                             5 CRESCENT DRIVE
      of the debtor’s interest                                                PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENOTYPING SERVICE TASK
      State what the contract or          ORDER DATED: 03/20/2020             GLAXOSMITHKLINE LLC
2.590 lease is for and the nature                                             5 CRESCENT DRIVE
      of the debtor’s interest                                                PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEED OF CONTRACT TRANSFER
      State what the contract or                                              GLAXOSMITHKLINE LLC
2.591 lease is for and the nature                                             5 CRESCENT DRIVE
      of the debtor’s interest                                                PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER LETTER
      State what the contract or                                              GLAXOSMITHKLINE LLC
2.592 lease is for and the nature                                             5 CRESCENT DRIVE
      of the debtor’s interest                                                PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER LETTER DATED:
      State what the contract or          04/19/2022                          GLAXOSMITHKLINE LLC
2.593 lease is for and the nature                                             5 CRESCENT DRIVE
      of the debtor’s interest                                                PHILADELPHIA, PA 19112

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LETTER AGREEMENT
      State what the contract or                                              GLAXOSMITHKLINE RESEARCH & DEVELOPMENT LIMITED
2.594 lease is for and the nature                                             980 GREAT WEST ROAD
      of the debtor’s interest                                                BRENTFORD
                                                                              MIDDLESEX, TW8 9GS
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          10/01/2022                          GLOBAL MESSAGING NETWORK
2.595 lease is for and the nature                                             POST OFFICE BOX 3067
      of the debtor’s interest                                                GLENDALE, CA 91221

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE CANCELLATION REQUEST
      State what the contract or          FORM DATED: 09/01/2022       GLOBAL MESSAGING NETWORK
2.596 lease is for and the nature                                      PO BOX 3067
      of the debtor’s interest                                         GLENDALE, CA 91221-0067

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/17/2021                   GLOBAL REGULATORY WRITING & CONSULTING
2.597 lease is for and the nature                                             27721 10TH AVE SE
      of the debtor’s interest                                                KENT, WA 98030

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/03/2024         GO2 FOR LUNG CANCER
2.598 lease is for and the nature                                             1100 INDUSTRIAL RD #1
      of the debtor’s interest                                                SAN CARLOS, CA 94070

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 12/13/2023                   GOGLOBAL GEO LIMITED
2.599 lease is for and the nature                                             46/F
      of the debtor’s interest                                                LEE GARDEN ONE
                                                                              33 HYSAN AVENUE
           State the term remaining       Undetermined                        CAUSEWAY BAY
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          AMENDMENT NO. 1 TO SERVICES
      State what the contract or          AGREEMENT DATED: 12/03/2024         GOLD PR LTD
2.600 lease is for and the nature                                             3 ELIYAHU BROWN ST
      of the debtor’s interest                                                JERUSALEM, 9729645
                                                                              ISRAEL
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICES AGREEMENT DATED:
      State what the contract or          07/24/2024                          GOLD PR LTD
2.601 lease is for and the nature                                             3 ELIYAHU BROWN ST
      of the debtor’s interest                                                JERUSALEM, 9729645
                                                                              ISRAEL
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIALS & APPEARANCE
      State what the contract or          RELEASE DATED: 10/19/2023           GOLDMAN SACHS
2.602 lease is for and the nature                                             101 CONSTITUTION AVENUE, N.W.
      of the debtor’s interest                                                SUITE 1000 EAST
                                                                              WASHINGTON, DC 20001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSIGNMENT FOR CONSULTING
      State what the contract or          AGREEMENT DATED: 12/02/2024         GONG CONSULTING, LLC
2.603 lease is for and the nature                                             50 INA CT.
      of the debtor’s interest                                                ALAMO, CA 94507

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT
      State what the contract or                                              GOOGLE LLC
2.604 lease is for and the nature                                             1600 AMPHITHEATRE PARKWAY
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER AGREEMENT DATED:
      State what the contract or          10/12/2023                          GOOGLE LLC
2.605 lease is for and the nature                                             1600 AMPHITHEATRE PARKWAY
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRE-GENERAL AVAILABILITY
      State what the contract or          PROGRAM AGREEMENT DATED:            GOOGLE LLC
2.606 lease is for and the nature         10/31/2018                          1600 AMPHITHEATRE PARKWAY
      of the debtor’s interest                                                MOUNTAIN VIEW, CA 94043

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GOOGLE ADS AGREEMENT DATED:
      State what the contract or          01/10/2022                          GOOGLE LLC
2.607 lease is for and the nature                                             LEGAL DEPARTMENT GOOGLE ADS ARBITRATION C/O
      of the debtor’s interest                                                CORPORATION SERVICE COMPANY
                                                                              2710 GATEWAY OAKS DRIVE
           State the term remaining       Undetermined                        SUITE 150N
                                                                              SACRAMENTO, CA 95833
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          DATA PROCESSING AND SECURITY
      State what the contract or          TERMS DATED: 08/12/2020             GOOGLE LLC
2.608 lease is for and the nature                                             LEGAL DEPARTMENT GOOGLE ADS ARBITRATION C/O
      of the debtor’s interest                                                CORPORATION SERVICE COMPANY
                                                                              2710 GATEWAY OAKS DRIVE
           State the term remaining       Undetermined                        SUITE 150N
                                                                              SACRAMENTO, CA 95833
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 05/10/2023                   GRANITE CONSULTING, LTD.
2.609 lease is for and the nature                                             THE BUSINESS DESIGN CENTRE
      of the debtor’s interest                                                52 UPPER ST.
                                                                              LONDON, N1 0QH
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 02/27/2024                   GRAPHPAD SOFTWARE, LLC
2.610 lease is for and the nature                                             225 FRANKLIN ST
      of the debtor’s interest                                                FL 26
                                                                              BOSTON, MA 02110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          05/30/2024                          GREENBERG TRAURIG, LLP.
2.611 lease is for and the nature                                             1840 CENTURY PARK EAST
      of the debtor’s interest                                                SUITE 1900
                                                                              LOS ANGELES, CA 90067-2121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT SERVICES AGREEMENT
      State what the contract or          DATED: 07/16/2024                   GREENBERG TRAURIG, LLP.
2.612 lease is for and the nature                                             1840 CENTURY PARK EAST
      of the debtor’s interest                                                SUITE 1900
                                                                              LOS ANGELES, CA 90067
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONTRACT RENEWAL DATED:
      State what the contract or          01/24/2024                          GREENCITIZEN, INC.
2.613 lease is for and the nature                                             1831 BAYSHORE HIGHWAY
      of the debtor’s interest                                                SUITE 2
                                                                              BURLINGAME, CA 94010
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          BUILDING STYROFOAM RECYCLING
      State what the contract or          SERVICE CONTRACT DATED:      GREENCITIZEN, INC.
2.614 lease is for and the nature         04/21/2021                   1831 BAYSHORE HWY
      of the debtor’s interest                                         SUITE 2
                                                                       BURLINGAME, CA 94010
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PURCHASE AGREEMENT DATED:
      State what the contract or          12/29/2023                          GREENHOUSE SOFTWARE, INC.
2.615 lease is for and the nature                                             228 PARK AVENUE S. PMB
      of the debtor’s interest                                                14744
                                                                              NEW YORK, NY 10003-1502
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE AGREEMENT DATED:
      State what the contract or          12/29/2023                          GREENHOUSE SOFTWARE, INC.
2.616 lease is for and the nature                                             18 WEST 18TH STREET
      of the debtor’s interest                                                11TH FL.
                                                                              NEW YORK, NY 10011
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 12/29/2020                   GREENHOUSE SOFTWARE, INC.
2.617 lease is for and the nature                                             18 W 18TH STREET
      of the debtor’s interest                                                11TH FLOOR
                                                                              NEW YORK, NY 10011
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SUBSCRIPTION
      State what the contract or          AGREEMENT DATED: 03/01/2022         GREENHOUSE SOFTWARE, INC.
2.618 lease is for and the nature                                             18 WEST 18TH ST
      of the debtor’s interest                                                11FL
                                                                              NEW YORK, NY 10011
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 11/14/2022
      State what the contract or                                              GRIFOLS USA, LLC
2.619 lease is for and the nature                                             79 TW ALEXANDER DRIVE BUILDING
      of the debtor’s interest                                                4101
                                                                              RESEARCH TRIANGLE PARK, NC 27709
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          09/02/2020                          GRIFOLS USA, LLC
2.620 lease is for and the nature                                             79 TW ALEXANDER DRIVE BUILDING
      of the debtor’s interest                                                4101
                                                                              RESEARCH TRIANGLE PARK, NC 27709
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #4 DATED:
      State what the contract or          11/14/2023                          GRIFOLS USA, LLC
2.621 lease is for and the nature                                             79 TW ALEXANDER DRIVE BUILDING
      of the debtor’s interest                                                4101
                                                                              RESEARCH TRIANGLE PARK, NC 27709
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INSERTION ORDER DATED:
      State what the contract or          06/15/2023                          GRINDR LLC
2.622 lease is for and the nature                                             PO BOX 69414
      of the debtor’s interest                                                WEST HOLLYWOOD, CA 90069

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 09/20/2022                   GROVES & COMPANY LLC
2.623 lease is for and the nature                                             5900 BALCONES DRIVE
      of the debtor’s interest                                                SUITE 4306
                                                                              AUSTIN, TX 78731
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 01/13/2022         GUBRA APS
2.624 lease is for and the nature                                             H RSHOLM KONGEVEJ 11B
      of the debtor’s interest                                                2970 H RSHOLM,
                                                                              DENMARK
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
      State what the contract or          3/8/2021                            GYM DOCTORS
2.625 lease is for and the nature                                             3488 ARDEN ROAD
      of the debtor’s interest                                                HAYWARD, CA 94545

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RELEASE DATED: 03/29/2021
      State what the contract or                                              H CAPITAL MANAGEMENT, LLC
2.626 lease is for and the nature                                             4242 S BLACKHAWK CIR UNIT 4H
      of the debtor’s interest                                                AURORA, CO 80014-8114

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 09/30/2020         H. LUNDBECK A/S
2.627 lease is for and the nature                                             OTTILIAVEJ 9 DK-2500
      of the debtor’s interest                                                VALBY,
                                                                              DENMARK
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO THE RESEARCH
      State what the contract or          COLLABORATION AGREEMENT      H. LUNDBECK A/S
2.628 lease is for and the nature         DATED: 12/16/2022            OTTILIAVEJ 9 DK-2500
      of the debtor’s interest                                         VALBY,
                                                                       DENMARK
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #3 TO RESEARCH
      State what the contract or          COMMUNITY SERVICES                  H. LUNDBECK A/S
2.629 lease is for and the nature         AGREEMENT DATED: 09/30/2020         OTTILIAVEJ 9 DK-2500
      of the debtor’s interest                                                VALBY,
                                                                              DENMARK
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 10/23/2024                   HACKERONE INC.
2.630 lease is for and the nature                                             548 MARKET ST
      of the debtor’s interest                                                PMB 24734
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RETURNED MATERIALS
      State what the contract or          AUTHORIZATION DATED: 03/31/2020 HAMILTON COMPANY
2.631 lease is for and the nature                                         4990 ENERGY WAY
      of the debtor’s interest                                            RENO, NV 89502

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          08/21/2023                          HAMILTON COMPANY (F/K/A HAMILTON ROBOTICS)
2.632 lease is for and the nature                                             4970 ENERGY WAY
      of the debtor’s interest                                                RENO, NV 89502

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/20/2024         HAPPY LUNGS PROJECT
2.633 lease is for and the nature                                             3209 SUNNY LANE
      of the debtor’s interest                                                AUSTIN, TX 78731

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 10/04/2021                   HARNESS, INC.
2.634 lease is for and the nature                                             116 NEW MONTGOMERY STREET
      of the debtor’s interest                                                SUITE 200
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/04/2023                   HARNESS, INC.
2.635 lease is for and the nature                                             55 STOCKTON STREET
      of the debtor’s interest                                                SAN FRANCISCO, CA 94108

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM RENEWAL
      State what the contract or                                              HARNESS, INC.
2.636 lease is for and the nature                                             116 NEW MONTGOMERY STREET
      of the debtor’s interest                                                SUITE 200
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 03/30/2024                   HARRIS INSIGHTS & ANALYTICS LLC.
2.637 lease is for and the nature                                             300 N. LASALLE STREET
      of the debtor’s interest                                                STE# 5575
                                                                              CHICAGO, IL 60654
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #6 TO THE
      State what the contract or          MASER SERVICES AGREEMENT            HARRIS INSIGHTS & ANALYTICS LLC.
2.638 lease is for and the nature         DATED: 12/16/2021                   300 N. LASALLE STREET
      of the debtor’s interest                                                STE# 5575
                                                                              CHICAGO, IL 60654
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VIDEO/APPEARANCE RELEASE
      State what the contract or          DATED: 04/08/2021                   HARVARD BUSINESS PUBLISHING
2.639 lease is for and the nature                                             20 GUEST STREET
      of the debtor’s interest                                                SUITE 700
                                                                              BRIGHTON, MA 02163
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DISCLOSURE OF POTENTIAL
      State what the contract or          CONFLICTS OF INTEREST               HARVARD BUSINESS REVIEW
2.640 lease is for and the nature                                             20 GUEST STREET
      of the debtor’s interest                                                SUITE 700
                                                                              BRIGHTON, MA 02163
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #4 DATED:
      State what the contract or          01/08/2025                          HARVARD UNIVERSITY AND HOWARD HUGHES MEDICAL
2.641 lease is for and the nature                                             INSTITUTE
      of the debtor’s interest                                                4000 JONES BRIDGE ROAD
                                                                              CHEVY CHASE, MD 20815
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENTERPRISE SOFTWARE LICENSE
      State what the contract or          AGREEMENT DATED: 07/14/2020         HASHICORP, INC.
2.642 lease is for and the nature                                             101 SECOND STREET
      of the debtor’s interest                                                SUITE 700
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MARKETING AND SPONSORSHIP
      State what the contract or          AGREEMENT DATED: 01/01/2025         HBCU ENDZONE, INCORPORATED
2.643 lease is for and the nature                                             6225 GOTHIC LANE
      of the debtor’s interest                                                BOWIE, MD 20720

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS AGREEMENT DATED:
      State what the contract or          11/02/2022                          HEALTH GORILLA, INC.
2.644 lease is for and the nature                                             ATTN CHIEF COMPLIANCE OFFICER AND GENERAL COUNSEL
      of the debtor’s interest                                                800 W EL CAMINO REAL
                                                                              SUITE 100
           State the term remaining       Undetermined                        MOUNTAIN VIEW, CA 94040

           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          10/28/2024                   HEALTH IN HER HUE INC.
2.645 lease is for and the nature                                      8 W 126TH ST.
      of the debtor’s interest                                         NEW YORK, NY 10027

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF NON-RENEWAL DATED:
      State what the contract or          01/18/2024                          HEALTH-ISAC INC., DBA NH-ISAC
2.646 lease is for and the nature                                             226 NORTH NOVA ROAD
      of the debtor’s interest                                                #391
                                                                              ATTN DENISE ANDERSON PRESIDENT
           State the term remaining       Undetermined                        ORMOND BEACH, FL 32174

           List the contract number of
           any government contract

                                          SERVICE PROVIDER CCPA EXHIBIT
      State what the contract or          DATED: 01/02/2020                   HEAP, INC.
2.647 lease is for and the nature                                             ACCOUNTS RECEIVABLE DEPARTMENT
      of the debtor’s interest                                                223 N. MATHILDA AVENUE 225 BUSH ST
                                                                              #200
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94104

           List the contract number of
           any government contract

                                          AMENDED ORDER FORM FOR
      State what the contract or          SERVICE AGREEMENT DATED:            HEAP, INC.
2.648 lease is for and the nature         12/01/2023                          ACCOUNTS RECEIVABLE DEPARTMENT
      of the debtor’s interest                                                223 N. MATHILDA AVENUE 225 BUSH ST
                                                                              #200
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94104

           List the contract number of
           any government contract

                                          SERVICE AGREEMENT RENEWAL
      State what the contract or          DATED: 06/15/2023                   HEAP, INC.
2.649 lease is for and the nature                                             ACCOUNTS RECEIVABLE DEPARTMENT
      of the debtor’s interest                                                223 N. MATHILDA AVENUE 225 BUSH ST
                                                                              #200
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94104

           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMS AND CONDITIONS (CLICK
      State what the contract or          THROUGH) DATED: 11/13/2023          HELIUM10
2.650 lease is for and the nature                                             500 TECHNOLOGY DRIVE, SUITE 450
      of the debtor’s interest                                                IRVINE, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          05/11/2023                          HERA BIOLABS, INC
2.651 lease is for and the nature                                             2277 THUNDERSTICK DR.
      of the debtor’s interest                                                #500
                                                                              LEXINGTON, KY 40505
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LIMITED USE RESEARCH LICENSE
      State what the contract or          AGREEMENT                           HERA BIOLABS, INC
2.652 lease is for and the nature                                             2277 THUNDERSTICK DR.
      of the debtor’s interest                                                #500
                                                                              LEXINGTON, KY 40505
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE AND SALE AGREEMENT
      State what the contract or          DATED: 05/31/2023           HERITAGE GLOBAL PARTNERS, INC.
2.653 lease is for and the nature                                     HACIENDA DEL MAR
      of the debtor’s interest                                        12625 HIGH BLUFF DRIVE
                                                                      SUITE 305
           State the term remaining       Undetermined                SAN DIEGO, CA 92130

           List the contract number of
           any government contract

                                          TERMS OF USE DATED: 04/12/2024
      State what the contract or                                              HILCO IP SERVICES
2.654 lease is for and the nature                                             980 WASHINGTON ST STE 330
      of the debtor’s interest                                                DEDHAM, MA 02026-6797

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          6/22/2021                           HINTZE LAW PLLC
2.655 lease is for and the nature                                             505 BROADWAY E.
      of the debtor’s interest                                                #151
                                                                              SEATTLE, WA 98102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          07/17/2024                          HOFFMANN BROTHERS HEATING AND AIR CONDITIONING, INC.
2.656 lease is for and the nature                                             1025 HANLEY INDUSTRIAL COURT
      of the debtor’s interest                                                ST. LOUIS, MO 63144

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROGRAMMED MAINTENANCE
      State what the contract or          AGREEMENT DATED: 08/25/2022         HOFFMANN BROTHERS HEATING AND AIR CONDITIONING, INC.
2.657 lease is for and the nature                                             1025 HANLEY INDUSTRIAL COURT
      of the debtor’s interest                                                ST. LOUIS, MO 63144

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 11/04/2021         HOOKE LABORATORIES, INC.
2.658 lease is for and the nature                                             ATTN LEGAL DEPARTMENT
      of the debtor’s interest                                                439 SOUTH UNION STREET
                                                                              LAWRENCE, MA 01843
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FOLLOW-UP TERMINATION LETTER
      State what the contract or          DATED: 08/29/2022                   HOOTSUITE, INC.
2.659 lease is for and the nature                                             111 5 AVE E
      of the debtor’s interest                                                VANCOUVER, BC V5T 4L1
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          02/25/2021                          HOST ANALYTICS, INC.
2.660 lease is for and the nature                                             555 TWIN DOLPHIN DRIVE
      of the debtor’s interest                                                SUITE 400
                                                                              ATTN CLIENT CONTRACTS ADMINISTRATION
           State the term remaining       Undetermined                        REDWOOD CITY, CA 94065

           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 06/02/2022         HOWARD HUGHES MEDICAL INSTITUTE
2.661 lease is for and the nature                                             4000 JONES BRIDGE ROAD
      of the debtor’s interest                                                CHEVY CHASE, MD 20815

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          08/23/2022                          HOWARD HUGHES MEDICAL INSTITUTE
2.662 lease is for and the nature                                             4000 JONES BRIDGE ROAD
      of the debtor’s interest                                                CHEVY CHASE, MD 20815

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UNIFORM PROVISIONS FOR
      State what the contract or          AGREEMENTS IN CONNECTION            HOWARD HUGHES MEDICAL INSTITUTE
2.663 lease is for and the nature         WITH SEMINARS, CONFERENCES,         4000 JONES BRIDGE ROAD
      of the debtor’s interest            AND TALKS DATED: 12/08/2021         CHEVY CHASE, MD 20815

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #5 DATED:
      State what the contract or          01/08/2025                          HOWARD HUGHES MEDICAL INSTITUTE
2.664 lease is for and the nature                                             4000 JONES BRIDGE ROAD
      of the debtor’s interest                                                CHEVY CHASE, MD 20815

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL RELEASE AGREEMENT
      State what the contract or          DATED: 09/07/2020                   HSN.COM
2.665 lease is for and the nature                                             PO BOX 9090
      of the debtor’s interest                                                CLEARWATER, FL 33758

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL RELEASE AGREEMENT
      State what the contract or          DATED: 08/25/2020                   HSN.COM
2.666 lease is for and the nature                                             PO BOX 9090
      of the debtor’s interest                                                CLEARWATER, FL 33758

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL RELEASE AGREEMENT
      State what the contract or          DATED: 09/07/2020                   HSNI, LLC
2.667 lease is for and the nature                                             1 HSN DR
      of the debtor’s interest                                                SAINT PETERSBURG, FL 33729-0001

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL RELEASE AGREEMENT
      State what the contract or          DATED: 08/25/2020                   HSNI, LLC
2.668 lease is for and the nature                                             1 HSN DR
      of the debtor’s interest                                                SAINT PETERSBURG, FL 33729-0001

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/19/2024                   HTC GLOBAL SERVICES, INC.
2.669 lease is for and the nature                                             3270 W. BIG BEAVER RD.
      of the debtor’s interest                                                TROY, MI 48084

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT#1 DATED: 01/09/2025
      State what the contract or                                              HTC GLOBAL SERVICES, INC.
2.670 lease is for and the nature                                             3270 W. BIG BEAVER RD.
      of the debtor’s interest                                                TROY, MI 48084

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RETAINER AGREEMENT DATED:
      State what the contract or          09/04/2024                          HYMAN, PHELPS & MCNAMARA PC
2.671 lease is for and the nature                                             700 THIRTEENTH STREET, N.W.
      of the debtor’s interest                                                SUITE 1200
                                                                              WASHINGTON, DC 20005
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 7 DATED:
      State what the contract or          02/26/2021                     ICAHN SCHOOL OF MEDICINE AT MOUNT SINAI
2.672 lease is for and the nature                                        1 GUSTAVE L. LEVY PL
      of the debtor’s interest                                           NEW YORK, NY 10029

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 07/02/2024         ICAHN SCHOOL OF MEDICINE AT MOUNT SINAI
2.673 lease is for and the nature                                             1 GUSTAVE L. LEVY PL
      of the debtor’s interest                                                NEW YORK, NY 10029

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/21/2024         ICAN, INTERNATIONAL CANCER ADVOCACY NETWORK
2.674 lease is for and the nature                                             27 WEST MORTEN AVENUE
      of the debtor’s interest                                                PHOENIX, AZ 85021

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1
      State what the contract or                                              ICON CLINICAL RESEARCH LIMITED
2.675 lease is for and the nature         OF STATEMENT OF WORK DATED:         SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest            08/06/2024                          LEOPARDSTOWN
                                                                              DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                        IRELAND

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or                                          ICON CLINICAL RESEARCH LIMITED
2.676 lease is for and the nature         AMENDMENT # 1 DATED: 09/05/2023 SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest                                            LEOPARDSTOWN
                                                                          DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                    IRELAND

           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          09/19/2023                          ICON CLINICAL RESEARCH LIMITED
2.677 lease is for and the nature                                             123 SMITH STREET
      of the debtor’s interest                                                FARMINGDALE, NY 11735

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          01/05/2024                          ICON CLINICAL RESEARCH LIMITED
2.678 lease is for and the nature                                             SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest                                                LEOPARDSTOWN
                                                                              DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                        IRELAND

           List the contract number of
           any government contract

                                          CHANGE ORDER NO. 1
      State what the contract or                                         ICON CLINICAL RESEARCH LIMITED
2.679 lease is for and the nature         TO                             SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest                                           LEOPARDSTOWN
                                          STATEMENT OF WORK NO. 2 DATED: DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                   IRELAND

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/25/2022                   ICON CLINICAL RESEARCH LIMITED
2.680 lease is for and the nature                                             SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest                                                LEOPARDSTOWN
                                                                              DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                        IRELAND

           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER
      State what the contract or          DATED: 08/06/2024                   ICON CLINICAL RESEARCH LIMITED
2.681 lease is for and the nature                                             SOUTH COUNTY BUSINESS PARK
      of the debtor’s interest                                                LEOPARDSTOWN
                                                                              DUBLIN 18, D18X5R3
           State the term remaining       Undetermined                        IRELAND

           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
      State what the contract or                                              ICON MEDIA DIRECT, INC
2.682 lease is for and the nature                                             5910 LEMONA AVE
      of the debtor’s interest                                                VAN NUYS, CA 91411

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PAID PLACEMENT INSERTION
      State what the contract or          ORDER FORM DATED: 8/23/2016 PER ID.ME INC.
2.683 lease is for and the nature         TERMS AND CONDITIONS            8281 GREENSBORO DRIVE
      of the debtor’s interest                                            SUITE 600
                                                                          TYSONS CORNER, VA 22102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT TO MASTER SERVICES
      State what the contract or          AGREEMENT DATED: 03/26/2024  IDEXX DISTRIBUTION, INC., DBA IDEXX BIOANALYTICS
2.684 lease is for and the nature                                      2825 KOVR DRIVE
      of the debtor’s interest                                         WEST SACRAMENTO, CA 95605

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          GIVEAWAY LICENSE AGREEMENT
      State what the contract or          DATED: 09/14/2017                   IHEARTMEDIA, INC.
2.685 lease is for and the nature                                             3480 W. OLIVE
      of the debtor’s interest                                                BURBANK, CA 91505

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
      State what the contract or          DATED: 08/30/2023                   ILLUMINA, INC.
2.686 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT DATED:
      State what the contract or          10/13/2022                          ILLUMINA, INC.
2.687 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUPPLY AGREEMENT DATED:
      State what the contract or          01/30/2024                          ILLUMINA, INC.
2.688 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUPPLY AGREEMENT DATED:
      State what the contract or          12/21/2023                          ILLUMINA, INC.
2.689 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE AND PRICE LIST DATED:
      State what the contract or          06/28/2022                          ILLUMINA, INC.
2.690 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122-4616

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUPPLY AGREEMENT AMENDMENT
      State what the contract or          1 DATED: 01/30/2024                 ILLUMINA, INC.
2.691 lease is for and the nature                                             5200 ILLUMINA WAY
      of the debtor’s interest                                                SAN DIEGO, CA 92122

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          COLLABORATION AGREEMENT
      State what the contract or          DATED: 03/12/2024                   IMPACTIVE FOUNDATION
2.692 lease is for and the nature                                             738 LONGRIDGE RD.
      of the debtor’s interest                                                OAKLAND, CA 94610

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           INCLIN, INC.
2.693 lease is for and the nature         06/04/2024                          155 BOVET ROAD
      of the debtor’s interest                                                SAN MATEO, CA 94402

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSERTION ORDER + TERMS OF
      State what the contract or          SERVICE DATED: 06/17/2024           INDEED, INC.
2.694 lease is for and the nature                                             MAIL CODE 5160
      of the debtor’s interest                                                PO BOX 660367
                                                                              DALLAS, TX 75266-0367
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          10/22/2024                          INFLUENCE WITH IMPACT
2.695 lease is for and the nature                                             7327 S CARR COURT
      of the debtor’s interest                                                LITTLETOWN, CO 80128

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/24/2021                   INFORMA BUSINESS INTELLIGENCE, INC.
2.696 lease is for and the nature                                             605 THIRD AVENUE
      of the debtor’s interest                                                FLOOR 22
                                                                              NEW YORK, NY 10158
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER CONFIRMATION FORM
      State what the contract or          DATED: 07/21/2021                   INFORMA BUSINESS INTELLIGENCE, INC.
2.697 lease is for and the nature                                             605 THIRD AVENUE
      of the debtor’s interest                                                FLOOR 22
                                                                              NEW YORK, NY 10158
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO.1 DATED:
      State what the contract or          08/13/2020                          INNOVATION POLICY SOLUTIONS LLC
2.698 lease is for and the nature                                             1012 14TH STREET NW
      of the debtor’s interest                                                SUITE 500
                                                                              WASHINGTON, DC 20005
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           INOTIV, INC.
2.699 lease is for and the nature         DATED: 08/11/2021                   2701 KENT AVE
      of the debtor’s interest                                                WEST LAFAYETTE, IN 47906-1350

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #1 DATED:
      State what the contract or          12/18/2024                          INSMED INNOVATION UK LIMITED.
2.700 lease is for and the nature                                             MONETA BUILDING
      of the debtor’s interest                                                280 BABRAHAM RESEARCH CAMPUS
                                                                              BABRAHAM
           State the term remaining       Undetermined                        CAMBRIDGE
                                                                              ENGLAND, CB22 3AT
           List the contract number of                                        UNITED KINGDOM
           any government contract

                                          RESEARCH SERVICES AND DATA
      State what the contract or          LICENSE AGREEMENT DATED:            INSMED INNOVATION UK LIMITED.
2.701 lease is for and the nature         12/17/2024                          MONETA BUILDING
      of the debtor’s interest                                                280 BABRAHAM RESEARCH CAMPUS
                                                                              BABRAHAM
           State the term remaining       Undetermined                        CAMBRIDGE
                                                                              ENGLAND, CB22 3AT
           List the contract number of                                        UNITED KINGDOM
           any government contract

                                          THREADS TERMS AND CONDITIONS
      State what the contract or          DATED: 07/12/2023            INSTAGRAM LLC
2.702 lease is for and the nature                                      1601 WILLOW RD.
      of the debtor’s interest                                         MENLO PARK, CA 94025

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES ORDER FORM DATED:
      State what the contract or          11/26/2024                          INSTRUCTURE, INC.
2.703 lease is for and the nature                                             6330 SOUTH 3000 EAST
      of the debtor’s interest                                                SUITE 700
                                                                              SALT LAKE CITY, UT 84121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          02/03/2021                          INTELLECTUAL PROPERTIES MANAGEMENT INC.
2.704 lease is for and the nature                                             449 AUBURN AVE. NE
      of the debtor’s interest                                                ATLANTA, GA 30312

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RELEASE TO USE IMAGE DATED:
      State what the contract or          02/24/2021                          INTELLECTUAL RESERVE, INC.
2.705 lease is for and the nature                                             50 E NORTH TEMPLE ST
      of the debtor’s interest                                                SALT LAKE CITY, UT 81450-3011

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          UNLIMITED LICENSE COVER
      State what the contract or          DATED: 02/02/2021                   INTELLECTUAL RESERVE, INC.
2.706 lease is for and the nature                                             50 E NORTH TEMPLE ST
      of the debtor’s interest                                                SALT LAKE CITY, UT 81450-3011

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RELEASE OF RECORD DATED:
      State what the contract or          12/05/2019                          INTELLECTUAL RESERVE, INC.
2.707 lease is for and the nature                                             50 E NORTH TEMPLE ST
      of the debtor’s interest                                                SALT LAKE CITY, UT 84150-0013

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION DATED: 12/10/2024
      State what the contract or                                              INTERNATIONAL BUSINESS MACHINES CORPORATION
2.708 lease is for and the nature                                             INTERNATIONAL BUSINESS MACHINES CORPORATION
      of the debtor’s interest                                                1 NORTH CASTLE DRIVE
                                                                              ARMONK, NY 10504
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEGAL NAME CHANGE LETTER
      State what the contract or          DATED: 12/03/2024                   INTERNATIONAL BUSINESS MACHINES CORPORATION
2.709 lease is for and the nature                                             INTERNATIONAL BUSINESS MACHINES CORPORATION
      of the debtor’s interest                                                1 NORTH CASTLE DRIVE
                                                                              ARMONK, NY 10504
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          08/12/2020                          INTERNATIONAL HUNDRED K+
2.710 lease is for and the nature                                             3615 CIVIC CENTER BLVD
      of the debtor’s interest                                                ABRAMSON BUILDING
                                                                              PHILADELPHIA, PA 19104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MEMBERSHIP AGREEMENT
      State what the contract or                                              INTERNATIONAL HUNDRED K+
2.711 lease is for and the nature                                             3615 CIVIC CENTER BLVD
      of the debtor’s interest                                                ABRAMSON BUILDING
                                                                              PHILADELPHIA, PA 19104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          08/12/2020                          INTERNATIONAL HUNDRED K+
2.712 lease is for and the nature                                             3615 CIVIC CENTER BLVD
      of the debtor’s interest                                                ABRAMSON BUILDING
                                                                              PHILADELPHIA, PA 19104
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MEMBERSHIP AGREEMENT
      State what the contract or                                              INTERNATIONAL HUNDRED K+
2.713 lease is for and the nature                                             3615 CIVIC CENTER BLVD
      of the debtor’s interest                                                ABRAMSON BUILDING
                                                                              PHILADELPHIA, PA 19104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          11/15/2024                          INTOO, LLC
2.714 lease is for and the nature                                             10880 WILSHIRE BLVD
      of the debtor’s interest                                                SUITE 1101
                                                                              LOS ANGELES, CA 90024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 TO SERVICES
      State what the contract or          AGREEMENT DATED: 07/27/2024         INTOO, LLC
2.715 lease is for and the nature                                             10880 WILSHIRE BLVD
      of the debtor’s interest                                                SUITE 1101
                                                                              LOS ANGELES, CA 90024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 01/26/2022
      State what the contract or                                              INTRADO DIGITAL MEDIA, LLC
2.716 lease is for and the nature                                             11808 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 03/31/2021
      State what the contract or                                              INTRADO DIGITAL MEDIA, LLC
2.717 lease is for and the nature                                             11808 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 04/06/2021                   INTRADO DIGITAL MEDIA, LLC
2.718 lease is for and the nature                                             11808 MIRACLE HILLS DRIVE
      of the debtor’s interest                                                OMAHA, NE 68154

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER 6 DATED: 05/25/2023
      State what the contract or                                              INVICRO, LLC
2.719 lease is for and the nature                                             119 4TH AVENUE
      of the debtor’s interest                                                ATTN SUSAN JOHNSON
                                                                              NEEDHAM, MA 02494
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 09/21/2023                   IPSOS INSIGHT, LLC
2.720 lease is for and the nature                                             301 MERRITT 7
      of the debtor’s interest                                                4TH FLOOR
                                                                              NORWALK, CT 06851
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 04/14/2021
      State what the contract or                                              IQ BIOSCIENCES
2.721 lease is for and the nature                                             820 HEINZ AVENUE
      of the debtor’s interest                                                BERKELEY, CA 94710

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NUMBER 3 DATED:
      State what the contract or          02/14/2023                          IQ BIOSCIENCES
2.722 lease is for and the nature                                             1640 SOUTH LOOP RD.
      of the debtor’s interest                                                SUITE 100
                                                                              ALAMEDA, CA 94502
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 07/05/2020         IQ BIOSCIENCES
2.723 lease is for and the nature                                             20 HEINZ AVE
      of the debtor’s interest                                                BERKELEY, CA 94710

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 07/15/2020
      State what the contract or                                              IQ BIOSCIENCES
2.724 lease is for and the nature                                             820 HEINZ AVENUE
      of the debtor’s interest                                                BERKELEY, CA 94710

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE PROVIDER CCPA EXHIBIT
      State what the contract or          DATED: 03/05/2020                   ISPOT.TV, INC.
2.725 lease is for and the nature                                             ATTN LEGAL AND BUSINESS AFFAIRS
      of the debtor’s interest                                                15 831 NE 8TH STREET
                                                                              BELLEVUE, WA 98008-3916
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 11/20/2024
      State what the contract or                                              ISPOT.TV, INC.
2.726 lease is for and the nature                                             ATTN LEGAL AND BUSINESS AFFAIRS
      of the debtor’s interest                                                15 831 NE 8TH STREET
                                                                              BELLEVUE, WA 98008-3916
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          NON EXCLUSIVE LICENSE THIRD
      State what the contract or          PARTY DATED: 01/21/2019             ITN PRODUCTIONS, A DIVISION OF INDEPENDENT TELEVISION
2.727 lease is for and the nature                                             NEWS LIMITED
      of the debtor’s interest                                                200 GRAYS INN RD
                                                                              LONDON, WC1X 8XZ
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or                                              IX LAYER INC.
2.728 lease is for and the nature                                             IX LAYER INC.
      of the debtor’s interest                                                447 SUTTER STREET
                                                                              STE 405 PMB 53
           State the term remaining       Undetermined                        ATTN COO
                                                                              SAN FRANCISCO, CA 94108
           List the contract number of
           any government contract

                                          AGENCY SERVICES AGREEMENT
      State what the contract or          DATED: 09/01/2024                   JACK TAYLOR CORPORATION
2.729 lease is for and the nature                                             45 MAIN ST
      of the debtor’s interest                                                STE 422
                                                                              BROOKLYN, NY 11201
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/09/2023
      State what the contract or                                              JAGGAER, LLC
2.730 lease is for and the nature                                             3020 CARRINGTON MILL BLVD
      of the debtor’s interest                                                SUITE 100
                                                                              MORRISVILLE, NC 27560
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/09/2022
      State what the contract or                                              JAGGAER, LLC
2.731 lease is for and the nature                                             3020 CARRINGTON MILL BLVD
      of the debtor’s interest                                                SUITE 100
                                                                              MORRISVILLE, NC 27560
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/04/2024                   JELLYFISH US LTD
2.732 lease is for and the nature                                             1201 WILLS ST
      of the debtor’s interest                                                SUITE 600
                                                                              BALTIMORE, MD 21231
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE REQUEST #1 TO
      State what the contract or          STATEMENT OF WORK #1 DATED:         JELLYFISH US LTD
2.733 lease is for and the nature         09/01/2024                          201 WILLS ST
      of the debtor’s interest                                                SUITE 600
                                                                              BALTIMORE, MD 21231
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ASSIGNMENT FOR CONSULTING
      State what the contract or          AGREEMENT DATED: 12/02/2024         JGB BIOPHARMA CONSULTING, INC
2.734 lease is for and the nature                                             2621 SEQUOIA WAY
      of the debtor’s interest                                                BELMONT, CA 94002-1449

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 DATED: 11/14/2022
      State what the contract or                                              JGB BIOPHARMA CONSULTING, INC
2.735 lease is for and the nature                                             2621 SEQUOIA WAY
      of the debtor’s interest                                                BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          11/14/2022                          JGB BIOPHARMA CONSULTING, INC
2.736 lease is for and the nature                                             2621 SEQUOIA WAY
      of the debtor’s interest                                                BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO STATEMENT OF
      State what the contract or          WORK #1 TO CONSULTING        JGB BIOPHARMA CONSULTING, INC
2.737 lease is for and the nature         AGREEMENT DATED: 12/06/2023  2621 SEQUOIA WAY
      of the debtor’s interest                                         BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RECRUITMENT PLACEMENT
      State what the contract or          AGREEMENT DATED: 08/13/2021         JGB BIOPHARMA CONSULTING, INC
2.738 lease is for and the nature                                             2621 SEQUOIA WAY
      of the debtor’s interest                                                BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO STATEMENT OF
      State what the contract or          WORK #1 TO CONSULTING        JGB BIOPHARMA CONSULTING, INC
2.739 lease is for and the nature         AGREEMENT DATED: 12/30/2024  2621 SEQUOIA WAY
      of the debtor’s interest                                         BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO ASSET
      State what the contract or          TRANSFER AGREEMENT DATED:           JLSA2 THERAPEUTICS, INC.
2.740 lease is for and the nature         10/28/2024                          2 CORPORATE DRIVE
      of the debtor’s interest                                                #1020A
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT DATED:
      State what the contract or          03/18/2021                          JOHN WILEY & SONS LTD
2.741 lease is for and the nature                                             111 RIVER STREET
      of the debtor’s interest                                                HOBOKEN, NJ 07030-5774

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
      State what the contract or          03/18/2021                          JOHN WILEY & SONS LTD
2.742 lease is for and the nature                                             111 RIVER STREET
      of the debtor’s interest                                                HOBOKEN, NJ 07030-5774

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STANDARD RELEASE FORM DATED:
      State what the contract or          04/15/2021                   JOHN WILEY & SONS, INC.
2.743 lease is for and the nature                                      111 RIVER STREET
      of the debtor’s interest                                         HOBOKEN, NJ 07030-5774

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED
      State what the contract or          03/23/2021                          JOHNS HOPKINS UNIVERSITY
2.744 lease is for and the nature                                             3400 N. CHARLES ST.
      of the debtor’s interest                                                BALTIMORE, MD 21218

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 07/22/2022         JOHNS HOPKINS UNIVERSITY
2.745 lease is for and the nature                                             733 N. BROADWAY
      of the debtor’s interest                                                SUITE 117
                                                                              BALTIMORE, MD 21205
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          APPLICATION AND AGREEMENT FOR
      State what the contract or          IRREVOCABLE STANDBY LETTER    JPMORGAN CHASE BANK, N.A.
2.746 lease is for and the nature         OF CREDIT DATED: 04/09/2024   10410 HIGHLAND MANOR DR.
      of the debtor’s interest                                          3RD FL.
                                                                        TAMPA, FL 33610
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF CREDIT AMENDMENT
      State what the contract or          DATED: 10/18/2024                   JPMORGAN CHASE BANK, N.A.
2.747 lease is for and the nature                                             TRADE & WORKING CAPITAL OPERATIONS
      of the debtor’s interest                                                10410 HIGHLAND MANOR DR.
                                                                              3TH FL.
           State the term remaining       Undetermined                        TAMPA, FL 33610

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LETTER AGREEMENT AMENDMENT
      State what the contract or          DATED: 11/13/2024                   JPMORGAN CHASE BANK, N.A. C/O JPMORGAN TREASURY
2.748 lease is for and the nature                                             SERVICES
      of the debtor’s interest                                                10410 HIGHLAND MANOR DR.
                                                                              3RD FL.
           State the term remaining       Undetermined                        TAMPA, FL 33610

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED:3/1/2025                      JUICE MEDIA, INC.
2.749 lease is for and the nature                                             4094 GLENCOE AVE
      of the debtor’s interest                                                MARINA DEL REY, CA 90292

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP AGREEMENT
      State what the contract or          DATED:1/1/2025                      KAISER FOUNDATION HEALTH PLAN, INC., NORTHERN
2.750 lease is for and the nature                                             CALIFORNIA REGION
      of the debtor’s interest                                                ONE KAISER PLAZA
                                                                              9TH FLOOR
           State the term remaining       Undetermined                        OAKLAND, CA 94612

           List the contract number of
           any government contract

                                          GROUP AGREEMENT DATED:
      State what the contract or          2/10/2025                           KAISER FOUNDATION HEALTH PLAN, INC., SOUTHERN
2.751 lease is for and the nature                                             CALIFORNIA REGION
      of the debtor’s interest                                                ATTN: THOMAS A. CURTIN JR., SENIOR VICE PRESIDENT,
                                                                              COMMERCIAL GROUP BUSINESS
           State the term remaining       Undetermined                        1 KAISER PLAZA
                                                                              OAKLAND, CA 94612
           List the contract number of
           any government contract

                                          MASTER SERVICE AGREEMENT
      State what the contract or          DATED: 03/01/2022                   KAPLOW COMMUNICATIONS LLC
2.752 lease is for and the nature                                             370 LEXINGTON AVENUE
      of the debtor’s interest                                                SUITE 1900
                                                                              D/B/A/ KAPLOW
           State the term remaining       Undetermined                        NEW YORK, NY 10017

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE MASTER
      State what the contract or          SERVICE AGREEMENT DATED:      KAPLOW COMMUNICATIONS LLC
2.753 lease is for and the nature         03/15/2023                    370 LEXINGTON AVE
      of the debtor’s interest                                          NEW YORK, NY 10017

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/13/2023         KC18 THEATRICAL PRODUCTIONS, INC.
2.754 lease is for and the nature                                             C/O LOEB & LOEB LLP
      of the debtor’s interest                                                345 PARK AVENUE
                                                                              ATTN DAVID C. MANELLA
           State the term remaining       Undetermined                        NEW YORK, NY 10154

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SPONSORSHIP AGREEMENT DATED:
      State what the contract or          06/15/2024                   KC18 THEATRICAL PRODUCTIONS, INC.
2.755 lease is for and the nature                                      C/O LOEB & LOEB LLP
      of the debtor’s interest                                         345 PARK AVENUE
                                                                       ATTN DAVID C. MANELLA
           State the term remaining       Undetermined                 NEW YORK, NY 10154

           List the contract number of
           any government contract

                                          UNITED STATES MASTER SERVICES
      State what the contract or          AGREEMENT DATED: 08/08/2022   KEMP PROTEINS, LLC
2.756 lease is for and the nature                                       5119 PEGASUS COURT
      of the debtor’s interest                                          SUITE M-P
                                                                        FREDERICK, MD 21704
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ACCOUNT MANAGEMENT SERVICES
      State what the contract or          LETTER DATED: 08/13/2024    KEYCENTRIX
2.757 lease is for and the nature                                     423 E. DOUGLAS AVE
      of the debtor’s interest                                        WICHITA, KS 67202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
      State what the contract or          03/19/2024                          KEYCENTRIX, LLC
2.758 lease is for and the nature                                             423 E DOUGLAS AVE
      of the debtor’s interest                                                WICHITA, KS 67202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SUBSCRIPTION
      State what the contract or          AGREEMENT                           KEYEDIN SOLUTIONS HOLDINGS, INC
2.759 lease is for and the nature         DATED: 03/21/2022                   8500 NORMANDALE LAKE BLVD
      of the debtor’s interest                                                SUITE 400
                                                                              BLOOMINGTON, MN 55437
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SUBSCRIPTION
      State what the contract or          AGREEMENT DATED: 03/21/2022         KEYEDIN SOLUTIONS HOLDINGS, INC
2.760 lease is for and the nature                                             8500 NORMANDALE LAKE BLVD SUITE 400
      of the debtor’s interest                                                BLOOMINGTON, MN 55437

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          END USER LICENSE AGREEMENT
      State what the contract or          DATED: 05/17/2018                   KITCAST INC.
2.761 lease is for and the nature                                             1013 CENTRE RD STE 403B
      of the debtor’s interest                                                WILMINGTON, DE 19805-1270

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER DATED:
      State what the contract or          08/15/2023                          KNOWBE4, INC.
2.762 lease is for and the nature                                             PO BOX 392286
      of the debtor’s interest                                                PITTSBURGH, PA 15251-9286

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM FOR SUBSCRIPTION
      State what the contract or          AGREEMENT DATED: 04/01/2024         KONNECTO US, INC.
2.763 lease is for and the nature                                             251 LITTLE FALLS DR
      of the debtor’s interest                                                WILMINGTON, DE 19808-1674

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          02/03/2020                          KPMG LLP
2.764 lease is for and the nature                                             MISSION TOWERS I
      of the debtor’s interest                                                SUITE 100
                                                                              3975 FREEDOM CIRCLE DRIVE
           State the term remaining       Undetermined                        SANTA CLARA, CA 95054

           List the contract number of
           any government contract

                                          FOURTH AMENDMENT TO LEASE
      State what the contract or          DATED: 02/28/2023                   KR OP TECH, LLC
2.765 lease is for and the nature                                             12200 W OLYMPIC BLVD # 200
      of the debtor’s interest                                                LOS ANGELES, CA 90064

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          THIRD AMENDMENT TO LEASE
      State what the contract or          DATED: 02/28/2022                   KR OP TECH, LLC
2.766 lease is for and the nature                                             12200 W OLYMPIC BLVD # 200
      of the debtor’s interest                                                LOS ANGELES, CA 90064

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SETTLEMENT AGREEMENT AND
      State what the contract or          RELEASE                             LABATON KELLER SUCHAROW LLP
2.767 lease is for and the nature                                             ATTN: MELISSA H. NAFASH
      of the debtor’s interest                                                JONATHAN GARDNER
                                                                              JANE INCARDONE
           State the term remaining       Undetermined                        140 BROADWAY
                                                                              NEW YORK, NY 10005
           List the contract number of
           any government contract

                                          ADDENDUM DATED: 03/16/2023
      State what the contract or                                              LABORATORY CORPORATION OF AMERICA
2.768 lease is for and the nature                                             2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          REGIONAL PROTOCOL
      State what the contract or          SPECIFICATIONS WORKSHEET            LABORATORY CORPORATION OF AMERICA
2.769 lease is for and the nature         DATED: 03/17/2023                   2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENOTYPING SERVICES
      State what the contract or          AGREEMENT                           LABORATORY CORPORATION OF AMERICA HOLDINGS
2.770 lease is for and the nature                                             2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT
      State what the contract or                                              LABORATORY CORPORATION OF AMERICA HOLDINGS
2.771 lease is for and the nature                                             2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENOTYPING SERVICES
      State what the contract or          AGREEMENT AMENDMENT 4 DATED: LABORATORY CORPORATION OF AMERICA HOLDINGS
2.772 lease is for and the nature         02/17/2023                   2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                         SUITE 235
                                                                       LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT 4 TO GENOTYPING
      State what the contract or          SERVICES AGREEMENT DATED:           LABORATORY CORPORATION OF AMERICA HOLDINGS
2.773 lease is for and the nature         02/17/2023                          2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 3 DATED:
      State what the contract or          06/14/2024                          LABORATORY CORPORATION OF AMERICA HOLDINGS
2.774 lease is for and the nature                                             PO BOX 2230
      of the debtor’s interest                                                MILLSTREAM MAIL STOP 275
                                                                              ATTENTION LAW DEPARTMENT
           State the term remaining       Undetermined                        BURLINGTON, NC 27216

           List the contract number of
           any government contract

                                          AMENDMENT 5 TO GENOTYPING
      State what the contract or          SERVICES AGREEMENT DATED:           LABORATORY CORPORATION OF AMERICA HOLDINGS
2.775 lease is for and the nature         12/03/2024                          2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                                SUITE 235
                                                                              LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          DATA ESCROW AGREEMENT DATED:
      State what the contract or          09/22/2023                   LABORATORY CORPORATION OF AMERICA HOLDINGS
2.776 lease is for and the nature                                      2440 S. SEPULVEDA BLVD.
      of the debtor’s interest                                         SUITE 235
                                                                       LOS ANGELES, CA 90064
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 09/26/2023         LABORATORY CORPORATION OF AMERICA HOLDINGS
2.777 lease is for and the nature                                             PO BOX 2230
      of the debtor’s interest                                                MILLSTREAM MAIL STOP 275
                                                                              BURLINGTON, NC 27216
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SALES QUOTATION DATED:
      State what the contract or          06/18/2021                          LAKEPHARMA HOLDINGS INC.
2.778 lease is for and the nature                                             530 HARBOR BLVD
      of the debtor’s interest                                                BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          08/15/2019                          LAKEPHARMA, INC.
2.779 lease is for and the nature                                             530 HARBOR BLVD
      of the debtor’s interest                                                BELMONT, CA 94002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS SERVICES AGREEMENT
      State what the contract or          (ORDER FORM) DATED: 04/07/2021      LAMBDATEST INC
2.780 lease is for and the nature                                             1390 MARKET STREET
      of the debtor’s interest                                                SUITE 200
                                                                              SAN FRANCISCO, CA 94102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 05/19/2024
      State what the contract or                                              LAMBDATEST INC:
2.781 lease is for and the nature                                             1390 MARKET STREET
      of the debtor’s interest                                                SUITE 200
                                                                              SAN FRANCISCO, CA 94102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCTS & SERVICES QUOTE
      State what the contract or          DATED: 11/26/2019                   LAMPIRE BIOLOGICAL LABORATORIES
2.782 lease is for and the nature                                             3599 FARM SCHOOL ROAD
      of the debtor’s interest                                                OTTSVILLE, PA 18942

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          GENERAL TERMS AND CONDITIONS
      State what the contract or          OF SALE DATED: 12/16/2019    LAMPIRE BIOLOGICAL LABS, INC
2.783 lease is for and the nature                                      3599 FARM SCHOOL ROAD
      of the debtor’s interest                                         OTTSVILLE, PA 18942

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          04/15/2022                          LAMPIRE BIOLOGICAL LABS, INC.
2.784 lease is for and the nature                                             3599 FARM SCHOOL ROAD
      of the debtor’s interest                                                OTTSVILLE, PA 18942

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 07/29/2020                   LEIBNIZ-INSTITUT DSMZ-DEUTSCHE SAMMLUNG VON
2.785 lease is for and the nature                                             MIKROORGANISMEN UND ZELLKULTUREN GMBH
      of the debtor’s interest                                                DSMZ-DEUTSCHE SAMMLUNG VON MIKROORGANISMEN UND
                                                                              ZELLKULTUREN GMBH
           State the term remaining       Undetermined                        INHOFFENSTRASSE 7B
                                                                              BRAUNSCHWEIG, D-38124
           List the contract number of                                        GERMANY
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 05/28/2021                   LEIBNIZ-INSTITUT DSMZ-DEUTSCHE SAMMLUNG VON
2.786 lease is for and the nature                                             MIKROORGANISMEN UND ZELLKULTUREN GMBH
      of the debtor’s interest                                                DSMZ-DEUTSCHE SAMMLUNG VON MIKROORGANISMEN UND
                                                                              ZELLKULTUREN GMBH
           State the term remaining       Undetermined                        INHOFFENSTRASSE 7B
                                                                              BRAUNSCHWEIG, D-38124
           List the contract number of                                        GERMANY
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 07/28/2020                   LEIBNIZ-INSTITUT DSMZ-DEUTSCHE SAMMLUNG VON
2.787 lease is for and the nature                                             MIKROORGANISMEN UND ZELLKULTUREN GMBH
      of the debtor’s interest                                                DSMZ-DEUTSCHE SAMMLUNG VON MIKROORGANISMEN UND
                                                                              ZELLKULTUREN GMBH
           State the term remaining       Undetermined                        INHOFFENSTRASSE 7B
                                                                              BRAUNSCHWEIG, D-38124
           List the contract number of                                        GERMANY
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 12/01/2021                   LEIBNIZ-INSTITUT DSMZ
2.788 lease is for and the nature                                             DSMZ-DEUTSCHE SAMMLUNG VON MIKROORGANISMEN UND
      of the debtor’s interest                                                ZELLKULTUREN GMBH
                                                                              INHOFFENSTRASSE 7B
           State the term remaining       Undetermined                        BRAUNSCHWEIG, D-38124
                                                                              GERMANY
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
      State what the contract or          DATED: 12/10/2021                   LEIBNIZ-INSTITUT DSMZ-DEUTSCHE SAMMLUNG VON
2.789 lease is for and the nature                                             MIKROORGANISMEN UND ZELLKULTUREN GMBH
      of the debtor’s interest                                                DSMZ-DEUTSCHE SAMMLUNG VON MIKROORGANISMEN UND
                                                                              ZELLKULTUREN GMBH
           State the term remaining       Undetermined                        INHOFFENSTRASSE 7B
                                                                              BRAUNSCHWEIG, D-38124
           List the contract number of                                        GERMANY
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PURCHASE ORDER DATED:
      State what the contract or          11/29/2021 PER STANDARD TERMS       LEICA MICROSYSTEMS INC.
2.790 lease is for and the nature         AND CONDITIONS                      10 PARKWAY NORTH
      of the debtor’s interest                                                SUITE 300
                                                                              DEERFIELD, IL 60015
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION FOR SERVICE
      State what the contract or          AGREEMENT DATED: 05/30/2024         LEICA MICROSYSTEMS INC.
2.791 lease is for and the nature                                             10 PARKWAY NORTH
      of the debtor’s interest                                                SUITE 300
                                                                              DEERFIELD, IL 60015
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INTELLECTUAL PROPERTY LICENSE
      State what the contract or                                              LEMONAID HEALTH INC.
2.792 lease is for and the nature                                             870 MARKET STREET
      of the debtor’s interest                                                SUITE 415
                                                                              SAN FRANCISCO, CA 94102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MSA SUBCONTRACTING
      State what the contract or          AGREEMENT DATED: 04/01/2022         LEMONAID HEALTH INC.
2.793 lease is for and the nature                                             349 OYSTER POINT BLVD.
      of the debtor’s interest                                                SOUTH SAN FRANCISCO, CA 94080

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INTELLECTUAL PROPERTY LICENSE
      State what the contract or                                              LEMONAID HEALTH LTD.
2.794 lease is for and the nature                                             C/O BUZZACOTT LLP
      of the debtor’s interest                                                130 WOOD STREET
                                                                              LONDON, EC2V 6DL
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          SETTLEMENT AGREEMENT AND
      State what the contract or          RELEASE                             LEVI & KORSINSKY LLP
2.795 lease is for and the nature                                             ATTN: EDUARD KORSINSKY
      of the debtor’s interest                                                33 WHITEHALL ST.
                                                                              17TH FLOOR
           State the term remaining       Undetermined                        NEW YORK, NY 10004

           List the contract number of
           any government contract

                                          PRACTICAL GUIDANCE AND/OR
      State what the contract or          NEXIS DILIGENCE™ AGREEMENT          LEXISNEXIS, A DIVISION OF RELX INC.
2.796 lease is for and the nature         DATED: 04/06/2022                   28544 NETWORK PLACE
      of the debtor’s interest                                                CHICAGO, IL 60673

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTATION DATED: 03/05/2020
      State what the contract or                                              LIFE TECHNOLOGIES CORPORATION
2.797 lease is for and the nature                                             5781 VAN ALLEN WAY
      of the debtor’s interest                                                CARLSBAD, CA 92008

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT
      State what the contract or          QUOTATION DATED: 07/17/2024         LIFE TECHNOLOGIES CORPORATION
2.798 lease is for and the nature                                             5781 VAN ALLEN WAY
      of the debtor’s interest                                                CARLSBAD, CA 92008

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
      State what the contract or          11/22/2021 PER GENERAL TERMS        LIFE TECHNOLOGIES CORPORATION
2.799 lease is for and the nature                                             3175 STALEY ROAD
      of the debtor’s interest                                                GRAND ISLAND, NY 14072

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 12/08/2021
      State what the contract or                                              LIFE TECHNOLOGIES CORPORATION
2.800 lease is for and the nature                                             3175 STALEY ROAD
      of the debtor’s interest                                                GRAND ISLAND, NY 14072

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT AGREEMENT DATED:
      State what the contract or          02/28/2020                          LIFE TECHNOLOGIES GMBH
2.801 lease is for and the nature                                             FRANKFURTER STRASSE 129B
      of the debtor’s interest                                                DARMSTADT, 64293
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SUBSCRIPTION &
      State what the contract or          SERVICES AGREEMENT DATED:           LIFEBIT BIOTECH INC
2.802 lease is for and the nature         06/12/2024                          228 EAST 45TH STREET
      of the debtor’s interest                                                SUITE 9E
                                                                              NEW YORK, NY 10017
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT TO STATEMENT OF
      State what the contract or          WORK #3 DATED: 10/30/2024           LIN PHARMA CONSULTING LLC
2.803 lease is for and the nature                                             6 LAWTON PLACE
      of the debtor’s interest                                                BRIDGEWATER, NJ 08807

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 3 TO THE
      State what the contract or          CONSULTING AGREEMENT DATED:         LIN PHARMA CONSULTING LLC
2.804 lease is for and the nature         10/30/2024                          6 LAWTON PLACE
      of the debtor’s interest                                                BRIDGEWATER, NJ 08807

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/14/2023
      State what the contract or                                              LINKEDIN CORPORATION
2.805 lease is for and the nature                                             1000 W. MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TALENT TRANSFORMATION
      State what the contract or          CONFERENCE DATED: 03/13/2020        LINKEDIN CORPORATION
2.806 lease is for and the nature                                             1000 W. MAUDE AVENUE
      of the debtor’s interest                                                SUNNYVALE, CA 94085

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 07/22/2021         LIPOTYPE GMBH
2.807 lease is for and the nature                                             TATZBERG 47
      of the debtor’s interest                                                DRESDEN, 01307
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER (NUMBER 1) DATED:
      State what the contract or          08/04/2021                          LIPOTYPE GMBH
2.808 lease is for and the nature                                             TATZBERG 47
      of the debtor’s interest                                                DRESDEN, 01307
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INVOICE DATED: 08/22/2024
      State what the contract or                                              LITMUS SOFTWARE, INC.
2.809 lease is for and the nature                                             675 MASSACHUSETTS AVENUE
      of the debtor’s interest                                                10TH FLOOR
                                                                              CAMBRIDGE, MA 02139
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
      State what the contract or          AGREEMENT DATED: 07/17/2023         LIVERITAS BIOSCIENCES, INC.
2.810 lease is for and the nature                                             432 N. CANAL STREET
      of the debtor’s interest                                                SUITE 20
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER DATED:
      State what the contract or          09/30/2023                          LIVING SECURITY, INC
2.811 lease is for and the nature                                             9901 BRODIE LANE, SUITE 160 PMB1470
      of the debtor’s interest                                                AUSTIN, TX 78748

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONLINE SERVICES AGREEMENT
      State what the contract or          DATED: 10/03/2023                   LMND MEDICAL GROUP PROFESSIONAL CORPORATION
2.812 lease is for and the nature                                             820 BEAR TAVERN ROAD
      of the debtor’s interest                                                WEST TRENTON, NJ 08628

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONLINE SERVICES AGREEMENT
      State what the contract or          DATED: 10/03/2023                   LMND MEDICAL GROUP, A PROFESSIONAL ASSOCIATION
2.813 lease is for and the nature                                             999 BRYAN STREET
      of the debtor’s interest                                                SUITE 900
                                                                              DALLAS, TX 75201
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONLINE SERVICES AGREEMENT
      State what the contract or          DATED: 10/03/2023                   LMND MEDICAL GROUP, A PROFESSIONAL ASSOCIATION
2.814 lease is for and the nature                                             112 SW 7TH STREET
      of the debtor’s interest                                                SUITE 3C
                                                                              TOPEKA, KS 66603
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONLINE SERVICES AGREEMENT
      State what the contract or          DATED: 10/03/2023                   LMND MEDICAL GROUP, INC., A PROFESSIONAL CORPORATION
2.815 lease is for and the nature                                             870 MARKET STREET
      of the debtor’s interest                                                SUITE 415
                                                                              SAN FRANCISCO, CA 94102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          01/07/2025                          LOG(N) LLC DBA MISMO
2.816 lease is for and the nature                                             5651 DREYER PLACE
      of the debtor’s interest                                                OAKLAND, CA 94619

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          12/16/2024                          LOG(N) LLC DBA MISMO
2.817 lease is for and the nature                                             5651 DREYER PLACE
      of the debtor’s interest                                                OAKLAND, CA 94619

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #4 DATED:
      State what the contract or          01/20/2025                          LOG(N) LLC DBA MISMO
2.818 lease is for and the nature                                             5651 DREYER PLACE
      of the debtor’s interest                                                OAKLAND, CA 94619

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #5 DATED:
      State what the contract or          01/27/2025                          LOG(N) LLC DBA MISMO
2.819 lease is for and the nature                                             5651 DREYER PLACE
      of the debtor’s interest                                                OAKLAND, CA 94619

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/22/2024                   LOG(N) LLC DBA MISMO
2.820 lease is for and the nature                                             5651 DREYER PLACE
      of the debtor’s interest                                                OAKLAND, CA 94619

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          CONSULTING AGREEMENT DATED:         LOMAX ASSOCIATES, INC.
2.821 lease is for and the nature         05/20/2023                          2616 S KENMORE CT.
      of the debtor’s interest                                                ARLINGTON, VA 22206

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEVELOPMENT AND
      State what the contract or          MANUFACTURING SERVICES              LONZA SALES AG
2.822 lease is for and the nature         AGREEMENT DATED: 10/06/2023         MUENCHENSTEINERSTRASSE
      of the debtor’s interest                                                38 CH-4002
                                                                              BASEL,
           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract

                                          AMENDMENT NO. 4
      State what the contract or                                              LONZA SALES AG
2.823 lease is for and the nature         TO                                  MUENCHENSTEINERSTRASSE
      of the debtor’s interest                                                38 CH-4002
                                          RESEARCH EVALUATION                 BASEL,
           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract

                                          TERMINATION AGREEMENT
      State what the contract or          DATED: 02/27/2024                   LONZA SALES AG
2.824 lease is for and the nature                                             MUENCHENSTEINERSTRASSE
      of the debtor’s interest                                                38 CH-4002
                                                                              BASEL,
           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT DATED:
      State what the contract or          02/22/2024                          LONZA SALES AG
2.825 lease is for and the nature                                             MUENCHENSTEINERSTRASSE
      of the debtor’s interest                                                38 CH-4002
                                                                              BASEL,
           State the term remaining       Undetermined                        SWITZERLAND

           List the contract number of
           any government contract

                                          ON-SITE VACCINATION HOST
      State what the contract or          AGREEMENT AND WAIVER OF             LOOKOUT HEALTH CORP
2.826 lease is for and the nature         LIABILITY AND INDEMNIFICATION       555 VETERANS BLVD
      of the debtor’s interest            DATED: 11/01/2022                   STE 100
                                                                              REDWOOD CITY, CA 94063
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COVID-19 ON-SITE VACCINATION
      State what the contract or          HOST AGREEMENT AND WAIVER        LOOKOUT HEALTH CORP
2.827 lease is for and the nature         OF LIABILITY AND INDEMNIFICATION 555 VETERANS BLVD
      of the debtor’s interest            DATED: 05/17/2021                STE 100
                                                                           REDWOOD CITY, CA 94063
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
      State what the contract or          (DPA) DATED: 09/25/2023             LOQATE INC.
2.828 lease is for and the nature                                             2710 GATEWAY OAKS DRIVE
      of the debtor’s interest                                                SUITE 150N
                                                                              ATTN KATE
           State the term remaining       Undetermined                        SACRAMENTO, CA 95833-3505

           List the contract number of
           any government contract

                                          DATA SERVICES ORDER FORM
      State what the contract or          DATED: 10/23/2023                   LOQATE INC.
2.829 lease is for and the nature                                             2710 GATEWAY OAKS DRIVE
      of the debtor’s interest                                                SUITE 150N
                                                                              ATTN KATE
           State the term remaining       Undetermined                        SACRAMENTO, CA 95833-3505

           List the contract number of
           any government contract

                                          DATA SERVICES ORDER FORM
      State what the contract or          DATED: 10/15/2021                   LOQATE INC.
2.830 lease is for and the nature                                             2710 GATEWAY OAKS DRIVE
      of the debtor’s interest                                                SUITE 150N
                                                                              ATTN KATE
           State the term remaining       Undetermined                        SACRAMENTO, CA 95833-3505

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          PRIVACY ADDENDUM DATED:             LOQATE INC. FKA PCA PREDICT INC.
2.831 lease is for and the nature         10/01/2020                          805 VETERAN S BOULEVARD
      of the debtor’s interest                                                SUITE 305
                                                                              REDWOOD CITY, CA 94063
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT
      State what the contract or                                              LPRXONE, LLC
2.832 lease is for and the nature                                             1701 MACKLIND AVE
      of the debtor’s interest                                                SUITE 300
                                                                              SAINT LOUIS, MO 63110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 11/05/2023
      State what the contract or                                              LUCID SOFTWARE INC.
2.833 lease is for and the nature                                             10355 S JORDAN GATEWAY
      of the debtor’s interest                                                #150
                                                                              SOUTH JORDAN, UT 84095
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CELL LINE SERVICES AGREEMENT
      State what the contract or          DATED 06/02/2022                    LUDWIG INSTITUTE FOR CANCER RESEARCH LTD.
2.834 lease is for and the nature                                             600 THIRD AVENUE
      of the debtor’s interest                                                32ND FLOOR
                                                                              NEW YORK, NY 10016
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          07/06/2021                          LUMINEX
2.835 lease is for and the nature                                             12212 TECHNOLOGY BLVD
      of the debtor’s interest                                                AUSTIN, TX 78727-6115

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/18/2024         LUNG CANCER FOUNDATION OF AMERICA (LCFA
2.836 lease is for and the nature                                             7381 LA TIJERA BLVD #451663
      of the debtor’s interest                                                LOS ANGELES, CA 90045

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 08/07/2024         LUNG CANCER INITIATIVE
2.837 lease is for and the nature                                             5171 GLENWOOD AVENUE
      of the debtor’s interest                                                SUITE 401
                                                                              RALEIGH, NC 27612
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/14/2024         LUNG CANCER RESEARCH FOUNDATION
2.838 lease is for and the nature                                             PO BOX 780990
      of the debtor’s interest                                                PHILADELPHIA, PA 19178-0990

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/11/2024         LUNGEVITY
2.839 lease is for and the nature                                             6917 ARLINGTON ROAD
      of the debtor’s interest                                                SUITE 352
                                                                              BETHESDA, MD 20814
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UNITED STATES MASTER SERVICES
      State what the contract or          AGREEMENT DATED: 06/13/2024   LUNIT, INC.
2.840 lease is for and the nature                                       4-9F, 374, GANGNAM-DAERO
      of the debtor’s interest                                          GANGNAM-GU
                                                                        SEOUL, 6241
           State the term remaining       Undetermined                  KOREA, REPUBLIC OF

           List the contract number of
           any government contract

                                          WORK ORDER (NUMBER 1) DATED:
      State what the contract or          06/17/2024                          LUNIT, INC.
2.841 lease is for and the nature                                             4-9F, 374, GANGNAM-DAERO
      of the debtor’s interest                                                GANGNAM-GU
                                                                              SEOUL, 6241
           State the term remaining       Undetermined                        KOREA, REPUBLIC OF

           List the contract number of
           any government contract

                                          MARKET RESEARCH MASTER
      State what the contract or          SERVICES AGREEMENT DATED:           M3 USA CORPORATION (DBA M3 GLOBAL RESEARCH)
2.842 lease is for and the nature         05/09/2023                          501 OFFICE CENTER DRIVE
      of the debtor’s interest                                                SUITE 410
                                                                              FORT WASHINGTON, PA 19034
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MAGICPLOT END-USER LICENSE
      State what the contract or          AGREEMENT DATED: 03/12/2021         MAGICPLOT SYSTEMS, LLC
2.843 lease is for and the nature                                             15-40 KARTASHIKHINA ST.
      of the debtor’s interest                                                SAINT PETERSBURG, 199406
                                                                              RUSSIA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 09/01/2024
      State what the contract or          PER TERMS AND CONDITIONS        MAILGUN TECHNOLOGIES, INC.
2.844 lease is for and the nature                                         112 E. PECAN STREET
      of the debtor’s interest                                            #1135
                                                                          SAN ANTONIO, TX 78209
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 09/01/2023
      State what the contract or          PER TERMS AND CONDITIONS        MAILGUN TECHNOLOGIES, INC.
2.845 lease is for and the nature                                         112 E. PECAN STREET
      of the debtor’s interest                                            #1135
                                                                          SAN ANTONIO, TX 78209
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 8/1/2021                     MANAGED FACILITIES SOLUTIONS, LLC
2.846 lease is for and the nature                                             128 COMPONENT DRIVE
      of the debtor’s interest                                                SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO STATEMENT
      State what the contract or          OF WORK #3 DATED: 01/01/2025 MANSFIELD CREATIVE SERVICES, LLC
2.847 lease is for and the nature                                      14836 MARJORAM DRIVE
      of the debtor’s interest                                         BAKERSFIELD, CA 93314

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 12/15/2023                   MANSFIELD CREATIVE SERVICES, LLC
2.848 lease is for and the nature                                             14836 MARJORAM DRIVE
      of the debtor’s interest                                                BAKERSFIELD, CA 93314

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DOMAIN ACQUISITION ORDER FORM
      State what the contract or          - USD DATED: 01/17/2023       MARKMONITOR
2.849 lease is for and the nature                                       P.O. BOX 931478
      of the debtor’s interest                                          ATLANTA, GA 31193

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DOMAIN ACQUISITION ORDER FORM
      State what the contract or          - USD DATED: 09/20/2022       MARKMONITOR
2.850 lease is for and the nature                                       P.O. BOX 931478
      of the debtor’s interest                                          ATLANTA, GA 31193

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
      State what the contract or          09/30/2024                          MASLYAR ONCOLOGY CONSULTING LLC
2.851 lease is for and the nature                                             40 ARUNDEL ROAD
      of the debtor’s interest                                                SAN CARLOS, CA 94070

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO THE RESEARCH
      State what the contract or          COLLABORATION AGREEMENT      MASSACHUSETTS GENERAL HOSPITAL
2.852 lease is for and the nature         DATED: 12/16/2022            55 FRUIT STREET
      of the debtor’s interest                                         BOSTON, MA 02114

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROMOTION AND LICENSE
      State what the contract or          AGREEMENT DATED: 02/23/2023         MATTEL, INC.
2.853 lease is for and the nature                                             33 CONTINENTAL BOULEVARD
      of the debtor’s interest                                                EL SEGUNDO, CA 90245

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PERMANENT AND TEMPORARY
      State what the contract or          STAFFING SERVICES AGREEMENT         MAVEN RECRUITING GROUP, LLC
2.854 lease is for and the nature         DATED: 02/01/2021                   490 POST STREET
      of the debtor’s interest                                                SUITE 1700
                                                                              SAN FRANCISCO, CA 94102
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          11/01/2024                          MAVLERS (BRAND OF UPLERS SOLUTIONS PRIVATE LIMITED)
2.855 lease is for and the nature                                             UPLERS HOUSE, 3RD FLOOR, NEXT TO KALASAGAR MALL
      of the debtor’s interest                                                SATTADHAR CROSS ROADS
                                                                              AHMEDABAD, 380061
           State the term remaining       Undetermined                        INDIA

           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 09/25/2024         MAX PLANCK INSTITUTE FOR EVOLUTIONARY ANTHROPOLOGY
2.856 lease is for and the nature                                             3755 CÔTE STE-CATHERINE ROAD
      of the debtor’s interest                                                MONTREAL, QC H3T 1E2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE CONTRACT DATED:
      State what the contract or          05/31/2024                          MCNAIR EVANS PHOTOGRAPHS
2.857 lease is for and the nature                                             4904 EVELYN BYRD RD.
      of the debtor’s interest                                                RICHMOND, VA 23225

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
      State what the contract or          5/3/2021                            MCNEILL BAUR PLLC
2.858 lease is for and the nature                                             1433 NORTH WATER STREET
      of the debtor’s interest                                                SUITE 400
                                                                              MILWAUKEE, WI 53202
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
      State what the contract or          11/25/2024                          MDISRUPT, INC.
2.859 lease is for and the nature                                             10900 RESEARCH BLVD
      of the debtor’s interest                                                SUITE 160C UNIT # 2038
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 07/23/2024                   MDISRUPT, INC.
2.860 lease is for and the nature                                             10900 RESEARCH BLVD
      of the debtor’s interest                                                SUITE 160C UNIT # 2038
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 06/24/2022
      State what the contract or                                              MEDGENOME, INC.
2.861 lease is for and the nature                                             348 HATCH DR.
      of the debtor’s interest                                                ATTN ANGELICA LAVALLEE
                                                                              FOSTER CITY, CA 94404
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 07/20/2022
      State what the contract or                                              MEDGENOME, INC.
2.862 lease is for and the nature                                             348 HATCH DR.
      of the debtor’s interest                                                ATTN ANGELICA LAVALLEE
                                                                              FOSTER CITY, CA 94404
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 02/05/2020                   MEDICAL AFFAIRS 360 LLC
2.863 lease is for and the nature                                             7132 AVIARA DRIVE
      of the debtor’s interest                                                CARLSBAD, CA 92011

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONTRACT AMENDMENT #1 TO
      State what the contract or          WORK ORDER #1 DATED: 12/01/2022 MEDPACE, INC
2.864 lease is for and the nature                                         5375 MEDPACE WAY
      of the debtor’s interest                                            CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONTRACT AMENDMENT #2 TO
      State what the contract or          WORK ORDER #1 DATED: 11/30/2021 MEDPACE, INC.
2.865 lease is for and the nature                                         5375 MEDPACE WAY
      of the debtor’s interest                                            CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONTRACT AMENDMENT #3 TO
      State what the contract or          WORK ORDER #1 DATED: 03/01/2024 MEDPACE, INC.
2.866 lease is for and the nature                                         5375 MEDPACE WAY
      of the debtor’s interest                                            CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONTRACT AMENDMENT #2 TO
      State what the contract or          WORK ORDER #1 DATED: 12/01/2023 MEDPACE, INC.
2.867 lease is for and the nature                                         5375 MEDPACE WAY
      of the debtor’s interest                                            CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/22/2021                   MEDPACE, INC.
2.868 lease is for and the nature                                             5375 MEDPACE WAY
      of the debtor’s interest                                                CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 11/01/2023
      State what the contract or                                              MEDPACE, INC.
2.869 lease is for and the nature                                             5375 MEDPACE WAY
      of the debtor’s interest                                                CINCINNATI, OH 45227

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
      State what the contract or          DATED: 03/05/2024                   MEDRA INC.
2.870 lease is for and the nature                                             MEDRA INC.
      of the debtor’s interest                                                33 NEW MONTGOMERY ST
                                                                              SUITE 550
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          4/16/2020                           MEHLMAN CASTAGNETTI ROSEN & THOMAS,
2.871 lease is for and the nature                                             INC.
      of the debtor’s interest                                                1341 G STREET NW
                                                                              SUITE 1100
           State the term remaining       Undetermined                        WASHINGTON, DC 20005

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          (US) DATED: 06/28/2022              MELIOR DISCOVERY, INC.
2.872 lease is for and the nature                                             860 SPRINGDALE DRIVE
      of the debtor’s interest                                                SUITE 500
                                                                              EXTON, PA 19341
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED
      State what the contract or          07/19/2022                          MEMORIAL SLOAN KETTERING CANCER CENTER
2.873 lease is for and the nature                                             600 THIRD AVENUE
      of the debtor’s interest                                                16TH FLOOR
                                                                              NEW YORK, NY 10016
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          META ONLINE COMMERCIAL TERMS
      State what the contract or          DATED: 09/01/2023            META PLATFORMS, INC.
2.874 lease is for and the nature                                      ATTENTION: AR 15161 COLLECTIONS CENTER DRIVE
      of the debtor’s interest                                         CHICAGO, IL 60693

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          01/01/2021                          METROPOLITAN LIFE INSURANCE COMPANY
2.875 lease is for and the nature                                             4150 NORTH MULBERRY DRIVE
      of the debtor’s interest                                                SUITE 300
                                                                              KANSAS CITY, MO 64116
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          01/01/2021                          METROPOLITAN LIFE INSURANCE COMPANY
2.876 lease is for and the nature                                             200 PARK AVENUE
      of the debtor’s interest                                                NEW YORK, NY 10166-0188

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PERFORMANCE GUARANTEE
      State what the contract or          AGREEMENT DATED: 11/01/2021         METROPOLITAN LIFE INSURANCE COMPANY
2.877 lease is for and the nature                                             200 PARK AVENUE
      of the debtor’s interest                                                NEW YORK, NY 10166-0188

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM 2 DATED: 09/22/2022
      State what the contract or                                              MGC-STIFTUNG
2.878 lease is for and the nature                                             HERZOGSTRASSE 64
      of the debtor’s interest                                                MUNICH, 80803
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TANGIBLE PROPERTY LICENSE
      State what the contract or          AGREEMENT DATED: 10/14/2020         MGC-STIFTUNG
2.879 lease is for and the nature                                             HERZOGSTRASSE 64
      of the debtor’s interest                                                MUNICH, 80803
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REFERRAL SERVICES AGREEMENT
      State what the contract or          DATED: 09/07/2022           MICHAEL J. FOX FOUNDATION
2.880 lease is for and the nature                                     P.O. BOX 4777
      of the debtor’s interest                                        NEW YORK, NY 10163-4777

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 5 TO MASTER
      State what the contract or          COLLABORATION AGREEMENT             MICHAEL J. FOX FOUNDATION
2.881 lease is for and the nature         DATED: 09/16/2024                   P.O. BOX 4777
      of the debtor’s interest                                                NEW YORK, NY 10163-4777

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 4 T DATED:
      State what the contract or          09/29/2021                          MICHAEL J. FOX FOUNDATION FOR PARKINSON’S RESEARCH
2.882 lease is for and the nature                                             P.O. BOX 4777
      of the debtor’s interest                                                NEW YORK, NY 10163-4777

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          08/25/2023                          MICROSTRATEGY INCORPORATED
2.883 lease is for and the nature                                             1850 TOWERS CRESCENT PLAZA
      of the debtor’s interest                                                TYSONS CORNER, VA 22182

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SETTLEMENT AGREEMENT AND
      State what the contract or          RELEASE                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN PLLC
2.884 lease is for and the nature                                             ATTN: GARY M. KLINGER
      of the debtor’s interest                                                227 W. MONROE STREET
                                                                              SUITE 2100
           State the term remaining       Undetermined                        CHICAGO, IL 60606

           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          02/13/2023                          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, P.C.
2.885 lease is for and the nature                                             CENTURY PLAZA TOWERS
      of the debtor’s interest                                                2049 CENTURY PARK EAST
                                                                              SUITE 300
           State the term remaining       Undetermined                        LOS ANGELES, CA 90067

           List the contract number of
           any government contract

                                          RESEARCH SERVICES AGREEMENT
      State what the contract or          DATED: 11/04/2024           MIRADOR360, LLC
2.886 lease is for and the nature                                     3115 MERRYFIELD ROW
      of the debtor’s interest                                        SUITE 210
                                                                      SAN DIEGO, CA 92121
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/05/2024                   MISCONFIGURED LLC
2.887 lease is for and the nature                                             250 ESPERANZA STREET #A BELVEDERE
      of the debtor’s interest                                                TIBURON, CA 94920

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK 2 DATED:
      State what the contract or          12/16/2024                          MISCONFIGURED, LLC
2.888 lease is for and the nature                                             250 ESPERANZA STREET #A BELVEDERE
      of the debtor’s interest                                                TIBURON, CA 94920

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 08/04/2022                   MONARK LLC
2.889 lease is for and the nature                                             5605 WOODCREST DRIVE
      of the debtor’s interest                                                EDINA, MN 55436

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF SERVICE DATED:
      State what the contract or          10/16/2023                          MONDAY.COM
2.890 lease is for and the nature                                             225 PARK AVENUE SOUTH
      of the debtor’s interest                                                NEW YORK, NY 10003

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 01/21/2025                   MONOCHROME MARKETING LTD
2.891 lease is for and the nature                                             77 WALDEN SQ SE
      of the debtor’s interest                                                CALGARY, AB T2X OP2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #4 DATED:
      State what the contract or          01/22/2025                          MONOCHROME MARKETING LTD
2.892 lease is for and the nature                                             77 WALDEN SQ SE
      of the debtor’s interest                                                CALGARY, AB T2X OP2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          01/01/2025                          MONOCHROME MARKETING LTD
2.893 lease is for and the nature                                             77 WALDEN SQ SE
      of the debtor’s interest                                                CALGARY, AB T2X OP2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           MONONEKO LLC
2.894 lease is for and the nature         2/17/2025                           9407 NE VANCOUVER MALL DRIVE
      of the debtor’s interest                                                STE 104
                                                                              VANCOUVER, WA 98662
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RESEARCH COLLABORATION
      State what the contract or          AGREEMENT DATED: 02/16/2023         MOREHOUSE SCHOOL OF MEDICINE
2.895 lease is for and the nature                                             720 WESTVIEW DR. SW
      of the debtor’s interest                                                ATLANTA, GA 30310

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONFIDENTIALITY AGREEMENT
      State what the contract or          DATED 12/10/2024                    MORGAN STANLEY REAL ESTATE ADVISOR, INC.
2.896 lease is for and the nature                                             1585 BROADWAY
      of the debtor’s interest                                                NEW YORK, NY 10036

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER RELEASE AGREEMENT
      State what the contract or          DATED: 08/18/2021                   MORGAN, LEWIS & BOCKIUS LLP
2.897 lease is for and the nature                                             ONE FEDERAL STREET
      of the debtor’s interest                                                BOSTON, MA 02110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK/WORK
      State what the contract or          ORDER DATED: 06/17/2024             MOSAIC LABORATORIES, LLC
2.898 lease is for and the nature                                             80 EMPIRE DRIVE
      of the debtor’s interest                                                LAKE FOREST, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 06/22/2024
      State what the contract or                                              MOSAIC LABORATORIES, LLC
2.899 lease is for and the nature                                             80 EMPIRE DRIVE
      of the debtor’s interest                                                LAKE FOREST, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 06/05/2024
      State what the contract or                                              MOSAIC LABORATORIES, LLC
2.900 lease is for and the nature                                             80 EMPIRE DRIVE
      of the debtor’s interest                                                LAKE FOREST, CA 92618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LOGISTIC SERVICES AGREEMENT
      State what the contract or          AMENDMENT 1 DATED: 10/01/2017       MOVIANTO
2.901 lease is for and the nature                                             KELTENWEG 70
      of the debtor’s interest                                                5342 LP OSS
                                                                              NETHERLANDS
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUALITY AGREEMENT DATED:
      State what the contract or          08/31/2022                          MOVIANTO
2.902 lease is for and the nature                                             KELTENWEG 70
      of the debtor’s interest                                                5342 LP OSS
                                                                              NETHERLANDS
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LOGISTICS SERVICES AGREEMENT
      State what the contract or          DATED: 10/01/2014            MOVIANTO
2.903 lease is for and the nature                                      KELTENWEG 70
      of the debtor’s interest                                         5342 LP OSS
                                                                       NETHERLANDS
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 01/01/2025
      State what the contract or                                              MUCK RACK, LLC
2.904 lease is for and the nature                                             382 NE 191ST ST
      of the debtor’s interest                                                # 74788
                                                                              MIAMI, FL 33179-3899
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
      State what the contract or          10/19/2023                          MUMFORD SOLE LLC
2.905 lease is for and the nature                                             110 WEST 13TH STREET
      of the debtor’s interest                                                NEW YORK, NY 10011

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT +
      State what the contract or          SOW NO. 1 DATED: 02/10/2023         MUMFORD SOLE LLC
2.906 lease is for and the nature                                             110 WEST 13TH STREET
      of the debtor’s interest                                                NEW YORK, NY 10011

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #4 DATED:
      State what the contract or          07/01/2024                          MUMFORD SOLE LLC
2.907 lease is for and the nature                                             110 WEST 13TH STREET
      of the debtor’s interest                                                NEW YORK, NY 10011

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          09/01/2024                          MUSIC WORLD MUSIC FILM & TELEVISION LLC
2.908 lease is for and the nature                                             PO BOX 3727
      of the debtor’s interest                                                HOUSTON, TX 77253

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 03/10/2022                   MWA LIFE SCIENCES, INC. DBA MWA CONSULTING, INC
2.909 lease is for and the nature                                             971 BAILEYANA ROAD
      of the debtor’s interest                                                HILLSBOROUGH, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REINSTATEMENT AND AMENDMENT
      State what the contract or          #1 DATED: 11/01/2021        MY EQUITY COMP, LLC
2.910 lease is for and the nature                                     2339 GOLD MEADOW WAY
      of the debtor’s interest                                        STE 210
                                                                      GOLD RIVER, CA 95670
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK
      State what the contract or                                              MY EQUITY COMP, LLC
2.911 lease is for and the nature                                             2339 GOLD MEADOW WAY
      of the debtor’s interest                                                STE 210
                                                                              GOLD RIVER, CA 95670
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT - #7505
      State what the contract or          DATED: 11/17/2020                   MY EQUITY COMP, LLC
2.912 lease is for and the nature                                             2339 GOLD MEADOW WAY
      of the debtor’s interest                                                STE 210
                                                                              GOLD RIVER, CA 95670
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
      State what the contract or          DATED: 06/04/2024                   MY MOC, INC.
2.913 lease is for and the nature                                             26 EAST HILL WAY
      of the debtor’s interest                                                WAKEFIELD, RI 02879

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NON-EXCLUSIVE LICENSE AND
      State what the contract or          MATERIAL TRANSFER AGREEMENT         NAGASAKI UNIVERSITY
2.914 lease is for and the nature         DATED: 04/01/2022                   1-14 BUNKYO-MACHI
      of the debtor’s interest                                                NAGASAKI, 852-8521
                                                                              JAPAN
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLASS ACTION SETTLEMENT
      State what the contract or          AGREEMENT AND RELEASE               NAME ON FILE
2.915 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           NAME ON FILE
2.916 lease is for and the nature         03/12/2024                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          10/23/2024                          NAME ON FILE
2.917 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 DATED:
      State what the contract or          11/18/2024                          NAME ON FILE
2.918 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
      State what the contract or          DEVELOPMENT SERVICES                NAME ON FILE
2.919 lease is for and the nature         AGREEMENT DATED: 08/30/2024         ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 09/15/2024
      State what the contract or                                              NAME ON FILE
2.920 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 08/10/2021         NAME ON FILE
2.921 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 04/13/2021         NAME ON FILE
2.922 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          11/14/2024                          NAME ON FILE
2.923 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
      State what the contract or                                              NAME ON FILE
2.924 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED:
      State what the contract or          09/12/2024                          NAME ON FILE
2.925 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
      State what the contract or          DEVELOPMENT SERVICES                NAME ON FILE
2.926 lease is for and the nature         AGREEMENT DATED: 09/23/2024         200 2ND STREET SW
      of the debtor’s interest                                                ROCHESTER, MN 55905

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT FOR DIGITAL RIGHTS        NAME ON FILE
2.927 lease is for and the nature         AND SOCIAL MEDIA PROPOSAL           ADDRESS ON FILE
      of the debtor’s interest            DATED: 10/16/2019

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/01/2021         NAME ON FILE
2.928 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.929 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1
      State what the contract or                                              NAME ON FILE
2.930 lease is for and the nature         TO THE MASTER SERVICES              ADDRESS ON FILE
      of the debtor’s interest            AGREEMENT DATED: 01/03/2022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
      State what the contract or          MASTER SERVICES AGREEMENT           NAME ON FILE
2.931 lease is for and the nature         AND STATEMENT OF WORK NO. 4         ADDRESS ON FILE
      of the debtor’s interest            DATED: 03/05/2024

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT
      State what the contract or           DATED: 12/21/2021                  NAME ON FILE
2.932 lease is for and the nature                                             3720 15TH AVE NE
      of the debtor’s interest                                                SEATTLE, WA 98195-5065

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/27/2024         NAME ON FILE
2.933 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 05/12/2021         NAME ON FILE
2.934 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
      State what the contract or          DATED: 03/24/2023                   NAME ON FILE
2.935 lease is for and the nature                                             555 UNIVERSITY AVENUE
      of the debtor’s interest                                                TORONTO, ON M5G 1X8
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/01/2021         NAME ON FILE
2.936 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           NAME ON FILE
2.937 lease is for and the nature         09/03/2024                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 05/11/2021         NAME ON FILE
2.938 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.939 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 05/27/2021         NAME ON FILE
2.940 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
      State what the contract or          08/21/2024                          NAME ON FILE
2.941 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
      State what the contract or          DEVELOPMENT SERVICES                NAME ON FILE
2.942 lease is for and the nature         AGREEMENT DATED: 08/09/2024         14355 MIRANDA WAY
      of the debtor’s interest                                                LOS ALTOS HILLS, CA 94022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
      State what the contract or          PROFESSIONAL CONSULTING        NAME ON FILE
2.943 lease is for and the nature         SERVICES AGREEMENT AND         ADDRESS ON FILE
      of the debtor’s interest            STATEMENT OF WORK NO. 1 DATED:
                                          04/17/2024
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 10/20/2019         NAME ON FILE
2.944 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 01/01/2021         NAME ON FILE
2.945 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           NAME ON FILE
2.946 lease is for and the nature         04/25/2023                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          10/22/2024                          NAME ON FILE
2.947 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TALENT AGREEMENT DATED:
      State what the contract or          06/21/2024                          NAME ON FILE
2.948 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.949 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          09/18/2024                          NAME ON FILE
2.950 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           NAME ON FILE
2.951 lease is for and the nature         05/07/2024                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO STATEMENT
      State what the contract or          OF WORK #1 DATED: 01/01/2025 PER NAME ON FILE
2.952 lease is for and the nature         MASTER SERVICES AGREEMENT        ADDRESS ON FILE
      of the debtor’s interest            DATED: 5/23/2024

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDED AND RESTATED
      State what the contract or                                              NAME ON FILE
2.953 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest
                                          STATEMENT OF WORK #2 DATED:
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #5 TO THE
      State what the contract or          CONSULTING AGREEMENT DATED:         NAME ON FILE
2.954 lease is for and the nature         08/01/2023                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          11/05/2024                          NAME ON FILE
2.955 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          09/01/2024                          NAME ON FILE
2.956 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES, CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 11/02/2021   NAME ON FILE
2.957 lease is for and the nature                                       ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INFLUENCER AGREEMENT
      State what the contract or                                              NAME ON FILE
2.958 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          03/28/2024                          NAME ON FILE
2.959 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          10/31/2022                          NAME ON FILE
2.960 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 05/24/2023         NAME ON FILE
2.961 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT,
      State what the contract or          CONSENT TO PREPARE AND              NAME ON FILE
2.962 lease is for and the nature         RELEASE MATERIALS, PATIENT          ADDRESS ON FILE
      of the debtor’s interest            MARKETING AUTHORIZATION
                                          DATED: 01/30/2025
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          10/27/2021                          NAME ON FILE
2.963 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
      State what the contract or          11/08/2023                          NAME ON FILE
2.964 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 2 DATED:
      State what the contract or          06/29/2023                          NAME ON FILE
2.965 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 01/04/2021                   NAME ON FILE
2.966 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
      State what the contract or          09/17/2024                          NAME ON FILE
2.967 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          10/11/2024                          NAME ON FILE
2.968 lease is for and the nature                                             NATIONAL CANCER INSTITUTE DIVISION OF CANCER
      of the debtor’s interest                                                EPIDEMIOLOGY AND GENETICS
                                                                              9609 MEDICAL CENTER DR. RM 7E412
           State the term remaining       Undetermined                        ROCKVILLE, MD 20895

           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          06/21/2022                          NAME ON FILE
2.969 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
      State what the contract or                                              NAME ON FILE
2.970 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
      State what the contract or          01/06/2022                          NAME ON FILE
2.971 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CLASS ACTION SETTLEMENT
      State what the contract or          AGREEMENT AND RELEASE               NAME ON FILE
2.972 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/01/2021         NAME ON FILE
2.973 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
      State what the contract or                                              NAME ON FILE
2.974 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 TO CONSULTING
      State what the contract or          AGREEMENT DATED: 08/20/2024   NAME ON FILE
2.975 lease is for and the nature                                       ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED:
      State what the contract or          06/10/2024                          NAME ON FILE
2.976 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SCOPE OF WORK
      State what the contract or                                              NAME ON FILE
2.977 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 10/14/2021                   NAME ON FILE
2.978 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 06/26/2024         NAME ON FILE
2.979 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SCOPE OF WORK
      State what the contract or                                              NAME ON FILE
2.980 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/01/2021         NAME ON FILE
2.981 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UNIFORM PROVISIONS FOR
      State what the contract or          AGREEMENTS IN CONNECTION            NAME ON FILE
2.982 lease is for and the nature         WITH SEMINARS, CONFERENCES,         ADDRESS ON FILE
      of the debtor’s interest            AND TALKS DATED: 12/08/2021

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or          SERVICES AGREEMENT DATED:           NAME ON FILE
2.983 lease is for and the nature         01/23/2023                          ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
      State what the contract or          01/21/2021                          NAME ON FILE
2.984 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 TO STATEMENT
      State what the contract or          OF WORK #5 DATED: 01/02/2022        NAME ON FILE
2.985 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          01/31/2025                          NAME ON FILE
2.986 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 05/27/2021         NAME ON FILE
2.987 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
      State what the contract or             SERVICES       AGREEMENT         NAME ON FILE
2.988 lease is for and the nature         DATED: 11/07/2023                   1789 MILLER RANCH DR.
      of the debtor’s interest                                                WESTLAKE VILLAGE, CA 91362

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
      State what the contract or                                              NAME ON FILE
2.989 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          12/15/2019                          NAME ON FILE
2.990 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
      State what the contract or          12/15/2019                          NAME ON FILE
2.991 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 08/11/2022         NAME ON FILE
2.992 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT # 1 TO CLINICAL TRIAL
      State what the contract or          AGREEMENT DATED: 02/01/2023     NAME ON FILE
2.993 lease is for and the nature                                         PRINCESS MARGARET CANCER CENTRE
      of the debtor’s interest                                            700 UNIVERSITY AVENUE
                                                                          7TH FLOOR
           State the term remaining       Undetermined                    ROOM 7-813
                                                                          TORONTO, ON M5G 1Z5
           List the contract number of                                    CANADA
           any government contract

                                          MASTER SERVICES AGREEMENT
      State what the contract or          DATED: 11/14/2024                   NAME ON FILE
2.994 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PUBLICITY WAIVER AND RELEASE
      State what the contract or          DATED: 07/12/2022                   NAME ON FILE
2.995 lease is for and the nature                                             RM A3-127
      of the debtor’s interest                                                938 W28TH AVENUE
                                                                              VANCOUVER, BC V5Z 4H4
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          CLASS ACTION SETTLEMENT
      State what the contract or          AGREEMENT AND RELEASE               NAME ON FILE
2.996 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT TO PREPARE AND
      State what the contract or          RELEASE MATERIALS                   NAME ON FILE
2.997 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 09/28/2021         NAME ON FILE
2.998 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
      State what the contract or          AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.999 lease is for and the nature                                             ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1000 lease is for and the nature        AGREEMENT DATED: 09/30/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
       State what the contract or         01/24/2024                          NAME ON FILE
2.1001 lease is for and the nature                                            84 CARLTON ROAD
       of the debtor’s interest                                               WABAN, MA 02468

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         01/24/2025                          NAME ON FILE
2.1002 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
       State what the contract or         02/18/2022                          NAME ON FILE
2.1003 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 12/01/2022                   NAME ON FILE
2.1004 lease is for and the nature                                            THE OTTAWA HOSPITAL GENERAL CAMPUS
       of the debtor’s interest                                               501 SMYTH ROAD
                                                                              OTTAWA, ON K1H 8L6
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1005 lease is for and the nature        01/15/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1006 lease is for and the nature        AGREEMENT DATED: 09/30/2024         2729 BELROSE AVE.
       of the debtor’s interest                                               BERKELEY, CA 94705

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #1 TO THE
       State what the contract or         INDEPENDENT CONTRACTOR              NAME ON FILE
2.1007 lease is for and the nature        AGREEMENT DATED: 09/13/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         11/09/2024                          NAME ON FILE
2.1008 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 05/27/2021         NAME ON FILE
2.1009 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         06/10/2022                          NAME ON FILE
2.1010 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         08/12/2024                          NAME ON FILE
2.1011 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SCOPE OF WORK
       State what the contract or                                             NAME ON FILE
2.1012 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 09/02/2021         NAME ON FILE
2.1013 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 04/29/2021         NAME ON FILE
2.1014 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1015 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 12/20/2022         NAME ON FILE
2.1016 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 5
       State what the contract or                                             NAME ON FILE
2.1017 lease is for and the nature        TO PROFESSIONAL SERVICES            ADDRESS ON FILE
       of the debtor’s interest           CONSULTING AGREEMENT DATED:
                                          04/25/2024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1018 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/29/2024                          NAME ON FILE
2.1019 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1020 lease is for and the nature        02/21/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         07/16/2019                          NAME ON FILE
2.1021 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 04/29/2021         NAME ON FILE
2.1022 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.1023 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 04/04/2022         NAME ON FILE
2.1024 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE
       State what the contract or         CONSULTING AGREEMENT DATED:         NAME ON FILE
2.1025 lease is for and the nature        02/01/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1026 lease is for and the nature        08/20/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1027 lease is for and the nature        AGREEMENT DATED: 09/16/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         05/02/2022                          NAME ON FILE
2.1028 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1029 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 05/19/2021         NAME ON FILE
2.1030 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED 10/13/2021          NAME ON FILE
2.1031 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         10/24/2022                          NAME ON FILE
2.1032 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         02/03/2025                          NAME ON FILE
2.1033 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1034 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1035 lease is for and the nature        08/02/2024                          8450 ARDLEIGH STREET
       of the debtor’s interest                                               PHILADELPHIA, PA 19118

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 05/03/2023                   NAME ON FILE
2.1036 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         04/13/2015                          NAME ON FILE
2.1037 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 08/31/2021         NAME ON FILE
2.1038 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/04/2021         NAME ON FILE
2.1039 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 02/03/2022         NAME ON FILE
2.1040 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TELEMEDICINE PHYSICIAN
       State what the contract or         INDEPENDENT CONTRACTOR              NAME ON FILE
2.1041 lease is for and the nature        AGREEMENT DATED: 09/09/2024         444 SAN ANTONIO ROAD
       of the debtor’s interest                                               APT. 10A
                                                                              PALO ALTO, CA 94306
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1042 lease is for and the nature        AGREEMENT DATED: 08/13/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         05/04/2024                          NAME ON FILE
2.1043 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1044 lease is for and the nature        11/21/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         11/05/2024                          NAME ON FILE
2.1045 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         09/15/2023                          NAME ON FILE
2.1046 lease is for and the nature                                            1150 WEST MEDICAL CENTER DRIVE
       of the debtor’s interest                                               ROOM 2570
                                                                              ANN ARBOR, MI 48109-600
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/15/2024                          NAME ON FILE
2.1047 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1048 lease is for and the nature        AGREEMENT DATED: 08/13/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 09/01/2021         NAME ON FILE
2.1049 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1050 lease is for and the nature        08/24/2024                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1051 lease is for and the nature        AGREEMENT DATED: 09/30/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or            SERVICES       AGREEMENT         NAME ON FILE
2.1052 lease is for and the nature        DATED: 02/26/2024                   400 PARNASSUS AVE
       of the debtor’s interest                                               FLOOR B1
                                                                              SAN FRANCISCO, CA 94143
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED:
       State what the contract or         04/03/2024                          NAME ON FILE
2.1053 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1054 lease is for and the nature        AGREEMENT DATED: 10/01/2024         2333 BUCHANAN STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94115

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 08/31/2021         NAME ON FILE
2.1055 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1056 lease is for and the nature        07/27/2022                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 04/04/2022         NAME ON FILE
2.1057 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING SERVICES
       State what the contract or         AGREEMENT DATED: 05/11/2024         NAME ON FILE
2.1058 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1059 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RELEASE AUTHORIZATION DATED:
       State what the contract or         05/16/2024                          NAME ON FILE
2.1060 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or                                             NAME ON FILE
2.1061 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/08/2024                          NAME ON FILE
2.1062 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TALENT AGREEMENT DATED:
       State what the contract or         08/27/2024                          NAME ON FILE
2.1063 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 08/11/2022         NAME ON FILE
2.1064 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SCOPE OF WORK
       State what the contract or                                             NAME ON FILE
2.1065 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 05/11/2022         NAME ON FILE
2.1066 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1067 lease is for and the nature        05/19/2023                          ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1068 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1069 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LAB DIRECTOR AGREEMENT DATED:
       State what the contract or         09/30/2017                    NAME ON FILE
2.1070 lease is for and the nature                                      2601 34TH ST
       of the debtor’s interest                                         SANTA MONICA, CA 90405

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         11/08/2024                          NAME ON FILE
2.1071 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1072 lease is for and the nature        AGREEMENT DATED: 10/01/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONSENT AGREEMENT FOR DIGITAL
       State what the contract or         RIGHTS AND SOCIAL MEDIA DATED: NAME ON FILE
2.1073 lease is for and the nature        10/18/2019                     ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AGREEMENT FOR
       State what the contract or         DIGITAL RIGHTS AND SOCIAL MEDIA NAME ON FILE
2.1074 lease is for and the nature        PROPOSAL DATED: 10/16/2019      ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #5 DATED:
       State what the contract or         02/14/2022                          NAME ON FILE
2.1075 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 12/21/2022         NAME ON FILE
2.1076 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 09/25/2024         NAME ON FILE
2.1077 lease is for and the nature                                            3755 CÔTE STE-CATHERINE ROAD
       of the debtor’s interest                                               MONTREAL, QC H3T 1E2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         11/14/2022                          NAME ON FILE
2.1078 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SEPARATION AGREEMENT DATED:
       State what the contract or         03/23/2025                          NAME ON FILE
2.1079 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1080 lease is for and the nature        02/21/2024                          4131 LEALAND LANE
       of the debtor’s interest                                               NASHVILLE, TN 37204

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1081 lease is for and the nature        AGREEMENT DATED: 08/02/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         07/05/2022                          NAME ON FILE
2.1082 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         02/01/2021                          NAME ON FILE
2.1083 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         11/06/2024                          NAME ON FILE
2.1084 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/30/2021         NAME ON FILE
2.1085 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         04/05/2024                          NAME ON FILE
2.1086 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 03/24/2023         NAME ON FILE
2.1087 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 01/01/2021         NAME ON FILE
2.1088 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/30/2021         NAME ON FILE
2.1089 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         06/07/2023                          NAME ON FILE
2.1090 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER DATED:
       State what the contract or         09/17/2024                          NAME ON FILE
2.1091 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1092 lease is for and the nature        AGREEMENT DATED: 08/12/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRODUCT EVALUATION AND
       State what the contract or         DEVELOPMENT SERVICES                NAME ON FILE
2.1093 lease is for and the nature        AGREEMENT DATED: 08/12/2024         ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 05/19/2021         NAME ON FILE
2.1094 lease is for and the nature                                            401 TERRY AVENUE NORTH
       of the debtor’s interest                                               SEATTLE, WA 98109

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/22/2024                          NAME ON FILE
2.1095 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         08/13/2024                          NAME ON FILE
2.1096 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             NAME ON FILE
2.1097 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AGREEMENT DATED:
       State what the contract or         10/18/2019                          NAME ON FILE
2.1098 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         01/01/2025                          NAME ON FILE
2.1099 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           NAME ON FILE
2.1100 lease is for and the nature        02/21/2024                          665 WASHINGTON STREET
       of the debtor’s interest                                               UNIT #1915
                                                                              BOSTON, MA 02111
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          BBY HYPERGIFTABLE DISPLAY
       State what the contract or         QUOTE DATED: 11/24/2019             NAME ON FILE
2.1101 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         09/27/2022                          NAME ON FILE
2.1102 lease is for and the nature                                            ADDRESS ON FILE
       of the debtor’s interest

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 09/30/2022
       State what the contract or                                             NARVAR, INC
2.1103 lease is for and the nature                                            3 EAST THIRD AVENUE
       of the debtor’s interest                                               SUITE 211
                                                                              SAN MATEO, CA 94401
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER DATED: 01/22/2024
       State what the contract or         PER MASTER SERVICES             NASDAQ CORPORATE SOLUTIONS, LLC
2.1104 lease is for and the nature        AGREEMENT                       NASDAQ CORPORATE SOLUTIONS LLC CORPORATE
       of the debtor’s interest                                           SOLUTIONS
                                                                          151 WEST 42ND STREET
           State the term remaining       Undetermined                    NEW YORK, NY 10036

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICE ORDER DATED: 07/06/2021
       State what the contract or         PER MASTER SERVICES             NASDAQ CORPORATE SOLUTIONS, LLC
2.1105 lease is for and the nature        AGREEMENT                       NASDAQ CORPORATE SOLUTIONS LLC CORPORATE
       of the debtor’s interest                                           SOLUTIONS
                                                                          151 WEST 42ND STREET
           State the term remaining       Undetermined                    NEW YORK, NY 10036

           List the contract number of
           any government contract

                                          AUTHORIZING LETTER DATED:
       State what the contract or         11/23/2022                          NATIONAL BUREAU OF ECONOMIC RESEARCH
2.1106 lease is for and the nature                                            1050 MASSACHUSETTS AVE.
       of the debtor’s interest                                               CAMBRIDGE, MA 02138

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AUTHORIZING LETTER DATED:
       State what the contract or         06/11/2021                          NATIONAL BUREAU OF ECONOMIC RESEARCH
2.1107 lease is for and the nature                                            1050 MASSACHUSETTS AVE.
       of the debtor’s interest                                               CAMBRIDGE, MA 02138

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AUTHORIZING LETTER DATED:
       State what the contract or         05/10/2022                          NATIONAL BUREAU OF ECONOMIC RESEARCH
2.1108 lease is for and the nature                                            1050 MASSACHUSETTS AVE.
       of the debtor’s interest                                               CAMBRIDGE, MA 02138

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 DATED: 03/29/2021
       State what the contract or                                             NATIONAL BUREAU OF ECONOMIC RESEARCH
2.1109 lease is for and the nature                                            1050 MASSACHUSETTS AVE.
       of the debtor’s interest                                               CAMBRIDGE, MA 02138

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          BIOLOGICAL MATERIALS LICENSE
       State what the contract or         AGREEMENT DATED: 12/06/2017         NATIONAL CANCER INSTITUTE
2.1110 lease is for and the nature                                            6011 EXECUTIVE BOULEVARD
       of the debtor’s interest                                               SUITE 325
                                                                              ROCKVILLE, MD 20852-3804
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
       State what the contract or         DATED: 07/30/2021                   NATIONAL CENTER FOR GLOBAL HEALTH AND MEDICINE
2.1111 lease is for and the nature                                            1-21-1 TOYAMA
       of the debtor’s interest                                               SHINJUKU-KU
                                                                              TOKYO,
           State the term remaining       Undetermined                        JAPAN

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED 08/03/2022          NATIONAL HUMAN GENOME RESEARCH INSTITUTE
2.1112 lease is for and the nature                                            6700B ROCKLEDGE DRIVE
       of the debtor’s interest                                               MSC 6907
                                                                              BETHESDA, MD 20892-6907
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          O R D E R F O R M DATED:
       State what the contract or         07/31/2024                          NAVEX GLOBAL, INC.
2.1113 lease is for and the nature                                            5500 MEADOWS ROAD
       of the debtor’s interest                                               SUITE 500
                                                                              LAKE OSWEGO, OR 97035
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PASS 2023 LICENSE AGREEMENT
       State what the contract or         DATED: 10/19/2023                   NCSS STATISTICAL SOFTWARE
2.1114 lease is for and the nature                                            329 NORTH 1000 EAST
       of the debtor’s interest                                               KAYSVILLE, UT 84037

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 2 (SOW)
       State what the contract or         DATED: 03/25/2024             NEPTUNE VENTURES, LLC
2.1115 lease is for and the nature                                      827 SUNSET DRIVE
       of the debtor’s interest                                         HERMOSA BEACH, CA 90254

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 03/24/2023                   NEPTUNE VENTURES, LLC
2.1116 lease is for and the nature                                            827 SUNSET DRIVE
       of the debtor’s interest                                               HERMOSA BEACH, CA 90254

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 08/16/2023                   NERAC, INC.
2.1117 lease is for and the nature                                            ONE TECHNOLOGY DRIVE
       of the debtor’s interest                                               TOLLAND, CT 06084

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPECIAL PROJECT SERVICES
       State what the contract or         AGREEMENT DATED: 08/08/2024         NERAC, INC.
2.1118 lease is for and the nature                                            ONE TECHNOLOGY DRIVE
       of the debtor’s interest                                               TOLLAND, CT 06084

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SPECIAL PROJECT SERVICES
       State what the contract or         AGREEMENT DATED: 04/04/2024         NERAC, INC.
2.1119 lease is for and the nature                                            ONE TECHNOLOGY DRIVE
       of the debtor’s interest                                               TOLLAND, CT 06084

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         07/26/2023                          NERAC, INC.
2.1120 lease is for and the nature                                            ONE TECHNOLOGY DRIVE
       of the debtor’s interest                                               TOLLAND, CT 06084

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         09/19/2024                          NETSPI, LLC
2.1121 lease is for and the nature                                            241 N 5TH AVE
       of the debtor’s interest                                               SUITE 1200
                                                                              MINNEAPOLIS, MN 55401
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 02/18/2020                   NETSPI, LLC
2.1122 lease is for and the nature                                            800 WASHINGTON AVE N SUITE 670
       of the debtor’s interest                                               MINNEAPOLIS, MN 55401

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         11/01/2024                          NETSPI, LLC
2.1123 lease is for and the nature                                            241 N 5TH AVE
       of the debtor’s interest                                               SUITE 1200
                                                                              MINNEAPOLIS, MN 55401
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         09/18/2024                          NEW LEAF PRODUCTIONS, LLC
2.1124 lease is for and the nature                                            121 SOUTH
       of the debtor’s interest                                               MAPLE
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/25/2023
       State what the contract or                                             NEW RELIC, INC.
2.1125 lease is for and the nature                                            188 SPEAR ST.
       of the debtor’s interest                                               SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 11/17/2020
       State what the contract or                                             NEW RELIC, INC.
2.1126 lease is for and the nature                                            188 SPEAR ST.
       of the debtor’s interest                                               SUITE 1000
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP SUBSCRIPTION PURCHASE
       State what the contract or         ORDER DATED: 05/29/2020     NEW YORK TIMES DIGITAL LLC
2.1127 lease is for and the nature                                    620 8TH AVE FRNT 1
       of the debtor’s interest                                       NEW YORK, NY 10018-1618

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 10/17/2022                   NEXT LEVEL WORKSPACES LLC
2.1128 lease is for and the nature                                            200 S 3RD STREET #720014
       of the debtor’s interest                                               SAN JOSE, CA 95172

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         02/29/2024                          NEXTIVA, INC.
2.1129 lease is for and the nature                                            9451 EAST VIA DE VENTURA
       of the debtor’s interest                                               SCOTTSDALE, AZ 85256

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         10/30/2023                          NEXTPLANE, INC.
2.1130 lease is for and the nature                                            530 LAKESIDE DR.
       of the debtor’s interest                                               STE 240
                                                                              SUNNYVALE, CA 94085
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 DATED:
       State what the contract or         01/22/2024                          NIGHTINGALE HEALTH OYJ
2.1131 lease is for and the nature                                            ATTN: CLO MINJA SALMIO
       of the debtor’s interest                                               MANNERHEIMINTIE 164A
                                                                              HELSINKI, 00300
           State the term remaining       Undetermined                        FINLAND

           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         11/30/2023                          NIGHTINGALE HEALTH OYJ
2.1132 lease is for and the nature                                            ATTN: CLO MINJA SALMIO
       of the debtor’s interest                                               MANNERHEIMINTIE 164A
                                                                              HELSINKI, 00300
           State the term remaining       Undetermined                        FINLAND

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 3 DATED:
       State what the contract or         06/26/2024                          NIGHTINGALE HEALTH OYJ
2.1133 lease is for and the nature                                            ATTN: CLO MINJA SALMIO
       of the debtor’s interest                                               MANNERHEIMINTIE 164A
                                                                              HELSINKI, 00300
           State the term remaining       Undetermined                        FINLAND

           List the contract number of
           any government contract

                                          LICENSE AGREEMENT FOR THE USE
       State what the contract or         OF THE UMLS METHATHESAURUS    NIH PATENT LICENSING-NATIONAL INSTITUTES OF HEALTH
2.1134 lease is for and the nature        DATED: 07/01/2024             PO BOX 979071
       of the debtor’s interest                                         SAINT LOUIS, MO 63197-9000

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         11/12/2020                          NOLAN BUSINESS SOLUTIONS
2.1135 lease is for and the nature                                            4909 PEARL EAST CIRCLE #101
       of the debtor’s interest                                               BOULDER, CO 80301

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FORWARD ASSET TRANSFER
       State what the contract or         AGREEMENT DATED: 01/23/2025         NOPS, INC.
2.1136 lease is for and the nature                                            034 EMERALD BAY RD
       of the debtor’s interest                                               # 430
                                                                              SOUTH LAKE TAHOE, CA 96150
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         02/01/2025 TO MASTER SERVICES       NORTHLAND CONTROL PROPERTIES LLC
2.1137 lease is for and the nature        AGREEMENT DATED: 9/1/2022           1533 CALIFORNIA CIRCLE
       of the debtor’s interest                                               MILPITAS, CA 95035

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         12/21/2021                          NORTHLAND CONTROL SYSTEMS INC.
2.1138 lease is for and the nature                                            1533 CALIFORNIA CIRCLE
       of the debtor’s interest                                               MILPITAS, CA 95035

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 09/20/2022                   NORTHLAND CONTROL SYTEMS INC.
2.1139 lease is for and the nature                                            1533 CALIFORNIA CIRCLE
       of the debtor’s interest                                               MILPITAS, CA 95035

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK NO.3
       State what the contract or         DATED: 09/01/2024                   NORTHLAND CONTROLS PROPERTIES LLC
2.1140 lease is for and the nature                                            1533 CALIFORNIA CIRCLE
       of the debtor’s interest                                               MILPITAS, CA 95035

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 2 DATED:
       State what the contract or         09/01/2024                     NORTHLAND CONTROLS PROPERTIES LLC
2.1141 lease is for and the nature                                       1533 CALIFORNIA CIRCLE
       of the debtor’s interest                                          MILPITAS, CA 95035

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
       State what the contract or         DATED: 07/30/2024                   NORTHSTATE UNIVERSITY COLLEGE OF MEDICINE
2.1142 lease is for and the nature                                            9700 WEST TARON DR.
       of the debtor’s interest                                               ELK GROVE, CA 95757

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or                                             NORTHWELL HEALTH, INC
2.1143 lease is for and the nature                                            2000 MARCUS AVENUE
       of the debtor’s interest                                               NEW HYDE PARK, NY 11042

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or                                             NORTHWELL HEALTH, INC
2.1144 lease is for and the nature                                            125 COMMUNITY DRIVE
       of the debtor’s interest                                               ATTENTION AVP FINANCE FIMR
                                                                              GREAT NECK, NY 11021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT # 1 DATED: 08/17/2023
       State what the contract or                                             NORTHWELL HEALTH, INC
2.1145 lease is for and the nature                                            125 COMMUNITY DRIVE
       of the debtor’s interest                                               ATTENTION AVP FINANCE FIMR
                                                                              GREAT NECK, NY 11021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RELEASE AND LICENSE DATED:
       State what the contract or         02/09/2021                          NORTHWESTERN UNIVERSITY
2.1146 lease is for and the nature                                            633 CLARK STREET
       of the debtor’s interest                                               EVANSTON, IL 60208-1109

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or                                             NOVANT HEALTH CLINICAL RESEARCH
2.1147 lease is for and the nature                                            ATTENTION CLINICAL RESEARCH MANAGER
       of the debtor’s interest                                               1718 EAST 4TH STREET
                                                                              SUITE 304
           State the term remaining       Undetermined                        CHARLOTTE, NC 28204

           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or                                             NOVANT MEDICAL GROUP, INC.
2.1148 lease is for and the nature                                            108 PROVIDENCE ROAD
       of the debtor’s interest                                               CHARLOTTE, NC 28204

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SINGLE SERVICE AGREEMENT
       State what the contract or         DATED: 03/17/2023                   NOVARTIS SERVICES, INC
2.1149 lease is for and the nature                                            59 ROUTE 10
       of the debtor’s interest                                               EAST HANOVER, NJ 07936

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/26/2024         NTRKERS FOUNDATION
2.1150 lease is for and the nature                                            100 OLD CHEROKEE RD
       of the debtor’s interest                                               STE F
                                                                              PMB 374
           State the term remaining       Undetermined                        LEXINGTON, SC 29072

           List the contract number of
           any government contract

                                          LOGISTIC SERVICES AGREEMENT
       State what the contract or                                             O&M-MOVIANTO NEDERLAND B.V
2.1151 lease is for and the nature                                            KELTENWEG 70
       of the debtor’s interest                                               LP OSS, 5342
                                                                              NETHERLANDS
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION OF THE STATEMENT
       State what the contract or         OF WORK DATED: 09/25/2022           O’SULLIVAN VENDING & COFFEE SERVICES
2.1152 lease is for and the nature                                            3536 ARDEN RD.
       of the debtor’s interest                                               HAYWARD, CA 94545

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT
       State what the contract or                                             OFFICE SPACE
2.1153 lease is for and the nature                                            228 PARK AVENUE S.
       of the debtor’s interest                                               SUITE 39903
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          END USER LICENSE AGREEMENT
       State what the contract or         FOR THE OFFICE TIMELINE ADD-IN      OFFICE TIMELINE LLC
2.1154 lease is for and the nature        DATED: 12/10/2020                   1916 PIKE PLACE
       of the debtor’s interest                                               SUITE 12 #1325
                                                                              SEATTLE, WA 98101
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES ORDER FORM DATED:
       State what the contract or         12/01/2019                          OFFICESPACE SOFTWARE INC.
2.1155 lease is for and the nature                                            228 PARK AVENUE S.
       of the debtor’s interest                                               SUITE 39903
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ATA PROCESSING ADDENDUM
       State what the contract or         DATED: 06/01/2022                   OFFICESPACE SOFTWARE INC.
2.1156 lease is for and the nature                                            228 PARK AVENUE S.
       of the debtor’s interest                                               SUITE 39903
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/23/2020
       State what the contract or                                             OKTA, INC.
2.1157 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 07/24/2024
       State what the contract or                                             OKTA, INC.
2.1158 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/11/2022
       State what the contract or                                             OKTA, INC.
2.1159 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 03/24/2023
       State what the contract or                                             OKTA, INC.
2.1160 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 01/19/2024
       State what the contract or                                             OKTA, INC.
2.1161 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         08/19/2021                          OKTA, INC.
2.1162 lease is for and the nature                                            100 1ST STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 11/10/2021         OLINK PROTEOMICS AB
2.1163 lease is for and the nature                                            UPPSALA SCIENCE PARK
       of the debtor’s interest                                               UPPSALA, 75183
                                                                              SWEDEN
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 2 TO THE MASTER
       State what the contract or         SERVICES AGREEMENT DATED:     OMMEHER, INC
2.1164 lease is for and the nature        10/01/2021                    830 STEWART DRIVE
       of the debtor’s interest                                         SUITE 112
                                                                        ATTN SUMEET PUNJABI
           State the term remaining       Undetermined                  SUNNYVALE, CA 94085

           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         03/28/2023                          OMMEHER, INC.
2.1165 lease is for and the nature                                            830 STEWART DRIVE
       of the debtor’s interest                                               SUITE 112
                                                                              ATTN SUMEET PUNJABI
           State the term remaining       Undetermined                        SUNNYVALE, CA 94085

           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 01/08/2020                   ON24, INC.
2.1166 lease is for and the nature                                            50 BEALE STREET
       of the debtor’s interest                                               8TH FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 DATED: 01/01/2022
       State what the contract or                                             ONCLUSIVE, INC
2.1167 lease is for and the nature                                            1870 OGDEN DRIVE
       of the debtor’s interest                                               BURLINGAME, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #2 DATED: 08/12/2021
       State what the contract or                                             ONCLUSIVE, INC.
2.1168 lease is for and the nature                                            1870 OGDEN DRIVE
       of the debtor’s interest                                               BURLINGAME, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/11/2024         ONCOGENE CANCER RESEARCH
2.1169 lease is for and the nature                                            23 PENZANCE STREET
       of the debtor’s interest                                               LONDON, W11 4QX
                                                                              UNITED KINGDOM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 05/10/2022
       State what the contract or                                             ONETRUST LLC
2.1170 lease is for and the nature                                            1200 ABERNATHY RD NE
       of the debtor’s interest                                               SUITE 300
                                                                              ATLANTA, GA 30328
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 06/30/2020
       State what the contract or                                             ONETRUST LLC
2.1171 lease is for and the nature                                            1200 ABERNATHY RD NE
       of the debtor’s interest                                               SUITE 300
                                                                              ATLANTA, GA 30328
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         07/22/2021                          ONIT, INC.
2.1172 lease is for and the nature                                            1360 POST OAK BLVD.
       of the debtor’s interest                                               SUITE 2200
                                                                              HOUSTON, TX 77056
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 12/21/2018                   ONIT, INC.
2.1173 lease is for and the nature                                            601 SAWYER ST.
       of the debtor’s interest                                               SUITE 750
                                                                              HOUSTON, TX 77007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         10/14/2021                          ONIT, INC.
2.1174 lease is for and the nature                                            601 SAWYER ST.
       of the debtor’s interest                                               SUITE 750
                                                                              HOUSTON, TX 77007
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 06/01/2022
       State what the contract or                                             OOMNITZA INC.
2.1175 lease is for and the nature                                            548 MARKET ST
       of the debtor’s interest                                               SUITE 18912
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES ORDER FORM DATED:
       State what the contract or         08/08/2024 PER TERMS AND            OPEN SPONSORSHIP CORP.
2.1176 lease is for and the nature        CONDITIONS                          122 W 26TH ST
       of the debtor’s interest                                               FL 2
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
       State what the contract or         DATED: 10/27/2023                   OPENAI OPCO, LLC
2.1177 lease is for and the nature                                            3180 18TH ST.
       of the debtor’s interest                                               SAN FRANCISCO, CA 94110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CCPA ADDENDUM DATED: 02/18/2020
       State what the contract or                                             OPTIMIZELY, INC.
2.1178 lease is for and the nature                                            631 HOWARD STREET
       of the debtor’s interest                                               SUITE 100
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/06/2021
       State what the contract or                                             OPTIMIZELY, INC.
2.1179 lease is for and the nature                                            631 HOWARD STREET
       of the debtor’s interest                                               SUITE 100
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         09/24/2023                          ORACLE AMERICA, INC.
2.1180 lease is for and the nature                                            2300 ORACLE WAY
       of the debtor’s interest                                               AUSTIN, TX 78741

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         06/23/2024                          ORACLE AMERICA, INC.
2.1181 lease is for and the nature                                            2300 ORACLE WAY
       of the debtor’s interest                                               AUSTIN, TX 78741

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICE CONTRACT DATED:
       State what the contract or         02/29/2024                          ORACLE AMERICA, INC.
2.1182 lease is for and the nature                                            2300 ORACLE WAY
       of the debtor’s interest                                               AUSTIN, TX 78741

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 CLINICAL TRIAL
       State what the contract or         AGREEMENT                           OREGON HEALTH & SCIENCE UNIVERSITY
2.1183 lease is for and the nature                                            3181 SW SAM JACKSON PARK ROAD
       of the debtor’s interest                                               PORTLAND, OR 97239

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 05/25/2022                   OREGON HEALTH & SCIENCE UNIVERSITY
2.1184 lease is for and the nature                                            3181 SW SAM JACKSON PARK ROAD
       of the debtor’s interest                                               PORTLAND, OR 97239

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 12/01/2022                   OTTAWA HOSPITAL RESEARCH INSTITUTE
2.1185 lease is for and the nature                                            501 SMYTH ROAD
       of the debtor’s interest                                               OTTAWA, ON K1H 8L6
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM DATED: 06/13/2024
       State what the contract or                                             OXFORD UNIVERSITY PRESS
2.1186 lease is for and the nature                                            198 MADISON AVENUE
       of the debtor’s interest                                               NEW YORK, NY 10016

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRIPLE NET LEASE DATED:
       State what the contract or         11/03/2016                          OYSTER POINT TECH CENTER LLC
2.1187 lease is for and the nature                                            OYSTER POINT TECH CENTER LLC
       of the debtor’s interest                                               C/O BENTALL KENNEDY U.S. LIMITED PARTNERSHIP
                                                                              ATTN DIRECTOR OF ASSET MANAGEMENT
           State the term remaining       Undetermined                        1215 FOURTH AVENUE SUITE 2400
                                                                              SEATTLE, WA 98161
           List the contract number of
           any government contract

                                          TRIPLE NET LEASE DATED:
       State what the contract or         11/03/2016                          OYSTER POINT TECH CENTER LLC
2.1188 lease is for and the nature                                            OYSTER POINT TECH CENTER LLC
       of the debtor’s interest                                               C/O NEWTOWER TRUST COMPANY ATTN PRESIDENT ROBERT
                                                                              B. EDWARDS
           State the term remaining       Undetermined                        7315 WISCONSIN AVENUE SUITE 350 WEST
                                                                              BETHESDA, MD 20814
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 11/17/2022                   PACIFIC BIOLABS, INC.
2.1189 lease is for and the nature                                            551 LINUS PAWLING DRIVE
       of the debtor’s interest                                               HERCULES, CA 94547

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INTERCONNECTION AGREEMENT
       State what the contract or         DATED: 05/28/2020                   PACIFIC GAS AND ELECTRIC COMPANY
2.1190 lease is for and the nature                                            245 MARKET STREET
       of the debtor’s interest                                               MAIL CODE N7L
                                                                              SAN FRANCISCO, CA 94105-1702
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 DATED: 07/18/2023
       State what the contract or                                             PACIFIC TOX PATH, LLC
2.1191 lease is for and the nature                                            2906 WEST EATON STREET
       of the debtor’s interest                                               SEATTLE, WA 98199

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 03/01/2023
       State what the contract or                                             PACIFIC TOX PATH, LLC
2.1192 lease is for and the nature                                            2906 WEST EATON STREET
       of the debtor’s interest                                               SEATTLE, WA 98199

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK NO. 5 DATED:
       State what the contract or         07/31/2023                     PACIFIC TOX PATH, LLC
2.1193 lease is for and the nature                                       2906 WEST EATON STREET
       of the debtor’s interest                                          SEATTLE, WA 98199

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ONLINE TERMS - EULA,
       State what the contract or         SUBSCRIPTION DATED: 11/01/2021      PALO ALTO NETWORKS, INC.
2.1194 lease is for and the nature                                            3000 TANNERY WAY
       of the debtor’s interest                                               SANTA CLARA, CA 95054

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER
       State what the contract or         DATED: 02/23/2023                   PAREXEL INTERNATIONAL (IRL) LIMITED
2.1195 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUALITY AGREEMENT DATED:
       State what the contract or         11/11/2022                          PAREXEL INTERNATIONAL (IRL) LIMITED
2.1196 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 08/22/2022                   PAREXEL INTERNATIONAL (IRL) LIMITED
2.1197 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 08/22/2022                   PAREXEL INTERNATIONAL (IRL) LIMITED
2.1198 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         09/19/2024                          PAREXEL INTERNATIONAL (IRL) LIMITED
2.1199 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #1 DATED: 08/22/2022
       State what the contract or                                             PAREXEL INTERNATIONAL (IRL) LIMITED
2.1200 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 2 DATED:
       State what the contract or         09/26/2022                          PAREXEL INTERNATIONAL (IRL) LIMITED
2.1201 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER #1 TO WORK
       State what the contract or         ORDER # 1 DATED: 03/24/2023         PAREXEL INTERNATIONAL (IRL) LIMITED
2.1202 lease is for and the nature                                            70 SIR JOHN ROGERSON’S QUAY
       of the debtor’s interest                                               DUBLIN 2,
                                                                              IRELAND
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT ONE TO THE TERMS
       State what the contract or         AND CONDITIONS AND STATEMENT        PARTNERIZE
2.1203 lease is for and the nature        OF WORK DATED: 12/20/2025           "LEVEL 8 WEST ONE FORTH BANKS NEWCASTLE UPON TYNE
       of the debtor’s interest                                               TYNE AND WEAR
                                                                              NE1 3PA
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          AMENDMENT TO SERVICE
       State what the contract or         AGREEMENT DATED: 11/09/2023         PAYPAL, INC.
2.1204 lease is for and the nature                                            2211 N. 1ST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICING AMENDMENT DATED:
       State what the contract or         05/20/2020                          PAYPAL, INC.
2.1205 lease is for and the nature                                            2211 N. 1ST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF CREDIT DATED:
       State what the contract or         10/31/2024                          PAYPAL, INC.
2.1206 lease is for and the nature                                            2211 N. 1ST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PAYPAL ZETTLE TERMS AND
       State what the contract or         CONDITIONS DATED: 10/28/2024        PAYPAL, INC.
2.1207 lease is for and the nature                                            2211 N. 1ST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF CREDIT DATED:
       State what the contract or         03/15/2024                          PAYPAL, INC.
2.1208 lease is for and the nature                                            2211 N. 1ST STREET
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRIVACY ADDENDUM DATED:
       State what the contract or         01/01/2020                          PCA PREDICT, INC.
2.1209 lease is for and the nature                                            135 MADISON AVE FL 5
       of the debtor’s interest                                               NEW YORK CITY, NY 10016

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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                                                                             Case number              Main (BCW)
                                                                                         (If known): 25-40977 Document
              Name                                          Pg 1874 of 1950
               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PERMISSION REQUEST AND
       State what the contract or         LICENSE TO USE CERTAIN              PEARSON EDUCATION, INC.
2.1210 lease is for and the nature        MATERIALS DATED: 09/03/2024         221 RIVER STREET
       of the debtor’s interest                                               4TH FLOOR
                                                                              HOBOKEN, NJ 07030
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MSSO INVOICE DATED: 07/09/2024
       State what the contract or                                             PERATON INC
2.1211 lease is for and the nature                                            PERATON INC BANK OF AMERICA
       of the debtor’s interest                                               222 BROADWAY
                                                                              NEW YORK, NY 10038
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REVVITY SIGNALS LICENSE
       State what the contract or         AGREEMENT DATED: 04/10/2024         PERKINELMER INFORMATICS, INC.
2.1212 lease is for and the nature                                            940 WINTER ST
       of the debtor’s interest                                               WALTHAM, MA 02451-1457

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         07/13/2020                          PFIZER, INC.
2.1213 lease is for and the nature                                            235 EAST 42ND STREET
       of the debtor’s interest                                               NEW YORK, NY 10017

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 AND
       State what the contract or         ASSIGNMENT                          PHARMACEUTICAL RESEARCH ASSOCIATES, INC.
2.1214 lease is for and the nature                                            4130 PARKLAKE AVENUE
       of the debtor’s interest           OF STATEMENT OF WORK NO. 1          SUITE 400
                                          DATED: 06/01/2023                   RALEIGH, NC 27612
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
       State what the contract or         05/30/2020                   PHARMACOGENOMICS RESEARCH NETWORK, INC.
2.1215 lease is for and the nature                                     9037 RON DEN LANE
       of the debtor’s interest                                        WINDERMERE, FL 34786-8328

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NUMBER 1 DATED:
       State what the contract or         09/25/2023                          PHARMALEGACY CI, LTD. AND PHARMACY LABORATORIES
2.1216 lease is for and the nature                                            (SHANGHAI)
       of the debtor’s interest                                               T3-2, 121 LONGGUI ROAD
                                                                              JINQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 201201
                                                                              CHINA
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CHANGE ORDER DATED: 01/22/2024
       State what the contract or                                             PHARMALEGACY CI, LTD. TOGETHER WITH ITS AFFILIATE
2.1217 lease is for and the nature                                            PHARMALEGACY LABORATORIES (SHANGHAI) CO., LTD.
       of the debtor’s interest                                               T3-2, 121 LONGGUI ROAD
                                                                              JINQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 201201
                                                                              CHINA
           List the contract number of
           any government contract

                                          CONSULTING SERVICES
       State what the contract or         AGREEMENT DATED: 07/29/2022         PHARMATECH ASSOCIATES, INC.
2.1218 lease is for and the nature                                            22320 FOOTHILL BLVD
       of the debtor’s interest                                               SUITE 330
                                                                              HAYWARD, CA 94541
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF SERVICE DATED:
       State what the contract or         07/15/2024                          PIA PRIVATE INTERNET ACCESS, INC
2.1219 lease is for and the nature                                            2590 WELTON ST STE 200
       of the debtor’s interest                                               DENVER, CO 80205-4268

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         04/12/2021                          PICTURE MOSAICS LLC
2.1220 lease is for and the nature                                            486 NORRISTOWN RD
       of the debtor’s interest                                               SUITE 132
                                                                              BLUE BELL, PA 19422
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LOCATION AGREEMENT DATED:
       State what the contract or         02/15/2022                          PIECE OF WORK PRODUCTIONS, LLC
2.1221 lease is for and the nature                                            855 DARRELL ROAD
       of the debtor’s interest                                               HILLSBOROUGH, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ON-CAMERA RELEASE DATED:
       State what the contract or         02/15/2022                          PIECE OF WORK PRODUCTIONS, LLC
2.1222 lease is for and the nature                                            855 DARRELL ROAD
       of the debtor’s interest                                               HILLSBOROUGH, CA 94010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 04/01/2021
       State what the contract or                                             PLANFUL, INC.
2.1223 lease is for and the nature                                            555 TWIN DOLPHIN DRIVE
       of the debtor’s interest                                               SUITE 400
                                                                              REDWOOD CITY, CA 94065
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM DATED: 05/31/2022
       State what the contract or                                             PLANFUL, INC.
2.1224 lease is for and the nature                                            555 TWIN DOLPHIN DRIVE
       of the debtor’s interest                                               SUITE 400
                                                                              REDWOOD CITY, CA 94065
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/20/2022         PLANNED PARENTHOOD FEDERATION OF AMERICA
2.1225 lease is for and the nature                                            123 WILLIAM STREET
       of the debtor’s interest                                               9TH FLOOR
                                                                              NEW YORK, NY 10025
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER NO. 1 DATED: 11/13/2024
       State what the contract or                                             POSTIE INC.
2.1226 lease is for and the nature                                            3616 FAR WEST BLVD. STE 117-103
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              AUSTIN, TX 78731
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or                                             POSTIE, INC.
2.1227 lease is for and the nature                                            3616 FAR WEST BLVD. STE 117-103
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              AUSTIN, TX 78731
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SETTLEMENT AGREEMENT AND
       State what the contract or         RELEASE                             POTTER HANDY, LLP
2.1228 lease is for and the nature                                            ATTN: TEHNIAT ZAMAN
       of the debtor’s interest                                               100 PINE ST.
                                                                              STE. 1250
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94111

           List the contract number of
           any government contract

                                          CAMPAIGN AGREEMENT DATED:
       State what the contract or         07/15/2024                          POWER DIGITAL MARKETING, INC.
2.1229 lease is for and the nature                                            2251 SAN DIEGO AVENUE
       of the debtor’s interest                                               SUITE A250
                                                                              SAN DIEGO, CA 92110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CDP EXTENSION ADDENDUM
       State what the contract or         DATED: 01/01/2025                   POWER DIGITAL MARKETING, INC.
2.1230 lease is for and the nature                                            2251 SAN DIEGO AVENUE A250
       of the debtor’s interest                                               SAN DIEGO, CA 92110

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          IT SERVICES AGREEMENT DATED:
       State what the contract or         07/31/2024                          POWER DIGITAL MARKETING, INC.
2.1231 lease is for and the nature                                            251 SAN DIEGO AVENUE
       of the debtor’s interest                                               SUITE A250
                                                                              SAN DIEGO, CA 92110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM NO.2 DATED: 10/31/2024
       State what the contract or                                             POWER DIGITAL MARKETING, INC.
2.1232 lease is for and the nature                                            2251 SAN DIEGO AVE.
       of the debtor’s interest                                               SUITE A250
                                                                              SAN DIEGO, CA 92110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM NO. 1 DATED: 10/31/2024
       State what the contract or                                             POWER DIGITAL MARKETING, INC.
2.1233 lease is for and the nature                                            251 SAN DIEGO AVE.
       of the debtor’s interest                                               SUITE A250
                                                                              SAN DIEGO, CA 92110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENERAL      SERVICES
       State what the contract or             AGREEMENT DATED: 08/21/2019 POWERFLEX SYSTEMS,            INC.
2.1234 lease is for and the nature                                        1525 MIRAMONTE AVE
       of the debtor’s interest                                           #3155
                                                                          LOS ALTOS, CA 94024
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER #2 TO WORK
       State what the contract or            ORDER #1 DATED: 05/24/2023       PRECISION FOR MEDICINE, INC.
2.1235 lease is for and the nature                                            8425 PRECISION WAY
       of the debtor’s interest                                               FREDERICK, MD 21701

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER # 1 TO WORK
       State what the contract or         ORDER #1 DATED: 02/06/2023          PRECISION FOR MEDICINE, INC.
2.1236 lease is for and the nature                                            8425 PRECISION WAY
       of the debtor’s interest                                               FREDERICK, MD 21701

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 06/25/2021
       State what the contract or                                             PRECISION FOR MEDICINE, INC.
2.1237 lease is for and the nature                                            SANJAY GARG PHD SR. DIRECTOR SCIENTIFIC SOLUTIONS
       of the debtor’s interest                                               2686 MIDDLEFIELD ROAD
                                                                              ATTN SANJAY GARG
           State the term remaining       Undetermined                        REDWOOD CITY, CA 94063

           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 06/25/2021                   PRECISION FOR MEDICINE, INC.
2.1238 lease is for and the nature                                            8425 PRECISION WAY
       of the debtor’s interest                                               FREDERICK, MD 21701

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #7 TO PROJECT
       State what the contract or         AGREEMENT #1 DATED: 04/01/2024      PREMIER RESEARCH CONSULTING LLC
2.1239 lease is for and the nature                                            3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO PROJECT
       State what the contract or         AGREEMENT #2 DATED: 12/22/2022      PREMIER RESEARCH CONSULTING, LLC.
2.1240 lease is for and the nature                                            ONE EAST 4TH STREET
       of the debtor’s interest                                               SUITE 1400
                                                                              CINCINNATI, OH 45202
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO MASTER
       State what the contract or         SERVICES AGREEMENT AND              PREMIER RESEARCH CONSULTING, LLC
2.1241 lease is for and the nature        ASSIGNMENT DATED: 04/08/2024        3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT DATED: 04/01/2024
       State what the contract or                                             PREMIER RESEARCH CONSULTING, LLC
2.1242 lease is for and the nature                                            3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #6 TO PROJECT
       State what the contract or         AGREEMENT #1 DATED: 12/21/2022      PREMIER RESEARCH CONSULTING, LLC
2.1243 lease is for and the nature                                            ONE EAST 4TH STREET
       of the debtor’s interest                                               SUITE 1400
                                                                              CINCINNATI, OH 45202
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         08/23/2022                          PRESIDENT AND FELLOWS OF HARVARD COLLEGE
2.1244 lease is for and the nature                                            RICHARD A. AND SUSAN F. SMITH CAMPUS CENTER
       of the debtor’s interest                                               SUITE 727
                                                                              1350 MASSACHUSETTS AVENUE
           State the term remaining       Undetermined                        CAMBRIDGE, MA 02138

           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #5 DATED:
       State what the contract or         01/08/2025                          PRESIDENT AND FELLOWS OF HARVARD COLLEGE
2.1245 lease is for and the nature                                            RICHARD A. AND SUSAN F. SMITH CAMPUS CENTER
       of the debtor’s interest                                               SUITE 727
                                                                              1350 MASSACHUSETTS AVENUE
           State the term remaining       Undetermined                        CAMBRIDGE, MA 02138

           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 06/02/2022         PRESIDENT AND FELLOWS OF HARVARD COLLEGE
2.1246 lease is for and the nature                                            RICHARD A. AND SUSAN F. SMITH CAMPUS CENTER
       of the debtor’s interest                                               SUITE 727
                                                                              1350 MASSACHUSETTS AVENUE
           State the term remaining       Undetermined                        CAMBRIDGE, MA 02138

           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
       State what the contract or         07/18/2024                   PREVENT CANCER FOUNDATION
2.1247 lease is for and the nature                                     333 JOHN CARLYLE STREET
       of the debtor’s interest                                        SUITE 635
                                                                       ALEXANDRIA, VA 22314
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF SERVICE DATED:
       State what the contract or         11/01/2023                          PRINTFUL INC.
2.1248 lease is for and the nature                                            11025 WESTLAKE DR.
       of the debtor’s interest                                               CHARLOTTE, NC 28273

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           PRITI PATEL CONSULTING LLC
2.1249 lease is for and the nature        10/14/2024                          1338 PEBBLE DRIVE
       of the debtor’s interest                                               SAN CARLOS, CA 94070

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         03/29/2023                          PRN SOFTWARE LLC
2.1250 lease is for and the nature                                            980 WASHINGTON ST.
       of the debtor’s interest                                               SUITE 330
                                                                              DEDHAM, MA 02026
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 01/27/2025
       State what the contract or                                             PROMEED INC. D/B/A INTEGRAL
2.1251 lease is for and the nature                                            C/O WILSON SONSINI GOODRICH & ROSATI P.C.
       of the debtor’s interest                                               650 PAGE MILL ROAD
                                                                              ATTN: CHRISTOPHER PANIEWSKI
           State the term remaining       Undetermined                        PALO ALTO, CA 94304-1050

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 01/27/2025                   PROMEED INC. D/B/A INTEGRAL
2.1252 lease is for and the nature                                            C/O WILSON SONSINI GOODRICH & ROSATI P.C.
       of the debtor’s interest                                               650 PAGE MILL ROAD
                                                                              ATTN: CHRISTOPHER PANIEWSKI
           State the term remaining       Undetermined                        PALO ALTO, CA 94304-1050

           List the contract number of
           any government contract

                                          LETTER AGREEMENT
       State what the contract or                                             PROMEGA CORPORATION
2.1253 lease is for and the nature                                            2800 WOODS HOLLOW ROAD
       of the debtor’s interest                                               MADISON, WI 53711-5399

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 05/10/2023                   PROMEGA CORPORATION
2.1254 lease is for and the nature                                            KORNBERG CENTER PROMEGA CORPORATION
       of the debtor’s interest                                               5430 EAST CHERYL PARKWAY
                                                                              FITCHBURG, WI 53711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTATION DATED: 12/14/2021
       State what the contract or                                             PROTEIN METRICS INC.
2.1255 lease is for and the nature                                            20863 STEVENS CREEK BLVD.
       of the debtor’s interest                                               SUITE 450
                                                                              CUPERTINO, CA 95014
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 03/07/2022                   PROTEROS BIOSTRUCTURES GMBH
2.1256 lease is for and the nature                                            BUNSENSTRAßE 74
       of the debtor’s interest                                               MARTINSRIED, D-82152
                                                                              GERMANY
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 01/19/2024                   PROTEUS BUSINESS INTELLIGENCE, LLC
2.1257 lease is for and the nature                                            360 W. ILLINOIS
       of the debtor’s interest                                               #217
                                                                              CHICAGO, IL 60654
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GENERAL TERMS AND CONDITIONS
       State what the contract or         DATED 06/12/2020             PUNCHOUT2GO LLC
2.1258 lease is for and the nature                                     3317 BERKMAR DRIVE
       of the debtor’s interest                                        SUITE 1-7B
                                                                       CHARLOTTESVILLE, VA 22901
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTE NUMBER 0520001932 DATED:
       State what the contract or         06/15/2020                     PUNCHOUT2GO, LLC
2.1259 lease is for and the nature                                       3317 BERKMAR DRIVE
       of the debtor’s interest                                          SUITE 1-7B
                                                                         CHARLOTTESVILLE, VA 22901
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER DATA TRANSFER
       State what the contract or         AGREEMENT DATED: 07/29/2024         PURDUE UNIVERSITY
2.1260 lease is for and the nature                                            610 PURDUE MALL
       of the debtor’s interest                                               WEST LAFAYETTE, IN 47907-2040

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         01/22/2020                          PURPLE TIE
2.1261 lease is for and the nature                                            2181 W WINTON AVE
       of the debtor’s interest                                               HAYWARD, CA 94545

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 07/28/2022         Q SQUARED SOLUTIONS LLC
2.1262 lease is for and the nature                                            2400 ELLIS ROAD
       of the debtor’s interest                                               DURHAM, NC 27703

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SCHEDULE 1 DATED: 04/22/2020
       State what the contract or                                             QARAD BV BELGIUM
2.1263 lease is for and the nature                                            CIPALSTRAAT 3
       of the debtor’s interest                                               2440
                                                                              GEEL PAS, 257
           State the term remaining       Undetermined                        BELGIUM

           List the contract number of
           any government contract

                                          MASTER AGREEMENT DATED:
       State what the contract or         11/24/2021                          QARAD EC-REP BV
2.1264 lease is for and the nature                                            PAS 257
       of the debtor’s interest                                               GEEL, 2440
                                                                              BELGIUM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DECLARATION IVD REGARDING
       State what the contract or         BELGIAN LANGUAGE                    QARAD EC-REP BV
2.1265 lease is for and the nature        REQUIREMENTS DATED: 01/31/2022      PAS 257
       of the debtor’s interest                                               GEEL, 2440
                                                                              BELGIUM
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ADDENDUM DATED: 10/16/2023
       State what the contract or                                             QARAD EC-REP BV
2.1266 lease is for and the nature                                            PAS 257
       of the debtor’s interest                                               GEEL, 2440
                                                                              BELGIUM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ANNEX IV DATED: 10/31/2023
       State what the contract or                                             QARAD EC-REP BV PART OF QBD GROUP
2.1267 lease is for and the nature                                            PAS
       of the debtor’s interest                                               257 2440
                                                                              GEEL,
           State the term remaining       Undetermined                        BELGIUM

           List the contract number of
           any government contract

                                          AGREEMENT FOR SERVICES
       State what the contract or         DATED: 12/18/2020                   QARAD UK LTD.
2.1268 lease is for and the nature                                            8 NORTHUMBERLAND AVE
       of the debtor’s interest                                               WESTMINSTER
                                                                              LONDON, WC2N 5BY
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          ANNEX III DATED: 01/04/2024
       State what the contract or                                             QARAD UK LTD.
2.1269 lease is for and the nature                                            8 NORTHUMBERLAND AVE
       of the debtor’s interest                                               WESTMINSTER
                                                                              LONDON, WC2N 5BY
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO AGREEMENT
       State what the contract or         FOR SERVICES AS UK           QARAD UK LTD.
2.1270 lease is for and the nature        RESPONSIBLE PERSON DATED:    8 NORTHUMBERLAND AVE
       of the debtor’s interest           04/12/2022                   WESTMINSTER
                                                                       LONDON, WC2N 5BY
           State the term remaining       Undetermined                 UNITED KINGDOM

           List the contract number of
           any government contract

                                          ANNEX II DATED: 12/23/2021
       State what the contract or                                             QARAD UK LTD.
2.1271 lease is for and the nature                                            8 NORTHUMBERLAND AVE
       of the debtor’s interest                                               WESTMINSTER
                                                                              LONDON, WC2N 5BY
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 05/18/2023                   QPS HOLDINGS, LLC
2.1272 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER DATED: 05/18/2023
       State what the contract or                                             QPS LLC
2.1273 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 06/10/2024
       State what the contract or                                             QPS, LLC
2.1274 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #1 DATED: 05/18/2023
       State what the contract or                                             QPS, LLC
2.1275 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO WORK
       State what the contract or         ORDER NO.4 DATED: 08/23/2024        QPS, LLC
2.1276 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER DATED: 04/15/2024
       State what the contract or                                             QPS, LLC
2.1277 lease is for and the nature                                            DELAWARE TECHNOLOGY PARK
       of the debtor’s interest                                               3 INNOVATION WAY
                                                                              NEWARK, DE 19711
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         08/22/2024                          QUADRANT HEALTH STRATEGIES, INC.
2.1278 lease is for and the nature                                            500 CUMMINGS CENTER
       of the debtor’s interest                                               SUITE 4350
                                                                              BEVERLY, MA 01915
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 02/01/2021
       State what the contract or                                             QUALYS, INC.
2.1279 lease is for and the nature                                            375 SOUTHPOINTE BLVD
       of the debtor’s interest                                               STE 210
                                                                              CANONSBURG, PA 15317-8587
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ENGAGEMENT AGREEMENT DATED:
       State what the contract or         01/26/2023                  QUARLES & BRADY LLP
2.1280 lease is for and the nature                                    BIN 88895
       of the debtor’s interest                                       MILWAUKEE, WI 53288

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO MASTER
       State what the contract or         LABORATORY SERVICES                 QUINTARA DISCOVERY, INC
2.1281 lease is for and the nature        AGREEMENT DATED: 05/10/2024         3825 BAY CENTER PL
       of the debtor’s interest                                               HAYWARD, CA 94545

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #5 TO THE
       State what the contract or         PROFESSIONAL CONSULTING             R&D Q-PHARM CONSULTING, LLC
2.1282 lease is for and the nature        SERVICE AGREEMENT DATED:            4698 COPE CT
       of the debtor’s interest           07/09/2023                          PLEASANTON, CA 94566

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #6 TO THE
       State what the contract or         PROFESSIONAL CONSULTING             R&D Q-PHARM CONSULTING, LLC
2.1283 lease is for and the nature        SERVICE AGREEMENT DATED:            4698 COPE COURT
       of the debtor’s interest           08/24/2023                          PLEASANTON, CA 94566

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER PURCHASE AGREEMENT
       State what the contract or         DATED: 07/13/2021                   R.R. DONNELLEY & SONS COMPANY
2.1284 lease is for and the nature                                            35 WEST WACKER DRIVE
       of the debtor’s interest                                               ATTENTION GENERAL COUNSEL
                                                                              CHICAGO, IL 60601
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER CONSENT FOR
       State what the contract or         RECORDINGS DATED: 11/17/2020        RADCLIFFE / HARVARD UNITVERSITY
2.1285 lease is for and the nature                                            ATTN: PRESIDENT AND FELLOWS OF HARVARD COLLEGE
       of the debtor’s interest                                               PO BOX 4999
                                                                              BOSTON, MA 02212-4999
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          US SERVICE TERMS AND
       State what the contract or         CONDITIONS* DATED: 10/09/2020       RADIATION DETECTION COMPANY
2.1286 lease is for and the nature                                            3527 SNEAD DRIVE
       of the debtor’s interest                                               GEORGETOWN, TX 78626

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AGENCY SERVICES AGREEMENT
       State what the contract or         DATED 07/31/2024                    RAIN AGENCY, INC
2.1287 lease is for and the nature                                            249 NW PARK AVE.
       of the debtor’s interest                                               PORTLAND, OR 97209

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #5 DATED:
       State what the contract or         10/18/2024                          RAIN AGENCY, INC. DBA RAIN THE GROWTH AGENCY
2.1288 lease is for and the nature                                            249 NW PARK AVE.
       of the debtor’s interest                                               PORTLAND, OR 97209

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REINSTATEMENT AND 1ST
       State what the contract or         AMENDMENT TO THE MASTER             RAIN AGENCY, INC. DBA RAIN THE GROWTH AGENCY
2.1289 lease is for and the nature        SERVICES AGREEMENT                  249 NW PARK AVE.
       of the debtor’s interest                                               PORTLAND, OR 97209

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 06/26/2023         RAPID NOVOR, INC.
2.1290 lease is for and the nature                                            137 GLASGOW ST.
       of the debtor’s interest                                               UNIT 450
                                                                              KITCHENER, ON N2G 4X8
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         03/29/2024                          RECIPROCITY, INC.
2.1291 lease is for and the nature                                            548 MARKET STREET
       of the debtor’s interest                                               #73905
                                                                              ATTN SASHA YEE
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94104

           List the contract number of
           any government contract

                                          SAAS LICENSE AGREEMENT DATED:
       State what the contract or         03/29/2021                    RECIPROCITY, INC.
2.1292 lease is for and the nature                                      548 MARKET STREET
       of the debtor’s interest                                         #73905
                                                                        ATTN SASHA YEE
           State the term remaining       Undetermined                  SAN FRANCISCO, CA 94104

           List the contract number of
           any government contract

                                          USER AGREEMENT DATED:
       State what the contract or         09/24/2018                          REDDIT, INC.
2.1293 lease is for and the nature                                            420 TAYLOR ST.
       of the debtor’s interest                                               SAN FRANCISCO, CA 94102

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICES AGREEMENT DATED:
       State what the contract or         10/30/2023                          REDWOOD PACIFIC MANAGEMENT 2.0 LLC
2.1294 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               SUITE 259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         05/03/2023                          REDWOOD PACIFIC MANAGEMENT 2.0 LLC
2.1295 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               SUITE 259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO STATEMENT OF
       State what the contract or         WORK #1 DATED: 01/24/2025    REEVEMARK, LLC
2.1296 lease is for and the nature                                     521 FIFTH AVENUE
       of the debtor’s interest                                        27TH FLOOR
                                                                       NEW YORK, NY 10175
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AGENCY SERVICES AGREEMENT
       State what the contract or         DATED: 06/01/2024                   REEVEMARK, LLC
2.1297 lease is for and the nature                                            521 FIFTH AVENUE
       of the debtor’s interest                                               27TH FLOOR
                                                                              NEW YORK, NY 10175
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 07/09/2024         REGENTS OF THE UNIVERSITY OF CALIFORNIA
2.1298 lease is for and the nature                                            490 ILLINOIS STREET
       of the debtor’s interest                                               5TH FLOOR
                                                                              BOX 1209
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94143

           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           REGULATORY PROFESSIONALS, LLC
2.1299 lease is for and the nature        08/31/2020                          3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO MASTER
       State what the contract or         SERVICES AGREEMENT AND              REGULATORY PROFESSIONALS, LLC
2.1300 lease is for and the nature        ASSIGNMENT DATED: 04/08/2024        3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT DATED: 04/01/2024
       State what the contract or                                             REGULATORY PROFESSIONALS, LLC
2.1301 lease is for and the nature                                            3800 PARAMOUNT PARKWAY
       of the debtor’s interest                                               SUITE 400
                                                                              MORRISVILLE, NC 27560-6949
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #4 TO PROJECT
       State what the contract or         AGREEMENT #1 DATED: 07/23/2021      REGULATORY PROFESSIONALS, LLC
2.1302 lease is for and the nature                                            8000 JARVIS AVENUE
       of the debtor’s interest                                               #100
                                                                              NEWARK, CA 94560
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT 3 AFFILIATE
       State what the contract or         AGREEMENT DATED: 10/19/2020         REISCHLING PRESS INC.
2.1303 lease is for and the nature                                            3325 116TH S. ST.
       of the debtor’s interest                                               TUKWILA, WA 98168

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/18/2024         RETPOSITIVE
2.1304 lease is for and the nature                                            4790 CHAGRIN RIVER RD.
       of the debtor’s interest                                               CHAGRIN FALLS, OH 44022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSCRIPT SERVICES
       State what the contract or         AGREEMENT                           REV
2.1305 lease is for and the nature                                            575 MARKET ST. FLOOR 4 SUITE 1
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         09/14/2022                          REVERE
2.1306 lease is for and the nature                                            28258 NETWORK PLACE
       of the debtor’s interest                                               CHICAGO, IL 60673

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         04/18/2024                          REVVITY HEALTH SCIENCES, INC.
2.1307 lease is for and the nature                                            68 ELM STREET
       of the debtor’s interest                                               HOPKINTON, MA 01748

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/31/2024                          REWIRED TALENT F/S/O WIRTH
2.1308 lease is for and the nature                                            5911 OLD HARDING PIKE
       of the debtor’s interest                                               NASHVILLE, TN 37205

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         07/26/2023                          RGH ENTERPRISES, LLC
2.1309 lease is for and the nature                                            1810 SUMMIT COMMERCE PARK
       of the debtor’s interest                                               TWINSBURG, OH 44087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 09/14/2022         RHEOSENSE, INC
2.1310 lease is for and the nature                                            12667 ALCOSTA BLVD
       of the debtor’s interest                                               SUITE 100
                                                                              SAN RAMON, CA 94583
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 10/03/2022
       State what the contract or                                             RICHARD-ALLAN SCIENTIFIC, LLC
2.1311 lease is for and the nature                                            4481 CAMPUS DRIVE
       of the debtor’s interest                                               KALAMAZOO, MI 49008

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #6 DATED:
       State what the contract or         02/04/2025                          RIGHT SIDE UP, LLC
2.1312 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         04/18/2024                          RIGHT SIDE UP, LLC
2.1313 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #4 DATED:
       State what the contract or         04/18/2024                          RIGHT SIDE UP, LLC
2.1314 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #2 TO STATEMENT OF
       State what the contract or         WORK #3 DATED: 01/01/2025    RIGHT SIDE UP, LLC
2.1315 lease is for and the nature                                     4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                        AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 08/21/2023                   RIGHT SIDE UP, LLC
2.1316 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #5 DATED:
       State what the contract or         01/07/2024                          RIGHT SIDE UP, LLC
2.1317 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO STATEMENT
       State what the contract or         OF WORK #4 DATED: 01/01/2025        RIGHT SIDE UP, LLC
2.1318 lease is for and the nature                                            4521 EAGLE FEATHER DRIVE
       of the debtor’s interest                                               AUSTIN, TX 78735

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO THE MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           RIPOSTE, INC.
2.1319 lease is for and the nature        03/01/2024                          888 SEVENTH AVENUE, 4TH FLOOR
       of the debtor’s interest                                               NEW YORK, NY 10106

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF USE DATED: 08/19/2022
       State what the contract or                                             RIVAL IQ
2.1320 lease is for and the nature                                            3945 FREEDOM CIRCLE
       of the debtor’s interest                                               SUITE 730
                                                                              SANTA CLARA, CA 95054
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS AND CONDITIONS FOR
       State what the contract or         SERVICE AGREEMENT                   RIVERSIDE.FM
2.1321 lease is for and the nature                                            121 HASHMONAIM ST.
       of the debtor’s interest                                               TEL AVIV,
                                                                              ISRAEL
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          RENEWAL ORDER FORM DATED:
       State what the contract or         01/01/2023                          ROCKET LAWYER INCORPORATED
2.1322 lease is for and the nature                                            101 2ND STREET
       of the debtor’s interest                                               4TH FL
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         05/07/2020                          ROKT CORP
2.1323 lease is for and the nature                                            175 VARICK ST. LEVEL 10
       of the debtor’s interest                                               NEW YORK, NY 10014

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT
       State what the contract or                                             ROONAS
2.1324 lease is for and the nature                                            1690 SW 27TH AVE
       of the debtor’s interest                                               SUITE 601
                                                                              MIAMI, FL 33145
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         11/01/2020                          ROOTSTOCK STRATEGIES
2.1325 lease is for and the nature                                            541 35TH STREET
       of the debtor’s interest                                               SACRAMENTO, CA 95816

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT DATED:
       State what the contract or         10/14/2024                          ROSEY SOLUTIONS LLC
2.1326 lease is for and the nature                                            2313 LINDSTROM STREET
       of the debtor’s interest                                               SARASOTA, FL 34237

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER #1 DATED:
       State what the contract or         09/09/2024                          RULES-BASED MEDICINE, INC.
2.1327 lease is for and the nature                                            ATTN KALYN SOWELL
       of the debtor’s interest                                               3300 DUVAL ROAD
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #1 DATED: 02/14/2022
       State what the contract or                                             RULES-BASED MEDICINE, INC.
2.1328 lease is for and the nature                                            ATTN KALYN SOWELL
       of the debtor’s interest                                               3300 DUVAL ROAD
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER DATED: 08/26/2024
       State what the contract or                                             RULES-BASED MEDICINE, INC.
2.1329 lease is for and the nature                                            ATTN KALYN SOWELL
       of the debtor’s interest                                               3300 DUVAL ROAD
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #2 DATED: 12/07/2023
       State what the contract or                                             RULES-BASED MEDICINE, INC.
2.1330 lease is for and the nature                                            ATTN KALYN SOWELL
       of the debtor’s interest                                               3300 DUVAL ROAD
                                                                              AUSTIN, TX 78759
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PLACEMENT AFFILIATION
       State what the contract or         AGREEMENT DATED: 12/18/2019         RUTGERS, THE STATE UNIVERSITY OF NJ - GENETIC
2.1331 lease is for and the nature                                            COUNSELING MASTER’S PROGRAM
       of the debtor’s interest                                               604 ALLISON ROAD
                                                                              PISCATAWAY, NJ 08854
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         11/04/2024                          S&P GLOBAL MARKET INTELLIGENCE LLC
2.1332 lease is for and the nature                                            33356 COLLECTION CENTER DR.
       of the debtor’s interest                                               CHICAGO, IL 60693-0333

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         10/11/2023                          SAGO
2.1333 lease is for and the nature                                            101 WOOD AVENUE SOUTH
       of the debtor’s interest                                               ISELIN, NJ 08830

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM FOR SERVICES
       State what the contract or         DATED: 01/14/2024                   SALESFORCE, INC.
2.1334 lease is for and the nature                                            415 MISSION STREET
       of the debtor’s interest                                               3RD FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT 2 TO MAIN SERVICES
       State what the contract or         AGREEMENT DATED: 05/30/2024         SALESFORCE, INC.
2.1335 lease is for and the nature                                            415 MISSION STREET
       of the debtor’s interest                                               3RD FLOOR
                                                                              SAN FRANCISCO, CA 94105
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTE DATED: 01/08/2023
       State what the contract or                                             SAN FRANCISCO MARRIOTT MARQUIS HOTEL
2.1336 lease is for and the nature                                            ATTN: ANTHONY OH - SALES
       of the debtor’s interest                                               780 MISSION ST.
                                                                              SAN FRANCISCO, CA 94103
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         12/28/2021                          SANOFI US SERVICES INC.
2.1337 lease is for and the nature                                            55 CORPORATE DRIVE
       of the debtor’s interest                                               ATTN GENERAL COUNSEL NORTH AMERICA
                                                                              BRIDGEWATER, NJ 08807
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         08/15/2024                          SANOFI US SERVICES INC.
2.1338 lease is for and the nature                                            55 CORPORATE DRIVE
       of the debtor’s interest                                               ATTN GENERAL COUNSEL NORTH AMERICA
                                                                              BRIDGEWATER, NJ 08807
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INVOICE DATED 01/01/2025
       State what the contract or                                             SANS INSTITUTE
2.1339 lease is for and the nature                                            11200 ROCKVILLE PIKE
       of the debtor’s interest                                               SUITE 200
                                                                              NORTH BETHESDA, MD 20852
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICE QUOTE DATED: 10/29/2019
       State what the contract or                                             SANS INSTITUTE
2.1340 lease is for and the nature                                            11200 ROCKVILLE PIKE
       of the debtor’s interest                                               SUITE 200
                                                                              NORTH BETHESDA, MD 20852
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AFFILIATION AGREEMENT DATED:
       State what the contract or         12/13/2021                          SARAH LAWRENCE COLLEGE
2.1341 lease is for and the nature                                            1 MEAD WAY
       of the debtor’s interest                                               BRONXVILLE, NY 10708

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE AGREEMENT DATED:
       State what the contract or         05/24/2021                          SARTORIUS CORPORATION
2.1342 lease is for and the nature                                            565 JOHNSON AVENUE
       of the debtor’s interest                                               BOHEMIA, NY 11716

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          QUOTE FOR UPGRADE TO SAS
       State what the contract or         SOFTWARE DATED: 02/29/2024          SAS INSTITUTE INC
2.1343 lease is for and the nature                                            100 SAS CAMPUS DR
       of the debtor’s interest                                               CARY, NC 27513

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 11/02/2021                   SAY TECHNOLOGIES LLC
2.1344 lease is for and the nature                                            P.O. BOX 23938
       of the debtor’s interest                                               NEW YORK, NY 10087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
       State what the contract or         10/21/2024                          SCALE STRATEGY OPERATIONS, LLC
2.1345 lease is for and the nature                                            501 MADISON AVE
       of the debtor’s interest                                               10TH FL
                                                                              NEW YORK, NY 10022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT TO THE ENGAGEMENT
       State what the contract or         LETTER DATED: 02/03/2025    SCALE STRATEGY OPERATIONS, LLC
2.1346 lease is for and the nature                                    501 MADISON AVE
       of the debtor’s interest                                       10TH FL
                                                                      NEW YORK, NY 10022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO ENGAGEMENT
       State what the contract or         LETTER DATED: 02/01/2024            SCALE STRATEGY OPERATIONS, LLC
2.1347 lease is for and the nature                                            501 MADISON AVE
       of the debtor’s interest                                               10TH FL
                                                                              NEW YORK, NY 10022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LANDLORD CONSENT TO SUBLEASE
       State what the contract or         DATED: 09/11/2024            SCG GROVE 221, LLC
2.1348 lease is for and the nature                                     C/O SPEAR STREET CAPITAL
       of the debtor’s interest                                        ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                       ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                 SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          OFFICE LEASE ALTERATIONS
       State what the contract or         DATED: 09/25/2019                   SCG GROVE 221, LLC
2.1349 lease is for and the nature                                            C/O SPEAR STREET CAPITAL
       of the debtor’s interest                                               ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                              ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          NOTICE OF LEASE TERM DATES
       State what the contract or         DATED: 07/07/2019                   SCG GROVE 221, LLC
2.1350 lease is for and the nature                                            C/O SPEAR STREET CAPITAL
       of the debtor’s interest                                               ATTN: MR. RAJIV PATEL AND ASSET MANAGER - THE GROVE
                                                                              ONE MARKET PLAZA SPEAR TOWER, SUITE 4125
           State the term remaining       Undetermined                        SAN FRANCISCO, CA 94105

           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 02/22/2022                   SCHELLMAN & COMPANY, LLC
2.1351 lease is for and the nature                                            4010 WEST BOY SCOUT BOULEVARD
       of the debtor’s interest                                               SUITE 600
                                                                              TAMPA, FL 33607
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER CONFIRMATION DATED:
       State what the contract or         05/01/2022                          SCIENCE SUITE INC.
2.1352 lease is for and the nature                                            49 SPADINA AVE
       of the debtor’s interest                                               SUITE 200
                                                                              TORONTO, ON M5V 2J1
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          ORDER FORM/QUOTE DATED:
       State what the contract or         05/01/2021                          SCIENCE SUITE INC. DBA BIORENDER
2.1353 lease is for and the nature                                            49 SPADINA AVE
       of the debtor’s interest                                               SUITE 200
                                                                              TORONTO, ON M5V 2J1
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         07/23/2023                          SEEKOUT, A SERVICE OF ZIPSTORM, INC.
2.1354 lease is for and the nature                                            1110 112TH AVE NE
       of the debtor’s interest                                               SUITE 400
                                                                              BELLEVUE, WA 98004
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
       State what the contract or         DATED: 09/20/2023                   SEONIX PTY LTD
2.1355 lease is for and the nature                                            SUITE
       of the debtor’s interest                                               58 STONE AND CHALK LOT FOURTEEN NORTH TERRACE
                                                                              ADELAIDE, SA, 5000
           State the term remaining       Undetermined                        AUSTRALIA

           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         09/20/2023                          SEONIX PTY LTD
2.1356 lease is for and the nature                                            SUITE
       of the debtor’s interest                                               58 STONE AND CHALK LOT FOURTEEN NORTH TERRACE
                                                                              ADELAIDE, SA, 5000
           State the term remaining       Undetermined                        AUSTRALIA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 07/18/2024                   SEQMATIC LLC
2.1357 lease is for and the nature                                            44846 OSGOOD ROAD
       of the debtor’s interest                                               FREMONT, CA 94539

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         05/01/2020                          SEQUOIA BENEFITS & INSURANCE SERVICES, LLC
2.1358 lease is for and the nature                                            1850 GATEWAY DR STE 600
       of the debtor’s interest                                               SAN MATEO, CA 94404-4064

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER REFERRAL SERVICES
       State what the contract or         AGREEMENT DATED: 05/24/2022         SERIMMUNE INC.
2.1359 lease is for and the nature                                            150 CASTILIAN WAY
       of the debtor’s interest                                               GOLETA, CA 93117

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         01/01/2021                          SH MEDICAL CARE OF CALIFORNIA, PC
2.1360 lease is for and the nature                                            60 MADISON AVE FL 2
       of the debtor’s interest                                               NEW YORK, NY 10010-1600

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         01/01/2021                          SH MEDICAL CARE OF NEW JERSEY, PC
2.1361 lease is for and the nature                                            60 MADISON AVE FL 2
       of the debtor’s interest                                               NEW YORK, NY 10010-1600

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER #15 DATED:
       State what the contract or         03/02/2020                          SHANGHAI CHEMPARTNER CO., LTD.
2.1362 lease is for and the nature                                            NO. 5 BUILDING
       of the debtor’s interest                                               998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          AMENDMENT NO. 2 TO MASTER LAB
       State what the contract or         SERVICES AGREEMENT DATED:     SHANGHAI CHEMPARTNER CO., LTD.
2.1363 lease is for and the nature        01/07/2023                    NO. 5 BUILDING
       of the debtor’s interest                                         998 HALEI ROAD
                                                                        ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                  PUDONG NEW AREA
                                                                        SHANGHAI, 201203
           List the contract number of                                  CHINA
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 01/08/2018         SHANGHAI CHEMPARTNER CO., LTD.
2.1364 lease is for and the nature                                            NO. 5 BUILDING
       of the debtor’s interest                                               998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 01/08/2018         SHANGHAI CHEMPARTNER LIFESCIENCE CO., LTD.
2.1365 lease is for and the nature                                            NO. 5 BUILDING
       of the debtor’s interest                                               998 HALEI ROAD
                                                                              ZHANGLIANG HI-TECH PARK
           State the term remaining       Undetermined                        PUDONG NEW AREA
                                                                              SHANGHAI, 201203
           List the contract number of                                        CHINA
           any government contract

                                          CUSTOMER CARE MAINTENANCE
       State what the contract or         AGREEMENT AND VALUE LEASE           SHARP ELECTRONICS CORPORATION
2.1366 lease is for and the nature        AGREEMENT                           DEPT. LA 21510
       of the debtor’s interest                                               PASADENA, CA 91185-1510

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEASE APPLICATION DATED:
       State what the contract or         03/18/2022                          SHARP ELECTRONICS CORPORATION DBA SHARP BUSINESS
2.1367 lease is for and the nature                                            SYSTEMS
       of the debtor’s interest                                               100 PARAGON DRIVE
                                                                              MONTVALE, NJ 07645
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VALUE LEASE SUPPLEMENT DATED:
       State what the contract or         12/03/2019                    SHARP ELECTRONICS CORPORATION DBA SHARP BUSINESS
2.1368 lease is for and the nature                                      SYSTEMS
       of the debtor’s interest                                         100 PARAGON DRIVE
                                                                        MONTVALE, NJ 07645
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
       State what the contract or         09/09/2024                   SHARSHERET, INC.
2.1369 lease is for and the nature                                     1086 TEANECK ROAD
       of the debtor’s interest                                        SUITE 2G
                                                                       TEANECK, NJ 07666
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENGAGEMENT LETTER DATED:
       State what the contract or         7/15/2015                           SHEPPARD MULLIN RICHTER & HAMPTON LLP
2.1370 lease is for and the nature                                            30 ROCKEFELLER PLAZA
       of the debtor’s interest                                               NEW YORK, NY 10112-0015

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMS OF SERVICE DATED:
       State what the contract or         03/01/2023                          SHOPIFY INC.
2.1371 lease is for and the nature                                            151 O’CONNOR STREET
       of the debtor’s interest                                               GROUND FLOOR
                                                                              OTTAWA, ON K2P 2L8
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          CONFIDENTIAL DOCUMENT
       State what the contract or         DESTRUCTION AGREEMENT DATED: SHRED WORKS, INC.
2.1372 lease is for and the nature        7/24/2019                    455 HIGH ST.
       of the debtor’s interest                                        OAKLAND, CA 94601

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED
       State what the contract or         05/04/2022                          SHUTTERSTOCK, INC
2.1373 lease is for and the nature                                            350 FIFTH AVENUE
       of the debtor’s interest                                               20TH FLOOR
                                                                              NEW YORK, NY 10118
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         06/01/2023                          SHUTTERSTOCK, INC.
2.1374 lease is for and the nature                                            350 FIFTH AVENUE
       of the debtor’s interest                                               20TH FLOOR
                                                                              NEW YORK, NY 10118
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE
       State what the contract or         COLLABORATION AGREEMENT             SICKLE CELL 101
2.1375 lease is for and the nature        DATED: 08/14/2024                   760 NEWHALL DR. #1085
       of the debtor’s interest                                               SAN JOSE, CA 95110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         09/12/2024                          SILICON VALLEY MECHANICAL, INC.
2.1376 lease is for and the nature                                            2115 RINGWOOD AVE.
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
       State what the contract or         03/01/2024                          SILICON VALLEY MECHANICAL, INC.
2.1377 lease is for and the nature                                            2115 RINGWOOD AVE.
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 02/01/2023                   SILICON VALLEY MECHANICAL, INC.
2.1378 lease is for and the nature                                            2115 RINGWOOD AVE.
       of the debtor’s interest                                               SAN JOSE, CA 95131

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 03/15/2021                   SIMPLE BUT NEEDED, INC.
2.1379 lease is for and the nature                                            2425 CHANNING WAY
       of the debtor’s interest                                               BERKELEY, CA 94704

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRIVACY AND SECURITY
       State what the contract or         ADDENDUM DATED 03/15/2021           SIMPLE BUT NEEDED, INC.
2.1380 lease is for and the nature                                            2425 CHANNING WAY
       of the debtor’s interest                                               BERKELEY, CA 94704

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION SERVICES ORDER
       State what the contract or         FORM DATED: 06/30/2020              SIMPLER POSTAGE, INC.
2.1381 lease is for and the nature                                            345 CALIFORNIA ST.
       of the debtor’s interest                                               10TH FLOOR
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
       State what the contract or         DATED: 10/18/2023                   SIMPLER POSTAGE, INC.
2.1382 lease is for and the nature                                            345 CALIFORNIA ST.
       of the debtor’s interest                                               10TH FLOOR
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM FOR SUBSCRIPTION
       State what the contract or         SERVICES DATED: 01/14/2023          SLACK TECHNOLOGIES, LLC
2.1383 lease is for and the nature                                            500 HOWARD STREET
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 06/08/2022                   SMARTSHEET INC
2.1384 lease is for and the nature                                            500 108TH AVE NE
       of the debtor’s interest                                               SUITE 200
                                                                              BELLEVUE, WA 98004
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 05/29/2024                   SMARTSHEET INC
2.1385 lease is for and the nature                                            500 108TH AVE NE
       of the debtor’s interest                                               SUITE 200
                                                                              BELLEVUE, WA 98004
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 06/08/2021                   SMARTSHEET INC
2.1386 lease is for and the nature                                            500 108TH AVE NE
       of the debtor’s interest                                               SUITE 200
                                                                              BELLEVUE, WA 98004
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 10/06/2022                   SMARTSHEET INC
2.1387 lease is for and the nature                                            500 108TH AVE NE
       of the debtor’s interest                                               SUITE 200
                                                                              BELLEVUE, WA 98004
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMS OF SERVICE DATED:
       State what the contract or         09/30/2021                          SNAP INC.
2.1388 lease is for and the nature                                            2772 DONALD DOUGLAS LOOP NORTH
       of the debtor’s interest                                               SANTA MONICA, CA 90405

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AGENCY SERVICES AGREEMENT
       State what the contract or         DATED: 12/01/2023                   SNP COMMUNICATIONS, INC.
2.1389 lease is for and the nature                                            921 FRONT STREET
       of the debtor’s interest                                               SUITE 204
                                                                              SAN FRANCISCO, CA 94111
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         03/08/2020                          SOCIAL CODE LLC
2.1390 lease is for and the nature                                            623 BROADWAY FL 3
       of the debtor’s interest                                               NEW YORK, NY 10012-2748

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 03/29/2024                   SOCRADAR CYBER INTELLIGENCE INC.
2.1391 lease is for and the nature                                            254 CHAPMAN RD
       of the debtor’s interest                                               STE 208
                                                                              NEWARK, DE 19702
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 11/22/2024                   SOLEIL LABS, LLC
2.1392 lease is for and the nature                                            ATTENTION IRIS NGAN
       of the debtor’s interest                                               233 E. GRAND AVE.
                                                                              FL 2
           State the term remaining       Undetermined                        SOUTH SAN FRANCISCO, CA 94080

           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 11/18/2024                   SOLEIL LABS, LLC
2.1393 lease is for and the nature                                            233 E. GRAND AVE.
       of the debtor’s interest                                               FL 2
                                                                              ATTENTION YAO-MING
           State the term remaining       Undetermined                        SOUTH SAN FRANCISCO, CA 94080

           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 11/17/2024                   SOLEIL LABS, LLC
2.1394 lease is for and the nature                                            ATTENTION IRIS NGAN
       of the debtor’s interest                                               233 E. GRAND AVE.
                                                                              FL 2
           State the term remaining       Undetermined                        SOUTH SAN FRANCISCO, CA 94080

           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 03/01/2024                   SOUTH TEXAS ACCELERATED RESEARCH THERAPEUTICS, LLC
2.1395 lease is for and the nature                                            4383 MEDICAL DRIVE
       of the debtor’s interest                                               SUITE 4021
                                                                              SAN ANTONIO, TX 78229
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO CLINICAL TRIAL
       State what the contract or         AGREEMENT DATED: 08/17/2023    SOUTH TEXAS ACCELERATED RESEARCH THERAPEUTICS, LLC
2.1396 lease is for and the nature                                       4383 MEDICAL DRIVE
       of the debtor’s interest                                          SUITE 4021
                                                                         SAN ANTONIO, TX 78229
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 04/05/2021                   SPECIALTY VETPATH
2.1397 lease is for and the nature                                            3450 16TH AVE W
       of the debtor’s interest                                               STE 303
                                                                              SEATTLE, WA 98119
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 08/17/2021         SPECTRUS, LLC.
2.1398 lease is for and the nature                                            100 CUMMINGS CENTER
       of the debtor’s interest                                               SUITE 414G
                                                                              BEVERLY, MA 01915
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #1 TO THE MASTER
       State what the contract or         SERVICES AGREEMENT AND              SPEED MEDIA, INC.
2.1399 lease is for and the nature        STATEMENT OF WORK #1 DATED:         4223 GLENCO AVENUE
       of the debtor’s interest           06/10/2023                          SUITE A225
                                                                              MARINA DEL REY, CA 92092
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 05/12/2023                   SPEED MEDIA, INC.
2.1400 lease is for and the nature                                            4223 GLENCOE AVENUE
       of the debtor’s interest                                               SUITE A225
                                                                              MARINA DEL REY, CA 90292
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO THE SERVICE
       State what the contract or         AGREEMENT DATED: 05/15/2023         SPRING CARE, INC.
2.1401 lease is for and the nature                                            P.O. BOX 23987
       of the debtor’s interest                                               NEW YORK, NY 10087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO THE SERVICES
       State what the contract or         AGREEMENT DATED: 01/01/2023         SPRING CARE, INC.
2.1402 lease is for and the nature                                            P.O. BOX 23987
       of the debtor’s interest                                               NEW YORK, NY 10087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO SERVICES
       State what the contract or         AGREEMENT DATED: 01/24/2022         SPRING CARE, INC.
2.1403 lease is for and the nature                                            P.O. BOX 23987
       of the debtor’s interest                                               NEW YORK, NY 10087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         01/01/2021                          SPRING CARE, INC.
2.1404 lease is for and the nature                                            P.O. BOX 23987
       of the debtor’s interest                                               NEW YORK, NY 10087

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 05/30/2024                   SPROUT SOCIAL, INC.
2.1405 lease is for and the nature                                            DEPT. CH 17275
       of the debtor’s interest                                               PALATINE, IL 60055

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 01/30/2023                   SQUADRA FILMS, LLC
2.1406 lease is for and the nature                                            272 M. STREET SW
       of the debtor’s interest                                               WASHINGTON, DC 20024

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 10/25/2022                   STACKLET, INC.
2.1407 lease is for and the nature                                            3118 WASHINGTON BLVD.
       of the debtor’s interest                                               UNIT 101001
                                                                              ARLINGTON, VA 22201
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PODCAST RELEASE AGREEMENT
       State what the contract or         DATED: 02/01/2023                   STAGE 29 PRODUCTIONS LLC
2.1408 lease is for and the nature                                            137 N LARCHMONT BLVD 705
       of the debtor’s interest                                               LOS ANGELES, CA 90004

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AGREEMENT FOR SERVICES
       State what the contract or         RELATED TO BLOOD COMPONENT          STANFORD BLOOD CENTER, LLC
2.1409 lease is for and the nature        DATED: 04/02/2021                   ATTENTION ADMINISTRATION/CLIENT RELATIONS
       of the debtor’s interest                                               3373 HILLVIEW AVENUE
                                                                              PALO ALTO, CA 94304
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM #1 TO THE MASTER
       State what the contract or         SERVICE AGREEMENT DATED:            STARTEK INC.
2.1410 lease is for and the nature        04/28/2020                          4610 SOUTH ULSTER STREET
       of the debtor’s interest                                               SUITE 150
                                                                              DENVER, CO 80237
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER OF UNDERSTANDING
       State what the contract or         DATED: 11/05/2020                   STEMCELL TECHNOLOGIES INC.
2.1411 lease is for and the nature                                            SUITE 500
       of the debtor’s interest                                               1618 STATION STREET
                                                                              VANCOUVER, BC V6A1B6
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract

                                          LETTER OF UNDERSTANDING
       State what the contract or         DATED: 01/19/2021                   STEMCELL TECHNOLOGIES INC.
2.1412 lease is for and the nature                                            SUITE 500
       of the debtor’s interest                                               1618 STATION STREET
                                                                              VANCOUVER, BC V6A1B6
           State the term remaining       Undetermined                        CANADA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ENGAGEMENT LETTER DATED:
       State what the contract or         2/1/2017                            STERNE KESSLER GOLDSTEIN & FOX P.L.L.C.
2.1413 lease is for and the nature                                            1100 NEW YORK AVER UE NW
       of the debtor’s interest                                               WASHINGTON, DC 20005

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          REFERRAL SERVICES AGREEMENT
       State what the contract or         DATED: 11/18/2024           STICHTING RADBOUD UNIVERSITAIR MEDISCH CENTRUM
2.1414 lease is for and the nature                                    GEERT GROOTEPLEIN 10
       of the debtor’s interest                                       P.O BOX 9101
                                                                      NIJMEGEN, 6500HB
           State the term remaining       Undetermined                NETHERLANDS

           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         06/12/2022                          STIMOLA LITERARY STUDIO, INC.
2.1415 lease is for and the nature                                            11 BRIARWOODLANE/
       of the debtor’s interest                                               PO BOX 1066
                                                                              WEST TISBURY, MA 02575
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         06/18/2023                          STONEBRANCH, INC.
2.1416 lease is for and the nature                                            4550 NORTH POINT PKWY
       of the debtor’s interest                                               ALPHARETTA, GA 30022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
       State what the contract or         DATED: 03/10/2021                   STUDYLOG SYSTEMS, INC.
2.1417 lease is for and the nature                                            101-A HICKEY BLVD.
       of the debtor’s interest                                               #301
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          END-USER AGREEMENT DATED
       State what the contract or         04/15/2022                          SUBROSA INVESTIGATIONS LLC
2.1418 lease is for and the nature                                            3003 NORTH CENTRAL AVENUE
       of the debtor’s interest                                               SUITE 1070
                                                                              PHOENIX, AZ 85012
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STANDARD TRADEOUT AGREEMENT
       State what the contract or         DATED: 08/31/2023           SUMMERDALE PRODUCTIONS, INC.
2.1419 lease is for and the nature                                    77 WEST 66TH STREET
       of the debtor’s interest                                       NEW YORK, NY 10023

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER DATED:
       State what the contract or         10/18/2024                          SUPERLATIVE ENTERPRISE PTY LTD
2.1420 lease is for and the nature                                            LEVEL 11
       of the debtor’s interest                                               2 CORPORATE COURT
                                                                              BUNDALL, 4217
           State the term remaining       Undetermined                        AUSTRALIA

           List the contract number of
           any government contract

                                          ENTERPRISE SUBSCRIPTION
       State what the contract or         AGREEMENT DATED: 10/19/2023         SUPERLATIVE ENTERPRISES PTY LTD
2.1421 lease is for and the nature                                            LEVEL 11
       of the debtor’s interest                                               2 CORPORATE COURT
                                                                              BUNDALL, 4217
           State the term remaining       Undetermined                        AUSTRALIA

           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         09/03/2022                          SUREFOX NORTH AMERICA CORP.
2.1422 lease is for and the nature                                            2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED:8/8/2019                      SUREFOX NORTH AMERICA CORP.
2.1423 lease is for and the nature                                            2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO ADDENDUM
       State what the contract or         NO. 1 TO THE MASTER SERVICES        SUREFOX NORTH AMERICA CORP.
2.1424 lease is for and the nature        AGREEMENT DATED: 11/05/2020         2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED
       State what the contract or         4/1/2023                            SUREFOX NORTH AMERICA CORP.
2.1425 lease is for and the nature                                            2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         04/01/2023                          SUREFOX NORTH AMERICA INC
2.1426 lease is for and the nature                                            2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT #3 TO THE MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           SUREFOX NORTH AMERICA INC
2.1427 lease is for and the nature        09/03/2022                          2443 FILLMORE STREET
       of the debtor’s interest                                               STE 380-7961
                                                                              SAN FRANCISCO, CA 94115
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRESCRIBER VERIFICATION
       State what the contract or         ATTESTATION                         SURESCRIPTS, LLC
2.1428 lease is for and the nature                                            2550 S CLARK ST
       of the debtor’s interest                                               ARLINGTON, VA 22202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ATTESTATION DATED: 08/11/2023
       State what the contract or                                             SURESCRIPTS, LLC
2.1429 lease is for and the nature                                            2550 S CLARK ST
       of the debtor’s interest                                               ARLINGTON, VA 22202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SURESCRIPTS E-PRESCRIBING
       State what the contract or         REQUIREMENTS TESTING                SURESCRIPTS, LLC
2.1430 lease is for and the nature        ATTESTATION DATED: 08/11/2023       2550 S CLARK ST
       of the debtor’s interest                                               ARLINGTON, VA 22202

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PAY EQUITY AGREEMENT DATED:
       State what the contract or         09/01/2020                          SYNDIO SOLUTIONS, INC.
2.1431 lease is for and the nature                                            113 CHERRY ST
       of the debtor’s interest                                               PMB 73849
                                                                              SEATTLE, WA 98104-2205
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 09/01/2020
       State what the contract or                                             SYNDIO SOLUTIONS, INC.
2.1432 lease is for and the nature                                            113 CHERRY ST
       of the debtor’s interest                                               PMB 73849
                                                                              SEATTLE, WA 98104-2205
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER #1 TO WORK
       State what the contract or         ORDER #2 DATED: 08/07/2024          SYNTEREX, INC.
2.1433 lease is for and the nature                                            122 ROSEMARY RD.
       of the debtor’s interest                                               DEDHAM, MA 02026

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER #1 DATED: 09/14/2023
       State what the contract or                                             SYNTEREX, INC.
2.1434 lease is for and the nature                                            122 ROSEMARY RD.
       of the debtor’s interest                                               DEDHAM, MA 02026

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE WORK
       State what the contract or         ORDER #2 DATED: 04/30/2024          SYNTEREX, INC.
2.1435 lease is for and the nature                                            122 ROSEMARY RD.
       of the debtor’s interest                                               DEDHAM, MA 02026

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 08/30/2023                   SYNTEREX, INC.
2.1436 lease is for and the nature                                            122 ROSEMARY RD.
       of the debtor’s interest                                               DEDHAM, MA 02026

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER PRODUCT SUPPLY
       State what the contract or         AGREEMENT DATED: 07/21/2023         SYNTHEGO CORPORATION
2.1437 lease is for and the nature                                            3696 #A HAVEN AVENUE
       of the debtor’s interest                                               REDWOOD CITY, CA 94063

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INFLUENCER AGREEMENT
       State what the contract or                                             TABLE ROCK MANAGEMENT, LLC
2.1438 lease is for and the nature                                            1706 S COAST HIGHWAY
       of the debtor’s interest                                               4TH FLOOR
                                                                              LAGUNA BEACH, CA 92651
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CCPA SERVICE PROVIDER TERMS
       State what the contract or         DATED: 01/01/2020                   TABOOLA
2.1439 lease is for and the nature                                            16 MADISON SQUARE WEST, 7TH FL.
       of the debtor’s interest                                               NEW YORK, NY 10010

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER PRODUCT AND SERVICES
       State what the contract or         AGREEMENT DATED: 01/27/2023         TACONIC BIOSCIENCES A/S
2.1440 lease is for and the nature                                            5 UNIVERSITY PLACE
       of the debtor’s interest                                               RENSSELAER, NY 12144

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER PRODUCT AND SERVICES
       State what the contract or         AGREEMENT DATED: 01/27/2023         TACONIC BIOSCIENCES GMBH
2.1441 lease is for and the nature                                            5 UNIVERSITY PLACE
       of the debtor’s interest                                               RENSSELAER, NY 12144

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT
       State what the contract or                                             TACONIC BIOSCIENCES, INC.
2.1442 lease is for and the nature                                            1 DISCOVERY DRIVE;
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         07/15/2022                          TACONIC BIOSCIENCES, INC.
2.1443 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CRYOPRESERVATION SERVICE
       State what the contract or         AGREEMENT DATED: 08/31/2022         TACONIC BIOSCIENCES, INC.
2.1444 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PRICE ESTIMATE DATED: 04/14/2020
       State what the contract or                                             TACONIC BIOSCIENCES, INC.
2.1445 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER PRODUCT AND SERVICES
       State what the contract or         AGREEMENT DATED: 01/27/2023         TACONIC BIOSCIENCES, INC.
2.1446 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEED OF CONTRACT TRANSFER
       State what the contract or                                             TACONIC BIOSCIENCES, INC.
2.1447 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROJECT CHARTER DATED:
       State what the contract or         12/06/2019                          TACONIC BIOSCIENCES, INC.
2.1448 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         03/27/2022                          TACONIC BIOSCIENCES, INC.
2.1449 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT CHARTER DATED:
       State what the contract or         10/05/2022                          TACONIC BIOSCIENCES, INC.
2.1450 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         07/15/2022                          TACONIC BIOSCIENCES, INC.
2.1451 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT CHARTER DATED:
       State what the contract or         01/14/2020                          TACONIC BIOSCIENCES, INC.
2.1452 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT CHARTER DATED:
       State what the contract or         12/06/2019                          TACONIC BIOSCIENCES, INC.
2.1453 lease is for and the nature                                            1 DISCOVERY DRIVE
       of the debtor’s interest                                               SUITE 304
                                                                              RENSSELAER, NY 12144
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER LETTER
       State what the contract or                                             TACONIC BIOSCIENCES, INC.
2.1454 lease is for and the nature                                            5 UNIVERSITY PLACE
       of the debtor’s interest                                               RENSSELAER, NY 12144

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK #1 DATED:
       State what the contract or         03/21/2022 PER MASTER SERVICES      TAKEDA PHARMACEUTICALS U.S.A. INC
2.1455 lease is for and the nature        AGREEMENT DATED: 2/25/2021          95 HAYDEN AVENUE
       of the debtor’s interest                                               LEXINGTON, MA 02421

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 02/25/2021                   TAKEDA PHARMACEUTICALS U.S.A., INC.
2.1456 lease is for and the nature                                            95 HAYDEN AVENUE
       of the debtor’s interest                                               LEXINGTON, MA 02421

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PAYMENT TERMS AGREEMENT
       State what the contract or         DATED: 09/20/2021                   TANGO CARD, INC.
2.1457 lease is for and the nature                                            4700 42ND AVE. SW
       of the debtor’s interest                                               SUITE 430A
                                                                              SEATTLE, WA 98116
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ENTERPRISE TERMS OF SERVICE
       State what the contract or         AGREEMENT DATED: 05/10/2017         TANGO CARD, INC.
2.1458 lease is for and the nature                                            4700 42ND AVE. SW
       of the debtor’s interest                                               SUITE 430A
                                                                              SEATTLE, WA 98116
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 05/26/2023                   TATARI, INC.
2.1459 lease is for and the nature                                            100 BUSH STREET
       of the debtor’s interest                                               SUITE 950
                                                                              SAN FRANCISCO, CA 94104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE MASTER
       State what the contract or         SERVICE AGREEMENT DATED:            TCWGLOBAL
2.1460 lease is for and the nature        08/16/2022                          3545 AERO COURT
       of the debtor’s interest                                               SAN DIEGO, CA 92123

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SAAS SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 10/24/2023                   TEAMOHANA, INC.
2.1461 lease is for and the nature                                            2067 GOLDEN GATE AVENUE
       of the debtor’s interest                                               SAN FRANCISCO, CA 94115

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROJECT SERVICES AGREEMENT
       State what the contract or         DATED: 07/16/2024                   TECHNOLOGY CONCEPTS & DESIGN, INC.
2.1462 lease is for and the nature                                            4508 WEYBRIDGE LANE
       of the debtor’s interest                                               ATTENTION LEGAL
                                                                              GREENSBORO, NC 27407
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO STAFFING
       State what the contract or         SERVICES AGREEMENT DATED:           TEKSYSTEMS
2.1463 lease is for and the nature        03/03/2022                          P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384-8568

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         06/11/2024                          TEKSYSTEMS
2.1464 lease is for and the nature                                            P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384-8568

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         11/09/2021                          TEKSYSTEMS
2.1465 lease is for and the nature                                            P.O. BOX 198568
       of the debtor’s interest                                               ATLANTA, GA 30384-8568

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         10/12/2020                          TEKSYSTEMS GLOBAL SERVICES, LLC
2.1466 lease is for and the nature                                            ATTN REGIONAL CONTROLLER AND SENIOR MANAGER OF
       of the debtor’s interest                                               OPERATIONS
                                                                              7437 RACE ROAD
           State the term remaining       Undetermined                        HANOVER, MD 21076

           List the contract number of
           any government contract

                                          CHANGE ORDER #04 DATED:
       State what the contract or         03/22/2024                          TELUS INTERNATIONAL (U.S.) CORP.
2.1467 lease is for and the nature                                            2251 SOUTH DECATUR BOULEVARD
       of the debtor’s interest                                               LAS VEGAS, NV 89102

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COVID-19 WORK FROM HOME
       State what the contract or         AGREEMENT DATED: 05/25/2020         TELUS INTERNATIONAL (U.S.) CORP.
2.1468 lease is for and the nature                                            2251 SOUTH DECATUR BOULEVARD
       of the debtor’s interest                                               LAS VEGAS, NV 89102

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CHANGE ORDER
       State what the contract or                                             TELUS INTERNATIONAL (U.S.) CORP.
2.1469 lease is for and the nature                                            2251 SOUTH DECATUR BOULEVARD
       of the debtor’s interest                                               LAS VEGAS, NV 89102

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDED AND RESTATED
       State what the contract or         STATEMENT OF WORK DATED:            TELUS INTERNATIONAL SERVICES LIMITED D/B/A TELUS
2.1470 lease is for and the nature        05/25/2018 PER MASTER SERVICES      INTERNATIONAL
       of the debtor’s interest           AGREEMENT DATED: 5/25/2018          VOXPRO HOUSE POINT VILLAGE
                                                                              EAST WALL ROAD
           State the term remaining       Undetermined                        DUBLIN 1,
                                                                              IRELAND
           List the contract number of
           any government contract

                                          CHANGE ORDER #3 DATED:
       State what the contract or         12/05/2022                          TELUS INTERNATIONAL SERVICES LIMITED D/B/A TELUS
2.1471 lease is for and the nature                                            INTERNATIONAL
       of the debtor’s interest                                               VOXPRO HOUSE POINT VILLAGE
                                                                              EAST WALL ROAD
           State the term remaining       Undetermined                        DUBLIN 1,
                                                                              IRELAND
           List the contract number of
           any government contract

                                          SOW #2 DATED: 05/24/2024
       State what the contract or                                             TEN BRIDGE COMMUNICATIONS INC.
2.1472 lease is for and the nature                                            ONE BEACON STREET
       of the debtor’s interest                                               SUITE 08200
                                                                              BOSTON, MA 02108-3107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           TESS INVESTMENT COMPANY LLC
2.1473 lease is for and the nature        11/18/2024                          522 W RIVERSIDE AVE
       of the debtor’s interest                                               STE N
                                                                              SPOKANE, WA 99201-0580
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NON-EXCLUSIVE TECHNOLOGY
       State what the contract or         LICENSE AGREEMENT DATED:            THE BOARD OF REGENTS OF THE UNIVERSITY OF TEXAS
2.1474 lease is for and the nature        3/3/2022                            SYSTEM
       of the debtor’s interest                                               10 WEST 7TH STREET
                                                                              AUSTIN, TX 78701
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 04/06/2023                   THE BOARD OF TRUSTEES OF THE LELAND STANFORD JUNIOR
2.1475 lease is for and the nature                                            UNIVERSIT
       of the debtor’s interest                                               CLINICAL RESEARCH ADMINISTRATION
                                                                              455 BROADWAY STREET DISCOVERY HALL
           State the term remaining       Undetermined                        2ND FLOOR
                                                                              MC5469
           List the contract number of                                        REDWOOD CITY, CA 94063
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PARTNERSHIP AND SERVICES
       State what the contract or         AGREEMENT DATED: 09/26/2024         THE BRAND ARCHITECTS, LLC
2.1476 lease is for and the nature                                            12115 CHIP SHOT LANE
       of the debtor’s interest                                               UPPER MARLBORO, MD 20772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED:
       State what the contract or         03/29/2024                          THE BRIGHAM AND WOMEN’S HOSPITAL, INC.
2.1477 lease is for and the nature                                            75 FRANCIS STREET
       of the debtor’s interest                                               BOSTON, MA 02115

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO DATA
       State what the contract or         TRANSFER AGREEMENT DATED:           THE BRIGHAM AND WOMEN’S HOSPITAL, INC.
2.1478 lease is for and the nature        02/28/2024                          75 FRANCIS STREET
       of the debtor’s interest                                               BOSTON, MA 02115

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #9 TO ACADEMIC
       State what the contract or         RESEARCH AGREEMENT DATED:           THE BROAD INSTITUTE, INC.
2.1479 lease is for and the nature        12/30/2019                          415 MAIN STREET
       of the debtor’s interest                                               CAMBRIDGE, MA 02142

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO.7 TO ACADEMIC
       State what the contract or         RESEARCH AGREEMENT DATED:           THE BROAD INSTITUTE, INC.
2.1480 lease is for and the nature        12/30/2019                          415 MAIN STREET
       of the debtor’s interest                                               CAMBRIDGE, MA 02142

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
       State what the contract or         DATED: 10/1/2020                    THE CHANCELLOR, MASTERS AND SCHOLARS OF THE
2.1481 lease is for and the nature                                            UNIVERSITY OF CAMBRIDGE
       of the debtor’s interest                                               UNIVERSITY OF CAMBRIDGE GREENWICH HOUSE
                                                                              MADINGLEY ROAD
           State the term remaining       Undetermined                        CAMBRIDGE, CB3 0TX
                                                                              UNITED KINGDOM
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT FOR USE OF
       State what the contract or         COPYRIGHTED WORK DATED:      THE CLEVELAND CLINIC FOUNDATION
2.1482 lease is for and the nature        09/26/2008                   9500 EUCLID AVENUE
       of the debtor’s interest                                        CLEVELAND, OH 44195

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/14/2024         THE EFGR REGISTERS
2.1483 lease is for and the nature                                            1740 CLAVINIA AVENUE
       of the debtor’s interest                                               DEERFIELD, IL 60015

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COMPASSIONATE USE AGREEMENT
       State what the contract or                                             THE FEINSTEIN INSTITUTES FOR MEDICAL RESEARCH
2.1484 lease is for and the nature                                            350 COMMUNITY DRIVE
       of the debtor’s interest                                               MANHASSET, NY 11030

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 09/30/2020         THE GENERAL HOSPITAL CORPORATION, D.B.A.
2.1485 lease is for and the nature                                            MASSACHUSETTS GENERAL HOSPITAL
       of the debtor’s interest                                               55 FRUIT ST.
                                                                              BOSTON, MA 02114
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #3 TO THE RESEARCH
       State what the contract or         COLLABORATION AGREEMENT      THE GENERAL HOSPITAL CORPORATION, D.B.A.
2.1486 lease is for and the nature        DATED: 12/16/2022            MASSACHUSETTS GENERAL HOSPITAL
       of the debtor’s interest                                        55 FRUIT ST.
                                                                       BOSTON, MA 02114
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         02/09/2023                          THE HENRY DALLAS
2.1487 lease is for and the nature                                            2301 AKARD STREET, SUITE 250
       of the debtor’s interest                                               DALLAS, TX 75201

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 03/24/2023                   THE HOSPITAL FOR SICK CHILDREN
2.1488 lease is for and the nature                                            555 UNIVERSITY AVENUE
       of the debtor’s interest                                               TORONTO, ON M5G 1X8
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RATING SCALE LICENSE
       State what the contract or         AGREEMENT DATED: 04/01/2024         THE INTERNATIONAL PARKINSON AND MOVEMENT DISORDER
2.1489 lease is for and the nature                                            SOCIETY, INC.
       of the debtor’s interest                                               555 E WELLS ST.
                                                                              SUITE 1100
           State the term remaining       Undetermined                        MILWAUKEE, WI 53202

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 09/20/2021         THE JACKSON LABORATORY
2.1490 lease is for and the nature                                            600 MAIN STREET
       of the debtor’s interest                                               BAR HARBOR, ME 04609

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER LETTER DATED:
       State what the contract or         10/01/2023                          THE JACKSON LABORATORY
2.1491 lease is for and the nature                                            600 MAIN STREET
       of the debtor’s interest                                               BAR HARBOR, ME 04609

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEAP LICENSE AGREEMENT DATED:
       State what the contract or         10/27/2022                    THE JACKSON LABORATORY
2.1492 lease is for and the nature                                      600 MAIN STREET
       of the debtor’s interest                                         BAR HARBOR, ME 04609

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPEAKER RELEASE FORM DATED:
       State what the contract or         02/05/2020                          THE MAKERS CONFERENCE
2.1493 lease is for and the nature                                            MAKERS OF YAHOO INC.
       of the debtor’s interest                                               770 BROADWAY
                                                                              NEW YORK, NY 10003
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT LETTER DATED:
       State what the contract or         08/09/2021                          THE MICHAEL J. FOX FOUNDATION FOR PARKINSON’S
2.1494 lease is for and the nature                                            RESEARCH
       of the debtor’s interest                                               P.O. BOX 4777
                                                                              NEW YORK, NY 10163-4777
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 5 DATED:
       State what the contract or         09/16/2024                          THE MICHAEL J. FOX FOUNDATION FOR PARKINSON’S
2.1495 lease is for and the nature                                            RESEARCH
       of the debtor’s interest                                               P.O. BOX 4777
                                                                              NEW YORK, NY 10163-4777
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT LETTER DATED:
       State what the contract or         11/21/2022                          THE MICHAEL J. FOX FOUNDATION FOR PARKINSON’S
2.1496 lease is for and the nature                                            RESEARCH
       of the debtor’s interest                                               P.O. BOX 4777
                                                                              NEW YORK, NY 10163-4777
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 5 DATED:
       State what the contract or         09/16/2024                          THE MICHAEL J. FOX FOUNDATION FOR PARKINSON’S
2.1497 lease is for and the nature                                            RESEARCH
       of the debtor’s interest                                               P.O. BOX 4777
                                                                              NEW YORK, NY 10163-4777
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO THE
       State what the contract or         MATERIAL TRANSFER AGREEMENT         THE NEWCASTLE UNIVERSITY
2.1498 lease is for and the nature        DATED 03/15/2021                    UNIVERSITY OF NEWCASTLE UPON TYNE
       of the debtor’s interest                                               NEWCASTLE UPON TYNE, NE1 7RU
                                                                              UNITED KINGDOM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPECIAL EVENT AGREEMENT
       State what the contract or         DATED: 05/24/2022                   THE OFFICE
2.1499 lease is for and the nature                                            1748 EL CAMINO REAL
       of the debtor’s interest                                               SAN CARLOS, CA 94070

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SPONSORED RESEARCH
       State what the contract or         AGREEMENT DATED: 05/17/2023         THE OHIO STATE UNIVERSITY
2.1500 lease is for and the nature                                            OFFICE OF SPONSORED PROGRAM
       of the debtor’s interest                                               1960 KENNY ROAD
                                                                              ATTN DIRECTOR BUSINESS AND INDUSTRY CONTRACTS
           State the term remaining       Undetermined                        COLUMBUS, OH 43210

           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
       State what the contract or         DATED: 09/28/2022                   THE OHIO STATE UNIVERSITY
2.1501 lease is for and the nature                                            1960 KENNY ROAD
       of the debtor’s interest                                               COLUMBUS, OH 43210

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          WORK ORDER NO. 7 DATED:
       State what the contract or         06/17/2024                          THE PHILLIPS GROUP ONCOLOGY COMMUNICATIONS, INC
2.1502 lease is for and the nature                                            300 GREAT OAKS BLVD, SUITE 300-047
       of the debtor’s interest                                               ALBANY, NY 12203

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #3 DATED:
       State what the contract or         09/14/2022                          THE R GROUP PUBLIC RELATIONS, INC.
2.1503 lease is for and the nature                                            200 E RANDOLPH ST STE 6300
       of the debtor’s interest                                               CHICAGO, IL 60601-6705

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SELF-SERVICE ADVERTISING
       State what the contract or         AGREEMENT DATED: 01/19/2018         THE REDDIT, INC.
2.1504 lease is for and the nature                                            303 2ND STREET, SOUTH TOWER, 5TH FLOOR
       of the debtor’s interest                                               SAN FRANCISCO, CA 94107

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES AGREEMENT DATED:
       State what the contract or         11/23/2022                          THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
2.1505 lease is for and the nature                                            9500 GILMAN DR MC 0914
       of the debtor’s interest                                               LA JOLLA, CA 92093-0914

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          UNIVERSITY SERVICES
       State what the contract or         AGREEMENT DATED: 05/17/2023         THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
2.1506 lease is for and the nature                                            VICTORIA CHEGE BUSINESS & REVENUE CONTRACTS
       of the debtor’s interest                                               UNIVERSITY OF CALIFORNIA DAVIS
                                                                              ONE SHIELDS AVENUE
           State the term remaining       Undetermined                        DAVIS, CA 95616

           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO AFFILIATION
       State what the contract or         AGREEMENT DATED: 10/01/2023    THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
2.1507 lease is for and the nature                                       UC DAVIS INNOVATION ACCESS
       of the debtor’s interest                                          1850 RESEARCH PARK DRIVE
                                                                         DAVIS, CA 95618
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
       State what the contract or         DATED: 04/06/2020                   THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
2.1508 lease is for and the nature                                            UC DAVIS INNOVATION ACCESS
       of the debtor’s interest                                               1850 RESEARCH PARK DRIVE
                                                                              DAVIS, CA 95618
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT
       State what the contract or                                             THE RESEARCH GROUP
2.1509 lease is for and the nature                                            544 SW 3RD ST
       of the debtor’s interest                                               CORVALLIS, OR 97333

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA PROCESSING ADDENDUM
       State what the contract or         DATED: 01/10/2022                   THE ROCKET SCIENCE GROUP LLC D/B/A MAILCHIMP
2.1510 lease is for and the nature                                            675 PONCE DE LEON AVE NE STE 5000
       of the debtor’s interest                                               ATLANTA, GA 30308-2172

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICES AGREEMENT DATED:
       State what the contract or         08/26/2022                          THE SEO DEPARTMENT
2.1511 lease is for and the nature                                            1587 BRADFORD TRACE DR.
       of the debtor’s interest                                               ALLEN, TX 75002

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 09/25/2024         THE SIR MORTIMER B. DAVIS JEWISH GENERAL HOSPITAL
2.1512 lease is for and the nature                                            3755 CÔTE STE-CATHERINE ROAD
       of the debtor’s interest                                               MONTREAL, QC H3T 1E2
                                                                              CANADA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         03/31/2023                          THE SPECIALIST WORKS LIMITED
2.1513 lease is for and the nature                                            4 ABBEY WOOD ROAD
       of the debtor’s interest                                               KINGS HILL
                                                                              WEST MAILING KENT, ME194AB
           State the term remaining       Undetermined                        UNITED KINGDOM

           List the contract number of
           any government contract

                                          COPYRIGHT LICENSE AGREEMENT
       State what the contract or         FOR RESEARCH DATED: 06/08/2017      THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
2.1514 lease is for and the nature                                            PENN CENTER FOR INNOVATION UNIVERSITY OF
       of the debtor’s interest                                               PENNSYLVANIA
                                                                              3160 CHESTNUT STREET
           State the term remaining       Undetermined                        SUITE 200
                                                                              PHILADELPHIA, PA 19104-6283
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 01/12/2025                   THE UNION LLC
2.1515 lease is for and the nature                                            828 RALPH MCGILL BLVD NE W4
       of the debtor’s interest                                               ATLANTA, GA 30306

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 05/19/2023                   THE UNIVERSITY OF CHICAGO
2.1516 lease is for and the nature                                            801 SOUTH ELLIS AVENUE
       of the debtor’s interest                                               CHICAGO, IL 60637

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COMPASSIONATE USE AGREEMENT
       State what the contract or         DATED: 12/09/2024           THE UNIVERSITY OF TEXAS M. D. ANDERSON CANCER CENTER
2.1517 lease is for and the nature                                    ATTN CHIEF LEGAL OFFICER
       of the debtor’s interest                                       7007 BERTNER AVE 11MC.331 LEGAL SERVICES
                                                                      UNIT 1674
           State the term remaining       Undetermined                HOUSTON, TX 77030

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 05/19/2022                   THE UNIVERSITY OF TEXAS M. D. ANDERSON CANCER CENTER
2.1518 lease is for and the nature                                            ATTENTION ASSOCIATE VP RESEARCH ADMINISTRATION
       of the debtor’s interest                                               1515 HOLCOMBE BOULEVARD
                                                                              UNIT 1676
           State the term remaining       Undetermined                        HOUSTON, TX 77030

           List the contract number of
           any government contract

                                          COMPASSIONATE USE AGREEMENT
       State what the contract or         DATED: 12/09/2024           THE UNIVERSITY OF TEXAS M. D. ANDERSON CANCER CENTER
2.1519 lease is for and the nature                                    1515 HOLCOMBE BLVD
       of the debtor’s interest                                       HOUSTON, TX 77030

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NONEXCLUSIVE LICENSE
       State what the contract or         AGREEMENT DATED 07/08/2021          THE UNIVERSITY OF TEXAS M. D. ANDERSON CANCER CENTER
2.1520 lease is for and the nature                                            7007 BERTNER AVE
       of the debtor’s interest                                               HOUSTON, TX 77030

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED:
       State what the contract or         06/06/2024                          THE UNIVERSITY OF TEXAS M.D. ANDERSON CANCER CENTER
2.1521 lease is for and the nature                                            STRATEGIC INDUSTRY VENTURES/OFFICE OF TECHNOLOGY
       of the debtor’s interest                                               COMMERCIALIZATION
                                                                              UNIT 169
           State the term remaining       Undetermined                        P.O. BOX 301407
                                                                              ATTN ANDREW
           List the contract number of                                        DENNIS, MD 77230-1407
           any government contract

                                          SERVICE ORDER DATED: 04/01/2022
       State what the contract or                                             THERAPEUTIC RESEARCH CENTER
2.1522 lease is for and the nature                                            TOM EGGER
       of the debtor’s interest                                               10100 TRINITY PARKWAY
                                                                              SUITE 115
           State the term remaining       Undetermined                        STOCKTON, CA 95219

           List the contract number of
           any government contract

                                          SALES QUOTATION DATED:
       State what the contract or         01/17/2019                          THERMO ELECTRON NORTH AMERICA LLC
2.1523 lease is for and the nature                                            5225 VERONA ROAD
       of the debtor’s interest                                               MADISON, WI 53711

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUALITY AGREEMENT
       State what the contract or                                             THERMOFISHER
2.1524 lease is for and the nature                                            THERMOFISHER
       of the debtor’s interest                                               14665 ROTHGEB DRIVE
                                                                              ROCKVILLE, MD 20850
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SOFTWARE SERVICE AGREEMENT
       State what the contract or                                             THINKST APPLIED RESEARCH (PTY) LTD
2.1525 lease is for and the nature                                            UNIT L6 5 HOWE ST
       of the debtor’s interest                                               CAPE TOWN, WESTERN CAPE, 7925
                                                                              SOUTH AFRICA
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VOICE-OVER LICENSE AND
       State what the contract or         RELEASE AGREEMENT DATED:            THIS IS BIEN, LLC
2.1526 lease is for and the nature        04/14/2023                          531 S MARIA AVENUE
       of the debtor’s interest                                               REDONDO BEACH, CA 90277

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TENANT ESTOPPEL CERTIFICATE
       State what the contract or         DATED: 12/12/2019                   THRIVENT FINANCIAL FOR LUTHERANS
2.1527 lease is for and the nature                                            625 FOURTH AVENUE SOUTH
       of the debtor’s interest                                               MINNEAPOLIS, MN 55415

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVERTISING PURCHASE
       State what the contract or         AGREEMENT                           TIKTOK
2.1528 lease is for and the nature                                            5800 BRISTOL PARKWAY
       of the debtor’s interest                                               SUITE 100
                                                                              CULVER CITY, CA 90230
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AUCTION ADVERTISING
       State what the contract or         AGREEMENT DATED: 08/30/2021         TIKTOK INC.
2.1529 lease is for and the nature                                            5800 BRISTOL PARKWAY
       of the debtor’s interest                                               SUITE 100
                                                                              CULVER CITY, CA 90230
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ON-LINE TERMS, PRIVACY POLICY
       State what the contract or         AND DATA TERMS DATED: 09/06/2021 TIKTOK INC.
2.1530 lease is for and the nature                                         5800 BRISTOL PARKWAY
       of the debtor’s interest                                            SUITE 100
                                                                           CULVER CITY, CA 90230
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           TOXALLIANCE LLC
2.1531 lease is for and the nature        07/27/2022                          873 E BALTIMORE PIKE
       of the debtor’s interest                                               -1021
                                                                              KENNETT SQUARE, PA 19348
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1 TO THE
       State what the contract or         CONSULTING AGREEMENT DATED:         TOXALLIANCE LLC
2.1532 lease is for and the nature        12/13/2023                          873 E BALTIMORE PIKE
       of the debtor’s interest                                               -1021
                                                                              KENNETT SQUARE, PA 19348
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT # 3
       State what the contract or         TO STATEMENT OF WORK #2             TOXSTRATEGIES, INC.
2.1533 lease is for and the nature        DATED: 05/05/2023                   23501 CINCO RANCH BVLD.
       of the debtor’s interest                                               SUITE B226
                                                                              KATY, TX 77494
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO WORK ORDER
       State what the contract or         #3                                  TOXSTRATEGIES, INC.
2.1534 lease is for and the nature         DATED: 07/15/2022                  23501 CINCO RANCH BLVD
       of the debtor’s interest                                               SUITE B226
                                                                              KATY, TX 77494
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO STATEMENT OF
       State what the contract or         WORK #3 DATED: 05/05/2023    TOXSTRATEGIES, INC.
2.1535 lease is for and the nature                                     PO BOX 192
       of the debtor’s interest                                        KENNETT SQUARE
                                                                       PHILADELPHIA, PA 19348
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 3 TO CONSULTING
       State what the contract or         AGREEMENT DATED: 05/05/2023   TOXSTRATEGIES, INC.
2.1536 lease is for and the nature                                      23501 CINCO RANCH BLVD
       of the debtor’s interest                                         SUITE B226
                                                                        KATY, TX 77494
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE SERVICE AGREEMENT
       State what the contract or         DATED: 06/02/2023                   TRADECENTRIC, LLC
2.1537 lease is for and the nature                                            PO BOX 671164
       of the debtor’s interest                                               DALLAS, TX 75267

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE SERVICE AGREEMENT
       State what the contract or         DATED: 06/12/2024                   TRADECENTRIC, LLC
2.1538 lease is for and the nature                                            PO BOX 671164
       of the debtor’s interest                                               DALLAS, TX 75267

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 08/15/2024         TRANSPHARMATION, LTD.
2.1539 lease is for and the nature                                            THE LONDON BIOSCIENCE INNOVATION CENTRE
       of the debtor’s interest                                               2 ROYAL COLLEGE STREET
                                                                              LONDON
           State the term remaining       Undetermined                        ENGLAND, NW1 0NH
                                                                              UNITED KINGDOM
           List the contract number of
           any government contract

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 09/25/2024                   TREX BIO, INC.
2.1540 lease is for and the nature                                            681 GATEWAY BLVD
       of the debtor’s interest                                               4TH FLOOR.
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COLLABORATION AGREEMENT
       State what the contract or         DATED: 04/23/2018                   TRIBECA ENTERPRISES, LLC
2.1541 lease is for and the nature                                            375 GREENWICH STREET
       of the debtor’s interest                                               ATTN SANDY OTIEAREN
                                                                              NEW YORK, NY 10013
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSERTION ORDER/MEDIA
       State what the contract or         AUTHORIZATION DATED: 06/07/2022 TRIBECA ENTERPRISES, LLC
2.1542 lease is for and the nature                                        375 GREENWICH STREET
       of the debtor’s interest                                           ATTN SANDY OTIEAREN
                                                                          NEW YORK, NY 10013
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/18/2024         TROPER WOJCICKI FOUNDATION
2.1543 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/14/2024         TROPER WOJCICKI FOUNDATION
2.1544 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH SERVICES AGREEMENT
       State what the contract or         DATED: 12/22/2023           TROPER WOJCICKI FOUNDATION
2.1545 lease is for and the nature                                    171 MAIN STREET
       of the debtor’s interest                                       #259
                                                                      LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/27/2024         TROPER WOJCICKI FOUNDATION
2.1546 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/14/2024         TROPER WOJCICKI FOUNDATION
2.1547 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/11/2024         TROPER WOJCICKI FOUNDATION
2.1548 lease is for and the nature                                            171 MAIN ST. #259
       of the debtor’s interest                                               LOS ALTOS, CA 94022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/27/2024         TROPER WOJCICKI FOUNDATION
2.1549 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO RESEARCH
       State what the contract or         SERVICES AGREEMENT DATED:           TROPER WOJCICKI FOUNDATION
2.1550 lease is for and the nature        05/31/2024                          171 MAIN STREET
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/18/2024         TROPER WOJCICKI FOUNDATION
2.1551 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         05/04/2024                          TROPER WOJCICKI FOUNDATION
2.1552 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ADVISOR AGREEMENT DATED:
       State what the contract or         04/03/2024                          TROPER WOJCICKI FOUNDATION
2.1553 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/21/2024         TROPER WOJCICKI FOUNDATION
2.1554 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         10/11/2024                          TROPER WOJCICKI FOUNDATION
2.1555 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/14/2024         TROPER WOJCICKI FOUNDATION
2.1556 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/26/2024         TROPER WOJCICKI FOUNDATION
2.1557 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 09/17/2024         TROPER WOJCICKI FOUNDATION
2.1558 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/21/2024         TROPER WOJCICKI FOUNDATION
2.1559 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 08/07/2024         TROPER WOJCICKI FOUNDATION
2.1560 lease is for and the nature                                            171 MAIN ST. #259
       of the debtor’s interest                                               LOS ALTOS, CA 94022

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         04/05/2024                          TROPER WOJCICKI FOUNDATION
2.1561 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/20/2024         TROPER WOJCICKI FOUNDATION
2.1562 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED:
       State what the contract or         10/11/2024                          TROPER WOJCICKI FOUNDATION
2.1563 lease is for and the nature                                            171 MAIN STREET
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/17/2024         TROPER WOJCICKI FOUNDATION
2.1564 lease is for and the nature                                            208 SORRENTO LN
       of the debtor’s interest                                               LEXINGTON, KY 40515

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADVISOR AGREEMENT DATED
       State what the contract or         03/04/2024                          TROPER WOJCICKI FOUNDATION
2.1565 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 06/26/2024         TROPER WOJCICKI FOUNDATION
2.1566 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/11/2024         TROPER WOJCICKI FOUNDATION
2.1567 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 07/03/2024         TROPER WOJCICKI FOUNDATION
2.1568 lease is for and the nature                                            171 MAIN ST.
       of the debtor’s interest                                               #259
                                                                              LOS ALTOS, CA 94022
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRUSTARC PRIVACY SOLUTIONS
       State what the contract or         ORDER                               TRUSTARC INC
2.1569 lease is for and the nature                                            PO BOX 92005
       of the debtor’s interest                                               LAS VEGAS, NV 89193

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          COMPANY CASE STUDY RELEASE
       State what the contract or         DATED: 02/12/2020                   TRUSTEES OF THE LELAND STANFORD JUNIOR UNIVERSITY
2.1570 lease is for and the nature                                            3145 PORTER DRIVE
       of the debtor’s interest                                               PALO ALTO, CA 94304

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 11/01/2024                   TRUSTPILOT INC
2.1571 lease is for and the nature                                            50 WEST 23RD STREET
       of the debtor’s interest                                               SUITE 1000
                                                                              NEW YORK, NY 10010
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SUBSCRIPTION AGREEMENT
       State what the contract or         DATED: 09/24/2024                   TRUSTPILOT INC
2.1572 lease is for and the nature                                            TRUSTPILOT INC.
       of the debtor’s interest                                               50 WEST 23RD STREET
                                                                              SUITE 1000
           State the term remaining       Undetermined                        NEW YORK, NY 10010

           List the contract number of
           any government contract

                                          TWILIO PLATFORM AGREEMENT
       State what the contract or         DATED: 07/30/2024                   TWILIO, INC.
2.1573 lease is for and the nature                                            101 SPEAR STREET, 5TH FLOOR
       of the debtor’s interest                                               SAN FRANCISCO, CA 94105

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SUBORDINATION,
       State what the contract or         NONDISTURBANCE AND          U.S. BANK NATIONAL ASSOCIATION
2.1574 lease is for and the nature        ATTORNMENT AGREEMENT DATED: 4100 NEWPORT PLACE
       of the debtor’s interest           06/18/2018                  SUITE 900
                                                                      NEWPORT BEACH, CA 92660
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          BIOLOGICAL MATERIALS LICENSE
       State what the contract or         AGREEMENT DATED: 07/12/2023         U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES, AS
2.1575 lease is for and the nature                                            REPRESENTED BY NATIONAL INSTITUTE OF ALLERGY AND
       of the debtor’s interest                                               INFECTIOUS DISEASES
                                                                              LICENSE COMPLIANCE AND ADMINISTRATION MONITORING &
           State the term remaining       Undetermined                        ENFORCEMENT OFFICE OF TECHNOLOGY TRANSFER
                                                                              NATIONAL INSTITUTES OF HEALTH
           List the contract number of                                        6701 ROCKLEDGE DRIVE
           any government contract                                            SUITE 700

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 11/15/2024                   UCSF UNIVERSITY OF CALIFORNIA, SAN FRANCISCO MANGLIK
2.1576 lease is for and the nature                                            LAB
       of the debtor’s interest                                               1700 4TH STREET
                                                                              SAN FRANCISCO, CA 94158
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL TRANSFER AGREEMENT
       State what the contract or         DATED: 08/24/2022                   UK BIOBANK LIMITED
2.1577 lease is for and the nature                                            1-2 SPECTRUM WAY, ADSWOOD
       of the debtor’s interest                                               STOCKPORT, SK3 0SA
                                                                              UNITED KINGDOM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO MASTER
       State what the contract or         SERVICE AGREEMENT DATED:            UL COMPLIANCE TO PERFORMANCE
2.1578 lease is for and the nature        10/01/2020                          UL VERIFICATION SERVICES INC.
       of the debtor’s interest                                               333 PFINGSTEN ROAD
                                                                              ATTN LEGAL DEPARTMENT
           State the term remaining       Undetermined                        NORTHBROOK, IL 60062-2096

           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         02/10/2022                          UL VERIFICATION SERVICES INC
2.1579 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         11/29/2023                          UL VERIFICATION SERVICES INC.
2.1580 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062-2096

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
       State what the contract or         09/26/2024                          UL VERIFICATION SERVICES INC.
2.1581 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062-2096

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         11/03/2022                          UL VERIFICATION SERVICES INC.
2.1582 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         10/17/2024                          UL VERIFICATION SERVICES INC.
2.1583 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062-2096

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK DATED:
       State what the contract or         08/05/2022                          UL VERIFICATION SERVICES       INC.
2.1584 lease is for and the nature                                            333 PFINGSTEN ROAD
       of the debtor’s interest                                               NORTHBROOK, IL 60062-2096

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          EQUIPMENT PURCHASE
       State what the contract or         AGREEMENT DATED: 12/16/2022         UNCHAINED LABS, LLC
2.1585 lease is for and the nature                                            6870 KOLL CENTER PARKWAY
       of the debtor’s interest                                               PLEASANTON, CA 94566

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP MEMBERSHIP AGREEMENT
       State what the contract or         DATED: 01/01/2022          UNITED PET CARE, LLC
2.1586 lease is for and the nature                                   24361 EL TORO RD.
       of the debtor’s interest                                      SUITE 255
                                                                     LAGUNA WOODS, CA 92637
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP MEMBERSHIP AGREEMENT
       State what the contract or         DATED: 01/01/2022          UNITED PET CARE, LLC
2.1587 lease is for and the nature                                   6232 N. 7TH ST
       of the debtor’s interest                                      SUITE 202
                                                                     PHOENIX, AZ 85014
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SHIPPING SERVICES CONTRACT
       State what the contract or                                             UNITED STATES POSTAL SERVICE
2.1588 lease is for and the nature                                            475 L ENFANT PLAZA SW
       of the debtor’s interest                                               WASHINGTON, DC 20260

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TERMINATION LETTER FOR THE
       State what the contract or         STATEMENT OF WORK #4 DATED:         UNIVERSAL PROTECTION SERVICE, LP D/B/A ALLIED
2.1589 lease is for and the nature        10/09/2024                          UNIVERSAL SECURITY SERVICES
       of the debtor’s interest                                               229 N FIRST STREET
                                                                              SAN JOSE, CA 95132
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
       State what the contract or         05/25/2022                          UNIVERSAL PROTECTION SERVICE, LP D/B/A ALLIED
2.1590 lease is for and the nature                                            UNIVERSAL SECURITY SERVICES
       of the debtor’s interest                                               229 N FIRST STREET
                                                                              SAN JOSE, CA 95132
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #2 DATED:
       State what the contract or         05/25/2022                          UNIVERSAL PROTECTION SERVICE, LP D/B/A ALLIED
2.1591 lease is for and the nature                                            UNIVERSAL SECURITY SERVICES
       of the debtor’s interest                                               229 N FIRST STREET
                                                                              SAN JOSE, CA 95132
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT # 1 TO CLINICAL TRIAL
       State what the contract or         AGREEMENT DATED: 02/01/2023     UNIVERSITY HEALTH NETWORK
2.1592 lease is for and the nature                                        190 ELIZABETH STREET
       of the debtor’s interest                                           R. FRASER ELLIOTT BUILDING
                                                                          ROOM 1S-414
           State the term remaining       Undetermined                    TORONTO, ON M5G 2C4
                                                                          CANADA
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT DATED
       State what the contract or         07/12/2022                     UNIVERSITY HOSPITAL NETWORK
2.1593 lease is for and the nature                                       700 UNIVERSITY AVE
       of the debtor’s interest                                          4-133
                                                                         4TH FLOOR
           State the term remaining       Undetermined                   TORONTO, ON M5G 1Z5
                                                                         CANADA
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           UNIVERSITY OF COLORADO MEDICINE FINANCE DEPARTMENT
2.1594 lease is for and the nature        09/05/2024                          – CONTRACT OPERATIONS
       of the debtor’s interest                                               UNIVERSITY OF COLORADO MEDICINE FINANCE DEPARTMENT
                                                                              CONTRACT OPERATIONS
           State the term remaining       Undetermined                        P.O. BOX 110247
                                                                              AURORA, CO 80042-0427
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT DATED:
       State what the contract or         05/11/2017                          UNIVERSITY OF PITTSBURGH – OF THE COMMONWEALTH
2.1595 lease is for and the nature                                            SYSTEM OF HIGHER EDUCATION
       of the debtor’s interest                                               4200 FIFTH AVE.
                                                                              PITTSBURGH, PA 15260
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RESEARCH COLLABORATION
       State what the contract or         AGREEMENT DATED: 06/10/2024         UNIVERSITY OF QUEENSLAND
2.1596 lease is for and the nature                                            UNIVERSITY OF QUEENSLAND
       of the debtor’s interest                                               BUILDING #80
                                                                              ST LUCIA
           State the term remaining       Undetermined                        QUEENSLAND, 4072
                                                                              AUSTRALIA
           List the contract number of
           any government contract

                                          AMENDMENT #4 TO RESEARCH
       State what the contract or         COLLABORATION AGREEMENT             UNIVERSITY OF ROCHESTER
2.1597 lease is for and the nature        DATED: 02/29/2024                   500 JOSEPH C. WILSON BLVD.
       of the debtor’s interest                                               ROCHESTER, NY 14627

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MEDIA AUTHORIZATION DATED:
       State what the contract or         06/02/2022                          UNIVERSITY OF SOUTHERN CALIFORNIA
2.1598 lease is for and the nature                                            WAITE PHILLIPS HALL
       of the debtor’s interest                                               3470 TROUSDALE PARKWAY
                                                                              LOS ANGELES, CA 90089
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          IDBLOCK DATA LICENSE DATED:
       State what the contract or         10/04/2022                          UNIVERSITY OF WASHINGTON
2.1599 lease is for and the nature                                            1410 NE CAMPUS PARKWAY
       of the debtor’s interest                                               SEATTLE, WA 98195

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           UNIVERSITY PHYSICIANS, INC., D/B/A UNIVERSITY OF
2.1600 lease is for and the nature        09/05/2024                          COLORADO MEDICINE
       of the debtor’s interest                                               3199 E. MONTVIEW BOULEVARD
                                                                              AURORA, CO 80045
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LEAVE ADMINISTRATION
       State what the contract or         AGREEMENT DATED: 01/01/2021         UNUM GROUP
2.1601 lease is for and the nature                                            ATTN LEAVE MANAGEMENT CENTER
       of the debtor’s interest                                               3W 1 FOUNTAIN SQUARE
                                                                              CHATTANOOGA, TN 37402
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          GROUP INSURANCE SUMMARY OF
       State what the contract or         BENEFITS DATED: 01/01/2021          UNUM LIFE INSURANCE COMPANY OF AMERICA
2.1602 lease is for and the nature                                            2211 CONGRESS STREET
       of the debtor’s interest                                               PORTLAND, ME 04122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP INSURANCE SUMMARY OF
       State what the contract or         BENEFITS NON-PARTICIPATING          UNUM LIFE INSURANCE COMPANY OF AMERICA
2.1603 lease is for and the nature        DATED: 01/01/2021                   2211 CONGRESS STREET
       of the debtor’s interest                                               PORTLAND, ME 04122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          GROUP INSURANCE POLICY
       State what the contract or         NON-PARTICIPATING FORM DATED:       UNUM LIFE INSURANCE COMPANY OF AMERICA
2.1604 lease is for and the nature        01/01/2021                          2211 CONGRESS STREET
       of the debtor’s interest                                               PORTLAND, ME 04122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO. 1 TO LEAVE
       State what the contract or         ADMINISTRATION AGREEMENT            UNUM LIFE INSURANCE COMPANY OF AMERICA
2.1605 lease is for and the nature        DATED: 09/01/2022                   2211 CONGRESS STREET
       of the debtor’s interest                                               PORTLAND, ME 04122

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 09/17/2024         UPSTATE LUNG CANCER
2.1606 lease is for and the nature                                            PO BOX 844
       of the debtor’s interest                                               BROOKLINE, MA 02446

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 09/17/2024         UPSTATE LUNG CANCER
2.1607 lease is for and the nature                                            122 THORNDIKE STREET
       of the debtor’s interest                                               BROOKLINE, MA 02446

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORSHIP AGREEMENT DATED:
       State what the contract or         10/30/2024                   USAGAINSTALZHEIMER’S
2.1608 lease is for and the nature                                     5614 CONNECTICUT AVENUE NW
       of the debtor’s interest                                        #288
                                                                       WASHINGTON, DC 20015
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                          FIRST AMENDMENT TO VALIDITY, INC. MASTER
                                          SUBSCRIPTION AND SERVICES AGREEMENT,
       State what the contract or         DATA PROCESSING AGREEMENT, TRANSFER
                                                                                     VALIDITY, INC.
2.1609 lease is for and the nature        AMENDMENT TO DATA PROCESSING               200 CLARENDON ST 22ND FLR
       of the debtor’s interest           AGREEMENT DATED: 03/29/2023                BOSTON, MA 02116

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM TO MASTER
       State what the contract or         SERVICES AGREEMENT. DATED:                 VALIDITY, INC.
2.1610 lease is for and the nature        04/28/2023                                 100 SUMMER STREET
       of the debtor’s interest                                                      SUITE 2900
                                                                                     BOSTON, MA 02110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          TRANSFER AMENDMENT TO DATA
       State what the contract or         PROCESSING AGREEMENT DATED: VALIDITY, INC.
2.1611 lease is for and the nature        12/21/2022                  100 SUMMER ST
       of the debtor’s interest                                       SUITE 2900
                                                                      BOSTON, MA 02110
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM RELATING TO
       State what the contract or         MASTER SUBSCRIPTION AND                    VALIDITY, INC.
2.1612 lease is for and the nature        SERVICES AGREEMENT DATED:                  200 CLARENDON ST 22ND FLR
       of the debtor’s interest           04/28/2021                                 BOSTON, MA 02116

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DATA USE AND REGISTRATION
       State what the contract or         AGREEMENT DATED 09/03/2024                 VANDERBILT UNIVERSITY MEDICAL CENTER
2.1613 lease is for and the nature                                                   1161 21ST AVENUE SOUTH
       of the debtor’s interest                                                      NASHVILLE, TN 37232

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 06/22/2023                          VANDERBILT UNIVERSITY MEDICAL CENTER
2.1614 lease is for and the nature                                                   1161 21ST AVENUE SOUTH
       of the debtor’s interest                                                      NASHVILLE, TN 37232

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CHANGE ORDER TO SOW DATED:
       State what the contract or         09/27/2021                                 VEEVA SYSTEMS INC
2.1615 lease is for and the nature                                                   PO BOX 740434
       of the debtor’s interest                                                      LOS ANGELES, CA 90074-0434

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          STATEMENT OF WORK DATED:
       State what the contract or         02/10/2023                          VEEVA SYSTEMS INC
2.1616 lease is for and the nature                                            PO BOX 740434
       of the debtor’s interest                                               LOS ANGELES, CA 90074-0434

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICE AGREEMENT
       State what the contract or         DATED: 01/30/2018                   VEEVA SYSTEMS INC
2.1617 lease is for and the nature                                            PO BOX 740434
       of the debtor’s interest                                               LOS ANGELES, CA 90074-0434

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT # 1 TO PROJECT
       State what the contract or         SCHEDULE # 4                        VENTANA MEDICAL SYSTEMS, INC
2.1618 lease is for and the nature                                            1910 E. INNOVATION PARK DR.
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              TUCSON, AZ 85755
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT # 1 TO PROJECT
       State what the contract or         SCHEDULE # 2                        VENTANA MEDICAL SYSTEMS, INC
2.1619 lease is for and the nature                                            1910 E. INNOVATION PARK DR.
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              TUCSON, AZ 85755
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT SCHEDULE #1 DATED:
       State what the contract or         12/10/2020                          VENTANA MEDICAL SYSTEMS, INC.
2.1620 lease is for and the nature                                            1910 INNOVATION PARK DRIVE
       of the debtor’s interest                                               TUCSON, AZ 85755

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO PROJECT
       State what the contract or         SCHEDULE #3                         VENTANA MEDICAL SYSTEMS, INC.
2.1621 lease is for and the nature                                            1910 E. INNOVATION PARK DR.
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              TUCSON, AZ 85755
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROJECT COLLABORATION
       State what the contract or         AGREEMENT DATED: 12/10/2020         VENTANA MEDICAL SYSTEMS, INC.
2.1622 lease is for and the nature                                            1910 E. INNOVATION PARK DR.
       of the debtor’s interest                                               ATTN LEGAL DEPARTMENT
                                                                              TUCSON, AZ 85755
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PROJECT SCHEDULE TO PROJECT
       State what the contract or         COLLABORATION AGREEMENT             VENTANA MEDICAL SYSTEMS, INC.
2.1623 lease is for and the nature        DATED: 05/01/2023                   1910 INNOVATION PARK DRIVE
       of the debtor’s interest                                               TUCSON, AZ 85755

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SOFTWARE AS A SERVICE
       State what the contract or         AGREEMENT DATED: 10/30/2023  VERISHIP, LLC. D/B/A SIFTED
2.1624 lease is for and the nature                                     8880 WARD PARKWAY #300
       of the debtor’s interest                                        KANSAS CITY, MO 64114

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          VERISK 3E ORDER FORM – 3E
       State what the contract or         PROTECT DATED: 09/29/2020           VERISK 3E
2.1625 lease is for and the nature                                            3207 GREY HAWK CT.
       of the debtor’s interest                                               SUITE 200
                                                                              CARLSBAD, CA 92010
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CONSULTING AGREEMENT DATED:
       State what the contract or         08/11/2020                          VERISTAT, LLC
2.1626 lease is for and the nature                                            134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           VERISTAT, LLC
2.1627 lease is for and the nature        08/16/2021                          134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #2 TO CONSULTING
       State what the contract or         AGREEMENT DATED: 05/31/2023         VERISTAT, LLC
2.1628 lease is for and the nature                                            134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT NO.2 TO SOW #1
       State what the contract or         DATED: 08/16/2021                   VERISTAT, LLC
2.1629 lease is for and the nature                                            134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          TERMINATION LETTER FOR THE
       State what the contract or         STATEMENT OF WORK NO. 3 DATED: VERISTAT, LLC
2.1630 lease is for and the nature        05/31/2023                     ATTENTION JIM C. BARRIO JR. SENIOR DIRECTOR BUSINESS
       of the debtor’s interest                                          DEVELOPMENT VERISTAT LLC
                                                                         134 TURNPIKE ROAD
           State the term remaining       Undetermined                   SOUTHBOROUGH, MA 01772

           List the contract number of
           any government contract

                                          STATEMENT OF WORK #7 DATED:
       State what the contract or         05/31/2023                          VERISTAT, LLC
2.1631 lease is for and the nature                                            134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STATEMENT OF WORK #6 DATED:
       State what the contract or         05/31/2023                          VERISTAT, LLC
2.1632 lease is for and the nature                                            134 TURNPIKE ROAD
       of the debtor’s interest                                               SOUTHBOROUGH, MA 01772

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO SERVICES
       State what the contract or         AGREEMENT DATED: 07/29/2024         VERTEX PHARMACEUTICALS INCORPORATED
2.1633 lease is for and the nature                                            50 NORTHERN AVENUE
       of the debtor’s interest                                               BOSTON, MA 02110

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICES, CONSENT AND RELEASE
       State what the contract or         AGREEMENT DATED: 11/02/2021   VERTIKAL PRODUCTIONS
2.1634 lease is for and the nature                                      B-910, SONATA APARTMENTS
       of the debtor’s interest                                         JANKALYAN NAGAR
                                                                        MARVE ROAD
           State the term remaining       Undetermined                  MALAD (WEST)
                                                                        MUMBAI, MAHARASHTRA, 4000095
           List the contract number of                                  INDIA
           any government contract

                                          CLINICAL TRIAL AGREEMENT
       State what the contract or         DATED: 12/06/2022                   VIRGINIA CANCER SPECIALISTS, P.C.
2.1635 lease is for and the nature                                            8613 LEE HIGHWAY
       of the debtor’s interest                                               FAIRFAX, VA 22031

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO CLINICAL
       State what the contract or         STUDY AGREEMENT DATED:              VIRGINIA CANCER SPECIALISTS, P.C.
2.1636 lease is for and the nature        08/30/2023                          8613 LEE HIGHWAY
       of the debtor’s interest                                               FAIRFAX, VA 22031

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AFFILIATION AGREEMENT DATED:
       State what the contract or         09/01/2023                          VIRGINIA COMMONWEALTH UNIVERSITY
2.1637 lease is for and the nature                                            1101 E. MARSHALL STREET
       of the debtor’s interest                                               RICHMOND, VA 23298-0033

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE SERVICE AGREEMENT
       State what the contract or         DATED: 08/07/2024                   VISIOPHARM CORPORATION
2.1638 lease is for and the nature                                            8181 ARISTA PLACE
       of the debtor’s interest                                               SUITE 100
                                                                              PO BOX 6402
           State the term remaining       Undetermined                        BROOMFIELD, CO 80021

           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         04/11/2023                          VISIOPHARM CORPORATION
2.1639 lease is for and the nature                                            10835 DOVER STREET
       of the debtor’s interest                                               SUITE 1600
                                                                              WESTMINSTER, CO 80021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         02/05/2020                          VISIOPHARM CORPORATION
2.1640 lease is for and the nature                                            10835 DOVER STREET
       of the debtor’s interest                                               SUITE 1600
                                                                              WESTMINSTER, CO 80021
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RENTAL AGREEMENT DATED:
       State what the contract or         10/03/2019                          VIVREAU USA LP
2.1641 lease is for and the nature                                            131 WEST 35TH STREET
       of the debtor’s interest                                               8TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          RENTAL AGREEMENT DATED:
       State what the contract or         11/01/2019                          VIVREAU USA LP
2.1642 lease is for and the nature                                            131 WEST 35TH STREET
       of the debtor’s interest                                               8TH FLOOR
                                                                              NEW YORK, NY 10001
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          CREDIT ACCOUNT AGREEMENT
       State what the contract or         DATED: 10/25/2019                   VOLK CORPORATION
2.1643 lease is for and the nature                                            47808 GALLEON DRIVE
       of the debtor’s interest                                               PLYMOUTH, MI 48170

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ADDENDUM TO VONAGE TERMS OF
       State what the contract or         USE DATED: 10/25/2023       VONAGE BUSINESS INC.
2.1644 lease is for and the nature                                    PO BOX 102237
       of the debtor’s interest                                       PASADENA, CA 91189

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ADDENDUM TO USAGE AGREEMENT
       State what the contract or         DATED: 05/10/2024           VONAGE BUSINESS INC.
2.1645 lease is for and the nature                                    PO BOX 102237
       of the debtor’s interest                                       PASADENA, CA 91189

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         08/31/2024                          VOUCHED
2.1646 lease is for and the nature                                            506 2ND AVE.
       of the debtor’s interest                                               SUITE 1400
                                                                              SEATTLE, WA 98104
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE FORM TO BIO AGREEMENT
       State what the contract or                                             VWR INTERNATIONAL, LLC
2.1647 lease is for and the nature                                            100 MATSONFORD ROAD BUILDING ONE
       of the debtor’s interest                                               SUITE 200
                                                                              RADNOR, PA 19087
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          STOCKING REQUEST CUSTOMER
       State what the contract or         AGREEMENT LETTER DATED:             VWR INTERNATIONAL, LLC
2.1648 lease is for and the nature        09/13/2021                          PO BOX 640169
       of the debtor’s interest                                               PITTSBURGH, PA 15264-0169

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
       State what the contract or         DATED: 04/09/2024                   VWR INTERNATIONAL, LLC
2.1649 lease is for and the nature                                            100 MATSONFORD ROAD BUILDING ONE
       of the debtor’s interest                                               SUITE 200
                                                                              RADNOR, PA 19087
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO ADDENDUM OF
       State what the contract or         SERVICES AGREEMENT DATED:           VWR INTERNATIONAL, LLC
2.1650 lease is for and the nature        09/01/2020                          100 MATSONFORD ROAD BUILDING ONE
       of the debtor’s interest                                               SUITE 200
                                                                              RADNOR, PA 19087
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT DATED:
       State what the contract or         12/07/2023                          WALL TO WALL MEDIA LIMITED
2.1651 lease is for and the nature                                            98 THEOBALD'S ROAD
       of the debtor’s interest                                               LONDON, WC1X 8WB
                                                                              UNITED KINGDOM
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT TO THE
       State what the contract or         COMPREHENSIVE WALMART               WAL-MART.COM USA, LLC
2.1652 lease is for and the nature        MARKETPLACE PROGRAM                 850 CHERRY AVE
       of the debtor’s interest           RETAILER AGREEMENT DATED:           SAN BRUNO, CA 94066-3031
                                          11/28/2023
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         04/07/2023                          WATERSHED DNA, LLC
2.1653 lease is for and the nature                                            C/O BRIANNE KIRKPATRICK
       of the debtor’s interest                                               711 HIGHGATE ROW
                                                                              CROZET, VA 22932
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 11/18/2021                   WATT, INC.
2.1654 lease is for and the nature                                            8605 SANTA MONICA BLVD PMB
       of the debtor’s interest                                               65044
                                                                              WEST HOLLYWOOD, CA 90069
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         10/18/2021                          WEKAIO, INC.
2.1655 lease is for and the nature                                            901 E HAMILTON
       of the debtor’s interest                                               SUITE 430
                                                                              CAMPBELL, CA 95008
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INVESTMENT SERVICES
       State what the contract or         AGREEMENT DATED: 6/5/2024           WELLTH ADVISORY SERVICES, LLC
2.1656 lease is for and the nature                                            25434 PRAIRIEWOOD LANE
       of the debtor’s interest                                               SHORWOOD, IL 60404

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          NOTICE OF LABORATORY
       State what the contract or         INFORMATION CHANGE DATED            WENJIANG CHU
2.1657 lease is for and the nature        10/16/2024                          2601 34TH ST
       of the debtor’s interest                                               SANTA MONICA, CA 90405

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          SERVICE AGREEMENT DATED:
       State what the contract or         09/02/2020                          WERT & COMPANY, INC.
2.1658 lease is for and the nature                                            106 DUANE ST APT 3
       of the debtor’s interest                                               NEW YORK, NY 10007-1124

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT DATED:
       State what the contract or         06/30/2021                          WERT & COMPANY, INC.
2.1659 lease is for and the nature                                            106 DUANE ST APT 3
       of the debtor’s interest                                               NEW YORK, NY 10007-1124

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         08/24/2020                          WILEY PERIODICALS LLC
2.1660 lease is for and the nature                                            111 RIVER STREET
       of the debtor’s interest                                               HOBOKEN, NJ 07030-5774

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LICENSE AGREEMENT DATED:
       State what the contract or         06/05/2020                          WILEY PERIODICALS LLC
2.1661 lease is for and the nature                                            111 RIVER STREET
       of the debtor’s interest                                               HOBOKEN, NJ 07030-5774

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          LETTER AGREEMENT DATED:
       State what the contract or         01/26/2023                          WILSON SONSINI GOODRICH & ROSATI P.C.
2.1662 lease is for and the nature                                            12235 EL CAMINO REAL
       of the debtor’s interest                                               SUITE 200
                                                                              SAN DIEGO, CA 92130
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO THE MASTER
       State what the contract or         SERVICE AGREEMENT DATED:            WMBE PAYROLLING, INC.
2.1663 lease is for and the nature        08/16/2022                          3545 AERO COURT
       of the debtor’s interest                                               SAN DIEGO, CA 92123

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
       State what the contract or         03/07/2023 PER SERVICES             WOOT SERVICES, LLC
2.1664 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PURCHASE ORDER DATED:
       State what the contract or         04/01/2023 PER SERVICES             WOOT SERVICES, LLC
2.1665 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          INSERTION ORDER/MEDIA
       State what the contract or         AUTHORIZATION DATED: 06/27/2023 WOOT SERVICES, LLC
2.1666 lease is for and the nature                                        4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                           STE 900
                                                                          CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
       State what the contract or         08/16/2023 PER SERVICES             WOOT.COM, LLC
2.1667 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORED PRODUCTS
       State what the contract or         ALLOWANCE AGREEMENT DATED:          WOOT.COM, LLC
2.1668 lease is for and the nature        03/08/2023                          4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORED PRODUCTS
       State what the contract or         ALLOWANCE AGREEMENT DATED:          WOOT.COM, LLC
2.1669 lease is for and the nature        03/08/2023                          4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
       State what the contract or         04/05/2022 PER SERVICES             WOOT.COM, LLC
2.1670 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
       State what the contract or         07/01/2022 PER SERVICES             WOOT.COM, LLC
2.1671 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PURCHASE ORDER DATED:
       State what the contract or         06/01/2022 PER SERVICES             WOOT.COM, LLC
2.1672 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORED PRODUCTS
       State what the contract or         ALLOWANCE AGREEMENT DATED:          WOOT.COM, LLC
2.1673 lease is for and the nature        01/07/2025                          4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SPONSORED PRODUCTS
       State what the contract or         ALLOWANCE AGREEMENT DATED:          WOOT.COM, LLC
2.1674 lease is for and the nature        05/31/2023                          4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ORDER DATED:
       State what the contract or         10/03/2022 PER SERVICES             WOOT.COM, LLC
2.1675 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PURCHASE ODER DATED:
       State what the contract or         07/14/2022 PER SERVICES             WOOT.COM, LLC
2.1676 lease is for and the nature        AGREEMENT                           4121 INTERNATIONAL PARKWAY
       of the debtor’s interest                                               STE 900
                                                                              CARROLLTON, TX 75007
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 12/31/2023
       State what the contract or                                             WORKATO, INC.
2.1677 lease is for and the nature                                            215 CASTRO ST
       of the debtor’s interest                                               MOUNTAIN VIEW, CA 94041

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          QUOTE DATED: 07/31/2024
       State what the contract or                                             WORKATO, INC.
2.1678 lease is for and the nature                                            215 CASTRO ST
       of the debtor’s interest                                               MOUNTAIN VIEW, CA 94041

           State the term remaining       Undetermined
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          PLATFORM TERMS OF SERVICE
       State what the contract or                                             WORKATO, INC.
2.1679 lease is for and the nature                                            215 CASTRO ST.
       of the debtor’s interest                                               SUITE 300
                                                                              MOUNTAIN VIEW, CA 94041
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM DATED: 01/31/2024
       State what the contract or         PER MASTER SERVICES                 WORKDAY, INC.
2.1680 lease is for and the nature        AGREEMENT                           6110 STONERIDGE MALL ROAD
       of the debtor’s interest                                               PLEASANTON, CA 94588

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          DEVELOPMENT AND
       State what the contract or         COLLABORATION AGREEMENT             WORLD ARCHIVES HOLDINGS LLC
2.1681 lease is for and the nature        DATED: 07/02/2024                   5314 RIVER RUN DRIVE
       of the debtor’s interest                                               #110
                                                                              ATTN LARYN BROWN
           State the term remaining       Undetermined                        PROVO, UT 84604

           List the contract number of
           any government contract

                                          MASTER LABORATORY SERVICES
       State what the contract or         AGREEMENT DATED: 10/28/2019         WUXI APPTEC (HONGKONG), LTD.
2.1682 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          SECURITY ADDENDUM DATED:
       State what the contract or         10/28/2019                          WUXI APPTEC (HONGKONG), LTD.
2.1683 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED:
       State what the contract or         10/28/2019                          WUXI APPTEC (SHANGHAI) CO., LTD.
2.1684 lease is for and the nature                                            288 FUTE ZHONGLU
       of the debtor’s interest                                               WAIGAOQIAO FREE TRADE ZONE
                                                                              SHANGHAI, 200131
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED:
       State what the contract or         10/28/2019                          WUXI APPTEC (SUZHOU) CO., LTD.
2.1685 lease is for and the nature                                            1318 WUZHONG AVENUE
       of the debtor’s interest                                               WUZHONG DISTRICT
                                                                              SUZHOU, 215104
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT NO. 1 DATED:
       State what the contract or         04/27/2022                          WUXI APPTEC CO., LTD.
2.1686 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          JOINDER AGREEMENT DATED:
       State what the contract or         10/28/2019                          WUXI APPTEC CO., LTD.
2.1687 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          TERMINATION LETTER DATED
       State what the contract or         05/01/2023                          WUXI BIOLOGICS
2.1688 lease is for and the nature                                            BUILDING 26
       of the debtor’s interest                                               299 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER
       State what the contract or         DATED: 08/08/2024                   WUXI BIOLOGICS (HONGKONG), LTD.
2.1689 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER #2 TO
       State what the contract or         WORK ORDER #9 DATED: 10/18/2021 WUXI BIOLOGICS (HONGKONG), LTD.
2.1690 lease is for and the nature                                        BUILDING 1
       of the debtor’s interest                                           288 FUTE ZHONG ROAD
                                                                          WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                    SHANGHAI, 200131
                                                                          CHINA
           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER
       State what the contract or         DATED: 02/08/2024                   WUXI BIOLOGICS (HONGKONG), LTD.
2.1691 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          CHANGE ORDER NO. 5 TO WORK
       State what the contract or         ORDER # 17 DATED: 04/26/2023        WUXI BIOLOGICS (HONGKONG), LTD.
2.1692 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ADDENDUM/CHANGE ORDER TO
       State what the contract or         WO#10 DATED: 03/15/2021             WUXI BIOLOGICS (HONGKONG), LTD.
2.1693 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          CHANGE ORDER TO WORK ORDER
       State what the contract or         #1: CO. TTAM-20170517.06 DATED:     WUXI BIOLOGICS (HONGKONG), LTD.
2.1694 lease is for and the nature        12/17/2019                          BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          ADDENDUM/CHANGE ORDER TO
       State what the contract or         WO #9 DATED: 03/15/2021             WUXI BIOLOGICS (HONGKONG), LTD.
2.1695 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          CHANGE ORDER NO. 7 TO WORK
       State what the contract or         ORDER #11 DATED: 04/19/2023         WUXI BIOLOGICS (HONGKONG), LTD.
2.1696 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          STATEMENT OF WORK/WORK
       State what the contract or         ORDER DATED: 12/20/2022             WUXI BIOLOGICS (HONGKONG), LTD.
2.1697 lease is for and the nature                                            BUILDING 1
       of the debtor’s interest                                               288 FUTE ZHONG ROAD
                                                                              WAIGAOQIAO FREE TRADE ZONE
           State the term remaining       Undetermined                        SHANGHAI, 200131
                                                                              CHINA
           List the contract number of
           any government contract

                                          WORK ORDER NO.16 PROJECT ID:
       State what the contract or         TTAM-20220804 DATED: 10/17/2022     WUXI BIOLOGICS (HONGKONG), LTD.
2.1698 lease is for and the nature                                            FLAT/RM826, 8/F OCEAN CENTRE HARBOUR CITY
       of the debtor’s interest                                               5 CANTON ROAD TST
                                                                              HONG KONG,
           State the term remaining       Undetermined                        CHINA

           List the contract number of
           any government contract

                                          BIOLOGICS MASTER SERVICES
       State what the contract or         AGREEMENT DATED: 04/20/2018         WUXI BIOLOGICS (HONGKONG), LTD.
2.1699 lease is for and the nature                                            DUNDALK SCIENCE & TECHNOLOGY PARK
       of the debtor’s interest                                               MULLAGHARLIN
                                                                              DUNDALK
           State the term remaining       Undetermined                        CO LOUTH, A91 X56F
                                                                              IRELAND
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          LICENSE AGREEMENT DATED:
       State what the contract or         04/23/2023                          WUXI BIOLOGICS IRELAND LIMITED
2.1700 lease is for and the nature                                            DUNDALK SCIENCE & TECHNOLOGY PARK
       of the debtor’s interest                                               MULLAGHARLIN
                                                                              DUNDALK
           State the term remaining       Undetermined                        CO LOUTH, A91 X56F
                                                                              IRELAND
           List the contract number of
           any government contract

                                          WORK ORDER #22 DATED:
       State what the contract or         03/11/2024                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1701 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER #10 DATED:
       State what the contract or         08/18/2020                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1702 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER #9 DATED: 06/29/2020
       State what the contract or                                             WUXI BIOLOGIES (HONG KONG) LIMITED
2.1703 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER #21 DATED:
       State what the contract or         02/09/2024                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1704 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER #7 DATED: 12/12/2019
       State what the contract or                                             WUXI BIOLOGIES (HONG KONG) LIMITED
2.1705 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          CHANGE ORDER CO.2 DATED:
       State what the contract or         03/28/2023                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1706 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          WORK ORDER #11 DATED:
       State what the contract or         11/02/2020                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1707 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER #23 DATED:
       State what the contract or         08/01/2024                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1708 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          CHANGE ORDER TO WORK ORDER
       State what the contract or         #9 DATED: 06/16/2022                WUXI BIOLOGIES (HONG KONG) LIMITED
2.1709 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          QUALITY AGREEMENT DATED:
       State what the contract or         01/14/2021                          WUXI BIOLOGIES (HONG KONG) LIMITED
2.1710 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          AMENDMENT #2 TO MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           WUXI BIOLOGIES (HONG KONG) LIMITED
2.1711 lease is for and the nature        04/19/2023                          SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          CHANGE ORDER #8 TO WORK
       State what the contract or         ORDER #15 DATED: 10/13/2023         WUXI BIOLOGIES (HONG KONG) LIMITED
2.1712 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract

                                          WORK ORDER 8 DATED: 06/01/2020
       State what the contract or                                             WUXI BIOLOGIES (HONG KONG) LIMITED
2.1713 lease is for and the nature                                            SUITE 3701-10 37/F.
       of the debtor’s interest                                               JARDINE HSE
                                                                              1 CONNAUGHT PLACE
           State the term remaining       Undetermined                        CENTRAL
                                                                              HONG KONG,
           List the contract number of                                        CHINA
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ASSET TRANSFER AGREEMENT
       State what the contract or         DATED: 11/18/2024                   XAIRA THERAPEUTICS
2.1714 lease is for and the nature                                            1400 SIERRA POINT PKWY.
       of the debtor’s interest                                               BRISBANE, CA 94005

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSIGNMENT OF INTELLECTUAL
       State what the contract or         PROPERTY                            XENCOR, INC.
2.1715 lease is for and the nature                                            465 N. HALSTEAD ST.
       of the debtor’s interest                                               SUITE 200
                                                                              PASADENA, CA 91107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSET PURCHASE AGREEMENT
       State what the contract or                                             XENCOR, INC.
2.1716 lease is for and the nature                                            465 N. HALSTEAD ST.
       of the debtor’s interest                                               SUITE 200
                                                                              PASADENA, CA 91107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT
       State what the contract or                                             XENCOR, INC.
2.1717 lease is for and the nature                                            465 N. HALSTEAD ST.
       of the debtor’s interest                                               SUITE 200
                                                                              PASADENA, CA 91107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ASSIGNMENT AND BILL OF SALE
       State what the contract or         AND ASSUMPTION AGREEMENT            XENCOR, INC.
2.1718 lease is for and the nature                                            465 N. HALSTEAD ST.
       of the debtor’s interest                                               SUITE 200
                                                                              PASADENA, CA 91107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE AGREEMENT
       State what the contract or                                             XENCOR, INC.
2.1719 lease is for and the nature                                            465 N. HALSTEAD ST.
       of the debtor’s interest                                               SUITE 200
                                                                              PASADENA, CA 91107
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          ORDER FORM PER MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           ZAYO GROUP LLC
2.1720 lease is for and the nature        06/17/2024                          SUITE 2050, 1805 29TH STREET
       of the debtor’s interest                                               BOULDER, CO 80301

           State the term remaining       Undetermined
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 246 of 248
  Debtor       Case 25-40977
              23andMe, Inc.              Doc 9    Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                             Case number              Main (BCW)
                                                                                         (If known): 25-40977 Document
              Name                                          Pg 1947 of 1950
               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          ORDER FORM PER MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           ZAYO GROUP LLC
2.1721 lease is for and the nature        06/08/2020                          SUITE 2050, 1805 29TH STREET
       of the debtor’s interest                                               BOULDER, CO 80301

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SERVICE ORDER FORM DATED:
       State what the contract or         03/01/2024                          ZENDESK
2.1722 lease is for and the nature                                            989 MARKET ST
       of the debtor’s interest                                               SAN FRANCISCO, CA 94103

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
       State what the contract or         DATED: 12/25/2019                   ZOHO CORPORATION PVT. LTD.
2.1723 lease is for and the nature                                            4141 HACIENDA DRIVE
       of the debtor’s interest                                               PLEASANTON, CA 94588

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          SOFTWARE LICENSE AGREEMENT
       State what the contract or         DATED: 12/25/2019                   ZOHO CORPORATION PVT. LTD.
2.1724 lease is for and the nature                                            4141 HACIENDA DRIVE
       of the debtor’s interest                                               PLEASANTON, CA 94588

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MASTER SERVICES AGREEMENT
       State what the contract or         DATED: 11/22/2024                   ZOOLATECH, LLC
2.1725 lease is for and the nature                                            1221 BRICKELL AVE
       of the debtor’s interest                                               SUITE 900
                                                                              MIAMI, FL 33131
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT FORM DATED:
       State what the contract or         10/05/2021 PER TERMS OF SERVICE ZOOM VIDEO COMMUNICATIONS INC.
2.1726 lease is for and the nature                                        55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                           SAN JOSE, CA 95113

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT FORM DATED:
       State what the contract or         04/28/2024 PER TERMS OF SERVICE ZOOM VIDEO COMMUNICATIONS INC.
2.1727 lease is for and the nature                                        55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                           SAN JOSE, CA 95113

           State the term remaining       Undetermined
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 247 of 248
  Debtor       Case 25-40977
              23andMe, Inc.              Doc 9    Filed 04/28/25 Entered 04/28/25   19:02:59
                                                                             Case number              Main (BCW)
                                                                                         (If known): 25-40977 Document
              Name                                          Pg 1948 of 1950
               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                          AMENDMENT FORM DATED:
       State what the contract or         04/26/2021 PER TERMS OF SERVICE ZOOM VIDEO COMMUNICATIONS INC.
2.1728 lease is for and the nature                                        55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                           SAN JOSE, CA 95113

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT FORM DATED:
       State what the contract or         01/06/2021 PER TERMS OF SERVICE ZOOM VIDEO COMMUNICATIONS INC.
2.1729 lease is for and the nature                                        55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                           SAN JOSE, CA 95113

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT FORM DATED:
       State what the contract or         09/09/2021 PER TERMS OF SERVICE ZOOM VIDEO COMMUNICATIONS INC.
2.1730 lease is for and the nature                                        55 ALMADEN BLVD, 6TH FLOOR
       of the debtor’s interest                                           SAN JOSE, CA 95113

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          FIRST AMENDMENT TO MASTER
       State what the contract or         SERVICES AGREEMENT DATED:           ZS ASSOCIATES, INC
2.1731 lease is for and the nature        07/05/2022                          611 GATEWAY BOULEVARD
       of the debtor’s interest                                               SUITE 1000
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          PROFESSIONAL CONSULTING
       State what the contract or         SERVICES AGREEMENT DATED:           ZS ASSOCIATES, INC
2.1732 lease is for and the nature        10/18/2021                          611 GATEWAY BOULEVARD
       of the debtor’s interest                                               SUITE 1000
                                                                              SOUTH SAN FRANCISCO, CA 94080
           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          MATERIAL EVALUATION
       State what the contract or         AGREEMENT DATED: 02/21/2024         ZYMO RESEARCH CORPORATION
2.1733 lease is for and the nature                                            17062 MURPHY AVE.
       of the debtor’s interest                                               IRVINE, CA 92614

           State the term remaining       Undetermined
           List the contract number of
           any government contract

                                          AMENDMENT #1 TO MATERIAL
       State what the contract or         EVALUATION AGREEMENT DATED:         ZYMO RESEARCH GROUP
2.1734 lease is for and the nature        03/06/2024                          17062 MURPHY AVE.
       of the debtor’s interest                                               IRVINE, CA 92614

           State the term remaining       Undetermined
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                            Page 248 of 248
               Case 25-40977                  Doc 9
                                            Filed 04/28/25 Entered 04/28/25 19:02:59                                                       Main Document
  Fill in this information to identify the case:      Pg 1949 of 1950

 Debtor name      23andMe, Inc.

 United States Bankruptcy Court for the:    Eastern District of Missouri
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      25-40977 (BCW)                                                                                                           amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       þ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ¨ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G



 2.2                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G



 2.3                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G



 2.4                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G



 2.5                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G



 2.6                                                                                                                                                 ¨ D
                                                                                                                                                     ¨ E/F
                                                                                                                                                     ¨ G




Official Form 206H                                                          Schedule H: Codebtors                                                          Page 1 of 1
             Case 25-40977                  Doc 9         Filed 04/28/25 Entered 04/28/25 19:02:59                                 Main Document
  Fill in this information to identify the case and this filing:    Pg 1950 of 1950

   Debtor name 23andMe, Inc.


   United States Bankruptcy Court for the: Eastern District of Missouri

   Case number (If known) 25-40977 (BCW)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 4/28/2025                                             X /s/ Joe Selsavage
                       MM / DD / YYYY                                       Signature of individual signing on behalf of debtor



                                                                            Joe Selsavage
                                                                            Printed name

                                                                            Interim Chief Executive Officer and Chief Financial and Accounting Officer
                                                                            Position or relationship to debtor




   Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
